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          EXHIBIT “A”
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                 UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF CALIFORNIA



IN RE TESLA, INC. SECURITIES            Case No. 18-cv-04865-EMC
LITIGATION
                                        Hon. Edward M. Chen




           Expert Report of Michael L. Hartzmark, Ph.D.

                        September 22, 2020
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I.      SCOPE OF ENGAGEMENT

        1.    I have been retained by Court-appointed Lead Counsel (“Counsel”)1 for the
putative Class (the “Class”)2 in the matter of In Re Tesla, Inc. Securities Litigation to
determine whether Tesla, Inc. (“Tesla” or the “Company”) common stock and options on
Tesla common stock traded in open, well-developed and efficient markets (hereinafter
referred to as “an efficient market”)3 from August 7, 2018 to August 17, 2018 (the “Class
Period”).4 I have also been asked by Counsel to opine on whether the calculation of
damages on a class-wide basis is subject to a common methodology for all common stock
and option Class members in connection with their claims under Section 10(b) of the
Securities Exchange Act of 1934 (the “Exchange Act”) and U.S. Securities & Exchange
Commission (“SEC”) Rule 10b-5 adopted thereunder (collectively, “Section 10(b)”).




1
     Levi & Korsinsky, LLP.
2
     I understand from Lead Counsel that the proposed Class definition is: “[A]ll individuals
     and entities who purchased or sold Tesla stock, options, and other securities during the
     Class Period and were damaged thereby, excluding Tesla, [Elon R.] Musk, the Board,
     and each Defendant’s immediate family members, legal representatives, heirs,
     successors or assigns, and any entity in which Tesla, Musk, or the Board have or had a
     controlling interest (the ‘Class’).” Consolidated Complaint for Violation of the Federal
     Securities Laws filed January 16, 2019 (the “Complaint”), ¶28. For options, I have
     been asked to consider only those options that had volume during the Class Period as
     being potential Class Members and my analysis relates to the efficiency of the market
     for those options.
3
     “The fraud on the market theory is based on the hypothesis that, in an open and
     developed securities market, the price of a company’s stock is determined by the
     available material information regarding the company and its business. Misleading
     statements will therefore defraud purchasers of stock even if the purchasers do not
     directly rely on the misstatements.” Basic Inc. v. Levinson, 485 U.S. 224, 241-242
     (1988) (emphasis added).
4
     Complaint, ¶1. Complaint (¶2) alleges that the Class Period begins “On August 7,
     2018, at 12:48 p.m. ET, [when] Musk tweeted the following message to over 22 million
     people: “Am considering taking Tesla private at $420.” The Class Period ends on
     August 17, 2018 after the final alleged corrective disclosure that appeared in The New
     York Times online edition after the conclusion of trading on August 16, 2018 and in the
     print edition on August 17, 2018 before market hours (Complaint, ¶196).

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       2.    I have reviewed the Complaint and assume the allegations are true for
purposes of this report. I have made no independent investigation of the issues of liability
and loss causation in this case, and nor have I been asked to calculate damages. My report
applies widely-accepted economic, financial and statistical analyses to determine whether
Tesla common stock traded in an efficient market.

       3.    My report is organized as follows: In Section II, I present my qualifications
as an expert. In Section III, I summarize each of my opinions. In Section IV, I describe
the concept of market efficiency. In Section V, I offer empirical support for the conclusion
that Tesla common stock traded in an efficient market during the Class Period by
examining the “operational” factors for demonstrating market efficiency set forth in
Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) (“Cammer”) and Krogman v. Sterritt,
202 F.R.D. 467, 474-78 (N.D. Tex. 2001) (“Krogman”). In Section VI, I examine “price-
related” factors. These empirical analyses demonstrate that Tesla common stock rapidly
responded to new, Company-specific information, which also supports the conclusion that
Tesla common stock traded in an efficient market. In Section VII, I examine how the
basket of factors related to Tesla’s stock price applies to options on Tesla common stock,
as well as the relationship between the prices of Tesla common stock and its options, to
demonstrate that the options on Tesla common stock traded in an efficient market. In
Section VIII, I show that the calculation of damages in this case can be done on a class-
wide basis subject to a common methodology for Plaintiff’s claims under the Exchange
Act. Section IX provides my conclusions.

II.    QUALIFICATIONS

       4.    I am President of Hartzmark Economics Litigation Practice, LLC and prior to
this I was a Principal and Director at Navigant Economics (formerly dba Chicago Partners,
LLC, a subsidiary of Navigant Consulting, Inc.). Both firms specialize in the application
of economics and finance to legal, commercial and regulatory issues, including issues such
as those addressed in this report. I also am currently engaged as an independent contractor
by the Office of the Attorney General of the State of New Jersey and was previously




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engaged by the Office of the Attorney General of the State of New York, to assist in
investigations of the mortgage-backed securities market.5

       5.    I have served as a testifying and consulting expert in numerous securities class
actions. In addition, I have published scholarly articles on a multitude of issues in financial
economics including those associated with securities class actions, including the topic of
market efficiency. I have spent much of my time as an economic consultant evaluating
issues related to market efficiency, including its relation to the certification of securities
class actions. My primary focus has been on securities such as common stock, corporate
bonds, Treasury and energy futures, swaps, swaptions and options, and asset-backed
securities. My expert reports which included the topics of market efficiency and common
damages methodology have been cited with approval by the respective courts in In re:
CenturyLink Sales Practices and Securities Litigation,6 Laurence Rougier, et al. v. Applied
Optoelectronics, Inc., et al., (which included the certification of the class of options




5
    “A residential mortgage-backed security (MBS) is an instrument whose cash flow
    depends on the cash flows of an underlying pool of mortgages.” Frank J. Fabozzi and
    Steven V. Mann, The Handbook of Fixed Income Securities, Seventh Edition,
    McGraw-Hill Education (2005), p. 16 (“Handbook”).
6
    In re: CenturyLink Sales Practices and Securities Litigation, Memorandum of Law and
    Order (D. Minn. Sept. 14, 2020), Dkt. 813.
    The Court also noted that “Because price impact can be observed on ‘front end’ (i.e.,
    misstatements causing or maintaining inflation) or on the ‘back end’ (i.e., a decline in
    price caused by the corrective disclosures), Defendants must affirmatively disprove
    both to satisfy their burden.” (p. 31, citing Ark. Teacher Ret. Sys. v. Goldman Sachs
    Grp., Inc. (2d. Cir. 2020).
    “Defendants’ criticisms of the specifics of which techniques will be used to construct
    the inflation ribbon and actually calculate losses with Hartzmark’s damages model are
    premature. At the class certification stage, Plaintiffs need merely show, as Hartzmark
    has done, that ‘the techniques used to estimate the true price (and thus calculate
    artificial inflation) will be common to all putative class members and will be applied
    on a class-wide basis.’” p. 42.
    “There is nothing about there being more plaintiffs that makes the damages model more
    or less accurate, because there is no argument here that damages would be
    individualized.” p. 44.

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holders)7 Christakis Vrakas, et al. v. U.S. Steel Corp., et al (which included the certification
of the class of options holders),8 Lord Abbett Affiliated Fund, Inc. et al. v. Navient Corp.
et al. (which included the certification of the class of options holders),9 In re Signet
Jewelers Limited Securities Litigation,10 West Palm Beach Police Pension Fund, et al. v.



7
     Laurence Rougier, et al. v. Applied Optoelectronics, Inc., et al., No. 4:17-cv-02399,
     ECF Nos. 125, 131 (S.D. Tex. Nov. 13, 2019), at 30 (finding that “Plaintiffs’ proposed
     damages model comports with the requirements of Rule 23(b)(3) as set forth in
     Comcast Corp. v. Behrend, 569 U.S. 27 (2013))”; at 31 (finding that “Furthermore,
     courts recognize event studies, like the one used by Dr. Hartzmark, as an accepted
     method for determining artificial inflation and out-of-pocket damages in suits involving
     fraud on the market liability.”); at 34-35 (finding that “Dr. Hartzmark’s report and
     supplemental report describe at length his method for calculating the “but for” value of
     the stock, for disaggregating inflation or price fluctuations not related to the
     misrepresentations found by a jury, and how he would use the inflation ribbon to
     methodically calculate damages for each Class Member. Thus, unlike the plaintiffs in
     BP I, the Plaintiffs here have satisfied their burden to demonstrate a damages model
     that calculates artificial inflation, the but for price, and will disaggregate inflation
     unrelated to fraud. Also, as was the case for the post-explosion subclass the district
     court certified in BP II, there is no disconnect between Plaintiffs’ theory of liability and
     damages model in violation of Comcast.”) (citations omitted) at 36 (“As detailed above,
     Plaintiffs’ method for demonstrating class-wide damages is consistent with its fraud on
     the market theory of liability, Dr. Hartzmark proposes a damage methodology that will
     disaggregate losses not attributable to fraud found by the jury, and class certification
     under Rule 23(b)(3) will not violate Comcast.”); and at 38 (finding that “Plaintiffs have
     also proposed a damages methodology that is common to the class and is properly
     tethered to their corrective disclosure theory of liability.”).
8
     Christakis Vrakas, et al. v. U.S. Steel Corp., et al., Memorandum Order (W.D. Pa., Dec.
     31, 2019), Dkt. 215, at 16 (finding that “Plaintiffs cite several cases in this Circuit and
     elsewhere that affirm the appropriateness of the out-of-pocket methodology that Dr.
     Hartzmark proposes as a sufficient damages model for class certification purposes.”
     (footnote omitted)).
9
     Lord Abbett Affiliated Fund, Inc. et al. v. Navient Corp. et al., Memorandum Opinion
     (D. Del. Aug. 25, 2020).
10
     In re Signet Jewelers Limited Sec. Litig., 2019 WL 3001084 (S.D.N.Y. 2019) at *20
     (finding that “Plaintiff’s burden at this stage is simply to propose a methodology for
     calculating damages that corresponds to its theory of liability. It has done so here. Dr.
     Hartzmark’s purports to ‘us[e] the results of an event study along with the disclosures
     of firm-specific information’ to measure ‘the level of artificial inflation in the prices of
     the Signet common stock’ based upon ‘price reactions to disclosures revealing
     [Defendants’] alleged misstatements and omissions.’ . . . ‘From this, daily levels of


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DFC Global Corp., et al.,11 In re Cobalt International Energy, Inc. Securities Litigation
(which included the certification of the class of bond holders),12 and William D. Wallace,
et al. v. IntraLinks Holdings, Inc., et al.13 I also wrote a series of reports cited in the district
court’s opinion granting class certification of DVI common stock and corporate bonds in
In re DVI, Inc. Securities Litigation, 249 F.R.D. 196 (E.D. Pa. 2008), which was affirmed
by the Third Circuit in In re DVI, Inc. Securities Litigation, 639 F.3d 623 (3d Cir. 2011)
(which included the certification of the class of bond holders). I have also co-authored
three law review publications discussing the commonly used empirical tests applicable to
securities class actions.14

        6.    I earned my B.A. in economics from The University of Michigan and my
M.A. and Ph.D. in economics from The University of Chicago. I have taught economics




     inflation can be calculated by adjusting the inflation measure for each day throughout
     the Class Period.’ This methodology, which applies on a class-wide basis, is capable
     of measuring the out-of-pocket losses suffered by the Class members.”) (citations
     omitted).
11
     W. Palm Beach Police Pension Fund, et al. v. DFC Global Corp., et al., 2016 WL
     4138613, at *13 (E.D. Pa. Aug. 4, 2016) (finding that “Dr. Hartzmark has data
     underlying his conclusions and [the defendants’ expert] just has noise”).
12
     In re Cobalt Intl. Energy, Inc., Sec. Litig., 2017 WL 2608243 (S.D. Tex. 2017) at *5
     (finding that “Plaintiffs have provided expert testimony demonstrating, at this class
     certification stage, that the market for Cobalt Notes was adequately efficient to allow
     them to rely on the fraud-on-the market presumption of reliance.”).
13
     William D. Wallace, et al. v. IntraLinks et al., Opinion (S.D.N.Y., September 30, 2014),
     Dkt. 99, at 19 (finding that “While calculating the proper damages based on the date of
     purchase and sale may be complicated, it does not demand excessive individual inquiry.
     Plaintiff’s proposed determination of damages by event study appears to be a workable
     methodology of determining damages on a class-wide basis that conforms to its theory
     of liability, thus meeting the requirements of Comcast Corp. v. Behrand, 133 S. Ct.
     1426 (2013).”).
14
     Michael L. Hartzmark, Cindy A. Schipani, H. Nejat Seyhun, Fraud on the
     Market: Analysis of the Efficiency of the Corporate Bond Market, 2011 Colum. Bus.
     L. Rev., 654-716 (2011); Michael L. Hartzmark, H. Nejat Seyhun, The Curious
     Incident of the Dog That Didn’t Bark and Establishing Cause-and-Effect in Class
     Action Securities Litigation, 6 Va. L. & Bus. Rev., 415-66 (Winter 2012); Michael L.
     Hartzmark, H. Nejat Seyhun, Understanding the Efficiency of the Market for Preferred
     Stock, 8 Va. L. & Bus. Rev., 149-230 (Spring 2014).

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and financial economics in the Department of Economics at The University of Chicago and
jointly in the Michigan Business School (now the Ross School of Business) and the
Department of Economics at the University of Michigan.

       7.    At the University of Michigan, I created and taught courses on financial and
commodity futures markets. While an Assistant Professor at the University of Michigan,
I received a research grant from the University of Chicago Center for the Study of Futures
Prices, as well as the John M. Olin Faculty Fellowship to further my research in financial
markets. In addition, I published articles in peer-reviewed journals related to financial
markets. Prior to my tenure track appointment at the University of Michigan, I was
employed as a Financial Economist at the Commodity Futures Trading Commission,
Division of Economics and Education.

       8.    I have been a holder of the Series 7 and 63 registered representative licenses
and have served as a Financial Advisor at Fahnestock & Co., Inc. (now Oppenheimer &
Co., Inc.). I was also founder and President of DARMA, LLC, a wealth and asset advisory
company affiliated with Oppenheimer & Co., Inc.

       9.    My qualifications, publications, and expert engagements are summarized in
detail in my curriculum vitae, which is attached to this report as Appendix A. Hartzmark
Economics Litigation Practice, LLC is being compensated at my standard rate of $700 per
hour for my work in this matter. My compensation is not dependent on my opinions
expressed in this report or the outcome of this matter.

III.   SUMMARY OF OPINIONS

       10.   Based on my analysis to date, I have formed the following opinions:

       OPINION 1: Throughout the Class Period, Tesla common stock and options on
       Tesla common stock traded in efficient markets. This opinion is based on an
       analysis of a basket of factors, including those set forth in Cammer and Krogman,
       which, consistent with the fundamental principles of economics and finance and
       academic research, indicate that Tesla common stock and options on Tesla common
       stock traded in efficient markets. The behavior of Tesla common stock price
       movements on news dates collectively over the Class Period, as well as other

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         empirical analyses of price movements, demonstrate that Tesla common stock and
         options on Tesla common stock rapidly responded to unanticipated and material
         Company-specific information. Analysis of the other factors set forth in Cammer
         and Krogman also demonstrate that Tesla common stock and options on Tesla
         common stock traded in efficient markets throughout the Class Period.

         OPINION 2: While I have not been asked to quantify damages, the calculations of
         damages for violations of Section 10(b) of the Exchange Act (and SEC Rule 10b-
         5) for both the Tesla common stock and the options on Tesla common stock are
         subject to a common methodology and may be computed on a class-wide basis.

         11.   In reaching these opinions, I have relied upon various materials, which are
listed in Appendix B and/or are otherwise cited in this report. The research and analysis
upon which my opinions are based has been conducted by me with the assistance of
personnel working under my direction and supervision. My conclusions are based on
information available to me as of the date of this report. I understand that discovery is
ongoing, and I may review, evaluate, and analyze relevant material that becomes available
to me in the future. I reserve the right to modify my conclusions based on additional
information.

IV.      BASIS FOR OPINIONS ON EFFICIENCY OF THE MARKET FOR TESLA
         COMMON STOCK AND OPTIONS

         A. Efficient Market Defined

         12.   A market is defined as being informationally efficient if prices of securities
trading in that market reflect all material, publicly available information.15 Further,
informational efficiency means that prices of securities rapidly change to reflect new,
unanticipated, material, public information. The notion behind efficient markets is that the



15
      See Eugene F. Fama, Efficient Capital Markets: A Review of Theory and Empirical
      Work, 25 J. Fin., 383 (1970) (“A market in which prices always ‘fully reflect’ available
      information is called ‘efficient’”); Eugene F. Fama, Efficient Capital Markets: II, 46 J.
      Fin., 1575 (1991) (“I take the market efficiency hypothesis to be the simple statement
      that security prices fully reflect all available information.”).

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competition among investors to discover new profit opportunities pushes security prices to
reflect all material, publicly available information.

          13.   The finance literature supports the concept of market efficiency. The father
of modern finance and Nobel Prize winner, Eugene Fama, wrote, “We shall conclude that,
with but a few exceptions, the efficient markets model stands up well,”16 and “[i]n short,
the evidence in support of the efficient markets model is extensive, and (somewhat
uniquely in economics) contradictory evidence is sparse.”17 In 1991, Professor Fama
updated his analysis and wrote, “The empirical literature on efficiency and asset-pricing
models passes the acid test of scientific usefulness.”18 Professor Fama also wrote that
“precise inferences about the degree of market efficiency are likely to remain impossible.
Nevertheless, judged on how it has improved our understanding of the behavior of security
returns, the past research on market efficiency is among the most successful in empirical
economics, with good prospects to remain so in the future.”19

          14. The opinion in Cammer articulated five factors used by courts to evaluate
whether a market is efficient for the purposes of establishing the presumption of investor
reliance articulated by the Supreme Court in Basic Inc. v. Levinson, 485 U.S. 224 (1988).
The fundamental principles of economics and finance that underlie a large body of
academic research published over the past forty years support each factor as an indicator
of market efficiency. As explained below, it is important to understand that assessment of
market efficiency does not turn on any one single factor; rather, it is an assessment of all
the factors together that allows one to reach the conclusion that a market for a security is




16
      Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. Fin.
      at 383.
17
      Id. at 416.
18
      Fama, Efficient Capital Markets: II, 46 J. Fin. at 1576.
19
      Id. at 1576. See also Eugene F. Fama, Market efficiency, long-term returns, and
      behavioral finance, 49 J. Fin. Econ. 283 (1998); G. William Schwert, Anomalies and
      Market Efficiency, in Handbook of the Economics of Finance (G. Constantinides et al.,
      eds., 2003); and Burton G. Malkiel, The Efficient Market Hypothesis and Its Critics,
      17 J. Econ. Perspectives 59 (2003).

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efficient. For ease of comprehension, the factors can be separated into two general
categories: “operational factors” and “price-related factors.”

           1.      Operational Factors Employed to Evaluate Whether a Security
                   Trades in an Efficient Market

         15.    The operational factors examine the trading and arbitrage activity in the
market, with the clear understanding that (a) an efficient market is one in which anyone
can buy and sell securities; (b) an efficient market is one that has a high level of trading
activity, and for which trading information is readily available; and (c) an efficient market
can be characterized as a liquid market that can absorb a reasonable amount of trading
volume at relatively low trading costs.20 Thus, the courts have primarily focused on the
question of whether a security trades in an open and well-developed market,21 with the
clear understanding that (a) an open capital market is one in which anyone can buy and sell
securities; (b) a developed capital market is one that has a high level of trading activity,
and for which trading information is readily available; and (c) a developed capital market
can be characterized as a liquid market that can absorb a reasonable amount of trading
volume at relatively low trading costs. As a result, the operational factors are primarily
used to examine whether there is sufficient trading and arbitrage activity, along with
widespread information dissemination, such that it can reasonably be expected that the
market price for the security rapidly reflects new information.22



20
      Economists often suggest that, “The common metrics of liquidity are turnover, bid-ask
      spread, and transactional size.” This is also consistent with the operational Cammer
      factors. Handbook, at 363.
21
      “A developed market is one which has a relatively high level of activity and frequency,
      and for which trading information (e.g., price and volume) is widely available. It is
      principally a secondary market in outstanding securities. It usually, but not necessarily,
      has continuity and liquidity (the ability to absorb a reasonable amount of trading with
      relatively small price changes).” Cammer, 711 F. Supp. at 1276 n.17, (citing Bromberg
      & Lowenfels, 4 Securities Fraud and Commodities Fraud, § 8.6 (Aug. 1988)).
22
      “In an open and developed market, the dissemination of material misrepresentations or
      withholding of material information typically affects the price of the stock, and
      purchasers generally rely on the price of the stock as a reflection of its value.” Peil v.
      Speiser, 806 F.2d at 1161.


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          16.   The operational factors set forth in Cammer are:

          (1)      average weekly turnover;23

          (2)      analyst coverage;24

          (3)      number of market makers or dealers of the security, along with
                   arbitrageurs;25 and




      “Indeed, nearly every court that has considered the proposition has concluded that
      where materially misleading statements have been disseminated into an impersonal,
      well-developed market for securities, the reliance of individual plaintiffs on the
      integrity of the market price may be presumed.” Basic, 485 U.S. at 247.
23
      “Turnover measured by average weekly trading of two percent or more of the
      outstanding shares would justify a strong presumption that the market for the security
      is an efficient one; one percent would justify a substantial presumption.” Cammer, 711
      F. Supp. at 1286.
24
      “…[I]t would be persuasive to allege a significant number of securities analysts
      followed and reported on a company’s stock during the class period.” Id. See also
      Teamsters Local 445 Freight Div. Pension Fund v. Bombardier, Inc., 546 F.3d 196,
      205 (2d Cir. 2008) (“‘[T]he greater the number of securities analysts following and
      reporting on a company’s stock, the greater the likelihood that information released by
      a company is being relied upon by investors.’”) (quoting In re Xcelera.com Sec. Litig.,
      430 F.3d 503, 514 (1st Cir. 2005)).
25
      “[I]t could be alleged the stock had numerous market makers. The existence of market
      makers and arbitrageurs would ensure completion of the market mechanism; these
      individuals would react swiftly to company news and reported financial results by
      buying or selling stock and driving it to a changed price level.” Cammer, 711 F. Supp.
      at 1286-87.
      Related to arbitrage activity, some courts have also suggested that other factors may be
      relevant to determining whether a market is efficient for class-certification purposes,
      including the activity and number of institutional investors. For example, in In re
      Enron Corporation Securities, Derivative & “ERISA” Litigation, 529 F. Supp. 2d 644,
      756 (S.D. Tex. 2006), the court decided that the Enron bonds traded in efficient markets
      partially based on “data on institutional holdings . . . [that] there was active trading . . .
      during the Class Period, [and] there were a substantial number of institutional
      investors.”
      “Consistent with the efficiency indicators used recently by the courts, the inefficient
      firms have lower mean trading volume, fewer market makers, lower analyst following,
      and lower institutional ownership (number and percentage) than efficient firms.”
      Brad M. Barber, Paul A. Griffin, and Baruch Lev, The Fraud-on-the-Market Theory


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          (4)     the issuer’s eligibility to file SEC Form S-3 and to incorporate by reference
                  other SEC Forms.26

         17.    The court in Krogman suggested three additional operational factors:

          (1)     the market capitalization of the security;27

          (2)     the bid-ask price spread;28 and

          (3)     the float of the security (i.e., the amount of outstanding security not held
                  by insiders of the corporation).29




      and the Indicators of Common Stocks’ Efficiency, 19 J. Corp. L., 285-312, 302 (Winter
      1994) (footnote omitted and emphasis added).
26
      “… [I]t would be helpful to allege the Company was entitled to file an S-3 Registration
      Statement in connection with public offerings or, if ineligible, such ineligibility was
      only because of timing factors rather than because the minimum stock requirements set
      forth in the instructions to Form S-3 were not met.” Cammer, 711 F. Supp. at 1287.
      See also id. at 1271 n.5 (“Generally speaking, it is the largest and most well-known
      companies which register equity securities on Form S-3”); id. at 1284 (quoting SEC
      Securities Act Release No. 6235, 45 FR 63,693 (1980)) (“This form [S-3] is predicated
      on the Commission’s belief that the market operates efficiently for these companies,
      i.e., that the disclosure in Exchange Act reports and other communications by the
      registrant, such as press releases, has already been disseminated and accounted for by
      the market place.”) (emphasis omitted).
27
      In Krogman, the court suggested that “[m]arket capitalization, calculated as the number
      of shares multiplied by the prevailing share price, may be an indicator of market
      efficiency because there is a greater incentive for stock purchasers to invest in more
      highly capitalized corporations.” 202 F.R.D. at 478.
28
      See Krogman, 202 F.R.D. at 478 (“A large bid-ask spread is indicative of an inefficient
      market, because it suggests that the stock is too expensive to trade.”).
29
      Insiders cannot freely trade in the stock of their firm based on their privileged,
      nonpublic information. They are subject to both trading restrictions (blackout periods,
      and restrictions of Rule 10b-5 and Exchange Act Sections 16(b) and 16(c)) and the
      reporting requirements of Section 16(a). See 17 C.F.R. § 240.10b-5 (2011); 15 U.S.C.
      §§ 78p(b), 78p(c), 78p(a) (2011). “In determining efficiency, courts also consider the
      percentage of shares held by the public, rather than insiders.” Krogman, 202 F.R.D. at
      478.

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           2.      Price-Related Factors Employed to Evaluate Whether a Security
                   Trades in an Efficient Market

         18.    The price-related factors are used to examine whether the market price for the
security rapidly reflects unanticipated information about future Company cash flows as
would be expected in an efficient market.

         19.    To examine the market efficiency of Tesla common stock and options, I test
whether:

         (1)     there is a rapid price reaction to new information relevant to the valuation
                 of the security;30 and

         (2)     the speed of response by examining whether certain statistical properties are
                 associated with security price movements, such as the lack of
                 autocorrelation.31

           3.      Evaluating Operational and Price-Related Factors

         20.    Professor Fama’s conclusion that “precise inferences about the degree of
market efficiency are likely to remain impossible,” as well as other academic research in
economics and finance, support an approach whereby the above factors should be used as



30
      “[I]t would be helpful to a plaintiff seeking to allege an efficient market to allege
      empirical facts showing a cause and effect relationship between unexpected corporate
      events or financial releases and an immediate response in the stock price.” Cammer,
      711 F. Supp. at 1287.
31
      “Autocorrelation is usually found in time-series data. Economic time series often
      display a ‘memory’ in that variation is not independent from one period to the next.”
      William H. Greene, Econometric Analysis (Prentice Hall, 2d ed. 1993) at 358. In other
      words, autocorrelation is the measurement of the relationship between the security
      return at time t and the return of the same security at some fixed time in the past. First-
      order autocorrelation would be found when there is a statistically significant
      relationship between the common stock return today and the common stock return
      yesterday. Another way of looking at this concept is that if an observer can use the
      return from yesterday to predict with some level of certainty the return today, there
      exists autocorrelation. The absence of autocorrelation is an indicator of market
      efficiency. See Lehocky v. Tidel Techs., Inc., 220 F.R.D. 491, 506-507 n.20 (S.D. Tex.
      2004) (noting that both parties’ experts agreed on the helpfulness of an autocorrelation
      analysis).

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a basket of indicators of the efficiency of the security, but as previously noted by no means
is it necessary that each factor in that basket specifically offer support. Judicial analysis of
market efficiency reflects this recognition. For instance, the Second Circuit recently held
that market efficiency may be demonstrated where the operational factors support that
conclusion, even if the price-related factor does not.32 In so holding, the Second Circuit
noted, “The Cammer and Krogman factors are simply tools to help district courts analyze
market efficiency in determining whether the Basic presumption of reliance applies in class
certification decision–making.        But they are no more than tools in arriving at that
conclusion, and certain factors will be more helpful than others in assessing particular
securities and particular markets for efficiency.”33

            21.   In forming my opinion that Tesla common stock and Tesla options traded in
efficient markets throughout the Class Period, I have considered each of these operational
and price-related factors.

V.          ANALYSIS OF OPERATIONAL FACTORS OF TESLA COMMON STOCK

            A. Background

            22.   In its Form 10-K filed for the fiscal year ending December 31, 2018, Tesla
described itself as follows:

                  We design, develop, manufacture and sell high-performance
                  fully electric vehicles (“EVs”) and energy generation and
                  storage systems, and also install and maintain such energy
                  systems and sell solar electricity. We are the world’s first
                  vertically integrated sustainable energy company, offering end-
                  to-end clean energy products, including generation, storage and
                  consumption.34




32
      Waggoner v. Barclays PLC, 875 F.3d 79, 98 (2d Cir. 2017), cert. denied, 138 S. Ct.
      1702 (2018).
33
      Id.
34
      Tesla SEC Form 10-K filed February 19, 2019, p. 1.

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         23.    Tesla is a Delaware corporation with headquarters in California.35
Throughout the Class Period, Tesla common stock was listed on The NASDAQ Global
Select Market under the “TSLA” trading symbol, where it began trading in June 2010.36

         24.    On July 27, 2018, approximately two weeks before the start of the Class
Period, Tesla had 170.6 million shares outstanding.37 On September 30, 2018 (about a
month and one-half months after the end of the Class Period), Tesla had 171.6 million
shares outstanding.38

         B. Analysis of the Operational Factors

           1.      Cammer Factor I – Average Weekly Trading Volume

         25.    The first operational factor is the average weekly turnover of a security. As
discussed in the Cammer opinion: “Turnover measured by average weekly trading of two
percent or more of the outstanding shares would justify a strong presumption that the
market for the security is an efficient one; one percent would justify a substantial
presumption.”39 A high trading volume indicates substantial investor interest in the
security, and thus increases the likelihood that newly-available public and private
information will be rapidly incorporated in the security price through trading.40 In addition,
high volume suggests the possibility that investors will, all other factors staying constant,
be able to reap greater profits from any information they may possess because they can
more easily participate in the market. This greater profit opportunity from the information




35
      Tesla SEC Form 10-K filed February 19, 2019, cover.
36
      Tesla SEC Form 10-K filed February 19, 2019, p. 39.
37
      Tesla SEC Form 10-Q filed August 6, 2018, cover.
38
      Tesla SEC Form 10-Q filed November 2, 2018, p. 4.
39
      Cammer, 711 F. Supp. at 1286.
40
      Jonathan M. Karpoff, The Relation between Price Changes and Trading Volume: A
      Survey, 22 J. of Fin. and Quantitative Analysis, 109, 112 (1987), surveys the literature
      on trading volume and absolute price changes. Karpoff documents that higher volume
      results in greater absolute stock price reactions. See also, Brad M. Barber, Paul A.
      Griffin, and Baruch Lev, The Fraud-on-the-Market Theory and the Indicators of
      Common Stocks’ Efficiency, 19 J. Corp. L. 285 (Winter 1994).

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they may possess then encourages investors to make greater investments in information
gathering and processing. This, in turn, will enhance the informational efficiency of the
market.41

         26.   To reliably determine whether the turnover fulfills the Cammer criterion, I
calculated average weekly turnover over the Class Period, which is equal to the average of
the ratio of weekly volume divided by the shares outstanding for that week.42 The Class
Period spans almost two full weeks. Exhibit I contains the results of this analysis and
shows that for the Class Period a total of 135.8 million shares traded hands. The average
weekly volume was 72.2 million shares and the ratio of the average weekly volume to
shares outstanding was 42% – significantly more than the 2% threshold that Cammer held
“would justify a strong presumption that the market for the security is an efficient one”43 –
and the median was 42% (the ratio for the week of August 6, 2018 – August 10, 2018 was
54% and for August 13, 2018 – August 17, 2018 was 30%).44 In addition, in a recently
published paper, the authors calculated average daily turnover over 2016-2018 for all
NYSE and NASDAQ stocks. For comparison purposes, over Tesla’s turnover during the
Class Period would have placed it in the top 5% of all the NYSE and NASDAQ traded
companies.45



41
      Larry Harris, Trading and Exchanges: Market Microstructure for Practitioners (Oxford
      University Press, 2003), pp. 70, 205, 215.
42
      The trading volume I utilize for the turnover analysis is the composite daily reported
      trading volume, which I obtained from Bloomberg. The source for shares outstanding
      is Tesla SEC filings.
43
      Cammer, 711 F. Supp. at 1286.
44
      These figures include the entire weeks of the start date and end date of the Class Period
      (i.e., the weekly figures also include volume on August 6, 2018). As a comparison, I
      also compute weekly turnover for the 120 trading days prior to the start of the Class
      Period (the “PreCP Period;” as described later, the PreCP Period is used as the
      estimation period for my event study analysis). The average weekly turnover over the
      PreCP Period was 23.5% (see Appendix C).
45
      See, Bharat Bhole, Sunita Surana, and Frank Torchio, Benchmarking Market Efficiency
      Indicators for Securities Litigation, 2020 U. of Ill. Online L. Rev. 96 (2020) (“BST
      2020”), Table 1 (p. 102). I calculate daily average turnover for Tesla as the weekly
      average divided by 5.

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         27.    Not only is Tesla’s average weekly turnover over 20 times the level that
supports a “strong presumption” of efficiency under Cammer, but the average and median
weekly turnover measures here are greater than many of the turnover measures calculated
in other litigation where the courts found the common stock to trade in an efficient
market.46 Therefore, the high average weekly turnover of Tesla common stock therefore
“justif[ies] a strong presumption that the market for the security is an efficient one”47
throughout the Class Period.

           2.      Cammer Factor II – Analyst Coverage

         28.    The second operational factor is the number of security analysts who followed
and reported on Tesla’s common stock. As discussed in Cammer: “It would be persuasive
to allege a significant number of securities analysts followed and reported on a company’s
stock during the class period.”48 As more analysts follow and report on a company’s
securities, more information about the company is disseminated to a greater number of
investors. The presence of such professionals means that more information is likely to be
reflected in the price of these securities either through increased trading or simply through
revaluation of the securities by the market participants.49




46
      See, e.g., City of Ann Arbor Emps.’ Ret. Sys. v. Sonoco Prods. Co., 270 F.R.D. 247,
      256 (D.S.C. 2010) (finding a stock with a weekly trading volume of 2.61% to have
      traded in an efficient market); In re Mills Corp. Sec. Litig., 257 F.R.D. 101, 107 (E.D.
      Va. 2009) (finding an average weekly trading volume of 2-3.5% indicative of market
      efficiency).
47
      Cammer, 711 F. Supp. at 1286.
48
      Cammer, 711 F. Supp. at 1286. See also In Re Xcelera.com Securities Litigation, 430
      F.3d 503 (1st Cir. 2005) at 514 (“[T]he greater the number of securities analysts
      following and reporting on a company’s stock, the greater the likelihood that
      information released by a company is being relied upon by investors.”).
49
      See, for example, Jill E. Fisch, The Role and Regulation of the Research Analyst,
      Research Handbook on the Economics of Corporate Law, Edgar Elgar Publishing,
      2012, pp. 315, 317. (“The role of the research analyst…is to provide information to the
      marketplace. Analysts enhance capital market efficiency by enabling stock prices to
      reflect information and by reducing the need for each investor individually to gather
      and analyze that information. … Research analysts collect information about specific


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         29.   As Exhibit II shows, as recorded by Bloomberg, during the Class Period there
were between 32 and 33 research analysts following the Company. Further, there were
between 21 and 22 research analysts that were part of the Thomson Reuters I/B/E/S
consensus EPS estimate for the current fiscal year.50 In-depth research analyst coverage
included the following entities among others from August 1 through August 17, 2018
(which includes Tesla’s most recent earnings results prior to the Class Period): Argus
Research, Barclays, Berenberg, Cannacord Genuity, CFRA Equity Research, Cowen and
Co., Credit Suisse, Elazar Advisors, Evercore ISI, Guggenheim Securities, Jefferies,
JPMorgan, Moody’s, Morgan Stanley, Morningstar, Oppenheimer, Piper Sandler, RBC
Capital Markets, Susquehanna Financial Group, and UBS.51 There were over 15 additional
technical or non-English language analyst firms that covered Tesla and reported results.52
In total, there were in excess of 57 analysts reporting on Tesla during the PreCP Period and
Class Period. See Exhibit III-A for a listing of the number of reports within the PreCP
Period and the Class Period from these analysts. This exhibit shows that there were 332
reports published during the PreCP Period and the Class Period, with 54 reports published
during the Class Period.

         30.   The substantial coverage of Tesla’s stock by analysts can also be observed in
analyst participation in conference calls held by Tesla. Many of these analysts participated
in the regular earnings calls Tesla hosted in conjunction with the release of its quarterly




      firms and the overall market. They then package that information for use by investors
      in trading decisions.”)
      Michael J. Brennan, Narasimhan Jegadeesh, and Bhaskaran Swaminathan, Investment
      Analysis and the Adjustment of Stock Prices to Common Information, 6 Rev. of Fin.
      Stds. 799, 800 (1993). (“Recent theory suggests that the number of analysts may have
      an effect on the speed of adjustment to new information…. this would suggest an
      association between the number of analysts and the speed of adjustment, if the number
      of analysts can be regarded as a proxy for the number of informed investors.”)
50
      Sources: Bloomberg and S&P Capital IQ. For the PreCP Period, there was an average
      of 31 analysts as recorded by Bloomberg and 22 that were part of the Thomson Reuters
      I/B/E/S consensus EPS estimate for the current fiscal year (see Appendix C).
51
      Based on reports available on the S&P Capital IQ and Thomson Eikon databases.
52
      Based on reports available on the S&P Capital IQ and Thomson Eikon databases.

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financial results. On these conference calls, analysts and other investors were able to ask
questions about Tesla, with twelve on the call preceding the Class Period (for Q2-2018
earnings) and nine on the call after the Class Period (for Q3-2018 earnings). See Exhibit
III-B for a list of analysts who asked questions on these conference calls.

         31.   The number of analysts following Tesla compares favorably to the number
following other defendant companies at issue in other cases where the courts concluded
that the common stock traded in efficient markets.53 In addition, based on 2016-2018 data
in BST 2020, Tesla’s analyst coverage described above (based on Thomson data) would
have placed it in the top 10% of all NYSE and NASDAQ traded companies.54

         32.   In addition to the analyst reports, there were numerous press releases, news
stories and other media coverage of Tesla throughout the eleven calendar days of the Class
Period (9 trading days). (See Appendix D for a chronology of information releases.) I
found approximately 2,900 articles (including over 500 articles from Bloomberg News or
First Word55 and over 2,400 from Factiva56) that discussed Tesla.

         33.   Finally, as a public company, Tesla was required to file numerous information
disclosures in SEC forms that contain new and possibly material information (e.g., 10-K,
10-Q, Proxy and Registration forms) and others that were related to material changes in
the Company (e.g., 8-K).




53
      See, e.g., Aranaz v. Catalyst Pharmaceutical Partners, Inc., 302 F.R.D. 657, 669 (S.D.
      Fla. 2014) (finding at least four different securities analysts following Catalyst
      supported market efficiency); Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 153-54
      (S.D.N.Y. 2012) (finding that eight separate firms issuing reports about Flamel and
      four additional firms participating in investor conference and more than two dozen
      articles and press releases being published about Flamel was sufficient to favor a
      finding of market efficiency).
54
      BST 2020 at Table 2, p. 104.
55
      Based on a search of Bloomberg News or Bloomberg First Word articles for company
      “Tesla Inc” with medium relevance.
56
      Factiva is a Dow Jones company. For Factiva, I searched all sources for the company
      code “Tesla, Inc.” See infra note 97.

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         34.    The continuous coverage of Tesla by a substantial number of analysts,
investment professionals, public press, and financial institutions, along with regular and
frequent disclosures by the Company in the form of press releases and SEC filings,
provides evidence supporting the conclusion that Tesla common stock traded in an efficient
market throughout the Class Period.

           3.      Cammer Factor III – Market Makers and Arbitrageurs

         35.    The next operational factor is the presence of market makers and arbitrageurs.
As discussed in Cammer, “[t]he existence of market makers and arbitrageurs would ensure
completion of the market mechanism; these individuals would react swiftly to company
news and reported financial results by buying or selling stock and driving it to a changed
price level.”57 This factor, as suggested by the Cammer court related to a stock that was
traded in the 1980’s over-the-counter market or on the early version of NASDAQ (which,
at the time, was not a national exchange, but instead was a reporting network in which
transactions in securities are reported to the National Association of Securities Dealers for
publication).58 The Cammer court understood that the market-making infrastructure of a
stock market is indicative of its efficiency.59

         36.    As explained below, consideration of this factor supports a finding of market
efficiency for Tesla common stock because: (a) the stock was traded on the NASDAQ




57
      Cammer, 711 F. Supp. at 1286-87. See also In re Xcelera.com, 430 F.3d at 515
      (quoting Black’s Law Dictionary (8th ed. 2004)) (“A market-maker is ‘one who helps
      establish a market for securities by reporting bid-and-asked quotations’ (the price a
      buyer will pay for a security and the price a seller will sell a security).” A market-
      maker also “‘stands ready to buy or sell at these publicly quoted prices.’”); Id. (quoting
      Lehocky v. Tidel Techs., Inc., 220 F.R.D. 491, 508 n.24 (S.D. Tex. 2004)); In Re
      PolyMedica Securities Litigation, 453 F. Supp. 2d 260, 268 (D.C. Mass 2006) (“A
      market-maker is ‘[o]ne who helps establish a market for securities by reporting bid-
      and-asked quotations’ (the price a buyer will pay for a security and the price a seller
      will sell a security) . . . . A market-maker also ‘stand[s] ready to buy or sell at these
      publicly quoted prices.’” (citations omitted)).
58
      Cammer, 711 F. Supp. at 1271 n.24.
59
      See also supra note 25.

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Global Select Market; (b) was actively traded by a large group of sophisticated investors;60
and (c) there were opportunities for arbitrage.61

               a)      Trading on the NASDAQ
         37.   Throughout the Class Period, Tesla common stock traded on the NASDAQ
Global Select Market.62 The NASDAQ National Market System is one of the most
renowned, most liquid and most efficient forums for trading stocks in the world. The
NASDAQ exchange is decentralized and includes the participation of multiple market
makers, dealers or financial intermediaries who stand ready to buy or sell in order to ensure
there is adequate liquidity and orderly trading.63 Because market makers make it easier for
investors to execute trades in a timely fashion and with reasonable transaction costs, a
larger number of market makers, not only signals widespread interest and participation in
the market for the particular security, but results generally in a relatively higher degree of
liquidity and narrower bid-ask spreads. These are attributes of efficient markets.

         38.   When the Cammer court issued its decision in 1989, over-the-counter trading
and NASDAQ were very different than they are today. With innovations in electronic
trading NASDAQ has become a national exchange and has grown to rival the NYSE in


60
      Enron, 529 F. Supp. 2d at 756.
61
      PolyMedica, 453 F. Supp. 2d at 273.
62
      The NASDAQ consists of three tiers: the NASDAQ Global Select Market; the
      NASDAQ Global Market; and the NASDAQ Capital Market. The listing requirements
      are most stringent for the Global Select Market, followed by the Global Market, and
      then the Capital Market. See NASDAQ Initial Listing Guide, June 2020, p. 6, available
      at: https://listingcenter.nasdaq.com/assets/initialguide.pdf (last visited September 18,
      2020).
63
      The difference in trading between the NYSE and NASDAQ has diminished. A recent
      study concludes that: “This study provides evidence of the homogenization of trading
      in the United States. The empirical results show that two significant characteristics of
      market quality—trading volume and transitory volatility—have become
      indistinguishable, on average, between NASDAQ stocks and those listed at the
      traditional listing [NYSE] exchanges. These results provide concrete evidence of a
      reality that is obvious to most practitioners: The market structures used for trading
      stocks are now essentially the same regardless of their primary listing markets.” See
      Lawrence Harris, The Homogenization of US Equity Trading, Working Paper,
      September 30, 2011, p. 2.

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size, liquidity and information dissemination.64 According to the 10-K filed by NASDAQ,
Inc. for the year ended 2017, “[NASDAQ is] a leading provider of trading, clearing,
marketplace technology, regulatory, securities listing, information and public company
services. … The Nasdaq Stock Market is the largest single venue of liquidity for trading
U.S.-listed cash equities.” 65 “As of December 31, 2017, there were 2,949 total listings on
The Nasdaq Stock Market, including 373 ETPs. The combined market capitalization was
approximately $11.6 trillion.”66 Furthermore, like its competitor, the NYSE, “Companies
seeking to list securities on The NASDAQ Stock Market must meet minimum listing
requirements, including specified financial and corporate governance criteria. Once listed,
companies must meet continued listing standards.”67

          39.     Courts (and economists) have generally presumed that common stocks traded
on the NASDAQ trade in an efficient market.68 In the Groupon decision, the court noted
that even the Defendants’ economic expert conceded that most securities traded on the
NASDAQ exchange traded in an efficient market.69




64
      For example, in 2007, NASDAQ became “fully operational as an independent
      registered national securities exchange ….” Nasdaq, Inc., SEC Form 10-K for fiscal
      year ending December 31, 2017, p. 2.
65
      Id. at 2-3.
66
      Id. at F-8.
67
      Id. at 5.
68
      Lumen v. Anderson, 280 F.R.D. 451, 459 (W.D. Mo. 2012) (“It would be remarkable
      for a court to conclude NASDAQ is not an efficient market . . .” (footnote omitted)).
      “While other courts have been reluctant to conclude that a stock was traded efficiently
      solely because it was traded on the NYSE or NASDAQ, most courts agree that such
      listing is a good indicator of efficiency.” Carpenters Pension Trust Fund of St. Louis,
      et al. v. Barclays PLC, et al., 2015 U.S. Dist. LEXIS 110382 at *26 (S.D.N.Y. 2015)
      (footnote omitted).
69
      “Dr. Gompers, Defendants’ expert, did not dispute Dr. Feinstein’s conclusions that (1)
      the NASDAQ exchange—on which Groupon shares traded—was a well-developed
      exchange on which most company’s stocks traded efficiently most of the time….”
      In re Groupon, Inc. Securities Litigation, 2015 WL 1043321, at *5 (N.D. Ill. 2015)
      (empahsis added).

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               b)      The Existence of Market Makers
         40.   Tesla investors benefitted from having market makers, who competed against
one another. According to Bloomberg, there were at least 81 dealers during the month
including the Class Period. These 81 financial intermediaries often risked their own capital
and utilized the most advanced information technology and sophisticated research teams
to assist investors by improving liquidity and information dissemination.70 Demonstrating
that there was active participation by a substantial number of brokers, Exhibit IV shows
that 9 brokers traded in excess of one percent of the total volume.

         41.   Therefore, the fact that Tesla was listed on the NASDAQ Global Select
Market and had at least nine active market makers, as well as many other less active market
makers, standing ready to buy or sell, provides evidence supporting the conclusion that
Tesla common stock traded in an efficient market throughout the Class Period.

               c)      Arbitrageurs and Institutional Holdings
         42.   As noted above, some courts have also considered the number and activity of
institutional investors, as well as the proportion of their holdings of the common stock as
evidence of market efficiency.71 Exhibit V lists 1,039 institutions that filed SEC Form
13F and other documents, disclosing the combined sizes of their beneficial and non-
beneficial ownership positions of Tesla common stock for either of the reporting quarters
before and after Class Period.72 These data show that “there was active trading . . . during



70
      Many market makers not only serve as intermediaries, but also trade for their own
      accounts.
71
      See, e.g., Enron, 529 F. Supp. 2d at 756.
72
      For securities traded on major U.S. exchanges, such as the NYSE, NASDAQ and
      AMEX, S&P Capital IQ gathers institutional ownership information via Form 13F
      filings and other sources. For 13F filings, the SEC’s rules state: “Institutional
      investment managers that use the United States mail (or other means or instrumentality
      of interstate commerce) in the course of their business and that exercise investment
      discretion over $100 million or more in Section 13(f) securities must file Form 13F. . .
      . An institutional investment manager is an entity that either invests in, or buys and
      sells, securities for its own account. For example, banks, insurance companies, and
      broker/dealers are institutional investment managers. So are corporations and pension
      funds that manage their own investment portfolios. An institutional investment


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the Class Period, [and] there were a substantial number of institutional investors,”73
including a large group of sophisticated investors, institutional investors and investment
advisors, who participated in the market for Tesla common stock either on their own behalf
or on behalf of other beneficial owners. Further, the top 20 largest institutional holders of
Tesla common stock (in terms of relative size) as of June 30, 2018 and September 30, 2018
held a large proportion of the public float (I also report the position relative to outstanding
shares). See Exhibit VI. This exhibit shows that the aggregate positions of these 22
institutions held between 57% and 61% of the public float (and between 45% and 49% of
the outstanding shares) as of the listed dates. In addition, based on 2016-2018 data in BST
2020, Tesla’s institutional ownership as a percent of shares during the Class Period would
have placed it between the 25th and 50th percentiles of NYSE and NASDAQ traded
companies.74

         43.   The reasonably large number of sophisticated institutional investors and
investment advisors, as well as the relatively large proportion of the float they held offers
some support that Tesla common stock traded in an efficient market throughout the Class
Period.75




      manager is also a natural person or an entity that exercises investment discretion over
      the account of any other natural person or entity. For example, an investment adviser
      that manages private accounts, mutual fund assets, or pension plan assets is an
      institutional investment manager. So is the trust department of a bank. A trustee is an
      institutional investment manager, but a natural person who exercises investment
      discretion over his or her own account is not an institutional investment manager.” U.S.
      Securities and Exchange Commission: Division of Investment Management:
      Frequently Asked Questions About Form 13F, February 24, 2020,
      http://www.sec.gov/divisions/investment/13ffaq.htm (last visited September 19,
      2020).
73
      See, e.g., Enron, 529 F. Supp. 2d at 756.
74
      BST 2020 at Table 4, p. 106. Based on Tesla’s institutional holdings as a percent of
      shares outstanding of 45% on June 30, 2018 and 49% on September 30, 2018.
75
      See supra note 25. Other courts have noted the level of institutional investors in
      assessing market efficiency. See, e.g., In re Alstom SA Sec. Litig., 253 F.R.D. 266, 280
      (S.D.N.Y. 2008); Ann Arbor, 270 F.R.D. at 251; Billhofer, 281 F.R.D. at 153.

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                d)      Arbitrage Opportunities and Short Interest
         44.    Some courts have also examined the issue of arbitrage opportunities by
considering whether there is an availability of shares to borrow in order to enter into a short
sale.76 Short selling enables market participants to trade on their perceived negative
information about the company even if they do not hold a long position in the stock. Thus,
short selling assists in arbitrage activity when it is believed by investors that the stock is
possibly mispriced and too high. Short selling activity can therefore impact market prices
and efficiency because it enables all traders who believe the price is going to decline, even
if they do not hold a long position, to sell and possibly affect market prices.

         45.    The amount of short interest in Tesla common stock during the Class Period
ranged from 32.72 million shares to 34.99 million shares, with an average short interest of
34.23 million shares (based on short interest reported at the end of July 2018 and mid-
August 2018). As a percentage of shares outstanding, short interest ranged from 19.2% to
20.5% and, as a percentage of public float, short interest also ranged from 24.1% to 25.7%.
See Exhibit VII. This relatively high short interest suggests that arbitrageurs and traders
with negative views on Tesla were able to remain active. The empirical results suggest
that there was substantial arbitrage and trading activity, which offers further evidence that
Tesla common stock traded in an efficient market throughout the Class Period.77

           4.        Cammer Factor IV – SEC Form S-3 Eligibility

         46.    Eligibility to register securities on SEC Form S-3 is another factor in the
analysis of market efficiency.78 To be eligible to register on Form S-3, an issuer must (a)




76
      PolyMedica Corp. Sec. Litig., 453 F. Supp. 2d at 273.
77
      In addition, based on 2016-2018 data in BST 2020, Tesla’s short interest as a percent
      of shares during the Class Period would have placed it in the top 5% of NYSE and
      NASDAQ traded companies. BST 2020 at Table 6, p. 107.
78
      “Fourth, as discussed, it would be helpful to allege the Company was entitled to file an
      S-3 Registration Statement in connection with public offerings or, if ineligible, such
      ineligibility was only because of timing factors rather than because the minimum stock
      requirements set forth in the instructions to Form S-3 were not met.” Cammer, 711 F.
      Supp. at 1287.

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be current in its SEC filings for at least 12 months and (b) have a public float of $75
million.79

          47.   At all times throughout the Class Period, Tesla was current in its SEC filings.
In addition, Tesla easily met the public float requirement. Indeed, on average, Tesla’s
public float was more than 630 times the required threshold. In addition, Tesla has
repeatedly filed Form S-3ASR since it became publicly traded in 2010, filing on September
25, 2012, May 15, 2013, May 18, 2016, November 7, 2017, March 11, 2019, and May 2,
2019.80

          48.   Thus, this Cammer Factor offers further evidence supporting the conclusion
that Tesla common stock traded in an efficient market throughout the Class Period.

          C. Other Operational Factors to Weigh When Examining Market Efficiency

          49.   In addition to the operational Cammer factors evaluated above, I have also
considered additional operational factors that have sometimes been considered by courts.
As with the operational Cammer factors, these additional operational factors support my
conclusion that Tesla common stock traded in an efficient market throughout the Class
Period.

           1.      Krogman Factor – Market Capitalization

          50.   In Krogman, the court stated that “[m]arket capitalization, calculated as the
number of shares multiplied by the prevailing share price, may be an indicator of market
efficiency because there is a greater incentive for stock purchasers to invest in more highly
capitalized corporations.”81




79
      SEC 1379, “Form S-3, Registration Statement under the Securities Act of 1933,
      General Instructions,” updated May 2019, at 2-3.
80
      Source: SEC EDGAR database, searched July 16, 2020 for filing type S-3. Type ASR
      means an “automatic shelf registration” which is available for “well-known seasoned
      issuers.” SEC 1379, “Form S-3, Registration Statement under the Securities Act of
      1933, General Instructions,” updated May 2019, at 6.
81
      Krogman, 202 F.R.D. at 478.

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         51.    At the start of the Class Period, Tesla’s market capitalization was $64.75
billion and at the end of the Class Period was $52.12 billion.82 Throughout the Class
Period, the market capitalization of Tesla averaged approximately $59.55 billion. See
Exhibit VIII.83

         52.    Tesla’s market capitalization compares favorably to the market capitalization
of defendant companies in other cases where the courts concluded that the common stock
traded in efficient markets.       Indeed, courts have certified classes involving issuer-
defendants with significantly lower market capitalization than Tesla.84 In addition, based
on 2016-2018 data in BST 2020, Tesla’s market capitalization during the Class Period
would have placed it in the top 5% of NYSE and NASDAQ traded companies.85

           2.      Krogman Factor – The Size of the Float of Tesla Common Stock

         53.    Float or public float refers to the number of shares of Tesla stock that are not
held by insiders of the corporation.86 Consequently, a larger float relative to the total


82
      Based on the $379.57 closing price and approximately 170.59 million shares
      outstanding as of August 7, 2018; and the $305.50 closing price and approximately
      170.59 million shares outstanding as of August 17, 2018.
83
      During the PreCP Period, Tesla’s average market capitalization was $52.96 billion. See
      Appendix C.
84
      Certification has been granted in many class action securities matters where the market
      capitalization of defendant companies is far lower than the average market
      capitalization of Tesla. See, for example, In re DVI, Inc. Sec. Litig., 249 F.R.D. 196,
      212 (E.D. Pa. 2008), which was affirmed by the Third Circuit. In re DVI, Inc. Sec.
      Litig., 639 F.3d 623 (3d Cir. 2011) (“The market capitalization of DVI during the Class
      Period ranged between $300 million to $12 million, following DVI’s negative
      disclosures.”); Vinh Nguyen v. Radient Pharms. Corp., 287 F.R.D. 563, 574 (C.D. Cal.
      2012) (“The value of stock held by non-affiliates ranged from $29.5 million to $73.1
      million during the Class Period.”); In Re Netbank, Inc. Sec. Litig., 259 F.R.D. 656, 672
      (N.D. Ga. 2009) (“market capitalization rates range from $246,386,421.36 to
      $432,150,737.31”); The Pennsylvania Avenue Funds v. Inyx Inc., 2011 U.S. Dist.
      LEXIS 72999, *28 (S.D.N.Y 2011) (“the market capitalization was consistently in
      excess of $22.4 million throughout the Class Period.)
85
      BST 2020 at Table 5, p. 107.
86
      “In determining efficiency, courts also consider the percentage of shares held by the
      public, rather than insiders.” Krogman, 202 F.R.D. at 478, quoting O’Neil v. Appel,
      165 F.R.D. 479 (W.D. Mich. 1996) at 503.

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number of outstanding shares of Tesla stock indicates there are a large proportion of Tesla
shares that are available to non-insiders who can trade without restrictions and profit by
trading on new information to the marketplace.

         54.    On average, insiders held 34.6 million or 20.3% of the average shares
outstanding during the Class Period.87           The public float was thus, on average,
approximately 79.7% of Tesla’s shares during the Class Period. The large proportion of
Tesla shares held by the public offers further evidence that Tesla common stock traded in
an efficient market throughout the Class Period.

           3.      Krogman Factor – Bid-Ask Spread

         55.    The size of the bid-ask spread (i.e., ask quote minus bid quote) for a stock in
the market is an indication of the liquidity in the market, and courts have considered it as
a factor in determining whether the security trades in an efficient market. In Krogman, the
court stated that, “[a] large bid-ask spread is indicative of an inefficient market, because it
suggests that the stock is too expensive to trade.”88

         56.    Here, the low bid-ask spread for Tesla common stock supports market
efficiency. Using daily closing bid and ask quotes, I calculated the percent bid-ask spread
for Tesla common stock. The percent bid-ask spread was calculated as (i) the ask quote
less the bid quote divided by (ii) the average of the bid and ask quotes. Exhibit IX contains
the results of the bid-ask spread analysis for each day of the Class Period. The average
daily percent spread for Tesla common stock was 0.02% over the Class Period.89

         57.    These numbers compare favorably to the findings of the courts in other cases
where the courts concluded that the common stocks traded in efficient markets.90 Further,



87
      Insider holdings were obtained for directors and officers as a group from Tesla’s SEC
      Form DEF14A filed April 26, 2018.
88
      Krogman, 202 F.R.D. at 478.
89
      During the PreCP Period, Tesla’s average bid-ask spread was 0.03%. See Appendix
      C.
90
      See Radient, 287 F.R.D. 563, 574 (finding a much larger bid-ask spread of 0.58 percent
      supported market efficiency); In re Scientific-Atlanta, 571 F. Supp. 2d 1315, 1339


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they also compare favorably to academic research, which showed that in 2009 the bid-ask
CRSP-based average spreads for all NYSE and AMEX stocks were 1.03%, while for all
NASDAQ stocks the average spread was 2.55%.91 By comparison, the average daily
spread for Tesla common stock was approximately one fiftieth the size of the NYSE
spreads and one 125th the size of the NASDAQ spreads. In addition, based on 2016-2018
data in BST 2020, Tesla’s bid-ask spread during the Class Period would have placed it in
the lowest 10% of NYSE and NASDAQ traded companies; meaning that Tesla’s bid-ask
spread was narrower than 90% of the common stocks traded on the NYSE and NASDAQ
during the 2016-2018 period.92

          58.   The small size of the bid-ask spread is further evidence offering support for
the conclusion that Tesla common stock traded in an efficient market throughout the Class
Period.

VI.       THE PRICE-RELATED FACTORS DESCRIBING MARKET EFFICIENCY
          OF TESLA COMMON STOCK

          A. Background

          59.   What is often referred to as the fifth Cammer factor is “a cause and effect
relationship between unexpected corporate events or financial releases and an immediate
response in the stock price.”93 As stated in Cammer, “[o]ne of the most convincing ways
to demonstrate [market] efficiency would be to illustrate, over time, a cause and effect




      (N.D. Ga. 2007) (finding that a bid-ask spread that “never exceeded 1.9%” weighed
      heavily in favor of market efficiency); and Cheney v. Cyberguard Corp., 213 F.R.D.
      484, 501 (S.D. Fla. 2003) (finding that average daily relative bid-ask spread of 2.44%
      weighed in favor of market efficiency).
91
      Kee H. Chung and Hao Zhang, A Simple Approximation of Intraday Spreads Using
      Daily Data, 17 J. Fin. Markets, 94, Table 2 (2014). The paper compared data using
      closing CRSP (Center for Research in Security Prices) prices to intraday data and
      showed the spreads are very close. 2009 is the most recent year the authors examined.
92
      BST 2020 at Table 3, p. 105. I note that Tesla’s average 0.02% is also listed as the 5th
      percentile as well as the 10th percentile.
93
      Cammer, 711 F. Supp. at 1287.

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relationship between company disclosures and resulting movements in stock price.”94 As
the Krogman court also noted, “in an efficient market, a stock’s price remains relatively
stable in the absence of news, and changes very rapidly as the market receives new and
unexpected information.”95

         60.   Below I present empirical evidence that Tesla common stock exhibits the type
of cause and effect relationship described in Cammer and Krogman, supporting a
conclusion of market efficiency. First, I examine Tesla common stock price movements
on earnings announcements (which I define as “news days”) in the PreCP Period. Second,
I examine Tesla common stock price movements on days where there are alleged
misstatements and corrective disclosures during the Class Period. Third, I examine the
relationship between price volatility and volume throughout the Class Period and the PreCP
Period. Finally, I demonstrate that there is no statistically significant autocorrelation of
Tesla common stock abnormal returns during the Class Period and PreCP Period. This
lack of autocorrelation demonstrates that Tesla’s common stock price reacted quickly to
all types of news. Overall, the empirical results presented below support the conclusion
that Tesla common stock traded in an efficient market throughout the Class Period.

         B. Price Reaction to Unexpected New Information

          1.      Event Study Methodology Used to Test for Cause and Effect

         61.   To detect whether the price of Tesla common stock rapidly reacted to
disclosures of important unanticipated information, I ran a series of empirical tests using
the results from an event study. Event studies are widely used in academia, securities
litigation matters and investment practices, and have been a standard statistical procedure
used by financial economists for over thirty years. They are generally used to measure the
reaction of market participants (and thus the stock price) to the disclosure of new
information. In an event study, generally-accepted statistical methods are used to test
whether a stock price movement on a particular date is statistically significant – i.e., is of




94
      Cammer, 711 F. Supp. at 1291.
95
      Krogman, 202 F.R.D. at 477.

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a large enough magnitude to allow a statistician to conclude it is not the consequence of
chance.

         62.   As is explained in detail in Appendix E, to determine whether the Tesla stock
price movement on any given date is statistically significant, I use generally-accepted
econometric methods and specify a regression model that removes the outside influences
on the stock price movement. I then compare the remaining or residual firm-specific
portion of the stock price movement on the date in question to the typical or normal
volatility of the company’s stock.

         63.   Finally, as is typical in event studies performed in the context of class
certification, I examine the relationship between the magnitudes of the abnormal returns,
the statistical significance of those abnormal returns and the unexpected news related to
the subject company. In Appendix D, I present the voluminous daily chronology including
Tesla common stock prices, returns, volumes, abnormal returns and levels of statistical
significance along with any company news. This chronology also demonstrates the depth
of the media coverage of Tesla.96,97 The abnormal returns and the measures of statistical
significance are used in the analyses below.



96
      During the Class Period, numerous news stories about Tesla appeared in leading
      financial publications, including Associated Press Newswires, Barron’s,
      Benzinga.com, Bloomberg First Word, Bloomberg News, Business Insider, Business
      Wire, CNET News.com, CNN Wire, Dow Jones Institutional News, Forbes.com,
      Investor’s Business Daily, MarketWatch, PR Newswire, Reuters News, The New York
      Times, The Wall Street Journal, Theflyonthewall.com, and USA Today. As discussed
      above, the broad dissemination of information about Tesla though the media, analyst
      reports and regular SEC filings is itself evidence supporting the conclusion that Tesla
      common stock traded in an efficient market during the Class Period. See, e.g., In re
      HealthSouth Corp. Sec. Litig., 261 F.R.D. 616, 635 (N.D. Ala. 2009) (“The extensive
      coverage of HealthSouth in general and its bonds in particular by investment
      professionals, public media, and institutional investors reflects that HealthSouth notes
      traded in an efficient market.”).
97
      For the Tesla chronology, I compiled lists of SEC filings, analyst reports, and news
      articles. I compiled the list of all of Tesla SEC filings from August 7, 2018 to August
      17, 2018 from the SEC website. The list of analyst reports is based on reports available
      from the Thomson Eikon and Capital IQ electronic databases. While some other
      reports may exist, this is a reasonably comprehensive list of the analyst reports issued


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           2.      Cause and Effect Analysis Examining Days with Earnings News –
                   Background

         64.    In an efficient market, each disclosure of unanticipated material information
will be expected to have an impact on the security price. This is why the Cammer court
concluded, “[I]t would be helpful to a plaintiff seeking to allege an efficient market to
allege empirical facts showing a cause and effect relationship between unexpected
corporate events or financial releases and an immediate response in the stock price.”98 In
securities litigation, the event study for a single firm, as described in detail in Appendix
E, examines the impact on stock prices from a confluence of different types of information
that is disclosed and disseminated. It is not unusual that over a class period a corporation
will announce earnings, dividends, discoveries, new products, management changes, new
issues of securities, lawsuits that it files, lawsuits filed against it, projections, regulatory
changes that impact its business, and more.

         65.    In an efficient market, academic research finds that there will be some large
price movements with no news,99 and conversely, that there will be news without large




      concerning Tesla. For news articles contained in the chronology, I searched
      Factiva. For Factiva, I searched all sources for the company code for “Tesla, Inc.” To
      eliminate duplicate stories, a news story was considered a duplicate and eliminated if
      it had exactly the same date, timestamp, headline, news source, and lead paragraph as
      another news story from the same provider.
98
      Cammer, 711 F. Supp. at 1287.
99
      For example, in a 2002 study of the general stock market, Professor Fair observed that
      in the 4,417 trading days for the S&P 500 Index there were 220 days with abnormal
      returns. Of these days with significant returns, only 69 days had identifiable events or
      news. Thus, only 31.4 percent of the days had identifiable news, while 68.6 percent had
      no identifiable event or news. Notably, Professor Fair did not conclude that the S&P
      500 stocks traded in inefficient markets. See, Ray Fair, Events That Shook the Market,
      75 Jnl. of Bus. 713, 714 (2002).
      This result is also consistent with other studies, including an analysis that examined
      return predictability following large price changes and information releases. In this
      study the authors looked at all common stocks traded on the NYSE and AMEX from
      1990 to 1992 and observed 23,459 events with large abnormal returns (i.e., days for
      one or more stocks with large price movements). After employing certain defined data
      filters, the final sample included 4,873 events. They found, “Approximately one-third


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price movements. On the latter point, for example, there will be news without large price
movements when a company announces earnings that are in line with expectations and the
announcement may be important to investors, but the mix of information would not have
changed significantly enough to elicit a statistically significant stock price reaction.
Similarly, when a company’s disclosure misleads investors by concealing important
information, the effect of the concealment would generally not result in a significant stock
price movement. The concealment “news” would maintain the mix of information, so the
appropriate price reaction would be a maintenance of the price level where it previously
was.

         66.   Furthermore, there are unobserved factors that might lead to significant price
movements without news. These factors include, among others, unobserved changes in the
market’s expectations, imperfections in the statistical methods employed to evaluate the
systematic cause-and-effect relationships of a single firm over a given period of time, and
private trading activity — for example, insider trading, trading in advance of an offering
or portfolio rebalancing. These factors all might drive a large price response without an
observed cause.

         67.   Below I present empirical evidence that demonstrates that Tesla common
stock exhibits the type of cause and effect relationship described in Cammer and Krogman,
supporting a conclusion that Tesla common stock traded in an efficient market. I first
examine Tesla’s stock price movements on earnings dates during the PreCP Period to
investigate whether Tesla’s stock price generally moves with known information events.
On days on which there are earnings or guidance disclosures, these disclosures typically
(although not always) communicate to the market valuation information, which is
considered to be material.100 Whether the material information disclosed on these days is



      of the events had public announcements.” Mahesh Pritamani and Vijay Singal, Return
      Predictability Following Large Price Changes and Information Releases, 25 Jnl. of
      Banking & Fin. 631, 635-640 (2001) (“Pritamani and Singal”).
100
      There is a voluminous academic literature examining price responses to earnings
      releases. The pioneering work was completed by William H. Beaver, The Information
      Content of Annual Earnings Announcements, 6 Jnl. of Acctg. Res. 67 (1968). See also,


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unanticipated or anticipated will, in an efficient market, be reflected in the price movements
observed on the day or days that follow. When selecting events for inclusion in an event
study, it is that group of events as a whole that is characterized as having greater likelihood
that there is material, unanticipated information that is disclosed as compared to all other
days. One would not necessarily expect all of the individual events in a collective event
study to have statistically significant returns.101 I next examine Tesla’s stock price
movements on the following dates: August 7, 2018, the date of the initial misrepresentation
at the beginning of the Class Period and August 17, 2018, the date of the final corrective
disclosure at the end of the Class Period. Because of the short duration of the Class Period,
I am unable to perform a more standard statistical analysis of news vs. no-news days (in
which news is objectively defined in advance by a topic such as earnings releases).

           3.      Cause and Effect Analysis of Earnings Releases During the PreCP
                   Period

         68.    On May 2, 2018, after the market closed, Tesla released its financial results
for the first quarter of 2018 and hosting a live question and answer webcast.102 On May 3,
2018, Tesla’s stock price responded rapidly, closing down by 5.55%,103 which was
statistically significant at the 5% level. The volume on May 3, 2018 was 17,352,130 shares,
more than 2 times the average daily volume of 8,293,907 shares during the PreCP Period.
On the next trading day, May 4, 2018, Tesla’s stock price increased 3.39%, which was not
statistically significant.104 This suggests that there was an open and well-developed market
with sufficient liquidity to absorb the trading demands of the many investors who were




      Daniella Acker, Implied Standard Deviations and Post-Earnings Announcement
      Volatility, 29 J. of Bus., Fin. and Acctg. 429 (2002).
101
      See supra fn 99.
102
      https://ir.tesla.com/news-releases/news-release-details/tesla-releases-first-quarter-
      2018-financial-results.
103
      From a closing price of $301.15 on May 2, 2018 to a closing price of $284.45 on May
      3, 2018. See Appendix F.
104
      See Appendix C and Appendix F.

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acting on their interpretations of the new information and that the market reacted rapidly
to the earnings announcement made on May 2, 2018.

         69.    On August 1, 2018, after the market closed, Tesla released its financial results
for the second quarter of 2018 and hosting a live question and answer webcast.105 On
August 2, 2018, Tesla’s stock price responded rapidly, closing up by 16.19%,106 which was
statistically significant at the 1% level. The volume on August 2, 2018 was 23,214,962
shares, more than 2.75 times the average daily volume of 8,293,907 shares during the
PreCP Period. On the next trading day, August 3, 2018, Tesla’s stock price decline 0.39%,
which was not statistically significant.107 This also suggests that there was an open and
well-developed market with sufficient liquidity to absorb the trading demands of the many
investors who were acting on their interpretations of the new information and that the
market reacted rapidly to the earnings announcement made on August 1, 2018.

           4.        Cause and Effect Analysis of Alleged Final Corrective Disclosure
                     and Initial Misrepresentation During the Class Period

         70.    Throughout the Class Period, the Complaint alleges there were a number of
misrepresentations and alleged corrective disclosures. For the purposes of this Opening
Report, I have examined the price movements surrounding the initial misrepresentation and
final alleged corrective disclosure.

                a)       Daily Return on August 7, 2018
         71.    On August 7, 2018, according to the Complaint, Tesla’s CEO, Elon Musk,
tweeted at 12:48 p.m. ET: “Am considering taking Tesla private at $420. Funding
secured.” (the “Musk Tweet”).108 The Complaint details further tweets made by Musk
during the trading day, as well as a blog post that was made public at 3:32 p.m.109 Trading


105
      https://ir.tesla.com/news-releases/news-release-details/tesla-releases-second-quarter-
      2018-financial-results.
106
      From a closing price of $300.84 on August 1, 2018 to a closing price of $349.54 on
      August 2, 2018. See Appendix F.
107
      See Appendix C and Appendix F.
108
      Complaint, ¶2.
109
      Complaint, ¶¶74-85.

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was halted at 2:08 p.m. and resumed again at 3:45 p.m.110 On August 7, 2018, Tesla’s
stock price rapidly responded to the information released, increasing by a statistically
significant amount of 10.99%.111 As shown in Appendix F, there is a positive daily
abnormal return that is highly statistically significant (with a p-value below 1%, which
denotes statistical significance at below the 1% level).

          72.   In addition, the volume on August 7, 2018 was 30,875,768 shares, over 3.7
times greater than the average daily volume of 8,293,907 shares during the PreCP
Period.112 This suggests that there was an open and well-developed market with sufficient
liquidity to absorb the trading demands of the many investors who were acting on their
interpretations of the new information.

                b)      Intraday Price Movements on August 7, 2018
          73.   Throughout the day on August 7, 2018 there were numerous disclosures of
different types of information, much of which appear to be related to the Musk Tweet and
certain disclosures that would likely be considered as material information. Further, the
Musk Tweet was released in the afternoon, while there were large price movements in the
morning and early afternoon. Therefore, I present in Chart 1 intraday trading activity
(including price and volume) of Tesla. In addition, in the following paragraphs, I provide
a statistical analysis of price movements throughout the day. Chart 1 and the statistical
information demonstrate the rapid response to the unanticipated material information on
this day.

          74.   This rapid response to new information is first clearly demonstrated when at
12:17 p.m. ET, the Financial Times reported that a fund from Saudi Arabia was investing
a large amount in Tesla (the “FT Article”).113 In the 10-minute interval between 12:17



110
      Complaint, ¶81.
111
      From a closing price of $341.99 on August 6, 2018 to a closing price of $379.57 on
      August 7, 2018. The abnormal price increase was $36.28 per share.
112
      See Appendix C and Appendix F.
113
      “Saudi Arabia’s sovereign fund builds $2b Tesla stake,” The Financial Times, August
      7, 2018 (It is my understanding from Counsel that the source code for the article shows


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p.m. ET and 12:27 p.m. ET Tesla’s stock price rose from $342.26 to $354.38.114 This
$12.12 (3.5%) per-share increase in ten minutes is statistically significant based on using
one-minute intervals for an event study analysis.115 In addition, the volume over the ten
minutes of 1,284,993 shares was 7.6 times the average volume per ten minute interval of
168,381 shares over the time period from the open of trade to 12:10 p.m. ET on August 7,
2018.116

         75.   In addition, on August 7, 2018 the price movement from $356.85 just prior to
the Musk Tweet to the closing price of $379.57 (or return of 6.37%) is also statistically
significant based on the daily standard error calculated using the market model regression
described above.117 In addition, the volume over the interval from the Musk Tweet to the



      that it was published at 16:17:28 GMT, indicating publication at 12:17 pm ET). News
      outlets reported on the price movements following the Financial Times article, for
      example: “Tesla Climbs to Session High; FT Reports Saudi Fund Has Stake,”
      Bloomberg News, August 7, 2018, 12:35 p.m.; “12:27 EDT Tesla jumps 3% to $352.37
      after FT says Saudi fund built $2B stake,” Theflyonthewall.com, August 7, 2018.
114
      Based on the last traded price of the 12:16:-12:17 and 12:26-12:27 minute intervals
      from Bloomberg one-minute interval data (function GIT).
115
      For this analysis, I obtain one-minute interval returns on August 6 and 7, 2018 for
      Tesla, the XCMP Index and the DJUSAP index from Bloomberg (GIT function). I
      remove Tesla’s return from the DJUSAP index per my methodology in Appendix E.
      I run a market model of the one-minute returns on August 6, 2018 to obtain beta
      estimates, which I then apply for the ten one-minute intervals to obtain a cumulative
      abnormal return for Tesla. I divide this abnormal return by the product of the standard
      error of the market model regression and the square root of 10. This results in a highly
      statistically significant return with a p-value below 1%, which denotes statistical
      significance at the 1% level and I can say with 99% confidence that the price impact of
      the Financial Times story was not due to a random price movement or chance.
116
      Source: Bloomberg one-minute interval data (function GIT) based on non-overlapping
      10-minute intervals.
117
      Based on the closing prices over the 12:47-12:48 and 15:59-16:00 one-minute intervals
      from Bloomberg (function GIT). I apply the same methodology as described in
      footnote 115 (using 192 one-minute intervals). This minute-level methodology results
      in a highly statistically significant return with a p-value below 1%, which denotes
      statistical significance at the 1% level and I can say with 99% confidence that the price
      impact of the initial Musk Tweet and additional Tweets and information was not due
      to a random price movement or chance (if the daily standard error is used, the abnormal


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close of over 18 million shares,118 which even though it is shorter than a full trading day,
was over 2 times greater than the average daily volume of 8,293,907 shares during the
PreCP Period. This statistical analysis also enables me to reasonably distinguish between
the price reaction from the information disclosed in the FT Article from that of the Musk
Tweet.

                                            Chart 1




         76.   Therefore, volume and price reactions for Tesla common stock on August 7,
2018 are consistent with what an economist would expect when a security trades in an




      return is statistically significant at the 2% level). I note that, in the first minute of
      trading (12:48-12:49 interval), Tesla’s stock price increased 2.29%, which is also
      highly statistically significant.
118
      Based on volume from the 12:48-12:49 interval to 13:59-16:00 interval from
      Bloomberg one-minute interval data (function GIT).

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open, well-developed and efficient market and support my opinion that Tesla common
stock traded in an efficient market.

               c)      Daily Return on August 17, 2018
         77.   Before the market opened for trading on August 17, 2018, according to the
Complaint, “The New York Times published an article based on a lengthy interview with
Musk that reported that the Public Investment Fund had not committed to provide any cash,
so funding was not ‘secured.’ The New York Times article further disclosed that no one had
seen or reviewed Musk’s August 7, 2018 tweet before he posted it indicating that no going
private transaction was imminent.” (the “NYT Article”).119 Tesla’s stock price rapidly
responded to the information released, with the price at the close on August 16, 2018 of
$335.45 declining to $305.50 at the close on August 17, 2018, a statistically significant
amount of -8.93%.120 The volume on August 17, 2018 was 18,958,612 shares, over 2.2
times greater than the average daily volume of 8,293,907 shares during the PreCP Period.
This suggests that there was an open and well-developed market with sufficient liquidity
to absorb the trading demands of the many investors who were acting on their
interpretations of the new information, which was rapidly reflected in the stock price of
Tesla.

               d)      Price Movement from the Close (on August 16, 2018) to Open
                       (on August 17, 2018)
         78.   At the open on August 17, 2018, Tesla’s stock was immediately down to
$323.50 per share.121 This 3.56% decline from the prior day close of $335.45 is statistically
significant at the 3% significance level.122 Given the other disclosures on this date and the
fact that this alleged corrective information came from a third-party, it would seem likely


119
      Complaint, ¶6. The article was published in an online edition of The New York Times
      on August 16 after the conclusion of trading hours and then in print on August 17 before
      pre-market hours. Complaint, ¶196.
120
      See Appendix F.
121
      Source: Bloomberg.
122
      Based on a market model run of close-to-open returns over the Control Period of 120
      days prior to the Class Period using a similar methodology as described in Appendix
      E, but on a close-to-open interval rather than close-to-close. The t-statistic is -2.24.

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that the almost instantaneous close-to-open time interval might not allow sufficient time
for the information from this disclosure to be fully processed and completely reflected in
the market price. What my analysis does clearly demonstrate is that the market quickly
began incorporating the information disclosed in the NYT Article.

         79.    Overall, whether examining the close-to-open price movement or the
traditional close-to-close price movement, there was a rapid price response to the
information in the NYT Article released after the market closed on August 16, 2018.
Examining the traditional daily time interval, there as a negative abnormal return that is
highly statistically significant (with a p-value below 1%, which denotes statistical
significance at below the 1% level).

         80.    Therefore, volume and price reactions for Tesla common stock on August 17,
2018 are consistent with what an economist would expect when a security trades in an
open, well-developed and efficient market.

           5.      Cause and Effect Analysis Examining the Relationship Between
                   Abnormal Returns and Volume

         81.    Because of the relatively short Class Period, which means there are no
earnings dates that are not alleged to be corrective disclosure dates in the Class Period (i.e.,
a small sample size), to support my conclusion about the relationship between news and
price movements, I also examine the overall relationship between price volatility and
volume to empirically evaluate the impact of disclosures of information on the Tesla stock
price response throughout the Class Period and the PreCP Period.123




123
      Any time when there is a relatively short class period and courts have to evaluate
      whether a stock trades in an efficient market, generally, the courts find the event study
      analysis to be helpful. See, for example, Wilson v. LSB Indus., 2018 U.S. Dist. LEXIS
      138832, at *36 (S.D.N.Y. 2018) (accepting event study that used three news days);
      Todd v. STAAR Surgical Co., 2017 U.S. Dist. LEXIS 1919, at *25-31 (C.D. Cal. 2017)
      (accepting event study that used three news days; In re HealthSouth Corp. Sec. Litig.,
      257 F.R.D. 260, 282 n. 22 (N.D. Ala. 2009) (accepting event study that used two dates).

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         82.   “It is an old Wall Street adage that ‘It takes volume to make prices move.’”124
This is consistent with Karpoff’s conclusion that: “Although one can question the asserted
causality, numerous empirical findings support what will be called here a ‘positive volume-
absolute price change correlation.’”125

         83.   There has been a plethora of academic research on this issue dating back to at
least the 1960s attempting to determine why in an efficient market one observes a positive
correlation between the size of absolute price changes and the magnitude of volume. The
answer has been attributed to the flow of information.            Differential pre-disclosure
information among investors and differential interpretation of the disclosure itself will lead
to greater than normal volume.

         84.   Moreover, all else constant, abnormal security returns on earnings release
dates or other news dates are significantly more volatile or are “more likely to move” on
average than on other trading days – i.e., the abnormal returns are more likely to be larger
than average. For example, academic economists agree that because earnings disclosures
(on average) reveal more value-relevant information than is disseminated on all other days,
it is expected that the security returns should be more volatile for earnings days as
compared to other days.126 The expected volatility is driven by profit-motivated investors
who have different opinions on what will be the price impact of the value-relevant earnings
information. Therefore, once the information is released, then it is expected, on average,
that it will be reflected in greater changes in the stock price as compared to the normal
movements observed on all other days. The empirical findings in the academic literature
are consistent with this implication.127



124
      Jonathan M. Karpoff, The Relation between Price Changes and Trading Volume: A Survey, 22
      J. of Fin. and Quantitative Analysis, 109-126, 112 (1987) (“Karpoff”).
125
      Karpoff at 112.
126
      This does NOT suggest that there is an expected or systematic direction of abnormal
      returns and earnings, but instead understands that one must look at this in terms of
      whether the absolute return on earning dates is greater.
127
      See William H. Beaver, The Informational Content of Annual Earnings
      Announcements, 6 J. of Accounting Research, 67-92 (1968) (“Beaver”). Daniella


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         85.    Combine the expected impact on price of news to the impact on volume and
one can see how information and price changes are linked, and one can see how new
information will result in larger than average volume and price changes. Professor Beaver
states: “An important distinction between the price and volume tests is that the former
reflects changes in the expectations of the market as a whole while the latter reflects
changes in the expectations of individual investors.”128            Thus, “price changes are
interpreted as the market evaluation of new information, while the corresponding volume
is considered an indication of the extent to which investors disagree about the meaning of
the information.”129 The key is that volume and price movements have common ties to the
flow of new information about the security.

         86.    Therefore, using the Price-Volume Test, I examine the relationship between
Tesla’s reported volume and its stock price changes by regressing the Company’s absolute
abnormal stock returns on the log of trading volume over the PreCP Period and the Class
Period and PreCP Period combined. As shown in Exhibit X, the relationship between the
two variables is positive and highly statistically significant for both samples and thus
supports the conclusion that Tesla common stock traded in an efficient market throughout
the Class Period.

           6.      Cause and Effect Analysis Examining Autocorrelation

         87.    Next, I demonstrate that Tesla’s common stock price reacted quickly to all
types of news. I conduct a statistical test to determine whether the daily abnormal returns
of Tesla’s common stock exhibit autocorrelation using returns and lagged returns.
Autocorrelation is a statistical property of the series of returns of a security wherein
tomorrow’s security price movement can be systematically predicted with a reasonable




      Acker, Implied Standard Deviations and Post-Earnings Announcement Volatility, 29
      J. of Bus., Fin. and Accounting, 429-456, 452 (2002) finds that, “[t]he tests on volatility
      changes around [earnings] announcements indicate that announcements that are easy
      to interpret or announcements of good news are both associated with a volatility peak
      on the day of the announcement itself.”
128
      Beaver at 69.
129
      Karpoff at 110 (footnote omitted).

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degree of statistical certainty based solely on the security price movement today (or some
period in the past). The presence of systematic and persistent statistically significant
autocorrelation throughout the PreCP Period and Class Period suggests the possibility that
investors might have unexploited profit opportunities from naïve trading strategies (i.e.,
either buying and holding the security or shorting and holding the short position) that are
greater than the transaction costs.130 Persistent statistically significant autocorrelation
measures the empirical relation between stock returns over consecutive days (e.g., the
return today will enable an investor to predict the return tomorrow).

         88.   I demonstrate this by showing there is no systematic and persistent
statistically significant autocorrelation of Tesla abnormal returns during the PreCP Period
and Class Period combined. For this analysis, I conducted a statistical test to determine
whether the daily abnormal returns of Tesla common stock exhibit persistent and
systematic autocorrelation using returns and lagged returns.131          Autocorrelation is a
statistical property of the series of returns of a security wherein tomorrow’s security price
movement can be systematically predicted with a reasonable degree of statistical certainty
based solely on the security price movement today (or some period in the past). Some have
argued that persistent and significant autocorrelation in the returns might indicate a
violation of market efficiency in that it suggests that the security price does not react




130
      Autocorrelation throughout the Class Period or PreCP Period should not be confused
      with an observation of a specific series of anomalous price movements over a short
      period, such as a series of price declines caused by a series of adverse disclosures, as
      would be expected in an efficient market.
131
      “Autocorrelation is usually found in time-series data. Economic time series often
      display a ‘memory’ in that variation is not independent from one period to the next.”
      Greene, supra note 31. In other words, autocorrelation is the measurement of the
      relationship between the security return at time t and the return of the same security at
      some fixed time in the past. First-order autocorrelation would be found when there is
      a statistically significant relationship between the common stock return today and the
      common stock return yesterday. Another way of looking at this concept is that if an
      observer can use the return from yesterday to predict with some level of certainty the
      return today, there exists autocorrelation. See Lehocky, 220 F.R.D. at 506-507 n.20
      (noting that both parties’ experts agreed on the helpfulness of autocorrelation);
      PolyMedica, 453 F. Supp. 2d at 276–78.

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quickly, making available profit opportunities from naïve trading strategies that are
sustained over time.

         89.   My statistical analysis of Tesla abnormal stock returns for the 129 days of the
PreCP Period and Class Period shows there is no statistically significant autocorrelation.
This supports a conclusion of market efficiency. Here, I ran a standard statistical model
by regressing each trading day’s abnormal return on the abnormal return from the prior
trading day. From this model, I derive a coefficient of 0.02 representing the measurement
of the relationship between the abnormal current (i.e., today) and lagged (i.e., yesterday)
returns and a t-statistic of 0.22. A t-statistic of 1.96 or above in absolute value would
indicate a statistically significant relationship between yesterday’s and today’s abnormal
returns. Because the t-statistics I derive (again, 0.22) is well below the threshold for
significance, I conclude that there is no statistically significant autocorrelation of Tesla
abnormal stock returns during the PreCP Period and Class Period. This finding again
supports the conclusion that the market for Tesla common stock traded in an efficient
market throughout the Class Period.132

         90.   In summary, the statistical test I performed shows no statistically significant
autocorrelation for Tesla abnormal returns at the five percent level of statistical confidence,
which is consistent with the conclusion that Tesla common stock reacts quickly to news.
This result and the other cause and effect tests above are strong support that Tesla common
stock traded in an efficient market throughout the Class Period

         C. Based on the Basket of Factors the Courts Evaluate, Tesla Common Stock
            Traded in an Efficient Market

         91.   My empirical analyses in this section shows that the disclosure of Tesla-
specific news caused rapid and significant movements in the prices of Tesla common stock.
These analyses strongly support the conclusion that the market for Tesla common stock
was efficient. Moreover, using the empirical results for the evaluation of the eight




132
      I also perform this analysis using only the PreCP Period, which results in a coefficient
      of 0.06 and t-statistic of 0.62.

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operational factors in Section V, I have also presented strong support for my conclusion
that Tesla common stock traded in an efficient market throughout the Class Period.

       92.   In summary, when examining the basket of factors that courts generally rely
upon for class certification decisions, which are also consistent with the fundamental
principles of economics and finance that academics rely upon to evaluate market
efficiency, the evidence strongly supports the conclusion that Tesla common stock traded
in an efficient market throughout the Class Period.

VII. THE BASKET OF RELEVANT FACTORS USED TO EVALUATE THE
     MARKET EFFICIENCY OF TESLA COMMON STOCK APPLIES TO THE
     EXAMINATION OF WHETHER OPTIONS ON TESLA COMMON STOCK
     TRADED IN EFFICIENT MARKETS

       93.   I have also been asked to determine whether options on Tesla common stock
traded in open, well-developed and efficient markets. For this analysis, I include only those
options that had traded (i.e., had volume) during the Class Period. In the following sub-
sections, I provide a general overview of options and option terminology and discuss my
analysis of the efficiency of the market for options on Tesla common stock.

       A. Overview of Options

       94.   An option on Tesla common stock is a contract which gives the buyer the
right, but not the obligation, to buy or sell Tesla common stock at a specified strike price
prior to or on a specified date. The strike price (also called the exercise price) is the amount
paid or received upon exercise of the option and the specified date (also called the
expiration or maturity date) is the termination date when the contract is no longer in force.
There are two types of standard exchange-traded stock options: call options and put
options. A call option gives the holder the right, but not the obligation, to purchase shares
of Tesla common stock at a specified strike or exercise price, on or before the specified
expiration or maturity date. These option contracts are purchased from sellers, who are
commonly referred to as the option writers. A put option gives the holder the right, but not
the obligation, to sell shares of Tesla common stock to the option writers at the specified
exercise price on, or possibly before, the expiration date.



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         95.   Because a stock option is forward-looking, at any point in time during its life,
other determinants of its value include the risk-free interest rate, expected dividends to be
paid on the stock, the time to maturity of the options, and the volatility of the underlying
asset at that point in time.133

         96.   The difference between the exercise price and the underlying stock price is
called the “intrinsic value” of an option. For a call option, the intrinsic value is equal to
the underlying stock price less the exercise price of the option (i.e., how much more the
stock is worth than the price you have the option to buy it at), but not less than zero. For a
put option, the intrinsic value is equal to the exercise price less the underlying stock price
(i.e., how much less the stock is worth than the price you have the option to sell it at), but
not less than zero.

         97.   During the life of an option, an option would also have “time value,” which
is the value inherent in holding the option over time and is generally determined by the
length of the remaining life of the option (the longer time to expiration, the higher the time
value of the option) and the implied volatility of the underlying stock (the higher the
implied volatility, the higher the time value of the option).

         98.   It is critical to understand that stock options are considered “derivative”
securities because they derive their value from the value of the underlying asset, which in
the case of Tesla put and call options is the share price of Tesla common stock. In other
words, at any given point in time, the ultimate price of a particular option is primarily
dependent on the magnitude of the difference between the fixed strike price of that option
and the variable price of Tesla’s common stock (in particular, the variability of the price
over the life of the option). Therefore, holding all else constant, as the price of Tesla
common stock changes, so too will the prices of the put and call options. When the price
of Tesla common stock rises, all else constant, in an efficient market it is expected that the




133
      See, John C. Cox and Mark Rubenstein, Options Markets (Prentice-Hall, 1985), pp. 33-
      39 for an in-depth discussion of determinants of option value (“Cox and Rubenstein”).

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prices of call options will rise, while the prices of put options will fall.134 Conversely,
when the price of Tesla common stock falls, all else constant, in an efficient market it is
expected that the prices of call options will fall, while the prices of put options will rise.

         99.   Besides the underlying Tesla stock price, the expected volatility in Tesla’s
stock price is a critical factor in determining the value of an option on Tesla common stock.
In this case, volatility can be thought of as the expected dispersion of possible future levels
of Tesla stock prices. Thus, according to Cox and Rubenstein:

                The higher the volatility, the greater the likelihood that the stock
                will do either very well or very poorly. These are offsetting
                effects for the owner of the stock, but not for the owner of the
                call. He will get the full dollar benefit from the favorable
                outcomes, but will avoid most of the dollar loss from the
                unfavorable outcomes, since in those cases he will not exercise
                the call. Consequently, the higher the volatility over the
                lifetime of a call, the higher is its value relative to the stock.135

         100. Another factor that is important in determining the value of an option is the
time to maturity. The time to maturity element acts much like volatility because the longer
the option has to expire, the greater the expected dispersion of possible future levels of
Tesla stock prices.

         B. Exchange-Traded Options Like Those on Tesla Common Stock

         101. Standard exchange-traded option contract prices, such as those on Tesla
common stock, are quoted on the basis of purchasing (i.e., calling) or selling (i.e., putting)
a share of Tesla common stock, although a standard contract is generally for 100 underlying




134
      Under certain conditions, in an efficient market, an observable option price might not
      necessarily change if the stock price changes. For example, the price of an out-of-the-
      money option with a very short time to expiration would not be expected to discernably
      change unless there is a sufficiently large price movement in the underlying stock.
      Or, as is the case in this matter, if the time to maturity and likely end price is altered
      (say by the possibility of an impending merger or other transaction), the prices of calls
      and puts might not move in the typical direction based solely on what is expected given
      the stock price movement.
135
      Cox and Rubenstein, p. 34 (footnote omitted).

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shares.136 Thus, if an option contract is quoted at $10, the cost of purchasing such an option
(referred to as the “premium”) would be $1,000 (equal to $10 multiplied by 100). There
are generally a variety of options available to trade at different expiration dates and strike
prices. In general, there is a series of long-term options (“LEAPs”) expiring in each
January that begin to be traded approximately 2-1/2 years prior to the expiration of the
specified contract.137 There are also options with quarterly cycle expirations that begin
trading approximately eight months prior to expiration.138 In addition, options with other
monthly and weekly expirations can begin trading closer to the expiration date.139

         102. There is no limitation to the number of put or call options because when a
new option is “written,” it creates one new contract, which adds to what is called “open
interest.” Open interest is the number of outstanding contracts for each option series that
is being traded by investors. Open interest is reduced when an option is exercised or there
is an offsetting trade (i.e., if an option purchaser sells his or her option to an option writer
or an option writer closes out his or her position by buying an option from an option holder).
In the case of exercising a call option, the purchaser buys the 100 shares of common stock
at the strike price (with the purchaser acquiring 100 shares of common stock and remitting
to the option writer an amount equal to 100 times the strike price); while exercising a put




136
      There can be exchange-traded options that are adjusted due to events such as capital
      changes which adjustments are detailed in OCC infomemos (found at
      https://infomemo.theocc.com/infomemo/search).
137
      See, for example, “How LEAPS® Work,” The Options Industry Council, FAQ 7.8,
      https://www.optionseducation.org/optionsoverview/how-leaps-work (last visited
      September 17, 2020).
138
      See, for example, “LEAPS® & Expiration Cycles, What are Expiration Cycles?” The
      Options Industry Council, FAQ 11.2.2,
      https://www.optionseducation.org/referencelibrary/faq/leaps-and-expiration-cycles
      (last visited September 17, 2020).
139
      See, for example, “LEAPS® & Expiration Cycles, What are Expiration Cycles?” The
      Options Industry Council, FAQ 11.2.2,
      https://www.optionseducation.org/referencelibrary/ faq/leaps-and-expiration-cycles;
      “Weekly Options,” The Options Industry Council, FAQ 11.2.10,
      https://www.optionseducation.org/referencelibrary/faq/weekly-options (last visited
      September 17, 2020).

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option means the option purchaser sells or assigns 100 shares of common stock at the strike
price to the writer of the put (with the writer receiving 100 shares of common stock and
remitting to the purchaser an amount equal to 100 times the strike price).

         C. Modeling Option Prices Using the Black-Scholes Model

         103. In their seminal publication, Professors Fischer Black and Myron Scholes
presented a model of call and put prices that combined the factors discussed above. The
Black-Scholes model (adjusted for dividends) is as follows:140

               𝑐 = 𝑆𝑒 𝑁 𝑑 − 𝑋𝑒 𝑁 𝑑
               𝑎𝑛𝑑
               𝑝 = 𝑋𝑒 𝑁 −𝑑 − 𝑆𝑒 𝑁 −𝑑
               𝑤ℎ𝑒𝑟𝑒
                    𝑙𝑛 𝑆⁄𝑋 + 𝑟 − 𝑞 + 𝜎 ⁄2 𝑇
               𝑑 =
                             𝜎√𝑇
               𝑎𝑛𝑑
               𝑑 = 𝑑 − 𝜎√𝑇

               where:    c = the price of a call option;
                         p = the price of a put option;
                         S = the current stock price underlying the option;
                         σ = the volatility of the underlying stock;
                         X = the exercise price of the option;
                         T = the time to expiration of the option;141
                         q = the dividend yield on the underlying stock;142
                         r = the risk-free interest rate;143 and



140
      For example, see John C. Hull, Options, Futures, and Other Derivatives, 291 (without
      dividends), 331 (with dividends) (7th ed. 2009); Fischer Black and Myron Scholes, The
      Pricing of Options and Corporate Liabilities, 81 Journal of Political Economy 637
      (1973).
      There are many option valuation models. I use Black-Scholes to help describe the
      important factors or inputs that determine option value.
141
      The number of days to expiration is equal to the expiration date less the trading date.
142
      Tesla did not pay a dividend during the Class Period, nor was one expected to be paid
      in the near future.
143
      For the risk-free interest rate r in the equation above, one generally refers to the U.S.
      Treasury constant maturity rate closest to the number of days to expiration for each
      respective option.

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                           N denotes the cumulative probability density function for a
                           standardized normal distribution.

          104. Not only does this enable the calculation of put and call prices, but when
prices are observed these equations can be used to solve for the implied volatility each day.
The implied volatility is based on the option prices.

          105. The Black-Scholes model and the discussion above provide for a foundation
to interpret my empirical evidence related to the analysis of whether the market for Tesla
options as a whole or individually traded in open, well-developed and efficient markets.

          D. Overview of Tesla’s Options Series Listed on Exchanges During the Class
             Period

          106. There were 2,449 unique option series in which there were transactions made
during the Class Period, including 1,146 call options and 1,303 put options.144 The
expiration dates of these option series ranged from August 10, 2018 through January 17,
2020. As discussed below, there was volume of 1,772,360 call option contracts and
1,598,370 put option contracts during the Class Period.

          E. Efficiency of the Market for Tesla Options

            1.        Operational Factors

                 a)      Several Operational Factors for Tesla Common Stock Apply to
                         Tesla Options
          107. Although many courts, for example those in the Fifth Circuit, have considered
that satisfaction of certain factors for common stock is sufficient to demonstrate that the
derivative options also trade in an efficient market, I have still undertaken the analysis
below.145 These circuit courts’ rulings are consistent with the understanding that because



144
      This does not include option series that were available to trade but for which there were
      no trades made. Data source: Cboe Exchange, Inc., Cboe DataShop as discussed later.
145
      Enron, 529 F. Supp. 2d at 754 (“The Court finds that Dr. Nye’s evidence applying
      the Cammer/Unger/Bell factors to the stock, is sufficient to trigger the fraud-on-the-
      market presumption for Plaintiffs' § 10(b) claims based on the options.”); Marcus v.
      J.C. Penney Co., Inc., 2016 U.S. Dist. LEXIS 115795, at *30 (E.D. Tex. 2016) (relying
      on “[t]he Court in Enron [which] found that an experts’ application of


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the ultimate price of options on Tesla common stock is primarily dependent or derived
based on the price of Tesla common stock and the price of Tesla common stock is
determined by the flow of information about the performance of Tesla, the efficiency of
the price of the options on Tesla common stock is determined by the efficiency of Tesla’s
common stock, as measured by the basket of factors that were examined in Sections V and
VI, above. Thus, whether the market participants are investors in Tesla common stock or
stock options, they generally will have access to the same information from the same
sources (analysts, media, Company filings, etc.) and have reasonably low-cost alternatives
to act on that information. Therefore, to the extent that the Tesla common stock share price
reflects all publicly available information about Tesla, and the share price rapidly adjusts
to account for new, material and unanticipated information, it would be expected that prices
for options on Tesla common stock would also reflect all publicly available information
about Tesla, and the options prices would rapidly adjust to account for new, material and
unanticipated information. Thus, overall, to the extent that the Cammer factors are
supportive, such as analyst and media coverage, the ability to file SEC Form S-3, and the
fact that the common stock trades on a standardized exchange and with market makers,
support the conclusion that Tesla common stock trades in an efficient market, these factors
would also support the conclusion that options on Tesla common stock trade in an efficient
market.




   the Cammer factors to common stock was sufficient to trigger the presumption for
   options as well”), report and recommendation adopted, 2017 U.S. Dist. LEXIS 33257
   (E.D. Tex. 2017).
   This is also consistent with the recent case Laurence Rougier, et al. v. Applied
   Optoelectronics, Inc., et al., No. 4:17-cv-02399, ECF Nos. 125, 131 (S.D. Tex. Nov.
   13, 2019)., at 28 wherein the Court stated, “His statistical analysis [of the options] and
   the evaluation of eight [Cammer/Krogman] factors [for the common stock] support the
   conclusion that AOI options operated in an efficient market.”
   This view is also shared by the Second Circuit courts in McIntire v. China
   MediaExpress Holdings, Inc., 38 F. Supp. 3d 415, 433-34 (S.D.N.Y. 2014); as well as
   the Third Circuit in In re Merck & Co., Sec. Derivative & ERISA Litig., No. 1658
   (SRC), 2013 U.S. Dist. LEXIS 13511, at *60-61 (D.N.J. Jan. 30, 2013).

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          108. As it relates to the Tesla common stock and options trading on centralized
exchanges with all of the benefits of pre- and post-trade dissemination of information, the
only minor difference is that exchange-traded options, also known as “listed options,” are
not traded on the NASDAQ Global Select Market, but are mostly traded on other
exchanges,146 with the primary exchange being the Cboe Options Exchange (“Cboe”),
along with additional affiliated exchanges,147 as well multiple other exchanges.148 Further,
the Cboe uses a hybrid approach to attract its market makers. First, much like the NYSE
there is a Designated Primary Market Maker (“DPM”).149                  For Tesla the DPM is



146
      Tesla stock options are currently traded and quoted on exchanges including: BOX;
      CBOE BATS, C2, CBOE and EDGX; MIAX EMLD, MIAX and MPRL; NASDAQ
      GEM, ISE, MCRY, NOBO, NSDQ, and PHLX; and NYSE AMEX and ARCA.
      Source:      https://www.theocc.com/Market-Data/Market-Data-Reports/Series-and-
      Trading-Data/Series-Search (last visited September 22, 2020).
147
      According to the Cboe, “Cboe provides choice for our diverse trading customers by
      operating four U.S.-listed cash equity options markets, including the largest options
      exchange      in    the   U.S.    -    Cboe      Options     Exchange.”         http://
      http://markets.cboe.com/us/options/overview/ (last visited September 17, 2020). To be
      listed on the Cboe, among other criteria, “the [underlying] security shall be
      characterized by a substantial number of outstanding shares which are widely held and
      actively traded.” Rules of Cboe Exchange, Inc., updated September 8, 2020, p. 76
      (available at https://cdn.cboe.com/resources/regulation/rule_book/C1_Exchange_
      Rule_Book-Effective-October-7-2019.pdf ).
148
      The OCC “is the world’s largest equity derivatives clearing organization. OCC is
      dedicated to promoting stability and financial integrity in the marketplaces that it serves
      by focusing on sound risk management principles. By acting as guarantor, OCC ensures
      that the obligations of the contracts it clears are fulfilled.” “OCC's participant
      exchanges include: BOX Exchange LLC, Cboe BZX Exchange, Inc., Cboe C2
      Exchange, Inc., Cboe EDGX Exchange, Inc., Cboe Exchange, Inc., Miami
      International Securities Exchange, LLC, MIAX Emerald, LLC, MIAX PEARL, LLC,
      Nasdaq GEMX, LLC, Nasdaq ISE, LLC, Nasdaq BX, Inc., Nasdaq MRX, LLC,
      Nasdaq PHLX, LLC, Nasdaq Options Market, LLC, NYSE American Options, LLC,
      and NYSE Arca, Inc.” “What is OCC?” https://www.theocc.com/about/corporate-
      information/what-is-occ.jsp (last visited September 17, 2020).
149
      “The DPM is a market-maker who is obligated to make continuous bid and ask prices
      in all option series in his appointed option classes. In return, the DPM is guaranteed
      certain rights to participate in each trade, either electronic or in open-outcry. In addition
      to, or in the absence of a DPM (e.g., those classes not traded on the Hybrid system)
      many option classes at Cboe also have independent market-makers who make bid and


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Susquehanna Securities, LLC.150 The DPM plays a similar role as the Designated Market
Maker on the NYSE.151 Next, all exchange members are eligible market makers and there
is a well-defined market makers program.152




      ask prices from either the trading floor or remotely. Ultimately, however, your orders
      are executed with the Cboe’s current best available bid or offer. This party may be an
      option professional or an individual investor via an option order.” See,
      http://www.cboe.com/education/getting-started/quick-facts/options-marketplace (last
      visited September 17, 2020).
150
      http://www.cboe.com/trading-resources/symbol-directory/equity-index-leaps-
      options?sid=T (last visited September 17, 2020).
151
      No court has found an NYSE-traded stock to trade in an inefficient market. According
      to the NYSE:
             The cornerstone of the NYSE market model is the Designated Market
             Maker (DMM). DMMs have obligations to maintain fair and orderly
             markets for their assigned securities. They operate both manually and
             electronically to facilitate price discovery during market opens, closes
             and during periods of trading imbalances or instability. This high touch
             approach is crucial for offering the best prices, dampening volatility,
             adding liquidity and enhancing value.
             DMMs apply their market experience and judgment of dynamic trading
             conditions, macroeconomic news and industry-specific intelligence, to
             inform their decisions. A valuable resource for our listed company
             community, DMMs offer insights, while making capital commitments,
             maintaining market integrity, and supporting price discovery.
      Designated Market Makers, https://www.nyse.com/market-model (last visited
      September 17, 2020).
      The NYSE uses these well-capitalized DMMs to facilitate fair and orderly trading.
      According to the NYSE: “The NYSE’s unique market model combines leading
      technology with human judgment to prioritize price discovery and stability over speed
      for our listed companies. Coupled with our electronic markets, we believe nothing can
      take the place of human insight and accountability. It’s the human element at NYSE
      that results in lower volatility, deeper liquidity and improved prices.” Market Model,
      https://www.nyse.com/market-model (last visited September 17, 2020).
152
      See also, “Market-makers are exchange members who provide liquidity in the
      marketplace by risking their own capital in making bids and offers for their own
      accounts in the absence of public buy or sell orders. They are the backbone of the
      Cboe’s trading system.” http://www.cboe.com/education/getting-started/quick-
      facts/options-marketplace (last visited September 17, 2020).

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         109. Because exchange-traded options have standardized strike prices, expiration
dates and deliverables (the number of shares/contracts of the underlying asset), they attract
and accommodate large numbers of traders. This increased volume benefits traders by
providing improved liquidity and lower costs. The more traders there are for a specific
option contract, the easier it is for interested buyers to identify willing sellers.

         110. The standardization of exchange-traded options also enables clearing houses
to guarantee that options contract buyers will be able to exercise their options — and that
options contract sellers will fulfill the obligations they take on when selling options
contracts — because the clearing house can match any of a number of options contract
buyers with any of a number of options contract sellers. Clearing houses can do this more
easily because the terms of the contracts are all standard and options in the same series are
interchangeable.153

         111. Should it be found that Tesla common stock traded in an efficient market,
then that finding along with the fact that the Tesla options traded on a centralized exchange
— that provides the same type of information rich environment and informational benefits
to investors as those found for the NYSE and NASDAQ exchanges — supports the
conclusion that the Tesla options traded in efficient markets.154




153
      “The Options Clearing Corporation is the sole issuer of all options listed at the Cboe
      and other U.S. options exchanges, and is the entity through which all Cboe option
      transactions are ultimately cleared. As the issuer of all options, OCC essentially takes
      the opposite side of every option traded. Because OCC basically becomes the buyer for
      every seller and the seller for every buyer, it allows options traders to buy and sell in a
      secondary market without having to find the original opposite party. The OCC
      substantially reduces the credit risk aspect of trading options, as the OCC requires that
      every buyer and every seller have a clearing member and that both sides of the
      transaction are matched. It also has the authority to make margin calls on firms during
      the trading day.” See, http://www.cboe.com/education/getting-started/quick-
      facts/options-marketplace (last visited September 17, 2020).
154
      It is also consistent with Christakis Vrakas, et al. v. U.S. Steel Corp., et al.,
      Memorandum Order (W.D. Pa., Dec. 31, 2019), Dkt. 215, at 13 n.11 (noting that
      “Plaintiffs also cite cases applying the same for options traded on the Chicago Board
      Options Exchange. [citation omitted]. The Court sees the analysis here as the same for
      both [common stock and the related options].”).

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                b)      Other Operational Factors: Volume and Open Interest for Tesla
                        Options
          112. In addition to these factors — the importance of the information flowing from
the stock market and the fact that the options trade on a centralized exchange — trading
was very active and the volume of Tesla options was large during the Class Period. Over
the Class Period, there was a total volume of 1,772,360 call option contracts (representing
177,236,000 underlying shares) and 1,598,370 put option contracts (representing
159,837,000 underlying shares).155        See Exhibit XI.      Thus, the number of shares
represented by these contracts of 337,073,000 underlying shares is almost twice Tesla’s
170.6 million outstanding shares over the Class Period. It represents average weekly
turnover of approximately 110% of the average outstanding shares.156

          113. In addition, the sum over the Class Period of each call option’s average daily
open interest was 708,424 contracts (representing 70,842,400 underlying shares), while the
sum over the Class Period of each put option’s average daily open interest was 1,258,892
contracts (representing 125,889,200 underlying shares).157        See Exhibit XI. Thus, the



155
      Data source: Cboe Exchange, Inc., Cboe DataShop, Option Intervals data obtained at
      1-minute intervals (the “Cboe Dataset”). I note that the data includes a small number
      of “non-standard” options identified with the field “root” of “TSLA1”. Out of the 2,449
      option series that have volume over the Class Period, there are 6 non-standard options,
      all with expiration date of January 18, 2019. These include five call options (strikes of
      $17, $20, $27, $30 and $40) and one put option (strike of $40). The total volume over
      the Class Period for all of these non-standard options is 49 contracts. Based on
      infomemos 40095 and 40133 obtained from the OCC website, for these options, the
      underlying Tesla stock price should be adjusted by multiplying it by 0.11.
156
      110% is equal to [(337.1 / 170.6) / 9 ] x 5, where I divide by 9 for daily turnover over
      the 9 trading days and multiply the result by 5 to convert to weekly turnover (using 9
      trading days is an approximation because not all options existed over all 9 days of the
      Class Period, with new option series being created and a set of options expiring on
      August 10, 2018). Although not an equivalent comparison of turnover, it is helpful to
      remember that the Cammer opinion states that, “Turnover measured by average weekly
      trading of two percent or more of the outstanding shares would justify a strong
      presumption that the market for the security is an efficient one; one percent would
      justify a substantial presumption.” Cammer at 1286.
157
      The open interest provided in the Cboe Dataset for each interval is the open interest at
      the start of each day. Thus, for example, the open interest on Monday, August 20, 2018


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overall volume for all Tesla’s call and put options during the Class Period represented
approximately 1.7 times the average daily number of open contracts for all Tesla call and
put options with trading during the Class Period, suggesting an active secondary market
for contracts.158 During the Class Period, the sum of each option’s maximum open interest
for all Tesla options that traded was 886,084 call option contracts (representing 88,608,400
underlying shares) and 1,464,106 put option contracts (representing 146,410,600
underlying shares). See Exhibit XI. Thus, the overall volume for all Tesla options during
the Class Period represented approximately 1.4 times the maximum open contracts
summed across all these Tesla options, also suggesting an active secondary market for
contracts.159

         114. In summary, there was an active market and a substantial amount of volume,
as well as a large amount (and value) of open interest in options during the Class Period,
which also supports the conclusion that Tesla options traded in efficient markets.

                c)     Other Operational Factors: Bid-Ask Spreads for Tesla Options
         115. I also evaluated the bid-ask spreads for Tesla options. Specifically, over each
minute interval in the Cboe Dataset for each option, I estimated the spread (requiring the
option’s ask price to be greater than the bid) as the ask price less the bid price, and then
divided by the mid-point of the bid and ask prices of Tesla common stock, which is the
security for which the option allowed the holder to have the right to either buy or sell at a
specified price through the expiration date. I average these spreads for each option each



      would be the open interest at the end of the trading day of August 17, 2018. For average
      open interest over the Class Period, I use open interest from August 7, 2018 through
      August 20, 2018, which encompasses the start of trading on August 7, 2018 through
      the end of trading on August 17, 2018.
      This includes open interest for only those options contracts with volume during the
      Class Period.
158
      (1,772,360+1,598,370) / (708,424+1,258,892) = 1.71. At the option level, I am unable
      to calculate this statistic for 8 call and 2 put series (because the average daily open
      interest is zero).
159
      (1,772,360+1,598,370) / (886,084+1,464,106) = 1.43. At the option level, I am unable
      to calculate this statistic for 8 call and 2 put series (because the maximum daily open
      interest is zero).

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day, and then average the daily results for each option over the Class Period. The average
of each option’s spread based on this methodology during the Class Period is 0.55% for
call options and 0.45% for put options. See Exhibit XII.

               d)      Operational Factors for Individual Options
         116. I have been asked by Counsel to also calculate salient operational statistics
for individual options. These include turnover and bid-ask spread.

         117. For turnover, I separately divide each option’s total volume by both its
average open interest and maximum open interest during the Class Period. I then divide
this by the number of trading days for which the particular option had bid and ask quotes
(i.e., was available to trade) during the Class Period. Finally, I multiply by five to obtain
a measure of weekly turnover for that individual Tesla option. Although open interest for
any one option is not a fixed number like shares of common stock outstanding, this figure
is an indicia of whether the market for the individual option is active, open and well-
developed.160 The turnover measures are not directly comparable to the Cammer 1%-2%
benchmarks, but in my opinion have been reliably modified to account for the institutional
differences between options and stock trading. Exhibit XI provides a summary of these
turnover measures separated by ranges of traded volume and Appendix G contains the
turnover measures for each option series in the proposed Class.

         118. The average turnover based on average open interest is 175% per week for
call options and 152% per week for put options. Based on maximum open interest, the
average open interest is 96% per week for call options and 83% per week for put options.
Out of the 2,449 option series, with turnover measured in relation to maximum open


160
      “ In my published paper discussing the application of Cammer/Krogman factors to the
      corporate bond market, I stated “Specifically, the factors courts have found indicative
      of an efficient stock market—frequency of ownership turnover, analyst reporting, and
      price-related issues associated with cause-and-effect—must be adjusted to take into
      account the nuances of the bond market.” Michael L. Hartzmark, Cindy A. Schipani,
      H. Nejat Seyhun, Fraud on the Market: Analysis of the Efficiency of the Corporate
      Bond Market, 2011 Colum. Bus. L. Rev., 654, 659 (2011) (footnotes omitted). This
      certainly holds true in a derivatives market such as options. Moreover, these types of
      adjustments to account for “nuances” or institutional features of different securities
      markets have been widely accepted by the courts.

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interest, only 50 calls and 47 puts (or less than 4% of the series) have turnover of less than
2% per week (and all of these 97 options series have volume under 100 contracts except
for a single put option series); and only 24 calls and 20 puts have turnover of less than 1%
per week (all of these 44 series have volume less than 100 contracts). As expected, these
figures support the conclusion that the market for Tesla options is extremely active.

         119. Because options are an investment vehicle to acquire or sell the underlying
Tesla common stock, for the measurement of the average bid-ask spread for each option
series, I calculate the spread in relation to Tesla’s stock price (computed as the midpoint of
the bid and ask spread of Tesla common stock at each one-minute interval). This means
the bid-ask spread is based on the difference between the bid and ask quotes of the options
divided by Tesla’s stock price.

         120. Exhibit XII provides a summary of the spreads separated by ranges of traded
volume and Appendix G contains the results for each individual option series.161 The
average of the options’ average spreads is 0.55% for calls and 0.45% for puts, with a
general reduction in average spread as the amount of total volume increases. For example,
options that traded less than 100 contracts over the Class Period had an average spread of
0.79% of Tesla’s stock price for calls and 0.65% for puts, while the most traded options
with total volume of at least 25,000 contracts had an average spread of 0.18% of Tesla’s
stock price for calls and 0.11% for puts.

         121. As with the turnover measurement, the bid-ask spread for a single option
should be examined understanding the institutional differences between options and
common stock markets. The measurement of the bid-ask spread is meant to offer insight
into the costs to participate in the market, and thus like the turnover measure are indicia of
whether the market for the individual option is active, open and well-developed. I note,
that even though these figures are based on the institutional characteristics of the options
market, they compare favorably to the findings of the courts in other cases where the courts




161
      Bid-ask spreads are calculated at each one-minute interval in the CBOE dataset.

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concluded that the common stocks traded in efficient markets.162 Further, they also
compare favorably to academic research, which showed that in 2009 the bid-ask CRSP-
based average spreads for all NYSE and AMEX stocks were 1.03%, while for all
NASDAQ stocks the average spread was 2.55%.163 In addition, based on 2016-2018 data
in BST 2020, these averages of Tesla’s options’ bid-ask spreads during the Class Period
would have placed them in between the 50th and 75th percentiles of NYSE and NASDAQ
traded companies.164

           2.     Cause-and-Effect Analysis

         122. As discussed previously, the price of an option is primarily derived from the
underlying security’s price. Although it is expected that, holding all else constant (e.g.,
implied volatility), call option prices will move in the same direction as the price of the
underlying stock and put option prices will move in the opposite direction, options are not
expected to move by the same per-share dollar or percentage amount as the underlying
stock price except under certain narrow circumstances.165

         123. To understand the price movements of options relative to the underlying
security, it is common to refer to an option as being “in the money” (“ITM”) if the strike
price of the call (put) option is below (above) the current stock price (i.e., it has an intrinsic



162
      See Radient, 287 F.R.D. 563, 574 (finding a much larger bid-ask spread of 0.58 percent
      supported market efficiency); In re Scientific-Atlanta, 571 F. Supp. 2d 1315, 1339
      (N.D. Ga. 2007) (finding that a bid-ask spread that “never exceeded 1.9%” weighed
      heavily in favor of market efficiency); and Cheney v. Cyberguard Corp., 213 F.R.D.
      484, 501 (S.D. Fla. 2003) (finding that average daily relative bid-ask spread of 2.44%
      weighed in favor of market efficiency).
163
      Kee H. Chung and Hao Zhang, A Simple Approximation of Intraday Spreads Using
      Daily Data, 17 J. Fin. Markets, 94, Table 2 (2014). The paper compared data using
      closing CRSP (Center for Research in Security Prices) prices to intraday data and
      showed the spreads are very close. 2009 is the most recent year the authors examined.
164
      BST 2020 at Table 3, p. 105.
165
      As discussed above, options that are far out-of-the-money might not move in the same
      direction. In addition, events that change the expected future value of the underlying
      stock – such as a takeover announcement which may cap the future value of the stock
      or reduce the potential life of an option – may cause the option to move in a direction
      opposite to what is expected based solely on the stock price movement.

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value greater than zero). An option is considered “at the money” (“ATM”) if the strike
price of the call (put) option is equal to the current stock price. Finally, an option is
considered “out of the money” (“OTM”) if the strike price of the call (put) option is above
(below) the current stock price. As an option moves farther out of the money, it is expected
that for any given movement of the share price, there will be less movement of the option
price. The more an option is in the money, the more similarly its option price will move
relative to the stock price change.

         124. Using this basic information, I first test for the cause-and-effect relationship
by examining whether option price levels adjust to reflect Tesla common stock price
movements throughout the Class Period. I examine this using the “put-call parity”
relationship. I then examine whether the price changes in Tesla options are directionally
consistent with the expected movement given Tesla’s stock price changes (assuming all
other option valuation inputs constant).

               a)      Put-Call Parity
         125. In addition to trading “naked” or unhedged long and short positions in the
common stock directly, arbitrageurs can also profit from common stock price movements
by trading in call and put options on the common stock. In an efficient market, the various
call and put options on a common stock will be priced relative to one another (and the
common stock) so as to provide zero risk-free economic profit from arbitraging these
securities against one another.166 Economists refer to this no-arbitrage state as “put-call
parity.”

         126. Put-call parity is a theoretical relation between call option prices, put option
prices and share prices of the underlying common stock that should hold because a
portfolio of put and call options plus risk-free bonds (accounting for borrowing money to
pay for positions or lending the money garnered from the short sale) can be constructed to
replicate the payoff from purchasing the underlying common stock (i.e., you make money
if the stock price increases and lose money if the stock price decreases). For American-



166
      Zero risk-free economic profit is an economic term that means no risk-free returns net
      of transaction costs.

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style options on stocks, the put-call parity relation implies a lower and an upper bound on
the value of the put and call option prices such that the following condition is satisfied:167

                                 S – X – D ≤ C − P ≤ S − Xe−rt,

where S denotes the current price of the underlying common stock, X denotes the exercise
price of the option, C is the call option price, P is the put option price, r is the risk-free
interest rate,168 D is the present value of expected future dividends,169 and t is the time to
expiration of the options.170

         127. Theoretically, when this relationship no longer holds and the condition is
violated, there might exist arbitrage opportunities which can be exploited using profitable
trading strategies. A violation of this relationship, however, does not necessarily indicate
profit opportunities. This is especially the case when all costs associated with transacting
the options and the stock are not properly accounted for in the relationship.

         128. I conducted an empirical test to determine whether Tesla common stock and
exchange-traded options on Tesla common stock violated this put-call parity condition for
each minute interval of the Cboe Dataset during the Class Period. A lack of violations
implies that Tesla option prices are set according to Tesla’s stock prices and adjust for




167
      For example, see John C. Hull, Options, Futures, and Other Derivatives, 211 (7th ed.
      2009).
168
      For the risk-free interest rate r in the equation above, I used the U.S. Treasury constant
      maturity rate closest to the number of days to expiration for each respective option.
      The interest rate data was obtained from the Federal Reserve Board database. The
      following cut-offs were used in assigning interest rates to time to maturity: 1-60 days,
      1-month rate; 61-136 days, 3- month rate; 137-273 days, 6-month rate; 274-547 days,
      1-year rate; and 548-912 days, 2-year rate. I converted the interest rates to continuous
      compounding using the formula: 2 x ln(1+r/2), where r is the interest rate based on
      semiannual compounding.
169
      Tesla did not pay dividends and I assume the market expected no future dividend
      payments.
170
      The number of days to expiration is equal to the expiration date less the trading date.

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movements in Tesla’s stock price.171 For the analysis, I obtained one-minute interval bid
and ask data for options on Tesla’s common stock and Tesla’s common stock from the
Cboe Dataset. Using bid and ask quotes for Tesla common stock and options, I created
put-call pairs over which to test the put-call parity condition.172

         129. I then tested these multiple option pairs along with the stock price to
determine if there were violations of the put-call parity condition. Because these bounds
are derived from the economic assumption of no arbitrage, it is important to test the
condition based on realistic buying and selling opportunities.173 Therefore, the lower
bound of the equation above (i.e., the left hand term in the equation above) is calculated
using the ask quote for the call option, the bid quote for the put option and the bid quote of
the stock; while the upper bound of the equation above (i.e., the right hand term in the
equation above) is calculated using the bid quote for the call option, the ask quote for the
put option and the ask quote of the stock.

         130. The magnitude of the violation in percentage terms was calculated for each
option pair in relation to the bid-ask midpoint of Tesla’s common stock (Sbidask),
specifically as the absolute value of:

       {min[0, Sask - (Cbid - Pask + Xe-rt)] + max[0, Sbid - (Cask - Pbid + X + D)]} / Sbidask.

         131. I calculated the put-call parity conditions over two datasets: pairs of options
in which the call option had volume during the Class Period and pairs of options in which
the put option had volume during the Class Period (these datasets will overlap if both



171
      At any given time, there are multiple put and call options that trade based on Tesla’s
      common stock. These put and call options can differ in terms of exercise price and
      expiration date.
172
      I conducted the analysis on option pairs where at least one of the options (call or put)
      had positive volume. The resulting violation, if any, for any pair was also rounded to
      the nearest 0.01%. I also required the ask price to be not less than the bid price for the
      stock or options. In addition, I excluded any option pairs where the bid and ask were
      zero for both the call and the put options.
173
      As discussed later, this does not account for all transaction costs such as the cost of
      borrowing Tesla stock to initiate a short position and commissions related to the option
      transactions.

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options in the pair had volume). I found that during the Class Period out of the 3,764,244
valid option pairs for call options that had volume during the Class Period, there were
702,959 violations of this mathematical relationship (or 18.7% of the total pairs), while for
over 80% of the option pairs the put-call parity relation held.174 See Exhibit XIII. For
4,308,298 pairs with put options that had volume during the Class Period, there were
1,027,246 violations, or 23.8%.

         132. When there was a violation of the put-call parity formula, it amounted to an
average of 0.27% of the midpoint of Tesla’s common stock’s bid and ask price for the call
option-based pairs and 0.28% for the put option-based pairs. Furthermore, the direction of
the violations indicated that the stock price, relative to synthetic stock price using the put
and call option prices, was relatively higher than its actual value, which is consistent with
the academic and trade literature that suggests during the Class Period, at times, to enter
into a short position there were relatively higher costs than normal to borrow shares of
Tesla common stock.175 This relatively higher cost is supported by the observation that the


174
      There can be a violation even if the parity equation is found to be violated by a small
      amount, even a couple of pennies.
175
      “To be able to sell a stock short, one must borrow it, and because borrowing shares is
      not done in a centralized market, finding shares sometimes can be difficult or
      impossible. In order to borrow shares, an investor needs to find an owner willing to
      lend them. These lenders receive a fee in the form of interest payments generated by
      the short-sale proceeds, minus any interest rebate that the lenders return to the
      borrowers. This rebate acts as a price that equilibrates supply and demand in the
      securities lending market. In extreme cases, the rebate can be negative, meaning
      investors who sell short have to make a daily payment to the lender for the right to
      borrow the stock (instead of receiving a daily payment from the lender as interest
      payments on the short sale proceeds)…” Owen A. Lamont, Short Sale Constraints and
      Overpricing,     NBER        Reporter:    Research      Summary      Winter     2005.
      https://www.nber.org/reporter/winter05/lamont.html (last visited September 17, 2020).
      Rebate Definition: “Negotiated return of a portion of the interest earned by the lender
      of stock to a short seller. When a stock is sold short, the seller borrows stock from an
      owner or custodian and delivers it to the buyer. The proceeds are delivered to the lender.
      The borrower, who is short, often wants a rebate of the interest earned on the proceeds
      under the lender’s control, especially when the stock can be borrowed from many
      sources. Note: The seller must pay the lender any dividends paid out or, in the case of
      bonds, interest that accrues daily during the term of the loan.”
      https://www.nasdaq.com/investing/glossary/r/rebate (last visited September 17, 2020).

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percent frequency of violations increased with the increase in time to maturity of the
options pairs. This is because the costs to borrow shares increase with the duration of the
short position. According to one article, the stock-loan fee for borrowing a share of Tesla
stock was between 2.1% and 2.5%.176 The higher than normal cost of borrowing is also
consistent with the relatively large percentage of short interest that was observed during
the Class Period. See Exhibit VII.

          133. Because the put-call parity relationship tested above does not account for
costs related to taking a short position (for example, the stock-loan fee) as well as certain
costs related to transacting in the options (for example, commissions), in my view, the
average violation of approximately 0.28%, or approximately $0.98 of Tesla’s average
closing common stock price of $349 during the Class Period, is not indicative of
unexploited arbitrage opportunities or of an inefficient market, but simply reflects a
relatively higher costs of shorting the stock than is normally observed. Consistent with the
analysis of the direction of the stock and option price movements discussed below, the
violations of the put-call parity relationship also do not show that the option prices failed
to reflect all the public information in the market and respond rapidly to new, unanticipated,
material information about Tesla. In other words, for the substantial majority of option
pairs the prices of the options and underlying stock moved as expected in an efficient
market. The violations simply suggest that if the costs of taking a short position were
included in the put-call parity relationship, it is highly likely the violations would
disappear.

           3.      Cause-and-Effect for Individual Options

          134. I have also been asked to analyze the cause-and-effect relationship for
individual options. For this individual analysis, I examine the put-call parity relationship,
as well as the directional consistency between the stock price and option price movements.




176
      “It’s really expensive to short Tesla’s stock,” Quartz, August 27, 2018.

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                a)     Put-Call Parity
         135. Appendix G contains for each option series the number of pairs for which
put-call parity is tested, the number of violations, and the average percentage violation.
These results are then summarized in Exhibit XIII, which shows that, as the time to
maturity of the option series increases, so does the prevalence of put-call parity violations
in general, with the longest term options of August 2019 (25% of call pairs and 52% of put
pairs) and January 2020 (44% of call pairs and 54% of put pairs) expirations having higher
violations, which is consistent with the relatively higher costs of shorting Tesla’s common
stock over a longer period. Even with these violations, the average violation is only 0.25%
(0.27%) of the stock price for the August 2019 call (put) options and 0.49% (0.51%) for
the January 2020 call (put) options. As explained above, these violations likely are an
artifact of the relatively higher costs of shorting Tesla stock and do not reflect a lack of
informational efficiency.

                b)     Option Price Movements after Statistically Significant Stock
                       Price Reactions
         136. To further examine cause-and-effect and determine whether the violations of
put-call parity are the result of option prices failing to respond to changes in information
about Tesla, I examine the response of option prices after certain statistically significant
stock price movements during the Class Period, namely the two events or disclosures on
August 7, 2018 (examined above in Section VI.B.4), and the disclosure of the alleged
corrective information prior to the open of trading on August 17, 2018 (also examined
above in Section VI.B.4).

         137. Specifically, I examine whether the price changes (based on actual trades) in
the options are directionally consistent with the expected movement or what would
typically be observed given only Tesla’s stock price changes.177 Specifically, holding all
other option pricing inputs constant, if the stock price increases by a large amount, call



177
      This does not account for other variables that affect option prices such as any changes
      in the implied volatility of Tesla’s common stock. In addition, the announcement of a
      possible cash-based merger is not likely to effect in a typical way call options that are
      OTM and have strike prices above the merger price.

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prices typically are expected to go up and put prices typically are expected to go down.
Similarly, holding all other option pricing inputs constant, if the stock price declines by a
large amount, call prices typically are expected to go down and put prices typically are
expected to go up. Large price movements are examined because small stock price
movements might be associated with what would appear to be random price movements
from bid-ask bounce or just random movements due to no change in information.

          138. Based on my statistical analysis of intraday and close-to-open stock trading
activity in Section VI.B.4, above, I examine three events — all of which had statistically
significant and rapid stock price movements. First, I examine the option price movements
following the release of the FT Article at 12:17 p.m. as the stock price movement was
positive and statistically significant. Next, I examine the price movements following the
NYT Article prior to the opening of trading on August 17, 2018. Finally, I examine the
option price movements following the Musk Tweet at 12:48 p.m. on August 7, 2018.

                          The Responses of Options Prices to the Information in the FT
                          Article Support the Conclusion that Individual Options Trade in
                          Efficient Markets

          139. For the FT Article, the overwhelming percentage of options that traded
following the disclosure rapidly moved in a manner that typically would be observed and
expected in an efficient market (if all option inputs other than the level of the stock price
remains constant). Prior to and after the disclosure on August 7, 2018 at 12:17 p.m., 671
options traded.178 These 671 options represent more than 85% of the total volume of all
Tesla options that traded over the Class Period, thus this sample represents the substantial
proportion of volume of all Tesla options during the Class Period, which I consider to be a
very robust group and representative of all Tesla options. Moreover, the price movements
of over 96% of the individual options move in the direction that typically would be
observed and expected (given an increase in the stock price but no changes to other option
pricing inputs) in an efficient market where the option prices reflect the same information



178
      I find the price change in options that traded prior to 12:18 p.m., using the most recent
       traded price prior to 12:18 p.m., and also traded on or after 12:18 p.m. but prior to the
       12:48 p.m., using the last trade prior to 12:48 p.m.

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as in the common stock market. The fact that it is slightly under 100% of what would
typically be expected is likely an issue with the randomness of price movements for a de
minimis number of mostly OTM options.179 See Exhibit XIV for a summary of the results
separated by calls and puts and by whether the options were in-the-money or out-of-the
money.

                         The Responses of Option Prices to the Information in the NYT
                         Article Support the Conclusion that Individual Options Trade in
                         Efficient Markets

         140. For the NYT Article, the overwhelming percentage of options that traded also
reacted rapidly following the disclosure, in a manner that typically would be observed and
expected in an efficient market (if all else other than the level of the stock price remains
constant). Before the close of trade on August 16, 2018 and after the open of trade on
August 17, 2018, 1,162 options traded.180 These 1,162 options that traded in the pre-and
post-period represent more than 94% of the total volume of all Tesla options traded over
the Class Period.181 Because they represent a substantial portion of all volume of all Tesla
options during the Class Period, I consider this to be a very robust group and representative
of all Tesla options. Moreover, the price movements of over 95% of the individual options
is in the direction (given a decrease in Tesla’s stock price and holding other option pricing
inputs constant) that typically would be observed and expected in an efficient market where
the option prices reflect the same information as is reflected in the common stock market.
The fact that it is slightly under 100% of what would typically be expected is likely an
issue with a certain randomness of price movements for a de minimis number of OTM
options. See Exhibit XV for a summary of the results separated by calls and puts and by
whether the options were in-the-money or out-of-the money.



179
      Especially for OTM options with low prices, pre- and post-event trades taking place at
      bid versus ask prices can cause what is commonly referred to as the bid-ask bounce,
      which might make it look like the price movements are atypical, when in fact it is
      simply the spread or cost of trading that explains the movement.
180
      I find the price change in options that traded on August 16, 2018, using the latest trade
      during the day, that also traded on August 17, 2018, using the first trade during the day.
181
      Options that expired prior to August 17, 2018 are not counted in this percentage.

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                         The Responses of Option Prices to the Information in the Musk
                         Tweet Support the Conclusion that Individual Options Traded in
                         Efficient Markets

         141. For the Musk Tweet at 12:48 p.m. on August 7, 2018 and other information
released during the remainder of the trading day (almost all of which related to the Musk
Tweet), 867 options traded between 12:17 p.m. (after the FT Article was released) and
before 12:48 p.m. and then again after 12:48 p.m. on August 7, 2018.182 For this group of
options, I also observe an overwhelming majority of options that traded reacting rapidly to
the information in a manner that typically would be observed and expected in an efficient
market (if all else remains constant and the stock price is the only factor that changes).
These 867 options that traded in the pre-and post-period represent almost 90% of the total
volume of all Tesla options traded over the Class Period. Because they represent a
substantial portion of volume of all the Tesla options traded during the Class Period, I again
consider this to be a very robust group and representative of all Tesla options. Moreover,
the price movements of over 77% of the individual options are in the direction that typically
would be observed and expected (given an increase in the stock price but no changes to
other option pricing inputs) in an efficient market where the option prices reflect the same
information as is reflected in the common stock market.183 See Exhibit XVI for a summary
of the results for all options as well as separated by calls and puts and by whether the option
was in-the-money or out-of-the money.

         142. My observation that unlike the two other events discussed above, there are
more atypical price movements, does not alter my conclusion that the price reactions were
as expected and the markets for the individual options were efficient. For support of my



182
      I find the price change in options that traded after 12:17 p.m. but prior to 12:48 p.m.,
      using the latest trade made prior to 12:48 p.m., that also traded after 12:48 p.m., using
      the latest trade during the day.
183
      I test whether the proportion that are observed as “typical” are different than 50% (i.e.,
      if there was an equal chance of the option price movement being typical or atypical as
      I define them). For this I use a standard z-test for large samples (see, e.g., John E.
      Hanke and Arthur G. Reitsch, Understanding Business Statistics 290-291 (Irwin
      1990)). I find that a typical percentage of 77.97% is highly statistically significantly
      different than 50%, with a p-value below 1%.

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conclusion, I note that the Musk Tweet and other (mostly related) information disclosed
prior to the close of trading on August 7, 2018 effectively altered a number of the options
pricing factors and otherwise would have impacted the expected dispersion of stock prices
(discussed in Section VII.C, above). In other words, all else was not constant and there
were likely changes to investor expectations beyond those of only a higher stock price.
For example, the Musk Tweet or the disclosure of a potential corporate transaction would
have altered the anticipated stock price volatility (or expected future stock price
dispersion). Investors would have considered the stated takeover price of $420, which
would have impacted the expected future stock dispersion by: (1) adding a potential cap on
the upper bound price for Tesla stock; and (2) increasing the probability that the transaction
would close prior to the expected maturity of various options, thus lowering the time value
of the options. Therefore, accounting for these offsetting factors would explain why certain
options prices appear to move in an atypical fashion.

       143. In summary, the first two events that I describe (the FT Article and the NYT
Article) have well identified and clear implications for Tesla and its common stock price,
and, for the most part would have had minimal impact (compared to the stock price change)
on each option’s implied volatility or time value. In other words, the stock price changes
resulting from these events would be the main factor in determining changes to option
prices. Therefore, the change of the values of the other inputs, that could have impacted
the expected dispersion of future stock prices, would for all intents have been left relatively
unchanged, and thus in determining the value of the Tesla options those factors would be
held relatively constant. On the other hand, as described in the previous paragraph, the
Musk Tweet about a going-private transaction at $420 per share would, in an efficient
market, alter the expected price dispersion. Therefore, as expected, certain call (put)
options, especially OTM options, went down (up) despite the underlying statistically
significant stock price increase.

       F. Additional Empirical Evidence Supports a Conclusion of Market Efficiency

       144. To further examine whether the relatively small proportion of options with
what appear to be atypical price movements following soon after the Musk Tweet can be
explained by the factors mentioned above, I utilize a commonly applied and generally-


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accepted logit regression procedure for explaining the movements of dependent variables
(the “Y” variable in a normal regression equation) when those movements have outcomes
that are binary – Yes or No, or zero and one. In this case the price movement is either
typical (77%) or (as I define it) atypical (23%). Thus, I established a categorical or binary
variable to describe the price movement of each individual option. If the price movement
is considered typical the variable takes on the value of zero, and otherwise if it is atypical,
it takes on the value of one. Therefore, in my regression equation instead of a continuous
dependent variable that is being evaluated (for example, the return of Tesla common stock
in my market model regression described in Section VI.B.1, above) (see also Appendix E)
the dependent or Y variable is either zero or one.

         145. The logit function is the natural log of the odds of the modeled outcome. In
this case, I examine whether there is a relationship between the directional price
movements of the individual options that might be considered atypical compared to the
typical option price movements when only the underlying stock price moves and all other
factors remain relatively constant.      In my logit regression, I determine whether the
likelihood of observing an atypical option price movement after the Musk Tweet is a
function of the characteristics of the specific option — time to maturity, volatility,
sensitivity to price changes, etc. — meaning those factors more than offset the impact of
the stock price change (all else constant).

         146. To describe the characteristics of each option, I use its “Greek” measures prior
to the Musk Tweet to see if these characteristics explain the deviations from typical
movements that is generally expected when the stock price goes up.

         147. The Greeks include “delta,” “gamma,” “rho,” “theta” and “vega.” These are
all measures of how an option price is expected to change when there is a change in one of
the underlying option input factors. Thus, for example, delta is the ratio that compares the
expected change in the price of an option when the underlying Tesla stock increases, say
by $1.184 For example, if a Tesla call (put) option has a delta value of 0.65 (-0.65), this


184
      For a discussion of the “Greeks”, see John C. Hull, Options, Futures, and Other
      Derivatives, chapter 17 (“The Greek Letters”) (7th ed. 2009). The delta is positive for


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means that if Tesla stock price increases by $1 per share, the call (put) option on Tesla
common stock is expected to increase (fall) by $0.65 per share, all else being equal. Gamma
measures the expected rate of change of delta with any price change; rho measures the
change in the option price for every 1% increase in risk-free interest rates; theta measures
time decay; and vega measures the change in the option price for every 1% increase in
implied volatility. These measures therefore measure different properties of option prices
that would account for expected changes in the time value and changes in implied volatility.

       148. The Logit results separately for the calls and puts are contained in Appendix
I. The empirical evidence supports the conclusion that the likelihood of an atypical price
movement for an individual option is strongly related to the characteristics of the options
— whether they are longer maturity and further away from the money OTM options, etc.
The empirical results are highly statistically significant for both the calls and puts, with the
Max-rescaled R-Square of 79.2% (72.7%) for the calls (puts). This is demonstrated with a
number of measures in the appendix, including what is called the percent concordant,
which is a measure of how well the model fits the data. In this case the percent concordant




   calls and negative for puts and “is defined as the rate of change of the option price with
   respect to the price of the underlying asset.” (e.g., see Hull, pp. 207, 360). Gamma
   measures the rate of change of the delta with respect to the underlying asset’s price,
   where a smaller gamma means that the delta changes less as the underlying stock price
   changes (e.g., see Hull, p. 369). Theta, sometime referred to as the “time decay,” is the
   rate of change of an option’s value with respect to the passage of time (e.g., see Hull,
   p. 367). Vega is the rate of change of the option’s value with respect to the volatility
   of the underlying security, where a low absolute value means that changes in volatility
   have less impact on the option’s value, while a high absolute value vega means the
   option price is more sensitive to changes in the volatility of the underlying security
   (e.g., see Hull, p. 373). Rho measures the rate of change of the option’s price with
   respect to changes in the interest rate (e.g., see Hull, p. 375) and is positive for calls
   and negative for puts.
   See also instructional primers with examples from the Option Industry Council
   available       at:       https://www.optionseducation.org/advancedconcepts/delta;
   https://www.optionseducation.org/advancedconcepts/gamma;
   https://www.optionseducation.org/advancedconcepts/theta;
   https://www.optionseducation.org/advancedconcepts/vega;
   https://www.optionseducation.org/advancedconcepts/rho;
   https://www.optionseducation.org/advancedconcepts/volatility-the-greeks.

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for the calls (puts) is 97.7% (96.7%), demonstrating again that the purported atypical price
movements emerge because of the anomalous information disclosed in the Musk Tweet,
which has an atypical impact on the price movements of a small number of mostly OTM
options. These price movements are consistent with those expected in an efficient market
when there are changes to multiple underlying inputs altering the expected stock price
dispersion in the option pricing model.

       G. Based on the Basket of Factors the Courts Evaluate, Options on Tesla Common
          Stock Traded in Efficient Markets

       149. Although there were some violations in the put-call parity relationship, likely
indicating only that the transactions costs, which were de minimis in magnitude compared
to the stock price change, when examining the basket of factors that Courts generally rely
upon for class certification decisions – which are also consistent with the fundamental
principles of economics and finance that academics rely upon to evaluate market efficiency
– the evidence overwhelmingly supports the conclusion that Tesla common stock and
options on Tesla common stock traded in open, well-developed and efficient markets
throughout the Class Period.

       150. Support for the conclusion that the Tesla options traded in efficient markets
throughout the Class Period comes from a multiplicity of sources. As described above,
several of the Cammer and Krogman factors apply similarly for the common stock and the
options — and, thus, support market efficiency for all Tesla options. First, the benefits of
the dissemination and processing of information about Tesla from extensive analyst
coverage (Cammer-2) extends to all Tesla securities and supports market efficiency.
Second, the importance of the eligibility of Tesla to file an SEC Form S-3 (Cammer-3)
likewise extends to all Tesla securities in support of efficiency. Third, the large market
capitalization of Tesla common stock and the large value of the stock underlying the
derivative Tesla options as a whole (Krogman-1) would support the conclusion that Tesla
options traded in an efficient market. Finally, I found no evidence that any insiders held
any Tesla exchange-traded options (Krogman 2-The Size of the Float), which would also
support the conclusion that Tesla options traded in an efficient market. Thus, each of these
features apply to all Tesla securities and all are consistent with and strongly support a
conclusion of market efficiency. Moreover, Tesla options traded on established exchanges,

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which supports the conclusion that the exchanges enhanced the efficiency of the Tesla
options market.

       151. In addition, the operational factors, such as turnover of the individual options
and the bid-ask spreads relative to acquiring the Tesla common stock support the
conclusion that Tesla options traded in efficient markets.

       152. Further, a substantial proportion of individual option prices reacted to
material, unanticipated news as would be typically observed and expected in an efficient
derivative market. Even when there were what I label as atypical price reactions, they were
explained by the characteristics of the individual options and in such a manner that would
not be unexpected in an efficient market.

       153. In addition, options pricing theory described above and trade practices both
imply that the Tesla options formed a single derivatives market, in that the values are all
linked to the underlying factors (such as the expected Tesla stock price dispersion) and
changes in information that impact expectations about Tesla’s stock price and its likely
future movements.

       154. Finally, courts have consistently found that for the purposes of examining
securities markets, that related securities (such as options, preferred stock, different types
of corporate bonds, etc.) are generally considered similar because of primary economic
factors that drive their valuation. For options, these include the expected levels of future
Tesla stock prices and its variability. In the case of the pricing of options, the main
ingredient is the price and underlying return distribution of the common stock, which
means that all Tesla options comprise a homogeneous pool of derivative securities based
on the systematic linkage of the price to the same underlying inputs.

       155. Based on the foregoing, I conclude that Tesla options traded in efficient
markets.

VIII. THERE IS NO EVIDENCE OF A LACK OF PRICE IMPACT

       156. Above, I presented clear and substantial evidence to support my opinion that
Tesla common stock and options of Tesla common stock traded in an efficient market. I


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also note that much of my evidence herein goes well beyond what the Supreme Court has
required plaintiffs to demonstrate in Halliburton Co. v. Erica P. John Fund, Inc., 134 S.Ct.
2398 (2014) (“Halliburton II”). There, the Court reaffirmed Basic:

                The Court in Basic acknowledged, however, the debate among
                economists about the efficiency of capital markets and refused
                to endorse “any particular theory of how quickly and
                completely publicly available information is reflected in market
                price.” The Court instead based the presumption of reliance on
                the fairly modest premise that “market professionals generally
                consider most publicly announced material statements about
                companies, thereby affecting stock market prices.” Moreover,
                in making the presumption rebuttable, Basic recognized that
                market efficiency is a matter of degree and accordingly made it
                a matter of proof.185

         157. I also note that the Court held in Halliburton II that “defendants must be
afforded an opportunity before class certification to defeat the presumption [of reliance]
through evidence that an alleged misrepresentation did not actually affect the market price
of the stock.”186 As was clearly demonstrated above, whether relying upon the daily returns
or the intraday returns, there is no evidence of a lack of price impact when one examines
either the front-end price reactions of Tesla’s common stock to the Musk Tweet and other
information released during the remaining trading day or the back-end price reactions of
Tesla’s common stock to the NYT Article alleged corrective disclosure.             Indeed, as
demonstrated above in Section VI.B.4, there is robust and incontrovertible empirical
evidence that the Musk Tweet on August 7, 2018 had a rapid, measurable and statistically
significant price impact on Tesla’s common stock price. This empirical evidence likely
would – once a complete price impact or loss causation analysis is completed – establish
that the Musk Tweet introduced artificial inflation into the price of Tesla common stock.
Moreover, the overwhelming reaction to the Musk Tweet and the NYT Article of the
options prices also is consistent with the conclusion that there is no evidence of a lack of
price impact for the options. Demonstrating that there is no evidence of a lack of price



185
      Halliburton II, 134 S.Ct. at 2403 (quoting Basic, 485 U.S. at 247, 248, nn. 24 & 28).
186
      Id. at 2417.

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impact for the securities is yet another indicia that the markets for Tesla common stock and
options on Tesla common stock were efficient.

IX.      ABILITY TO CALCULATE DAMAGES ON A CLASS-WIDE BASIS

         A. Calculating Damages for Violation of § 10(b) of the Exchange Act for Tesla
            Common Stock and Options Using the Out-of-Pocket Method

         158. As set forth in the Complaint, Plaintiff alleges that Defendants violated
Section 10(b) of the Exchange Act. As explained below, damages for this claim can be
calculated on a class-wide basis using a common methodology.187

         159. The calculation of class-wide damages for a violation of Section 10(b) of the
Exchange Act is subject to a common and broadly accepted methodology, which indeed is
routinely applied and has become a virtual standard in federal securities litigation just like
this Tesla matter. This class-wide damages methodology is generally referred to as the
“out-of-pocket” method. Using the out-of-pocket method, damages suffered by Class
Members are measured based on the investors’ losses from transacting at artificial prices
caused by the alleged fraud. The levels of artificiality in the securities’ prices (i.e., artificial
inflation or deflation) at purchase and sale are compared to determine the harm to each
Class Member.

         160. Therefore, one can think of the out-of-pocket method as a straightforward,
standard and commonly-used formula — for example, akin to the formula of the slope of
a line taught in sixth grade algebra; namely Y = a + bX. To solve this simple formula for
Y, one uses information to estimate a and b, and then simply inputs X into the formula to
solve for Y.

         161. In the out-of-pocket method, the inputs are the daily levels of artificiality in
the prices for Tesla common stock and options caused by Defendants’ alleged
misrepresentations and/or omissions and Class Member trading activity. Daily levels of
artificial inflation or deflation are calculated as the difference between the actual prices



187
      As previously noted, I have not been asked to calculate or opine on the quantum of
      damages here.

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observed on that day for Tesla common stock or an option and the true or “but-for” values
of that security absent the alleged misrepresentations and omissions (i.e., had the truth been
disclosed the price “would have been” the true value).

         162. Harm to Class Members based on their trading activity of common stock and
options are then calculated based on: (i) the level of artificiality in prices on the date the
Class Member acquires their options or common stock (including closing their short
position); less (ii) the level of artificiality in prices on the date the Class Member sells their
options (or closes their position) or common stock (including initiating a short position).
For purchased shares or options open at the end of the Class Period there would be zero
artificiality in prices associated with any offsetting transaction.188 For any transaction (e.g.,
a short sale) prior to the start of the Class Period the level of artificiality in prices is zero.

         163. To implement the out-of-pocket method for Tesla common stock and options,
which is based on the relatively straightforward, standard and commonly-used formula
discussed above, inputs are calculated. Below I describe how one would calculate the
inputs into the common out-of-pocket damages method for Tesla common stock and
options. Because the options prices are derived primarily based on the price level of Tesla
common stock and the expected dispersion of Tesla stock prices, the level of artificiality
for the options’ prices will primarily depend on the levels of artificiality (or daily inflation)
in Tesla’s common stock price and any levels of artificiality (or daily inflation/deflation)
induced by the changes in the expected dispersion of Tesla stock prices.

         164. Therefore, because the inputs into the calculation of the artificiality of option
prices utilize the measure of artificiality of Tesla common stock prices, I first describe how
to calculate the inputs into the common out-of-pocket damages method for Tesla common
stock. This is followed by a description of how to calculate the inputs into the common
out-of-pocket damages method for the options on Tesla common stock.




188
      If the security is artificially deflated, damages are calculated based on the deflation on
      sale less the deflation on purchase.

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         165. As will be described below, in my opinion, the out-of-pocket method does not
involve any individualized issues for Tesla’s securities.189 Indeed, no matter which of the
techniques the experts might choose at the merits stage of this litigation to measure
artificiality in the securities’ prices and thus to construct the inflation/deflation ribbons, the
techniques used to estimate the minute-by-minute or daily true or but-for prices (and thus
calculate the level of artificiality in prices) will be common to all putative class members
and will be applied on a class-wide basis.190

         B. Calculating the Inputs to Implement the Out-of-Pocket Damages Method for
            Tesla Common Stock

         166. For Tesla common stock, the daily levels of artificial inflation or the inputs
into the out-of-pocket formula are calculated and represented by what economists generally
refer to as an “inflation ribbon.” The inflation ribbon for common stock represents an
estimate of the daily level of artificiality in the prices of Tesla common stock caused by
the Defendants’ alleged misrepresentations and omissions, and is generally based on the
price reactions to disclosures either related to or revealing the alleged misstatements and
omissions. Daily levels of artificial inflation are calculated as the difference between the
actual prices observed on that day for Tesla common stock and the true or “but-for” values
of the stock absent the alleged misrepresentations and omissions (i.e., had the truth been
disclosed the price would have been the true value).

         167. Harm to Class Members on common stock trading activity is then calculated
based on the inflation on the date the Class Member acquires their common stock less the




189
      This is also consistent with the recent Signet Court’s conclusion that: “[Defendant’s
      expert’s] contention that Plaintiff’s methodology did not adequately isolate the impact
      … is simply a loss causation argument in disguise, because it tests the causal
      relationship between the alleged misstatements and the price decline. Such an argument
      ‘goes beyond the Rule 23 inquiry.’” Signet at *20 (emphasis added and in original,
      citations omitted).
190
      See, for example, Nicholas I. Crew, Kevin L. Gold and Marnie A. Moore, Federal
      Securities Acts and Areas of Expert Analysis, Litigation Services Handbook: The Role
      of the Financial Expert, Fifth Edition, Wiley (2012), 24.11-24.14.

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inflation on the date the Class Member sells their common stock (or if unsold, based on
zero inflation following the Class Period).191

          168. To calculate the inputs for the out-of-pocket method or formula, an expert
often begins with the same type of event study I used above in Section VI to evaluate the
price-related factors for Tesla common stock. Using the results of the event study along
with the disclosures of firm-specific information, daily abnormal returns or price
movements are calculated. Using the abnormal returns to calculate actual inputs into the
out-of-pocket method might require parsing (i.e., disaggregating and separating the amount
of the price movement due to the fraud from the amount of the price movement due to non-
fraudulent disclosures) or scaling (changing the impact over time of the misrepresentations
or omissions). In any case, parsing confounding information (if it were required) and
scaling for changes over time (if it were required) is completed in an analysis of loss
causation. But the Supreme Court’s Halliburton I Opinion determined that loss causation
is a common issue that need not be analyzed at the class certification stage.192 Thus, for
present purposes, one need only realize that the above-described inputs — the measures of
artificiality — will be determined by common elements and thus will be common to all
class members and applied class-wide.

          169. Harm to Class Members who purchased Tesla common stock at inflated
prices to close their short positions are calculated based on the inflation on the date the
Class Member purchased their common stock during the Class Period to deliver to the
person/entity that loaned the investor the share less the inflation, if any, on the date the
Class Member sold the shares short.193




191
      For a short seller, the sale occurs before a purchase, but the formula remains the same.
      If the short sale occurs prior to the Class Period, then it would be sold with zero inflation
      in Tesla’s stock price.
192
      Erica P. John Fund, Inc. v. Halliburton Co, et al., 131 S. Ct. 2179 (2011) (“Halliburton
      I”).
193
      Upon entering a short sale, an investor is obligated to return a share to the lender of that
      share upon closing the position. When an investor purchases a share to close a short
      position, this share is consequently delivered to the investor who loaned this share. For


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         C. Calculating the Inputs to Implement the Out-of-Pocket Damages Method for
            Options on Tesla Common Stock

         170. Likewise, the daily level of artificiality in prices (either inflation or deflation)
can be established for each option on Tesla common stock by taking into account the
artificial inflation in Tesla common stock prices and any artificial option price levels
induced by changes in the expected dispersion of Tesla stock prices as a result of the alleged
misrepresentations and omissions.

         171. Because option prices are derived from the share price of Tesla common stock
and other factors like the expected future volatility of Tesla’s stock, if the price of Tesla
common stock is artificially inflated (and all other option inputs are constant),194 then a call
option would likewise be artificially inflated because the call option would be worth less
if the Tesla common stock price was lower. If the price of the Tesla common stock is
artificially inflated (and all other option inputs are constant), a put option would be
artificially deflated because the put option would be worth more if the Tesla common stock
price was lower.195 More generally, if the price of the Tesla common stock is artificially
distorted because the Musk Tweet impacted the price level of Tesla common stock, as well
as causing other option pricing inputs to be distorted (e.g., implied volatility), then the
prices of call and put options would be artificially distorted and the level of the artificial




      example, before the Class Period, the price at which the investor was loaned the share
      to sell was at a price not alleged to be impacted by the alleged misrepresentations or
      omissions and those short sellers are allegedly damaged if they then purchased to cover
      the position at artificially inflated stock prices during the Class Period.
194
      I note that if information that artificially inflates the stock changes other inputs to the
      option valuation such as by creating the possibility of reducing the days to expiration,
      truncating the expected distribution of Tesla stock prices, or affecting the expected
      volatility of Tesla common stock, then those such effects could result in a deflation of
      the call price.
195
      I note that if information that artificially inflates the stock changes other inputs to the
      option valuation such as by creating the possibility of reducing the days to expiration,
      truncating the expected distribution of Tesla stock prices, or affecting the expected
      volatility of Tesla common stock, then those such effects could result in additional
      deflation (or inflation if volatility increases) of the put price.

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distortion (whether inflation or deflation) would then be applied class-wide to purchases
and sales of the specific options to determine out-of-pocket damages.

          172. A reasonable method of calculating the inputs into the out-of-pocket damages
method to be applied on a class-wide basis would be to model the true or but-for prices of
options on Tesla common stock using one of the widely employed option pricing models.
For example, the classic Black-Scholes option pricing model or possibly some other pricing
model could be used to calculate the true or but-for price for each option. After accounting
for the level of artificial inflation from the price of Tesla common stock and any artificial
effects on the dispersion of the Tesla stock price used to value the options caused by the
alleged misrepresentations and omissions, the pricing model could then be used to
mechanically calculate the true or “but-for” value for each option on Tesla common stock.
Once these but-for prices are calculated, they are compared to the actual prices that are
observed after the Musk Tweet.196 This comparison would be implemented throughout the
Class Period and result in a measure of artificiality in the option prices throughout the Class
Period.

          173. Examples of the relevant inputs into this model would include the but-for
price for Tesla common stock and the ”but-for” implied volatility level, the implied
volatility after removing the artificial inflation or deflation in implied volatility (i.e. the
expected future dispersion of Tesla common stock) that resulted from the alleged
misrepresentations and omissions.

          174. This is the same out-of-pocket method as would be used for the common stock
because damages are based on each Class Member’s trading activity and the level of
artificiality in the price of the Tesla security. This method would be formulaic and applied
class-wide.




196
      I note there are a variety of option pricing models that would offer reasonable estimates
      of but-for prices. At such time as a loss causation and damages report is submitted, the
      preferred model could be applied to the data. No matter which model was to be used,
      the output of that model would be applied class-wide to determine individual investor
      damages.

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          D. Summary of the Out-Of-Pocket Damages Method

          175. The common out-of-pocket damages method and the related inputs into the
out-of-pocket formula are applied on a class-wide basis. In the end, the inputs or the daily
levels of artificiality (i.e., the artificial inflation ribbon for Tesla common stock and the
inflation/deflation ribbons for the options) along with the actual trading activity of Class
Members are used to calculate individual harm in a mechanical and formulaic
manner.197,198

          176. In the merits stage when an expert identifies the level of artificiality in Tesla
common stock and options attributable to the specific misrepresentations and omissions
ultimately established by Plaintiff, these artificial prices do not depend on, nor does one
need to consider, an individual investor’s risk tolerance or expected returns. Rather they
are common to all investors because they measure how the misrepresented information
affected the prices of Tesla’s common stock and options, which is of course the essence of
fraud-on-the-market.

          177. I note that the issue of whether and how much the particular Tesla common
stock or option price reaction is caused at the front end by the misrepresentations or at the
back end by the revelation of the truth concerning a particular piece of information (as
opposed to confounding information) is a quintessential loss causation inquiry because it
is focused on the causal relationship between the misrepresentations/omissions and the



197
      In addition, the 90-day period following the end of the Class Period would also need to
      be examined. Under the Private Securities Litigation Reform Act of 1995 (“PSLRA”),
      a plaintiff may not recover more than the difference between the purchase price and the
      mean trading price of the security during the 90-day look-back period. See 15 U.S.C.
      § 78u-4(e)(1).
198
      Some have argued that the U.S. Supreme Court decision in Dura Pharmaceuticals v.
      Broudo, 544 U.S. 336 (2005) caps the amount of per share damages to the dollar drop
      in the security that was caused by the corrective disclosure of the alleged wrongdoing,
      which could be implemented for the common stock. See, e.g., David Tabak, Inflation
      and Damages in a Post-Dura World, NERA white paper, September 25, 2007. Because
      the measure of inflation/deflation for options could change on a daily basis, I could also
      calculate the effect of the abnormal price change in Tesla’s stock price due to the
      alleged corrective disclosures on the options on Tesla’s common stock, which could be
      used as an amount to limit recoverable damages consistent with Dura.

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associated price movement. Sometimes, parsing or scaling might be necessary if there are
confounding disclosures or changes over time. The commonly used and widely accepted
techniques to account for confounding information and potential changes over time would
be completed when a loss causation or damages report is submitted in this matter. Most
critically, whatever the outcome as to the parsing and scaling, the inputs will be plugged
into a common inflation or deflation ribbon, which would be applied Class-wide to
calculate individual damages as described above in the common out-of-pocket damages
method.

        178. Moreover, in this matter with well identified disclosures and intraday price
reactions, once discovery is complete and, eventually, a determination of liability is made
by the finder of fact, to the extent it is even appropriate, disaggregating confounding
information or scaling would be based on a disclosure-specific inquiry of the
misrepresentations and related alleged corrective disclosures that would occur, at the
earliest, based on a full factual record.

X.      CONCLUSIONS

        179. Based on the foregoing, my conclusions are as follows:

              i.    Throughout the Class Period, Tesla common stock and options on
                    Tesla common stock traded in efficient markets.
             ii.    The calculations of damages for violations of Section 10(b) of the
                    Exchange Act (and SEC Rule 10b-5) are subject to a common
                    methodology and may be computed on a class-wide basis.


I declare under penalty of perjury that the foregoing is true and correct.

RESPECTFULLY SUBMITTED THIS 22nd DAY OF SEPTEMBER 2020



______________________________________
Michael L. Hartzmark, Ph.D.



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                                                      Exhibit I
                  Weekly Trading Volume and Turnover of Tesla, Inc. Common Stock
                                     During the Class Period
"Turnover measured by average weekly trading of 2% or more of the outstanding shares would justify a strong
presumption that the market for the security is an efficient one; 1% would justify a substantial presumption." [Cammer
v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) at 1293.]
            [1]                   [2]                     [3]                     [4]                     [5]
                                Daily                  Weekly                  Shares                  Weekly
           Date                Volume                  Volume                Outstanding              Turnover

Summary Statistics of Trading Volume and Turnover
 Weekly Volume and Turnover include August 6, 2018
   Total                   135,756,997        144,321,328
   Average                  15,084,111         72,160,664                     170,593,144              42.3%

   Minimum                      6,064,033              51,574,211                                      30.2%
   Median                      11,552,044              72,160,664                                      42.3%
   Maximum                     30,875,768              92,747,117                                      54.4%

        8/6/2018   Mon           8,564,331                      ---                     ---                  ---
        8/7/2018   Tue          30,875,768                      ---                     ---                  ---
        8/8/2018   Wed          24,571,163                      ---                     ---                  ---
        8/9/2018   Thu          17,183,811                      ---                     ---                  ---
       8/10/2018   Fri          11,552,044              92,747,117             170,593,144               54.4%
       8/13/2018   Mon          10,463,881                      ---                     ---                  ---
       8/14/2018   Tue           6,986,427                      ---                     ---                  ---
       8/15/2018   Wed           9,101,258                      ---                     ---                  ---
       8/16/2018   Thu           6,064,033                      ---                     ---                  ---
       8/17/2018   Fri          18,958,612              51,574,211             170,593,144               30.2%

Notes:
[1] Trading date.
[2] Reported composite U.S. volume. Source: Bloomberg.
[3] Volume over entire week of trading.
[4] Last available shares outstanding as of the end of each week. Source: SEC filings.
[5] Weekly turnover = [3] / [4].
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                                      Exhibit II
                            Analyst Coverage of Tesla, Inc.

               [1]                     [2]                              [3]
                            Bloomberg Total Analyst      Number of Analysts in Thomson
              Date             Recommendations             Reuters I/B/E/S Consensus

       Average                          33                                    22

       Minimum                          32                                    21
       Median                           33                                    22
       Maximum                          33                                    22

    Daily Analyst Coverage during the Class Period

          8/7/2018   Tue                33                                    21
          8/8/2018   Wed                33                                    22
          8/9/2018   Thu                33                                    22
         8/10/2018    Fri               33                                    22
         8/13/2018   Mon                33                                    22
         8/14/2018   Tue                33                                    22
         8/15/2018   Wed                32                                    22
         8/16/2018   Thu                32                                    22
         8/17/2018    Fri               32                                    22

    Notes:
    [1] Trading day during the Class Period.
    [2] Most recent available Bloomberg total analyst recommendations. Bloomberg defines
        "total analyst recommendations" as the total number of analysts making
        recommendations for the security. Source: Bloomberg.
    [3] Number of analysts in Thomson Reuters I/B/E/S consensus EPS estimates for current
        fiscal year. Source: S&P Capital IQ.




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                                                                              Exhibit III-A
                         Numbers of Analyst Reports Issued for Tesla, Inc. During the Class Period and 120-Trading Days Before the Class Period
                                                                 February 14, 2018 - August 17, 2018

                                                       Pre-Class Period               Class Period          August 1 - August 17, 2018               Total
No.   Analyst                                        (2/14/2018-8/6/2018)         (8/7/2018-8/17/2018)        (8/1/2018-8/17/2018)           (2/14/2018-8/17/2018)
1     Argus Research Company                                         2                            1                            1                                 3
2     Barclays                                                     18                             3                            5                                21
3     Berenberg                                                      4                            1                            1                                 5
4     BuySellSignals Research                                        2                            0                            0                                 2
5     Canaccord Genuity                                              1                            1                            2                                 2
6     CFRA Equity Research                                         18                             4                            6                                22
7     Coker & Palmer                                                 1                            0                            0                                 1
8     Colliers Securities                                            1                            0                            0                                 1
9     Cowen and Company                                            12                             2                            3                                14
10    Credit Suisse                                                  5                            0                            1                                 5
11    Crispidea                                                      5                            0                            0                                 5
12    Deutsche Bank                                                  3                            0                            0                                 3
13    Dr. Priebe Research                                            3                            0                            1                                 3
14    Elazar Advisors                                                4                            1                            2                                 5
15    Eugene Investment & Securities                                 0                            1                            1                                 1
16    Evercore ISI                                                   5                            2                            3                                 7
17    GlobalData                                                     3                            0                            0                                 3
18    Guggenheim Securities LLC                                      6                            0                            1                                 6
19    Heibel-Ticker                                                  2                            0                            0                                 2
20    Jefferies LLC                                                  6                            1                            2                                 7
21    Jefferson Research & Management                              25                             2                            3                                27
22    JLWC                                                           5                            0                            0                                 5
23    JP Morgan                                                    12                             1                            2                                13
24    KB Securities                                                  6                            1                            2                                 7
25    Marktfeld                                                      2                            0                            0                                 2
26    Millennium BCP                                                 4                            3                            4                                 7
27    MINKABU THE INOFONOID, Inc.                                    1                            0                            0                                 1
28    Moody’s                                                        2                            2                            2                                 4
29    Morgan Stanley                                               27                           12                            14                                39
30    Morningstar Inc.                                               9                            2                            4                                11
31    New Constructs, LLC                                            1                            0                            0                                 1
32    New Generation Research                                        1                            0                            0                                 1
33    NH Investment & Securities Co., Ltd.                           2                            0                            0                                 2
34    Nomura                                                         1                            0                            0                                 1
35    Oppenheimer & Co. Inc.                                         8                            0                            1                                 8



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                                                                               Exhibit III-A
                          Numbers of Analyst Reports Issued for Tesla, Inc. During the Class Period and 120-Trading Days Before the Class Period
                                                                  February 14, 2018 - August 17, 2018

                                                        Pre-Class Period                Class Period           August 1 - August 17, 2018                Total
No.   Analyst                                         (2/14/2018-8/6/2018)          (8/7/2018-8/17/2018)         (8/1/2018-8/17/2018)            (2/14/2018-8/17/2018)
36    Pechala's Reports                                               1                             0                             0                                      1
37    Piper Sandler Companies                                         3                             1                             2                                      4
38    Plunkett Research, Ltd.                                         1                             0                             0                                      1
39    RBC Capital Markets                                             5                             1                             2                                      6
40    Red Pulse                                                     15                              1                             2                                     16
41    Reuters - The Day Ahead Report                                  0                             1                             1                                      1
42    S&P Global Compustat                                            6                             0                             1                                      6
43    S&P Global Ratings                                              1                             0                             1                                      1
44    S3 Partners                                                     3                             0                             0                                      3
45    Sadif Analytics Prime                                           5                             0                             0                                      5
46    Shinhan Investment Corp.                                        0                             2                             2                                      2
47    SSIF Tradeville SA                                              0                             1                             1                                      1
48    Susquehanna Financial Group LLLP                                0                             1                             1                                      1
49    Tematica Research                                               0                             1                             1                                      1
50    Tianfeng Securities Brokerage Co., Ltd                          3                             0                             1                                      3
51    Trefis                                                          2                             0                             0                                      2
52    UBS Equities                                                    9                             3                             6                                     12
53    ValuEngine, Inc                                                 2                             0                             1                                      2
54    William O'Neil + Co.                                            1                             0                             0                                      1
55    Wright Reports                                                  3                             1                             1                                      4
56    Yuanta Research                                                 1                             0                             1                                      1
57    Zacks Equity Research                                         10                              1                             3                                     11
      Total                                                        278                            54                             88                                    332

Note:
For analysts available on Thomson EIKON, I count reports only from Thomson EIKON; otherwise, I count reports available from Capital IQ. Thomson EIKON and Capital IQ
databases include analyst reports written in languages other than English.




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                                     Exhibit III-B
                 Analyst Participation in Tesla, Inc. Conference Calls
                          Before and After the Class Period

                                      [1]                              [2]        [3]
                                                                      Conference Calls


           Analyst/Investor                                          8/1/2018   10/24/2018
           [1] Baird                                                     x
           [2] Bank of America                                           x
           [3] Berenberg                                                 x
           [4] Bernstein                                                 x           x
           [5] CleanTechnica                                             x
           [6] CNBC TV                                                               x
           [7] Consumer Edge                                             x           x
           [8] Evercore                                                              x
           [9] Macquarie                                                             x
           [10] Morgan Stanley                                           x           x
           [11] New Street Research                                      x           x
           [12] Nomura Instinet                                          x           x
           [13] RBC Capital Markets                                      x
           [14] Retail shareholders*                                     x
           [15] Wall Street Journal                                      x
           [16] Wolfe Research                                                       x

           Notes:
           * Galileo Russell who represented the retail shareholders participated in the
           8/1/2018 conference call.
            [1] Analyst/Investor identified as asking a question during a conference call.
            [2] "Q2 2018 Earnings Call," Bloomberg Transcripts, August 1, 2018.
           [3] "Q3 2018 Earnings Call," Bloomberg Transcripts, October 24, 2018.
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                                                           Exhibit IV
                                            Broker Trades in Tesla, Inc. common Stock

Total reported volume:                                             277,360,157
Total broker volume:                                                93,076,228
Total broker volume / Total reported volume:                         33.56%
Number of brokers with volume > 1% of Reported Volum                    9

                                                         Broker Volume and Broker Volume as a Percent of Total Reported Volume
       Broker Name                                                                   August 2018
   [1] MORGAN STANLEY & CO., INCORPOR                                   14,165,992                                5.11%
   [2] INTERACTIVE BROKERS LLC                                          12,962,020                               4.67%
   [3] INSTINET                                                         11,870,020                               4.28%
   [4] ELECTRONIC TRANSACTION CLEARING, INC.                             8,749,612                               3.15%
   [5] UBS SECURITIES LLC.                                               7,443,956                               2.68%
   [6] BARCLAYS CAPITAL INC.                                             4,856,251                               1.75%
   [7] CREDIT SUISSE FIRST BOSTON LLC                                    3,721,889                               1.34%
   [8] NATIONAL FINANCIAL SERVICES LL                                    3,442,937                               1.24%
   [9] Quantlab Securities LP                                            2,795,231                               1.01%
  [10] GOLDMAN SACHS                                                     2,518,388                               0.91%
  [11] VIRTU AMERICAS LLC                                                2,409,540                               0.87%
  [12] JUMP TRADING, LLC                                                 2,025,437                               0.73%
  [13] CLEARPOOL EXECUTION SERVICES, LLC                                 1,884,462                               0.68%
  [14] GTS SECURITIES LLC                                                1,766,765                               0.64%
  [15] DEUTSCHE BANK SECURITIES INC.                                     1,716,046                               0.62%
  [16] E*TRADE CLEARING LLC                                              1,189,688                               0.43%
  [17] TRADEBOT SYSTEMS, INC.                                            1,159,914                               0.42%
  [18] GLOBAL EXECUTION BROKERS, LP                                      1,039,686                               0.37%
  [19] CITIGROUP GLOBAL MARKETS INC.                                       906,916                               0.33%
  [20] CITADEL SECURITIES LLC                                              879,881                               0.32%
  [21] LIME BROKERAGE LLC                                                  627,958                               0.23%
  [22] WOLVERINE EXECUTION SERVICES                                        473,233                               0.17%
  [23] AMERITRADE, INC.                                                    471,536                               0.17%
  [24] WHITE BAY PT LLC                                                    467,248                               0.17%
  [25] TRC MARKETS LLC                                                     316,590                               0.11%
  [26] SPEEDROUTE LLC                                                      312,569                               0.11%
  [27] Dart Executions, LLC                                                258,236                               0.09%
  [28] JEFFERIES & COMPANY, INC.                                           239,495                               0.09%
  [29] PDQ ATS. Inc.                                                       183,715                               0.07%
  [30] LEK SECURITIES CORPORATION                                          182,258                               0.07%
  [31] ITG INC.                                                            175,184                               0.06%
  [32] Wells Fargo Securities, LLC                                         157,492                               0.06%
  [33] HSBC SECURITIES (USA) INC.                                          133,332                               0.05%
  [34] ELECTRONIC BROKERAGE SYSTEMS, LLC                                   130,788                               0.05%
  [35] SANFORD C. BERNSTEIN AND CO. I                                      126,776                               0.05%
  [36] Fox River Execution Tehnology, LLC                                  111,239                               0.04%
  [37] TWO SIGMA SECURITIES, LLC                                           110,426                               0.04%
  [38] VOLANT LIQUIDITY, LLC                                                93,588                               0.03%
  [39] CHARLES SCHWAB AND CO. INC.                                          82,239                               0.03%
  [40] WOLVERINE SECURITIES                                                 74,303                               0.03%
  [41] Stock USA Investments                                                72,199                               0.03%
  [42] BRUT, LLC                                                            70,864                               0.03%



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                                                      Exhibit IV
                                       Broker Trades in Tesla, Inc. common Stock

Total reported volume:                                           277,360,157
Total broker volume:                                              93,076,228
Total broker volume / Total reported volume:                       33.56%
Number of brokers with volume > 1% of Reported Volum                  9

                                                       Broker Volume and Broker Volume as a Percent of Total Reported Volume
       Broker Name                                                                 August 2018
  [43] BMO CAPITAL MARKETS                                                39,007                                0.01%
  [44] DAIWA SECURITIES AMERICA INC.                                      38,212                               0.01%
  [45] PIPER JAFFRAY & CO.                                                33,133                               0.01%
  [46] HAP Trading, LLC                                                   26,825                               0.01%
  [47] ACS EXECUTION SERVICES, LLC                                        24,430                               0.01%
  [48] MAXIM GROUP, LLC                                                    8,181                               0.00%
  [49] JOSEPH GUNNAR AND CO.                                               8,000                               0.00%
  [50] LADENBURG, THALMANN & CO. INC.                                      7,449                               0.00%
  [51] BTIG, LLC                                                           6,737                               0.00%
  [52] MORGAN STANLEY DW INC.                                              5,590                               0.00%
  [53] RBC CAPITAL MARKETS, LLC                                            5,314                               0.00%
  [54] PREBON FINANCIAL PRODUCTS INC.                                      5,000                               0.00%
  [55] SPARTAN SECURITIES GROUP LTD                                        3,538                               0.00%
  [56] CUTLER GROUP, LP                                                    3,365                               0.00%
  [57] MKM PARTNERS                                                        3,202                               0.00%
  [58] PICTET OVERSEAS INC.                                                2,957                               0.00%
  [59] SAGETRADER, LLC                                                     2,669                               0.00%
  [60] STIFEL NICOLAUS                                                     2,629                               0.00%
  [61] CANTOR FITZGERALD & CO.                                             1,390                               0.00%
  [62] ROBERT W. BAIRD & CO. INCORPOR                                      1,050                               0.00%
  [63] O'CONNOR & COMPANY LLC                                                  757                             0.00%
  [64] VIEWTRADE SECURITIES, INC.                                              741                             0.00%
  [65] OPPENHEIMER & CO. INC.                                                  666                             0.00%
  [66] STUART FRANKEL & CO. INCORPORA                                          500                             0.00%
  [67] MB TRADING                                                              445                             0.00%
  [68] THE NORTHERN TRUST COMPANY                                              440                             0.00%
  [69] NATIONAL SECURITIES CORP.                                               391                             0.00%
  [70] BATS TRADING, INC.                                                      320                             0.00%
  [71] WALL STREET ACCESS                                                      216                             0.00%
  [72] CLSA AMERICAS, LLC                                                      200                             0.00%
  [73] GOLDMAN SACHS EXECUTION & CLEARING, L                                   200                             0.00%
  [74] OLD MISSION CAPITAL, LLC                                                200                             0.00%
  [75] JONES AND ASSOCIATES INC.                                               170                             0.00%
  [76] BAY CREST PARTNERS, LLC                                                 166                             0.00%
  [77] SOUTHWEST SECURITIES, INC.                                              142                             0.00%
  [78] FIRST MANHATTAN CO                                                      100                             0.00%
  [79] BENJAMIN & JEROLD BROKERAGE I, LLC                                       90                             0.00%
  [80] LEERINK SWANN & CO., INC.                                                72                             0.00%
  [81] ANDREW GARRETT, INC.                                                     40                             0.00%
  [82] Others                                                            465,795                               0.17%




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                                                            Exhibit IV
                                             Broker Trades in Tesla, Inc. common Stock

Total reported volume:                                                   277,360,157
Total broker volume:                                                      93,076,228
Total broker volume / Total reported volume:                               33.56%
Number of brokers with volume > 1% of Reported Volum                          9

                                                             Broker Volume and Broker Volume as a Percent of Total Reported Volume
       Broker Name                                                                       August 2018
Notes:
[1] Data for August 2018 are considered.
[2] The following brokers (with similar names) were combined into one broker based on having the same Central Registration Depository number
(CRD number available at https://brokercheck.finra.org/): Baypoint Trading LLC and BTIG, LLC have been combined as BTIG, LLC; Citadel
Derivatives Group Llc and CITADEL SECURITIES LLC have been combined as CITADEL SECURITIES LLC; CLEARPOOL EXECUTION
SERVICES and CLEARPOOL EXECUTION SERVICES, LLC have been combined as CLEARPOOL EXECUTION SERVICES, LLC;
GOLDMAN SACHS, GOLDMAN SACHS & CO. LLC and GOLDMAN, SACHS & CO. have been combined as GOLDMAN SACHS;
INSTINET CORPORATION and INSTINET, LLC have been combined as Instinet; Jump Trading and JUMP TRADING, LLC have been
combined as JUMP TRADING, LLC; TWO SIGMA SECURITIES and TWO SIGMA SECURITIES, LLC have been combined as TWO SIGMA
SECURITIES, LLC; WOLVERINE EXECUTION SERVICES, and WOLVERINE EXECUTION SERVICES, LLC have been combined as
WOLVERINE EXECUTION SERVICES; and data with missing broker name have been combined as Others (not included in count of brokers
with >1% of reported volume).
Source:
Bloomberg.




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                                                                           Exhibit V
                                 Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
No                                         Institution                           No                                           Institution
 1   1832 Asset Management L.P.                                                  42   AMP Capital Investors Limited
 2   AB Trust & Investment Services Group                                        43   Amundi Asset Management
 3   ABL Global Asset Management Co. Ltd.                                        44   Analytic Investors, LLC
 4   ABN AMRO Investment Solutions                                               45   Ancora Advisors, LLC
 5   ACATIS Investment GmbH                                                      46   Andbank Wealth Management SGIIC S.A.U.
 6   Accredited Investors, Inc.                                                  47   AP Fonden 4
 7   Accrued Equities Inc.                                                       48   AP Fonden 7
 8   Accurate Investment Solutions                                               49   Aperio Group, LLC
 9   Accuro Fund Solutions AG                                                    50   Appleton Partners, Inc.
10   Achmea Investment Management B.V.                                           51   Apriem Advisors
11   ACTIAM N.V.                                                                 52   AQR Capital Management, LLC
12   Adirondack Trust Company, Asset Management Arm                              53   Arbor Point Advisors, LLC
13   Administradora General de Fondos Security S.A.                              54   Arca SGR S.p.A.
14   Advance Asset Management Limited                                            55   Ardsley Advisory Partners
15   Advantage Investment Management, LLC                                        56   Argus Investors' Counsel, Inc.
16   Adviser Investments, Inc                                                    57   ARK Investment Management LLC
17   AdvisorNet Wealth Management                                                58   Arthur M. Cohen & Associates LLC
18   Advisors Asset Management, Inc.                                             59   Ashburton (Jersey) Limited
19   Advisory Research, Inc.                                                     60   Ashfield Capital Partners, LLC
20   Advisory Services Network, LLC                                              61   Aspiriant, LLC
21   Advocacy Wealth Management Services, Llc, Asset Management Arm              62   Asset Dedication, LLC
22   AE Wealth Management, LLC                                                   63   Asset Management One Co., Ltd.
23   Aevitas Wealth Management Inc.                                              64   Asset Management, Inc.
24   AGF Investments LLC                                                         65   Asset Planning Services, Ltd.
25   AGF Management Limited (TSX:AGF.B)                                          66   AssetMark, Inc.
26   Alaska Retirement Management Board                                          67   Assetplus Investment Management Co., Ltd.
27   Albion Financial Group                                                      68   Atlantic Investment Management, Inc.
28   All Terrain Financial Advisors                                              69   Atwood & Palmer, Inc.
29   AllianceBernstein L.P.                                                      70   Avestar Capital, Llc
30   Allianz Asset Management AG                                                 71   Avitas Wealth Management, LLC
31   Allsquare Wealth Management LLC                                             72   Aviva Investors Global Services Limited
32   Allworth Financial, L.P.                                                    73   Avivasa Portföy Yönetimi A.S.
33   Alpha Omega Investment Advisors                                             74   Avondale Wealth Management LLC
34   Alphamark Advisors, LLC                                                     75   AXA Investment Managers S.A.
35   ALPS Advisers, Inc.                                                         76   Axel Capital Management, LLC
36   American Century Investment Management Inc.                                 77   Azimut Capital Management Sgr SpA
37   American Financial Network Advisory Services, Llc                           78   B&T Capital Management, Incorporated
38   American Money Management, LLC                                              79   B. Riley Capital Management, LLC
39   American Research & Management Co.                                          80   Baillie Gifford & Co.
40   Ameritas Investment Partners Inc.                                           81   Baldwin Brothers, Inc.
41   AMF Fonder AB                                                               82   Ballentine Partners, LLC


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                                                                             Exhibit V
                                   Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                           Institution                           No                                          Institution
 83   Baloise Fund Invest Advico                                                   124   BMO Global Asset Management
 84   Balyasny Asset Management L.P.                                               125   BNP Paribas Securities Corp, Asset Management Arm
 85   Banca Finnat Euramerica S.p.A., Asset Management Arm                         126   BNPP Asset Management Holding
 86   Bank of America Corporation, Asset Management Arm                            127   BNY Mellon Asset Management
 87   Bank Of Oklahoma, N.A., Asset Management Arm                                 128   BOCI - Prudential Asset Management Limited
 88   Bankinter Gestion de Activos, SGIIC                                          129   Boston Partners Global Investors, Inc.
 89   Banque Pictet & Cie S.A., Asset Management Arm                               130   Boston Private Wealth LLC
 90   Barber Financial Group, Inc.                                                 131   BosValen Asset Management Limited
 91   Barclays Bank PLC, Securities Investments                                    132   Bourne Lent Asset Management, Inc.
 92   Barclays PLC Private Banking & Investment Banking Investment                 133   Braun-Bostich & Associates Inc.
 93   Bardin Hill Investment Partners LP                                           134   Bridgeworth, Llc, Asset Management Arm
 94   Baron Capital Group, Inc.                                                    135   Brighton Jones, LLC, Asset Management Arm
 95   Barrett Asset Management, LLC                                                136   Brinker Capital Holdings, Inc.
 96   Bartlett Wealth Management                                                   137   Bristlecone Advisors LLC
 97   Bay Colony Advisory Group, Inc.                                              138   British Columbia Investment Management Corporation
 98   Bayesian Capital Management, LP                                              139   BrokerCreditService Ltd., Asset Management Arm
 99   BB&T Trust                                                                   140   Bronfman E.L. Rothschild, LP
100   BBVA Asset Management, S.A., S.G.I.I.C.                                      141   Brown Advisory Incorporated
101   BBVA Patrimonios Gestora, SGIIC,S.A.                                         142   Brown Brothers Harriman & Co., Asset Management Arm
102   BCV Asset Management                                                         143   Bruderman Asset Management, LLC
103   Beacon Capital Management, Inc.                                              144   BT Funds Management (NZ) Limited
104   Bedel Financial Consulting Inc.                                              145   Buckingham Asset Management, LLC
105   Bedell Frazier Investment Counselling, LLC                                   146   Cable Hill Partners, LLC
106   Bell Rock Capital, LLC                                                       147   Cabot Wealth Management, Inc.
107   Bellevue Asset Management AG                                                 148   Caisse de dépôt et placement du Québec
108   Belpointe Asset Management LLC                                               149   Calamos Asset Management Inc.
109   Benjamin Edwards, Inc, Asset Management Arm                                  150   California Public Employees' Retirement System
110   Bergankdv Wealth Management, LLC                                             151   Calton & Associates, Inc., Asset Management Arm
111   Berkshire Capital Holdings Inc.                                              152   Cambridge Investment Research Advisors, Inc.
112   Bienville Capital Management LLC                                             153   Canada Pension Plan Investment Board
113   Bingham, Osborn & Scarborough, LLC                                           154   Canadian Imperial Bank of Commerce, Asset Management Arm
114   Biondo Investment Advisors LLC                                               155   Candriam Luxembourg S.A.
115   Birinyi Associates, Inc., Asset Management Arm                               156   Capfi Delen Asset Management NV
116   BKS Advisors, LLC                                                            157   CapFinancial Partners, LLC, Asset Management Arm
117   Blackhawk Capital Partners LLC                                               158   Capital Advisors, Ltd. LLC
118   BlackRock, Inc. (NYSE:BLK)                                                   159   Capital Analysts, Inc.
119   Blankinship & Foster, LLC                                                    160   Capital Group International Inc.
120   Blue Chip Wealth Management, Inc., Asset Management Arm                      161   Capital Markets Trading UK LLP, Asset Management Arm
121   Bluefin Trading, Llc, Asset Management Arm                                   162   Capital Research and Management Company
122   BlueMountain Capital Management LLC                                          163   Caprock Group, Inc.
123   Blume Capital Management                                                     164   Carnegie Investment Counsel


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                                                                             Exhibit V
                                   Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                           Institution                           No                                          Institution
165   Carroll Financial Associates, Asset Management Arm                           206   CLS Investments, LLC
166   Carson Wealth Management Group                                               207   CM-CIC Asset Management Société anonyme
167   Caspar Towarzystwo Funduszy Inwestycyjnych S.A.                              208   CMT Capital Markets Trading GMBH
168   CastleArk Management LLC                                                     209   CNH Partners, LLC
169   Catamount Management Group, LLC                                              210   Cobalt Capital Management, Inc.
170   Catawba Capital Management, Inc.                                             211   Coldstream Capital Management, Inc.
171   Cathay Securities Investment Trust Co Ltd.                                   212   Columbia Management Investment Advisers, LLC
172   Caxton Associates LP                                                         213   Comerica Bank, Banking Investments
173   CCM Partners, L.P.                                                           214   Commerce Investment Advisors, Inc.
174   Cedar Capital, LLC                                                           215   Commerzbank AG, Asset Management Arm
175   Cedar Wealth Management, LLC                                                 216   Connable Associates Inc.
176   Centaurus Financial, Inc., Asset Management Arm                              217   Connor, Clark & Lunn Investment Management Ltd.
177   Centerpoint Advisors, LLC                                                    218   Constance Associés S.A.S
178   CenterStar Asset Management, LLC                                             219   Consulting Group Advisory Services LLC
179   Centiva Capital, LP                                                          220   Continental Advisors, LLC
180   Central Trust Company                                                        221   Cornerstone Advisors, Inc.
181   Ceredex Value Advisors LLC                                                   222   Cornerstone Wealth Management, LLC
182   Cerity Partners LLC                                                          223   Covington Capital Management
183   Cetera Financial Holdings, Inc., Asset Management Arm                        224   Coyle Financial Counsel, Inc., Asset Management Arm
184   Cetera Investment Advisers LLC                                               225   CPWM, LLC
185   Charles Schwab Investment Management, Inc.                                   226   Cramer Rosenthal McGlynn, LLC
186   Checchi Capital Advisers, LLC                                                227   Creative Financial Designs Inc, Asset Management Arm
187   Chessman Wealth Strategies Inc.                                              228   Creative Planning, Inc.
188   Chicago Partners Investment Group LLC                                        229   Credit Suisse Asset Management (Switzerland)
189   China Merchants Fund Management Co.,Ltd.                                     230   Credit Suisse Hedging-Griffo
190   CIBC Asset Management Inc.                                                   231   Credit Suisse, Investment Banking and Securities Investments
191   CIBC Private Wealth Advisors, Inc.                                           232   Crewe Advisors Llc
192   CIBC World Markets Corp., Brokerage and Security Investments                 233   Cribstone Capital Management, LLC
193   Cidel Asset Management Inc.                                                  234   CrossLink Capital, Inc.
194   CIGNA Investments, Inc.                                                      235   Crossmark Global Investments, Inc.
195   Citadel Advisors LLC                                                         236   Csenge Advisory Group, Llc, Asset Management Arm
196   Citigroup Inc.,Banking and Securities Investments                            237   CSS LLC/IL, Asset Management Arm
197   City National Rochdale, LLC                                                  238   CTC LLC
198   CKW Financial Group, LLC, Asset Management Arm                               239   Cutler Group LP, Asset Management Arm
199   Clarius Group, Llc                                                           240   CWM Advisors, LLC
200   Clarus Wealth Advisors, LLC                                                  241   Cypress Capital Management, LLC
201   Clear Perspective Advisors, LLC                                              242   Cypress Wealth Services, Llc, Asset Management Arm
202   ClearArc Capital, Inc.                                                       243   D. E. Shaw & Co., L.P.
203   ClearBridge Investments, LLC                                                 244   D.L. Carlson Investment Group, Inc.
204   ClearBridge, LLC                                                             245   Dacheng Fund Management Company Limited
205   Clearstead Advisors, LLC                                                     246   Daiwa Asset Management Co. Ltd.


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                                                                             Exhibit V
                                   Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                           Institution                           No                                          Institution
247   Daiwa SB Investments Ltd.                                                    288   Envestnet Asset Management, Inc.
248   Danske Bank A/S, Asset Management Arm                                        289   EP Wealth Advisors, Inc.
249   Danske Capital AS                                                            290   Equitable Trust Company, Asset Management Arm
250   Davenport Asset Management                                                   291   Equitec Group, LLC, Asset Management Arm
251   Davidson Investment Advisors, Inc.                                           292   Ersel Asset Management SGR S.p.A.
252   Degroof Petercam Asset Management                                            293   Erste-Sparinvest KAG
253   Deka Investment GmbH                                                         294   Esfera Capital Gestión SGIIC, SA
254   Delta Asset Management, LLC                                                  295   Essex Financial Services, Inc.
255   Deniz Portfoy Yonetimi A.S.                                                  296   ETF Managers Group LLC
256   Desjardins Global Asset Management Inc.                                      297   ETFS Management (AUS) Limited
257   Destination Wealth Management                                                298   EULAV Asset Management, LLC
258   Deutsche Asset & Wealth Management                                           299   Evanson Asset Management, LLC
259   Deutsche Bank, Private Banking and Investment Banking Investments            300   Evercore Wealth Management, LLC
260   Deutsche International Corporate Services (Ireland) Limited                  301   Everett Harris & Co.
261   Diametric Capital, LP                                                        302   Evergreen Capital Management, LLC
262   Dimensional Fund Advisors L.P.                                               303   Evolve Funds Group Inc.
263   Divergent Wealth Advisors, LLC                                               304   Exchange Traded Concepts, LLC
264   DJE Kapital AG                                                               305   Family Capital Trust Company
265   DNB Asset Management AS                                                      306   FCG Advisors, LLC, Asset Management Arm
266   Domini Impact Investments LLC                                                307   Ferris Capital, LLC
267   D'orazio & Associates, Inc.                                                  308   Fidelity SelectCo, LLC
268   Dubuque Bank & Trust, Asset Management Arm                                   309   Fiduciary Trust Company
269   Dumont & Blake Investment Advisors, LLC                                      310   Fiduciary Trust Company International
270   Duncker, Streett & Co., LLC                                                  311   Fiduciary Trust International, LLC
271   DWS Investment S.A.                                                          312   Fieldpoint Private Advisors, Inc.
272   Dynamic Advisors Solutions LLC                                               313   Fiera Capital Corporation (TSX:FSZ)
273   DZ Bank AG, Asset Management Arm                                             314   FIL Limited
274   E Fund Management Co., Ltd.                                                  315   Filament, LLC
275   E*TRADE Asset Management, Inc.                                               316   Financial Advocates Investment Management, LLC
276   E. Öhman J:or Fonder AB                                                      317   Financial Architects, Inc.
277   EARNEST Partners, LLC                                                        318   Financial Counselors, Inc.
278   Eaton Vance Management                                                       319   Financial Engines Advisors L.L.C.
279   Edge Wealth Management, LLC                                                  320   Financial Gravity Companies, Inc.
280   Edmond de Rothschild Asset Management SAS                                    321   Financial Gravity Wealth, Inc.
281   EFG Asset Management (Americas) Corp                                         322   Financial Management Professionals, Inc., Asset Management Arm
282   EFG Asset Management (UK) Limited                                            323   Financière Mermod S.A
283   Elite Wealth Management, Inc.                                                324   FineMark National Bank & Trust, Asset Management Arm
284   Ellington Management Group, L.L.C.                                           325   Finex Investment Management Llp
285   Ellipsis Asset Management                                                    326   First Allied Advisory Services, Inc.
286   Elmwood Wealth Management, Inc.                                              327   First Command Advisory Services, Inc.
287   Enterprise Bank & Trust., Asset Management Arm                               328   First Financial Bank, Asset Management Arm


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                                                                            Exhibit V
                                  Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                             Institution                        No                                          Institution
329   First Hawaiian Bank, Asset Management Arm                                   370   Gilder Gagnon Howe & Co. LLC
330   First Interstate Bank, Asset Management Arm                                 371   Girard Partners Ltd., Asset Management Arm
331   First Manhattan Co.                                                         372   Glassman Wealth Services, LLC
332   First Mercantile Trust Company, Asset Management Arm                        373   GLG LLC
333   First Personal Financial Services Inc.                                      374   GLG Partners, Inc.
334   First Republic Investment Management, Inc.                                  375   Global Atlantic Investment Advisors, LLC
335   First Sentier Investors (Australia) IM Ltd                                  376   Global Financial Private Capital, LLC
336   First State Investment Management (UK) Limited                              377   Global Retirement Partners Llc, Asset Management Arm
337   First Trust Advisors L.P.                                                   378   Global X Management Company LLC
338   Fisher Investments                                                          379   Globevest Capital Ltd.
339   Flagship Harbor Advisors, LLC                                               380   GO ETF Solutions LLP
340   Fleming Family & Partners Ltd.                                              381   Gofen and Glossberg, L.L.C.
341   Florida State Board of Administration                                       382   Goldman Sachs Asset Management, L.P.
342   Flow Traders US LLC, Asset Management Arm                                   383   Goldman Sachs Group, Investment Banking and Securities Investments
343   FMR Co., Inc.                                                               384   Gradient Investments, LLC
344   FMR LLC                                                                     385   Grantham Mayo Van Otterloo & Co. LLC
345   Focused Wealth Management, Inc.                                             386   Great-West Capital Management, LLC
346   Fonds de Réserve pour les Retraites                                         387   Green Century Capital Management, Inc.
347   Fort Point Capital Partners LLC                                             388   Grimes & Company, Inc.
348   Fort Washington Investment Advisors, Inc.                                   389   Group One Trading LP, Asset Management Arm
349   Fortis Advisors, LLC                                                        390   Gryphon Financial Partners, LLC, Asset Management Arm
350   Founders Fund, Inc.                                                         391   GuideStone Capital Management
351   Fox Run Management LLC                                                      392   Gulf International Bank (UK) Limited
352   FP Financial Services, Inc                                                  393   Guotai Asset Management Co., Ltd.
353   Franklin Resources, Inc. (NYSE:BEN)                                         394   GV Financial Advisors
354   Franzen Gerber & Westphalen Asset Management GmbH                           395   GVO Asset Management Ltd
355   Fred Alger Management, LLC                                                  396   GW & Wade, LLC
356   Front Row Advisors LLC                                                      397   GWL Investment Management Ltd.
357   Frontier Investment Management Co                                           398   GWM Asset Management (Malta) Limited
358   FSC Securities Corporation, Asset Management Arm                            399   H. M. Payson & Co.
359   Fukoku Mutual Life Insurance Co., Asset Management Arm                      400   Handelsbanken Asset Management
360   Fusion Family Wealth LLC                                                    401   Hanson & Doremus Investment Management, Inc.
361   Gamble Jones Investment Counsel                                             402   HarbourVest Partners, LLC
362   Garde Capital, Inc.                                                         403   Harel Mutual Funds Ltd.
363   Gateway Investment Advisers, LLC                                            404   Harfst And Associates, Inc.
364   Gemmer Asset Management LLC                                                 405   Harrington Investments, Incorporated
365   Genovese Burford & Brothers                                                 406   Harvest Fund Management Co. Ltd.
366   Gentrust Wealth Management, LLC                                             407   HBK Investments L.P.
367   Geode Capital Management, LLC                                               408   HBK Sorce Advisory LLC
368   Gerber Kawasaki, Inc.                                                       409   HCR Wealth Advisors
369   GF Fund Management Co., Ltd.                                                410   Heptagon Capital LLP


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                                                                           Exhibit V
                                 Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                             Institution                       No                                           Institution
411   Heritage Wealth Advisors, LLC                                              452   Intellectus Partners, LLC
412   Hermitage Gestion Privée                                                   453   Inverness Counsel Inc.
413   HHR Asset Management, LLC                                                  454   Invesco Capital Management LLC
414   Highbridge Capital Management, LLC                                         455   Invesco Ltd. (NYSE:IVZ)
415   Highfields Capital Management, LP                                          456   Investacorp Advisory Services Inc.
416   Highland Capital Management Corp.                                          457   Investeringsforeningen SEBinvest
417   Highland Capital Management LLC, Asset Management Arm                      458   Investidor Profissional Gestão de Recursos Ltda
418   Highmark Capital Management, Inc.                                          459   Ipg Investment Advisors LLC
419   Highpoint Advisor Group LLC                                                460   Irish Life Investment Managers Limited
420   HighTower Advisors, LLC                                                    461   Ironwood Financial, LLC, Asset Management Arm
421   Hilliard Lyons Capital Management, LLC                                     462   Is Asset Management
422   Hitachi Investment Management, Ltd.                                        463   Itau Unibanco S.A., Asset Management Arm
423   Holderness Investments Company                                             464   J. Goldman & Co., L.P.
424   Hollencrest Securities, LLC, Asset Management Arm                          465   J. P. Morgan Securities Plc - Own Capital
425   Homrich & Berg, Inc.                                                       466   J. Safra Asset Management Corporation
426   Honkamp Krueger Financial Services, Inc                                    467   J.P. Morgan Asset Management, Inc.
427   Horan Securities, Inc., Asset Management Arm                               468   Jackson, Grant Investment Advisers, Inc.
428   Horizon Kinetics LLC                                                       469   Jacobi Capital Management, LLC
429   Horseman Capital Management Limited                                        470   Jacobson & Schmitt Advisors, LLC
430   Howe and Rusling, Inc.                                                     471   Jaffetilchin Investment Partners, LLC
431   Hoylecohen, Llc                                                            472   Jane Street Group, LLC, Asset Management Arm
432   HRT Financial LLC, Asset Management Arm                                    473   Janney Montgomery Scott LLC, Asset Management Arm
433   HSBC Global Asset Management (UK) Limited                                  474   Janus Henderson Group plc (NYSE:JHG)
434   Hua An Fund Management Co., Ltd.                                           475   Jasper Ridge Partners, L.P.
435   Hudock Capital Group, Llc                                                  476   JBF Capital, Inc.
436   Hudson Bay Capital Management LP                                           477   JD Capital Management LLC
437   Hudson Canyon Investment Counselors, LLC                                   478   Jefferies Group LLC, Asset Management Arm
438   Hutchinson Lilley Investments LLP                                          479   Jennison Associates LLC
439   IBK Asset Management Co.,Ltd.                                              480   JFS Wealth Advisors, LLC
440   IBM Retirement Fund                                                        481   JJJ Advisors Inc.
441   Icon Wealth Partners, Llc                                                  482   Jnba Financial Advisors, Asset Management Arm
442   ID-Sparinvest, Filial af Sparinvest S.A., Luxembourg                       483   Joel R. Mogy Investment Counsel Inc.
443   IFM Investors Pty Ltd                                                      484   Johnson Financial Group, Inc., Asset Management Arm
444   IMS Capital Management, Inc.                                               485   Johnson Investment Counsel, Inc.
445   Independent Advisor Alliance, LLC                                          486   JPMorgan Chase & Co, Private Banking and Investment Banking Investments
446   Independent Financial Partners                                             487   Julius Baer Gestión, SGIIC, S.A.U.
447   ING Groep NV, Insurance and Banking Investments                            488   Jump Trading, LLC, Asset Management Arm
448   Ingalls & Snyder LLC                                                       489   Jupiter Asset Management Limited
449   Innovator Management LLC                                                   490   JW Asset Management, LLC
450   Institutional And Family Asset Management, LLC                             491   K2 & Associates Investment Management Inc.
451   Integrated Wealth Concepts LLC                                             492   Kabin Investment House Ltd.


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                                                                            Exhibit V
                                  Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                           Institution                          No                                          Institution
493   Kathrein Capital Management AG                                              534   Liontrust Investment Partners LLP
494   Kavar Capital Partners, LLC                                                 535   Livforsakringsaktiebolaget Skandia AB, Asset Management Arm
495   KBC Asset Management NV                                                     536   LLB Asset Management AG
496   KBC Fund Management Limited                                                 537   LLB Invest Kapitalanlagegesellschaft m.b.H.
497   KCM Investment Advisors, LLC                                                538   LocalTapiola Asset Management Ltd
498   Keen Wealth Advisors, LLC                                                   539   Lockwood Advisors, Inc.
499   Kemnay Advisory Services Inc                                                540   Lombard Odier Asset Management (Europe) Limited
500   Kettle Hill Capital Management, LLC                                         541   Lombard Odier Asset Management (Switzerland) SA
501   Keybank National Association, Asset Management Arm                          542   Lombard Odier Darier Hentsch & Cie Asset Management
502   Keystone Financial Group, LLC                                               543   Lombard Odier Gestión (España) S.G.I.I.C., SAU
503   KGI Securities Investment Trust Co. Ltd.                                    544   Lombard Odier Transatlantic
504   Kiley Juergens Wealth Management, Llc                                       545   Loring, Wolcott & Coolidge Fiduciary Advisors, LLP
505   Kistler-Tiffany Advisors, LLC                                               546   Los Angeles Capital
506   KLP Kapitalforvaltning AS                                                   547   Lourd Capital, LLC
507   Kms Financial Services, Inc, Asset Management Arm                           548   Lowe Wealth Advisors, LLC
508   Korea Investment Corporation                                                549   LPL Financial Corporation, Asset Management Arm
509   Koshinski Asset Management, Inc.                                            550   LS Investment Advisors, LLC
510   Kovack Advisors, Inc., Asset Management Arm                                 551   Lyxor International Asset Management S.A.
511   Krane Funds Advisors, LLC                                                   552   M&G Investment Management Limited
512   Krasney Financial, LLC                                                      553   M&M Capital Markets, EAFI, S.L.
513   Krilogy Financial LLC                                                       554   M&T Bank Corp, Asset Management Arm
514   Kutxabank Gestion, SGIIC , S.A.                                             555   Mackenzie Financial Corporation
515   Kynikos Associates LP                                                       556   Macquarie Capital Investment Management LLC
516   L & S Advisors, Inc.                                                        557   Macquarie Investment Management Business Trust
517   LA Banque Postale Asset Management                                          558   Macquarie Investment Management Limited
518   Ladenburg Thalmann Asset Management Inc.                                    559   MAI Capital Management, LLC
519   Lagoda Investment Management, L.P.                                          560   Main Street Research LLC
520   Landaas & Company, Asset Management Arm                                     561   Mainfirst Affiliated Fund Managers (Switzerland) Ag
521   Lansforsakringar Fondforvaltning AB                                         562   Malaga Cove Capital, LLC
522   Laurel Wealth Advisors, Inc.                                                563   Managed Account Advisors LLC
523   Ledyard Financial Advisors                                                  564   Manchester Capital Management, LLC
524   Lee Financial Corporation                                                   565   Manulife Asset Management
525   Legacy Advisors, LLC                                                        566   Maplelane Capital, LLC
526   Legacy Financial Advisors, Inc.                                             567   Marathon Asset Management, LLP
527   Legal & General Investment Management Limited                               568   Marathon Trading Investment Management LLC
528   Lenox Wealth Advisors, Inc.                                                 569   Marcus Capital, Llc
529   Lenox Wealth Management, Inc., Asset Management Arm                         570   Mariner, LLC
530   Level Four Advisory Services, LLC, Asset Management Arm                     571   Marino, Stram And Associates, LLC
531   Lido Advisors, LLC                                                          572   Mark Asset Management Corporation
532   Lincoln Investment Advisors Corporation                                     573   Mark Sheptoff Financial Planning, LLC
533   Linscomb & Williams Inc.                                                    574   Marshall Wace North America LP


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                                                                              Exhibit V
                                    Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                            Institution                           No                                           Institution
575   Marsico Capital Management, LLC                                               616   MV Capital Management Inc
576   Mascoma Wealth Management                                                     617   Nadler Financial Group, Inc.
577   Mason Street Advisors, LLC                                                    618   National Asset Management, Inc.
578   Maytech Global Investments, LLC                                               619   National Pension Service
579   MBI Administradora General de Fondos S.A.                                     620   Nations Financial Group, Inc., Asset Management Arm
580   McAdam LLC, Asset Management Arm                                              621   Natixis Investment Managers International
581   Mcilrath & ECK, LLC                                                           622   Natixis, Investment Banking and Corporate Banking Investments
582   Measured Wealth Private Client Group,LLC                                      623   Nelson Roberts Investment Advisors, LLC
583   Mediolanum Asset Management Limited                                           624   Nelson, Van Denburg & Campbell Wealth Management Group, LLC, Asset Management Arm
584   Meiji Yasuda Life Insurance Co., Asset Management Arm                         625   Neuberger Berman BD LLC
585   Mellon Investments Corporation                                                626   New Capital Management LP
586   Menlo Advisors LLC                                                            627   New England Private Wealth Advisors, LLC
587   Mercer Capital Advisers, Inc.                                                 628   New Jersey Division of Investment
588   Merit Financial Advisors Llc                                                  629   New York State Common Retirement Fund
589   Merrill Lynch & Co. Inc., Banking Investments                                 630   NewSquare Capital, LLC
590   Merriman, LLC                                                                 631   Nikko Asset Management Co., Ltd.
591   MetLife Investment Management, LLC                                            632   NISA Investment Advisors, L.L.C.
592   Migdal Mutual Funds Ltd.                                                      633   Nissay Asset Management Corporation
593   Millennium Management LLC                                                     634   NN Investment Partners International Holdings B.V.
594   MinichMacGregor Wealth Management, LLC                                        635   Noesis Capital Management Corp.
595   Miracle Mile Advisors, LLC                                                    636   Nomura Asset Management Co., Ltd.
596   Mirador Capital Partners LP                                                   637   Nomura Holdings Inc, Securities & Investment Arm
597   Mirae Asset Global Investments Co., Ltd                                       638   Nordea Investment Management AB
598   Mission Wealth Management, LLC                                                639   Norges Bank Investment Management
599   Mitsubishi UFJ Kokusai Asset Management Co., Ltd.                             640   North Country Investment Advisers, Inc.
600   Mitsubishi UFJ Securities Holdings Co., Ltd,Securities and brokerage Arm      641   North Star Asset Management, Inc.
601   Mitsubishi UFJ Securities International PLC,Securities and Brokerage Arm      642   North Star Investment Management Corporation
602   Mml Investors Services, Llc, Brokerage Investments                            643   Northeast Investment Management, Inc.
603   Mn Services Vermogensbeheer B.V.                                              644   Northern Trust Global Investments
604   Moneta Group Investment Advisors, LLC                                         645   Northstar Capital Management Llc
605   Monetary Management Group, Inc.                                               646   Northstar Wealth Partners LLC
606   Moors & Cabot, Inc., Asset Management Arm                                     647   Northwest Asset Management LLC
607   Morgan Stanley AIP GP LP                                                      648   Northwest Financial Corp, Asset Management Arm
608   Morgan Stanley Investment Management Inc.                                     649   Northwestern Mutual Wealth Management Company
609   Morgan Stanley, Investment Banking and Brokerage Investments                  650   Nuveen Investments, Inc.
610   Morgens, Waterfall, Vintiadis & Company, Inc.                                 651   Nykredit Asset Management A/S
611   Mosaic Family Wealth, LLC                                                     652   Nykredit Portefølje Administration A/S
612   Motilal Oswal Asset Management Company Limited                                653   Oak Grove Capital, LLC
613   Motley Fool Asset Management, LLC                                             654   Oakworth Capital, Inc., Asset Management Arm
614   Mount Yale Investment Advisors, LLC                                           655   OAM Köln GmbH
615   Mountain Pacific Investment Advisers, Inc.                                    656   Oarsman Capital, Inc.


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                                                                             Exhibit V
                                   Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                           Institution                                       No                                            Institution
657   O'dell Group, Llc                                                                        698   Personal Capital Advisors Corp
658   OFI Advisors, LLC                                                                        699   Pflug Koory, LLC
659   Ofi Asset Management                                                                     700   PFTC Trading, LLC ,Asset Management Arm
660   Ohio National Investments, Inc.                                                          701   PGIM, Inc.
661   Ohio Public Employees Retirement System                                                  702   PHARUS Management SA
662   Old Mutual Customised Solutions (Pty) Limited                                            703   Pictet & Cie (Europe) S.A., Asset Management Arm
663   Omnia Family Wealth, LLC                                                                 704   Pictet Asset Management Limited
664   One Wealth Advisors, Llc                                                                 705   Piedmont Investment Advisors, Inc.
665   OP Varainhoito Oy                                                                        706   Pin Oak Investment Advisors, Inc.
666   Opera Trading Capital SA                                                                 707   Pinkerton Retirement Specialists, LLC
667   Operadora Actinver, Sociedad Anónima de Capital Variable, Sociedad Operadora de Fondos   708   Pinnacle Associates Ltd
668   Opes Advisors, Inc., Asset Management Arm                                                709   Pinnacle Family Advisors, LLC
669   Oppenheimer Asset Management Inc.                                                        710   Pittenger & Anderson, Inc.
670   Optimum Growth Advisors, LLC                                                             711   PKO Towarzystwo Funduszy Inwestycyjnych SA
671   Optimum Investment Advisors, LLC                                                         712   Plain Capital Asset Management
672   P+, Pensionskassen for Akademikere                                                       713   Plante & Moran Financial Advisors
673   Pacer Advisors Inc                                                                       714   PNC Financial Services Group Inc., Banking Investments
674   Pacific Life Fund Advisors LLC                                                           715   Point72 Asset Management, L.P.
675   Paloma Partners Management Co                                                            716   PointState Capital LP
676   PanAgora Asset Management, Inc.                                                          717   Polar Capital Holdings plc (AIM:POLR)
677   Paradigm Asset Management Co., LLC                                                       718   Polaris Wealth Advisers, Llc, Asset Management Arm
678   Parallax Volatility Advisers, L.P.                                                       719   Popular Gestion Privada SGIIC S.A.
679   Parallel Advisors LLC                                                                    720   Portfolio Strategies, Inc.
680   Parametric Portfolio Associates LLC                                                      721   Prentiss Smith & Company, Inc.
681   Parisi Gray Wealth Management, Llc                                                       722   Price Wealth, LLC
682   Park West Asset Management LLC                                                           723   Prime Capital Investment Advisors, LLC
683   Parkside Financial Bank & Trust, Asset Management Arm                                    724   PRIMECAP Management Company
684   Parsons Capital Management, Inc.                                                         725   Principal Global Investors, LLC
685   Pathstone Federal Street                                                                 726   Prio Wealth Limited Partnership
686   Pathway Financial Advisors, Llc                                                          727   Private Advisor Group, LLC
687   Patriot Financial Group                                                                  728   Private Capital Advisors, Inc.
688   Patten Group, Inc.                                                                       729   Private Capital Group, LLC
689   Peak Capital Management, LLC                                                             730   Private Ocean, LLC
690   PEAK6 Investments, L.P.                                                                  731   ProEquities, Inc., Asset Management Arm
691   Peddock Capital Advisors, Llc                                                            732   Proffitt & Goodson, Inc.
692   Penserra Capital Management, LLC                                                         733   Proficio Capital Partners LLC
693   People's United Financial Inc., Wealth Management and Trust Division                     734   ProFund Advisors LLC
694   Peregrine Asset Advisers, Inc.                                                           735   ProShare Advisors LLC
695   Perennial Advisors, LLC                                                                  736   Prospera Financial Services, Asset Management Arm
696   Perigon Wealth Management, LLC, Asset Management Arm                                     737   Prudential Financial Securities Investment Trust Enterprise Co., Ltd.
697   Periscope Capital Inc                                                                    738   Prudential Investment Management Japan Company Limited


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                                                                             Exhibit V
                                   Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                          Institution                            No                                             Institution
739   Public Employees Retirement Association of Colorado                          780   Richard Bernstein Advisors LLC
740   Public Sector Pension Investment Board                                       781   River Wealth Advisors Llc
741   Pure Asset Management                                                        782   RMB Capital Management, LLC
742   Pyramid Trading Limited Partnership, Asset Management Arm                    783   Robert W. Baird & Co. Incorporated, Asset Management Arm
743   Pzena Investment Management, Inc (NYSE:PZN)                                  784   Roble Belko
744   QCI Asset Management Inc.                                                    785   Rockefeller & Co. LLC
745   QCM Cayman, Ltd.                                                             786   Rocky Mountain Advisers, Llc
746   QS Investors LLC                                                             787   Ropes Wealth Advisors, LLC
747   Quad Capital Management Advisors LLC                                         788   Rosenblum Silverman Sutton Investment Counsel
748   Quad Cities Investment Group, LLC                                            789   Royal Alliance Associates, Inc., Securities Investments
749   Quadrant Partners                                                            790   Royal Bank of Canada Trust Company (Bahamas) Limited, Asset Management Arm
750   Quaestio Capital Management SGR S.p.A Unipersonale                           791   Royal Bank of Canada, Banking & Securities Investments
751   Quantitative Investment Management, LLC                                      792   Royal Fund Management, LLC
752   Qube Research And Technologies Ltd                                           793   Royal London Asset Management Limited
753   Quinn Opportunity Partners LLC                                               794   RPG Family Wealth Advisory, LLC
754   R.H. Bluestein & Company                                                     795   Rpg Investment Advisory, LLC
755   Raab & Moskowitz Asset Management LLC                                        796   Ruggie Wealth Management
756   Rafferty Asset Management, LLC                                               797   Russell Investment Management, LLC
757   Rainier Group Investment Advisory, LLC                                       798   SagePoint Financial Advisors, Inc., Securities Investments
758   Rasmala Investment Bank Ltd., Asset Management Arm                           799   Salzman Capital Management LLC
759   Rathbone Investment Management Limited                                       800   San Francisco Sentry Investment Group
760   Raymond James Financial Inc., Asset Management Arm                           801   Sandy Spring Bank, Asset Management Arm
761   Raymond James Financial Services Advisors, Inc.                              802   Sanlam Investment Management (Pty) Ltd.
762   RBC Dominion Securities Inc., Asset Management Arm                           803   Santander Asset Management, S.A., S.G.I.I.C.
763   RBC Private Counsel (USA) Inc.                                               804   SAVA INFOND, druzba za upravljanje, d.o.o.
764   RE Advisers Corporation                                                      805   Sawtooth Solutions, LLC
765   Red Cedar Capital, Llc                                                       806   Schroder Investment Management Limited
766   Redpoint Investment Management Pty Ltd                                       807   Scotiabank Global Banking and Markets, Asset Management Division
767   Regal Wealth Group Inc.                                                      808   Sculptor Capital Management, Inc. (NYSE:SCU)
768   Regent Investment Management LLC                                             809   SeaBridge Investment Advisors, LLC
769   RegentAtlantic Capital, LLC                                                  810   SeaCrest Wealth Management, LLC
770   Regions Investment Management, Inc.                                          811   SEB Investment Management AB
771   Regis Management Company, LLC                                                812   Securities America Advisors, Inc.
772   Reilly Financial Advisors                                                    813   Security Investors, LLC
773   Renaissance Technologies Corp.                                               814   Security Kapitalanlage AG
774   Renta 4 Gestora SGIIC S.A.                                                   815   Security National Trust Company
775   Resona Asset Management Co., Ltd.                                            816   Segall Bryant & Hamill, LLC
776   Resources Investment Advisors, Inc.                                          817   SEI Investments Company (NasdaqGS:SEIC)
777   Reynders, McVeigh Capital Management, LLC                                    818   Seminole Management Co., Inc.
778   Reynolds Capital Management                                                  819   Sequoia Financial Advisors, LLC
779   Rhumbline Advisers Ltd Partnership                                           820   Seven Eight Capital, LLC


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                                                                              Exhibit V
                                    Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                            Institution                           No                                           Institution
821   SFMG Wealth Advisors                                                          862   Stearns Financial Services Group, Asset Management Arm
822   Sg3 Management, LLC                                                           863   Stelac Advisory Services LLC
823   Sharkey, Howes & Javer, Inc.                                                  864   Stephens Investment Management Group, LLC
824   Sheaff Brock Investment Advisors, LLC                                         865   Sterling Investment Advisors, Ltd.
825   Shell Asset Management Company B.V.                                           866   Stevens First Principles Investment Advisors
826   Siemens Fonds Invest GmbH                                                     867   Steward Partners Investment Advisory, Llc
827   Sigma Planning Corporation, Asset Management Arm                              868   Stichting Bedrijfstakpensioenfonds voor de Media PNO
828   Signature Wealth Management Group Llc                                         869   Stichting Pensioenfonds ABP
829   SignatureFD, LLC                                                              870   Stifel Asset Management Corp.
830   Silvercrest Asset Management Group LLC                                        871   Storebrand Asset Management AS
831   Simplex Trading, LLC, Asset Management Arm                                    872   Strategic Advisers, Inc
832   Skandia Fonder AB                                                             873   Strategic Wealth Advisors Group,Inc.
833   Slow Capital, Inc.                                                            874   Strategic Wealth Partners, Ltd.
834   SMBC Capital Markets, Inc., Asset Management Arm                              875   Stratos Wealth Partners Ltd
835   SMH Asset Management                                                          876   Sumitomo Mitsui DS Asset Management Company, Limited
836   Smith & Williamson Investment Management LLP                                  877   Sumitomo Mitsui Trust Asset Management Co., Ltd.
837   Smith, Moore & Co., Asset Management Arm                                      878   Summit Partners Public Asset Management LLC
838   Smithfield Trust Company, Asset Management Arm                                879   Summit Trail Advisors, LLC
839   Sns Financial Group, Llc, Asset Management Arm                                880   SunAmerica Asset Management, LLC
840   Societe Generale, Securities Investments                                      881   SunTrust Advisory Services, Inc.
841   Société Privée de Gestion de Patrimoine                                       882   SunTrust Banks Inc, Asset Management Arm
842   SoMa Equity Partners, L.P.                                                    883   Susquehanna Advisors Group, Inc.
843   Sonata Capital Group, Inc.                                                    884   Susquehanna International Group, LLP, Asset Management Arm
844   Sonora Investment Management, LLC                                             885   Susquehanna Investment Group
845   Sound Income Strategies, LLC                                                  886   Swedbank Robur Fonder AB
846   Southport Capital, Inc.                                                       887   Swiss National Bank, Asset Management Arm
847   Sp Asset Management                                                           888   Swisscanto Asset Management AG
848   Sparkasse Oberösterreich Kapitalanlagegesellschaft M.B.H.                     889   Sws Partners, LLC
849   Sparrow Capital Management, Inc.                                              890   Sygnia Asset Management (Pty) Ltd
850   Spectrum Management Group, Inc, Asset Management Arm                          891   Symmetry Peak Management, LLC
851   SPP Fonder AB                                                                 892   Synovus Securities, Asset Management Arm
852   Spyglass Capital Management LLC                                               893   Synovus Trust Company, National Association
853   Squar Milner Financial Services, LLC                                          894   Systematic Financial Management LP
854   SRS Capital Advisors, Inc.                                                    895   T&D Asset Management Co., Ltd.
855   SSN Advisory, Inc.                                                            896   T. Rowe Price Group, Inc. (NasdaqGS:TROW)
856   St. Johns Investment Management Company                                       897   Tamir Fishman Asset Management Ltd.
857   STA Wealth Management, LLC                                                    898   Tamir Fishman Mutual Funds Ltd.
858   Staley Capital Advisers, Inc.                                                 899   Tanaka Capital Management, Inc.
859   Standard Life Aberdeen plc (LSE:SLA)                                          900   Tarbox Group, Inc., Asset Management Arm
860   State Street Global Advisors, Inc.                                            901   Taylor Wealth Management Partners LLC
861   State Teachers Retirement System of Ohio                                      902   TCI Wealth Advisors, Inc., Asset Management Arm


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                                                                              Exhibit V
                                    Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
 No                                           Institution                                         No                                            Institution
903   TD Asset Management, Inc.                                                                  944   Trillium Asset Management LLC
904   TD Capital Management LLC                                                                  945   Trilogy Capital, Inc.
905   Teacher Retirement System of Texas                                                         946   True Private Wealth Advisors LLC, Asset Management Arm
906   Teachers Insurance and Annuity Association of America - College Retirement Equities Fund   947   TrueNorth, Inc.
907   Telemus Capital, LLC                                                                       948   Truewealth Management
908   Teza Capital Management, LLC                                                               949   Trustcore Financial Services, LLC
909   The Bank of Nova Scotia, Banking Investments                                               950   Trustmark Investment Advisors, Inc.
910   The Bryn Mawr Trust Company, Asset Management Arm                                          951   Truvestments Asset Management LLC
911   The Burney Company                                                                         952   Tudor Investment Corporation
912   The California State Teachers' Retirement System                                           953   Twin Tree Management, L.P.
913   The Capital Advisory Group Advisory Services, LLC                                          954   Two Sigma Investments, LP
914   The Dai-Ichi Life Insurance Company, Limited, Asset Management Arm                         955   Two Sigma Securities, LLC, Asset Management Arm
915   The Glenmede Trust Company, N.A.                                                           956   U.S. Bancorp Asset Management, Inc.
916   The Huntington Trust Company, National Association                                         957   UBS Asset Management
917   The Inland Real Estate Group of Companies, Inc.                                            958   UBS O'Connor LLC
918   The MassMutual Trust Company, F.S.B. , Trust Investments                                   959   Union Asset Management Holding AG
919   The Pacific Center For Financial Services                                                  960   Union Investment Management Group
920   The Rehmann Group, LLC, Asset Management Arm                                               961   United Capital Financial Advisers LLC
921   The State of Wisconsin Investment Board                                                    962   Urquijo Gestión, S.A., S.G.I.I.C., Sociedad Unipersonal
922   The TCW Group, Inc.                                                                        963   USAA Investment Management Company
923   The Trust Company                                                                          964   Utah Retirement Systems
924   The Trust Company of Vermont                                                               965   Valeo Financial Advisors, LLC
925   The Vanguard Group, Inc.                                                                   966   Valley National Advisers, Inc.
926   Third Swedish National Pension Fund                                                        967   Valor Management Corp.
927   Thomas J. Herzfeld Advisors, Inc.                                                          968   Van Eck Associates Corporation
928   Threshold Ventures                                                                         969   Van Hulzen Asset Management, LLC
929   Thrivent Investment Management, Inc.                                                       970   Vanguard Capital Wealth Advisors, LLC
930   Tiedemann Wealth Management, LLC                                                           971   Vantage Investment Advisors, LLC
931   TOBAM                                                                                      972   Vectors Research Management LLC
932   Tocqueville Asset Management LP                                                            973   Ventura Wealth Management
933   Tokio Marine Asset Management Co., Ltd.                                                    974   Veritable LP
934   Toronto-Dominion Bank, Banking Investments                                                 975   Victory Capital Management Inc.
935   Tortoise Capital Advisors L.L.C.                                                           976   Vident Investment Advisory, LLC
936   Tortoise Investment Management, LLC                                                        977   Vigilant Capital Management, LLC
937   Tower Research Capital LLC                                                                 978   Virtu Financial LLC, Asset Management Arm
938   Tower View Investment Management & Research Llc                                            979   Virtus Fund Advisers, LLC
939   Tradewinds Capital Management, LLC                                                         980   Vision2020 Wealth Management Corp.
940   Tramondo Wealth Management AG                                                              981   Visionary Asset Management, Inc.
941   Transamerica Asset Management, Inc.                                                        982   Voya Investment Management LLC
942   Traynor Capital Management, Inc.                                                           983   VVB Vermögensverwaltung Braunenberg GmbH
943   Triad Hybrid Solutions, LLC                                                                984   Wagner Wealth Management, LLC


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                                                                                  Exhibit V
                                        Institutions that Held Tesla, Inc. Common Stock in Either June 30, 2018 or September 30, 2018
  No                                          Institution                                                No                                           Institution
 985    Walleye Capital LLC                                                                            1013    Willingdon Wealth Management Inc.
 986    Warburg Invest AG                                                                              1014    Willow Creek Wealth Management Inc.
 987    Washington Trust Bank, Asset Management Arm                                                    1015    Wilmington Funds Management Corporation
 988    Washington Trust Wealth Management                                                             1016    Wilmington Trust Company, Banking & Trust Investments
 989    Water Street Capital, Inc.                                                                     1017    Wilmington Trust Investment Advisors, Inc.
 990    Watermark Asset Management, Inc.                                                               1018    Wilmington Trust Investment Management, LLC
 991    We Are One Seven, LLC                                                                          1019    Winch Financial, LLC, Asset Management Arm
 992    Wealth Architects, LLC                                                                         1020    Winslow, Evans & Crocker, Inc., Asset Management Arm
 993    Wealthcare Advisory Partners LLC                                                               1021    Winthrop Partners - WNY, LLC
 994    Wealthfront Corporation                                                                        1022    WMS Partners, LLC
 995    WealthTrust Axiom, LLC                                                                         1023    Wolverine Asset Management, LLC
 996    Wealthtrust Fairport, LLC                                                                      1024    Wolverine Trading LLC, Asset Management Arm
 997    WealthTrust-Arizona, LLC                                                                       1025    Woodbury Financial Services, Inc, Securities Investments
 998    Weatherly Asset Management, L.P.                                                               1026    World Asset Management
 999    Wedbush Asset Management, LLC                                                                  1027    Worm Capital, Llc
1000    Wellington Management Group LLP                                                                1028    WP Advisors, LLC
1001    Wells Capital Management Incorporated                                                          1029    XACT Fonder AB
1002    Wells Fargo & Company, Private Banking and Investment Banking Arm                              1030    Xact Kapitalförvaltning AB
1003    Wells Fargo & Company, Securities and Brokerage Investments                                    1031    Yapi Kredi Portföy Yönetimi A.S.
1004    Westside Investment Management, LLC                                                            1032    YorkBridge Wealth Partners, LLC
1005    Wetherby Asset Management                                                                      1033    Zeke Capital Advisors, LLC
1006    Whitener Capital Management, Inc.                                                              1034    Zevenbergen Capital Investments LLC
1007    Whitnell & Co, Asset Management Arm                                                            1035    Zions Capital Advisors, Inc.
1008    Whittier Trust Company                                                                         1036    ZKB Asset Management
1009    Wilbanks, Smith & Thomas Asset Management, LLC                                                 1037    Zurich Insurance Group AG, Asset Management Arm
1010    Wilcoxson Wealth Management                                                                    1038    Zweig-DiMenna Associates, Inc.
1011    William Blair Investment Management, LLC                                                       1039    ZWJ Investment Counsel Inc
1012    Williams, Jones & Associates, LLC

Note:
Institutions with positive holdings of Tesla, Inc. common stock for quarters before and after the Class Period (either 6/30/2018 or 9/30/2018).
Source:
S&P Capital IQ.




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                                                  Exhibit VI
        Positions of Large Institutions as of the End of Quarters before and after the Class Period

No.   Institution                                                                                            6/30/2018        9/30/2018
 1    Allianz Asset Management AG                                                                              779,535          831,914
 2    Baillie Gifford & Co.                                                                                 13,171,801       13,125,451
 3    Baron Capital Group, Inc.                                                                              1,662,723        1,662,469
 4    BlackRock, Inc. (NYSE:BLK)                                                                             6,459,236        6,322,440
 5    BMO Global Asset Management                                                                            3,309,433        3,286,244
 6    BNY Mellon Asset Management                                                                              935,778          593,224
 7    Capital Research and Management Company                                                                6,090,587        6,817,290
 8    FMR Co., Inc.                                                                                          1,243,950          954,370
 9    FMR LLC                                                                                                9,872,686        9,047,746
10    Geode Capital Management, LLC                                                                          1,040,281        1,051,690
11    Goldman Sachs Group, Investment Banking and Securities Investments                                       900,568        1,030,854
12    Invesco Capital Management LLC                                                                         1,436,683        1,470,675
13    Jennison Associates LLC                                                                                4,332,187        4,817,282
14    Morgan Stanley, Investment Banking and Brokerage Investments                                           1,026,064        1,200,208
15    Norges Bank Investment Management                                                                        725,509          814,193
16    Northern Trust Global Investments                                                                        851,044          851,565
17    PRIMECAP Management Company                                                                            1,095,115        1,106,015
18    State Street Global Advisors, Inc.                                                                     2,443,822        2,578,815
19    Susquehanna International Group, LLP, Asset Management Arm                                                 8,801          790,568
20    T. Rowe Price Group, Inc. (NasdaqGS:TROW)                                                             11,931,923       17,380,054
21    Teachers Insurance and Annuity Association of America - College Retirement Equities Fund                 769,135          509,925
22    The Vanguard Group, Inc.                                                                               6,977,408        7,036,426
      Positions of the 22 Institutions on Each Date                                                         77,064,269       83,279,418
      Shares Outstanding                                                                                   170,516,000      171,578,000
         22 Institutional Positions as a % of Shares Outstanding                                                  45%              49%
      Public Float                                                                                         135,195,118      135,994,577
         22 Institutional Positions as a % of Public Float                                                        57%              61%

      Number of Institutions with Positive Positions on Each Date                                                    949               887

Note:
To be included in this list, the institution positions ranked in the top 20 of all institutional positions as of either 6/30/2018 or
9/30/2018
Source:
S&P Capital IQ and SEC filings.
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                                                                                                  Exhibit VII
                                                                            Short Interest Levels of Tesla, Inc. Common Stock and
                                                                      Short Interest as a Percent of Shares Outstanding and Public Float
                               36                                                                                                                                                        30.0%



                               35
                                                                                                                                                                                         25.0%

                               35
Short Interest (in Millions)




                                                                                                                                                                                         20.0%
                               34




                                                                                                                                                                                                   Percent
                               34                                                                                                                                                        15.0%



                               33
                                                                                                                                                                                         10.0%

                               33

                                                                                                                                                                                         5.0%
                               32



                               32                                                                                                                                                        0.0%
                                                                   07/31/2018                                                                 08/15/2018


                                    Short Interest (in Millions)     Short Interest as a Percent of Shares Outstanding (Including Insiders)          Short Interest as a Percent of Public Float
                               Sources:
                               Bloomberg and SEC filings.
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                                                                     Exhibit VIII
                                                  Market Capitalization of Tesla, Inc. Common Stock
                 $70.0                                    August 7, 2018 - August 17, 2018



                 $60.0



                 $50.0



                 $40.0
(in $Billions)




                 $30.0



                 $20.0



                 $10.0



                  $0.0




                                                                   Market Capitalization
                 Sources:
                 Bloomberg and SEC filings.
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                                                  Exhibit IX
                                  Bid-Ask Spread in Tesla, Inc. Common Stock

                                                          Tesla Inc. Common Stock
                                                            Daily Bid-Ask Spread
                                                             8/7/2018 - 8/17/2017
                                                         $ Spread           % Spread

                                    Average               $0.07              0.02%

                                    Median                $0.07              0.02%

                    Benchmark from Academic Research:

                    Chuang and Zhang 2014:
                                    NYSE/AMEX Common Stocks               NASDAQ Common Stocks
                                   Monthly Data   Yearly Data            Monthly Data  Yearly Data
                                        2009 CRSP % Spread                  2009 CRSP % Spread

                        Average          1.03%            1.15%              2.55%           2.91%

                        Median           0.35%            0.40%              0.69%           0.92%

Bhole Surana Torchio 2020:
   Percentiles over Three-Year Periods for Average Bid-Ask Spreads for Companies Listed on the NYSE and Nasdaq Stock Exchanges
                          5th             10th           25th             50th            75th           90th           95th
2010-2012               0.03%            0.04%          0.07%            0.18%           0.93%          2.77%          4.24%
2013-2015               0.02%            0.02%          0.04%            0.12%           0.64%          2.09%          3.12%
2016-2018               0.02%            0.02%          0.04%            0.14%           0.75%          1.96%          2.70%

Notes:
See Appendix C for Tesla, Inc. daily statistics and methodology.
Statistics for 2009 CRSP spread for NYSE/AMEX and NASDAQ common stocks are obtained from Kee H. Chung and Hao Zhang, A Simple
Approximation of Intraday Spreads Using Daily Data, 17 J. Fin. Markets, 94, Table 2 (2014).
Statistics for 2010-2018 CRSP spread for NYSE and Nasdaq common stocks are obtained from Bharat Bhole, Sunita Surana, and Frank Torchio,
Benchmarking Market Efficiency Indicators for Securities Litigation , 2020 U. of Ill. Online L. Rev, 96, Table 3 (2020).
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                                              Exhibit X
                  Relationship Between Volume and Abnormal Returns

               Date Range             Coefficient          t-stat       Observations       R-Squared

120-Trading Day Prior to Class Period
        02/14/2018 - 08/06/2018       0.02                  7.30           120              31.13%

120-Trading Day Prior to Class Period and Class Period
        02/14/2018 - 08/17/2018        0.03                 8.38           129              35.61%


Notes:
Based on a regression of absolute value of daily abnormal returns on the natural log of trading volume.
See Appendix F for daily abnormal returns and volume.
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                                                                                            Exhibit XI
                                                                Volume and Turnover Summary for Option Series with Class Period Volume

                                                                       CALLS                                                                                               PUTS
                                                                       Volume Relative to Average Open Interest                                                           Volume Relative to Average Open Interest
                                                       Total of                                                                                         Total of
Class Period                                           Average                             Count     Count                                              Average                             Count     Count
Volume for Option            Total        Total         Open                              of Series of Series                     Total     Total         Open                             of Series of Series
Series                       Series      Volume        Interest Minimum Average Maximum <2%           <1%                         Series   Volume       Interest Minimum Average Maximum <2%           <1%
         1       99              526        14,603        61,993   0.14% 117.50% 1111.11%        49        22                         541    17,484        79,871   0.04% 111.19% 1111.11%        46        19
       100      499              278        68,244        88,153   2.36% 129.88% 789.93%          0         0                         382    92,789       157,524   1.98% 132.99% 875.00%          1         0
       500      999              100        72,997        41,694  13.81% 194.20% 772.03%          0         0                         127    87,777       114,293   2.55% 140.21% 846.69%          0         0
     1,000    2,499                86      138,196       101,673  10.08% 188.48% 1160.20%         0         0                         113 178,859         191,485   7.39% 186.29% 1108.10%         0         0
     2,500    4,999                64      216,348       129,307   8.23% 250.70% 1088.54%         0         0                           62 215,988        199,090  12.13% 191.87% 930.29%          0         0
     5,000    9,999                51      369,082       115,272  25.41% 468.09% 3017.81%         0         0                           41 287,911        194,913   7.44% 420.55% 2151.12%         0         0
   10,000    14,999                15      181,390        66,290  44.99% 367.86% 1320.47%         0         0                           17 204,510        171,935  16.40% 424.72% 1930.38%         0         0
   15,000    24,999                12      229,223        34,290 183.64% 756.56% 3437.37%         0         0                           11 215,628         52,263  58.99% 679.82% 2013.14%         0         0
   25,000    49,999                14      482,277        69,752 226.58% 822.25% 1822.30%         0         0                            9 297,424         97,517  36.62% 531.69% 1654.68%         0         0
      ALL                      1,146     1,772,360      708,424    0.14% 174.54% 3437.37%        49        22                       1,303 1,598,370     1,258,892   0.04% 152.36% 2151.12%        47        19


                                                                       CALLS                                                                                               PUTS
                                                                       Volume Relative to Maximum Open Interest                                                          Volume Relative to Maximum Open Interest
                                                       Total of                                                                                          Total of
Class Period                                          Maximum                              Count     Count                                              Maximum                              Count     Count
Volume for Option            Total        Total         Open                              of Series of Series                     Total     Total         Open                              of Series of Series
Series                       Series      Volume        Interest Minimum Average Maximum <2%           <1%                         Series   Volume        Interest Minimum Average Maximum <2%           <1%
         1       99              526        14,603        66,838   0.14%  48.63% 357.14%         50        24                         541    17,484         86,119   0.04%  50.29% 250.00%         46        20
       100      499              278        68,244       104,763   2.33%  70.71% 229.08%          0         0                         382    92,789        180,430   1.98%  72.65% 574.63%          1         0
       500      999              100        72,997        57,376  12.87% 101.87% 433.74%          0         0                         127    87,777        133,476   2.54%  80.39% 472.76%          0         0
     1,000    2,499                86      138,196       127,211   9.97% 115.04% 1107.31%         0         0                         113 178,859          230,430   7.31%  93.69% 576.87%          0         0
     2,500    4,999                64      216,348       159,816   8.15% 139.77% 630.93%          0         0                           62 215,988         231,676  11.50% 115.96% 508.71%          0         0
     5,000    9,999                51      369,082       155,162  23.94% 337.62% 2670.61%         0         0                           41 287,911         225,750   7.40% 278.44% 1896.80%         0         0
   10,000    14,999                15      181,390        80,118  42.80% 243.38% 915.80%          0         0                           17 204,510         187,682  16.00% 272.05% 1020.43%         0         0
   15,000    24,999                12      229,223        47,214 146.76% 490.04% 2032.05%         0         0                           11 215,628          70,521  51.77% 467.38% 1355.28%         0         0
   25,000    49,999                14      482,277        87,586 190.06% 637.77% 1571.40%         0         0                            9 297,424         118,022  31.07% 396.73% 1180.75%         0         0
      ALL                      1,146     1,772,360      886,084    0.14%  96.27% 2670.61%        50        24                       1,303 1,598,370     1,464,106    0.04%  82.70% 1896.80%        47        20

Notes:
Source: Appendix G.
There were 8 calls and 2 puts for which there was no start of day open interest during the Class Period (none with more than 10 contracts traded) and are not include in volume relative to open interest.
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                                            Exhibit XII
                  Bid-Ask Spread Summary for Option Series with Class Period Volume

                                         Calls                                              Puts
Class Period Volume     Total                                              Total
for Option Series       Series Minimum Average Maximum                     Series Minimum Average Maximum
         1         99       526   0.03%  0.79%    4.21%                        541   0.00%  0.65%    2.97%
       100        499       278   0.01%  0.42%    2.11%                        382   0.02%  0.36%    1.78%
       500        999       100   0.01%  0.39%    3.36%                        127   0.00%  0.30%    1.39%
     1,000     2,499         86   0.03%  0.32%    1.30%                        113   0.01%  0.27%    1.97%
     2,500     4,999         64   0.01%  0.28%    1.19%                         62   0.02%  0.24%    1.37%
     5,000     9,999         51   0.03%  0.27%    1.24%                         41   0.01%  0.17%    0.99%
    10,000    14,999         15   0.02%  0.16%    0.45%                         17   0.02%  0.24%    1.42%
    15,000    24,999         12   0.02%  0.18%    0.62%                         11   0.01%  0.10%    0.31%
    25,000    49,999         14   0.03%  0.18%    0.51%                          9   0.02%  0.11%    0.24%
      ALL                 1,146  0.01%   0.55%   4.21%                       1,303  0.00%   0.45%   2.97%

Notes:
Source: Appendix G. The percent bid-ask spread are calculated relative to Tesla's common stock price.
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                                            Exhibit XIII
                      Put-Call Summary for Option Series with Class Period Volume

                                 Calls                                          Puts
                                         %       Average                             %       Average
Expiration        Pairs Violations   Violations Violations      Pairs Violations Violations Violations
2018-08-10        133,287        8        0.01%      0.09%      126,950         8     0.01%      0.09%
2018-08-17        343,889        7        0.00%      0.10%      366,119         7     0.00%      0.10%
2018-08-24        291,918        2        0.00%      0.01%      319,511         2     0.00%      0.01%
2018-08-31        240,534       62        0.03%      0.02%      319,704        62     0.02%      0.02%
2018-09-07        252,332      335        0.13%      0.02%      313,465       333     0.11%      0.02%
2018-09-14        233,123      909        0.39%      0.02%      271,733       909     0.33%      0.02%
2018-09-21        254,868  18,037         7.08%      0.03%      240,441    18,037     7.50%      0.03%
2018-09-28        146,250  10,951         7.49%      0.03%       85,020     9,704    11.41%      0.03%
2018-10-19        253,402  52,890        20.87%      0.08%      293,475    53,225    18.14%      0.08%
2018-11-16        175,890  70,575        40.12%      0.17%      218,790    90,622    41.42%      0.16%
2018-12-21        188,761 102,268        54.18%      0.26%      245,507 139,015      56.62%      0.24%
2019-01-18        259,156 102,235        39.45%      0.26%      276,609 118,953      43.00%      0.24%
2019-02-15         98,086  46,287        47.19%      0.27%      121,096    69,705    57.56%      0.27%
2019-03-15        206,895  61,518        29.73%      0.25%      291,038 102,649      35.27%      0.24%
2019-06-21        224,242  71,154        31.73%      0.32%      269,482 132,916      49.32%      0.33%
2019-08-16        192,554  47,609        24.73%      0.25%      252,225 131,309      52.06%      0.27%
2020-01-17        269,057 118,112        43.90%      0.49%      297,133 159,790      53.78%      0.51%
   ALL          3,764,244 702,959       18.67%      0.27%     4,308,298 1,027,246   23.84%      0.28%

Source: Appendix G.
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                                           Exhibit XIV
    Cause-And-Effect Analysis of the Reaction of Options Prices to Information in the FT Article

                                                                    ALL     CALLS         PUTS
                Number of Options Traded                              671       337          334
                   Percent of Class Period Volume                 85.56%    88.16%       82.68%

                Percent of Options with Typical Price Movements   96.87%    99.11%       94.61%
     All             Percent of Class Period Volume               83.73%    88.10%       78.89%

                Average Pre-Event Price                                      $19.15       $13.14
                Average Post-Event Price                                     $25.33       $10.72
                Average Price Change Over Event                               $6.19       -$2.42

                Number of Options Traded                              161        91           70
                   Percent of Class Period Volume                 82.89%    78.56%       85.61%


  In-the-       Percent of Options with Typical Price Movements
                     Percent of Class Period Volume
                                                                  99.38%
                                                                  82.89%
                                                                            98.90%
                                                                            78.54%
                                                                                         100.00%
                                                                                          85.61%
  Money
                Average Pre-Event Price                                      $44.07       $30.87
                Average Post-Event Price                                     $55.45       $23.89
                Average Price Change Over Event                              $11.38       -$6.97

                Number of Options Traded                              510       246          264
                   Percent of Class Period Volume                 86.25%    89.84%       81.63%

   Out-         Percent of Options with Typical Price Movements   96.08%    99.19%       93.18%
  of-the-            Percent of Class Period Volume               83.95%    89.77%       76.47%

  Money         Average Pre-Event Price                                       $9.93         $8.44
                Average Post-Event Price                                     $14.20         $7.23
                Average Price Change Over Event                               $4.27        -$1.21

Source: Appendix H.
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                                           Exhibit XV
   Cause-And-Effect Analysis of the Reaction of Options Prices to Information in the NYT Article

                                                                    ALL     CALLS        PUTS
                Number of Options Traded                             1162       525         637
                   Percent of Class Period Volume                 94.07%    93.52%      94.62%

                Percent of Options with Typical Price Movements   95.52%    93.33%      97.33%
     All             Percent of Class Period Volume               86.06%    79.32%      92.88%

                Average Pre-Event Price                                      $17.94      $17.83
                Average Post-Event Price                                     $13.58      $22.91
                Average Price Change Over Event                              -$4.36       $5.08

                Number of Options Traded                              279       132         147
                   Percent of Class Period Volume                 91.02%    87.14%      93.84%


  In-the-       Percent of Options with Typical Price Movements
                     Percent of Class Period Volume
                                                                  100.00%
                                                                   91.02%
                                                                            100.00%
                                                                             87.14%
                                                                                        100.00%
                                                                                         93.84%
  Money
                Average Pre-Event Price                                      $46.94      $45.55
                Average Post-Event Price                                     $35.69      $58.61
                Average Price Change Over Event                             -$11.25      $13.05

                Number of Options Traded                              883       393         490
                   Percent of Class Period Volume                 94.77%    94.71%      94.84%

   Out-         Percent of Options with Typical Price Movements   94.11%    91.09%      96.53%
  of-the-            Percent of Class Period Volume               84.91%    77.87%      92.62%

  Money         Average Pre-Event Price                                       $8.20       $9.52
                Average Post-Event Price                                      $6.16      $12.20
                Average Price Change Over Event                              -$2.04       $2.69

Source: Appendix H.
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                                           Exhibit XVI
   Cause-And-Effect Analysis of the Reaction of Options Prices to Information in the Musk Tweet

                                                                    ALL     CALLS       PUTS
                Number of Options Traded                              867       443        424
                   Percent of Class Period Volume                 89.09%    92.70%     85.10%

                Percent of Options with Typical Price Movements   77.97%    76.98%     79.01%
     All             Percent of Class Period Volume               73.15%    82.94%     62.30%

                Average Pre-Event Price                                      $26.94     $15.30
                Average Post-Event Price                                     $32.98     $10.74
                Average Price Change Over Event                               $6.04     -$4.56

                Number of Options Traded                              228       165         63
                   Percent of Class Period Volume                 87.09%    90.37%     76.98%


  In-the-       Percent of Options with Typical Price Movements
                     Percent of Class Period Volume
                                                                  96.05%
                                                                  86.07%
                                                                            94.55%
                                                                            89.02%
                                                                                       100.00%
                                                                                        76.98%
  Money
                Average Pre-Event Price                                      $52.63      $43.32
                Average Post-Event Price                                     $65.68      $31.32
                Average Price Change Over Event                              $13.05     -$12.00

                Number of Options Traded                              639       278        361
                   Percent of Class Period Volume                 89.61%    93.66%     86.06%

   Out-         Percent of Options with Typical Price Movements   71.52%    66.55%     75.35%
  of-the-            Percent of Class Period Volume               69.83%    80.42%     60.56%

  Money         Average Pre-Event Price                                      $11.69     $10.41
                Average Post-Event Price                                     $13.57      $7.14
                Average Price Change Over Event                               $1.88     -$3.26

Source: Appendix H.
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                         APPENDIX A
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                       MICHAEL L. HARTZMARK, PH.D.
                           4950 S. Chicago Beach Drive, Suite 6A
                                    Chicago, IL 60615
                                      (312) 718-9699
                              mhartzmark@HELP-Econ.com

PRESENT POSITIONS

  HARTZMARK ECONOMICS LITIGATION PRACTICE, LLC
           President (2013 - present)
           Specializing in the application of economic, financial and accounting principles to
           securities, complex commercial, investment, intellectual property, antitrust and
           automotive litigation and regulatory matters
  OFFICE OF THE ATTORNEY GENERAL – STATE OF NEW JERSEY
           Independent Contractor (2015 - present)
  MDA FINANCIAL, INC.
           President (1981 - present)
  FINRA (fka NATIONAL ASSOCIATION OF SECURITY DEALERS) Dispute Resolution
           Member Arbitrator (2005 - present)


EDUCATION

  Ph.D.      Department of Economics, the University of Chicago, 1984
             (Doctoral Exams in Industrial Organization and Regulation; Public Finance)
  M.A.       Department of Economics, the University of Chicago, 1982
  B.A.       The University of Michigan (Economics, High Honors and Phi Beta Kappa), 1978


ACADEMIC HONORS AND FELLOWSHIPS

  John M. Olin Faculty Fellowship, (George Stigler, Director) (1986 - 1987)
  PEW Teaching Fellow, the University of Chicago (1980 - 1981)
  Phi Beta Kappa, the University of Michigan (1978)
  Parker Prize, in Labor Economics, University of Michigan (1978) -- Given for the best
  graduate or undergraduate paper in Labor Economics


GRANTS

  Grant from the University of Chicago (1984). Center for the Study of Futures Prices: grant to
  analyze margin regulation for the Chicago Board of Trade Studies.




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PROFESSIONAL EXPERIENCE

  OFFICE OF THE ATTORNEY GENERAL – STATE OF NEW YORK
           Independent Contractor (2013 - 2019)
  CRA INTERNATIONAL, INC.
           Independent Contractor (2015)
  NAVIGANT ECONOMICS (FORMERLY CHICAGO PARTNERS, LLC)
           Academic Affiliate (2012 - 2013)
           Principal/Director (2008 - 2012)
           Vice President (2004 - 2007)
  DARMA, LLC
           President (2005 - 2008)
  PACIFIC BIOMETRICS, INC.
           Interim Chief Financial Officer (2004 - 2006)
  CRAGAR INDUSTRIES, INC.
           Chairman, CEO, President and Treasurer (1993 - 2004)
  MDA FINANCIAL, INC.
           President (1981 - present)
  FAHNESTOCK & Co., Inc. (now Oppenheimer & Co., Inc.)
           Financial Consultant (Series 7 and Series 63) (2001 - 2003)
  ECONOHIO CORPORATION
           President (1989 - 1992)
  LEXECON INC.
           Senior Economist (1987 - 1989)
  UNIVERSITY OF CHICAGO, Center for the Study of the Economy and the State, and the
           Graduate School of Business (now the Chicago Booth School of Business)
           John M. Olin Visiting Scholar (1986 - 1987)
  UNIVERSITY OF MICHIGAN, Joint with Michigan Business School (now the Stephen M.
           Ross School of Business) and Department of Economics
           Assistant Professor (1984 - 1988)
           Lecturer (1984)
  COMMODITY FUTURES TRADING COMMISSION, Division of Economics and
           Education, Washington, D.C.
           Financial Economist (1982 -1983)
  UNIVERSITY OF CHICAGO, Department of Economics
           Instructor for Economic Analysis (1981)
           Research Assistant for A. C. Harberger (1982)
           Research Assistant for Sam Peltzman (1981 - 1982)
  U. S. DEPARTMENT OF THE TREASURY, Office of Tax Analysis, Washington, D.C.
           Research Assistant (1981)




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PUBLICATIONS

  “Understanding the Efficiency of the Market for Preferred Stock,” (with H. Nejat Seyhun),
             Virginia Law & Business Review, Volume 8, Number 2, Spring 2014.
  “An Economist's View of Amgen,” Law360, May 2, 2013.
             http://www.law360.com/articles/438303/an-economist-s-view-of-amgen.
  “The Curious Incident of the Dog that Didn’t Bark and Establishing Cause-and-Effect in
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  POWHATAN BUILDING CORPORATION, Director, Treasurer, (2010 - 2016)
  MIDTOWN EDUCATIONAL FOUNDATION, Auxiliary Board Member, (2009 - 2013)
  GLOBAL ENTERTAINMENT CORPORATION (Formerly AMEX: GEE, currently not
           listed); Director, Audit Committee Member (2004 - 2008);
  THE BOARD INSTITUTE (private software company), Financial Advisory Board (2004 -
           2006)
  SHAKER INVESTMENTS, Financial Advisory Board (1992 - 2005)
  PACIFIC BIOMETRICS, INC. (OTC BB: PBMC currently not listed and renamed as Pacific
           Biomarkers), Director and Chairman of Audit Committee (2002 - 2004)
  CRAGAR INDUSTRIES, INC. (Formerly OTC BB: CRGR, company sold);
           Director and Chairman of the Board (1993 - 2004)




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All other specific materials and information otherwise described or set forth in the body of this Report, Exhibits or
         Appendices.




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                                                                    Appendix C
                          Operational Statistics for Tesla, Inc. Common Stock in the Pre-Class Period and Class Period
             [1]             [2]          [3]          [4]           [5]            [6]             [7]        [8]           [9]           [10]    [11]
                                                                                               Analysts in                               Closing Closing
                                                                             Bloomberg Total Thomson Reuters              Market         Bid-Ask Bid-Ask
                           Daily       Weekly         Weekly       Shares        Analyst         I/B/E/S     Closing   Capitalization    Spread Spread
            Date          Volume       Volume        Turnover    Outstanding Recommendations    Consensus     Price    (in $ Billions)      ($)    (%)

Summary Statistics (120-Trading Day Prior to Class Period: February 14, 2018 - August 6, 2018)
   Total                995,268,894 997,492,616
   Average                8,293,907 39,899,705       23.5%     169,715,669          31            22         $312.06         $52.959       $0.08   0.03%

     Minimum               3,219,649   20,016,279      11.8%      168,919,941       30            17         $252.48         $42.858       $0.01   0.00%
     Median                6,950,556   34,152,495      20.1%      169,793,685       31            22         $309.00         $52.552       $0.07   0.02%
     Maximum              23,214,962   87,496,485      51.5%      170,593,144       33            24         $370.83         $62.965       $0.41   0.11%

Summary Statistics (Class Period: August 7, 2018 - August 17, 2018)
   Total                 135,756,997 144,321,328
   Average                15,084,111 72,160,664       42.3%      170,593,144        33            22         $349.06         $59.547       $0.07   0.02%

     Minimum               6,064,033   51,574,211      30.2%      170,593,144       32            21         $305.50         $52.116       $0.01   0.00%
     Median               11,552,044   72,160,664      42.3%      170,593,144       33            22         $352.45         $60.126       $0.07   0.02%
     Maximum              30,875,768   92,747,117      54.4%      170,593,144       33            22         $379.57         $64.752       $0.18   0.05%

        2/12/2018   Mon    6,227,822           ---         ---    168,797,000       29            22         $315.73         $53.294       $0.19   0.06%
        2/13/2018   Tue    4,560,231           ---         ---    168,797,000       30            22         $323.66         $54.633       $0.07   0.02%
        2/14/2018   Wed    3,950,743           ---         ---    168,919,941       30            21         $322.31         $54.445       $0.22   0.07%
        2/15/2018   Thu    5,912,917           ---         ---    168,919,941       30            21         $334.07         $56.430       $0.11   0.03%
        2/16/2018   Fri    5,642,637   26,294,350      15.6%      168,919,941       30            21         $335.49         $56.671       $0.07   0.02%
        2/20/2018   Tue    4,009,435           ---         ---    168,919,941       30            21         $334.77         $56.549       $0.05   0.01%
        2/21/2018   Wed    3,219,649           ---         ---    168,919,941       30            21         $333.30         $56.301       $0.11   0.03%
        2/22/2018   Thu    6,969,808           ---         ---    168,919,941       30            21         $346.17         $58.475       $0.01   0.00%
        2/23/2018   Fri    5,817,387   20,016,279      11.8%      168,919,941       30            21         $352.05         $59.468       $0.01   0.00%
        2/26/2018   Mon    4,339,985           ---         ---    168,919,941       30            21         $357.42         $60.375       $0.15   0.04%
        2/27/2018   Tue    4,797,419           ---         ---    168,919,941       30            21         $350.99         $59.289       $0.08   0.02%
        2/28/2018   Wed    6,069,658           ---         ---    168,919,941       30            21         $343.06         $57.950       $0.04   0.01%
         3/1/2018   Thu    6,885,601           ---         ---    168,919,941       30            21         $330.93         $55.901       $0.08   0.02%
         3/2/2018   Fri    5,092,829   27,185,492      16.1%      168,919,941       30            21         $335.12         $56.608       $0.17   0.05%
         3/5/2018   Mon    3,823,769           ---         ---    168,919,941       30            21         $333.35         $56.309       $0.05   0.02%
         3/6/2018   Tue    4,285,744           ---         ---    168,919,941       30            22         $328.20         $55.440       $0.14   0.04%


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                                                            Appendix C
                  Operational Statistics for Tesla, Inc. Common Stock in the Pre-Class Period and Class Period
    [1]             [2]           [3]           [4]          [5]              [6]              [7]          [8]           [9]           [10]    [11]
                                                                                          Analysts in                                 Closing Closing
                                                                        Bloomberg Total Thomson Reuters                Market         Bid-Ask Bid-Ask
                   Daily       Weekly         Weekly       Shares           Analyst         I/B/E/S       Closing   Capitalization    Spread Spread
    Date          Volume       Volume        Turnover    Outstanding    Recommendations    Consensus       Price    (in $ Billions)      ($)    (%)
 3/7/2018   Wed    5,007,297           ---         ---    168,919,941         30             22           $332.30         $56.132         $0.18  0.05%
 3/8/2018   Thu    3,566,244           ---         ---    168,919,941         30             22           $329.10         $55.592         $0.02  0.01%
 3/9/2018   Fri    5,506,764   22,189,818      13.1%      168,919,941         30             22           $327.17         $55.266         $0.04  0.01%
3/12/2018   Mon    8,264,035           ---         ---    168,919,941         30             22           $345.51         $58.364         $0.05  0.01%
3/13/2018   Tue    5,965,805           ---         ---    168,919,941         30             22           $341.84         $57.744         $0.05  0.01%
3/14/2018   Wed    7,967,370           ---         ---    168,919,941         30             22           $326.63         $55.174         $0.02  0.01%
3/15/2018   Thu    6,564,801           ---         ---    168,919,941         30             22           $325.60         $55.000         $0.05  0.02%
3/16/2018   Fri    6,117,279   34,879,290      20.6%      168,919,941         30             22           $321.35         $54.282         $0.05  0.02%
3/19/2018   Mon    7,484,294           ---         ---    168,919,941         30             22           $313.56         $52.967         $0.01  0.00%
3/20/2018   Tue    4,764,293           ---         ---    168,919,941         30             22           $310.55         $52.458         $0.02  0.01%
3/21/2018   Wed    5,958,411           ---         ---    168,919,941         30             22           $316.53         $53.468         $0.07  0.02%
3/22/2018   Thu    4,939,771           ---         ---    168,919,941         30             23           $309.10         $52.213         $0.06  0.02%
3/23/2018   Fri    6,654,899   29,801,668      17.6%      168,919,941         30             23           $301.54         $50.936         $0.12  0.04%
3/26/2018   Mon    8,375,175           ---         ---    168,919,941         30             23           $304.18         $51.382         $0.04  0.01%
3/27/2018   Tue   13,872,029           ---         ---    168,919,941         30             23           $279.18         $47.159         $0.05  0.02%
3/28/2018   Wed   21,001,437           ---         ---    168,919,941         30             23           $257.78         $43.544         $0.01  0.00%
3/29/2018   Thu   15,170,749   58,419,390      34.6%      168,919,941         30             23           $266.13         $44.955         $0.12  0.05%
 4/2/2018   Mon   16,113,968           ---         ---    169,750,000         30             23           $252.48         $42.858         $0.03  0.01%
 4/3/2018   Tue   18,844,384           ---         ---    169,750,000         30             23           $267.53         $45.413         $0.06  0.02%
 4/4/2018   Wed   19,896,746           ---         ---    169,750,000         30             23           $286.94         $48.708         $0.08  0.03%
 4/5/2018   Thu   19,121,101           ---         ---    169,750,000         30             23           $305.72         $51.896         $0.10  0.03%
 4/6/2018   Fri   13,520,286   87,496,485      51.5%      169,750,000         30             23           $299.30         $50.806         $0.08  0.03%
 4/9/2018   Mon   10,249,805           ---         ---    169,750,000         30             23           $289.66         $49.170         $0.03  0.01%
4/10/2018   Tue   11,024,259           ---         ---    169,750,000         31             23           $304.70         $51.723         $0.12  0.04%
4/11/2018   Wed    7,482,945           ---         ---    169,750,000         31             23           $300.93         $51.083         $0.09  0.03%
4/12/2018   Thu    7,608,769           ---         ---    169,750,000         31             23           $294.08         $49.920         $0.02  0.01%
4/13/2018   Fri    7,327,223   43,693,001      25.7%      169,750,000         31             23           $300.34         $50.983         $0.09  0.03%
4/16/2018   Mon    6,338,488           ---         ---    169,750,000         31             23           $291.21         $49.433         $0.05  0.02%
4/17/2018   Tue    7,000,023           ---         ---    169,750,000         31             23           $287.69         $48.835         $0.05  0.02%
4/18/2018   Wed    6,557,700           ---         ---    169,750,000         31             23           $293.35         $49.796         $0.04  0.01%
4/19/2018   Thu    6,090,599           ---         ---    169,750,000         31             23           $300.08         $50.939         $0.11  0.04%
4/20/2018   Fri    5,627,928   31,614,738      18.6%      169,750,000         31             24           $290.24         $49.268         $0.04  0.01%
4/23/2018   Mon    4,893,378           ---         ---    169,750,000         31             24           $283.37         $48.102         $0.10  0.04%


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                                                            Appendix C
                  Operational Statistics for Tesla, Inc. Common Stock in the Pre-Class Period and Class Period
    [1]             [2]           [3]           [4]          [5]              [6]              [7]          [8]           [9]           [10]    [11]
                                                                                          Analysts in                                 Closing Closing
                                                                        Bloomberg Total Thomson Reuters                Market         Bid-Ask Bid-Ask
                   Daily       Weekly         Weekly       Shares           Analyst         I/B/E/S       Closing   Capitalization    Spread Spread
    Date          Volume       Volume        Turnover    Outstanding    Recommendations    Consensus       Price    (in $ Billions)      ($)    (%)
4/24/2018   Tue    5,685,308           ---         ---    169,750,000         31             24           $283.46         $48.117         $0.24  0.08%
4/25/2018   Wed    4,013,574           ---         ---    169,750,000         31             24           $280.69         $47.647         $0.11  0.04%
4/26/2018   Thu    4,356,013           ---         ---    169,750,000         31             24           $285.48         $48.460         $0.05  0.02%
4/27/2018   Fri    4,364,626   23,312,899      13.7%      169,750,000         31             24           $294.08         $49.919         $0.15  0.05%
4/30/2018   Mon    4,228,172           ---         ---    169,793,685         31             24           $293.90         $49.902         $0.08  0.03%
 5/1/2018   Tue    4,625,603           ---         ---    169,793,685         31             24           $299.92         $50.925         $0.30  0.10%
 5/2/2018   Wed    8,970,370           ---         ---    169,793,685         31             24           $301.15         $51.133         $0.09  0.03%
 5/3/2018   Thu   17,352,130           ---         ---    169,793,685         32             23           $284.45         $48.298         $0.03  0.01%
 5/4/2018   Fri    8,569,354   43,745,629      25.8%      169,793,685         31             22           $294.09         $49.935         $0.06  0.02%
 5/7/2018   Mon    8,678,224           ---         ---    169,793,685         31             22           $302.77         $51.408         $0.04  0.01%
 5/8/2018   Tue    5,930,000           ---         ---    169,793,685         31             22           $301.97         $51.273         $0.04  0.01%
 5/9/2018   Wed    5,727,365           ---         ---    169,793,685         31             18           $306.85         $52.101         $0.10  0.03%
5/10/2018   Thu    5,651,561           ---         ---    169,793,685         31             18           $305.02         $51.790         $0.10  0.03%
5/11/2018   Fri    4,679,649   30,666,799      18.1%      169,793,685         31             18           $301.06         $51.118         $0.06  0.02%
5/14/2018   Mon    7,286,804           ---         ---    169,793,685         31             18           $291.97         $49.575         $0.07  0.02%
5/15/2018   Tue    9,519,173           ---         ---    169,793,685         31             18           $284.18         $48.252         $0.07  0.02%
5/16/2018   Wed    5,674,019           ---         ---    169,793,685         31             18           $286.48         $48.642         $0.06  0.02%
5/17/2018   Thu    4,420,612           ---         ---    169,793,685         31             18           $284.54         $48.313         $0.09  0.03%
5/18/2018   Fri    7,251,887   34,152,495      20.1%      169,793,685         31             18           $276.82         $47.002         $0.07  0.03%
5/21/2018   Mon    9,182,571           ---         ---    169,793,685         31             20           $284.49         $48.305         $0.03  0.01%
5/22/2018   Tue    8,945,756           ---         ---    169,793,685         31             20           $275.01         $46.695         $0.08  0.03%
5/23/2018   Wed    5,985,053           ---         ---    169,793,685         31             17           $279.07         $47.384         $0.08  0.03%
5/24/2018   Thu    4,176,708           ---         ---    169,793,685         31             17           $277.85         $47.177         $0.09  0.03%
5/25/2018   Fri    3,875,082   32,165,170      18.9%      169,793,685         31             18           $278.85         $47.347         $0.08  0.03%
5/29/2018   Tue    5,666,640           ---         ---    169,793,685         31             19           $283.76         $48.181         $0.19  0.07%
5/30/2018   Wed    7,489,686           ---         ---    169,793,685         31             19           $291.72         $49.532         $0.08  0.03%
5/31/2018   Thu    5,919,721           ---         ---    169,793,685         31             19           $284.73         $48.345         $0.02  0.01%
 6/1/2018   Fri    5,424,386   24,500,433      14.4%      169,793,685         32             20           $291.82         $49.549         $0.07  0.02%
 6/4/2018   Mon    4,797,810           ---         ---    169,793,685         32             20           $296.74         $50.385         $0.05  0.02%
 6/5/2018   Tue    5,995,157           ---         ---    169,793,685         32             21           $291.13         $49.432         $0.05  0.02%
 6/6/2018   Wed   18,767,269           ---         ---    169,793,685         32             21           $319.50         $54.249         $0.08  0.03%
 6/7/2018   Thu   14,345,271           ---         ---    169,793,685         32             22           $316.09         $53.670         $0.02  0.01%
 6/8/2018   Fri    8,205,202   52,110,709      30.7%      169,793,685         32             22           $317.66         $53.937         $0.16  0.05%


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                                                            Appendix C
                  Operational Statistics for Tesla, Inc. Common Stock in the Pre-Class Period and Class Period
    [1]             [2]           [3]           [4]          [5]              [6]              [7]          [8]           [9]           [10]    [11]
                                                                                          Analysts in                                 Closing Closing
                                                                        Bloomberg Total Thomson Reuters                Market         Bid-Ask Bid-Ask
                   Daily       Weekly         Weekly       Shares           Analyst         I/B/E/S       Closing   Capitalization    Spread Spread
    Date          Volume       Volume        Turnover    Outstanding    Recommendations    Consensus       Price    (in $ Billions)      ($)    (%)
6/11/2018   Mon   13,183,473           ---         ---    169,793,685         32             22           $332.10         $56.388         $0.02  0.01%
6/12/2018   Tue   22,347,403           ---         ---    169,793,685         32             22           $342.77         $58.200         $0.05  0.01%
6/13/2018   Wed    9,469,804           ---         ---    169,793,685         32             22           $344.78         $58.541         $0.17  0.05%
6/14/2018   Thu   10,981,023           ---         ---    169,793,685         32             22           $357.72         $60.739         $0.01  0.00%
6/15/2018   Fri   10,848,254   66,829,957      39.4%      169,793,685         32             22           $358.17         $60.815         $0.02  0.01%
6/18/2018   Mon   12,073,226           ---         ---    169,793,685         32             22           $370.83         $62.965         $0.04  0.01%
6/19/2018   Tue   12,761,903           ---         ---    169,793,685         32             22           $352.55         $59.861         $0.12  0.03%
6/20/2018   Wed    8,383,656           ---         ---    169,793,685         32             22           $362.22         $61.503         $0.41  0.11%
6/21/2018   Thu    7,967,145           ---         ---    169,793,685         32             22           $347.51         $59.005         $0.05  0.01%
6/22/2018   Fri   10,266,059   51,451,989      30.3%      169,793,685         31             22           $333.63         $56.648         $0.01  0.00%
6/25/2018   Mon    6,931,304           ---         ---    169,793,685         31             22           $333.01         $56.543         $0.21  0.06%
6/26/2018   Tue    7,452,487           ---         ---    169,793,685         31             22           $342.00         $58.069         $0.02  0.01%
6/27/2018   Wed    8,333,727           ---         ---    169,793,685         31             22           $344.50         $58.494         $0.05  0.01%
6/28/2018   Thu    8,398,005           ---         ---    169,793,685         31             22           $349.93         $59.416         $0.02  0.01%
6/29/2018   Fri    6,492,396   37,607,919      22.1%      169,793,685         31             22           $342.95         $58.231         $0.12  0.04%
 7/2/2018   Mon   18,759,765           ---         ---    170,516,000         31             22           $335.07         $57.135         $0.07  0.02%
 7/3/2018   Tue   12,282,638           ---         ---    170,516,000         31             22           $310.86         $53.007         $0.11  0.04%
 7/5/2018   Thu   17,476,374           ---         ---    170,516,000         31             22           $309.16         $52.717         $0.01  0.00%
 7/6/2018   Fri    8,865,451   57,384,228      33.7%      170,516,000         31             22           $308.90         $52.672         $0.09  0.03%
 7/9/2018   Mon    7,596,753           ---         ---    170,516,000         31             22           $318.51         $54.311         $0.20  0.06%
7/10/2018   Tue    9,471,498           ---         ---    170,516,000         31             22           $322.47         $54.986         $0.11  0.03%
7/11/2018   Wed    4,884,076           ---         ---    170,516,000         31             22           $318.96         $54.388         $0.06  0.02%
7/12/2018   Thu    5,721,166           ---         ---    170,516,000         31             22           $316.71         $54.004         $0.01  0.00%
7/13/2018   Fri    5,875,770   33,549,263      19.7%      170,516,000         31             22           $318.87         $54.372         $0.11  0.03%
7/16/2018   Mon    7,818,655           ---         ---    170,516,000         32             22           $310.10         $52.877         $0.09  0.03%
7/17/2018   Tue    6,996,232           ---         ---    170,516,000         32             22           $322.69         $55.024         $0.03  0.01%
7/18/2018   Wed    5,624,211           ---         ---    170,516,000         32             21           $323.85         $55.222         $0.12  0.04%
7/19/2018   Thu    5,915,345           ---         ---    170,516,000         32             21           $320.23         $54.604         $0.11  0.03%
7/20/2018   Fri    5,166,547   31,520,990      18.5%      170,516,000         32             21           $313.58         $53.470         $0.03  0.01%
7/23/2018   Mon   10,992,947           ---         ---    170,516,000         32             21           $303.20         $51.700         $0.07  0.02%
7/24/2018   Tue    9,590,784           ---         ---    170,516,000         32             21           $297.43         $50.717         $0.01  0.00%
7/25/2018   Wed    7,094,180           ---         ---    170,516,000         32             21           $308.74         $52.645         $0.06  0.02%
7/26/2018   Thu    4,630,522           ---         ---    170,516,000         32             21           $306.65         $52.289         $0.02  0.01%


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                                                                      Appendix C
                            Operational Statistics for Tesla, Inc. Common Stock in the Pre-Class Period and Class Period
              [1]              [2]            [3]           [4]           [5]               [6]            [7]                  [8]             [9]            [10]    [11]
                                                                                                      Analysts in                                            Closing Closing
                                                                                    Bloomberg Total Thomson Reuters                         Market           Bid-Ask Bid-Ask
                             Daily         Weekly      Weekly          Shares           Analyst         I/B/E/S              Closing     Capitalization      Spread Spread
             Date           Volume        Volume      Turnover       Outstanding    Recommendations    Consensus              Price      (in $ Billions)        ($)    (%)
         7/27/2018   Fri     5,703,326    38,011,759    22.3%         170,593,144         32             21                  $297.18           $50.697           $0.13  0.04%
         7/30/2018   Mon     6,814,072            ---       ---       170,593,144         32             21                  $290.17           $49.501           $0.01  0.00%
         7/31/2018   Tue     5,076,916            ---       ---       170,593,144         32             21                  $298.14           $50.861           $0.01  0.00%
          8/1/2018   Wed    10,129,430            ---       ---       170,593,144         32             21                  $300.84           $51.321           $0.18  0.06%
          8/2/2018   Thu    23,214,962            ---       ---       170,593,144         32             21                  $349.54           $59.629           $0.13  0.04%
          8/3/2018   Fri    13,656,486    58,891,866    34.5%         170,593,144         33             21                  $348.17           $59.395           $0.16  0.05%
          8/6/2018   Mon     8,564,331            ---       ---       170,593,144         33             21                  $341.99           $58.341           $0.01  0.00%
          8/7/2018   Tue    30,875,768            ---       ---       170,593,144         33             21                  $379.57           $64.752           $0.02  0.01%
          8/8/2018   Wed    24,571,163            ---       ---       170,593,144         33             22                  $370.34           $63.177           $0.18  0.05%
          8/9/2018   Thu    17,183,811            ---       ---       170,593,144         33             22                  $352.45           $60.126           $0.17  0.05%
         8/10/2018   Fri    11,552,044    92,747,117    54.4%         170,593,144         33             22                  $355.49           $60.644           $0.04  0.01%
         8/13/2018   Mon    10,463,881            ---       ---       170,593,144         33             22                  $356.41           $60.801           $0.01  0.00%
         8/14/2018   Tue     6,986,427            ---       ---       170,593,144         33             22                  $347.64           $59.305           $0.01  0.00%
         8/15/2018   Wed     9,101,258            ---       ---       170,593,144         32             22                  $338.69           $57.778           $0.07  0.02%
         8/16/2018   Thu     6,064,033            ---       ---       170,593,144         32             22                  $335.45           $57.225           $0.07  0.02%
         8/17/2018   Fri    18,958,612    51,574,211    30.2%         170,593,144         32             22                  $305.50           $52.116           $0.07  0.02%

Notes:
 [1] Trading date.
 [2] Reported composite U.S. volume. Source: Bloomberg.
 [3] Volume over entire week of trading. Summary statistics for Class Period include the entire week of the first partial week of the Class Period. Summary statistic for the Pre-
     Class Period include the entire week of the first partial week of the Pre-Class Period and exclude the last partial week of the Pre-Class Period.
 [4] Weekly   turnover = [3] / [5]. Summary statistics for Class Period include the entire week of the first partial week of the Class Period. Summary statistic for the Pre-Class
     Period include the entire week of the first partial week of the Pre-Class Period and exclude the last partial week of the Pre-Class Period.
 [5] Last available shares outstanding as of the end of each week. Source: SEC filings.
 [6] Most recent available Bloomberg total analyst recommendations. Bloomberg defines "total analyst recommendations" as the total number of analysts making
     recommendations for the security. Source: Bloomberg.
 [7] Number of analysts in Thomson Reuters I/B/E/S consensus EPS estimates for current fiscal year. Source: S&P Capital IQ.
 [8] Reported composite U.S. closing price. Source: Bloomberg.
 [9] = [5] x [8].
[10] The dollar bid-ask spread was calculated as the closing ask quote less the closing bid quote. Source: Bloomberg.
[11] The percent bid-ask spread was calculated as [10] divided by the average of the bid and ask quotes. Source: Bloomberg.



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    [1]          [2]       [3]     [4]      [5]           [6]      [7]       [8]  [9]      [10]          [11]                                             [12]
                                                      Excess                                         Abnormal
                                           Market    Industry Predicted Abnormal                       Price
   Date        Volume     Price   Return   Return     Return   Return    Return t-stat    p-Value    Reaction                                           Events
8/7/2018 Tue   30,875,768 $379.57 10.99%     0.31%      0.49%    0.38%    10.61%   4.15   0.01% **     $36.28   Elon Musk aims to privatise Tesla (German Collection - Factiva, 08/07/2018)
                                                                                                                Elon Musk 'considering' taking Tesla private, trading resumed (CNET News.com -
                                                                                                                Factiva, 08/07/2018)
                                                                                                                Elon Musk Considering To Take Tesla Private (CE NoticiasFinancieras - Factiva,
                                                                                                                08/07/2018)
                                                                                                                Elon Musk Considering To Take Tesla Private (RTT News - Factiva, 08/07/2018)
                                                                                                                Elon Musk considers taking Tesla private; Elon Musk considers taking Tesla private
                                                                                                                (The Daily Star - Factiva, 08/07/2018)
                                                                                                                Elon Musk contemplates removing Tesla from Wall Street and shares rise 7% (CE
                                                                                                                NoticiasFinancieras - Factiva, 08/07/2018)
                                                                                                                Elon Musk Floats Plan To Take Tesla Private At $71 Billion Valuation (Forbes.com -
                                                                                                                Factiva, 08/07/2018)
                                                                                                                Elon Musk Floats Plan To Take Tesla Private At $71 Billion Valuation (Forbes.com -
                                                                                                                Factiva, 08/07/2018)
                                                                                                                Elon Musk Floats Plan To Take Tesla Private At $71 Billion Valuation (Forbes.com -
                                                                                                                Factiva, 08/07/2018)
                                                                                                                Elon Musk says he may take Tesla private and shares soar (The Toronto Star - Factiva,
                                                                                                                08/07/2018)
                                                                                                                Elon Musk tweets that he may take Tesla private, shares jump 11 per cent; Move
                                                                                                                comes as CEO has been under mounting pressure from investors, analysts to stem
                                                                                                                companyÃ¢â‚¬â„¢s financial losses (The Globe and Mail (Breaking News) - Factiva,
                                                                                                                08/07/2018)
                                                                                                                Elon Musk (CTV National News - Factiva, 08/07/2018)
                                                                                                                Elon Musk, eager to shed Wall Street, suggests a massive buyout of Tesla. Its shares
                                                                                                                soar (latimes.com - Factiva, 08/07/2018)
                                                                                                                06:58 EDT Tesla begins hiring for $2B Shanghai plant, Reuters reportsTesla has...
                                                                                                                (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                                09:16 EDT Morgan Stanley questions if time to 'fade the bounce' in TeslaMorgan...
                                                                                                                (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                                12:27 EDT Saudi wealth fund has built 3%-5% stake in Tesla, FT reports
                                                                                                                (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                                12:27 EDT Tesla jumps 3% to $352.37 after FT says Saudi fund built $2B stake
                                                                                                                (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                                12:30 EDT Saudi sovereign wealth fund builds 3%-5% stake in Tesla, FT...
                                                                                                                (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                                12:49 EDT Tesla CEO Musk says 'considering taking Tesla private'Elon Musk,...
                                                                                                                (Theflyonthewall.com - Factiva, 08/07/2018)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                             [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   12:56 EDT Tesla up 5% after Musk 'go-private' tweet, FT report of Saudi...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   13:05 EDT Musk tweet on taking Tesla private helped shoot stock 5.7% highe Musk...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   13:10 EDT Musk tweet on taking Tesla private helped shoot stock 5.7% highe Musk...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   13:23 EDT Saudi sovereign fund stake in Tesla 'just below' 5%, Reuters saysSaudi...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   13:44 EDT Tesla CEO Musk says he does not have controlling vote Tesla CEO Elon...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   13:53 EDT Ross Gerber says Tesla confirmed tweets are 'real,' sent by MuskRoss...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   14:08 EDT Tesla CEO wants shareholders to stay if company goes privateTesla CEO...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   14:09 EDT Tesla halted for news amid Musk's tweets on possibly going...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   14:17 EDT Tesla CEO says shareholders could sell at $420 or hold if company went...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   15:10 EDT Tesla CEO says being private would end 'negative propaganda from...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   15:32 EDT Tesla discloses email sent to employees about 'taking Tesla private'An...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   15:36 EDT Tesla to resume trading at 3:45 pm ETTesla shares are scheduled to...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   15:46 EDT Tesla up 10% to $377.07 after reopening following Musk 'go private'...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   16:49 EDT Fly Intel: Wall Street's top stories for TuesdayStocks opened with...
                                                                                                   (Theflyonthewall.com - Factiva, 08/07/2018)
                                                                                                   A Tesla Buyout Would Mean Elon Musk's $100B Moonshot Pay Deal Crashed In Orbit
                                                                                                   (Forbes.com - Factiva, 08/07/2018)
                                                                                                   A Tesla LBO Would Mean Elon Musk's $100B Moonshot Pay Deal Crashed In Orbit
                                                                                                   (Forbes.com - Factiva, 08/07/2018)
                                                                                                   A Tesla LBO Would Mean Elon Musk's $100B Moonshot Pay Deal Crashed In Orbit
                                                                                                   (Forbes.com - Factiva, 08/07/2018)
                                                                                                   Barclays Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Barclays Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   Behind the wheel of a Tesla Model 3: It's a giant iPhone Ã¢â‚¬â€ for better and worse
                                                                                                   (Washington Post.com - Factiva, 08/07/2018)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                              [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Behind the wheel of a Tesla Model 3; It'S a giant iphone - for better and worse
                                                                                                   (National Post - Factiva, 08/07/2018)
                                                                                                   Biz quicks (Tulsa World - Factiva, 08/07/2018)
                                                                                                   Blue Chips Lead, As Nasdaq Aims For Sixth Gain In A Row (Investor's Business Daily -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Canaccord Genuity Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Canaccord Genuity Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   CFRA Equity Research Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   CFRA Equity Research Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   CFRA Equity Research Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   Children's services chief hits back after facing calls to resign amid Tesla Twitter row
                                                                                                   (Bucks Free Press - Factiva, 08/07/2018)
                                                                                                   Cowen and Company Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   Dow Jones Futures: Tesla Stock Risk Vs. Reward; These 4 Stocks Swing On Earnings
                                                                                                   (Investor's Business Daily - Factiva, 08/07/2018)
                                                                                                   Elon Musk considers removing Tesla from the bag (CE NoticiasFinancieras - Factiva,
                                                                                                   08/07/2018)
                                                                                                   Elon Musk considers removing Tesla from the bag (CE NoticiasFinancieras - Factiva,
                                                                                                   08/07/2018)
                                                                                                   Elon Musk is serious about taking Tesla private (Mashable.com - Factiva, 08/07/2018)
                                                                                                   Elon Musk needs just 61 characters to lift wealth by $900 million; Tesla shares spike
                                                                                                   after CEO tweets about taking carmaker private. (The Seattle Times: Web Edition -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s multibillion-dollar apology (EJ Insight - Factiva, 08/07/2018)
                                                                                                   Eugene Investment & Securities Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   GM creeps closer to cap on $7,500 EV tax credit (The Detroit News - Factiva, 08/07/2018)

                                                                                                   GM creeps closer to cap on $7,500 EV tax-credit (The Detroit News: Web Edition -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Has Musk met his match in Essex man and his truck? (The Times - Factiva, 08/07/2018)

                                                                                                   How Palo Alto is suffocating its rooftop solar market (San Francisco Business Times -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   KB Securities Research Report (Capital IQ - Manual Entry, 08/07/2018)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                               [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   Mendocino Fire Now the Largest in California History; Indonesia Earthquake Kills
                                                                                                   105, Displaces 20,000; German Couple Convicted of Selling Child to Pedophiles; Trump
                                                                                                   to Host CEOs at New Jersey Golf Club; Trump Warns CEOs Against Doing Business
                                                                                                   with Iran; Trump's Foreign Policy Puts Central Bankers on Their Heels; Wildfires
                                                                                                   Burn as Scientists Warn of a Hothouse Planet; U.S. Billionaire Kroenke Takes Sole
                                                                                                   Control of Arsenal; Snap Shares Spike After Earnings; Papa John's Down 10 Percent
                                                                                                   After Results; Disney Earnings Miss Expectations. Aired 4-5p ET (CNN International:
                                                                                                   Quest Means Business - Factiva 08/07/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   Morningstar Inc. Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Morningstar Inc. Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Morningstar Inc. Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   Musk Makes Startling Proposal to Take Tesla Private (The Deal - Factiva, 08/07/2018)
                                                                                                   Musk ponders throwing Tesla out of bag (CE NoticiasFinancieras - Factiva, 08/07/2018)
                                                                                                   MUSK RAISES QUESTIONS WITH TWEET ABOUT TINY TESLA; IS HE JOKING
                                                                                                   OR NOT? ELECTRIC CARMAKER CEO SAYS THEY ARE WORKING ON A
                                                                                                   'MINI-CAR' (San Jose Mercury News - Factiva, 08/07/2018)
                                                                                                   Musk says he may take Tesla private and shares roar (Postmedia Breaking News -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Musk says Tesla will be self-funded; Including its IPO, company raised $3.9 billion
                                                                                                   from stock sales (The Toronto Star - Factiva, 08/07/2018)
                                                                                                   Musk suggests he might take Tesla private (EFE News Service - Factiva, 08/07/2018)
                                                                                                   Musk tended to consider withdrawing Tesla from the stock exchange - the value of the
                                                                                                   share went to the deal*** TRANSLATED *** (STT - Factiva, 08/07/2018)
                                                                                                   Musk tweets he may take Tesla private and shares roar (Postmedia Breaking News -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   MUSK: 'EVEN HITLER' WAS BETTING AGAINST TESLA; CEO USES POPULAR
                                                                                                   MEME TO TAKE A DIG AT SHORT SELLERS OF HIS COMPANY'S STOCK (San
                                                                                                   Jose Mercury News - Factiva, 08/07/2018)
                                                                                                   Musk: Tesla's 'wild swings' as a public company have been a distraction, but going
                                                                                                   private not a final decision (San Francisco Business Times Online - Factiva, 08/07/2018)
                                                                                                   Musk: Tesla's 'wild swings' as a public company have been a distraction, but going
                                                                                                   private not a final decision (Silicon Valley/San Jose Business Journal Online - Factiva,
                                                                                                   08/07/2018)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                              [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   New Broom; Audi interim CEO brings new style to company, after old boss jailed
                                                                                                   (Handelsblatt Global - Factiva, 08/07/2018)
                                                                                                   NIGHTLY BUSINESS REPORT for August 7, 2018, PBS (Nightly Business Report -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Now hiring: Tesla begins staffing effort for new Gigafactory in China (San Francisco
                                                                                                   Business Times Online - Factiva, 08/07/2018)
                                                                                                   Now hiring: Tesla begins staffing effort for new Gigafactory in China (Silicon
                                                                                                   Valley/San Jose Business Journal Online - Factiva, 08/07/2018)
                                                                                                   Of Course Twitter Loves Elon Musk (TheAtlantic.com - Factiva, 08/07/2018)
                                                                                                   Overseas investment strong despite tensions (China Daily - Factiva, 08/07/2018)
                                                                                                   Overseas investment strong despite tensions (China Daily-Hong Kong Edition - Factiva,
                                                                                                   08/07/2018)
                                                                                                   Overseas investment strong despite tensionsÃ¯Â¼Å’huge market still a draw (China
                                                                                                   Daily-US Edition - Factiva, 08/07/2018)
                                                                                                   RBC Capital Markets Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   RBC Capital Markets Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   Regulator suspends Tesla deal awaiting clarification (CE NoticiasFinancieras - Factiva,
                                                                                                   08/07/2018)
                                                                                                   Stock Market Closes Higher As Tesla Adds Drama In Final Hours (Investor's Business
                                                                                                   Daily - Factiva, 08/07/2018)
                                                                                                   Tesla CEO drops latest bombshell with $72 billion buyout proposal (Chicago Sun-Times -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Tesla CEO Elon Musk Considering Taking Company Private (NPR: All Things
                                                                                                   Considered - Factiva, 08/07/2018)
                                                                                                   Tesla founder may take one-time Fisker rival private (Delaware Business Daily - Factiva,
                                                                                                   08/07/2018)
                                                                                                   Tesla Gears up to Open Plant in China (Contify Automotive News - Factiva, 08/07/2018)

                                                                                                   Tesla high yield bond jumps on take-private speculation (GlobalCapital - Factiva,
                                                                                                   08/07/2018)
                                                                                                   Tesla is looking for employees ... in China (CE NoticiasFinancieras - Factiva, 08/07/2018)

                                                                                                   Tesla returns to trading to shoot more than 13% (CE NoticiasFinancieras - Factiva,
                                                                                                   08/07/2018)
                                                                                                   Tesla shares halted after Musk tweets that he's considering taking company private
                                                                                                   (Denver Business Journal Online - Factiva, 08/07/2018)
                                                                                                   Tesla shares jump after Musk tweets that he's considering taking company private
                                                                                                   (Buffalo Business First Online - Factiva, 08/07/2018)



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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                              [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   Tesla shares rise more than 7% after Elon Musk announcement of possible exit from
                                                                                                   the stock market (CE NoticiasFinancieras - Factiva, 08/07/2018)
                                                                                                   Tesla Short Selling Update - IHS Markit (Exchange News Direct - Factiva, 08/07/2018)
                                                                                                   Tesla starts recruitment for Chinese EV factory. (Just-Auto - Factiva, 08/07/2018)
                                                                                                   Tesla Stock Approaches New Record On Musk Talk Of Going Private (Investor's
                                                                                                   Business Daily - Factiva, 08/07/2018)
                                                                                                   Tesla Stock Jumps, Then Halted, As Elon Musk Tweets About Going Private (Investor's
                                                                                                   Business Daily - Factiva, 08/07/2018)
                                                                                                   Tesla store in Henrico marks one year in business with jump in Model 3 deliveries;
                                                                                                   legal dispute remains (Richmond Times-Dispatch: Web Edition - Factiva, 08/07/2018)
                                                                                                   TeslaÃ¢â‚¬â„¢s Elon Musk Tweets He May Take Company Private (Investing.com -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Tesla's latest product is a $1,500 surfboard, and it's already sold out (ETMAG.com -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Tests find car assistance systems only boost safety if drivers pay attention (CBS News:
                                                                                                   Evening News - Factiva, 08/07/2018)
                                                                                                   The 4 reasons why Elon Musk wants Tesla to leave Wall Street (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   The Latest: Musk says going private would free Tesla (Postmedia Breaking News -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Thermosolar project Cerro Dominador challenges Tesla technology (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/07/2018)
                                                                                                   Title (NPR: All Things Considered - Factiva, 08/07/2018)
                                                                                                   Trading with Tesla shares was suspended*** TRANSLATED *** (STT - Factiva,
                                                                                                   08/07/2018)
                                                                                                   UBS Equities Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   UBS Equities Research Report (Eikon - Manual Entry, 08/07/2018)
                                                                                                   With just one Tweet, Musk added $ 900 million to his fortune (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/07/2018)
                                                                                                   Zacks Equity Research Research Report (Capital IQ - Manual Entry, 08/07/2018)
                                                                                                   Elon Musk: Ã¢â‚¬ËœDang, turns out even Hitler was shorting Tesla stockÃ¢â‚¬â„¢;
                                                                                                   Tesla CEO tweets video meme, taunting his doubters (MarketWatch - Factiva, 08/07/2018
                                                                                                   03:32 AM)
                                                                                                   Tesla starts hiring for new $2 bln Shanghai plant (Reuters News - Factiva, 08/07/2018
                                                                                                   05:17 AM)
                                                                                                   New tests of automatic braking systems found a worrying flaw Ã¢â‚¬â€ and 2 Tesla
                                                                                                   models did the worst (Business Insider - Factiva, 08/07/2018 06:00 AM)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                              [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   MW UPDATE: The revenue-growth rate that helped fuel Tesla's rally relied on an
                                                                                                   apples-to-oranges comparison (MarketWatch - Factiva, 08/07/2018 07:32 AM)
                                                                                                   The revenue-growth rate that helped fuel TeslaÃ¢â‚¬â„¢s rally relied on an apples-to-
                                                                                                   oranges comparison; Not uniquely among companies, Tesla failed to modify prior-year
                                                                                                   results, creating an inaccurate picture of its revenue growth (MarketWatch - Factiva,
                                                                                                   08/07/2018 07:32 AM)
                                                                                                   The End Of The FANG Era? Gene Munster Makes The Case (Benzinga.com - Factiva,
                                                                                                   08/07/2018 10:56 AM)
                                                                                                   BRIEF-Saudi ArabiaÃ¢â‚¬â„¢s Sovereign Wealth Fund Builds $2 Bln Tesla Stake- FT
                                                                                                   (Reuters News - Factiva, 08/07/2018 12:26 PM)
                                                                                                   Tesla starts recruitment for Chinese EV factory (MarketLine News and Comment -
                                                                                                   Factiva, 08/07/2018 12:30 PM)
                                                                                                   Stocks close higher as earnings news trumps trade-war fear; Tesla soars 11% on
                                                                                                   MuskÃ¢â‚¬â„¢s going-private tweet; NasdaqÃ¢â‚¬â„¢s winning streak now longest
                                                                                                   since March (MarketWatch - Factiva, 08/07/2018 12:37 PM)
                                                                                                   Elon Musk lights up the internet and investors see green as Tesla rips higher
                                                                                                   (MarketWatch - Factiva, 08/07/2018 12:39 PM)
                                                                                                   Saudi sovereign fund builds 3 to 5 pct stake in Tesla - FT (Reuters News - Factiva,
                                                                                                   08/07/2018 12:39 PM)
                                                                                                   Saudi sovereign fund builds 3 to 5 percent stake in Tesla: FT (Reuters News - Factiva,
                                                                                                   08/07/2018 12:41 PM)
                                                                                                   MW Saudi Arabia's mega-fund builds stake in Tesla: report (MarketWatch - Factiva,
                                                                                                   08/07/2018 12:45 PM)
                                                                                                   Saudi Arabia's Mega-fund Builds Stake In Tesla: Report -- MarketWatch (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 12:45 PM)
                                                                                                   Morgan Stanley Raises Tesla Estimates After Earnings Analysis (Benzinga.com -
                                                                                                   Factiva, 08/07/2018 12:49 PM)
                                                                                                   Saudi Sovereign Wealth Fund Investing in Tesla -FT (Dow Jones Institutional News -
                                                                                                   Factiva, 08/07/2018 12:50 PM)
                                                                                                   TESLA'S MUSK SAYS "AM CONSIDERING TAKING TESLA PRIVATE AT $420.
                                                                                                   FUNDING SECURED"- TWEET (Reuters News - Factiva, 08/07/2018 12:51 PM)
                                                                                                   TESLA'S MUSK SAYS "AM CONSIDERING TAKING TESLA PRIVATE AT $420.
                                                                                                   FUNDING SECURED"- TWEET (Reuters News - Factiva, 08/07/2018 12:52 PM)
                                                                                                   Elon Musk tweets that he's considering taking Tesla private at $420 per share with
                                                                                                   'funding secured' (TSLA) (Business Insider - Factiva, 08/07/2018 12:55 PM)
                                                                                                   Saudi Arabia's mega-fund builds stake in Tesla: report (Dow Jones Newswires Chinese
                                                                                                   (English) - Factiva, 08/07/2018 12:55 PM)
                                                                                                   *Elon Musk's Twitter Account: 'Am Considering Taking Tesla Private at $420' (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 12:56 PM)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                             [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Elon Musk considers taking Tesla private (Reuters News - Factiva, 08/07/2018 12:57 PM)

                                                                                                   Tesla jumps after report says Saudi Arabia amassed a $2 billion stake and Musk tweets
                                                                                                   he's considering taking the company private (TSLA) (Business Insider - Factiva,
                                                                                                   08/07/2018 12:57 PM)
                                                                                                   Elon Musk says he's considering taking Tesla private (CNN Wire - Factiva, 08/07/2018
                                                                                                   01:03 PM)
                                                                                                   Elon Musk says he's considering taking Tesla private (CNN Wire - Factiva, 08/07/2018
                                                                                                   01:05 PM)
                                                                                                   Elon Musk Tweets 'Considering Taking Tesla Private' (Dow Jones Institutional News -
                                                                                                   Factiva, 08/07/2018 01:05 PM)
                                                                                                   Tesla's Musk Tweets He's 'Considering' Taking Company Private -- MarketWatch
                                                                                                   (Dow Jones Institutional News - Factiva, 08/07/2018 01:07 PM)
                                                                                                   Tesla shares jump on Musk tweet on taking company private (Agence France Presse -
                                                                                                   Factiva, 08/07/2018 01:09 PM)
                                                                                                   Elon Musk Tweets 'Considering Taking Tesla Private' -- Update (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/07/2018 01:14 PM)
                                                                                                   Musk Tweets He Might Take Tesla Private At $420 (Benzinga.com - Factiva, 08/07/2018
                                                                                                   01:15 PM)
                                                                                                   Saudi sovereign fund PIF has bought a below 5 pct stake in Tesla -source (Reuters News -
                                                                                                   Factiva, 08/07/2018 01:18 PM)
                                                                                                   Musk Says in Tweet He Is Considering Taking Tesla Private (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 01:20 PM)
                                                                                                   Saudi sovereign fund PIF has bought a below 5 percent stake in Tesla: source (Reuters
                                                                                                   News - Factiva, 08/07/2018 01:23 PM)
                                                                                                   Musk considers taking Tesla private as report says Saudis buy in (dpa International
                                                                                                   Service in English - Factiva, 08/07/2018 01:24 PM)
                                                                                                   Elon Musk says he's considering taking Tesla private (CNN Wire - Factiva, 08/07/2018
                                                                                                   01:26 PM)
                                                                                                   BUZZ-U.S. STOCKS ON THE MOVE-Tesla, Office Depot, On Deck, Hertz Global
                                                                                                   (Reuters News - Factiva, 08/07/2018 01:28 PM)
                                                                                                   Tesla shares jump on Musk tweet on taking company private (Agence France Presse -
                                                                                                   Factiva, 08/07/2018 01:28 PM)
                                                                                                   UPDATE 1-Tesla starts hiring for new $2 bln Shanghai plant (Reuters News - Factiva,
                                                                                                   08/07/2018 01:31 PM)
                                                                                                   MW UPDATE: Tesla's Musk tweets he's 'considering' taking company private
                                                                                                   (MarketWatch - Factiva, 08/07/2018 01:34 PM)
                                                                                                   Update: Tesla's Musk Tweets He's 'considering' Taking Company Private --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/07/2018 01:34 PM)



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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                              [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events

                                                                                                   TESLA'S ELON MUSK TWEETS "GOOD MORNING" WITH A SMILEY AFTER
                                                                                                   AN EARLIER TWEET ABOUT TAKING TESLA PRIVATE (Reuters News - Factiva,
                                                                                                   08/07/2018 01:35 PM)
                                                                                                   Global Equities Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 01:37 PM)
                                                                                                   This ETF Has Almost 12% of its Assets in Tesla -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 01:37 PM)
                                                                                                   This ETF Has Almost 12% of its Assets in Tesla -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 01:37 PM)
                                                                                                   Elon Musk says he's considering taking Tesla private (CNN Wire - Factiva, 08/07/2018
                                                                                                   01:39 PM)
                                                                                                   1ST LEAD Musk considers taking Tesla private as report says Saudis buy in By
                                                                                                   Shabtai Gold, dpa (dpa International Service in English - Factiva, 08/07/2018 01:39 PM)
                                                                                                   Elon Musk to take Tesla private? (Deutsche Welle - Factiva, 08/07/2018 01:42 PM)
                                                                                                   Tesla surges after Elon Musk follows up a $2 billion investment report with a tweet
                                                                                                   saying he might take the company private (TSLA) (Business Insider - Factiva, 08/07/2018
                                                                                                   01:47 PM)
                                                                                                   2ND LEAD Musk toys with idea of taking Tesla private as Saudis buy in By Shabtai
                                                                                                   Gold, dpa (dpa International Service in English - Factiva, 08/07/2018 01:51 PM)
                                                                                                   Helicopter Industry May Get Reprieve From Tougher Rules -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 01:56 PM)
                                                                                                   Elon Musk Says in Tweet He Is Considering Taking Tesla Private -- 2nd Update (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 02:00 PM)
                                                                                                   TESLA'S ELON MUSK SAYS "MY HOPE IS *ALL* CURRENT INVESTORS
                                                                                                   REMAIN WITH TESLA EVEN IF WEÃ¢â‚¬â„¢RE PRIVATE." - TWEET (Reuters
                                                                                                   News - Factiva, 08/07/2018 02:02 PM)
                                                                                                   Tesla starts hiring for new $2 billion Shanghai plant (Reuters News - Factiva, 08/07/2018
                                                                                                   02:03 PM)
                                                                                                   TESLA'S MUSK SAYS WOULD CREATE SPECIAL PURPOSE FUND ENABLING
                                                                                                   ANYONE TO STAY WITH TESLA - TWEET (Reuters News - Factiva, 08/07/2018 02:03
                                                                                                   PM)
                                                                                                   Tesla Inc. (TSLA) Halted due to pending news (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 02:08 PM)
                                                                                                   TESLA'S MUSK "AM SUPER APPRECIATIVE OF TESLA SHAREHOLDERS.
                                                                                                   WILL ENSURE THEIR PROSPERITY IN ANY SCENARIO"- TWEET (Reuters News -
                                                                                                   Factiva, 08/07/2018 02:08 PM)
                                                                                                   CORRECTED-UPDATE 3-Elon Musk considers taking Tesla private in tweet, shares
                                                                                                   rise (Reuters News - Factiva, 08/07/2018 02:12 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla shares halted after Musk tweet about going private (Reuters News - Factiva,
                                                                                                   08/07/2018 02:16 PM)
                                                                                                   TESLA'S MUSK SAYS "NO CHANGE" IN RESPONSE TO A TWEET ASKING
                                                                                                   HIM IF HE WOULD YOU LIKE TO STAY AS TESLA CEO IF CO GOES PRIVATE -
                                                                                                   TWEET (Reuters News - Factiva, 08/07/2018 02:17 PM)
                                                                                                   Elon Musk says he's considering taking Tesla private (CNN Wire - Factiva, 08/07/2018
                                                                                                   02:27 PM)
                                                                                                   Tesla shares halted after Musk tweet about going private (Reuters News - Factiva,
                                                                                                   08/07/2018 02:27 PM)
                                                                                                   Tesla options bulls reap windfall on Musk's going private tweet (Reuters News - Factiva,
                                                                                                   08/07/2018 02:28 PM)
                                                                                                   Elon Musk says he's considering taking Tesla private (CNN Wire - Factiva, 08/07/2018
                                                                                                   02:29 PM)
                                                                                                   3 Reasons Elon Musk Would Want to Take Tesla Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 02:31 PM)
                                                                                                   Mutual Funds and ETFs Own 31.8% of Tesla -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 02:33 PM)
                                                                                                   Mutual Funds and ETFs Own 31.8% of Tesla -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 02:33 PM)
                                                                                                   Musk says will remain Tesla CEO if company goes private (Agence France Presse -
                                                                                                   Factiva, 08/07/2018 02:35 PM)
                                                                                                   Tesla's stock halted as CEO Elon Musk tweets he's considering taking the electric
                                                                                                   vehicle company private (Associated Press Newswires - Factiva, 08/07/2018 02:35 PM)
                                                                                                   Elon Musk Says Tesla May Go Private, and Its Stock Soars (NYTimes.com Feed -
                                                                                                   Factiva, 08/07/2018 02:45 PM)
                                                                                                   Tesla Stock's Surge Puts Convertible Bonds in the Money -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 02:45 PM)
                                                                                                   If you didn't think Elon Musk might take Tesla private, you weren't paying attention
                                                                                                   (TSLA) (Business Insider - Factiva, 08/07/2018 02:52 PM)
                                                                                                   Musk says he is considering taking Tesla private (24 Ore Radiocor-Newswire International
                                                                                                   Edition - Factiva, 08/07/2018 02:56 PM)
                                                                                                   Tesla Bonds Rally After CEO Musk Says He Is Considering Taking The Company
                                                                                                   Private -- MarketWatch (Dow Jones Institutional News - Factiva, 08/07/2018 02:56 PM)
                                                                                                   Tesla surges after Elon Musk follows up a $2 billion investment report with a tweet
                                                                                                   saying he might take the company private (TSLA) (Business Insider - Factiva, 08/07/2018
                                                                                                   02:59 PM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 03:00 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Elon Musk says he's considering taking Tesla private (CNN Wire - Factiva, 08/07/2018
                                                                                                   03:04 PM)
                                                                                                   Elon Musk jolts Wall Street with tweet on going private (Agence France Presse - Factiva,
                                                                                                   08/07/2018 03:06 PM)
                                                                                                   US Consumer Credit Pulled Back in June -- Market Talk (Dow Jones Institutional News -
                                                                                                   Factiva, 08/07/2018 03:11 PM)
                                                                                                   ELON MUSK SAYS AS A PRIVATE CO, TESLA WILL BE SMOOTHER & LESS
                                                                                                   DISRUPTIVE AND WOULD END "NEGATIVE PROPAGANDA FROM SHORTS" -
                                                                                                   TWEET (Reuters News - Factiva, 08/07/2018 03:13 PM)
                                                                                                   Elon Musk Publicly Considers Taking Tesla Private, Promises to Protect Investors
                                                                                                   (Sputnik News Service - Factiva, 08/07/2018 03:17 PM)
                                                                                                   3RD LEAD Elon Musk floats idea of taking Tesla private after Saudis buy in By
                                                                                                   Shabtai Gold, dpa (dpa International Service in English - Factiva, 08/07/2018 03:22 PM)
                                                                                                   3 Reasons Elon Musk Would Want to Take Tesla Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 03:24 PM)
                                                                                                   MW UPDATE: Tesla bonds rally after CEO Musk says he is considering taking the
                                                                                                   company private (MarketWatch - Factiva, 08/07/2018 03:25 PM)
                                                                                                   Update: Tesla Bonds Rally After CEO Musk Says He Is Considering Taking The
                                                                                                   Company Private -- MarketWatch (Dow Jones Institutional News - Factiva, 08/07/2018
                                                                                                   03:25 PM)
                                                                                                   Elon Musk Says in Tweet He Is Considering Taking Tesla Private -- Update (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/07/2018 03:31 PM)
                                                                                                   BRIEF-Tesla Blog Post From Elon Musk (Reuters News - Factiva, 08/07/2018 03:34 PM)

                                                                                                   Musk's Tweet Hurts...and Not Just Tesla Short Sellers -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 03:34 PM)
                                                                                                   Tesla CEO Elon Musk in Memo to Employees: Final Decision on Buyout Hasn't Been
                                                                                                   Made (Dow Jones Newswires Chinese (English) - Factiva, 08/07/2018 03:34 PM)
                                                                                                   Musk Memo: Shareholders Can Stay Investors in Tesla or Sell at $420 a Share (Dow
                                                                                                   Jones Newswires Chinese (English) - Factiva, 08/07/2018 03:35 PM)
                                                                                                   Musk says no final decision on taking Tesla private (Reuters News - Factiva, 08/07/2018
                                                                                                   03:35 PM)
                                                                                                   Elon Musk Explains Tesla Going-private Tweet In Blog Post -- MarketWatch (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 03:36 PM)
                                                                                                   TESLA INC - "INTENTION IS NOT TO MERGE SPACEX AND TESLA" (Reuters
                                                                                                   News - Factiva, 08/07/2018 03:36 PM)
                                                                                                   TESLA INC SAYS FINAL DECISION HAS NOT YET BEEN MADE REGARDING
                                                                                                   TAKING TESLA PRIVATE (Reuters News - Factiva, 08/07/2018 03:36 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   TESLA INC SAYS PROPOSAL TO GO PRIVATE WOULD ULTIMATELY BE
                                                                                                   FINALIZED THROUGH A VOTE OF CO'S SHAREHOLDERS (Reuters News -
                                                                                                   Factiva, 08/07/2018 03:36 PM)
                                                                                                   TESLA SAYS EITHER SHAREHOLDERS CAN STAY INVESTORS IN A PRIVATE
                                                                                                   TESLA OR THEY CAN BE BOUGHT OUT AT $420 PER SHARE (Reuters News -
                                                                                                   Factiva, 08/07/2018 03:36 PM)
                                                                                                   TESLA SAYS INTENTION IS FOR ALL TESLA EMPLOYEES TO REMAIN
                                                                                                   SHAREHOLDERS, JUST AS IS THE CASE AT SPACEX - BLOG POST FROM
                                                                                                   ELON MUSK (Reuters News - Factiva, 08/07/2018 03:36 PM)
                                                                                                   TESLA SAYS MUSK'S INTENTION IS FOR ALL TESLA EMPLOYEES TO
                                                                                                   REMAIN SHAREHOLDERS OF THE COMPANY, JUST AS IS THE CASE AT
                                                                                                   SPACEX (Reuters News - Factiva, 08/07/2018 03:36 PM)
                                                                                                   Elon Musk says going private is 'best path forward' for Tesla (CNN Wire - Factiva,
                                                                                                   08/07/2018 03:38 PM)
                                                                                                   EXTRA Tesla statement confirms plan for taking company private (dpa International
                                                                                                   Service in English - Factiva, 08/07/2018 03:38 PM)
                                                                                                   Update: Tesla's Elon Musk Expands In Blog Post On Going-private Tweet --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/07/2018 03:38 PM)
                                                                                                   Musk says no final decision on taking Tesla private (Reuters News - Factiva, 08/07/2018
                                                                                                   03:39 PM)
                                                                                                   Tesla Inc. (TSLA) Paused (quotes only) due to news pending (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 03:40 PM)
                                                                                                   3 Reasons Elon Musk Would Want to Take Tesla Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 03:40 PM)
                                                                                                   Skepticism over Elon MuskÃ¢â‚¬â„¢s Ã¢â‚¬Ëœspecial purpose fundÃ¢â‚¬â„¢ for
                                                                                                   investors if Tesla goes private; Experts say thatÃ¢â‚¬â„¢s not the way it works
                                                                                                   (MarketWatch - Factiva, 08/07/2018 03:40 PM)
                                                                                                   Update: Tesla's Elon Musk Expands In Blog Post On Going-private Tweet --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/07/2018 03:40 PM)
                                                                                                   ELON MUSK SAYS INVESTOR SUPPORT TO TAKE TESLA PRIVATE IS
                                                                                                   CONFIRMED; "ONLY REASON WHY THIS IS NOT CERTAIN IS THAT
                                                                                                   ITÃ¢â‚¬â„¢S CONTINGENT ON A SHAREHOLDER VOTE" - TWEET (Reuters
                                                                                                   News - Factiva, 08/07/2018 03:41 PM)
                                                                                                   FULL TEXT-Tesla statement on potential deal to go private (Reuters News - Factiva,
                                                                                                   08/07/2018 03:44 PM)
                                                                                                   Tesla Inc. (TSLA) Resumed Trading (Dow Jones Institutional News - Factiva, 08/07/2018
                                                                                                   03:45 PM)
                                                                                                   MW UPDATE: Tesla's Elon Musk expands in blog post on going-private tweet
                                                                                                   (MarketWatch - Factiva, 08/07/2018 03:46 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Update: Tesla's Elon Musk Expands In Blog Post On Going-private Tweet --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/07/2018 03:46 PM)
                                                                                                   3 Reasons Elon Musk Would Want to Take Tesla Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 03:47 PM)
                                                                                                   Read Elon Musk's email to Tesla employees (CNN Wire - Factiva, 08/07/2018 03:48 PM)

                                                                                                   Tesla Shares up 11% After Musk Tweets About Going Private -- Market Mover (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 03:50 PM)
                                                                                                   Tesla statement on potential deal to go private (Reuters News - Factiva, 08/07/2018 03:50
                                                                                                   PM)
                                                                                                   Tesla nears an all-time high after saying it will attempt to go private (TSLA) (Business
                                                                                                   Insider - Factiva, 08/07/2018 03:55 PM)
                                                                                                   Elon Musk says going private is 'best path forward' for Tesla (CNN Wire - Factiva,
                                                                                                   08/07/2018 03:56 PM)
                                                                                                   Elon Musk says going private is 'best path forward' for Tesla (CNN Wire - Factiva,
                                                                                                   08/07/2018 03:57 PM)
                                                                                                   Tesla CEO Musk explains rationale for taking company private (24 Ore Radiocor-
                                                                                                   Newswire International Edition - Factiva, 08/07/2018 04:03 PM)
                                                                                                   Stocks rally as Tesla nears an all-time high (Business Insider - Factiva, 08/07/2018 04:09
                                                                                                   PM)
                                                                                                   3 Reasons Elon Musk Would Want to Take Tesla Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 04:10 PM)
                                                                                                   4TH LEAD Elon Musk pushes to take Tesla private after large Saudi buy in By Shabtai
                                                                                                   Gold, dpa (dpa International Service in English - Factiva, 08/07/2018 04:11 PM)
                                                                                                   MW S&P 500 closes within 0.5% of a record as markets climb; Tesla teases Wall Street
                                                                                                   with take-private talk (MarketWatch - Factiva, 08/07/2018 04:13 PM)
                                                                                                   S&P 500 Closes Within 0.5% Of A Record As Markets Climb; Tesla Teases Wall Street
                                                                                                   With Take-private Talk -- MarketWatch (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 04:13 PM)
                                                                                                   Elon Musk says going private is 'best path forward' for Tesla (CNN Wire - Factiva,
                                                                                                   08/07/2018 04:20 PM)
                                                                                                   The Latest: Musk says going private would free Tesla (Associated Press Newswires -
                                                                                                   Factiva, 08/07/2018 04:22 PM)
                                                                                                   The Latest: Musk says going private would free Tesla (The Canadian Press - Factiva,
                                                                                                   08/07/2018 04:23 PM)
                                                                                                   The Latest: Musk says going private would free Tesla (The Canadian Press - Broadcast
                                                                                                   wire - Factiva, 08/07/2018 04:23 PM)
                                                                                                   BRIEF-Short-Seller Jim Chanos Says Short Position Is Best Thing Going For Tesla -
                                                                                                   CNBC (Reuters News - Factiva, 08/07/2018 04:34 PM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   Elon Musk's latest Twitter antics have Tesla hurtling into uncharted territory Ã¢â‚¬â€
                                                                                                   and could have legal ramifications for the CEO (Business Insider - Factiva, 08/07/2018
                                                                                                   04:35 PM)
                                                                                                   Elon Musk's latest Twitter antics have Tesla hurtling into uncharted territory Ã¢â‚¬â€
                                                                                                   and could have legal ramifications for the CEO (Business Insider - Factiva, 08/07/2018
                                                                                                   04:35 PM)
                                                                                                   Tesla Shares End Almost 11% Higher After Musk's Privitization Tweet -- Data Talk
                                                                                                   (Dow Jones Institutional News - Factiva, 08/07/2018 04:35 PM)
                                                                                                   MW UPDATE: Stocks close higher as earnings news trumps trade-war fear; Tesla
                                                                                                   soars 11% on Musk's going-private tweet (MarketWatch - Factiva, 08/07/2018 04:39 PM)

                                                                                                   Tesla, rosy corporate news send Wall Street higher (Agence France Presse - Factiva,
                                                                                                   08/07/2018 04:48 PM)
                                                                                                   Auto & Transport Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 04:50 PM)
                                                                                                   Financial Services Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 04:50 PM)
                                                                                                   Tech, Media & Telecom Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 04:50 PM)
                                                                                                   Elon Musk Says in Tweet He Is Considering Taking Tesla Private -- 3rd Update (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 04:51 PM)
                                                                                                   MW UPDATE: Tesla confirms intention to go private, sending stock up 11%
                                                                                                   (MarketWatch - Factiva, 08/07/2018 04:52 PM)
                                                                                                   Tesla confirms intention to go private, sending stock up 11%; Elon Musk tells
                                                                                                   employees he is thinking of taking Tesla private to give it more leeway to achieve its
                                                                                                   long-term goals (MarketWatch - Factiva, 08/07/2018 04:52 PM)
                                                                                                   Tesla and Hertz rally while Dentsply and Zillow fall (Associated Press Newswires -
                                                                                                   Factiva, 08/07/2018 04:59 PM)
                                                                                                   Tesla and Hertz rally while Dentsply and Zillow fall (The Canadian Press - Factiva,
                                                                                                   08/07/2018 04:59 PM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 05:00 PM)
                                                                                                   Tesla boss Musk weighs go-private deal for electric car maker (Agence France Presse -
                                                                                                   Factiva, 08/07/2018 05:01 PM)
                                                                                                   Global Equities Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 05:07 PM)
                                                                                                   Tesla Shorts Book Another Billion-Dollar Loss -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 05:07 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla Shorts Book Another Billion-Dollar Loss -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 05:07 PM)
                                                                                                   Elon Musk says going private is 'best path forward' for Tesla (CNN Wire - Factiva,
                                                                                                   08/07/2018 05:17 PM)
                                                                                                   Investors Should Be Wary of Proposed Tesla Deal -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 05:18 PM)
                                                                                                   Venezuelan Drone Incident Revs up US Security Concerns -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 05:23 PM)
                                                                                                   Business Highlights (Associated Press Newswires - Factiva, 08/07/2018 05:24 PM)
                                                                                                   Business Highlights (The Canadian Press - Factiva, 08/07/2018 05:24 PM)
                                                                                                   Tesla's Go-Private Dream Doesn't Add Up -- Heard on the Street (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 05:28 PM)
                                                                                                   TransMountain Will Cost More, Take Longer than Expected -- Market Talk (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 05:28 PM)
                                                                                                   Elon Musk says if Tesla goes private it will not merge with SpaceX (TSLA) (Business
                                                                                                   Insider - Factiva, 08/07/2018 05:29 PM)
                                                                                                   ANALYSIS-Tesla buyout would add to year of pain for short-sellers (Reuters News -
                                                                                                   Factiva, 08/07/2018 05:31 PM)
                                                                                                   Tesla's Go-Private Dream Doesn't Add Up; Tesla's wildest day yet leaves far more
                                                                                                   questions than answers (The Wall Street Journal Online - Factiva, 08/07/2018 05:31 PM)
                                                                                                   UPDATE 3-Tesla call options soar on Musk tweet, short-sellers hit (Reuters News -
                                                                                                   Factiva, 08/07/2018 05:32 PM)
                                                                                                   Elon Musk Says in Tweet He Is Considering Taking Tesla Private -- 3rd Update (Dow
                                                                                                   Jones Newswires Chinese (English) - Factiva, 08/07/2018 05:35 PM)
                                                                                                   5TH LEAD Elon Musk pushes to take Tesla private, shocking markets By Shabtai
                                                                                                   Gold, dpa (dpa International Service in English - Factiva, 08/07/2018 05:35 PM)
                                                                                                   Tesla shares soars after Elon Musk's buyout plan (Xinhua News Agency - Factiva,
                                                                                                   08/07/2018 05:38 PM)
                                                                                                   Did Elon Musk break any laws with his going-private tweet today? (MarketWatch -
                                                                                                   Factiva, 08/07/2018 05:40 PM)
                                                                                                   Tesla Bonds Steady Amid Go-Private Speculation -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 05:46 PM)
                                                                                                   Tesla Bonds Steady Amid Go-Private Speculation -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 05:46 PM)
                                                                                                   Tesla buyout would add to year of pain for short-sellers (Reuters News - Factiva,
                                                                                                   08/07/2018 05:53 PM)
                                                                                                   Alex Jones, Tesla, Primaries: Your Tuesday Evening Briefing (NYTimes.com Feed -
                                                                                                   Factiva, 08/07/2018 06:01 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla CEO drops latest bombshell with $72B buyout proposal (Associated Press
                                                                                                   Newswires - Factiva, 08/07/2018 06:02 PM)
                                                                                                   Tesla CEO drops latest bombshell with $72B buyout proposal (The Canadian Press -
                                                                                                   Factiva, 08/07/2018 06:03 PM)
                                                                                                   Elon Musk tweets a lot. This time was different (CNN Wire - Factiva, 08/07/2018 06:09
                                                                                                   PM)
                                                                                                   Apple Presses Its Privacy Commitment in Letter to Lawmakers -- Market Talk (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 06:13 PM)
                                                                                                   Experts Cast Doubt on Musk's Envisioned Buyout of Tesla (Dow Jones Institutional
                                                                                                   News - Factiva, 08/07/2018 06:13 PM)
                                                                                                   Experts Cast Doubt on Musk's Envisioned Buyout of Tesla; A special-purpose vehicle
                                                                                                   open to all shareholders would be unprecedented, lawyers say (The Wall Street Journal
                                                                                                   Online - Factiva, 08/07/2018 06:13 PM)
                                                                                                   Tesla stock leaps after Elon Musk tweets about taking electric car company private
                                                                                                   (Independent Online - Factiva, 08/07/2018 06:13 PM)
                                                                                                   After the Bell: Dow Climbs 127 Points, but Did You See Tesla? -- Barron's Blog (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 06:15 PM)
                                                                                                   Tesla call options soar on Musk tweet, short-sellers hit (Reuters News - Factiva,
                                                                                                   08/07/2018 06:18 PM)
                                                                                                   BREAKINGVIEWS-Tesla buyout would need to go short on leverage (Reuters News -
                                                                                                   Factiva, 08/07/2018 06:32 PM)
                                                                                                   Is Tesla going private? Elon Musk claims Ã¢â‚¬Ëœinvestor support is
                                                                                                   confirmedÃ¢â‚¬â„¢ after tweeting plans to privatize at $420 per share, in shock
                                                                                                   announcement that HALTED the stock for almost two hours (Mail Online - Factiva,
                                                                                                   08/07/2018 06:41 PM)
                                                                                                   Tesla boss Musk weighs go-private deal for electric carmaker (Agence France Presse -
                                                                                                   Factiva, 08/07/2018 06:42 PM)
                                                                                                   Elon Musk's Tesla Claim Could Land Him in Regulatory Trouble (Dow Jones
                                                                                                   Institutional News - Factiva, 08/07/2018 06:43 PM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/07/2018 07:00 PM)
                                                                                                   Tesla shares are frozen as Elon Musk announces a plot to buy the electric car maker
                                                                                                   back in Twitter outburst (Mail Online - Factiva, 08/07/2018 07:05 PM)
                                                                                                   Tesla's Private Test Drive; Would you lend $70 billion to buy a cash-needy car
                                                                                                   company? (The Wall Street Journal Online - Factiva, 08/07/2018 07:08 PM)
                                                                                                   Musk plan to privatize Tesla pushes $2.3 bln of debt above conversion price (Reuters
                                                                                                   News - Factiva, 08/07/2018 07:30 PM)
                                                                                                   Elon Musk Says in Tweet He Is Considering Taking Tesla Private -- 4th Update (Dow
                                                                                                   Jones Institutional News - Factiva, 08/07/2018 07:34 PM)




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                                                      Excess                                       Abnormal
                                           Market    Industry Predicted Abnormal                     Price
   Date        Volume     Price   Return   Return     Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                              Musk plan to privatize Tesla pushes $2.3 billion of debt above conversion price (Reuters
                                                                                                              News - Factiva, 08/07/2018 07:36 PM)
                                                                                                              ESPN Streaming Service Tops Modest Expectations -- Market Talk (Dow Jones
                                                                                                              Institutional News - Factiva, 08/07/2018 07:39 PM)
                                                                                                              Tesla CEO confirms intention to privatize U.S. top electric car maker (Xinhua News
                                                                                                              Agency - Factiva, 08/07/2018 07:44 PM)
                                                                                                              Elon Musk's Tesla Claim Could Land Him in Regulatory Trouble; Regulators may
                                                                                                              view the CEO's funding claim as an attempt to manipulate Tesla's stock price if he
                                                                                                              doesn't follow through (The Wall Street Journal Online - Factiva, 08/07/2018 07:46 PM)
                                                                                                              Elon Musk tweets plan to take Tesla private (thetimes.co.uk - Factiva, 08/07/2018 08:01
                                                                                                              PM)
                                                                                                              Xinhua world news summary at 0030 GMT, Aug. 8 (Xinhua News Agency - Factiva,
                                                                                                              08/07/2018 08:27 PM)
                                                                                                              UPDATE 9-Elon Musk says taking Tesla private is 'best path,' shares jump (Reuters
                                                                                                              News - Factiva, 08/07/2018 08:33 PM)
                                                                                                              Elon Musk says taking Tesla private is 'best path,' shares jump (Reuters News - Factiva,
                                                                                                              08/07/2018 08:35 PM)
                                                                                                              Elon Musk Says in Tweet He Is Considering Taking Tesla Private -- 3rd Update (Dow
                                                                                                              Jones Newswires Chinese (English) - Factiva, 08/07/2018 09:10 PM)
                                                                                                              Elon Musk's Tesla Claim Could Land Him in Regulatory Trouble (Dow Jones
                                                                                                              Newswires Chinese (English) - Factiva, 08/07/2018 09:29 PM)
                                                                                                              Salesforce Gives Block Another Title -- Market Talk (Dow Jones Institutional News -
                                                                                                              Factiva, 08/07/2018 09:46 PM)
                                                                                                              UPDATE 1-Albemarle triples quarterly profit on rising lithium sales (Reuters News -
                                                                                                              Factiva, 08/07/2018 10:26 PM)
                                                                                                              Experts Cast Doubt on Musk's Envisioned Buyout of Tesla (Dow Jones Newswires
                                                                                                              Chinese (English) - Factiva, 08/07/2018 10:56 PM)
                                                                                                              TESLA 'TO GO SOLO' Tesla boss Elon Musk considers de-listing the firm from the
                                                                                                              stock exchange (thescottishsun.co.uk - Factiva, 08/07/2018 11:14 PM)
                                                                                                              TESLA 'TO GO SOLO' Tesla boss Elon Musk considers de-listing the firm from the
                                                                                                              stock exchange (thesun.co.uk - Factiva, 08/07/2018 11:14 PM)
8/8/2018 Wed   24,571,163 $370.34 -2.43%     0.06%     -0.23%   -0.07%    -2.36% -0.92 35.71%        -$8.97   Elon Musk considers taking Tesla private (AAP Bulletins - Factiva, 08/08/2018)
                                                                                                              Elon Musk mulls taking Tesla private (Mubasher - Factiva, 08/08/2018)
                                                                                                              Elon Musk mulls taking Tesla private. (Just-Auto - Factiva, 08/08/2018)
                                                                                                              Elon Musk says he wants to take Tesla private at $US420 a share (Australian
                                                                                                              Broadcasting Corporation News - Factiva, 08/08/2018)
                                                                                                              Elon Musk says he's considering taking Tesla private (U-Wire - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Elon Musk wants to make Tesla a private company, here's why (Asian News
                                                                                                   International - Factiva, 08/08/2018)
                                                                                                   Elon Musk Wants To Take Tesla Private (NPR: Morning Edition - Factiva, 08/08/2018)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s Bombshell Tweets About Taking Tesla Private Said To Trigger
                                                                                                   SEC Review (Forbes.com - Factiva, 08/08/2018)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s Bombshell Tweets About Taking Tesla Private Trigger SEC
                                                                                                   Review (Forbes.com - Factiva, 08/08/2018)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s Bombshell Tweets About Taking Tesla Private Triggers SEC
                                                                                                   Review (Forbes.com - Factiva, 08/08/2018)
                                                                                                   Elon Musk's Twitter musings on Tesla drag Fidelity into the picture, sowing confusion
                                                                                                   (Boston Business Journal - Factiva, 08/08/2018)
                                                                                                   T. Rowe Price among Tesla shareholders trying to sort out Elon Musk's tweets
                                                                                                   (Baltimore Business Journal - Factiva, 08/08/2018)
                                                                                                   Tesla, Inc. (NASDAQ:TSLA) (U-Wire - Factiva, 08/08/2018)
                                                                                                   06:48 EDT Tesla shares worth no more than $195 based on fundamentals, says...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   07:48 EDT Musk could land in hot water with regulators over go-private tweets,...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   07:50 EDT Tesla privatization talk a way to change conversation, says UBSUBS...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   07:59 EDT Tesla going private 'feels like the right thing to do,' says...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   08:01 EDT Musk may want to take Tesla private, but Morgan Stanley questions...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   09:05 EDT Tesla $420 buyout price mentioned by Musk too low, says BairdBaird...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   09:09 EDT Tesla board says Musk opened discussion with board last week
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   09:10 EDT Tesla board says Musk opened going private discussion with board last...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   09:13 EDT Tesla board says taking 'appropriate next steps' to evaluate going...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   09:26 EDT Tesla's New York factory has assembly line, aesthetic problems,...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   11:13 EDT RBC Capital revisits idea of Celgene going private after Tesla...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   11:46 EDT Fly Intel: Today's top analyst calls on Wall StreetCheck out today's...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   13:46 EDT Tesla under pressure as analysts debate if Musk should take carmaker...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   14:07 EDT Tesla's Musk talked with SoftBank about investment, Bloomberg...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   14:13 EDT Icahn says he has 'zero thoughts' on Tesla Carl Icahn is speaking on...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   14:28 EDT Tesla held investment talks with Softbank last year, Bloomberg...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   15:46 EDT SEC examining whether Musk's statements in tweet were truthful, WSJ...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   15:52 EDT Tesla down 3% after report SEC looking into Musk 'take private' tweet
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   16:01 EDT SEC examining if Musk 'taking Tesla private' tweet was truthful, WSJ...
                                                                                                   (Theflyonthewall.com - Factiva, 08/08/2018)
                                                                                                   5 things you need to know to start the day (CE NoticiasFinancieras - Factiva, 08/08/2018)

                                                                                                   A corner of the bond market shows how Tesla could win even if Musk's new plan flops
                                                                                                   (latimes.com - Factiva, 08/08/2018)
                                                                                                   A Promise Elon Musk And Tesla Can't Break (Forbes.com - Factiva, 08/08/2018)
                                                                                                   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Tesla
                                                                                                   Motors Inc. (AfU Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ International
                                                                                                   Blue Chips - Factiva, 08/08/2018)
                                                                                                   Baillie Gifford set to be among big winners if Musk takes Tesla private (London Evening
                                                                                                   Standard - Factiva, 08/08/2018)
                                                                                                   Banks, tech lead stocks higher (The Courier - Factiva, 08/08/2018)
                                                                                                   Berenberg Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   BIG MOVERS (The Quad-City Times - Factiva, 08/08/2018)
                                                                                                   Business >> Elon Musk says he's considering taking Tesla private. PAGE A11 (Press-
                                                                                                   Telegram - Factiva, 08/08/2018)
                                                                                                   Business briefs: Musk says he's buying back Tesla (The Journal Gazette - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Buyout: At first, investors didnÃ¢â‚¬â„¢t take tweet seriously (Daily Herald - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Can Elon Musk "tweet" like this? (CE NoticiasFinancieras - Factiva, 08/08/2018)
                                                                                                   CFRA Equity Research Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   CN Banks Reportedly In Talks for Financing Tesla's Shanghai Plant (AAStocks
                                                                                                   Financial News - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Could Biotech Giant Celgene Join Tesla In The Private Markets? (Investor's Business
                                                                                                   Daily - Factiva, 08/08/2018)
                                                                                                   Dow Futures: Roku Soars Near Buy Point; This Breakout Stands Out Vs. Apple,
                                                                                                   Alphabet, Tesla, Paycom (Investor's Business Daily - Factiva, 08/08/2018)
                                                                                                   Dow Jones Futures: Tesla Falls Below Buy Point As These Top Stocks Move (Investor's
                                                                                                   Business Daily - Factiva, 08/08/2018)
                                                                                                   Dow Jones Futures: Tesla Leads These 5 Notable Movers; U.S. Sets New China Duties
                                                                                                   (Investor's Business Daily - Factiva, 08/08/2018)
                                                                                                   Elon Musk did not quarrel with questioning Tesla's withdrawal from the stock
                                                                                                   exchange - the board evaluated the proposal*** TRANSLATED *** (STT - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Elon Musk hinted at the Tesla's historic stock market - criticizes the short-sighted
                                                                                                   decision-making of the listed company*** TRANSLATED *** (STT - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Elon Musk says 'considering' taking Tesla private (EJ Insight - Factiva, 08/08/2018)
                                                                                                   Elon Musk's Tesla buyout would reengineer take-private deals (Business Daily - Factiva,
                                                                                                   08/08/2018)
                                                                                                   EquidateÃ¢â‚¬â„¢s new CEO buzzing over Tesla CEO Elon MuskÃ¢â‚¬â„¢s
                                                                                                   Ã¢â‚¬Ëœgo-privateÃ¢â‚¬â„¢ tweet (San Francisco Business Times - Factiva, 08/08/2018)

                                                                                                   Ernesto SÃƒÂ¡nchez Proal / Tesla vs. Wall Street (CE NoticiasFinancieras - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Evening Update: Trudeau not backing down in escalating dispute with Saudi Arabia;
                                                                                                   China to hit U.S. with $16-billion in additional tariffs; Also: Tesla board evaluating
                                                                                                   CEO Elon MuskÃ¢â‚¬â„¢s idea to take company private (The Globe and Mail (Breaking
                                                                                                   News) - Factiva, 08/08/2018)
                                                                                                   Evercore ISI Research Report (Capital IQ - Manual Entry, 08/08/2018)
                                                                                                   Evercore ISI Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   Forget Tesla, this Indian battery can change the fate of e-cars (The Economic Times -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Going private is the best path forward, says Elon Musk (Indo-Asian News Service -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Henrico Tesla store marks 1 year in business with Model 3 delivery jump; Tesla store
                                                                                                   in Henrico marks one year in business with jump in Model 3 deliveries; legal dispute
                                                                                                   remains (The Richmond Times-Dispatch - Factiva, 08/08/2018)
                                                                                                   How can Musk finance the "most expensive ever" out of the bag? (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/08/2018)
                                                                                                   If you think Trump is the only one critical of electric cars, think again (The Sacramento
                                                                                                   Bee - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Jefferies LLC Research Report (Capital IQ - Manual Entry, 08/08/2018)
                                                                                                   Jefferies LLC Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   JP Morgan Research Report (Capital IQ - Manual Entry, 08/08/2018)
                                                                                                   JP Morgan Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   KB Securities Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   M&A wrap: Quantum Energy, Elon Musk, Tesla, Boston Scientific, Golden Gate
                                                                                                   (Mergers & Acquisitions Online - Factiva, 08/08/2018)
                                                                                                   MARKET MOVERS (The Patriot Ledger - Factiva, 08/08/2018)
                                                                                                   MARKET ROUNDUP; Stocks rise again, led by industrials (Los Angeles Times -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Millennium BCP Research Report (Capital IQ - Manual Entry, 08/08/2018)
                                                                                                   More questions about Tesla's Buffalo plant, report says (Buffalo Business First Online -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/08/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   Morning Update: U.S. refuses to back Canada in Saudi dispute, teaching schools facing
                                                                                                   withdrawal as Saudi students withdrawn; Also: Elon Musk tweets that he may take
                                                                                                   Tesla private, shares jump 11 per cent (The Globe and Mail (Breaking News) - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk aims to free Tesla from investors' Ã¢â‚¬Ëœshort-term thinking' (Buffalo News -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Musk considering taking Tesla private (Augusta Chronicle - Factiva, 08/08/2018)
                                                                                                   Musk 'considering' taking Tesla private in $80bn deal; Unusual move (Investment Week -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Musk 'considering' taking Tesla private in $80bn deal; Unusual move (Investment Week -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Musk drives Tesla shares higher with tweet that he may take auto maker private (The
                                                                                                   Globe and Mail - Factiva, 08/08/2018)
                                                                                                   Musk drops bombshell with $72B buyout proposal (Daily Herald - Factiva, 08/08/2018)
                                                                                                   Musk Has a Bizarre Plan For Tesla (The Wall Street Journal - Factiva, 08/08/2018)
                                                                                                   Musk has bold plan: Take Tesla private (The San Francisco Chronicle - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk looking to take Tesla private, proposing buyout (Review Times - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk looking to take Tesla private, proposing buyout (The Courier - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   Musk Looks to Take Tesla Private --- Tweet on what would be a mammoth buyout
                                                                                                   surprises investors, drives stock up 11% (The Wall Street Journal - Factiva, 08/08/2018)

                                                                                                   Musk may take Tesla private (Electronics Weekly Online - Factiva, 08/08/2018)
                                                                                                   MUSK MAY TAKE TESLA PRIVATE; CEO DECLARES HE HAS FUNDING FOR
                                                                                                   PROPOSAL; COMPANY'S SHARE PRICE SPIKES MORE THAN 10 PERCENT
                                                                                                   (San Jose Mercury News - Factiva, 08/08/2018)
                                                                                                   Musk mulls taking Tesla private in shareholder deal CEO calls the move best way
                                                                                                   forward (Buffalo News - Factiva, 08/08/2018)
                                                                                                   Musk musing about private Tesla halts shares (Daily Press - Factiva, 08/08/2018)
                                                                                                   Musk musing about private Tesla halts shares (Orlando Sentinel - Factiva, 08/08/2018)
                                                                                                   Musk musing about private Tesla halts shares (The Capital (Annapolis) - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk plans $72 billion Tesla buyout; Firm's stock climbs after announcement (Daily
                                                                                                   Post - Factiva, 08/08/2018)
                                                                                                   Musk Proposes Buyout; CEO Tweets He's Considering Buying Back All Tesla Stock
                                                                                                   For $72B; Electric Carmaker (The Hartford Courant - Factiva, 08/08/2018)
                                                                                                   Musk reveals plans to take Tesla private (The Daily Telegraph - Factiva, 08/08/2018)
                                                                                                   Musk says he could take Tesla private (Calgary Herald - Factiva, 08/08/2018)
                                                                                                   Musk says he could take Tesla private (Montreal Gazette - Factiva, 08/08/2018)
                                                                                                   Musk says he could take Tesla private (Regina Leader Post - Factiva, 08/08/2018)
                                                                                                   Musk says he could take Tesla private (Saskatoon Star Phoenix - Factiva, 08/08/2018)
                                                                                                   Musk says he could take Tesla private (The London Free Press - Factiva, 08/08/2018)
                                                                                                   Musk says he could take Tesla private (Windsor Star - Factiva, 08/08/2018)
                                                                                                   Musk says he could take Tesla private, stunning investors (Vancouver Sun - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk says he could take Tesla private, stuns investors (Edmonton Journal - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk says he could take Tesla private; Saudis Take Stake (National Post - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk Says He May Take Tesla Private, Shares Roar (U-Wire - Factiva, 08/08/2018)
                                                                                                   Musk shocks Wall Street before possible exit of Tesla (CE NoticiasFinancieras - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk stirs up Wall St. (USA Today - Factiva, 08/08/2018)
                                                                                                   Musk stirs up Wall St. Tesla CEO tweets that he may take company private (Asheville
                                                                                                   Citizen-Times - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Musk stirs up Wall St. Tesla CEO tweets that he may take company private (Clarion-
                                                                                                   Ledger - Factiva, 08/08/2018)
                                                                                                   Musk stirs up Wall St. Tesla CEO tweets that he may take company private (Journal &
                                                                                                   Courier - Factiva, 08/08/2018)
                                                                                                   Musk stirs up Wall St. Tesla CEO tweets that he may take company private (Reno
                                                                                                   Gazette-Journal - Factiva, 08/08/2018)
                                                                                                   Musk stirs up Wall St. Tesla CEO tweets that he may take company private (Statesman
                                                                                                   Journal - Factiva, 08/08/2018)
                                                                                                   Musk stirs up Wall St. Tesla CEO tweets that he may take company private (The
                                                                                                   Tallahassee Democrat - Factiva, 08/08/2018)
                                                                                                   Musk stuns Tesla investors, says company may go private (San Francisco Chronicle: Web
                                                                                                   Edition - Factiva, 08/08/2018)
                                                                                                   Musk tells Twitter followers of plan to take Tesla carmaker private (The Daily Telegraph
                                                                                                   - Factiva, 08/08/2018)
                                                                                                   Musk tweet on taking Tesla private roils market (The Washington Post - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk tweets about taking Tesla private as Saudis invest $2bn (The Irish Times - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk tweets plan to take Tesla private (The Times - Factiva, 08/08/2018)
                                                                                                   Musk wants Tesla to go private at $420 per share (Indo-Asian News Service - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk weighs taking Tesla private for; possibly; $72 Billion; Electric car maker's CEO
                                                                                                   says funding secured; for one of richest buyouts (San Diego Union-Tribune - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Musk weighs taking Tesla private, and shares surge (The Detroit News - Factiva,
                                                                                                   08/08/2018)
                                                                                                   MUSK'S PRIVATE MOVE IS VERY PUBLIC; Tweet from Tesla CEO suggesting a
                                                                                                   buyout baffles Wall Street analysts. (Los Angeles Times - Factiva, 08/08/2018)
                                                                                                   Musk's Tesla tweets halt shares CEO's musings on taking the company private send
                                                                                                   stock soaring, may cross legal line (Chicago Tribune - Factiva, 08/08/2018)
                                                                                                   Musk's tweet on Tesla creates Wall Street stir; Post said company could go private, but
                                                                                                   was it real? (Florida Today - Factiva, 08/08/2018)
                                                                                                   NATION (The Albany Herald - Factiva, 08/08/2018)
                                                                                                   Nation Briefs: Tesla CEO drops latest bombshell with $72B buyout proposal (St. Louis
                                                                                                   Post-Dispatch - Factiva, 08/08/2018)
                                                                                                   Nation/world business briefs (Richmond Times-Dispatch: Web Edition - Factiva,
                                                                                                   08/08/2018)
                                                                                                   New Tesla bombshell: $72B buyout proposal (Record-Journal - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Note to Elon: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list. (Chicago Business Journal Online - Factiva, 08/08/2018)
                                                                                                   Note to Elon: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list. (L.A. Biz - Factiva, 08/08/2018)
                                                                                                   Note to Elon: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list. (New York Business Journal Online - Factiva, 08/08/2018)
                                                                                                   Now hiring: Tesla begins staffing effort for new Gigafactory in China (Pacific Business
                                                                                                   News Online - Factiva, 08/08/2018)
                                                                                                   P.T. Barnum or Albert Einstein? Two views on Musk's plan to take Tesla private
                                                                                                   (latimes.com - Factiva, 08/08/2018)
                                                                                                   Piper Sandler Companies Research Report (Capital IQ - Manual Entry, 08/08/2018)
                                                                                                   Piper Sandler Companies Research Report (Eikon - Manual Entry, 08/08/2018)
                                                                                                   Report: CEO Elon Musk has bizarre plan for Tesla (EFE News Service - Factiva,
                                                                                                   08/08/2018)
                                                                                                   SAFETY GROUP GIVES TESLA MIXED RESULTS IN DRIVER-ASSIST TESTING;
                                                                                                   MODEL 3 AND MODEL S SCORED HIGH FOR STAYING IN LANES, BUT NEED
                                                                                                   SOME WORK ON BRAKING (San Jose Mercury News - Factiva, 08/08/2018)
                                                                                                   SAUDI BET ON TESLA (The Sun - Factiva, 08/08/2018)
                                                                                                   SAUDI BET ON TESLA (The Sun - Factiva, 08/08/2018)
                                                                                                   Saudi invests $2bn in Tesla as founder Elon Musk mulls taking it private
                                                                                                   (ArabianBusiness.com - Factiva, 08/08/2018)
                                                                                                   Saudi sovereign wealth fund acquires significant stake in Tesla shares (Al Arabiya -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Scottish Mortgage boosts FTSE as Tesla surges (Citywire - Factiva, 08/08/2018)
                                                                                                   SEC Inquires About Elon Musk's Tweet On Taking Tesla Private: Reports (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/08/2018)
                                                                                                   SEC Inquires About Elon Musk's Tweet On Taking Tesla Private: Reports (RTT News -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   SEC looking into Tesla after Elon Musk's tweets, reports say (CNET News.com -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Shares in the American electric car-making company Tesla have closed almost... (Radio
                                                                                                   New Zealand News - Factiva, 08/08/2018)
                                                                                                   Short sellers burn, financial pundits fulminate as Elon Musk announces plan to take
                                                                                                   Tesla private (CHARGED Electric Vehicles Magazine - Factiva, 08/08/2018)
                                                                                                   Shorts sellers burn, financial pundits fulminate as Elon Musk announces plan to take
                                                                                                   Tesla private (CHARGED Electric Vehicles Magazine - Factiva, 08/08/2018)
                                                                                                   SSIF Tradeville SA Research Report (Capital IQ - Manual Entry, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   Statement from the following members of Tesla's Board of Directors: Brad Buss,
                                                                                                   Robyn Denholm, Ira Ehrenpreis, Antonio Gracias, Linda Johnson Rice, and James
                                                                                                   Murdoch (Contify Automotive News - Factiva, 08/08/2018)
                                                                                                   Stock in Tesla Surges as Musk Floats Taking Carmaker Private (The New York Times -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Stocks - Disney, Snap, Tesla Slide Pre-market; Papa JohnÃ¢â‚¬â„¢s Tumbles; CVS
                                                                                                   Jumps (Investing.com - Factiva, 08/08/2018)
                                                                                                   Tasteless Tesla (The Times - Factiva, 08/08/2018)
                                                                                                   Tasteless Tesla (The Times - Factiva, 08/08/2018)
                                                                                                   Tasteless Tesla (The Times - Factiva, 08/08/2018)
                                                                                                   Tasteless Tesla [...] (The Times - Factiva, 08/08/2018)
                                                                                                   Tencent-backed electric car start-up NIO to file prospectus in September for planned
                                                                                                   US listing (scmp.com - Factiva, 08/08/2018)
                                                                                                   Tesla (TSLA) Stock Quotes, Company News And Chart Analysis (Investor's Business
                                                                                                   Daily - Factiva, 08/08/2018)
                                                                                                   Tesla board endorses CEO Elon Musk's stunning plan to consider going private (USA
                                                                                                   Today Online - Factiva, 08/08/2018)
                                                                                                   Tesla board evaluating CEO's bid to take company private (Postmedia Breaking News -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Tesla board is evaluating Elon Musk's plan to take the company private (latimes.com -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Tesla board says Musk started going-private talks last week (CNET News.com - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla Board To Evaluate Elon's Offer For Taking Company Private - Quick Facts (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/08/2018)
                                                                                                   Tesla Board To Evaluate Elon's Offer For Taking Company Private - Quick Facts (RTT
                                                                                                   News - Factiva, 08/08/2018)
                                                                                                   Tesla boss Musk weighs go-private deal for electric carmaker (Macau Business Daily -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Tesla CEO drops bombshell with buyout proposal; Tesla CEO Elon Musk mulling
                                                                                                   potential $72B buyout of electric car maker (Rocky Mount Telegram - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla CEO Elon Musk startled Wall Street by saying he may be preparing to take his
                                                                                                   struggling electric car marker private. (CBS News: CBS This Morning - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla CEO makes $72-billion pitch to take electric-car maker private (Victoria Times
                                                                                                   Colonist - Factiva, 08/08/2018)
                                                                                                   Tesla CEO suggests buyouts (The Florida Times-Union - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla CEO weigh taking his company private (Omaha World-Herald: Web Edition
                                                                                                   Articles - Factiva, 08/08/2018)
                                                                                                   Tesla chief, Musk, suggests company could go private (The Daily Gazette - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla considers Elon Musk's proposal to make the car company private (New
                                                                                                   Electronics - Factiva, 08/08/2018)
                                                                                                   Tesla could stop trading on the stock market (CE NoticiasFinancieras - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla drops $72B buyout bombshell (Charleston Gazette - Factiva, 08/08/2018)
                                                                                                   Tesla looks to take the company private, leading stocks to surge (Business Review USA -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Tesla management already knew about Musk's plans (CE NoticiasFinancieras - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla Once Jumps Over 13% on CE's Proposed Privatization at Premium (AAStocks
                                                                                                   Financial News - Factiva, 08/08/2018)
                                                                                                   Tesla public or Tesla private. Which way forward? (Daily News Egypt - Factiva,
                                                                                                   08/08/2018)
                                                                                                   TESLA SHARES FROZEN AS MUSK PLOTS TO BUY IT BACK (Daily Mail -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Tesla shares frozen as Musk plots to buy it back (Scottish Daily Mail - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla shares halted after Musk tweet (South Florida Sun-Sentinel - Factiva, 08/08/2018)

                                                                                                   Tesla shares on the rise as Musk tweets a plan (The Toronto Star - Factiva, 08/08/2018)

                                                                                                   Tesla shares soar after Musk says he's considering taking it private (St. Louis Business
                                                                                                   Journal Online - Factiva, 08/08/2018)
                                                                                                   Tesla shares soar after Musk says he's considering taking it private (Triangle Business
                                                                                                   Journal Online - Factiva, 08/08/2018)
                                                                                                   Tesla shares soar following Musk`s tweet on plans to take company private - media
                                                                                                   (Unian - Factiva, 08/08/2018)
                                                                                                   TESLA SHARES TAKE OFF AS MUSK MULLS BUYOUT (City AM - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla shocker Musk stuns Street, wants to take co. private (New York Post - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla shorts take another hit from Musk tweet (Global Investor (incorporating
                                                                                                   International Securities Finance) - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   Tesla soars after Musk tweets about taking carmaker private (St. Paul Pioneer Press -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Tesla Solar Roof tiles aren't coming out beautiful enough for Elon Musk, report claims
                                                                                                   (Mashable.com - Factiva, 08/08/2018)
                                                                                                   Tesla starts hiring for Shanghai factory (German Collection - Factiva, 08/08/2018)
                                                                                                   Tesla stock surges after Musk tweet (Boston Herald - Factiva, 08/08/2018)
                                                                                                   Tesla suspends shares after Elon Musk tweets he wants to take the carmaker private
                                                                                                   (Daily Herald - Factiva, 08/08/2018)
                                                                                                   Tesla suspends share-trading after Elon Musk tweets he wants to take the carmaker
                                                                                                   private (Washington Post.com - Factiva, 08/08/2018)
                                                                                                   Tesla 'to go solo' (The Sun - Factiva, 08/08/2018)
                                                                                                   Tesla tweet by Musk is raising legal issues; CEO hints at company going private; stock
                                                                                                   soars 11% (Detroit Free Press - Factiva, 08/08/2018)
                                                                                                   Tesla up as Musk weighs taking it private (Irish Independent - Factiva, 08/08/2018)
                                                                                                   Tesla wins for looks (Autocar - Factiva, 08/08/2018)
                                                                                                   Tesla's board of directors analyzes its withdrawal from the stock market (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/08/2018)
                                                                                                   Tesla's board of directors analyzes its withdrawal from the stock market (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/08/2018)
                                                                                                   Tesla's Board Responds To Musk's Tweet Thunderstorm On Going Private (Investor's
                                                                                                   Business Daily - Factiva, 08/08/2018)
                                                                                                   Tesla's Board Responds To Musk's Tweet Thunderstorm On Going Private (Investor's
                                                                                                   Business Daily - Factiva, 08/08/2018)
                                                                                                   Tesla's board says Musk started go-private talks last week; Tesla's board says Musk
                                                                                                   started go-private talks last week (The Daily Star - Factiva, 08/08/2018)
                                                                                                   Tesla's Elon Musk hints at giving Wall Street the slip (Los Angeles Times - Factiva,
                                                                                                   08/08/2018)
                                                                                                   Tesla's Executive Board evaluated Muski's proposal to withdraw from the stock
                                                                                                   exchange*** TRANSLATED *** (STT - Factiva, 08/08/2018)
                                                                                                   Tesla's Executive Board evaluated Muski's proposal to withdraw from the stock
                                                                                                   exchange*** TRANSLATED *** (STT - Factiva, 08/08/2018)
                                                                                                   Tesla's Private Test Drive (The Wall Street Journal - Factiva, 08/08/2018)
                                                                                                   Tesla's Unconventional Road to the Private Market (The Deal - Factiva, 08/08/2018)
                                                                                                   Tests uncover flaws in electric car safety (Shanghai Daily - Factiva, 08/08/2018)
                                                                                                   The Daily Deal: Musk's New Nemeses; Tariffs vs. Capex (The Deal - Factiva, 08/08/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   The Tesla Board of Directors analyzes its exit from Wall Street (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   The United States Penalizes Moscow For Chemical Weapons Act On British Soil;...
                                                                                                   (CNN International: Quest Means Business - Factiva, 08/08/2018)
                                                                                                   Tuesday's Energy Stocks: SCANA down 5.12% on downgrade, Tesla up 10.99% (SNL
                                                                                                   Energy Finance Daily - Factiva, 08/08/2018)
                                                                                                   UPDATE: Tesla shares jump 11% after CEO Musk confirms privatization interest
                                                                                                   (SNL Energy Finance Daily - Factiva, 08/08/2018)
                                                                                                   UPDATE: Tesla shares jump 11% after CEO Musk confirms privatization interest
                                                                                                   (SNL Financial Services Daily - Factiva, 08/08/2018)
                                                                                                   UPDATE: Tesla shares jump 11% after CEO Musk confirms privatization interest
                                                                                                   (SNL Power Daily with Market Report - Factiva, 08/08/2018)
                                                                                                   US: Elon Musk considers taking Tesla private (Australian Associated Press - Financial
                                                                                                   News - Factiva, 08/08/2018)
                                                                                                   Wednesday Papers: Elon Musk declares plan to take Tesla private (Citywire - Factiva,
                                                                                                   08/08/2018)
                                                                                                   What you need to know about Elon Musk's $1.4-billion Tesla tweet (Postmedia Breaking
                                                                                                   News - Factiva, 08/08/2018)
                                                                                                   Why Elon Musk can get away with tweeting about Tesla's business plans (Mashable.com
                                                                                                   - Factiva, 08/08/2018)
                                                                                                   With "tuitazo", Musk outlines the privatization of Tesla (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/08/2018)
                                                                                                   Germany, California, Tesla: Your Wednesday Briefing (NYTimes.com Feed - Factiva,
                                                                                                   08/08/2018 12:18 AM)
                                                                                                   Tesla shares climb after Elon Musk tweets he will take the company private (The
                                                                                                   Telegraph Online - Factiva, 08/08/2018 12:19 AM)
                                                                                                   Tesla Shorts Book Another Billion-Dollar Loss -- Market Talk (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/08/2018 12:21 AM)
                                                                                                   Mutual Funds and ETFs Own 31.8% of Tesla -- Market Talk (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/08/2018 12:38 AM)
                                                                                                   PRESS DIGEST- Wall Street Journal - Aug 8 (Reuters News - Factiva, 08/08/2018 12:56
                                                                                                   AM)
                                                                                                   Elon Musk's Tesla buyout would reengineer take-private deals (Reuters News - Factiva,
                                                                                                   08/08/2018 01:00 AM)
                                                                                                   INSIGHT-Inside Tesla's troubled New York solar factory (Reuters News - Factiva,
                                                                                                   08/08/2018 01:00 AM)
                                                                                                   This ETF Has Almost 12% of its Assets in Tesla -- Market Talk > ARKQ TSLA (Dow
                                                                                                   Jones Newswires Chinese (English) - Factiva, 08/08/2018 01:02 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Asian shares mixed after new US tariffs put on China exports (Associated Press
                                                                                                   Newswires - Factiva, 08/08/2018 01:10 AM)
                                                                                                   PRESS DIGEST-New York Times business news - Aug 8 (Reuters News - Factiva,
                                                                                                   08/08/2018 01:18 AM)
                                                                                                   Heard on the Street: Musk Has a Bizarre Plan For Tesla -- WSJ (Dow Jones Institutional
                                                                                                   News - Factiva, 08/08/2018 02:32 AM)
                                                                                                   Musk Looks to Take Tesla Private -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/08/2018 02:32 AM)
                                                                                                   Two Little Words Raise Big Questions -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/08/2018 02:32 AM)
                                                                                                   Wednesday briefing: Elon Musk Ã¢â‚¬â€œ I'll take Tesla private (The Guardian -
                                                                                                   Factiva, 08/08/2018 02:39 AM)
                                                                                                   Experts doubt Elon MuskÃ¢â‚¬â„¢s ability to pull off a buyout of Tesla; A special-
                                                                                                   purpose vehicle that is accessible to all shareholders would be unprecedented, lawyers
                                                                                                   said (MarketWatch - Factiva, 08/08/2018 03:21 AM)
                                                                                                   Elon Musk announces he is 'considering' taking Tesla private (London Evening Standard
                                                                                                   Online - Factiva, 08/08/2018 03:26 AM)
                                                                                                   Tesla boss Musk weighs go-private deal for electric carmaker (Agence France Presse -
                                                                                                   Factiva, 08/08/2018 03:47 AM)
                                                                                                   Elon Musk takes Tesla on a strange route to a potentially smart idea, yet again; Maybe
                                                                                                   Musk will be better off leading a private company, but this is not the way to get there
                                                                                                   (MarketWatch - Factiva, 08/08/2018 04:19 AM)
                                                                                                   A Tesla buyout would be the largest in history Ã¢â‚¬â€ by a wide margin; If Elon
                                                                                                   Musk gets his way, Tesla could go private -- and a deal would dwarf previous take-
                                                                                                   private deals (MarketWatch - Factiva, 08/08/2018 04:19 AM)
                                                                                                   Tesla short sellers walloped after Musk talks going private; Tesla going to $420 a share
                                                                                                   could send short sellers 'up in smoke,Ã¢â‚¬â„¢ firm says (MarketWatch - Factiva,
                                                                                                   08/08/2018 04:19 AM)
                                                                                                   Elon Musk explained his going-private tweet to Tesla employees with this email; Musk
                                                                                                   says going private Ã¢â‚¬Ëœis all about creating the environment for Tesla to operate
                                                                                                   bestÃ¢â‚¬â„¢ (MarketWatch - Factiva, 08/08/2018 04:20 AM)
                                                                                                   TeslaÃ¢â‚¬â„¢s Elon Musk tweets he is Ã¢â‚¬ËœconsideringÃ¢â‚¬â„¢ taking company
                                                                                                   private; Ã¢â‚¬ËœFunding securedÃ¢â‚¬â„¢ at $420, CEO says on Twitter
                                                                                                   (MarketWatch - Factiva, 08/08/2018 04:20 AM)
                                                                                                   Newspaper headline roundup (24 Ore Radiocor-Newswire International Edition - Factiva,
                                                                                                   08/08/2018 04:37 AM)
                                                                                                   These 5 tech stocks are in a dot-com-like bubble (and they arenÃ¢â‚¬â„¢t all
                                                                                                   FAANGs); Beware of Amazon, Netflix, Salesforce, Tesla and Spotify (MarketWatch -
                                                                                                   Factiva, 08/08/2018 04:44 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Tesla bombshell; Tinder magic; Fox results (CNN Wire - Factiva, 08/08/2018 05:05 AM)

                                                                                                   Elon Musk Fast Facts (CNN Wire - Factiva, 08/08/2018 05:19 AM)
                                                                                                   Elon Musk net worth: The eye-watering amount the CEO of SpaceX and Tesla is
                                                                                                   actually worth (express.co.uk - Factiva, 08/08/2018 05:22 AM)
                                                                                                   Ohio Special Election, Tesla, Alex Jones: Your Wednesday Briefing (NYTimes.com Feed
                                                                                                   - Factiva, 08/08/2018 05:23 AM)
                                                                                                   Tesla Shares Surge as Elon Musk Mulls Making Firm Private (Sputnik News Service -
                                                                                                   Factiva, 08/08/2018 05:30 AM)
                                                                                                   Call of the day: Tesla shares are headed for $420 regardless; Critical information for
                                                                                                   the U.S. trading day (MarketWatch - Factiva, 08/08/2018 05:45 AM)
                                                                                                   Elon Musk could face probe from regulators if plan to take company private does not
                                                                                                   go ahead (London Evening Standard Online - Factiva, 08/08/2018 05:50 AM)
                                                                                                   RPT-INSIGHT-Inside Tesla's troubled New York solar factory (Reuters News - Factiva,
                                                                                                   08/08/2018 06:00 AM)
                                                                                                   Tesla's Share Rally May Ease Bond Repayment Pressure: AJ Bell -- Market Talk (Dow
                                                                                                   Jones Institutional News - Factiva, 08/08/2018 06:22 AM)
                                                                                                   Tesla's Share Rally May Ease Bond Repayment Pressure: AJ Bell -- Market Talk (Dow
                                                                                                   Jones Institutional News - Factiva, 08/08/2018 06:22 AM)
                                                                                                   Elon Musk Tweets And Blogs About Taking Tesla Private At $420, Claims To Have
                                                                                                   Secured Funding (BW Businessworld - Factiva, 08/08/2018 06:24 AM)
                                                                                                   DealBook Briefing: How on Earth Will Tesla Go Private? (NYTimes.com Feed - Factiva,
                                                                                                   08/08/2018 06:26 AM)
                                                                                                   National Audio 6:45 AM ET (The Canadian Press - Broadcast wire - Factiva, 08/08/2018
                                                                                                   06:41 AM)
                                                                                                   Tesla board statement raises more questions about Elon MuskÃ¢â‚¬â„¢s go-private
                                                                                                   plan (MarketWatch - Factiva, 08/08/2018 06:56 AM)
                                                                                                   RPT-ANALYSIS-Tesla buyout would add to year of pain for short-sellers (Reuters
                                                                                                   News - Factiva, 08/08/2018 07:00 AM)
                                                                                                   RPT--Elon Musk's Tesla buyout would reengineer take-private deals (Reuters News -
                                                                                                   Factiva, 08/08/2018 07:00 AM)
                                                                                                   Tesla share trading HALTED after Elon MuskÃ¢â‚¬â„¢s Twitter announcement sends
                                                                                                   price SOARING (express.co.uk - Factiva, 08/08/2018 07:00 AM)
                                                                                                   U.S. Mortgage-Application Activity Hits Fresh Low -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 07:00 AM)
                                                                                                   The Morning Risk Report: Musk's Go-Private Tweets Could Bring Regulatory
                                                                                                   Scrutiny (Dow Jones Institutional News - Factiva, 08/08/2018 07:20 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Fears of No-Deal Brexit Sting Pound; EUR/GBP Above 0.90 -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 07:25 AM)
                                                                                                   Experts Cast Doubt on MuskÃ¢â‚¬â„¢s Envisioned Buyout of Tesla (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 07:30 AM)
                                                                                                   Elon Musk mulls taking Tesla private (MarketLine News and Comment - Factiva,
                                                                                                   08/08/2018 07:33 AM)
                                                                                                   10 things you need to know before the opening bell (Business Insider - Factiva, 08/08/2018
                                                                                                   07:33 AM)
                                                                                                   10 things you need to know before the opening bell (SNAP, TSLA, DIS, CRM) (Business
                                                                                                   Insider - Factiva, 08/08/2018 07:33 AM)
                                                                                                   The 10-Point: The Wall Street Journal's Guide to the Day's Top News (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 07:34 AM)
                                                                                                   Tesla spikes on Musk take-private tweet, report on Saudi investment (SeeNews Deals -
                                                                                                   Factiva, 08/08/2018 07:38 AM)
                                                                                                   Musk tweet could see fund manager battle over Tesla settled (Financial Adviser -
                                                                                                   Magazine and Web Content - Factiva, 08/08/2018 07:50 AM)
                                                                                                   BUZZ-U.S. STOCKS ON THE MOVE-Michael Kors, Papa John's, Tesla (Reuters News
                                                                                                   - Factiva, 08/08/2018 07:53 AM)
                                                                                                   JP Morgan Raises Tesla Price Target But Stays Underweight In Case Shares Trade On
                                                                                                   Fundamentals Again -- MarketWatch (Dow Jones Institutional News - Factiva, 08/08/2018
                                                                                                   07:56 AM)
                                                                                                   MW UPDATE: JP Morgan raises Tesla price target but stays underweight in case
                                                                                                   shares trade on fundamentals again (MarketWatch - Factiva, 08/08/2018 07:58 AM)
                                                                                                   Tesla privatisation plans: Why is Tesla going private? Will Tesla change in private?
                                                                                                   (express.co.uk - Factiva, 08/08/2018 07:58 AM)
                                                                                                   Update: JP Morgan Raises Tesla Price Target But Stays Underweight In Case Shares
                                                                                                   Trade On Fundamentals Again -- MarketWatch (Dow Jones Institutional News - Factiva,
                                                                                                   08/08/2018 07:58 AM)
                                                                                                   LIVE MARKETS-Tesla: Gargantuans at the gate (Reuters News - Factiva, 08/08/2018
                                                                                                   07:59 AM)
                                                                                                   MW UPDATE: A Tesla buyout would be the largest in history -- by a wide margin
                                                                                                   (MarketWatch - Factiva, 08/08/2018 08:19 AM)
                                                                                                   MW UPDATE: Elon Musk takes Tesla on a strange route to a potentially smart idea,
                                                                                                   yet again (MarketWatch - Factiva, 08/08/2018 08:19 AM)
                                                                                                   MW UPDATE: Tesla short sellers walloped after Musk talks going private
                                                                                                   (MarketWatch - Factiva, 08/08/2018 08:19 AM)
                                                                                                   MW UPDATE: Elon Musk explained his going-private tweet to Tesla employees with
                                                                                                   this email (MarketWatch - Factiva, 08/08/2018 08:20 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   MW UPDATE: Tesla's Elon Musk tweets he is 'considering' taking company private
                                                                                                   (MarketWatch - Factiva, 08/08/2018 08:20 AM)
                                                                                                   JP Morgan raises Tesla price target but stays underweight in case shares trade on
                                                                                                   funda (Dow Jones Newswires Chinese (English) - Factiva, 08/08/2018 08:23 AM)
                                                                                                   RPT-Musk plan to privatize Tesla pushes $2.3 bln of debt above conversion price
                                                                                                   (Reuters News - Factiva, 08/08/2018 08:23 AM)
                                                                                                   Tesla Is Maintained at Hold by Jefferies (Dow Jones Institutional News - Factiva,
                                                                                                   08/08/2018 08:24 AM)
                                                                                                   Tesla Is Maintained at Hold by Jefferies (Dow Jones Newswires Chinese (English) -
                                                                                                   Factiva, 08/08/2018 08:25 AM)
                                                                                                   Tesla Price Target Raised to $360.00/Share From $250.00 by Jefferies (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/08/2018 08:25 AM)
                                                                                                   Inside Tesla's troubled New York solar factory (Reuters News - Factiva, 08/08/2018 08:26
                                                                                                   AM)
                                                                                                   Elon Musk's Tesla buyout would reengineer take-private deals (Reuters News - Factiva,
                                                                                                   08/08/2018 08:28 AM)
                                                                                                   Hot Stocks to Watch: TSLA (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                   08/08/2018 08:28 AM)
                                                                                                   Tesla stock's surge puts convertible bonds in the money; Elon Musk's tweet has had a
                                                                                                   salutary effect on his company's financing position - particularly its $2.3bn in two
                                                                                                   convertible bonds (Financial News - Factiva, 08/08/2018 08:31 AM)
                                                                                                   MW UPDATE: These 5 tech stocks are in a dot-com-like bubble (and they aren't all
                                                                                                   FAANGs) (MarketWatch - Factiva, 08/08/2018 08:44 AM)
                                                                                                   The Boss Tweets His Way Into Another Storm (MediaPost.com - Factiva, 08/08/2018
                                                                                                   08:52 AM)
                                                                                                   Two Huge Questions Hang Over MuskÃ¢â‚¬â„¢s $70 Billion Deal for Tesla
                                                                                                   (NYTimes.com Feed - Factiva, 08/08/2018 08:52 AM)
                                                                                                   Wall Street sees funding hurdle to Musk's plan to take Tesla private (Reuters News -
                                                                                                   Factiva, 08/08/2018 08:58 AM)
                                                                                                   TeslaÃ¢â‚¬â„¢s current fundamentals donÃ¢â‚¬â„¢t support a valuation
                                                                                                   Ã¢â‚¬Ëœanywhere closeÃ¢â‚¬â„¢ to $420, one bear says (TSLA) (Business Insider -
                                                                                                   Factiva, 08/08/2018 08:59 AM)
                                                                                                   Electric Vehicle Market Grows With Sustained Government Support (PR Newswire -
                                                                                                   Factiva, 08/08/2018 09:00 AM)
                                                                                                   Press Release: Statement from the following members of Tesla's Board of Directors:
                                                                                                   Brad Buss, Robyn Denholm, Ira Ehrenpreis, Antonio Gracias, Linda Johnson Rice, and
                                                                                                   James Murdoch (Dow Jones Institutional News - Factiva, 08/08/2018 09:00 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Statement from the following members of Tesla's Board of Directors: Brad Buss,
                                                                                                   Robyn Denholm, Ira Ehrenpreis, Antonio Gracias, Linda Johnson Rice, and James
                                                                                                   Murdoch (GlobeNewswire - Factiva, 08/08/2018 09:00 AM)
                                                                                                   Wall Street sees funding hurdle to Musk's plan to take Tesla private (Reuters News -
                                                                                                   Factiva, 08/08/2018 09:04 AM)
                                                                                                   Tesla Board Met 'several Times' To Evaluate CEO Musk's Take-private Idea --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/08/2018 09:12 AM)
                                                                                                   Tesla's board says Musk started go-private talks last week (Reuters News - Factiva,
                                                                                                   08/08/2018 09:12 AM)
                                                                                                   BRIEF-Tesla Inc - Elon Opened A Discussion With Board About Taking Company
                                                                                                   Private Last Week (Reuters News - Factiva, 08/08/2018 09:18 AM)
                                                                                                   BUZZ-U.S. STOCKS ON THE MOVE-Snap, Tesla, Michael Kors, Papa John's (Reuters
                                                                                                   News - Factiva, 08/08/2018 09:18 AM)
                                                                                                   LIVE MARKETS-Wall St futures barely moving, point to soft open (Reuters News -
                                                                                                   Factiva, 08/08/2018 09:21 AM)
                                                                                                   Stocks to Watch: Tesla, Disney, Papa John's, Snap, Wendy's, CVS, Salesforce.com
                                                                                                   (Dow Jones Institutional News - Factiva, 08/08/2018 09:24 AM)
                                                                                                   Stocks to Watch: Tesla, Disney, Papa John's, Snap, Wendy's, CVS, Salesforce.com;
                                                                                                   Here are some of the companies with shares expected to trade actively in Wednesday's
                                                                                                   session (The Wall Street Journal Online - Factiva, 08/08/2018 09:24 AM)
                                                                                                   Tesla board says it will evaluate Musk proposal to go private (Agence France Presse -
                                                                                                   Factiva, 08/08/2018 09:24 AM)
                                                                                                   Thinking about buying stock in AmBev, General Electric , Helios and Matheson
                                                                                                   Analytics Inc., Hertz Global Holdings or Tesla? (PR Newswire - Factiva, 08/08/2018
                                                                                                   09:31 AM)
                                                                                                   Tesla's Board of Directors Looking Into CEO's Offer to Privatize Company -
                                                                                                   Statement (Sputnik News Service - Factiva, 08/08/2018 09:32 AM)
                                                                                                   LIVE MARKETS-Brexit breeze (Reuters News - Factiva, 08/08/2018 09:34 AM)
                                                                                                   Tesla board met several times to discuss taking firm private (24 Ore Radiocor-Newswire
                                                                                                   International Edition - Factiva, 08/08/2018 09:35 AM)
                                                                                                   Tesla board met 'several times' to evaluate CEO Musk's take-private idea (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/08/2018 09:37 AM)
                                                                                                   10 Biggest Price Target Changes For Wednesday (Benzinga.com - Factiva, 08/08/2018
                                                                                                   09:44 AM)
                                                                                                   Tesla board says it will evaluate Musk proposal to go private (Agence France Presse -
                                                                                                   Factiva, 08/08/2018 09:44 AM)
                                                                                                   MW UPDATE: Call of the day: Tesla shares are headed for $420 regardless
                                                                                                   (MarketWatch - Factiva, 08/08/2018 09:45 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla's surging stock has cost short sellers $3 billion this month (TSLA) (Business
                                                                                                   Insider - Factiva, 08/08/2018 09:45 AM)
                                                                                                   Tesla's Board Has Met Several Times to Discuss Going-Private Proposal (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 09:52 AM)
                                                                                                   Tesla public or Tesla private. Which way forward? (Deutsche Welle - Factiva, 08/08/2018
                                                                                                   09:56 AM)
                                                                                                   TeslaÃ¢â‚¬â„¢s Board Has Met Several Times to Discuss Going-Private Proposal (Dow
                                                                                                   Jones Institutional News - Factiva, 08/08/2018 10:00 AM)
                                                                                                   LIVE MARKETS-Watch out for trade war margin pressure (Reuters News - Factiva,
                                                                                                   08/08/2018 10:07 AM)
                                                                                                   Elon Musk Tweets He Is Considering Taking Tesla Private; A take-private deal could
                                                                                                   value the electric-car maker above $70 billion, by far the biggest in history (The Wall
                                                                                                   Street Journal Online - Factiva, 08/08/2018 10:17 AM)
                                                                                                   Tesla: Is $420 a Share Too Low for a Deal? (Barron's Online - Factiva, 08/08/2018 10:19
                                                                                                   AM)
                                                                                                   Tesla: Is $420 a Share Too Low for a Deal? -- Barrons.com (Dow Jones Institutional
                                                                                                   News - Factiva, 08/08/2018 10:19 AM)
                                                                                                   Did Elon Musk Violate Securities Laws With Tweet About Taking Tesla Private?
                                                                                                   (NYTimes.com Feed - Factiva, 08/08/2018 10:24 AM)
                                                                                                   Tesla's Board Has Met Several Times to Discuss Going-Private Proposal; The talks
                                                                                                   included how being a private company could 'better serve Tesla's long-term interests,'
                                                                                                   several board members said (The Wall Street Journal Online - Factiva, 08/08/2018 10:26
                                                                                                   AM)
                                                                                                   UPDATE 1-Albemarle boosts stock buyback to $500 million; shares jump (Reuters News
                                                                                                   - Factiva, 08/08/2018 10:39 AM)
                                                                                                   MW Tesla board statement raises more questions about Elon Musk's go-private plan
                                                                                                   (MarketWatch - Factiva, 08/08/2018 10:56 AM)
                                                                                                   MW UPDATE: Tesla board met 'several times' to evaluate CEO Musk's take-private
                                                                                                   idea (MarketWatch - Factiva, 08/08/2018 10:56 AM)
                                                                                                   Update: Tesla Board Met 'several Times' To Evaluate CEO Musk's Take-private Idea --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/08/2018 10:56 AM)
                                                                                                   Elon Musk boosted his net worth by $1.4 billion with just one short tweet (TSLA)
                                                                                                   (Business Insider - Factiva, 08/08/2018 11:09 AM)
                                                                                                   LIVE MARKETS-Buying France through its banks (Reuters News - Factiva, 08/08/2018
                                                                                                   11:10 AM)
                                                                                                   Elon Musk's Tweet About Taking Tesla Private Could Actually Be Good for Short
                                                                                                   Sellers. Here's How -- Barron's Blog (Dow Jones Institutional News - Factiva, 08/08/2018
                                                                                                   11:12 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Musk serious about taking Tesla private at USD 420 per share (Renewables Now -
                                                                                                   Factiva, 08/08/2018 11:20 AM)
                                                                                                   'The Thomas Edison of our age has come off rails': Brand expert says Elon Musk has
                                                                                                   put himself in a risky situation (TSLA) (Business Insider - Factiva, 08/08/2018 11:32 AM)

                                                                                                   How to trade Tesla stock even if the company doesnÃ¢â‚¬â„¢t go private; Aggressive
                                                                                                   investors can be on the lookout for a short squeeze, which could boost the shares
                                                                                                   (MarketWatch - Factiva, 08/08/2018 11:45 AM)
                                                                                                   'A private life is a happy life': Here's what Wall Street is saying about Tesla's plan to
                                                                                                   leave the stock market (TSLA) (Business Insider - Factiva, 08/08/2018 11:47 AM)
                                                                                                   LIVE MARKETS-Closing snapshot: European shares close lower (Reuters News -
                                                                                                   Factiva, 08/08/2018 11:51 AM)
                                                                                                   BUZZ-U.S. STOCKS ON THE MOVE-Snap, Mylan, Tesla, CVS Health (Reuters News -
                                                                                                   Factiva, 08/08/2018 11:52 AM)
                                                                                                   What Wall Street Is Saying About Musk Taking Tesla Private (Benzinga.com - Factiva,
                                                                                                   08/08/2018 12:05 PM)
                                                                                                   Got Questions About Elon Musk Taking Tesla Private? We've Got Answers -- Barron's
                                                                                                   Blog (Dow Jones Institutional News - Factiva, 08/08/2018 12:09 PM)
                                                                                                   Why Mylan, Not Tesla, Is the Buyout to Bet On -- Heard on the Street (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 12:10 PM)
                                                                                                   Auto & Transport Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/08/2018 12:20 PM)
                                                                                                   Tesla's board of directors says Elon Musk brought up going private last week (TSLA)
                                                                                                   (Business Insider - Factiva, 08/08/2018 12:29 PM)
                                                                                                   MW Tesla bonds jump more than 2 points after CEO Musk mulls going-private
                                                                                                   transaction (MarketWatch - Factiva, 08/08/2018 12:32 PM)
                                                                                                   Tesla Bonds Jump More Than 2 Points After CEO Musk Mulls Going-private
                                                                                                   Transaction -- MarketWatch (Dow Jones Institutional News - Factiva, 08/08/2018 12:32
                                                                                                   PM)
                                                                                                   FACTBOX-A look at Tesla's nine-member board (Reuters News - Factiva, 08/08/2018
                                                                                                   12:51 PM)
                                                                                                   Why would Elon Musk want to take Tesla private? (Independent Online - Factiva,
                                                                                                   08/08/2018 12:54 PM)
                                                                                                   Beware what you wish for, Mr Musk, as you antagonise Wall Street (thetimes.co.uk -
                                                                                                   Factiva, 08/08/2018 01:00 PM)
                                                                                                   Tesla Shares Slightly Down in Heavy Trading -- Market Mover (Dow Jones Institutional
                                                                                                   News - Factiva, 08/08/2018 01:00 PM)
                                                                                                   WSJ City PM: Tesla Board Discussed Buyout Plan, China Digs In for Long Trade
                                                                                                   Fight (Dow Jones Institutional News - Factiva, 08/08/2018 01:01 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Volatile visionary: Tesla's Musk divides Wall Street (Agence France Presse - Factiva,
                                                                                                   08/08/2018 01:14 PM)
                                                                                                   BUZZ-U.S. STOCKS ON THE MOVE-Snap, Tesla, Michael Kors, Papa John's (Reuters
                                                                                                   News - Factiva, 08/08/2018 01:24 PM)
                                                                                                   BREAKINGVIEWS-Good riddance to a publicly traded Tesla (Reuters News - Factiva,
                                                                                                   08/08/2018 01:25 PM)
                                                                                                   SEC questions Tesla over Elon MuskÃ¢â‚¬â„¢s tweets to take the company private;
                                                                                                   Regulators said to be inquiring whether CEOÃ¢â‚¬â„¢s claim was factual
                                                                                                   (MarketWatch - Factiva, 08/08/2018 01:32 PM)
                                                                                                   FACTBOX-Impact of U.S.-China trade tariffs on U.S. companies (Reuters News -
                                                                                                   Factiva, 08/08/2018 01:40 PM)
                                                                                                   Factbox: Impact of U.S.-China trade tariffs on U.S. companies (Reuters News - Factiva,
                                                                                                   08/08/2018 01:44 PM)
                                                                                                   Elon Musk Ã¢â‚¬â€œ the charismatic capitalist putting his business on the line (The
                                                                                                   Guardian - Factiva, 08/08/2018 01:52 PM)
                                                                                                   5 reasons to bet against Elon Musk's plan to go private (CNN Wire - Factiva, 08/08/2018
                                                                                                   01:53 PM)
                                                                                                   Tesla's Big Question: Better or Worse off as Private Company (Dow Jones Institutional
                                                                                                   News - Factiva, 08/08/2018 02:00 PM)
                                                                                                   Tesla's Big Question: Better or Worse Off as Private Company; Taking the electric-car
                                                                                                   maker private would shield the company's financial health from rivals, but would also
                                                                                                   remove easy access to capital (The Wall Street Journal Online - Factiva, 08/08/2018 02:00
                                                                                                   PM)
                                                                                                   Being really rich doesnÃ¢â‚¬â„¢t make you clever Ã¢â‚¬â€œ as Elon Musk has so
                                                                                                   adeptly shown (Independent Online - Factiva, 08/08/2018 02:04 PM)
                                                                                                   BRIEF-Softbank Considers Tesla To Be Overvalued And There Are No Indications It
                                                                                                   Wants To Invest - FT (Reuters News - Factiva, 08/08/2018 02:12 PM)
                                                                                                   TeslaÃ¢â‚¬â„¢s Big Question: Better or Worse Off as Private Company (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 02:20 PM)
                                                                                                   BRIEF-Elon Musk Talked With SoftBank About Tesla Investment- Bloomberg (Reuters
                                                                                                   News - Factiva, 08/08/2018 02:29 PM)
                                                                                                   Here's what Tesla would have to do to go private (CNN Wire - Factiva, 08/08/2018 02:30
                                                                                                   PM)
                                                                                                   MW Tesla 'not going private anytime soon': Piper Jaffray (MarketWatch - Factiva,
                                                                                                   08/08/2018 02:34 PM)
                                                                                                   Tesla 'not Going Private Anytime Soon': Piper Jaffray -- MarketWatch (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 02:34 PM)
                                                                                                   Tesla and SoftBank Group Founders Had 2017 Talks About a Tesla Stake -Bloomberg
                                                                                                   (Dow Jones Institutional News - Factiva, 08/08/2018 02:36 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Taking Tesla private would be the largest buyout in history Ã¢â‚¬â€ but maybe not
                                                                                                   much money would change hands (TSLA) (Business Insider - Factiva, 08/08/2018 02:41
                                                                                                   PM)
                                                                                                   Tesla and SoftBank Group Founders Had 2017 Talks About a Tesla Stake -Bloomberg
                                                                                                   (Dow Jones Newswires Chinese (English) - Factiva, 08/08/2018 02:48 PM)
                                                                                                   Elon Musk Talked To Softbank About Tesla Investment: Report -- MarketWatch (Dow
                                                                                                   Jones Institutional News - Factiva, 08/08/2018 02:53 PM)
                                                                                                   MW Elon Musk talked to Softbank about Tesla investment: report (MarketWatch -
                                                                                                   Factiva, 08/08/2018 02:53 PM)
                                                                                                   Elon Musk reportedly met with Japan's SoftBank last year about taking Tesla private
                                                                                                   (TSLA) (Business Insider - Factiva, 08/08/2018 02:54 PM)
                                                                                                   Everyone Ã¢â‚¬â€ including fast-food chains and beer giants Ã¢â‚¬â€ is tweeting
                                                                                                   'funding secured' to mock Elon Musk (TSLA) (Business Insider - Factiva, 08/08/2018
                                                                                                   03:01 PM)
                                                                                                   Electric car maker Tesla could go private (coventrytelegraph.net - Factiva, 08/08/2018
                                                                                                   03:04 PM)
                                                                                                   Got Questions About Elon Musk Taking Tesla Private? We've Got Answers -- Barron's
                                                                                                   Blog (Dow Jones Institutional News - Factiva, 08/08/2018 03:20 PM)
                                                                                                   Hagens Berman Alerts Short and Put Option Investors in Tesla, Inc. (TSLA) to the
                                                                                                   Firm's Investigation of Possible Disclosure Violations (PR Newswire - Factiva,
                                                                                                   08/08/2018 03:21 PM)
                                                                                                   Press Release: Hagens Berman Alerts Short and Put Option Investors in Tesla, Inc.
                                                                                                   (TSLA) to the Firm's Investigation of Possible Disclosure Violations (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 03:21 PM)
                                                                                                   Tesla board to evaluate Musk proposal to go private as shares dip (Agence France Presse
                                                                                                   - Factiva, 08/08/2018 03:21 PM)
                                                                                                   Elon Musk is in perilous territory after tweeting about wanting to take Tesla private,
                                                                                                   experts say (TSLA) (Business Insider - Factiva, 08/08/2018 03:36 PM)
                                                                                                   MW UPDATE: How to trade Tesla stock even if the company doesn't go private
                                                                                                   (MarketWatch - Factiva, 08/08/2018 03:45 PM)
                                                                                                   BRIEF-SEC Makes Inquiries To Tesla Over Musk's Tweet About Possibly Taking Co
                                                                                                   Private - CNBC, Citing DJ (Reuters News - Factiva, 08/08/2018 03:49 PM)
                                                                                                   By turning its back on Wall Street, Tesla could avoid market pressures (Agence France
                                                                                                   Presse - Factiva, 08/08/2018 03:52 PM)
                                                                                                   BRIEF-SEC Has Made Inquiries To Tesla Over Musk's 'Taking Private' Tweet - WSJ
                                                                                                   (Reuters News - Factiva, 08/08/2018 03:57 PM)
                                                                                                   The SEC has reportedly made inquiries into Tesla about Elon Musk's tweet regarding
                                                                                                   possibly taking the company private (TSLA) (Business Insider - Factiva, 08/08/2018 04:02
                                                                                                   PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   The SEC has reportedly made inquiries into Tesla about Elon Musk's tweet regarding
                                                                                                   possibly taking the company private (TSLA) (Business Insider - Factiva, 08/08/2018 04:02
                                                                                                   PM)
                                                                                                   SEC Inquired About Tesla CEO Musk's Tweets (Dow Jones Institutional News - Factiva,
                                                                                                   08/08/2018 04:03 PM)
                                                                                                   MW SEC looks into Musk's taking-Tesla-private tweets: WSJ (MarketWatch - Factiva,
                                                                                                   08/08/2018 04:06 PM)
                                                                                                   SEC Looks Into Musk's Taking-Tesla-private Tweets: WSJ -- MarketWatch (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 04:06 PM)
                                                                                                   Chris Collins, Tesla, Trade War: Your Thursday Briefing (NYTimes.com Feed - Factiva,
                                                                                                   08/08/2018 04:21 PM)
                                                                                                   US stocks end near flat; Tesla retreats (Agence France Presse - Factiva, 08/08/2018 04:22
                                                                                                   PM)
                                                                                                   SEC Inquired About Tesla CEO Musk's Tweets (Dow Jones Newswires Chinese (English)
                                                                                                   - Factiva, 08/08/2018 04:23 PM)
                                                                                                   A look at Tesla's nine-member board (Reuters News - Factiva, 08/08/2018 04:27 PM)
                                                                                                   Elon Musk grumbles at short-sellers, but is private ownership right for Tesla? (The
                                                                                                   Guardian - Factiva, 08/08/2018 04:30 PM)
                                                                                                   Stocks end mostly lower, but Nasdaq ekes out longest win streak in 5 months; Tesla
                                                                                                   stock falls as Wall Street vets MuskÃ¢â‚¬â„¢s go-private talk (MarketWatch - Factiva,
                                                                                                   08/08/2018 04:31 PM)
                                                                                                   MW UPDATE: Stocks end mostly lower, but Nasdaq ekes out longest win streak in 5
                                                                                                   months (MarketWatch - Factiva, 08/08/2018 04:32 PM)
                                                                                                   SEC Inquired About Tesla CEO Musk's Tweets--Update (Dow Jones Institutional News -
                                                                                                   Factiva, 08/08/2018 04:32 PM)
                                                                                                   Got Questions About Elon Musk Taking Tesla Private? We've Got Answers -- Barron's
                                                                                                   Blog (Dow Jones Institutional News - Factiva, 08/08/2018 04:36 PM)
                                                                                                   5 Questions for Elon Musk About Tesla Going Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/08/2018 04:40 PM)
                                                                                                   SEC Inquired About Tesla CEO MuskÃ¢â‚¬â„¢s Tweets (Dow Jones Institutional News -
                                                                                                   Factiva, 08/08/2018 04:40 PM)
                                                                                                   The Latest: Report-SEC probing Musk's Tesla-buyout tweet (Associated Press
                                                                                                   Newswires - Factiva, 08/08/2018 04:42 PM)
                                                                                                   The Latest: Report-SEC probing Musk's Tesla-buyout tweet (The Canadian Press -
                                                                                                   Factiva, 08/08/2018 04:42 PM)
                                                                                                   The Latest: Report-SEC probing Musk's Tesla-buyout tweet (The Canadian Press -
                                                                                                   Broadcast wire - Factiva, 08/08/2018 04:42 PM)
                                                                                                   MuskÃ¢â‚¬â„¢s $6bn tweet leads Tesla to dead end (The Telegraph Online - Factiva,
                                                                                                   08/08/2018 04:49 PM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events

                                                                                                   Elon Musk's $72bn plan to take Tesla private is real confirms board (The Telegraph
                                                                                                   Online - Factiva, 08/08/2018 04:50 PM)
                                                                                                   Auto & Transport Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/08/2018 04:50 PM)
                                                                                                   UPDATE 7-U.S. SEC examining Musk's tweets on taking Tesla private -WSJ (Reuters
                                                                                                   News - Factiva, 08/08/2018 04:57 PM)
                                                                                                   Why Mylan, Not Tesla, Is the Buyout to Bet On; Mylan's strategic review offers a
                                                                                                   sharp contrast to Elon Musk's approach (The Wall Street Journal Online - Factiva,
                                                                                                   08/08/2018 04:59 PM)
                                                                                                   Tesla board to weigh go-private as Musk faces questions (Agence France Presse - Factiva,
                                                                                                   08/08/2018 05:14 PM)
                                                                                                   SEC examining Musk's tweets on taking Tesla private: WSJ (Reuters News - Factiva,
                                                                                                   08/08/2018 05:43 PM)
                                                                                                   Tesla bosses weigh up Elon Musk's proposal to take the electric car maker private (Mail
                                                                                                   Online - Factiva, 08/08/2018 06:01 PM)
                                                                                                   MAGGIE PAGANO: Tesla's drive to stay ahead with a risk-taking boss who dislikes
                                                                                                   playing by the rules (Mail Online - Factiva, 08/08/2018 06:02 PM)
                                                                                                   Tesla CEO's buyout bid raises eyebrows, legal concerns (Associated Press Newswires -
                                                                                                   Factiva, 08/08/2018 06:05 PM)
                                                                                                   WHAT ARE THE SEC'S RULES AROUND FAIR DISCLOSURE? (Mail Online -
                                                                                                   Factiva, 08/08/2018 06:11 PM)
                                                                                                   Only 12 Tesla solar roofs were reportedly connected to the grid in California at the end
                                                                                                   of May (TSLA) (Business Insider - Factiva, 08/08/2018 06:14 PM)
                                                                                                   Elon Musk tweets on taking Tesla private 'being investigated' by US regulators (London
                                                                                                   Evening Standard Online - Factiva, 08/08/2018 06:24 PM)
                                                                                                   A couple reasons why Elon Musk could actually pull off his wild plan to take Tesla
                                                                                                   private (TSLA) (Business Insider - Factiva, 08/08/2018 06:28 PM)
                                                                                                   Elon Musk IS being investigated over Tesla tweet: SEC is 'making inquiries' after CEO
                                                                                                   tweeted plans to take his firm private with 'funding secured' (Mail Online - Factiva,
                                                                                                   08/08/2018 06:49 PM)
                                                                                                   TeslaÃ¢â‚¬â„¢s change of direction could put it on a bumpy road (The Telegraph Online
                                                                                                   - Factiva, 08/08/2018 06:49 PM)
                                                                                                   Wall Street Salivates After Elon Musk Floats Taking Tesla Private (NYTimes.com Feed -
                                                                                                   Factiva, 08/08/2018 07:17 PM)
                                                                                                   SEC Inquired About Tesla CEO Musk's Tweets--2nd Update (Dow Jones Institutional
                                                                                                   News - Factiva, 08/08/2018 07:27 PM)
                                                                                                   SEC Probes Tesla CEO Musk's Tweets; The regulator is examining whether Musk's
                                                                                                   statement was truthful and why the disclosure was made on Twitter (The Wall Street
                                                                                                   Journal Online - Factiva, 08/08/2018 07:27 PM)



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                                                      Excess                                       Abnormal
                                           Market    Industry Predicted Abnormal                     Price
   Date        Volume     Price   Return   Return     Return   Return    Return t-stat   p-Value   Reaction                                              Events

                                                                                                              Tesla Board of Directors evaluate Musk's privatization plan (Xinhua News Agency -
                                                                                                              Factiva, 08/08/2018 07:37 PM)
                                                                                                              Tesla directors say they knew of Elon Musk's surprise plan to go private (The Guardian -
                                                                                                              Factiva, 08/08/2018 07:39 PM)
                                                                                                              Doubts lurk over MuskÃ¢â‚¬â„¢s resources to fund buyout (thetimes.co.uk - Factiva,
                                                                                                              08/08/2018 08:01 PM)
                                                                                                              Tesla short sellers take hit as downfall is forecast (thetimes.co.uk - Factiva, 08/08/2018
                                                                                                              08:01 PM)
                                                                                                              TeslaÃ¢â‚¬â„¢s value underrated by Musk, top investor says (thetimes.co.uk - Factiva,
                                                                                                              08/08/2018 08:01 PM)
                                                                                                              Tesla CEO's buyout bid raises eyebrows, legal concerns (The Canadian Press - Factiva,
                                                                                                              08/08/2018 09:29 PM)
                                                                                                              Tesla CEO's buyout bid raises eyebrows, legal concerns (Associated Press Newswires -
                                                                                                              Factiva, 08/08/2018 09:35 PM)
                                                                                                              Tesla's Big Question: Better or Worse off as Private Company > TSLA (Dow Jones
                                                                                                              Newswires Chinese (English) - Factiva, 08/08/2018 11:18 PM)
8/9/2018 Thu   17,183,811 $352.45 -4.83%     0.05%     -0.73%   -0.17%    -4.67% -1.83   7.04%      -$17.28   Elon Musk and the Trumpification of investor relations (GlobalCapital - Factiva,
                                                                                                              08/09/2018)
                                                                                                              Elon Musk faces SEC probe over stock-price goosing tweets to take Tesla private (V3 -
                                                                                                              Factiva, 08/09/2018)
                                                                                                              Elon Musk Plans Taking Tesla Private (Financial Deals Tracker - Factiva, 08/09/2018)
                                                                                                              Moody's says Tesla's consideration to go private based on CEO's note is credit negative.
                                                                                                              (Moody's Investors Service Press Release - Factiva, 08/09/2018)
                                                                                                              14:23 EDT SEC looking at Tesla before tweets, now faces broader scrutiny,...
                                                                                                              (Theflyonthewall.com - Factiva, 08/09/2018)
                                                                                                              14:53 EDT SEC stepping up probe of Tesla after Musk tweets, Bloomberg saysSEC...
                                                                                                              (Theflyonthewall.com - Factiva, 08/09/2018)
                                                                                                              14:59 EDT Moody's says Tesla's consideration to go private is credit...
                                                                                                              (Theflyonthewall.com - Factiva, 08/09/2018)
                                                                                                              17:10 EDT Tesla board to meet with advisors next week over going-private talks,...
                                                                                                              (Theflyonthewall.com - Factiva, 08/09/2018)
                                                                                                              17:11 EDT Tesla jump 3.3% after CNBC report of board meeting over going-private...
                                                                                                              (Theflyonthewall.com - Factiva, 08/09/2018)
                                                                                                              17:13 EDT Tesla jumps 3% after CNBC report of board meeting with advisors next...
                                                                                                              (Theflyonthewall.com - Factiva, 08/09/2018)
                                                                                                              21:00 EDT Tesla board states that CEO Musk has 'addressed the funding', Reuters...
                                                                                                              (Theflyonthewall.com - Factiva, 08/09/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   A $70 Billion Deal for Tesla? Elon Musk Faces 2 Huge Questions (The New York Times -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   A Musk-have SEC probes claim he has $ to privatize Tesla (New York Post - Factiva,
                                                                                                   08/09/2018)
                                                                                                   A Private Tesla May Find It Harder to Raise Capital (The Wall Street Journal - Factiva,
                                                                                                   08/09/2018)
                                                                                                   ALL ABOARD Tesla directors say they will consider Elon Musk's plans to go private
                                                                                                   (City AM - Factiva, 08/09/2018)
                                                                                                   Analysis; Public or private, Tesla commitments remain; Stock buyback wouldn't affect
                                                                                                   promise to bring 1,460 jobs to Buffalo (Buffalo News - Factiva, 08/09/2018)
                                                                                                   Analysts grow dubious of Elon Musk's tweeted plan to take Tesla private (The
                                                                                                   Washington Post - Factiva, 08/09/2018)
                                                                                                   Baillie Gifford's Anderson questions Musk's Tesla valuation (Citywire - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Beware what you wish for, Mr Musk, as you antagonise Wall Street (The Times -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   BOARD WEIGHS UP TESLA DEAL (Daily Mail - Factiva, 08/09/2018)
                                                                                                   Board weighs up Tesla deal (Scottish Daily Mail - Factiva, 08/09/2018)
                                                                                                   BRIEFCASE (The Patriot Ledger - Factiva, 08/09/2018)
                                                                                                   BRIEFCASE; Tesla board weighs CEO's buyout bid (The Daily Independent - Factiva,
                                                                                                   08/09/2018)
                                                                                                   briefly ... (Greenwich Time - Factiva, 08/09/2018)
                                                                                                   Council of Tesla lowers revolutions to Musk (CE NoticiasFinancieras - Factiva,
                                                                                                   08/09/2018)
                                                                                                   DealBook Briefing: How on Earth Will Tesla Go Private? (The New York Times -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Defense ripple effect: Big Army services contract prompts firm to open C. Fla.
                                                                                                   Research Park office (Orlando Business Journal - Factiva, 08/09/2018)
                                                                                                   Did Elon Musk Violate Securities Laws With Tweet About Taking Tesla Private?;
                                                                                                   Common Sense (International New York Times - Factiva, 08/09/2018)
                                                                                                   Doubts grow over Elon Musk's master plan to take Tesla private (Washington Post.com -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Doubts grow over Musk's plan to take Tesla private; Valuation of $420 a share
                                                                                                   questioned (The Toronto Star - Factiva, 08/09/2018)
                                                                                                   Doubts lurk over Musk's resources to fund buyout (The Times - Factiva, 08/09/2018)
                                                                                                   Dow Futures: Roku Soars Near Buy Point; This Breakout Stands Out Vs. Apple,
                                                                                                   Alphabet, Tesla (Investor's Business Daily - Factiva, 08/09/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Dow Futures: Roku Soars To Buy Zone; This Breakout Stands Out Vs. Apple,
                                                                                                   Alphabet, Tesla (Investor's Business Daily - Factiva, 08/09/2018)
                                                                                                   Dow Jones Futures: Tesla Roller Coaster Continues; These 4 Stocks Move On Earnings
                                                                                                   (Investor's Business Daily - Factiva, 08/09/2018)
                                                                                                   Editorial: Businessmen behaving badly (Richmond Times-Dispatch: Web Edition - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Experts cast doubt on privatisation drive (The Australian - Factiva, 08/09/2018)
                                                                                                   Fired Tesla employee files defamation lawsuit against the company (ETMAG.com -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it (USA Today - Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it; Musk's tweets startled investors, but discussions
                                                                                                   have been ongoing (Argus Leader - Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it; Musk's tweets startled investors, but discussions
                                                                                                   have been ongoing (Clarion-Ledger - Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it; Musk's tweets startled investors, but discussions
                                                                                                   have been ongoing (Green Bay Press-Gazette - Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it; Musk's tweets startled investors, but discussions
                                                                                                   have been ongoing (Journal & Courier - Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it; Musk's tweets startled investors, but discussions
                                                                                                   have been ongoing (Reno Gazette-Journal - Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it; Musk's tweets startled investors, but discussions
                                                                                                   have been ongoing (The Post-Crescent - Factiva, 08/09/2018)
                                                                                                   Go private? Tesla board OK with it; Musk's tweets startled investors, but discussions
                                                                                                   have been ongoing (The Tallahassee Democrat - Factiva, 08/09/2018)
                                                                                                   Hedge funds defy Musk plan and short-sell Tesla (London Evening Standard - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Industry Trend Analysis - Quick View: Tesla Buyout Has Merit But Funding Is A Risk
                                                                                                   (Corporate Financing Week - Factiva, 08/09/2018)
                                                                                                   Industry Trend Analysis - Quick View: Tesla Buyout Has Merit But Funding Is A Risk
                                                                                                   (Emerging Markets Monitor - Factiva, 08/09/2018)
                                                                                                   Keep your wallet Ã¢â‚¬â€œ and your sanity Ã¢â‚¬â€œ intact and avoid Tesla stock;
                                                                                                   Elon Musk has shifted what weÃ¢â‚¬â„¢ve apparently come to allow from a public
                                                                                                   company (The Globe and Mail (Breaking News) - Factiva, 08/09/2018)
                                                                                                   legal requirements; Tesla board weighs CEO's buyout bid as questions swirl (Monterey
                                                                                                   County Herald - Factiva, 08/09/2018)
                                                                                                   LOOK OUT TESLA, HERE COMES PININFARINA (Waikato Times - Factiva,
                                                                                                   08/09/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   M&A: Elon Musk ready to buy out Tesla shares and delist it (AK&M - Factiva,
                                                                                                   08/09/2018)
                                                                                                   MARKET MOVERS (Hannibal Courier-Post - Factiva, 08/09/2018)
                                                                                                   MARKET MOVERS (Mexico Ledger - Factiva, 08/09/2018)
                                                                                                   Moodyâ€™s Research Report (Capital IQ - Manual Entry, 08/09/2018)
                                                                                                   Moodyâ€™s Research Report (Capital IQ - Manual Entry, 08/09/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/09/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/09/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/09/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/09/2018)
                                                                                                   Musk confident that Tesla will go private (Buffalo News - Factiva, 08/09/2018)
                                                                                                   Musk mulls Tesla move (Express & Star - Factiva, 08/09/2018)
                                                                                                   Musk mulls Tesla move (Shropshire Star - Factiva, 08/09/2018)
                                                                                                   Musk startles market with $94bn Tesla buyout plan (The Australian - Factiva,
                                                                                                   08/09/2018)
                                                                                                   MuskÃ¢â‚¬â„¢s Itchy Twitter Finger Looks Like Bigger Problem For Tesla Shares
                                                                                                   Than Shorts (Forbes.com - Factiva, 08/09/2018)
                                                                                                   Musk's $6bn tweet leads Tesla to dead end (The Daily Telegraph - Factiva, 08/09/2018)
                                                                                                   Musk's musings on taking Tesla private show it may be best route (Irish Independent -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Mylan, Not Tesla, Is the Buyout to Bet On (The Wall Street Journal - Factiva, 08/09/2018)

                                                                                                   No gain in Tesla going private (Los Angeles Times - Factiva, 08/09/2018)
                                                                                                   Note to Musk: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list. (Baltimore Business Journal Online - Factiva, 08/09/2018)
                                                                                                   Note to Musk: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list. (Louisville Business First Online - Factiva, 08/09/2018)
                                                                                                   Note to Musk: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list. (Philadelphia Business Journal Online - Factiva, 08/09/2018)
                                                                                                   Note to Musk: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list. (Silicon Valley/San Jose Business Journal Online - Factiva, 08/09/2018)
                                                                                                   Note to Musk: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the St. Louis list (St. Louis Business Journal - Factiva, 08/09/2018)
                                                                                                   OPINION: Visionaries of the 20th century vs. visionaries of the 21st century (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/09/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Pressure mounts on Musk to show he has funding to take Tesla private (latimes.com -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Report: SEC probing whether Elon Musk lied about plans to take Tesla private (Silicon
                                                                                                   Valley/San Jose Business Journal Online - Factiva, 08/09/2018)
                                                                                                   Report: SEC probing whether Elon Musk lied about plans to take Tesla private (Triad
                                                                                                   Business Journal Online - Factiva, 08/09/2018)
                                                                                                   Report: SEC studying tweets about taking Tesla private (Detroit Free Press - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Saudi wealth fund continues its drive to become $2trn powerhouse
                                                                                                   (ArabianBusiness.com - Factiva, 08/09/2018)
                                                                                                   SEC intensifies Tesla probe (San Francisco Chronicle: Web Edition - Factiva, 08/09/2018)


                                                                                                   SEC investigating Musk tweet about taking Tesla private (U-Wire - Factiva, 08/09/2018)

                                                                                                   SEC opens (The Seattle Times - Factiva, 08/09/2018)
                                                                                                   SEC Probes Musk Tweets On Possible Tesla Buyout (The Wall Street Journal - Factiva,
                                                                                                   08/09/2018)
                                                                                                   SEC questions Tesla over Musk tweet (Houston Chronicle - Factiva, 08/09/2018)
                                                                                                   Sellers get short shrift as downfall is forecast (The Times - Factiva, 08/09/2018)
                                                                                                   Sharp drop in Tesla share price in wake of Musk's market withdrawal tweets (EFE
                                                                                                   News Service - Factiva, 08/09/2018)
                                                                                                   Speculators indifferent to Musk's plans (CE NoticiasFinancieras - Factiva, 08/09/2018)
                                                                                                   Sun CITY COMMENT (The Sun - Factiva, 08/09/2018)
                                                                                                   Tematica Research Research Report (Eikon - Manual Entry, 08/09/2018)
                                                                                                   Tesla already lost in two days what it won on Tuesday (CE NoticiasFinancieras - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla already lost in two days what it won on Tuesday (CE NoticiasFinancieras - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla announces potential delisting from Nasdaq, shares fall by 1.1% on Tue (French
                                                                                                   Collection - Factiva, 08/09/2018)
                                                                                                   Tesla board assessing proposal by CEO Musk to take firm private; 'Risks of added
                                                                                                   financial leverage'could be reason to avoid move, analyst warns (Calgary Herald -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Tesla board assessing proposal by CEO Musk to take firm private; 'Risks of added
                                                                                                   financial leverage'could be reason to avoid move, analyst warns (Edmonton Journal -
                                                                                                   Factiva, 08/09/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla board assessing proposal by CEO Musk to take firm private; 'Risks of added
                                                                                                   financial leverage'could be reason to avoid move, analyst warns (Vancouver Sun -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Tesla board confirms it's evaluating plan to go private (Los Angeles Times - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla board evaluates taking firm private; Musk Proposal (National Post - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla Board 'Evaluating' Surprise Buyout Plan (Silicon.co.uk - Factiva, 08/09/2018)
                                                                                                   Tesla board evaluating taking the company private (Platts Megawatt Daily - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla board to weigh go-private as Musk faces questions (The Nation - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla Board Weighs Go-Private Gambit Doubted by the Market;
                                                                                                   BANKING/FINANCE (Broward Daily Business Review - Factiva, 08/09/2018)
                                                                                                   Tesla Board Weighs Go-Private Gambit Doubted by the Market;
                                                                                                   BANKING/FINANCE (Miami Daily Business Review - Factiva, 08/09/2018)
                                                                                                   Tesla Board Weighs Go-Private Gambit Doubted by the Market;
                                                                                                   BANKING/FINANCE (Palm Beach Daily Business Review - Factiva, 08/09/2018)
                                                                                                   Tesla board will meet to discuss taking the company private, may ask Elon Musk to be
                                                                                                   recused: report (USA Today Online - Factiva, 08/09/2018)
                                                                                                   Tesla CEO drops latest bombshell with $72B buyout proposal (Seychelles Nation -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Tesla CEO's buyout bid raises eyebrows and legal concerns; SEC already has opened
                                                                                                   inquiry into wording of Musk's disclosure; class-action lawsuits could follow (San Diego
                                                                                                   Union-Tribune - Factiva, 08/09/2018)
                                                                                                   Tesla CEO's buyout bid raises eyebrows, legal concerns (St. Louis Post-Dispatch -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Tesla CEO's buyout bid raises eyebrows, legal concerns (Telegraph Herald - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla CEO's buyout bid raises legal concerns, lots of eyebrows (Victoria Times Colonist -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Tesla could thrive as private company but feasibility remains murky: Analysts (SNL
                                                                                                   Financial Extra - Factiva, 08/09/2018)
                                                                                                   Tesla directors confirm talks with Musk over plans to delist (The Daily Telegraph -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   TESLA DIRECTORS DISCUSS GOING PRIVATE; BOARD SAYS IT HAD
                                                                                                   SEVERAL MEETINGS WITH ELON MUSK ABOUT LONG-TERM INTERESTS
                                                                                                   (San Jose Mercury News - Factiva, 08/09/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla in discussions with Chinese banks to fund $5b Shanghai factory (Global Times -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Tesla investors caught up in buy-out maelstrom (GlobalCapital - Factiva, 08/09/2018)
                                                                                                   Tesla is ditching Nvidia GPUs and developing its own self-driving car AI chips
                                                                                                   (ETMAG.com - Factiva, 08/09/2018)
                                                                                                   Tesla isn't the only company targeted by short sellers. Here's who tops the list
                                                                                                   (including one Chandler manufacturer) (Phoenix Business Journal Online - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla isn't the only company targeted by short sellers. See where Chipotle and other
                                                                                                   Colorado companies stand (Denver Business Journal - Factiva, 08/09/2018)
                                                                                                   Tesla Model 3: A giant iPhone -- for better and worse (The Daily Herald - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla on the verge of becoming a private firm (AutoX - Factiva, 08/09/2018)
                                                                                                   Tesla shares fall on investor concerns (Washington Post.com - Factiva, 08/09/2018)
                                                                                                   Tesla Stock Exit would be the most expensive ever (CE NoticiasFinancieras - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla stock is all over the place as board confirms meeting with advisers (CNET
                                                                                                   News.com - Factiva, 08/09/2018)
                                                                                                   Tesla StockÃ¢â‚¬â„¢s Surge Puts Convertible Bonds in the Money (U-Wire - Factiva,
                                                                                                   08/09/2018)
                                                                                                   Tesla under further scrutiny after Musk remarks (The Boston Globe - Factiva,
                                                                                                   08/09/2018)
                                                                                                   TeslaÃ¢â‚¬â„¢s Board Has Met Several Times to Discuss Going-Private Proposal (U-
                                                                                                   Wire - Factiva, 08/09/2018)
                                                                                                   Tesla's change of direction could put it on a bumpy road (The Daily Telegraph - Factiva,
                                                                                                   08/09/2018)
                                                                                                   TESLA'S DRIVE TO STAY AHEAD (Daily Mail - Factiva, 08/09/2018)
                                                                                                   Tesla's drive to stay ahead (Scottish Daily Mail - Factiva, 08/09/2018)
                                                                                                   Tesla's next in-car software update will include classic Atari games (ETMAG.com -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   Tesla's value underrated by Musk, top investor says (The Times - Factiva, 08/09/2018)
                                                                                                   THE $57BN QUESTION FOR MUSK (The Sun - Factiva, 08/09/2018)
                                                                                                   The 30 Second Briefing (i - Factiva, 08/09/2018)
                                                                                                   The private musings and short fuse of Elon Musk (Washington Post.com - Factiva,
                                                                                                   08/09/2018)
                                                                                                   The SEC is looking into Musk's 'going private' tweet, report claims (Mashable.com -
                                                                                                   Factiva, 08/09/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Thursday Papers: Musk underrated TeslaÃ¢â‚¬â„¢s value, says top investor (Citywire -
                                                                                                   Factiva, 08/09/2018)
                                                                                                   UPDATE: Tesla board evaluating taking the company private (SNL Energy Finance
                                                                                                   Daily - Factiva, 08/09/2018)
                                                                                                   UPDATE: Tesla board evaluating taking the company private (SNL Financial Services
                                                                                                   Daily - Factiva, 08/09/2018)
                                                                                                   UPDATE: Tesla board evaluating taking the company private (SNL Power Daily with
                                                                                                   Market Report - Factiva, 08/09/2018)
                                                                                                   Volty powers (What Car? - Factiva, 08/09/2018)
                                                                                                   Wall Street Salivates After Elon Musk Floats Taking Tesla Private (The New York
                                                                                                   Times - Factiva, 08/09/2018)
                                                                                                   Who's Along For The Ride? (The New York Times - Factiva, 08/09/2018)
                                                                                                   Why Elon Musk should take Tesla private (The Conversation - Factiva, 08/09/2018)
                                                                                                   Why Yelp shares soared 27% today (San Francisco Business Times - Factiva, 08/09/2018)

                                                                                                   Wild and crazy guy puts a few volts through car firmÃ¢â‚¬â„¢s naysayers (The
                                                                                                   Australian - Factiva, 08/09/2018)
                                                                                                   PRESS DIGEST- Wall Street Journal - Aug 9 (Reuters News - Factiva, 08/09/2018 12:25
                                                                                                   AM)
                                                                                                   ANALYSIS-Musk's Tesla buyout plan could test Wall St's nerves (Reuters News -
                                                                                                   Factiva, 08/09/2018 01:00 AM)
                                                                                                   Musk's Tesla buyout plan could test Wall Street's nerves (Reuters News - Factiva,
                                                                                                   08/09/2018 01:08 AM)
                                                                                                   SEC probes Tesla CEO Elon Musk's Tweets; The regulator is examining whether
                                                                                                   Musk's statement was truthful and why the disclosure was made on Twitter (Financial
                                                                                                   News - Factiva, 08/09/2018 02:15 AM)
                                                                                                   A Private Tesla May Find It Harder to Raise Capital -- WSJ (Dow Jones Institutional
                                                                                                   News - Factiva, 08/09/2018 02:32 AM)
                                                                                                   Heard on the Street: Mylan, Not Tesla, Is the Buyout to Bet On -- WSJ (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 02:32 AM)
                                                                                                   SEC Probes Musk Tweets On Possible Tesla Buyout -- WSJ (Dow Jones Institutional
                                                                                                   News - Factiva, 08/09/2018 02:32 AM)
                                                                                                   Why Mylan, Not Tesla, Is the Buyout to Bet On -- Heard on the Street (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/09/2018 02:34 AM)
                                                                                                   5 Questions for Elon Musk About Tesla Going Private -- Barron's Blog (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/09/2018 03:25 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla analysts say theyÃ¢â‚¬â„¢re Ã¢â‚¬Ëœas confused as anyone elseÃ¢â‚¬â„¢; The
                                                                                                   biggest question is funding with only a few pockets deemed deep enough, including
                                                                                                   Saudi ArabiaÃ¢â‚¬â„¢s sovereign-wealth fund (MarketWatch - Factiva, 08/09/2018 03:57
                                                                                                   AM)
                                                                                                   Saudi Arabia''s Tesla investment builds on pivot to clean energy and tech, analysts say
                                                                                                   (Mist News - Factiva, 08/09/2018 04:54 AM)
                                                                                                   Behold the Ã¢â‚¬Ëœscariest chartÃ¢â‚¬â„¢ for the stock market (MarketWatch -
                                                                                                   Factiva, 08/09/2018 05:00 AM)
                                                                                                   The most expensive tweets on record that cost businesses billions (The Telegraph Online -
                                                                                                   Factiva, 08/09/2018 05:08 AM)
                                                                                                   Elon Musk's Flawed Plan for Tesla Shareholders (Dow Jones Institutional News - Factiva,
                                                                                                   08/09/2018 05:30 AM)
                                                                                                   Elon Musk's Flawed Plan for Tesla Shareholders; Tesla chief's proposal to take the
                                                                                                   electric-car maker private amounts to a slap in the face for shareholders (The Wall
                                                                                                   Street Journal Online - Factiva, 08/09/2018 05:33 AM)
                                                                                                   DealBook Briefing: Where Is TeslaÃ¢â‚¬â„¢s Money? (NYTimes.com Feed - Factiva,
                                                                                                   08/09/2018 06:31 AM)
                                                                                                   RPT-ANALYSIS-Musk's Tesla buyout plan could test Wall St's nerves (Reuters News -
                                                                                                   Factiva, 08/09/2018 07:00 AM)
                                                                                                   MW UPDATE: Tesla analysts say they're 'as confused as anyone else' (MarketWatch -
                                                                                                   Factiva, 08/09/2018 07:57 AM)
                                                                                                   Jim Armitage: We live in strange times in Elon MuskÃ¢â‚¬â„¢s new world (London
                                                                                                   Evening Standard Online - Factiva, 08/09/2018 08:13 AM)
                                                                                                   Hot Stocks to Watch: TSLA (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                   08/09/2018 08:27 AM)
                                                                                                   Brace for a bear-market drop for Facebook, says this strategist; Critical information
                                                                                                   for the U.S. trading day (MarketWatch - Factiva, 08/09/2018 08:38 AM)
                                                                                                   Elon Musk investigated by US financial authorities over Tesla Ã¢â‚¬Ëœ420Ã¢â‚¬â„¢
                                                                                                   tweet about taking firm private (Independent Online - Factiva, 08/09/2018 08:39 AM)
                                                                                                   UPDATE - Tesla board members confirm Musk's going private idea (Renewables Now -
                                                                                                   Factiva, 08/09/2018 09:22 AM)
                                                                                                   Inspired By Tesla: RBC Speculates On Go-Private Scenario For Celgene (Benzinga.com
                                                                                                   - Factiva, 08/09/2018 09:24 AM)
                                                                                                   Stocks to Watch: Tesla, 21st Century Fox, Rite Aid, Sinclair, Viacom, Roku, Yelp (Dow
                                                                                                   Jones Institutional News - Factiva, 08/09/2018 09:28 AM)
                                                                                                   Stocks to Watch: Tesla, 21st Century Fox, Rite Aid, Sinclair, Viacom, Roku, Yelp; Here
                                                                                                   are some of the companies with shares expected to trade actively in Thursday's session
                                                                                                   (The Wall Street Journal Online - Factiva, 08/09/2018 09:28 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Elon Musk is a Ã¢â‚¬Ëœnatural maniacÃ¢â‚¬â„¢ Ã¢â‚¬â€ hereÃ¢â‚¬â„¢s what it
                                                                                                   means for Tesla investors, in one chart; Ã¢â‚¬ËœYou canÃ¢â‚¬â„¢t ask for the maniac
                                                                                                   parts you like without realizing there are maniac parts that might backfireÃ¢â‚¬â„¢
                                                                                                   (MarketWatch - Factiva, 08/09/2018 09:46 AM)
                                                                                                   4 Conditions Morgan Stanley Considers Critical For Tesla's Successful Move Off The
                                                                                                   Markets (Benzinga.com - Factiva, 08/09/2018 10:06 AM)
                                                                                                   Tesla board confirms talks with Musk about delisting (SeeNews Deals - Factiva,
                                                                                                   08/09/2018 10:45 AM)
                                                                                                   From Virgin to Tesla: why companies go cool on public ownership (The Guardian -
                                                                                                   Factiva, 08/09/2018 11:29 AM)
                                                                                                   3 Things Elon Musk Needs to Do to Take Tesla Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 11:44 AM)
                                                                                                   A deal to take Tesla private probably won't come from Wall Street or Silicon Valley
                                                                                                   (TSLA) (Business Insider - Factiva, 08/09/2018 12:09 PM)
                                                                                                   Elon Musk May Need to Raise Cash to Buy Tesla -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 12:10 PM)
                                                                                                   Elon Musk May Need to Raise Cash to Buy Tesla -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 12:10 PM)
                                                                                                   BUZZ-U.S. STOCKS ON THE MOVE-Viacom, Belmond, Tesla, Yelp, Roku, Perrigo
                                                                                                   (Reuters News - Factiva, 08/09/2018 12:21 PM)
                                                                                                   Seven days: 10 August 2018 (Investors Chronicle - Magazine and Web Content - Factiva,
                                                                                                   08/09/2018 12:30 PM)
                                                                                                   MW UPDATE: Brace for a bear-market drop for Facebook, says this strategist
                                                                                                   (MarketWatch - Factiva, 08/09/2018 12:38 PM)
                                                                                                   Millennial investors are ditching Tesla during its wild week (TSLA) (Business Insider -
                                                                                                   Factiva, 08/09/2018 12:40 PM)
                                                                                                   TeslaÃ¢â‚¬â„¢s stock is the companyÃ¢â‚¬â„¢s greatest marketing tool Ã¢â‚¬â€ what
                                                                                                   happens when it goes away? The electric-car makerÃ¢â‚¬â„¢s shares help create buzz,
                                                                                                   which drives demand for its vehicles (MarketWatch - Factiva, 08/09/2018 12:59 PM)

                                                                                                   HereÃ¢â‚¬â„¢s what the junk-bond market says about Tesla going private
                                                                                                   (MarketWatch - Factiva, 08/09/2018 01:00 PM)
                                                                                                   BUZZ-U.S. STOCKS ON THE MOVE-Viacom, Tesla, Yelp, Roku, Dropbox (Reuters
                                                                                                   News - Factiva, 08/09/2018 01:11 PM)
                                                                                                   BREAKINGVIEWS-Viewsroom: TeslaÃ¢â‚¬â„¢s wild and crazy ride (Reuters News -
                                                                                                   Factiva, 08/09/2018 01:27 PM)
                                                                                                   Scott+Scott Attorneys at Law LLP Announces Investigation into Tesla, Inc. (TSLA)
                                                                                                   (Business Wire - Factiva, 08/09/2018 01:30 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla has started offering owners free Autopilot trials (TSLA) (Business Insider -
                                                                                                   Factiva, 08/09/2018 01:30 PM)
                                                                                                   Investor Alert: Kaplan Fox Announces Investigation Of Tesla, Inc. (PR Newswire -
                                                                                                   Factiva, 08/09/2018 01:52 PM)
                                                                                                   Press Release: Investor Alert: Kaplan Fox Announces Investigation Of Tesla, Inc. (Dow
                                                                                                   Jones Institutional News - Factiva, 08/09/2018 01:52 PM)
                                                                                                   TESLA SHARES DOWN 5.3 PCT TO $350.85, NOW TRADING BELOW ITS LEVEL
                                                                                                   WHEN ELON MUSK FIRST TWEETED ABOUT TAKING TESLA PRIVATE
                                                                                                   (Reuters News - Factiva, 08/09/2018 02:01 PM)
                                                                                                   Tesla appears to be on a hiring spree in the US and in China two months after laying
                                                                                                   off 9% of its employees (TSLA) (Business Insider - Factiva, 08/09/2018 02:08 PM)
                                                                                                   MW UPDATE: Elon Musk is a 'natural maniac' -- here's what it means for Tesla
                                                                                                   investors, in one chart (MarketWatch - Factiva, 08/09/2018 02:09 PM)
                                                                                                   Q&A-Is SpaceX the model for a private Tesla? (Reuters News - Factiva, 08/09/2018 02:16
                                                                                                   PM)
                                                                                                   Tesla's surging stock has cost short sellers $3 billion this month (TSLA) (Business
                                                                                                   Insider - Factiva, 08/09/2018 02:16 PM)
                                                                                                   Is SpaceX the model for a private Tesla? (Reuters News - Factiva, 08/09/2018 02:22 PM)
                                                                                                   BREAKINGVIEWS-Tesla gets a lesson in buyout realities (Reuters News - Factiva,
                                                                                                   08/09/2018 02:25 PM)
                                                                                                   Tesla shares fall as investors await Musk's funding plan (Reuters News - Factiva,
                                                                                                   08/09/2018 02:30 PM)
                                                                                                   Tesla shares slip below level before Musk's going private tweet (Reuters News - Factiva,
                                                                                                   08/09/2018 02:32 PM)
                                                                                                   SEC TO INCREASE SCRUTINY ON TESLA AFTER ELON MUSK'S TWEET
                                                                                                   STORM EARLIER THIS WEEK ABOUT TAKING THE COMPANY PRIVATE -
                                                                                                   BLOOMBERG TV TWEET (Reuters News - Factiva, 08/09/2018 02:36 PM)
                                                                                                   BRIEF-SEC To Increase Scrutiny On Tesla After Elon Musk's Tweet Storm Earlier
                                                                                                   This Week About Taking The Company Private - Bloomberg TV Tweet (Reuters News -
                                                                                                   Factiva, 08/09/2018 02:37 PM)
                                                                                                   SEC WAS SAID TO BE LOOKING AT TESLA BEFORE TAKEOVER TWEETS
                                                                                                   FROM ELON MUSK - BLOOMBERG, CITING SOURCES (Reuters News - Factiva,
                                                                                                   08/09/2018 02:39 PM)
                                                                                                   SEC reportedly 'intensifying' examination of Tesla after Elon Musk tweets about
                                                                                                   taking the company private (TSLA) (Business Insider - Factiva, 08/09/2018 02:42 PM)
                                                                                                   SEC reportedly 'intensifying' examination of Tesla after Elon Musk tweets about
                                                                                                   taking the company private (TSLA) (Business Insider - Factiva, 08/09/2018 02:42 PM)
                                                                                                   BRIEF-SEC Was Said To Be Looking At Tesla Before Takeover Tweets From Elon
                                                                                                   Musk - Bloomberg (Reuters News - Factiva, 08/09/2018 02:45 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   SEC intensifying Tesla probe - Bbg (Reuters News - Factiva, 08/09/2018 02:48 PM)
                                                                                                   Tesla stock drops back near pre-Musk tweet level (The Canadian Press - Broadcast wire -
                                                                                                   Factiva, 08/09/2018 02:52 PM)
                                                                                                   Moody's Says Tesla's Consideration To Go Private Based On Ceo's Note Is Credit
                                                                                                   Negative. (Dow Jones Institutional News - Factiva, 08/09/2018 02:57 PM)
                                                                                                   MW SEC 'intensifying' Tesla probe, company already under scrutiny: report
                                                                                                   (MarketWatch - Factiva, 08/09/2018 02:58 PM)
                                                                                                   SEC 'Intensifying' Tesla Probe, Company Already Under Scrutiny: Report --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/09/2018 02:58 PM)
                                                                                                   RPT-SEC WAS SAID TO BE LOOKING AT TESLA BEFORE TAKEOVER
                                                                                                   TWEETS FROM ELON MUSK - BLOOMBERG, CITING SOURCES (Reuters News -
                                                                                                   Factiva, 08/09/2018 03:00 PM)
                                                                                                   Tesla is now worth less than it was before Elon MuskÃ¢â‚¬â„¢s $420 tweet (TSLA)
                                                                                                   (Business Insider - Factiva, 08/09/2018 03:00 PM)
                                                                                                   The Saudis Should Buy Tesla, But Not At $420 Per Share (Benzinga.com - Factiva,
                                                                                                   08/09/2018 03:00 PM)
                                                                                                   BRIEF-Moody's Says Tesla's Consideration To Go Private Based On CEO's Note Is
                                                                                                   Credit Negative (Reuters News - Factiva, 08/09/2018 03:01 PM)
                                                                                                   SEC 'intensifying' Tesla probe, company already under scrutiny: report (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/09/2018 03:22 PM)
                                                                                                   Moody's Calls Musk's Statements a 'Credit Negative' - Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 03:26 PM)
                                                                                                   3 Things Elon Musk Needs to Do to Take Tesla Private -- Barron's Blog (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 03:31 PM)
                                                                                                   Farmland Prices Inch Up in Chicago Fed District -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 04:03 PM)
                                                                                                   Energy Companies Pull Dow, S&P 500 Lower -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/09/2018 04:05 PM)
                                                                                                   Tesla tumbles as US stocks end mostly lower (Agence France Presse - Factiva, 08/09/2018
                                                                                                   04:22 PM)
                                                                                                   Auto & Transport Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/09/2018 04:50 PM)
                                                                                                   UPDATE 3-Tesla shares fall 5 pct on Wall St skepticism, SEC probe reports (Reuters
                                                                                                   News - Factiva, 08/09/2018 04:51 PM)
                                                                                                   Tesla shares fall 5 percent on Wall Street skepticism, SEC probe reports (Reuters News -
                                                                                                   Factiva, 08/09/2018 04:54 PM)
                                                                                                   US STOCKS-S&P 500, Dow end lower with energy, financials; Tesla falls (Reuters
                                                                                                   News - Factiva, 08/09/2018 04:56 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   S&P 500, Dow end lower with energy, financials; Tesla falls (Reuters News - Factiva,
                                                                                                   08/09/2018 04:57 PM)
                                                                                                   MW UPDATE: Tesla's stock is the company's greatest marketing tool -- what happens
                                                                                                   when it goes away? (MarketWatch - Factiva, 08/09/2018 04:59 PM)
                                                                                                   BC-Business News Digest (Associated Press Newswires - Factiva, 08/09/2018 05:04 PM)

                                                                                                   MW Tesla board to ramp up going-private talks: report (MarketWatch - Factiva,
                                                                                                   08/09/2018 05:18 PM)
                                                                                                   Tesla Board To Ramp Up Going-private Talks: Report -- MarketWatch (Dow Jones
                                                                                                   Institutional News - Factiva, 08/09/2018 05:18 PM)
                                                                                                   Tesla's board may reportedly tell Elon Musk to recuse himself from talks about taking
                                                                                                   the company private (TSLA) (Business Insider - Factiva, 08/09/2018 05:27 PM)
                                                                                                   Tesla board to ramp up going-private talks: report (Dow Jones Newswires Chinese
                                                                                                   (English) - Factiva, 08/09/2018 05:34 PM)
                                                                                                   Tesla stock drops closer to pre-Musk tweet level (Associated Press Newswires - Factiva,
                                                                                                   08/09/2018 05:42 PM)
                                                                                                   Tesla stock drops closer to pre-Musk tweet level (The Canadian Press - Factiva,
                                                                                                   08/09/2018 05:43 PM)
                                                                                                   EXCLUSIVE-Tesla's board seeking more information on Musk's financing plan -
                                                                                                   sources (Reuters News - Factiva, 08/09/2018 05:50 PM)
                                                                                                   Tesla Board Plans to Meet Advisers Next Week About Potential Buyout -CNBC (Dow
                                                                                                   Jones Institutional News - Factiva, 08/09/2018 05:50 PM)
                                                                                                   Elon Musk Is Beating Short-Sellers, for Now (NYTimes.com Feed - Factiva, 08/09/2018
                                                                                                   05:59 PM)
                                                                                                   Investors really aren't buying Musk's plan for Tesla (CNN Wire - Factiva, 08/09/2018
                                                                                                   06:02 PM)
                                                                                                   Investors really aren't buying Musk's plan for Tesla (CNN Wire - Factiva, 08/09/2018
                                                                                                   06:36 PM)
                                                                                                   'Oil barons are behind plot to sink Tesla': An extraordinary claim emerges as the car
                                                                                                   maker's shares dip 5% (Mail Online - Factiva, 08/09/2018 06:56 PM)
                                                                                                   Elon Musk May Need to Raise Cash to Buy Tesla -- Market Talk (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/09/2018 07:45 PM)
                                                                                                   TeslaÃ¢â‚¬â„¢s shorters play the long game against Musk (thetimes.co.uk - Factiva,
                                                                                                   08/09/2018 08:01 PM)
                                                                                                   EXCLUSIVE-Tesla's board seeking more information on Musk's financing plan -
                                                                                                   sources (Reuters News - Factiva, 08/09/2018 08:24 PM)
                                                                                                   Exclusive: Tesla's board seeking more information on Musk's financing plan - sources
                                                                                                   (Reuters News - Factiva, 08/09/2018 08:26 PM)




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                                                         Excess                                       Abnormal
                                              Market    Industry Predicted Abnormal                     Price
     Date       Volume     Price     Return   Return     Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                                 BYD Will Need to Differentiate Versus Tesla -- Market Talk (Dow Jones Institutional
                                                                                                                 News - Factiva, 08/09/2018 08:31 PM)
                                                                                                                 Global Equities Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                                 08/09/2018 08:31 PM)
                                                                                                                 BYD Will Need to Differentiate Versus Tesla -- Market Talk (Dow Jones Newswires
                                                                                                                 Chinese (English) - Factiva, 08/09/2018 08:52 PM)
                                                                                                                 Tesla board move forward on Elon Musk's go-private proposal (The Telegraph Online -
                                                                                                                 Factiva, 08/09/2018 09:08 PM)
8/10/2018 Fri   11,552,044 $355.49    0.86%    -0.63%     -1.41%   -1.24%     2.11%   0.82 41.15%       $7.42    Doug Field returns to Apple after leaving Tesla (CNET News.com - Factiva, 08/10/2018)

                                                                                                                 Elon MuskÃ¢â‚¬â„¢s Tesla tweets are no longer scaring short sellers (latimes.com -
                                                                                                                 Factiva, 08/10/2018)
                                                                                                                 Teradici Expands its Public Cloud Partnership with Google Cloud To Enable
                                                                                                                 Customers to Deploy and Manage Secure, High-Performance Virtual Workstations
                                                                                                                 (Khaleej Times - Factiva, 08/10/2018)
                                                                                                                 Tesla Motors launches promotional program of free Autopilot (Auto Business News -
                                                                                                                 Factiva, 08/10/2018)
                                                                                                                 08:27 EDT Morgan Stanley says Tesla LBO doesn't seem feasible, equity buyout...
                                                                                                                 (Theflyonthewall.com - Factiva, 08/10/2018)
                                                                                                                 08:41 EDT Tesla former engineering chief goes back to Apple, Reuters says Doug...
                                                                                                                 (Theflyonthewall.com - Factiva, 08/10/2018)
                                                                                                                 14:57 EDT Tesla seeks wide investor pool for go-private plan, Bloomberg says
                                                                                                                 (Theflyonthewall.com - Factiva, 08/10/2018)
                                                                                                                 15:05 EDT Tesla holding early talks with banks about plans, Bloomberg...
                                                                                                                 (Theflyonthewall.com - Factiva, 08/10/2018)
                                                                                                                 15:37 EDT Tesla seeks wide investor pool for go-private plan, Bloomberg...
                                                                                                                 (Theflyonthewall.com - Factiva, 08/10/2018)
                                                                                                                 18:56 EDT Class action suit filed against Elon Musk, Tesla Keller Lenkner LLC...
                                                                                                                 (Theflyonthewall.com - Factiva, 08/10/2018)
                                                                                                                 5 things you need to know to start the day (CE NoticiasFinancieras - Factiva, 08/10/2018)

                                                                                                                 A tweet raises stocks and the stakes for Tesla chief (The Independent - Factiva,
                                                                                                                 08/10/2018)
                                                                                                                 APPY FAMILIES (Herald-Sun - Factiva, 08/10/2018)
                                                                                                                 APPY FAMILIES (The Advertiser - Factiva, 08/10/2018)
                                                                                                                 BRIEFCASE (Boonville Daily News - Factiva, 08/10/2018)
                                                                                                                 BRIEFCASE (Hannibal Courier-Post - Factiva, 08/10/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   BUSINESS BEAT; Tesla's stock surge fizzles; Tumble erases gains triggered by Musk's
                                                                                                   tweet on privatizing electric car maker. (Los Angeles Times - Factiva, 08/10/2018)

                                                                                                   CFRA Equity Research Research Report (Eikon - Manual Entry, 08/10/2018)
                                                                                                   Cowen and Company Research Report (Eikon - Manual Entry, 08/10/2018)
                                                                                                   DealBook Briefing: Where Is Tesla's Money? (The New York Times - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Delo analyses Tesla situation (STA - Factiva, 08/10/2018)
                                                                                                   Digest (The Washington Post - Factiva, 08/10/2018)
                                                                                                   Doubts grow about Musk's drive to take Tesla private (Irish Independent - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Dow Jones Futures Fall On Turkey, Intel; Tesla Volatile, These 2 IBD 50 Stocks Rally
                                                                                                   (Investor's Business Daily - Factiva, 08/10/2018)
                                                                                                   Dow Jones Futures Fall On Turkey; Tesla, These 2 IBD 50 Stocks Rally (Investor's
                                                                                                   Business Daily - Factiva, 08/10/2018)
                                                                                                   Electric dreams our new reality (The Ipswich Advertiser - Factiva, 08/10/2018)
                                                                                                   Elon Musk and Tesla: Tweet, rattle and roll (EJ Insight - Factiva, 08/10/2018)
                                                                                                   ELON MUSK TWEETS DRAW SEC SCRUTINY; AGENCY REPORTEDLY
                                                                                                   LOOKING INTO HOW THE FIRM WOULD FINANCE PLAN TO GO PRIVATE
                                                                                                   (San Jose Mercury News - Factiva, 08/10/2018)
                                                                                                   Firm, the bet to a fall of titles of Tesla (CE NoticiasFinancieras - Factiva, 08/10/2018)
                                                                                                   Former Tesla exec Doug Field is returning to Apple to work on its self-driving car
                                                                                                   program (San Francisco Business Times Online - Factiva, 08/10/2018)
                                                                                                   Former Tesla exec Doug Field is returning to Apple to work on its self-driving car
                                                                                                   program (Silicon Valley/San Jose Business Journal Online - Factiva, 08/10/2018)
                                                                                                   Here's why Elon Musk should take Tesla private (Smart Company - Factiva, 08/10/2018)

                                                                                                   How weÃ¢â‚¬â„¢ve gone from a Ã¢â‚¬Ëœraging bull to a sitting bull' and why you
                                                                                                   should stay away from Tesla; A roundup of investment ideas for active investors (The
                                                                                                   Globe and Mail (Breaking News) - Factiva, 08/10/2018)
                                                                                                   IN BRIEF (The Freeman - Factiva, 08/10/2018)
                                                                                                   IN BRIEF (Washington County Daily News - Factiva, 08/10/2018)
                                                                                                   Investment from overseas is strong despite tensions (China Daily-Africa Weekly - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Investment from overseas is strong despite tensions (China Daily-Europe Weekly -
                                                                                                   Factiva, 08/10/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Investors not buying MuskÃ¢â‚¬â„¢s ability to get Tesla deal done; Most donÃ¢â‚¬â„¢t
                                                                                                   believe the flamboyant chief executive could secure the funding to take the company
                                                                                                   private (The Irish Times - Factiva, 08/10/2018)
                                                                                                   Investors seriously doubt Musk's plan to get Tesla out of stock market (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/10/2018)
                                                                                                   InvestorsObserver; Is it time to buy stock in Advanced Micro Devices, Caesars
                                                                                                   Entertainment, Microsoft, Square Inc. or Tesla? (Entertainment Newsweekly - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Jefferson Research & Management Research Report (Capital IQ - Manual Entry,
                                                                                                   08/10/2018)
                                                                                                   Keep your wallet Ã¢â‚¬â€œ and sanity Ã¢â‚¬â€œ intact and avoid Tesla stock (The
                                                                                                   Globe and Mail - Factiva, 08/10/2018)
                                                                                                   LIQUIDITY ALERT: Tesla Inc. Has US$2.3-Bil. Deficit at March 31 (Lloyds Liquidity
                                                                                                   Alert - Factiva, 08/10/2018)
                                                                                                   Markets summary (The Globe and Mail - Factiva, 08/10/2018)
                                                                                                   Millennium BCP Research Report (Capital IQ - Manual Entry, 08/10/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/10/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/10/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/10/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/10/2018)
                                                                                                   Motor Vehicles and Passenger Car Bodies; Tesla, Inc. Files SEC Form 8-K, Current
                                                                                                   Report: (Jul. 30, 2018) (Journal of Transportation - Factiva, 08/10/2018)
                                                                                                   Musk 'held talks with SoftBank' (The Standard - Factiva, 08/10/2018)
                                                                                                   Musk in muck Deeper SEC probe sinks Telsa stock (New York Post - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Musk Is Beating Short-Sellers, for Now (The New York Times - Factiva, 08/10/2018)
                                                                                                   Note to Musk: Tesla isn't the only company targeted by short sellers. Here's who tops
                                                                                                   the list in Mass. (Boston Business Journal Online - Factiva, 08/10/2018)
                                                                                                   Note to Musk: Tesla isn't the only company targeted by short sellers. There are three in
                                                                                                   the Triad. (Triad Business Journal Online - Factiva, 08/10/2018)
                                                                                                   'OIL BARONS BEHIND PLOT TO SINK TESLA' (Daily Mail - Factiva, 08/10/2018)
                                                                                                   'Oil barons behind plot to sink Tesla' (Scottish Daily Mail - Factiva, 08/10/2018)
                                                                                                   Pressure on Musk to prove his buyout tweet (The Australian - Factiva, 08/10/2018)
                                                                                                   Probe into Tesla tweet (Gold Coast Bulletin - Factiva, 08/10/2018)
                                                                                                   Probe into Tesla tweet (Hobart Mercury - Factiva, 08/10/2018)
                                                                                                   Probe into Tesla tweet (Townsville Bulletin - Factiva, 08/10/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Pros and cons of going private (The Australian - Factiva, 08/10/2018)
                                                                                                   Removing Tesla from Wall Street is easy, but is it? (CE NoticiasFinancieras - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Report: SEC probes Musk tweet (Shanghai Daily - Factiva, 08/10/2018)
                                                                                                   Report: SEC probing whether Elon Musk lied about plans to take Tesla private (Pacific
                                                                                                   Business News Online - Factiva, 08/10/2018)
                                                                                                   Report: Tesla board plans talks with financial advisers to explore buyout (SNL Energy
                                                                                                   Finance Daily - Factiva, 08/10/2018)
                                                                                                   Report: Tesla board plans talks with financial advisers to explore buyout (SNL Financial
                                                                                                   Services Daily - Factiva, 08/10/2018)
                                                                                                   SEC looking into Tesla after Musk's market-moving tweet (St. Paul Pioneer Press -
                                                                                                   Factiva, 08/10/2018)
                                                                                                   SEC said to step up probe of Tesla's public statements (Calgary Herald - Factiva,
                                                                                                   08/10/2018)
                                                                                                   SEC said to step up probe of Tesla's public statements (Edmonton Journal - Factiva,
                                                                                                   08/10/2018)
                                                                                                   SEC said to step up probe of Tesla's public statements (Montreal Gazette - Factiva,
                                                                                                   08/10/2018)
                                                                                                   SEC said to step up probe of Tesla's public statements (Ottawa Citizen - Factiva,
                                                                                                   08/10/2018)
                                                                                                   SEC said to step up probe of Tesla's public statements (Vancouver Sun - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Self driving Cars and Trucks Market Size, Share & Trends Analysis Report By
                                                                                                   Application (Transportation, Defense), By Region And Segment Forecasts, 2020
                                                                                                   Ã¢â‚¬â€œ 2030 (iCrowdNewswire - Factiva, 08/10/2018)
                                                                                                   Selling Tesla stock may not be a bad thing (USA Today - Factiva, 08/10/2018)
                                                                                                   Stocks - Tesla Volatile in Pre-market; Dropbox, News Corp Sink; ExOne Plummets
                                                                                                   (Investing.com - Factiva, 08/10/2018)
                                                                                                   Stocks Near Highs; Elon Musk Whipsaws Tesla; These Top Stocks Move On Earnings:
                                                                                                   Weekly Review (Investor's Business Daily - Factiva, 08/10/2018)
                                                                                                   Streetwise: Musk's Slight to Shareholders (The Wall Street Journal - Factiva, 08/10/2018)

                                                                                                   Susquehanna Financial Group LLLP Research Report (Eikon - Manual Entry,
                                                                                                   08/10/2018)
                                                                                                   Tesla board seeking more info on Musk's financing plan: report (EJ Insight - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Tesla buyout not as big a long shot as it sounds, but would need to go short on leverage
                                                                                                   (Global Times - Factiva, 08/10/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   Tesla could thrive as private company but feasibility remains murky: Analysts (SNL
                                                                                                   Power Daily with Market Report - Factiva, 08/10/2018)
                                                                                                   Tesla falls, wiping out tweet-fueled rally in just two days (Charleston Gazette - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Tesla falls, wiping out tweet-fueled rally in just two days (Daily Herald - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Tesla falls, wiping out Tweet-fueled rally in just two days (Indiainfoline News Service -
                                                                                                   Factiva, 08/10/2018)
                                                                                                   Tesla isn't the only company targeted by short sellers. Here's who tops the list. (Orlando
                                                                                                   Business Journal Online - Factiva, 08/10/2018)
                                                                                                   Tesla isn't the only company targeted by short sellers. Here's who tops the list. (Triangle
                                                                                                   Business Journal Online - Factiva, 08/10/2018)
                                                                                                   Tesla isn't the only company targeted by short sellers. Here's who tops the list.
                                                                                                   (Washington Business Journal Online - Factiva, 08/10/2018)
                                                                                                   Tesla isn't the only company targeted by short sellers. Here's who tops the Tampa Bay
                                                                                                   list. (Tampa Bay Business Journal Online - Factiva, 08/10/2018)
                                                                                                   Tesla plunges, wiping out rally in 2 days (The Patriot Ledger - Factiva, 08/10/2018)
                                                                                                   Tesla stock falls closer to pre-Musk tweet level (Orlando Sentinel - Factiva, 08/10/2018)

                                                                                                   Tesla under further scrutiny after Musk remarks (The Boston Globe - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Tesla: What You Need to Know about the Federal EV Tax Credit Phase Out (Contify
                                                                                                   Automotive News - Factiva, 08/10/2018)
                                                                                                   TeslaÃ¢â‚¬â„¢s board evaluating Elon MuskÃ¢â‚¬â„¢s take-private plan, amid
                                                                                                   deflating investor enthusiasm (San Francisco Business Times Online - Factiva, 08/10/2018)

                                                                                                   TeslaÃ¢â‚¬â„¢s board evaluating Elon MuskÃ¢â‚¬â„¢s take-private plan, amid
                                                                                                   deflating investor enthusiasm (Silicon Valley/San Jose Business Journal Online - Factiva,
                                                                                                   08/10/2018)
                                                                                                   TeslaÃ¢â‚¬â„¢s board evaluating Elon MuskÃ¢â‚¬â„¢s take-private plan, amid
                                                                                                   deflating investor enthusiasm (St. Louis Business Journal Online - Factiva, 08/10/2018)
                                                                                                   Tesla's board might not know where Elon's 'secure' funding is coming from (CNET
                                                                                                   News.com - Factiva, 08/10/2018)
                                                                                                   Tesla's Board To Meet Adviser on Privatization, Musk Seeking Saudi Sovereign Fund:
                                                                                                   Report (AAStocks Financial News - Factiva, 08/10/2018)
                                                                                                   Tesla's retail investors may want to take money and run if electric-car maker goes
                                                                                                   private (USA Today Online - Factiva, 08/10/2018)
                                                                                                   Tesla's shorters play the long game against Musk (The Times - Factiva, 08/10/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla's troubled New York solar factory tells a gloomy story (Business Times Singapore -
                                                                                                   Factiva, 08/10/2018)
                                                                                                   The long unraveling of TeslaÃ¢â‚¬â„¢s master plan (latimes.com - Factiva, 08/10/2018)

                                                                                                   The private stock musings and short fuse of Elon Musk (The Kansas City Star - Factiva,
                                                                                                   08/10/2018)
                                                                                                   The S&P 500 and Dow ended down slightly yesterday as gains in Apple and Amazon...
                                                                                                   (The Herald - Factiva, 08/10/2018)
                                                                                                   The SEC is intensifying its probe of Tesla (The Plain Dealer - Factiva, 08/10/2018)
                                                                                                   The spotlight is back on the iCar as Tesla's vehicle engineering chief returns to Apple
                                                                                                   (Mashable.com - Factiva, 08/10/2018)
                                                                                                   U.S. sec turns eyes on tesla ceo's plans; Stock rises, then slips on going-private talk
                                                                                                   (National Post - Factiva, 08/10/2018)
                                                                                                   Unlikely delta Tesla: shares will fall, according to investors (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/10/2018)
                                                                                                   UPDATE: Tesla shares jump 11% after CEO Musk confirms privatization interest
                                                                                                   (SNL Renewable Energy Weekly - Factiva, 08/10/2018)
                                                                                                   Valener utility leans on Tesla battery banks to get through Vt. heatwave (SNL Energy
                                                                                                   Finance Daily - Factiva, 08/10/2018)
                                                                                                   Valener utility leans on Tesla battery banks to get through Vt. heatwave (SNL Power
                                                                                                   Daily with Market Report - Factiva, 08/10/2018)
                                                                                                   WALL ST SCEPTICISM AND SEC PROBE HIT TESLA (City AM - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Whatever you think of Musk, stock markets must work for tech too (London Evening
                                                                                                   Standard - Factiva, 08/10/2018)
                                                                                                   WSJ: Musk denies having received funding for Tesla's withdrawal from stock exchange
                                                                                                   - may be in trouble*** TRANSLATED *** (STT - Factiva, 08/10/2018)
                                                                                                   WSJ: Musk denies having received funding for Tesla's withdrawal from stock exchange
                                                                                                   - may be in trouble*** TRANSLATED *** (STT - Factiva, 08/10/2018)
                                                                                                   WSJ: Musk may be in trouble with Tesla Tie*** TRANSLATED *** (STT - Factiva,
                                                                                                   08/10/2018)
                                                                                                   Message to Elon Musk. If you ever get tired of America, you are very welcome here in
                                                                                                   Britain (The Telegraph Online - Factiva, 08/10/2018 02:13 AM)
                                                                                                   Musk's Slight to Shareholders -- WSJ (Dow Jones Institutional News - Factiva, 08/10/2018
                                                                                                   02:32 AM)
                                                                                                   Ex-Tesla engineer Doug Field is back at Apple, working on its self-driving car program,
                                                                                                   Project Titan (Business Insider - Factiva, 08/10/2018 02:36 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Elon Musk's Flawed Plan for Tesla Shareholders (Dow Jones Newswires Chinese
                                                                                                   (English) - Factiva, 08/10/2018 03:57 AM)
                                                                                                   HereÃ¢â‚¬â„¢s what the junk-bond market says about Tesla going private; Tesla
                                                                                                   bondholders Ã¢â‚¬Ëœare looking at things differently,Ã¢â‚¬â„¢ says one fund
                                                                                                   manager (MarketWatch - Factiva, 08/10/2018 04:26 AM)
                                                                                                   Investors are overlooking this incredibly valuable part of TeslaÃ¢â‚¬â„¢s business;
                                                                                                   Analysts arenÃ¢â‚¬â„¢t focusing on the cash flow from autonomous taxis (MarketWatch
                                                                                                   - Factiva, 08/10/2018 04:38 AM)
                                                                                                   Tesla Board's Independence Is Tested by Musk's Buyout Idea (Dow Jones Institutional
                                                                                                   News - Factiva, 08/10/2018 05:30 AM)
                                                                                                   Tesla Board's Independence Is Tested by Musk's Buyout Idea; Most of the directors
                                                                                                   have close business or personal relationships with company CEO Elon Musk (The Wall
                                                                                                   Street Journal Online - Factiva, 08/10/2018 05:30 AM)
                                                                                                   Tesla car chief returns to Apple 'to work on secret car project' (The Telegraph Online -
                                                                                                   Factiva, 08/10/2018 05:30 AM)
                                                                                                   Tesla BoardÃ¢â‚¬â„¢s Independence Faces Tough Test (Dow Jones Institutional News -
                                                                                                   Factiva, 08/10/2018 05:50 AM)
                                                                                                   Elon Musk is under 'increased scrutiny' from the SEC: Probe into Tesla CEO over
                                                                                                   tweeted plans to take the electric car company private 'intensifies' (Mail Online -
                                                                                                   Factiva, 08/10/2018 06:39 AM)
                                                                                                   DealBook Briefing: Saudi ArabiaÃ¢â‚¬â„¢s Deep Pockets May Need a Top-Up
                                                                                                   (NYTimes.com Feed - Factiva, 08/10/2018 06:40 AM)
                                                                                                   Tesla board to meet on Musk's 'go private' plan (MarketLine News and Comment -
                                                                                                   Factiva, 08/10/2018 07:28 AM)
                                                                                                   Public or Private, Tesla Fans Are Along for the Ride; Many retail investors say they
                                                                                                   plan to stick with the electric-car maker for the long haul; one is 'betting on the jockey,
                                                                                                   not the horse' (The Wall Street Journal Online - Factiva, 08/10/2018 08:00 AM)
                                                                                                   Tesla Fans: Sign Us Up for Private Ride With Elon Musk (Dow Jones Institutional News -
                                                                                                   Factiva, 08/10/2018 08:00 AM)
                                                                                                   Tesla Fans: Sign Us Up for Private Ride With Elon Musk (Dow Jones Institutional News -
                                                                                                   Factiva, 08/10/2018 08:10 AM)
                                                                                                   MW UPDATE: Here's what the junk-bond market says about Tesla going private
                                                                                                   (MarketWatch - Factiva, 08/10/2018 08:26 AM)
                                                                                                   MW UPDATE: Investors are overlooking this incredibly valuable part of Tesla's
                                                                                                   business (MarketWatch - Factiva, 08/10/2018 08:38 AM)
                                                                                                   Tesla's former head of engineering Doug Field has left the company to work on Apple's
                                                                                                   secretive 'Project Titan' self-driving car experiment (Mail Online - Factiva, 08/10/2018
                                                                                                   08:55 AM)
                                                                                                   Tesla is now worth less than it was before Elon Musk's $420 tweet (TSLA) (Business
                                                                                                   Insider - Factiva, 08/10/2018 09:15 AM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events

                                                                                                   Why Musk's Private Tesla Dream Shouldn't Spook Public Markets -- Heard on the
                                                                                                   Street (Dow Jones Institutional News - Factiva, 08/10/2018 09:29 AM)
                                                                                                   Why Musk's Private Tesla Dream Shouldn't Spook Public Markets; The number of
                                                                                                   listed companies may be falling but public equity isn't dying (The Wall Street Journal
                                                                                                   Online - Factiva, 08/10/2018 09:29 AM)
                                                                                                   Elon Musk makes good on his promise to send David Einhorn 'a box of short shorts'
                                                                                                   after Tesla hurt the short-seller's performance (TSLA) (Business Insider - Factiva,
                                                                                                   08/10/2018 10:20 AM)
                                                                                                   TESLA SHARES SOLD SHORT AT 34.75 MLN AS OF AUG 9, UP FROM 34.67
                                                                                                   MLN BEFORE ELON MUSK'S GO-PRIVATE TWEET ON AUG 7 - S3 PARTNERS
                                                                                                   DATA (Reuters News - Factiva, 08/10/2018 11:12 AM)
                                                                                                   Tesla short-sellers back in force as shares remain shaky (Reuters News - Factiva,
                                                                                                   08/10/2018 11:40 AM)
                                                                                                   Tesla short-sellers back in force as shares remain shaky (Reuters News - Factiva,
                                                                                                   08/10/2018 11:46 AM)
                                                                                                   Tesla to be examined by SEC over Elon Musk's 'funding secured' tweet Ã¢â‚¬â€œ
                                                                                                   report (The Guardian - Factiva, 08/10/2018 11:46 AM)
                                                                                                   Riding Tesla's Volatile Shares -- Barrons.com (Dow Jones Institutional News - Factiva,
                                                                                                   08/10/2018 02:12 PM)
                                                                                                   CORRECTED-Doug Field, former Tesla engineering chief, returns to Apple (Reuters
                                                                                                   News - Factiva, 08/10/2018 02:22 PM)
                                                                                                   Musk's Buyout Plan May Signal Market Woes Ahead -- Barrons.com (Dow Jones
                                                                                                   Institutional News - Factiva, 08/10/2018 02:24 PM)
                                                                                                   Doug Field, former Tesla engineering chief, returns to Apple (Reuters News - Factiva,
                                                                                                   08/10/2018 02:27 PM)
                                                                                                   Elon Musk's 'funding secured' tweet could cost Tesla millions, former SEC chairman
                                                                                                   says (TSLA) (Business Insider - Factiva, 08/10/2018 02:55 PM)
                                                                                                   REFILE-TIMELINE-Main events in Tesla's history as a public company (Reuters News
                                                                                                   - Factiva, 08/10/2018 03:41 PM)
                                                                                                   Timeline: Main events in Tesla's history as a public company (Reuters News - Factiva,
                                                                                                   08/10/2018 03:55 PM)
                                                                                                   Riding Tesla's Volatile Shares (Barron's Online - Factiva, 08/10/2018 04:27 PM)
                                                                                                   How Some CEOs Successfully Run More Than One Company (Barron's Online - Factiva,
                                                                                                   08/10/2018 04:30 PM)
                                                                                                   How Some CEOs Successfully Run More Than One Company -- Barrons.com (Dow
                                                                                                   Jones Institutional News - Factiva, 08/10/2018 04:30 PM)
                                                                                                   Tesla's Unreal Stock Price Is the Peril of Elon; Enron's problems began with a share
                                                                                                   price its business couldn't support. Will Tesla do better? (The Wall Street Journal Online -
                                                                                                   Factiva, 08/10/2018 05:17 PM)



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                                                    Excess                                       Abnormal
                                          Market   Industry Predicted Abnormal                     Price
     Date       Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                            BRIEF-Tesla Says Federal EV Tax Credit Will Exist In Some Form Through End Of
                                                                                                            2019 (Reuters News - Factiva, 08/10/2018 06:09 PM)
                                                                                                            TESLA SHAREHOLDER FILES PROPOSED CLASS-ACTION LAWSUIT
                                                                                                            ACCUSING COMPANY, CEO ELON MUSK OF SECURITIES FRAUD -- COURT
                                                                                                            FILING (Reuters News - Factiva, 08/10/2018 06:32 PM)
                                                                                                            LAWSUIT SAYS DEFENDANTS SCHEMED TO MANIPULATE TESLA STOCK
                                                                                                            PRICE AND 'COMPLETELY DECIMATE' SHORT-SELLERS, STARTING WITH
                                                                                                            MUSK TWEET SAYING WAS CONSIDERING TAKING TESLA PRIVATE (Reuters
                                                                                                            News - Factiva, 08/10/2018 06:34 PM)
                                                                                                            Tesla CEO Musk accused in lawsuit of defrauding shareholders (Reuters News - Factiva,
                                                                                                            08/10/2018 06:50 PM)
                                                                                                            Keller Lenkner LLC Files Class Action Suit Against Elon Musk and Tesla, Inc. (PR
                                                                                                            Newswire - Factiva, 08/10/2018 06:51 PM)
                                                                                                            Press Release: Keller Lenkner LLC Files Class Action Suit Against Elon Musk and
                                                                                                            Tesla, Inc. (Dow Jones Institutional News - Factiva, 08/10/2018 06:51 PM)
                                                                                                            Musk's Buyout Plan May Signal Market Woes Ahead (Barron's Online - Factiva,
                                                                                                            08/10/2018 07:43 PM)
                                                                                                            Hagens Berman Sobol Shapiro LLP Files Securities Class Action Against Tesla, Inc.
                                                                                                            (NASDAQ: TSLA) and Elon Musk For False Market Moving Tweet (GlobeNewswire -
                                                                                                            Factiva, 08/10/2018 08:18 PM)
                                                                                                            UPDATE 3-Lawsuits accuse Tesla's Musk of fraud over tweets, going-private proposal
                                                                                                            (Reuters News - Factiva, 08/10/2018 08:49 PM)
                                                                                                            Lawsuits accuse Tesla's Musk of fraud over tweets, going-private proposal (Reuters
                                                                                                            News - Factiva, 08/10/2018 09:02 PM)
                                                                                                            SHAREHOLDER ALERT: Kaskela Law LLC Announces Shareholder Class Action
                                                                                                            Lawsuit Filed Against Tesla, Inc. and Elon Musk, and Encourages Investors to Contact
                                                                                                            the Firm (GlobeNewswire - Factiva, 08/10/2018 10:08 PM)
8/11/2018 Sat                                                                                               Elon Musk Plans Taking Tesla Private (Financial Deals Tracker - Factiva, 08/11/2018)
                                                                                                            Elon Musk Plans Taking Tesla Private (Financial Deals Tracker - Factiva, 08/11/2018)
                                                                                                            Elon Musk's $82bn quest to silence his critics (ArabianBusiness.com - Factiva,
                                                                                                            08/11/2018)
                                                                                                            12:37 EDT Some CEOs successfully run more than one company, Barron's
                                                                                                            saysAmazon... (Theflyonthewall.com - Factiva, 08/11/2018)
                                                                                                            Analysis: How Elon MuskÃ¢â‚¬â„¢s SpaceX may be model for Tesla going private
                                                                                                            (Daily Herald - Factiva, 08/11/2018)
                                                                                                            APPY FAMILIES (Daily Telegraph - Factiva, 08/11/2018)
                                                                                                            AS SEC SCRUTINISES TESLA, MUSK CATCHES SHORTERS SHORT (Herald-Sun -
                                                                                                            Factiva, 08/11/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Business (The Economist - Factiva, 08/11/2018)
                                                                                                   By Geoffrey A. Fowler (The Florida Times-Union - Factiva, 08/11/2018)
                                                                                                   By Russ Mitchell (The Florida Times-Union - Factiva, 08/11/2018)
                                                                                                   CITY ANALYSIS (The Sun - Factiva, 08/11/2018)
                                                                                                   CITY ANALYSIS (The Sun - Factiva, 08/11/2018)
                                                                                                   Corporate cops examine Musk (Hobart Mercury - Factiva, 08/11/2018)
                                                                                                   Corporate cops to examine Musk tweet (The Advertiser - Factiva, 08/11/2018)
                                                                                                   DealBook Briefing: Saudi Arabia's Deep Pockets May Need a Top-Up (The New York
                                                                                                   Times - Factiva, 08/11/2018)
                                                                                                   EXCHANGE --- Banking & Finance: Fork in Road Looms for Tesla Investors --- If
                                                                                                   buyout proceeds, some plan to stay aboard, while others may be forced to sell (The Wall
                                                                                                   Street Journal - Factiva, 08/11/2018)
                                                                                                   EXCHANGE --- Tesla Buyout Puts Board On Hot Seat --- Many members have close
                                                                                                   relations with Musk (The Wall Street Journal - Factiva, 08/11/2018)
                                                                                                   IS APPLE SECRETLY MAKING AN ELECTRIC CAR? (Daily Mail - Factiva,
                                                                                                   08/11/2018)
                                                                                                   Is Apple secretly making an electric car? (Scottish Daily Mail - Factiva, 08/11/2018)
                                                                                                   LOOK OUT TESLA, HERE COMES PININFARINA (Dominion Post - Factiva,
                                                                                                   08/11/2018)
                                                                                                   Musk trashes Silicon Valley playbook in rejecting Wall Street (San Francisco Chronicle:
                                                                                                   Web Edition - Factiva, 08/11/2018)
                                                                                                   One of the major shareholders says it does not intend to fund Tesla's stock exchange
                                                                                                   exit (CE NoticiasFinancieras - Factiva, 08/11/2018)
                                                                                                   REPORT: TESLA DIRECTORS TO MEET WITH ADVISERS ON MUSK'S PLANS
                                                                                                   TO TAKE COMPANY PRIVATE (San Jose Mercury News - Factiva, 08/11/2018)
                                                                                                   SHAREHOLDER FILES SUIT AGAINST TESLA, MUSK; INVESTOR ALLEGES
                                                                                                   THE ELECTRIC CAR MAKER AND ITS CEO SCHEMED TO MANIPULATE THE
                                                                                                   FIRM'S STOCK PRICE (San Jose Mercury News - Factiva, 08/11/2018)
                                                                                                   Shareholders sue Tesla and Elon Musk in the US (CE NoticiasFinancieras - Factiva,
                                                                                                   08/11/2018)
                                                                                                   SILENT ASSASSIN (The New Zealand Herald - Factiva, 08/11/2018)
                                                                                                   Speaking of Business: 'We just wanted to build the craziest, coolest stuff we could';
                                                                                                   This week's best quotes in business come from skateboarding, drone delivery, retail,
                                                                                                   Ford Mustangs, and, as happens frequently, the turbulent world of Elon Musk and
                                                                                                   Tesla. (The Seattle Times: Web Edition - Factiva, 08/11/2018)
                                                                                                   Tesla and Musk sued over tweet (Houston Chronicle - Factiva, 08/11/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla and the markets: Beckoning the barbarians (Economist Intelligence Unit -
                                                                                                   Executive Briefing - Factiva, 08/11/2018)
                                                                                                   Tesla and the markets: Beckoning the barbarians (The Economist - Factiva, 08/11/2018)

                                                                                                   Tesla CEO Musk taunts short sellers amid legal scrutiny (Postmedia Breaking News -
                                                                                                   Factiva, 08/11/2018)
                                                                                                   Tesla CEO sued for tweets about possible exit from the stock market (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/11/2018)
                                                                                                   Tesla fans in Australia losing faith after Elon Musk's tweets and delays to Model 3 car
                                                                                                   (Australian Broadcasting Corporation News - Factiva, 08/11/2018)
                                                                                                   Tesla Model X 100D: Electric show (CE NoticiasFinancieras - Factiva, 08/11/2018)
                                                                                                   Tesla plunges, wiping out tweet-fuelled rally in just two days (U-Wire - Factiva,
                                                                                                   08/11/2018)
                                                                                                   Tesla Seeking Wide Investor Pool For Go-Private Plan (National Post - Factiva,
                                                                                                   08/11/2018)
                                                                                                   Tesla shareholders who sell if Musk takes electric-car maker private will be big losers
                                                                                                   for one reason (CPI Financial - Factiva, 08/11/2018)
                                                                                                   Tesla short makes fashion statement (New York Post - Factiva, 08/11/2018)
                                                                                                   Tesla's Musk accused of fraud over tweets (AAP Bulletins - Factiva, 08/11/2018)
                                                                                                   Tesla's Unreal Stock Price Is the Peril of Elon (The Wall Street Journal - Factiva,
                                                                                                   08/11/2018)
                                                                                                   Wall Street not ready to join Musk fan club (The Irish Times - Factiva, 08/11/2018)
                                                                                                   What happens to an electric vehicle in winter? Many Tesla owners report an overall
                                                                                                   range reduction of approximately 20 per cent (The Globe and Mail (Breaking News) -
                                                                                                   Factiva, 08/11/2018)
                                                                                                   Wright Reports Research Report (Eikon - Manual Entry, 08/11/2018)
                                                                                                   Aussie Tesla fans left asking 'dude, where's my car?' after Elon Musk's tweets and
                                                                                                   delays see them waiting more than three years for Model 3 (Mail Online - Factiva,
                                                                                                   08/11/2018 12:34 AM)
                                                                                                   Fork in Road Looms for Tesla Investors -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/11/2018 02:32 AM)
                                                                                                   Tesla Buyout Puts Board On Hot Seat -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/11/2018 02:32 AM)
                                                                                                   It's Not Just Jack: Other Chief Executives Who Pull Double Duty -- Barron's (Dow
                                                                                                   Jones Institutional News - Factiva, 08/11/2018 06:00 AM)
                                                                                                   Options -- The Striking Price: Riding Tesla's Volatile Shares -- Barron's (Dow Jones
                                                                                                   Institutional News - Factiva, 08/11/2018 06:00 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Up & Down Wall Street: Musk's Minsky Moment? -- Barron's (Dow Jones Institutional
                                                                                                   News - Factiva, 08/11/2018 06:00 AM)
                                                                                                   'Fraudster Move': Elon Musk Sued for Manipulating Stock Prices Through Twitter
                                                                                                   (Sputnik News Service - Factiva, 08/11/2018 06:40 AM)
                                                                                                   Hey Elon Musk, whereÃ¢â‚¬â„¢s the funding to take Tesla private? Opinion: If Musk
                                                                                                   canÃ¢â‚¬â„¢t prove his contention that funding was secured for Tesla to go private, he
                                                                                                   needs to resign (MarketWatch - Factiva, 08/11/2018 06:59 AM)
                                                                                                   MuskÃ¢â‚¬â„¢s plan to take Tesla private and allow outside shareholders is not an easy
                                                                                                   path; MuskÃ¢â‚¬â„¢s idea of a special purpose fund is unwieldy, meant for angel
                                                                                                   investors and small start-ups (MarketWatch - Factiva, 08/11/2018 07:20 AM)
                                                                                                   Elon Musk's tweet about taking Tesla private might be ethically questionable, but it
                                                                                                   isn't morally wrong (TSLA) (Business Insider - Factiva, 08/11/2018 08:57 AM)
                                                                                                   Elon Musk and Tesla accused of fraud by short-sellers after 'going private' tweet
                                                                                                   (Independent Online - Factiva, 08/11/2018 10:20 AM)
                                                                                                   MW UPDATE: Hey Elon Musk, where's the funding to take Tesla private?
                                                                                                   (MarketWatch - Factiva, 08/11/2018 10:59 AM)
                                                                                                   Musk's half-baked plan threatens Tesla's dream (The Telegraph Online - Factiva,
                                                                                                   08/11/2018 11:06 AM)
                                                                                                   MuskÃ¢â‚¬â„¢s fight with short sellers advanced by first lawsuit over TeslaÃ¢â‚¬â„¢s
                                                                                                   going-private tease; Suit questions funding sources, disclosure as analysts continue to
                                                                                                   scrutinize unusual proposal (MarketWatch - Factiva, 08/11/2018 11:10 AM)

                                                                                                   MW UPDATE: Musk's plan to take Tesla private and allow outside shareholders is not
                                                                                                   an easy path (MarketWatch - Factiva, 08/11/2018 11:20 AM)
                                                                                                   EXCLUSIVE-Saudi Arabia's PIF has shown no interest in bankrolling Tesla buyout -
                                                                                                   sources (Reuters News - Factiva, 08/11/2018 11:57 AM)
                                                                                                   EXCLUSIVE-SAUDI ARABIA'S SOVEREIGN WEALTH FUND PIF HAS SHOWN
                                                                                                   NO INTEREST IN FINANCING A TAKE-PRIVATE DEAL FOR TESLA INC -
                                                                                                   SOURCES (Reuters News - Factiva, 08/11/2018 11:57 AM)
                                                                                                   Combative Tesla chief divides Wall Street (Shanghai Daily Online - Factiva, 08/11/2018
                                                                                                   12:01 PM)
                                                                                                   Tesla's Elon Musk sued following proposal to take firm private (London Evening
                                                                                                   Standard Online - Factiva, 08/11/2018 12:12 PM)
                                                                                                   So Apple IS planning to build a driverless car? Silicon valley titan poaches Elon Musk's
                                                                                                   former chief Tesla engineer (Mail Online - Factiva, 08/11/2018 01:16 PM)
                                                                                                   Tesla CEO Musk taunts short sellers amid legal scrutiny (The Canadian Press - Broadcast
                                                                                                   wire - Factiva, 08/11/2018 01:26 PM)
                                                                                                   S3 Partners: Tesla Shorts Haven't Gone Anywhere (Benzinga.com - Factiva, 08/11/2018
                                                                                                   02:01 PM)




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                                                    Excess                                       Abnormal
                                          Market   Industry Predicted Abnormal                     Price
    Date        Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                            Investors sue Tesla's Musk over go-private tweets (Agence France Presse - Factiva,
                                                                                                            08/11/2018 02:20 PM)
                                                                                                            'A private life is a happy life': Here's what Wall Street is saying about Tesla's plan to
                                                                                                            leave the stock market (TSLA) (Business Insider - Factiva, 08/11/2018 02:55 PM)
                                                                                                            MW UPDATE: Musk's fight with short sellers advanced by first lawsuit over Tesla's
                                                                                                            going-private tease (MarketWatch - Factiva, 08/11/2018 03:10 PM)
                                                                                                            Two lawsuits accuse Elon Musk of false statements to boost Tesla share price (CNN
                                                                                                            Wire - Factiva, 08/11/2018 05:59 PM)
                                                                                                            Two lawsuits accuse Elon Musk of false statements to boost Tesla share price (CNN
                                                                                                            Wire - Factiva, 08/11/2018 06:22 PM)
                                                                                                            Tesla CEO Musk taunts short sellers amid legal scrutiny (Associated Press Newswires -
                                                                                                            Factiva, 08/11/2018 06:23 PM)
                                                                                                            Tesla CEO Musk taunts short sellers amid legal scrutiny (The Canadian Press - Factiva,
                                                                                                            08/11/2018 06:23 PM)
                                                                                                            Two lawsuits accuse Elon Musk of false statements to boost Tesla share price (CNN
                                                                                                            Wire - Factiva, 08/11/2018 06:28 PM)
                                                                                                            Musk selects overdrive in battle with Tesla critics (sundaytimes.co.uk - Factiva,
                                                                                                            08/11/2018 08:01 PM)
                                                                                                            Tesla: Musk's tweet a bridge too far? (Agence France Presse - Factiva, 08/11/2018 09:31
                                                                                                            PM)
8/12/2018 Sun                                                                                               Elon Musk's tweet draws Tesla investor lawsuit over share price swings
                                                                                                            (ArabianBusiness.com - Factiva, 08/12/2018)
                                                                                                            Elon Musk's wild ambitions road-tested by reality (The Sunday Telegraph - Factiva,
                                                                                                            08/12/2018)
                                                                                                            Apple in car rumour after Tesla swoop (The Sunday Mirror - Factiva, 08/12/2018)
                                                                                                            Combative Tesla chief divides Wall Street (Shanghai Daily - Factiva, 08/12/2018)
                                                                                                            Dow Jones Futures: Turkey's Lira Dives, Tesla In Focus; Watch These 3 Top Stocks
                                                                                                            Near Buy Points (Investor's Business Daily - Factiva, 08/12/2018)
                                                                                                            Furious investors slam the brakes on Tesla's buyout bid (The Sunday Telegraph - Factiva,
                                                                                                            08/12/2018)
                                                                                                            Musk no longer scaring shorts with Tesla tweets (The Sunday Independent - Factiva,
                                                                                                            08/12/2018)
                                                                                                            Musk rips up playbook with plan to take Tesla private (The San Francisco Chronicle -
                                                                                                            Factiva, 08/12/2018)
                                                                                                            Musk selects overdrive in battle with Tesla critics (The Sunday Times - Factiva,
                                                                                                            08/12/2018)
                                                                                                            Musk selects overdrive in war with Tesla critics (The Sunday Times - Factiva, 08/12/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Musk taunts Ã¢â‚¬Ëœshort' sellers on Twitter despite earlier tweet sparking SEC
                                                                                                   probe (Boston Herald - Factiva, 08/12/2018)
                                                                                                   MUSK'S BUYOUT BID RAISES EYEBROWS (Sunday Star-Times - Factiva, 08/12/2018)

                                                                                                   Musk's halfbaked plan threatens Tesla dream (The Sunday Telegraph - Factiva,
                                                                                                   08/12/2018)
                                                                                                   Saudi Arabia starts to weaponize its wealth (Korea Times - Factiva, 08/12/2018)
                                                                                                   Saudi Arabia's PIF has no plans to back Tesla buyout - report (ArabianBusiness.com -
                                                                                                   Factiva, 08/12/2018)
                                                                                                   Saudi Arabia's PIF has not shown interest in bankrolling Tesla buyout (CPI Financial -
                                                                                                   Factiva, 08/12/2018)
                                                                                                   Saudi fund said to be in talks to invest in Tesla buyout deal (latimes.com - Factiva,
                                                                                                   08/12/2018)
                                                                                                   Saudi's PIF in talks to become significant investor in Tesla (ArabianBusiness.com -
                                                                                                   Factiva, 08/12/2018)
                                                                                                   Tesla board to meet on Musk's 'go private' plan. (Just-Auto - Factiva, 08/12/2018)
                                                                                                   Tesla boss lawsuit (Sunday Mail - Factiva, 08/12/2018)
                                                                                                   Tesla CEO Musk accused in lawsuit of defrauding shareholders (U-Wire - Factiva,
                                                                                                   08/12/2018)
                                                                                                   Tesla taunts through Twitter (The Calgary Sun - Factiva, 08/12/2018)
                                                                                                   Tesla taunts through Twitter (The Edmonton Sun - Factiva, 08/12/2018)
                                                                                                   Tesla, Elon Musk facing lawsuits over tweets to take company private (USA Today
                                                                                                   Online - Factiva, 08/12/2018)
                                                                                                   Tesla investors angered at Musk's $420 lowball deal (The Telegraph Online - Factiva,
                                                                                                   08/12/2018 03:00 AM)
                                                                                                   Saudi Arabia''s PIF has not shown interest in bankrolling Tesla buyout (Mist News -
                                                                                                   Factiva, 08/12/2018 06:28 AM)
                                                                                                   After Tesla Buyout Tweet, Some Investors Wonder: Where Was Nasdaq? (Dow Jones
                                                                                                   Institutional News - Factiva, 08/12/2018 09:00 AM)
                                                                                                   After Tesla Buyout Tweet, Some Investors Wonder: Where Was Nasdaq? Elon Musk's
                                                                                                   'financing secured' buyout tweet last week touched off 80 minutes of frenzied trading
                                                                                                   before Nasdaq called a halt (The Wall Street Journal Online - Factiva, 08/12/2018 09:00
                                                                                                   AM)
                                                                                                   Blacklane Introduces Chauffeured Green Class with Teslas (GlobeNewswire - Factiva,
                                                                                                   08/12/2018 09:00 AM)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s tweeting habits serve as a useful lesson to modern CEOs
                                                                                                   (Independent Online - Factiva, 08/12/2018 09:05 AM)




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                                                                         Tesla News Chronology with Daily Statistics

     [1]          [2]        [3]      [4]      [5]           [6]      [7]       [8]  [9]     [10]         [11]                                              [12]
                                                         Excess                                       Abnormal
                                              Market    Industry Predicted Abnormal                     Price
    Date        Volume     Price     Return   Return     Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                                 Saudi Arabia Explores Investment in Tesla's Take-Private Deal - Reports (Sputnik News
                                                                                                                 Service - Factiva, 08/12/2018 12:34 PM)
                                                                                                                 Did Nasdaq drop the ball after Elon MuskÃ¢â‚¬â„¢s going-private tweet? Criticism
                                                                                                                 over 80-minute delay before halting trading (MarketWatch - Factiva, 08/12/2018 12:37
                                                                                                                 PM)
                                                                                                                 Elon Musk's ambitions are being road-tested by reality (The Telegraph Online - Factiva,
                                                                                                                 08/12/2018 01:00 PM)
                                                                                                                 Correction to 'After Tesla Buyout Tweet, Some Investors Wonder: Where Was
                                                                                                                 Nasdaq?' (Dow Jones Institutional News - Factiva, 08/12/2018 01:05 PM)
                                                                                                                 Tesla's surging stock has cost short sellers $3 billion this month (TSLA) (Business
                                                                                                                 Insider - Factiva, 08/12/2018 03:10 PM)
                                                                                                                 Saudi Arabia eyes enlarged stake in MuskÃ¢â‚¬â„¢s private Tesla (The Telegraph
                                                                                                                 Online - Factiva, 08/12/2018 04:10 PM)
                                                                                                                 UPDATE 1-EXCLUSIVE-Saudi Arabia's PIF has shown no interest in bankrolling
                                                                                                                 Tesla buyout - sources (Reuters News - Factiva, 08/12/2018 04:16 PM)
                                                                                                                 Exclusive: Saudi Arabia's PIF has shown no interest in bankrolling Tesla buyout -
                                                                                                                 sources (Reuters News - Factiva, 08/12/2018 04:20 PM)
                                                                                                                 Elon Musk sparks fury privatising Tesla 'on the CHEAP' after Twitter announcement
                                                                                                                 (express.co.uk - Factiva, 08/12/2018 04:25 PM)
                                                                                                                 Tesla move shows lack of appeal in market (The Telegraph Online - Factiva, 08/12/2018
                                                                                                                 04:43 PM)
                                                                                                                 Giant Saudi fund emerges as backer of bid for Elon MuskÃ¢â‚¬â„¢s Tesla
                                                                                                                 (thetimes.co.uk - Factiva, 08/12/2018 08:01 PM)
                                                                                                                 Report: Saudi Arabia is looking to invest big in Tesla as the company teases going
                                                                                                                 private (Business Insider - Factiva, 08/12/2018 08:45 PM)
                                                                                                                 After Tesla Buyout Tweet, Some Wonder: Where Was Nasdaq? (Dow Jones Institutional
                                                                                                                 News - Factiva, 08/12/2018 09:00 PM)
                                                                                                                 Public or Private, Tesla Fans Are Along for the Ride (Dow Jones Newswires Chinese
                                                                                                                 (English) - Factiva, 08/12/2018 11:14 PM)
8/13/2018 Mon   10,463,881 $356.41    0.26%    -0.25%     -1.49%   -0.69%     0.95%   0.37 71.12%       $3.37    Elon Musk Blog Post Reveals How He Plans To Take Tesla Private (Investor's Business
                                                                                                                 Daily - Factiva, 08/13/2018)
                                                                                                                 Elon Musk defends decision to announce plans to take Tesla private (Mashable.com -
                                                                                                                 Factiva, 08/13/2018)
                                                                                                                 Elon Musk names Saudi wealth fund as Tesla's funding source (CNET News.com -
                                                                                                                 Factiva, 08/13/2018)
                                                                                                                 Elon Musk names Saudi wealth fund as Tesla's funding source (CNET News.com -
                                                                                                                 Factiva, 08/13/2018)
                                                                                                                 Elon Musk says in talks with Saudis on taking Tesla private (ArabianBusiness.com -
                                                                                                                 Factiva, 08/13/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   Elon Musk says the Saudi sovereign fund wants to get Tesla out of the stock market
                                                                                                   (CE NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   Hagens Berman Sobol Shapiro LLP Files Securities Class Action Against Tesla, Inc.
                                                                                                   (NASDAQ: TSLA) and Elon Musk For False Market Moving Tweet (iCrowdNewswire -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   Hagens Berman Sobol Shapiro LLP Files Securities Class Action Against Tesla, Inc.
                                                                                                   (NASDAQ: TSLA) and Elon Musk For False Market Moving Tweet (Public Eye -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   Nasdaq Faulted Over Tesla (The Wall Street Journal - Factiva, 08/13/2018)
                                                                                                   SoftBank to shun Tesla deal as it focuses on ridesharing, autonomous vehicles
                                                                                                   (ArabianBusiness.com - Factiva, 08/13/2018)
                                                                                                   *SEC Globe/AP say Musk keeps tweeting despite SEC probe (Canada Stockwatch -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   06:13 EDT Saudi Arabia's PIF has shown no interest in funding Tesla buyout,...
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   06:35 EDT SoftBank to shun Tesla deal as it focuses on other car bets, Bloomberg...
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:05 EDT Tesla CEO Musk proivdes update on taking Tesla private
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:06 EDT Tesla CEO Musk provides update on taking Tesla privateTesla CEO Elon...
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:07 EDT Tesla: Left meeting with 'no question' deal with Saudi fund could be...
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:08 EDT Tesla CEO says said 'funding secured' after meeting with Saudi fund
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:08 EDT Tesla CEO says will continue to talk with investorsCEO Elon Musk says...
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:09 EDT Tesla CEO: Going-private deal 'would not be like standard LBO'
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:09 EDT Tesla CEO: Saudi fund recently bought almost 5% of Tesla stock
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   09:10 EDT Tesla: Approx. 2/3 of shares owned by investors would roll over into...
                                                                                                   (Theflyonthewall.com - Factiva, 08/13/2018)
                                                                                                   5 things you need to know to start the day (CE NoticiasFinancieras - Factiva, 08/13/2018)


                                                                                                   A Saudi fund would take Tesla out of the Stock Exchange: Elon Musk (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   AN adds mobility tech reporter (Automotive News - Factiva, 08/13/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   Blacklane Introduces Chauffeured Green Class with Teslas (The Zimbabwean - Factiva,
                                                                                                   08/13/2018)
                                                                                                   CFRA Equity Research Research Report (Capital IQ - Manual Entry, 08/13/2018)
                                                                                                   Chinese Tesla rival files to raise $1.8 billion in U.S. IPO (Silicon Valley/San Jose Business
                                                                                                   Journal Online - Factiva, 08/13/2018)
                                                                                                   David Booth: Who can afford to take Tesla private? Well, the Saudis for one (Postmedia
                                                                                                   Breaking News - Factiva, 08/13/2018)
                                                                                                   DenholmÃ¢â‚¬â„¢s Tesla gig a tidy earner (The Australian - Online - Factiva, 08/13/2018)

                                                                                                   Dow Jones Futures Fall: Turkey's Lira, Tesla In Focus; Watch These 3 Top Stocks
                                                                                                   Near Buy Points (Investor's Business Daily - Factiva, 08/13/2018)
                                                                                                   Dow Jones Futures: Turkey's Lira, Tesla In Focus; Watch These 3 Top Stocks Near
                                                                                                   Buy Points (Investor's Business Daily - Factiva, 08/13/2018)
                                                                                                   Dow Jones Futures: Why This Stock Breakout Is Special; Tesla Rival Files For IPO
                                                                                                   (Investor's Business Daily - Factiva, 08/13/2018)
                                                                                                   EDITORIAL: Time for Tesla to perform (The Buffalo News (Tribune Content Agency) -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   Elon Musk confirms Saudi sovereign fund wants to pull Tesla off market (EFE News
                                                                                                   Service - Factiva, 08/13/2018)
                                                                                                   Elon Musk defends his 'funding secured' tweet to take Tesla private (The Hamilton
                                                                                                   Spectator - Factiva, 08/13/2018)
                                                                                                   Elon Musk faces legal action over 1 little tweet (and a big share price jump) (CNET
                                                                                                   News.com - Factiva, 08/13/2018)
                                                                                                   Elon Musk reveals funding for taking Tesla private: Saudi oil money (San Francisco
                                                                                                   Chronicle: Web Edition - Factiva, 08/13/2018)
                                                                                                   Elon Musk says he is talking with the Saudis about pulling Tesla out of the stock
                                                                                                   exchange*** TRANSLATED *** (STT - Factiva, 08/13/2018)
                                                                                                   Elon Musk says he is talking with the Saudis about pulling Tesla out of the stock
                                                                                                   exchange*** TRANSLATED *** (STT - Factiva, 08/13/2018)
                                                                                                   Elon Musk Says Saudi Interest Sparked Effort to Take Tesla Private (Industry Week -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   Elon Musk says Saudi investment fund could help him take Tesla private (Minnesota
                                                                                                   Public Radio: Web Edition Articles - Factiva, 08/13/2018)
                                                                                                   Elon Musk says Saudi investment fund could help him take Tesla private (Minnesota
                                                                                                   Public Radio: Web Edition Articles - Factiva, 08/13/2018)
                                                                                                   Elon Musk: Saudi Arabia could finance Tesla's withdrawal from the stock exchange***
                                                                                                   TRANSLATED *** (STT - Factiva, 08/13/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   First lawsuits filed over Elon Musk's Tesla privatisation tweets (V3 - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Former Tesla exec returns to Apple (German Collection - Factiva, 08/13/2018)
                                                                                                   Founders of these 10 top-valued unicorns are sitting on paper wealth of about $60B
                                                                                                   (Silicon Valley/San Jose Business Journal Online - Factiva, 08/13/2018)
                                                                                                   Giant Saudi fund emerges as backer of bid for Tesla (The Times - Factiva, 08/13/2018)
                                                                                                   Increased investor nervousness over how Elon Musk uses social media (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   Investors sue Tesla, Musk over going-private proposal (EJ Insight - Factiva, 08/13/2018)

                                                                                                   Investors sue Tesla's Musk over go-private tweets (The New Paper - Factiva, 08/13/2018)


                                                                                                   Is Tesla better off private? Avoiding public scrutiny would help, but not enough
                                                                                                   (Automotive News - Factiva, 08/13/2018)
                                                                                                   It's Not Just Jack: Other Chief Executives Who Pull Double Duty (Barron's - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Lawsuits accuse Tesla's Musk of fraud over going-private talk (China Daily - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Lawsuits accuse Tesla's Musk of fraud over going-private talk (China Daily-Hong Kong
                                                                                                   Edition - Factiva, 08/13/2018)
                                                                                                   Led by Tesla, these big Silicon Valley employers ramped up hiring the most since the
                                                                                                   Great Recession (Silicon Valley/San Jose Business Journal Online - Factiva, 08/13/2018)

                                                                                                   LEGAL ROW OVER MUSK TESLA PLAN (City AM - Factiva, 08/13/2018)
                                                                                                   M&A Opportunity | Tesla Inc. (The Deal - Factiva, 08/13/2018)
                                                                                                   Millennium BCP Research Report (Capital IQ - Manual Entry, 08/13/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/13/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/13/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/13/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/13/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/13/2018)
                                                                                                   Morningstar Inc. Research Report (Capital IQ - Manual Entry, 08/13/2018)
                                                                                                   Morningstar Inc. Research Report (Eikon - Manual Entry, 08/13/2018)
                                                                                                   Musk Confirms Saudi Wealth Fund Wants To Take Tesla Private; Elaborates Process
                                                                                                   (CE NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   Musk Confirms Saudi Wealth Fund Wants To Take Tesla Private; Elaborates Process
                                                                                                   (RTT News - Factiva, 08/13/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events

                                                                                                   Musk reveals one driver behind taking-Tesla-private plan (Daily News Egypt - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Musk says he's talking with Saudi fund to take Tesla private (Postmedia Breaking News -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   Musk says Saudi fund expressed support for taking Tesla private; Riyadh pushes for
                                                                                                   Tesla's privatization: Musk (The Daily Star - Factiva, 08/13/2018)
                                                                                                   Musk taunts Tesla 'short sellers' (The New Zealand Herald - Factiva, 08/13/2018)
                                                                                                   Musk touts Saudi backing for $72bn Tesla buyout (Citywire - Factiva, 08/13/2018)
                                                                                                   Musk will not merge SpaceX with Tesla (Inside Satellite TV - Factiva, 08/13/2018)
                                                                                                   Musk: Saudi sovereign fund can assure Tesla's exit from stock market (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   Musk's Backstory On Taking Tesla Private Suggests Tweet Jumped The Gun
                                                                                                   (Forbes.com - Factiva, 08/13/2018)
                                                                                                   Musk's Backstory On Taking Tesla Private Suggests Tweet Jumped The Gun
                                                                                                   (Forbes.com - Factiva, 08/13/2018)
                                                                                                   Musk's Minsky Moment? (Barron's - Factiva, 08/13/2018)
                                                                                                   Musk's Strategy, Funding Needs Come Into Focus (The Deal - Factiva, 08/13/2018)
                                                                                                   On Tesla going private, Elon Musk admits he doesn't have 'funding secured'
                                                                                                   (latimes.com - Factiva, 08/13/2018)
                                                                                                   Report : SoftBank To Avoid Tesla Deal As It Focuses On Other Car Bets (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   Report : SoftBank To Avoid Tesla Deal As It Focuses On Other Car Bets (RTT News -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   Report: Tesla board plans talks with financial advisers to explore buyout (SNL Canada
                                                                                                   Energy Week - Factiva, 08/13/2018)
                                                                                                   Report: Tesla board plans talks with financial advisers to explore buyout (SNL Power
                                                                                                   Daily with Market Report - Factiva, 08/13/2018)
                                                                                                   Report: Tesla seeking large group of investors for Musk's take-private proposal (SNL
                                                                                                   Energy Finance Daily - Factiva, 08/13/2018)
                                                                                                   Report: Tesla seeking large group of investors for Musk's take-private proposal (SNL
                                                                                                   Financial Services Daily - Factiva, 08/13/2018)
                                                                                                   Riding Tesla's Volatile Shares (Barron's - Factiva, 08/13/2018)
                                                                                                   Saudi Arabia eyes enlarged stake in Musk's private Tesla (The Daily Telegraph - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Saudi Arabia might be interested in helping Tesla go private (Mashable.com - Factiva,
                                                                                                   08/13/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Saudi Arabia's sovereign wealth fund looking to take Tesla private (U-Wire - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Saudi fund will be Musk's main source of money to get Tesla out of stock market (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   Saudi fund would raise investment in Tesla with Musk plan to take it out of stock (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/13/2018)
                                                                                                   Saudi oil money may give Elon Musk the private Tesla of his dreams (Washington
                                                                                                   Post.com - Factiva, 08/13/2018)
                                                                                                   Saudi PIF in talks to fund TeslaÃ¢â‚¬â„¢s bid Ã¢â‚¬â€œ CEO (Mubasher - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Saudi wealth fund may invest in MuskÃ¢â‚¬â„¢s electric car; Tesla and Musk sued by
                                                                                                   investors in proposed US class-action complaints (The Irish Times - Factiva, 08/13/2018)

                                                                                                   Saudis Would Back Deal To Take Tesla Private, Says Musk (Silicon.co.uk - Factiva,
                                                                                                   08/13/2018)
                                                                                                   SHAREHOLDER ALERT: Kaskela Law LLC Announces Shareholder Class Action
                                                                                                   Lawsuit Filed Against Tesla, Inc. and Elon Musk, and Encourages Investors to Contact
                                                                                                   the Firm (iCrowdNewswire - Factiva, 08/13/2018)
                                                                                                   Short Sellers Sue Tesla Over Shock Elon Musk Tweet (Silicon.co.uk - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Social Media And Reporting Issuers (Mondaq Business Briefing - Factiva, 08/13/2018)
                                                                                                   Stocks - Harley Davidson Drops in Pre-market; Tesla Gains; Nielsen Soars
                                                                                                   (Investing.com - Factiva, 08/13/2018)
                                                                                                   Stocks fall; Tesla CEO says he's talking with Saudi fund (The Post and Courier: Web
                                                                                                   Edition Articles - Factiva, 08/13/2018)
                                                                                                   Stocks Open Higher As Tesla, Nielsen, Amazon Take Early Gains (Investor's Business
                                                                                                   Daily - Factiva, 08/13/2018)
                                                                                                   Tesla CEO Elon Musk: Saudis could finance bid to go private (USA Today Online -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   Tesla CEO's Twitter taunts continue despite legal woes (The Globe and Mail - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Tesla is bringing Model 3 to Australia and New Zealand ahead of international launch
                                                                                                   (The New Dawn - Factiva, 08/13/2018)
                                                                                                   Tesla move shows lack of appeal in market (The Daily Telegraph - Factiva, 08/13/2018)
                                                                                                   Tesla Shutters a Dozen Solar Facilities (CE Think Tank Newswire - Factiva, 08/13/2018)


                                                                                                   Tesla slapped with short-seller lawsuits as deep-pocketed backer fails to materialize
                                                                                                   (Pacific Business News Online - Factiva, 08/13/2018)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                               [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla slapped with short-seller lawsuits as deep-pocketed backer fails to materialize
                                                                                                   (Silicon Valley/San Jose Business Journal Online - Factiva, 08/13/2018)
                                                                                                   Tesla statement: Musk admits he doesn't have "funding secured" for Tesla
                                                                                                   privatisation plan (V3 - Factiva, 08/13/2018)
                                                                                                   Tesla, Theranos, Yahoo keep SEC's San Francisco office busy (San Francisco Chronicle:
                                                                                                   Web Edition - Factiva, 08/13/2018)
                                                                                                   The Daily Deal: Musk and the Saudis; the Turkish Lira and European Banks (The Deal -
                                                                                                   Factiva, 08/13/2018)
                                                                                                   The private musings and short fuse of Elon Musk (Chicago Tribune - Factiva, 08/13/2018)

                                                                                                   The private musings and short fuse of Elon Musk (Daily Southtown - Factiva, 08/13/2018)


                                                                                                   The private musings and short fuse of Elon Musk (Lake County News-Sun - Factiva,
                                                                                                   08/13/2018)
                                                                                                   The private musings and short fuse of Elon Musk (The Beacon News - Factiva,
                                                                                                   08/13/2018)
                                                                                                   They will decide if Tesla 'reverses' on Wall Street (CE NoticiasFinancieras - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Time for Tesla to perform; It will take time but it wouldn't hurt to adopt some Silicon
                                                                                                   Valley resilience (Buffalo News - Factiva, 08/13/2018)
                                                                                                   Two Wall Street investors file complaints against Elon Musk (French Collection - Factiva,
                                                                                                   08/13/2018)
                                                                                                   Valener utility leans on Tesla battery banks to get through Vt. heatwave (SNL Canada
                                                                                                   Energy Week - Factiva, 08/13/2018)
                                                                                                   What Musk's Tesla Tweet Can Teach GCs About Damage Control (Broward Daily
                                                                                                   Business Review - Factiva, 08/13/2018)
                                                                                                   What Musk's Tesla Tweet Can Teach GCs About Damage Control (Miami Daily
                                                                                                   Business Review - Factiva, 08/13/2018)
                                                                                                   What Musk's Tesla Tweet Can Teach GCs About Damage Control (Palm Beach Daily
                                                                                                   Business Review - Factiva, 08/13/2018)
                                                                                                   When it comes to Twitter, Elon Musk is teaching other CEOs how itÃ¢â‚¬â„¢s done
                                                                                                   (The Independent - Factiva, 08/13/2018)
                                                                                                   When it comes to Twitter, Elon Musk is teaching other CEOs how its done (The
                                                                                                   Independent - Factiva, 08/13/2018)
                                                                                                   Tesla's slow disclosure raises governance, social media concerns (Reuters News - Factiva,
                                                                                                   08/13/2018 12:00 AM)
                                                                                                   Nasdaq Faulted Over Tesla -- WSJ (Dow Jones Institutional News - Factiva, 08/13/2018
                                                                                                   02:32 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   MW Why Elon Musk's $420 tweet could signal gloom for the stock market
                                                                                                   (MarketWatch - Factiva, 08/13/2018 05:01 AM)
                                                                                                   Musk Looks to Take Tesla Private; Tweet on what would be a mammoth buyout
                                                                                                   surprises investors, drives stock up 11% (Private Equity News - Factiva, 08/13/2018 05:32
                                                                                                   AM)
                                                                                                   Saudi funds in possible talks to invest in Tesla deal (Mist News - Factiva, 08/13/2018
                                                                                                   05:51 AM)
                                                                                                   Saudi Fund in talks to invest in Tesla buyout deal (Mist News - Factiva, 08/13/2018 06:19
                                                                                                   AM)
                                                                                                   Elon Musk's Surprise Tweet Complicates Tesla's Debt Picture (Dow Jones Institutional
                                                                                                   News - Factiva, 08/13/2018 09:00 AM)
                                                                                                   HereÃ¢â‚¬â„¢s the lesson Michael Dell can teach Elon Musk about taking a company
                                                                                                   private; The case for taking Tesla private may seem compelling Ã¢â‚¬â€ but check the
                                                                                                   data (MarketWatch - Factiva, 08/13/2018 09:01 AM)
                                                                                                   TESLA INC'S ELON MUSK SAYS ON AUGUST 2ND, NOTIFIED TESLA BOARD
                                                                                                   THAT, IN HIS PERSONAL CAPACITY, HE WANTED TO TAKE TESLA PRIVATE
                                                                                                   AT $420 PER SHARE (Reuters News - Factiva, 08/13/2018 09:03 AM)
                                                                                                   TESLA'S ELON MUSK SAYS MANAGING DIRECTOR OF SAUDI FUND
                                                                                                   EXPRESSED REGRET I HAD NOT MOVED FORWARD PREVIOUSLY ON
                                                                                                   GOING PRIVATE DEAL WITH THEM (Reuters News - Factiva, 08/13/2018 09:04 AM)
                                                                                                   TESLA'S ELON MUSK SAYS FOLLOWING AUG 7TH ANNOUNCEMENT, I HAVE
                                                                                                   CONTINUED TO COMMUNICATE WITH MANAGING DIRECTOR OF SAUDI
                                                                                                   FUND (Reuters News - Factiva, 08/13/2018 09:06 AM)
                                                                                                   TESLA'S ELON MUSK SAYS IN JULY 31ST MEETING, MANAGING DIRECTOR
                                                                                                   OF SAUDI FUND EXPRESSED SUPPORT FOR FUNDING GOING PRIVATE
                                                                                                   DEAL FOR TESLA AT THIS TIME (Reuters News - Factiva, 08/13/2018 09:06 AM)
                                                                                                   TESLA'S ELON MUSK SAYS CONTINUE TO HAVE TALKS WITH SAUDI FUND,
                                                                                                   ALSO HAVING DISCUSSIONS WITH OTHER INVESTORS (Reuters News - Factiva,
                                                                                                   08/13/2018 09:08 AM)
                                                                                                   TESLA'S ELON MUSK SAYS SPECIAL COMMITTEE FOR EVALUATION
                                                                                                   PROCESS TO BE UNDERTAKEN BY BOARD ALREADY IN PROCESS OF BEING
                                                                                                   SET UP (Reuters News - Factiva, 08/13/2018 09:11 AM)
                                                                                                   *Elon Musk: Saudi Fund Asked About Taking Tesla Private (Dow Jones Institutional
                                                                                                   News - Factiva, 08/13/2018 09:13 AM)
                                                                                                   TESLA'S ELON MUSK SAYS IF BOARD PROCESS RESULTS IN APPROVED
                                                                                                   PLAN, REGULATORY APPROVALS NEEDED, PLAN TO BE PRESENTED TO
                                                                                                   SHAREHOLDERS FOR VOTE (Reuters News - Factiva, 08/13/2018 09:13 AM)
                                                                                                   Musk says Saudi fund expressed support for taking Tesla private (Reuters News -
                                                                                                   Factiva, 08/13/2018 09:14 AM)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                             [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Elon Musk: Saudi Fund Asked About Taking Tesla Private (Dow Jones Institutional
                                                                                                   News - Factiva, 08/13/2018 09:20 AM)
                                                                                                   Elon Musk: Saudi Fund Asked About Taking Tesla Private (Dow Jones Institutional
                                                                                                   News - Factiva, 08/13/2018 09:24 AM)
                                                                                                   Elon Musk reveals new details about taking Tesla private, says he thought tweeting
                                                                                                   announcement was 'the right and fair thing to do' (TSLA) (Business Insider - Factiva,
                                                                                                   08/13/2018 09:25 AM)
                                                                                                   TESLA'S ELON MUSK SAYS IN JULY 31ST MEETING, MANAGING DIRECTOR
                                                                                                   OF SAUDI FUND EXPRESSED SUPPORT FOR FUNDING GOING PRIVATE
                                                                                                   DEAL FOR TESLA AT THIS TIME (Reuters News - Factiva, 08/13/2018 09:26 AM)
                                                                                                   TESLA'S ELON MUSK SAYS RECENTLY, AFTER SAUDI FUND BOUGHT
                                                                                                   ALMOST 5% OF TESLA STOCK THROUGH PUBLIC MARKETS, THEY
                                                                                                   REACHED OUT TO ASK FOR ANOTHER MEETING (Reuters News - Factiva,
                                                                                                   08/13/2018 09:26 AM)
                                                                                                   TESLA'S ELON MUSK SAYS SPECIAL COMMITTEE FOR EVALUATION
                                                                                                   PROCESS TO BE UNDERTAKEN BY BOARD ALREADY IN PROCESS OF BEING
                                                                                                   SET UP (Reuters News - Factiva, 08/13/2018 09:26 AM)
                                                                                                   Elon Musk in talks with investors to take Tesla private (RCOP) (24 Ore Radiocor-
                                                                                                   Newswire International Edition - Factiva, 08/13/2018 09:27 AM)
                                                                                                   Elon Musk says he expects Saudis to fund plan to take Tesla private (CNN Wire -
                                                                                                   Factiva, 08/13/2018 09:27 AM)
                                                                                                   Musk says in talks with Saudis, others on taking Tesla private (Agence France Presse -
                                                                                                   Factiva, 08/13/2018 09:27 AM)
                                                                                                   BRIEF-Tesla's Elon Musk Provides Update On Taking Co Private (Reuters News -
                                                                                                   Factiva, 08/13/2018 09:29 AM)
                                                                                                   Stocks to Watch: Alphabet, Netflix, Nielsen, Alnylam Pharmaceuticals, Qualcomm,
                                                                                                   Sysco (Dow Jones Institutional News - Factiva, 08/13/2018 09:29 AM)
                                                                                                   Stocks to Watch: Alphabet, Netflix, Nielsen, Alnylam Pharmaceuticals, Qualcomm,
                                                                                                   Sysco; Here are some of the companies with shares expected to trade actively in
                                                                                                   Monday's session (The Wall Street Journal Online - Factiva, 08/13/2018 09:29 AM)
                                                                                                   Elon Musk: Saudi Fund Asked About Taking Tesla Private -- Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 09:30 AM)
                                                                                                   MuskÃ¢â‚¬â„¢s Surprise Tweet Complicates TeslaÃ¢â‚¬â„¢s Debt Picture (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 09:30 AM)
                                                                                                   Elon Musk Explains 'funding Secured' Statement Related To Going Private Tweets --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/13/2018 09:33 AM)
                                                                                                   MW Elon Musk explains 'funding secured' statement related to going private tweets
                                                                                                   (MarketWatch - Factiva, 08/13/2018 09:33 AM)
                                                                                                   Elon Musk: Saudi Fund Asked About Taking Tesla Private -- 2nd Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 09:34 AM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   Saudi sovereign fund involved in Tesla buyout deal - report (MarketLine News and
                                                                                                   Comment - Factiva, 08/13/2018 09:34 AM)
                                                                                                   Elon Musk: Saudi Fund Asked About Taking Tesla Private (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/13/2018 09:44 AM)
                                                                                                   Elon Musk in talks with investors to take Tesla private (24 Ore Radiocor-Newswire
                                                                                                   International Edition - Factiva, 08/13/2018 09:46 AM)
                                                                                                   Two investors sue Tesla, Musk over take-private announcment - report (SeeNews Deals -
                                                                                                   Factiva, 08/13/2018 09:51 AM)
                                                                                                   Elon Musk says he expects Saudis to fund plan to take Tesla private (CNN Wire -
                                                                                                   Factiva, 08/13/2018 09:55 AM)
                                                                                                   Elon Musk says he expects Saudis to fund plan to take Tesla private (CNN Wire -
                                                                                                   Factiva, 08/13/2018 09:56 AM)
                                                                                                   Saudis in talks to take Tesla private: Elon Musk (Agence France Presse - Factiva,
                                                                                                   08/13/2018 09:58 AM)
                                                                                                   US stocks push higher; Tesla gains (Agence France Presse - Factiva, 08/13/2018 10:01
                                                                                                   AM)
                                                                                                   BC-APFN-Business News Preview (Associated Press Newswires - Factiva, 08/13/2018
                                                                                                   10:05 AM)
                                                                                                   Tesla Board Surprised by Elon MuskÃ¢â‚¬â„¢s Tweet on Taking Carmaker Private
                                                                                                   (NYTimes.com Feed - Factiva, 08/13/2018 10:05 AM)
                                                                                                   Weekly renewables M&A round-up (Aug 6-12) (Renewables Now - Factiva, 08/13/2018
                                                                                                   10:05 AM)
                                                                                                   Tesla surges after Elon Musk offers details about his 'funding secured' tweet (TSLA)
                                                                                                   (Business Insider - Factiva, 08/13/2018 10:09 AM)
                                                                                                   Musk Tries To Clarify 'Funding Secured' In New Tesla Blog Post (Benzinga.com -
                                                                                                   Factiva, 08/13/2018 10:11 AM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private -- 3rd Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 10:17 AM)
                                                                                                   Musk confirms talks with Saudis over taking Tesla private (dpa International Service in
                                                                                                   English - Factiva, 08/13/2018 10:18 AM)
                                                                                                   Musk says he's talking with Saudi fund to take Tesla private (The Canadian Press -
                                                                                                   Broadcast wire - Factiva, 08/13/2018 10:20 AM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private -- 4th Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 10:32 AM)
                                                                                                   Elon Musk reveals what he meant by his 'funding secured' tweet (TSLA) (Business
                                                                                                   Insider - Factiva, 08/13/2018 10:45 AM)
                                                                                                   Musk reveals one driver behind taking-Tesla-private plan (Deutsche Welle - Factiva,
                                                                                                   08/13/2018 10:52 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Twitter Stock Gains After Citron Goes Long, Sets $52 Price Target -- MarketWatch
                                                                                                   (Dow Jones Institutional News - Factiva, 08/13/2018 10:53 AM)
                                                                                                   MW Twitter stock gains after Citron goes long, sets $52 price target (MarketWatch -
                                                                                                   Factiva, 08/13/2018 10:53 AM)
                                                                                                   Elon Musk says he expects Saudis to fund plan to take Tesla private (CNN Wire -
                                                                                                   Factiva, 08/13/2018 10:54 AM)
                                                                                                   News Highlights: Top Financial Services News of the Day (Dow Jones Institutional News -
                                                                                                   Factiva, 08/13/2018 11:00 AM)
                                                                                                   Tesla sinks after Elon Musk offers details about his 'funding secured' tweet (TSLA)
                                                                                                   (Business Insider - Factiva, 08/13/2018 11:03 AM)
                                                                                                   Twitter stock gains after Citron goes long, sets $52 price target (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/13/2018 11:19 AM)
                                                                                                   If the Saudis do help Elon Musk take Tesla private, the company could actually take
                                                                                                   over the world (TSLA) (Business Insider - Factiva, 08/13/2018 11:24 AM)
                                                                                                   TeslaÃ¢â‚¬â„¢s biggest bull on Wall Street says there's a big problem with taking Tesla
                                                                                                   private, and it has nothing to do with 'funding secured' (TSLA) (Business Insider -
                                                                                                   Factiva, 08/13/2018 11:29 AM)
                                                                                                   Saudis in talks to take Tesla private: Elon Musk (Agence France Presse - Factiva,
                                                                                                   08/13/2018 11:33 AM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private -- 5th Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 11:35 AM)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s plan to take Tesla private is a pipe dream; Investors are driving
                                                                                                   blind if they expect car makerÃ¢â‚¬â„¢s CEO to deliver (MarketWatch - Factiva,
                                                                                                   08/13/2018 11:36 AM)
                                                                                                   Wall Street has spoken: Tesla funding is not Ã¢â‚¬ËœsecuredÃ¢â‚¬â„¢; Price stays
                                                                                                   well below Elon MuskÃ¢â‚¬â„¢s stated go-private level after explanation, showing
                                                                                                   investorsÃ¢â‚¬â„¢ valid doubts (MarketWatch - Factiva, 08/13/2018 11:39 AM)
                                                                                                   Elon Musk reveals Saudi funds to help turn Tesla private (Financial Adviser - Magazine
                                                                                                   and Web Content - Factiva, 08/13/2018 11:55 AM)
                                                                                                   Saudi Arabia's PIF mulls joining Tesla go-private deal, Softbank not interested - report
                                                                                                   (SeeNews Deals - Factiva, 08/13/2018 11:57 AM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private -- 6th Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 11:59 AM)
                                                                                                   WSJ City: Turkish Lira Plunges Again, Musk Met With Saudis About Taking Tesla
                                                                                                   Private (Dow Jones Institutional News - Factiva, 08/13/2018 12:05 PM)
                                                                                                   Tesla BOMBSHELL: Elon Musk talking to SAUDI ARABIA in shock bid to take Tesla
                                                                                                   private (express.co.uk - Factiva, 08/13/2018 12:42 PM)
                                                                                                   Could SpaceX Help Finance A Tesla Go-Private Deal? Morgan Stanley Weighs In
                                                                                                   (Benzinga.com - Factiva, 08/13/2018 12:50 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   MW UPDATE: Here's the lesson Michael Dell can teach Elon Musk about taking a
                                                                                                   company private (MarketWatch - Factiva, 08/13/2018 01:01 PM)
                                                                                                   Tesla shares swing higher amid confusion about MuskÃ¢â‚¬â„¢s going-private plan;
                                                                                                   Discussions with Saudi Arabia ongoing, Musk says (MarketWatch - Factiva, 08/13/2018
                                                                                                   01:03 PM)
                                                                                                   Elon Musk says Saudi fund has offered to help take Tesla private (The Guardian -
                                                                                                   Factiva, 08/13/2018 01:04 PM)
                                                                                                   Citron: Twitter Shares Could Hit '$52 Within 52 Weeks' (Benzinga.com - Factiva,
                                                                                                   08/13/2018 01:04 PM)
                                                                                                   Saudi Arabia Weighs Larger Tesla Stake as Part of Plan to Make Electric Cars (Dow
                                                                                                   Jones Institutional News - Factiva, 08/13/2018 01:13 PM)
                                                                                                   MEDIA-Saudi Arabia weighs larger Tesla stake as part of plan to make electric cars -
                                                                                                   WSJ (Reuters News - Factiva, 08/13/2018 01:29 PM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private -- 6th Update (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/13/2018 01:36 PM)
                                                                                                   BREAKINGVIEWS-Musk missive reveals more than he might like (Reuters News -
                                                                                                   Factiva, 08/13/2018 01:46 PM)
                                                                                                   Tesla's dramatic stock rise and fall shows how skeptical investors are of Elon Musk's go-
                                                                                                   private plans (TSLA) (Business Insider - Factiva, 08/13/2018 01:58 PM)
                                                                                                   Musk relies on Saudi fund to take Tesla private (Renewables Now - Factiva, 08/13/2018
                                                                                                   02:02 PM)
                                                                                                   Elon Musk says 'funding secured' claim based on talks with Saudi wealth fund (The
                                                                                                   Telegraph Online - Factiva, 08/13/2018 02:13 PM)
                                                                                                   Elon Musk says he expects Saudis to fund plan to take Tesla private (CNN Wire -
                                                                                                   Factiva, 08/13/2018 02:29 PM)
                                                                                                   Elon Musk says Tesla privatisation plan is based on Saudi backing (Independent Online -
                                                                                                   Factiva, 08/13/2018 02:37 PM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private -- 7th Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 02:38 PM)
                                                                                                   Saudi Arabia weighs larger Tesla stake as part of plan to make electric cars; Kingdom
                                                                                                   is trying to diversify away from oil as basis for its economy (MarketWatch - Factiva,
                                                                                                   08/13/2018 02:47 PM)
                                                                                                   MW Saudi Arabia weighs larger Tesla stake as part of plan to make electric cars
                                                                                                   (MarketWatch - Factiva, 08/13/2018 02:48 PM)
                                                                                                   SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Notifies Investors of
                                                                                                   Class Action Against Tesla, Inc. (TSLA) and Lead Plaintiff Deadline: October 9, 2018
                                                                                                   (PR Newswire - Factiva, 08/13/2018 03:00 PM)
                                                                                                   Tesla short sellers trim exposure but stay the course (Reuters News - Factiva, 08/13/2018
                                                                                                   03:05 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Mark Cuban Talks Musk, Netflix, Amazon And More (Benzinga.com - Factiva,
                                                                                                   08/13/2018 03:17 PM)
                                                                                                   MW UPDATE: Elon Musk's plan to take Tesla private is a pipe dream (MarketWatch -
                                                                                                   Factiva, 08/13/2018 03:36 PM)
                                                                                                   MW UPDATE: Wall Street has spoken: Tesla funding is not 'secured' (MarketWatch -
                                                                                                   Factiva, 08/13/2018 03:39 PM)
                                                                                                   Elon Musk says Saudi fund has offered to help take Tesla private (The Guardian -
                                                                                                   Factiva, 08/13/2018 03:40 PM)
                                                                                                   Elon Musk says he expects Saudis to fund plan to take Tesla private (CNN Wire -
                                                                                                   Factiva, 08/13/2018 03:47 PM)
                                                                                                   It is now abundantly clear that Elon Musk does not have 'funding secured' (Business
                                                                                                   Insider - Factiva, 08/13/2018 03:47 PM)
                                                                                                   It is now abundantly clear that Elon Musk does not have 'funding secured' (Business
                                                                                                   Insider - Factiva, 08/13/2018 03:47 PM)
                                                                                                   US M&A Deals: Tesla, Tribune Media, Rite Aid Corp (SeeNews Deals - Factiva,
                                                                                                   08/13/2018 03:49 PM)
                                                                                                   News Highlights: Top Financial Services News of the Day (Dow Jones Institutional News -
                                                                                                   Factiva, 08/13/2018 04:00 PM)
                                                                                                   Musk's Surprise Tweet Complicates Tesla's Debt Picture; Elon Musk's surprise tweet
                                                                                                   last week that he is considering taking Tesla Inc. private only intensified questions
                                                                                                   about the electric-car maker's fundraising needs (The Wall Street Journal Online -
                                                                                                   Factiva, 08/13/2018 04:43 PM)
                                                                                                   Elon Musk says in talks with Saudis on taking Tesla private (Agence France Presse -
                                                                                                   Factiva, 08/13/2018 04:53 PM)
                                                                                                   Saudi Arabia Weighs Larger Tesla Stake as Part of Plan to Make Electric Cars;
                                                                                                   Kingdom is trying to diversify away from oil as basis for its economy (The Wall Street
                                                                                                   Journal Online - Factiva, 08/13/2018 04:53 PM)
                                                                                                   Elon Musk confirms Saudi Arabian wealth fund IS behind his plan to take Tesla
                                                                                                   private, and reveals he's been in talks with the foreign investors for nearly two years
                                                                                                   (Mail Online - Factiva, 08/13/2018 04:56 PM)
                                                                                                   INVESTOR ALERT: Kirby McInerney LLP Announces the Filing of Securities Class
                                                                                                   Action Lawsuits Against Tesla, Inc. (Business Wire - Factiva, 08/13/2018 05:03 PM)
                                                                                                   MW UPDATE: Tesla shares swing higher amid confusion about Musk's going-private
                                                                                                   plan (MarketWatch - Factiva, 08/13/2018 05:03 PM)
                                                                                                   UPDATE 1-Tesla short sellers trim exposure but stay the course (Reuters News - Factiva,
                                                                                                   08/13/2018 05:07 PM)
                                                                                                   UPDATE 2-Tesla's slow disclosure raises governance, social media concerns (Reuters
                                                                                                   News - Factiva, 08/13/2018 05:09 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla's slow disclosure raises governance, social media concerns (Reuters News - Factiva,
                                                                                                   08/13/2018 05:14 PM)
                                                                                                   Rapper Azealia Banks claims she was at Elon Musk's house over the weekend as he was
                                                                                                   'scrounging for investors' (TSLA) (Business Insider - Factiva, 08/13/2018 05:17 PM)

                                                                                                   Questions loom over Tesla deal after CEO reveals Saudi link (The Canadian Press -
                                                                                                   Factiva, 08/13/2018 05:21 PM)
                                                                                                   NIO, Potential Tesla Rival From China, Files For $1.8 Billion U.S. IPO --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/13/2018 05:32 PM)
                                                                                                   Keeping Tesla shares may not be an option for some big funds (Reuters News - Factiva,
                                                                                                   08/13/2018 05:43 PM)
                                                                                                   Major Tesla owner Fidelity trimmed stake last quarter - SEC filing (Reuters News -
                                                                                                   Factiva, 08/13/2018 05:59 PM)
                                                                                                   COLUMN-Elon Musk just made it easier for shareholders to sue Tesla for fraud:
                                                                                                   Frankel (Reuters News - Factiva, 08/13/2018 06:00 PM)
                                                                                                   NIO, potential Tesla rival from China, files for $1.8 billion U.S. IPO (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/13/2018 06:01 PM)
                                                                                                   Tesla and Elon Musk are sued by two investors who accuse the company's CEO of
                                                                                                   sharing 'false and misleading' tweets after announcing his proposal to go private (Mail
                                                                                                   Online - Factiva, 08/13/2018 06:14 PM)
                                                                                                   IMPORTANT INVESTOR NOTICE: The Schall Law Firm Announces the Filing of a
                                                                                                   Class Action Lawsuit Against Tesla, Inc. and Encourages Investors with Losses in
                                                                                                   Excess of $100,000 to Contact the Firm (Business Wire - Factiva, 08/13/2018 06:19 PM)
                                                                                                   Musk: I HAVE got the money to buy Tesla... and most of it has come from Saudi
                                                                                                   Arabia (Mail Online - Factiva, 08/13/2018 06:23 PM)
                                                                                                   Press Release: TSLA INVESTOR ALERT: Hagens Berman Sobol Shapiro LLP Files
                                                                                                   Tesla Securities Tweet Class Action: Notifies Investors of October 9th Lead Plaintiff
                                                                                                   Deadline (Dow Jones Institutional News - Factiva, 08/13/2018 07:27 PM)
                                                                                                   Tesla CEO confirms Saudi interest in buyout plan (Xinhua News Agency - Factiva,
                                                                                                   08/13/2018 07:27 PM)
                                                                                                   TSLA INVESTOR ALERT: Hagens Berman Sobol Shapiro LLP Files Tesla Securities
                                                                                                   Tweet Class Action: Notifies Investors of October 9th Lead Plaintiff Deadline (PR
                                                                                                   Newswire - Factiva, 08/13/2018 07:27 PM)
                                                                                                   'It was, at best, hasty and naive, and, at worst, manipulative': Experts slam Elon
                                                                                                   Musk's confusing defense of why he tweeted 'funding secured' (TSLA) (Business Insider -
                                                                                                   Factiva, 08/13/2018 07:55 PM)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s Tweets on Tesla Started a Tizzy. Someone Should Hit the Brakes.
                                                                                                   (NYTimes.com Feed - Factiva, 08/13/2018 07:59 PM)
                                                                                                   Saudis are right behind me on Tesla deal, Elon Musk insists (thetimes.co.uk - Factiva,
                                                                                                   08/13/2018 08:01 PM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   Larger Tesla Stake Could Aid Saudi Diversification Plan (Dow Jones Institutional News -
                                                                                                   Factiva, 08/13/2018 08:30 PM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private -- 8th Update (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/13/2018 08:54 PM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/13/2018 09:00 PM)
                                                                                                   TESLA'S MUSK SAYS EXCITED TO WORK WITH SILVER LAKE AND
                                                                                                   GOLDMAN SACHS AS FINANCIAL ADVISORS ON THE PROPOSAL TO TAKE
                                                                                                   TESLA PRIVATE - TWEET (Reuters News - Factiva, 08/13/2018 09:04 PM)
                                                                                                   TESLA'S MUSK SAYS WORKING WITH WACHTELL, LIPTON, ROSEN & KATZ
                                                                                                   AND MUNGER, TOLLES & OLSON AS LEGAL ADVISORS ON PROPOSAL TO
                                                                                                   TAKE TESLA PRIVATE - TWEET (Reuters News - Factiva, 08/13/2018 09:05 PM)
                                                                                                   Musk says working with Silver Lake, Goldman on proposal to take Tesla private
                                                                                                   (Reuters News - Factiva, 08/13/2018 09:15 PM)
                                                                                                   Saudi Fund Backs Plan to Privatize Tesla - CEO Elon Musk (Sputnik News Service -
                                                                                                   Factiva, 08/13/2018 09:30 PM)
                                                                                                   Musk Names Advisors in Bid to Take Tesla Private -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 09:42 PM)
                                                                                                   Musk Names Advisors in Bid to Take Tesla Private -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/13/2018 09:42 PM)
                                                                                                   SILVER LAKE IS NOT CURRENTLY DISCUSSING PARTICIPATING AS AN
                                                                                                   INVESTOR IN ELON MUSK'S PROPOSED TAKE-PRIVATE DEAL FOR TESLA -
                                                                                                   SOURCE (Reuters News - Factiva, 08/13/2018 09:47 PM)
                                                                                                   BRIEF-Silver Lake Not Currently Discussing Participating As Investor In Musk's
                                                                                                   Proposed Take-Private Deal For Tesla - Source (Reuters News - Factiva, 08/13/2018
                                                                                                   09:54 PM)
                                                                                                   Keeping Tesla shares may not be an option for some big funds (Reuters News - Factiva,
                                                                                                   08/13/2018 10:02 PM)
                                                                                                   Major Tesla owner Fidelity trimmed stake last quarter: SEC filing (Reuters News -
                                                                                                   Factiva, 08/13/2018 10:02 PM)
                                                                                                   Musk says working with Silver Lake, Goldman on proposal to take Tesla private
                                                                                                   (Reuters News - Factiva, 08/13/2018 10:02 PM)
                                                                                                   Tesla short sellers trim exposure but stay the course (Reuters News - Factiva, 08/13/2018
                                                                                                   10:02 PM)
                                                                                                   Musk Names Advisors in Bid to Take Tesla Private -- Market Talk (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/13/2018 10:04 PM)
                                                                                                   Some of Tesla's board members were reportedly 'totally blindsided' by Elon Musk's
                                                                                                   tweet about going private (TSLA) (Business Insider - Factiva, 08/13/2018 10:11 PM)




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                                                      Excess                                       Abnormal
                                           Market    Industry Predicted Abnormal                     Price
    Date        Volume    Price   Return   Return     Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                              Saudi Arabia Weighs Larger Tesla Stake as Part of Plan to Make Electric Cars > TSLA
                                                                                                              (Dow Jones Newswires Chinese (English) - Factiva, 08/13/2018 10:15 PM)
                                                                                                              Elon Musk's Surprise Tweet Complicates Tesla's Debt Picture (Dow Jones Newswires
                                                                                                              Chinese (English) - Factiva, 08/13/2018 10:21 PM)
                                                                                                              Questions loom over Tesla deal after CEO reveals Saudi link (Associated Press
                                                                                                              Newswires - Factiva, 08/13/2018 10:30 PM)
                                                                                                              Elon Musk reveals he is working with Goldman Sachs and Silver Lake to help take
                                                                                                              Tesla private (TSLA, GS) (Business Insider - Factiva, 08/13/2018 10:31 PM)
                                                                                                              Saudi Fund Backs Plan to Privatize Tesla - Elon Musk (Sputnik News Service - Factiva,
                                                                                                              08/13/2018 10:31 PM)
                                                                                                              Elon Musk Met With Saudi Fund About Taking Tesla Private -- 8th Update (Dow Jones
                                                                                                              Institutional News - Factiva, 08/13/2018 10:33 PM)
                                                                                                              Elon Musk Met With Saudi Fund About Taking Tesla Private -- 8th Update (Dow Jones
                                                                                                              Institutional News - Factiva, 08/13/2018 10:55 PM)
                                                                                                              Elon Musk Met With Saudi Fund About Taking Tesla Private; In a blog post, Musk
                                                                                                              said he believes two-thirds of current shareholders would remain with the company
                                                                                                              (The Wall Street Journal Online - Factiva, 08/13/2018 10:55 PM)
8/14/2018 Tue   6,986,427 $347.64 -2.46%     0.66%      0.25%    0.85%    -3.32% -1.30 19.70%       -$11.82   Elon Musk hires 'counselors' to decide if Tesla leaves Wall Street (CE
                                                                                                              NoticiasFinancieras - Factiva, 08/14/2018)
                                                                                                              Elon Musk names Saudi wealth fund as Tesla's funding source (CNET News.com -
                                                                                                              Factiva, 08/14/2018)
                                                                                                              Elon Musk says Saudi fund offered to take Tesla private (Washington Post.com - Factiva,
                                                                                                              08/14/2018)
                                                                                                              Elon Musk tweets about taking Tesla private, shares soar (ETMAG.com - Factiva,
                                                                                                              08/14/2018)
                                                                                                              Elon Musk Tweets of Plans to Open Source Tesla's Self-Driving Software (Open Source
                                                                                                              FOR You - Factiva, 08/14/2018)
                                                                                                              Elon Musk: Tesla Privatization Capital Mainly from Saudi, In Talks With Other
                                                                                                              Investors (AAStocks Financial News - Factiva, 08/14/2018)
                                                                                                              Elon MuskÃ¢â‚¬â„¢s Tweets on Tesla Started a Tizzy. Someone Should Hit the
                                                                                                              Brakes.; DealBook (International New York Times - Factiva, 08/14/2018)
                                                                                                              ...AND MOST OF IT HAS COME FROM SAUDI ARABIA (Daily Mail - Factiva,
                                                                                                              08/14/2018)
                                                                                                              04:47 EDT Musk says Tesla working Silver Lake, Goldman Sachs on going...
                                                                                                              (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                              04:52 EDT Silver Lake not hired by Tesla in official capacity, Reuters...
                                                                                                              (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                              05:42 EDT Tesla CEO Elon Musk says 'doesn't know' Azealia Banks, Gizmodo...
                                                                                                              (Theflyonthewall.com - Factiva, 08/14/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   06:19 EDT Keeping Tesla shares may not be an option for some big funds, Reuters...
                                                                                                   (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                   07:41 EDT Larger Tesla stake by giant Saudi fund faces challenges, WSJ...
                                                                                                   (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                   08:24 EDT Morgan Stanley auto analysts to hold an analyst/industry conference...
                                                                                                   (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                   08:30 EDT Tesla forms special committee to evaluate potential going private...
                                                                                                   (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                   08:31 EDT Tesla forms special committee to evaluate potential going private...
                                                                                                   (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                   11:57 EDT Another Tesla investor sues company, Musk over tweet, Jalopnik...
                                                                                                   (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                   12:56 EDT Goldman not hired officially by Tesla at time of tweet, Bloomberg...
                                                                                                   (Theflyonthewall.com - Factiva, 08/14/2018)
                                                                                                   Amid Tesla talk, is a $72B leveraged buyout feasible? (SNL Energy Finance Daily -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Amid Tesla talk, is a $72B leveraged buyout feasible? (SNL Financial Services Daily -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Amid Tesla talk, is a $72B leveraged buyout feasible? (SNL Power Daily with Market
                                                                                                   Report - Factiva, 08/14/2018)
                                                                                                   Arabian sleights Musk says billions from Saudis secured for Tesla (New York Post -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Aug. 7 funding tweet may put Musk at risk (Charleston Gazette - Factiva, 08/14/2018)
                                                                                                   Automotive industry; Musk: 'Funding secured' tweet sparked by meeting with Saudis
                                                                                                   (Press-Telegram - Factiva, 08/14/2018)
                                                                                                   Automotive industry; Musk: 'Funding secured' tweet sparked by meeting with Saudis
                                                                                                   (Riverside Press-Enterprise - Factiva, 08/14/2018)
                                                                                                   BANKELELE: Demolished Kileleshwa fuel station a bad omen for petrol industry
                                                                                                   (Daily Nation - Factiva, 08/14/2018)
                                                                                                   Banking & Finance: Tesla's New Challenge: Borrowing Costs --- Electric car maker's
                                                                                                   debt has slipped in days after Elon Musk's 'go-private' tweet (The Wall Street Journal -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Barclays Research Report (Capital IQ - Manual Entry, 08/14/2018)
                                                                                                   Barclays Research Report (Eikon - Manual Entry, 08/14/2018)
                                                                                                   CFRA Equity Research Research Report (Eikon - Manual Entry, 08/14/2018)
                                                                                                   Chinese electric-car start-up Nio seeks IPO even as Musk plans to take Tesla private
                                                                                                   (scmp.com - Factiva, 08/14/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   D&O litigation digest: Tesla, Facebook facing shareholder lawsuits (SNL Financial Extra
                                                                                                   - Factiva, 08/14/2018)
                                                                                                   DenholmÃ¢â‚¬â„¢s Tesla gig a tidy earner (The Australian - Factiva, 08/14/2018)
                                                                                                   DenholmÃ¢â‚¬â„¢s Tesla gig a tidy earner (The Australian - Factiva, 08/14/2018)
                                                                                                   Dow Jones Futures: Why This Stock Breakout Is Special; Tesla Rival Files For IPO
                                                                                                   (Investor's Business Daily - Factiva, 08/14/2018)
                                                                                                   Dow Jones Futures: Why This Stock Breakout Is Special; Tesla Rival Files For IPO
                                                                                                   (Investor's Business Daily - Factiva, 08/14/2018)
                                                                                                   Elazar Advisors Research Report (Eikon - Manual Entry, 08/14/2018)
                                                                                                   Elon Musk said to be working with Goldman to take Tesla private (Global Banking
                                                                                                   News - Factiva, 08/14/2018)
                                                                                                   Foreign-Trade Zone (FTZ) 18--San Jose, California; Notification of Proposed
                                                                                                   Production Activity; Tesla, Inc. (Electric Passenger Vehicles and Components);
                                                                                                   Fremont and Palo Alto, California (Department of Commerce Documents - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Foreign-Trade Zone (FTZ) 18--San Jose, California; Notification of Proposed
                                                                                                   Production Activity; Tesla, Inc. (Electric Passenger Vehicles and Components);
                                                                                                   Fremont and Palo Alto, California (Federal Register - Factiva, 08/14/2018)
                                                                                                   'Funding secured'by Saudi meeting: Musk; Tesla Inc (National Post - Factiva,
                                                                                                   08/14/2018)
                                                                                                   How much did Elon Musk's wealth grow in the last month? (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Howes: Saudi-backed buyout solves Tesla's biggest problem - scrutiny (The Detroit
                                                                                                   News: Web Edition - Factiva, 08/14/2018)
                                                                                                   IS APPLE DOUBLING DOWN ON SELF-DRIVING CARS? COMPANY REHIRES
                                                                                                   TESLA EXEC TO WORK ON PROJECT TITAN (San Jose Mercury News - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Is your stock going the Elon Musk way: Planning to go private? (Mint - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Larger Tesla stake by giant Saudi fund faces hurdles (EFE News Service - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Morgan Stanley Research Report (Capital IQ - Manual Entry, 08/14/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/14/2018)
                                                                                                   Morgan Stanley Research Report (Eikon - Manual Entry, 08/14/2018)
                                                                                                   Musk Met With Saudis On Tesla --- In blog post, CEO explains claim on funding,
                                                                                                   cautions that no deal has been made (The Wall Street Journal - Factiva, 08/14/2018)
                                                                                                   Musk reveals Saudi fund would take Tesla private (Boston Herald - Factiva, 08/14/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Musk reveals Saudi source for plan to take Tesla private (St. Paul Pioneer Press - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Saudi wealth fund keen to back Tesla buyout (Irish Independent - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Saudis back taking Tesla private (The Irish Times - Factiva, 08/14/2018)
                                                                                                   Musk says Silver Lake, Goldman advising on taking Tesla private: Reuters (PE Hub
                                                                                                   Network - Factiva, 08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Argus Leader - Factiva, 08/14/2018)

                                                                                                   Musk says Tesla could go private using Saudi funds (Asbury Park Press - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Asheville Citizen-Times - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Clarion-Ledger - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Courier-Post - Factiva, 08/14/2018)

                                                                                                   Musk says Tesla could go private using Saudi funds (Democrat & Chronicle - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Florida Today - Factiva, 08/14/2018)

                                                                                                   Musk says Tesla could go private using Saudi funds (Fort Collins Coloradoan - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Green Bay Press-Gazette - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Greenville News - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Indianapolis Star - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Journal & Courier - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Lansing State Journal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Montgomery Advertiser - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (News-Leader - Factiva, 08/14/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Musk says Tesla could go private using Saudi funds (News-Press - Factiva, 08/14/2018)

                                                                                                   Musk says Tesla could go private using Saudi funds (Pensacola News Journal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Poughkeepsie Journal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Press & Sun-Bulletin, Binghamton -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Reno Gazette-Journal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (St. Cloud Times - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (Statesman Journal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Arizona Republic - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Courier-Journal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Daily Times - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Des Moines Register - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Desert Sun - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Journal News (White Plains,
                                                                                                   NY) - Factiva, 08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The News Journal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Post-Crescent - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Tallahassee Democrat - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (The Tennessean - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says Tesla could go private using Saudi funds (USA Today - Factiva, 08/14/2018)


                                                                                                   Musk says that Saudi fund requested him to delist Tesla (Cape Times - Factiva,
                                                                                                   08/14/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Musk says that Saudi fund requested him to delist Tesla (Pretoria News - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says that Saudi fund requested him to delist Tesla (The Mercury - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk says that Saudi fund requested him to delist Tesla (The Star - Factiva, 08/14/2018)

                                                                                                   MUSK SECRET OUT (The Sun - Factiva, 08/14/2018)
                                                                                                   MUSK SECRET OUT (The Sun - Factiva, 08/14/2018)
                                                                                                   MUSK SECRET OUT (The Sun - Factiva, 08/14/2018)
                                                                                                   Musk talking to Saudis about Tesla buyout (Bangkok Post - Factiva, 08/14/2018)
                                                                                                   Musk talking to Saudis to take Tesla private By Tom Krisher (The Florida Times-Union -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Musk Tips Saudi Arabia as Major EV Investor (International Oil Daily - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk Tips Saudi Arabia as Major EV Investor (The Oil Daily - Factiva, 08/14/2018)
                                                                                                   Musk working with top financial firms to take Tesla private (The DayAfter - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk: I HAVE got the money to buy Tesla (Scottish Daily Mail - Factiva, 08/14/2018)
                                                                                                   Musk: Saudi fund could help take Tesla private; CEO said money 'secured,' but deal; is
                                                                                                   not finalized (San Diego Union-Tribune - Factiva, 08/14/2018)
                                                                                                   Musk: Saudi fund offered to take company private SEC reportedly looking into
                                                                                                   possible violation by CEO (Chicago Tribune - Factiva, 08/14/2018)
                                                                                                   Musk: Saudi fund offered to take Tesla private (Orlando Sentinel - Factiva, 08/14/2018)
                                                                                                   Musk: Saudi fund offered to take Tesla private; SEC reportedly looking into possible
                                                                                                   violation (Daily Press - Factiva, 08/14/2018)
                                                                                                   Musk: Saudis will provide funding for Tesla buyout (The Daily Telegraph - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk: Tesla could go private using Saudi funds (The Evansville Courier - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk: Tesla deal still in talking stage (South Florida Sun-Sentinel - Factiva, 08/14/2018)

                                                                                                   MUSK'S MISSIVE Tesla boss says Saudis want to support buyback (City AM - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Musk's tweet is useful lesson for modern CEOs (i - Factiva, 08/14/2018)
                                                                                                   Nation/world business briefs (Richmond Times-Dispatch: Web Edition - Factiva,
                                                                                                   08/14/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Nio, China's Tesla, Will Be First Chinese Automaker With U.S. IPO (Investor's Business
                                                                                                   Daily - Factiva, 08/14/2018)
                                                                                                   Nio, China's Tesla, Will Be First Chinese Automaker With U.S. IPO (Investor's Business
                                                                                                   Daily - Factiva, 08/14/2018)
                                                                                                   Questions loom over Tesla deal (The Quad-City Times - Factiva, 08/14/2018)
                                                                                                   Report: TeslaÃ¢â‚¬â„¢s board was Ã¢â‚¬Ëœtotally blindsidedÃ¢â‚¬â„¢ by
                                                                                                   MuskÃ¢â‚¬â„¢s go-private tweets (Portland Business Journal Online - Factiva, 08/14/2018)

                                                                                                   Report: TeslaÃ¢â‚¬â„¢s board was Ã¢â‚¬Ëœtotally blindsidedÃ¢â‚¬â„¢ by
                                                                                                   MuskÃ¢â‚¬â„¢s go-private tweets (Silicon Valley/San Jose Business Journal Online -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Riyadh prepares for life after oil; Saudi Arabia (National Post - Factiva, 08/14/2018)
                                                                                                   S & P 500 records best session in three weeks (CE NoticiasFinancieras - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Saudi Arabia eyes enlarged stake in MuskÃ¢â‚¬â„¢s private Tesla (U-Wire - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Saudi Arabia fund is potential Tesla take-private financier, Musk says (SNL Energy
                                                                                                   Finance Daily - Factiva, 08/14/2018)
                                                                                                   Saudi Arabia fund is potential Tesla take-private financier, Musk says (SNL Financial
                                                                                                   Services Daily - Factiva, 08/14/2018)
                                                                                                   Saudi deal in works, Musk insists; CEO's tweet about 'funding secured' to take Tesla
                                                                                                   private still leaves many in doubt. (Los Angeles Times - Factiva, 08/14/2018)
                                                                                                   Saudi fund may be key to taking Tesla private (The Washington Post - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Saudi Fund, the secret weapon in plan of Musk (CE NoticiasFinancieras - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Saudi Oil Money Behind Tesla Rumors (Valley News - Factiva, 08/14/2018)
                                                                                                   Saudis are right behind me on Tesla deal, Elon Musk insists (The Times - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Saudis are right behind me on Tesla deal, Elon Musk insists (The Times - Factiva,
                                                                                                   08/14/2018)
                                                                                                   SAUDIS MAY HELP TAKE TESLA PRIVATE; MUSK SAYS HE'S MET WITH
                                                                                                   OFFICIALS FROM COUNTRY'S SOVEREIGN WEALTH FUND (San Jose Mercury
                                                                                                   News - Factiva, 08/14/2018)
                                                                                                   SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Notifies Investors of
                                                                                                   Class Action Against Tesla, Inc. (TSLA) and Lead Plaintiff Deadline: October 9, 2018
                                                                                                   (ENP Newswire - Factiva, 08/14/2018)
                                                                                                   Shinhan Investment Corp. Research Report (Capital IQ - Manual Entry, 08/14/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Shinhan Investment Corp. Research Report (Capital IQ - Manual Entry, 08/14/2018)
                                                                                                   Sovereign Wealth U.S. Buying Binge May End SoonÃ¢â‚¬â€Despite Tesla (National
                                                                                                   Real Estate Investor - Factiva, 08/14/2018)
                                                                                                   Stake Could Help Kingdom Diversify --- Oil-rich nation aims to build electric cars,
                                                                                                   ramp up solar (The Wall Street Journal - Factiva, 08/14/2018)
                                                                                                   Stocks fall; Tesla CEO says he's talking with Saudi fund (The Post and Courier (South
                                                                                                   Carolina) - Factiva, 08/14/2018)
                                                                                                   Talk about left Field: Apple lures back Tesla engineering guru (U-Wire - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Tesla aiming to tempt investors but buyout realities show boring companies are a safer
                                                                                                   bet (Global Times - Factiva, 08/14/2018)
                                                                                                   Tesla Announces Formation of Special Committee to Evaluate Potential Going Private
                                                                                                   Transaction (Contify Automotive News - Factiva, 08/14/2018)
                                                                                                   Tesla board committee to weigh Elon Musk's plan to go private (USA Today Online -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Tesla board creates committee to take firm private (EFE News Service - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Tesla board moves to explore going private, and shareholders sue over Elon Musk's
                                                                                                   tweets (latimes.com - Factiva, 08/14/2018)
                                                                                                   Tesla Board To Evaluate Musk's Potential Going Private Transaction (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/14/2018)
                                                                                                   Tesla Board To Evaluate Musk's Potential Going Private Transaction (RTT News -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Tesla buyout now appears unsettled (Greensboro News & Record - Factiva, 08/14/2018)
                                                                                                   Tesla CEO Elon Musk says Saudi Arabia is backing his latest plans for the car... (Radio
                                                                                                   New Zealand News - Factiva, 08/14/2018)
                                                                                                   Tesla Directory forms special committee to evaluate Elon Musk's proposals (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/14/2018)
                                                                                                   Tesla forms committee to assess proposal to go private (Postmedia Breaking News -
                                                                                                   Factiva, 08/14/2018)
                                                                                                   Tesla forms panel to gauge taking company private (U-Wire - Factiva, 08/14/2018)
                                                                                                   Tesla Forms Special Committee In Connection With Musk's Proposal - Quick Facts
                                                                                                   (CE NoticiasFinancieras - Factiva, 08/14/2018)
                                                                                                   Tesla Forms Special Committee In Connection With Musk's Proposal - Quick Facts
                                                                                                   (RTT News - Factiva, 08/14/2018)
                                                                                                   Tesla forms three-member panel to look at any Musk deal; Tesla forms three-member
                                                                                                   panel to look at any Musk deal (The Daily Star - Factiva, 08/14/2018)
                                                                                                   Tesla money source: Saudis (The San Francisco Chronicle - Factiva, 08/14/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events

                                                                                                   Tesla points to the Saudi sovereign fund to get him out of the stock market (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/14/2018)
                                                                                                   Tesla Rival Nio Seeks To Raise $1.8 Bln In U.S. IPO (CE NoticiasFinancieras - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Tesla Rival Nio Seeks To Raise $1.8 Bln In U.S. IPO (RTT News - Factiva, 08/14/2018)
                                                                                                   Tesla Seeks Counsel From Silver Lake, Not Cash (The Deal - Factiva, 08/14/2018)
                                                                                                   Tesla short sellers trim exposure but stay the course (EJ Insight - Factiva, 08/14/2018)
                                                                                                   Tesla Special Committee Created To Evaluate Elon Musk Bid To Go Private (Investor's
                                                                                                   Business Daily - Factiva, 08/14/2018)
                                                                                                   Tesla Special Committee Created To Evaluate Elon Musk Bid To Go Private (Investor's
                                                                                                   Business Daily - Factiva, 08/14/2018)
                                                                                                   Tesla Take-Private Takes Shape With Adviser Assignments (The Deal - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Tesla targeted by short sellers, along with these Wisconsin companies (Milwaukee
                                                                                                   Business Journal Online - Factiva, 08/14/2018)
                                                                                                   Tesla's board forms special committee to vet any proposal to go private (CNET
                                                                                                   News.com - Factiva, 08/14/2018)
                                                                                                   The Economic Chickens Are Coming Home To Roost, And Certainly When It Comes
                                                                                                   To The Emerging Markets, Fantasy Football Season Is About To Begin In The United
                                                                                                   States, And A New League Says Blockchain Can Make People Care About Fantasy
                                                                                                   Sports Like They Were The Real Thing, One Of President Trump's Cabinet Members
                                                                                                   Is Under Close Scrutiny For Alleged Conflicts Of Interest. Aired: 4-5p ET (CNN
                                                                                                   International: Quest Means Business - Factiva, 08/14/2018)
                                                                                                   Tuesday Papers: Musk to take Tesla private with Saudi Money (Citywire - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Tweeting Plan, Musk Shocked Tesla Directors (The New York Times - Factiva,
                                                                                                   08/14/2018)
                                                                                                   UPDATE: Tesla shares jump 11% after CEO Musk confirms privatization interest
                                                                                                   (SNL Generation Markets Week - Factiva, 08/14/2018)
                                                                                                   US stocks rise, dollar ebbs amid Turkey tumult (Indiainfoline News Service - Factiva,
                                                                                                   08/14/2018)
                                                                                                   Volatility has vanished (The Irish Times - Factiva, 08/14/2018)
                                                                                                   Wells eyes student loan refinancing; Goldman advising on Tesla privatization (SNL
                                                                                                   Financial Extra - Factiva, 08/14/2018)
                                                                                                   Why oil is still king in Saudi Arabia despite bets on future with Tesla
                                                                                                   (ArabianBusiness.com - Factiva, 08/14/2018)
                                                                                                   UPDATE 10-Musk says Silver Lake, Goldman advising on taking Tesla private (Reuters
                                                                                                   News - Factiva, 08/14/2018 12:19 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Musk says Silver Lake, Goldman advising on taking Tesla private (Reuters News -
                                                                                                   Factiva, 08/14/2018 12:20 AM)
                                                                                                   PRESS DIGEST- Wall Street Journal - Aug 14 (Reuters News - Factiva, 08/14/2018 12:47
                                                                                                   AM)
                                                                                                   Elon Musk says he expects Saudis to fund plan to take Tesla private (CNN Wire -
                                                                                                   Factiva, 08/14/2018 01:06 AM)
                                                                                                   Musk calls in Goldman and Silver Lake to help take Tesla private; Chief executive also
                                                                                                   attempts to clarify his 'funding secured' comment from earlier in August (Financial
                                                                                                   News - Factiva, 08/14/2018 02:30 AM)
                                                                                                   Musk Met With Saudis On Tesla -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/14/2018 02:32 AM)
                                                                                                   Stake Could Help Kingdom Diversify -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/14/2018 02:32 AM)
                                                                                                   Tesla's New Challenge: Borrowing Costs -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/14/2018 02:32 AM)
                                                                                                   BREAKINGVIEWS-China's Tesla bets on hot-wired dream for IPO (Reuters News -
                                                                                                   Factiva, 08/14/2018 03:46 AM)
                                                                                                   Elon Musk Met With Saudi Fund About Taking Tesla Private; In a blog post, Musk
                                                                                                   said he believes two-thirds of current shareholders would remain with the company
                                                                                                   (Private Equity News - Factiva, 08/14/2018 04:32 AM)
                                                                                                   The stocks that look ripe for buying after a Turkish trouncing Ã¢â‚¬â€ and those to
                                                                                                   avoid (MarketWatch - Factiva, 08/14/2018 05:00 AM)
                                                                                                   SEC will still have many questions for Tesla and Musk say experts; Securities lawyer
                                                                                                   says SEC trying to ascertain whether Musk Ã¢â‚¬Ëœblowing smokeÃ¢â‚¬â„¢
                                                                                                   (MarketWatch - Factiva, 08/14/2018 05:14 AM)
                                                                                                   Larger Tesla Stake by Giant Saudi Fund Faces Hurdles (Dow Jones Institutional News -
                                                                                                   Factiva, 08/14/2018 05:30 AM)
                                                                                                   Larger Tesla Stake by Giant Saudi Fund Faces Hurdles; PIF is already on the hook to
                                                                                                   contribute to initiatives including Neom, the $500 billion futuristic megacity (The Wall
                                                                                                   Street Journal Online - Factiva, 08/14/2018 05:30 AM)
                                                                                                   Saudi Fund Faces Hurdles in Financing Larger Tesla Stake (Dow Jones Institutional
                                                                                                   News - Factiva, 08/14/2018 05:40 AM)
                                                                                                   Chinesischer Tesla-Rivale Nio plant milliardenschweren US-BÃƒÂ¶rsengang (Reuters
                                                                                                   News - Factiva, 08/14/2018 05:56 AM)
                                                                                                   WSJ Wealth Adviser Briefing: Digital Currency, Deposit Rates, Tesla (Dow Jones
                                                                                                   Institutional News - Factiva, 08/14/2018 06:04 AM)
                                                                                                   DealBook Briefing: Elon Musk Has Answers. We Still Have Questions. (NYTimes.com
                                                                                                   Feed - Factiva, 08/14/2018 06:34 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Elon Musk denies Azealia BanksÃ¢â‚¬â„¢ claim he was on Twitter while on acid
                                                                                                   (Independent Online - Factiva, 08/14/2018 06:36 AM)
                                                                                                   China's 'Tesla-fighter' plans to go public in New York (CNN Wire - Factiva, 08/14/2018
                                                                                                   06:47 AM)
                                                                                                   LIVE MARKETS-Tesla vs esure: What does "funding secured" look like? (Reuters
                                                                                                   News - Factiva, 08/14/2018 06:50 AM)
                                                                                                   Musk's Tweets on Tesla Buyout Face Scrutiny After Saudi Disclosure (Dow Jones
                                                                                                   Institutional News - Factiva, 08/14/2018 07:00 AM)
                                                                                                   Musk's Tweets on Tesla Buyout Face Scrutiny After Saudi Disclosure; CEO's
                                                                                                   statement describes funding that looks less certain than first described (The Wall Street
                                                                                                   Journal Online - Factiva, 08/14/2018 07:00 AM)
                                                                                                   Musk's Tweets on Tesla Buyout Face Scrutiny After Saudi Disclosure; CEO's
                                                                                                   statement describes funding that looks less certain than first described (WSJ Pro Central
                                                                                                   Banking - Factiva, 08/14/2018 07:00 AM)
                                                                                                   RPT-Keeping Tesla shares may not be an option for some big funds (Reuters News -
                                                                                                   Factiva, 08/14/2018 07:00 AM)
                                                                                                   Elon Musk says heÃ¢â‚¬â„¢s working with Goldman, Silver Lake to take Tesla private;
                                                                                                   Many questions remain about controversial bid to go private (MarketWatch - Factiva,
                                                                                                   08/14/2018 07:08 AM)
                                                                                                   Tesla delisting backed by Saudi ArabiaÃ¢â‚¬â„¢s PIF, Silver Lake, Goldman tapped as
                                                                                                   advisors (SeeNews Deals - Factiva, 08/14/2018 07:45 AM)
                                                                                                   Saudi Fund May Be Too Stretched for Tesla Buyout -- Energy Journal (Dow Jones
                                                                                                   Institutional News - Factiva, 08/14/2018 07:53 AM)
                                                                                                   MuskÃ¢â‚¬â„¢s Tweets Face More Scrutiny After Saudi Disclosure (Dow Jones
                                                                                                   Institutional News - Factiva, 08/14/2018 08:00 AM)
                                                                                                   Hot Stocks to Watch: TSLA (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                   08/14/2018 08:26 AM)
                                                                                                   Press Release: Tesla Announces Formation of Special Committee to Evaluate Potential
                                                                                                   Going Private Transaction (Dow Jones Institutional News - Factiva, 08/14/2018 08:30 AM)

                                                                                                   Tesla Announces Formation of Special Committee to Evaluate Potential Going Private
                                                                                                   Transaction (GlobeNewswire - Factiva, 08/14/2018 08:30 AM)
                                                                                                   TESLA INC - SEPARATELY RETAINED WILSON SONSINI GOODRICH &
                                                                                                   ROSATI AS ITS LEGAL COUNSEL REGARDING POTENTIAL GOING PRIVATE
                                                                                                   TRANSACTION (Reuters News - Factiva, 08/14/2018 08:31 AM)
                                                                                                   LIVE MARKETS-Political risk: This time it's (not that) different (Reuters News -
                                                                                                   Factiva, 08/14/2018 08:31 AM)
                                                                                                   TESLA INC - SPECIAL COMMITTEE HAS NOT YET REACHED ANY
                                                                                                   CONCLUSION AS TO ADVISABILITY/FEASIBILITY OF A GOING PRIVATE
                                                                                                   DEAL (Reuters News - Factiva, 08/14/2018 08:32 AM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events

                                                                                                   Chinese Electric-Vehicle Maker NIO Tees Up U.S. Stock Sale (WSJ Pro Private Equity -
                                                                                                   Factiva, 08/14/2018 08:32 AM)
                                                                                                   Chinese Electric-Vehicle Maker NIO Tees Up U.S. Stock Sale (WSJ Pro Venture Capital -
                                                                                                   Factiva, 08/14/2018 08:32 AM)
                                                                                                   Tesla, Inc. 8-K Accepted 2018-08-14 08:34:57 (SEC - SEC Edgar, 08/14/2018 08:34 AM)

                                                                                                   MW Tesla's board forms special committee to evaluate potential going-private deal
                                                                                                   (MarketWatch - Factiva, 08/14/2018 08:40 AM)
                                                                                                   Tesla's Board Forms Special Committee To Evaluate Potential Going-private Deal --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/14/2018 08:40 AM)
                                                                                                   REFILE-LIVE MARKETS-How vulnerable are European banks to Turkey stress?
                                                                                                   (Reuters News - Factiva, 08/14/2018 08:41 AM)
                                                                                                   Tesla forms special committee, has no formal proposal from Musk (Reuters News -
                                                                                                   Factiva, 08/14/2018 08:42 AM)
                                                                                                   BRIEF-Tesla Forms Special Committee To Evaluate Potential Going Private
                                                                                                   Transaction (Reuters News - Factiva, 08/14/2018 08:44 AM)
                                                                                                   Tesla: Not clear yet whether Elon Musk's plan to go private makes sense (CNN Wire -
                                                                                                   Factiva, 08/14/2018 08:47 AM)
                                                                                                   UPDATE - Goldman, Silver Lake advising on Tesla go-private plan (Renewables Now -
                                                                                                   Factiva, 08/14/2018 08:50 AM)
                                                                                                   LIVE MARKETS-U.S. futures suggest stocks poised for relief rally (Reuters News -
                                                                                                   Factiva, 08/14/2018 08:56 AM)
                                                                                                   Tesla Special Committee to Evaluate Possibility of Taking Company Private (Dow Jones
                                                                                                   Institutional News - Factiva, 08/14/2018 08:59 AM)
                                                                                                   Tesla's board forms special committee to evaluate potential going-private deal (Dow
                                                                                                   Jones Newswires Chinese (English) - Factiva, 08/14/2018 09:06 AM)
                                                                                                   Tesla board forms committee to consider going private (Agence France Presse - Factiva,
                                                                                                   08/14/2018 09:09 AM)
                                                                                                   Tesla Special Committee to Evaluate Possibility of Taking Company Private (Dow Jones
                                                                                                   Institutional News - Factiva, 08/14/2018 09:10 AM)
                                                                                                   MW UPDATE: SEC will still have many questions for Tesla and Musk say experts
                                                                                                   (MarketWatch - Factiva, 08/14/2018 09:14 AM)
                                                                                                   Tesla's board has formed a special committee to consider going private (TSLA)
                                                                                                   (Business Insider - Factiva, 08/14/2018 09:22 AM)
                                                                                                   Tesla's board has formed a special committee to consider going private (TSLA)
                                                                                                   (Business Insider - Factiva, 08/14/2018 09:22 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Stocks to Watch: Tesla, Home Depot, Switch, Express Scripts, Advance Auto Parts,
                                                                                                   Ford, Tapestry, RH, Coca-Cola (Dow Jones Institutional News - Factiva, 08/14/2018 09:31
                                                                                                   AM)
                                                                                                   Stocks to Watch: Tesla, Home Depot, Switch, Express Scripts, Advance Auto Parts,
                                                                                                   Ford, Tapestry, RH, Coca-Cola; Here are some of the companies with shares expected
                                                                                                   to trade actively in Tuesday's session (The Wall Street Journal Online - Factiva, 08/14/2018
                                                                                                   09:31 AM)
                                                                                                   Tesla: Not clear yet whether Elon Musk's plan to go private makes sense (CNN Wire -
                                                                                                   Factiva, 08/14/2018 09:47 AM)
                                                                                                   LIVE MARKETS-Value bulls, unite! (Reuters News - Factiva, 08/14/2018 09:51 AM)
                                                                                                   Tesla forms special committee to study going private proposal (24 Ore Radiocor-
                                                                                                   Newswire International Edition - Factiva, 08/14/2018 09:55 AM)
                                                                                                   Tesla: Not clear yet whether Elon Musk's plan to go private makes sense (CNN Wire -
                                                                                                   Factiva, 08/14/2018 10:09 AM)
                                                                                                   Elon MuskÃ¢â‚¬â„¢s Effort to Take Tesla Private to Get Board Oversight
                                                                                                   (NYTimes.com Feed - Factiva, 08/14/2018 10:50 AM)
                                                                                                   LIVE MARKETS-A cash equity trading downturn in Europe? (Reuters News - Factiva,
                                                                                                   08/14/2018 10:57 AM)
                                                                                                   Musk Name-Drops Advisors, Tesla Forms Committee To Evaluate Potential Go-
                                                                                                   Private Deal (Benzinga.com - Factiva, 08/14/2018 11:00 AM)
                                                                                                   MW UPDATE: Elon Musk says he's working with Goldman, Silver Lake to take Tesla
                                                                                                   private (MarketWatch - Factiva, 08/14/2018 11:08 AM)
                                                                                                   LIVE MARKETS-Party like it's 1994! (Reuters News - Factiva, 08/14/2018 11:16 AM)
                                                                                                   MW UPDATE: NIO, potential Tesla rival from China, files for $1.8 billion U.S. IPO
                                                                                                   (MarketWatch - Factiva, 08/14/2018 11:44 AM)
                                                                                                   Update: NIO, Potential Tesla Rival From China, Files For $1.8 Billion U.S. IPO --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/14/2018 11:44 AM)
                                                                                                   CORRECTED-UPDATE 2-Tesla forms three-member panel to decide on any Musk
                                                                                                   deal (Reuters News - Factiva, 08/14/2018 11:57 AM)
                                                                                                   CORRECTED-FACTBOX-A look at Tesla's nine-member board (Reuters News -
                                                                                                   Factiva, 08/14/2018 11:58 AM)
                                                                                                   LIVE MARKETS-Closing snapshot: 384.92 vs 384.91 (Reuters News - Factiva,
                                                                                                   08/14/2018 12:40 PM)
                                                                                                   There's an X-factor in Tesla's go-private deal that no one is considering while they try
                                                                                                   to figure out what Elon Musk is thinking (TSLA) (Business Insider - Factiva, 08/14/2018
                                                                                                   12:53 PM)
                                                                                                   INVESTOR REMINDER NOTICE: The Schall Law Firm Announces the Filing of a
                                                                                                   Class Action Lawsuit Against Tesla, Inc. and Encourages Investors with Losses in
                                                                                                   Excess of $100,000 to Contact the Firm (Business Wire - Factiva, 08/14/2018 12:58 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Tesla forms committee to consider MuskÃ¢â‚¬â„¢s proposal of going private (The
                                                                                                   Telegraph Online - Factiva, 08/14/2018 01:15 PM)
                                                                                                   BREAKINGVIEWS-Tesla is risky vehicle for Saudi reform drive (Reuters News -
                                                                                                   Factiva, 08/14/2018 01:18 PM)
                                                                                                   Pressure mounts on Tesla as it gets hit with a third securities fraud lawsuit in wake of
                                                                                                   Elon Musk's 'funding secured' tweet (TSLA) (Business Insider - Factiva, 08/14/2018 01:43
                                                                                                   PM)
                                                                                                   Elon Musk hit with a THIRD securities fraud lawsuit one week after tweeting plan to
                                                                                                   take his car company private - as Tesla board forms 'special committee' to examine
                                                                                                   CEO's proposal (Mail Online - Factiva, 08/14/2018 01:54 PM)
                                                                                                   Elon Musk says he's hired Goldman Sachs to help take Tesla private Ã¢â‚¬â€ even
                                                                                                   though the bank's analyst is one of the most bearish on Wall Street (TSLA) (Business
                                                                                                   Insider - Factiva, 08/14/2018 01:54 PM)
                                                                                                   MW Apple is looking to develop chip for health sensors: report (MarketWatch - Factiva,
                                                                                                   08/14/2018 02:30 PM)
                                                                                                   Apple is looking to develop chip for health sensors: report (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/14/2018 02:45 PM)
                                                                                                   Tesla latest: Elon Musk forms SPECIAL COMMITTEE in one step closer to making
                                                                                                   Tesla private (express.co.uk - Factiva, 08/14/2018 02:50 PM)
                                                                                                   Goldman, Silver Lake Not Officially On Board With Musk's Plan: Report --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/14/2018 03:36 PM)
                                                                                                   MW Goldman, Silver Lake not officially on board with Musk's plan: report
                                                                                                   (MarketWatch - Factiva, 08/14/2018 03:36 PM)
                                                                                                   Tesla: Should you buy, sell or short? (CNN Wire - Factiva, 08/14/2018 03:47 PM)
                                                                                                   Goldman, Silver Lake not officially on board with Musk's plan: report (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/14/2018 03:57 PM)
                                                                                                   Deals of the day-Mergers and acquisitions (Reuters News - Factiva, 08/14/2018 04:03 PM)

                                                                                                   MW Dow, S&P 500 halt 4-session skid as Turkish lira angst takes a breather
                                                                                                   (MarketWatch - Factiva, 08/14/2018 04:08 PM)
                                                                                                   Major Tesla shareholders trimmed stakes last quarter -filings (Reuters News - Factiva,
                                                                                                   08/14/2018 04:09 PM)
                                                                                                   UPDATE 1-Major Tesla shareholders trimmed stakes last quarter -filings (Reuters
                                                                                                   News - Factiva, 08/14/2018 06:09 PM)
                                                                                                   Tesla forms special committee to review Musk's going-private plan (Xinhua News
                                                                                                   Agency - Factiva, 08/14/2018 06:35 PM)
                                                                                                   How to Solve a Problem Like Elon? Musk may not be an asset to the abbey, but the
                                                                                                   SEC knows he makes us laugh. (The Wall Street Journal Online - Factiva, 08/14/2018 06:59
                                                                                                   PM)



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                                                      Excess                                       Abnormal
                                           Market    Industry Predicted Abnormal                     Price
    Date        Volume    Price   Return   Return     Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                              TESLA SHAREHOLDER ALERT BY FORMER LOUISIANA ATTORNEY
                                                                                                              GENERAL: KAHN SWICK & FOTI, LLC REMINDS INVESTORS WITH LOSSES
                                                                                                              IN EXCESS OF $100,000 of Lead Plaintiff Deadline in Class Action Lawsuit Against
                                                                                                              Tesla, Inc. - TSLA (GlobeNewswire - Factiva, 08/14/2018 07:00 PM)
                                                                                                              Tesla forms committee to assess proposal to go private (Associated Press Newswires -
                                                                                                              Factiva, 08/14/2018 07:08 PM)
                                                                                                              Tesla forms committee to assess proposal to go private (The Canadian Press - Factiva,
                                                                                                              08/14/2018 07:09 PM)
                                                                                                              Elon Musk Tweets Another Surprise, Saying Goldman and Silver Lake Are Tesla
                                                                                                              Advisers; Electric-car maker's CEO and the investment firms hadn't completed any
                                                                                                              financial deals, though (The Wall Street Journal Online - Factiva, 08/14/2018 07:30 PM)
                                                                                                              Azealia Banks claims Elon Musk is Ã¢â‚¬Ëœa beta male who wants to be
                                                                                                              alphaÃ¢â‚¬â„¢ (thetimes.co.uk - Factiva, 08/14/2018 08:01 PM)
                                                                                                              Tesla Directors Do Damage Control After Elon Musk Tweets (NYTimes.com Feed -
                                                                                                              Factiva, 08/14/2018 08:17 PM)
                                                                                                              A look at Tesla's nine-member board (Reuters News - Factiva, 08/14/2018 08:53 PM)
                                                                                                              Major Tesla shareholders trimmed stakes last quarter: filings (Reuters News - Factiva,
                                                                                                              08/14/2018 08:53 PM)
                                                                                                              Musk's Tweets on Tesla Buyout Face Scrutiny After Saudi Disclosure > TSLA (Dow
                                                                                                              Jones Newswires Chinese (English) - Factiva, 08/14/2018 09:09 PM)
                                                                                                              MEDIA-Some Tesla directors advise Elon Musk to stop tweeting - NYT (Reuters News -
                                                                                                              Factiva, 08/14/2018 09:24 PM)
                                                                                                              Elon Musk Tweets Another Surprise, Saying Goldman and Silver Lake Are Tesla
                                                                                                              Advisers (Dow Jones Newswires Chinese (English) - Factiva, 08/14/2018 09:25 PM)
                                                                                                              Larger Tesla Stake by Giant Saudi Fund Faces Hurdles (Dow Jones Newswires Chinese
                                                                                                              (English) - Factiva, 08/14/2018 10:49 PM)
                                                                                                              Members of Tesla's board of directors are lawyering up as crisis around Elon Musk
                                                                                                              deepens (TSLA) (Business Insider - Factiva, 08/14/2018 11:05 PM)
8/15/2018 Wed   9,101,258 $338.69 -2.57%    -1.20%      0.05%   -1.87%    -0.71% -0.28 78.27%        -$2.46   Elon Musk and Tesla, in the sights of the US regulatory authorities (CE
                                                                                                              NoticiasFinancieras - Factiva, 08/15/2018)
                                                                                                              Elon Musk in talks with Saudi Sovereign Fund to finance delisting of Tesla (French
                                                                                                              Collection - Factiva, 08/15/2018)
                                                                                                              Elon Musk may face a national security review in a Tesla-Saudi deal (Los Angeles Daily
                                                                                                              News - Factiva, 08/15/2018)
                                                                                                              Elon Musk releases details on his plan to take Tesla private (German Collection - Factiva,
                                                                                                              08/15/2018)
                                                                                                              Elon Musk roundup: The Tesla tweets heard around Wall Street (L.A. Biz - Factiva,
                                                                                                              08/15/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Elon Musk's Effort to Take Tesla Private to Get Board Oversight (The New York Times -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Goldman Sachs, Silver Lake advise Musk on taking Tesla private (German Collection -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   06:15 EDT Tesla directors begin damage control after Elon Musk tweets, NY Times...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   09:10 EDT Technical Take: Tesla has an active bearish pattern on daily chartThe...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   10:46 EDT Tesla investigation has reached 'formal' stages at SEC, FBN saysFBN's...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   12:04 EDT Silver Lake would like to participate in Tesla deal, DealBook...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   12:08 EDT Goldman Sachs to act as financial advisor to Tesla, Bloomberg reports
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   12:10 EDT Tesla moved to Not Rated at Goldman SachsAccording to analyst David...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   13:21 EDT Vertical Research says Model 3 demand 'collapsing,' Tesla unlikely to...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   15:26 EDT Goldman involvement with Tesla 'doesn't mean anything,' says Vertical...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   15:35 EDT Tesla said to receive subpoena from SEC, Bloomberg reportsThe Fly...
                                                                                                   (Theflyonthewall.com - Factiva, 08/15/2018)
                                                                                                   4 Tesla EV charging stations installed at Grand Valley town hall (Orangeville Banner -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   5 reasons that play against Elon Musk's plan for Tesla (CE NoticiasFinancieras - Factiva,
                                                                                                   08/15/2018)
                                                                                                   APPY FAMILIES (Gold Coast Sun - Central - Factiva, 08/15/2018)
                                                                                                   Banking & Finance: CEO's Tweets Face More Inquiry (The Wall Street Journal - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Banking & Finance: Saudi Fund Faces Tesla Deal Hurdles (The Wall Street Journal -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Banking Roundup: Citi reorganizes consumer banking unitÃ¢â‚¬Â¦ Goldman advising
                                                                                                   Musk on Tesla (Chicago Business Journal Online - Factiva, 08/15/2018)
                                                                                                   Banking Roundup: Citi reorganizes consumer banking unitÃ¢â‚¬Â¦ Goldman advising
                                                                                                   Musk on Tesla (L.A. Biz - Factiva, 08/15/2018)
                                                                                                   Banking Roundup: Citi reorganizes consumer banking unitÃ¢â‚¬Â¦ Goldman advising
                                                                                                   Musk on Tesla (New York Business Journal Online - Factiva, 08/15/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   Board Tries To Rein In Tesla's Chief After Tweets (The New York Times - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Board trio to assess Musk's plan to take carmaker private (The Daily Telegraph - Factiva,
                                                                                                   08/15/2018)
                                                                                                   BRIEFCASE (The Patriot Ledger - Factiva, 08/15/2018)
                                                                                                   Business briefs: RBS fined $4.9 billion in '08 crisis (The Journal Gazette - Factiva,
                                                                                                   08/15/2018)
                                                                                                   China's rival to Tesla plans $1.8bn New York listing (The Daily Telegraph - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Class-Action Lawsuit Filed Against Tesla After Elon Musk's Tweet (U-Wire - Factiva,
                                                                                                   08/15/2018)
                                                                                                   DealBook Briefing: Elon Musk Has Answers. We Still Have Questions. (The New York
                                                                                                   Times - Factiva, 08/15/2018)
                                                                                                   Dow Jones Futures: Tech Giant Soars To Buy Zone On Earnings; New Tesla Tweets
                                                                                                   (Investor's Business Daily - Factiva, 08/15/2018)
                                                                                                   Effort to take Tesla private to get board oversight (The Daily Gazette - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Electric car makers sprout in ChinaÃ¢â‚¬â€¹ (Cape Times - Factiva, 08/15/2018)
                                                                                                   Electric car makers sprout in ChinaÃ¢â‚¬â€¹ (Pretoria News - Factiva, 08/15/2018)
                                                                                                   Electric car makers sprout in ChinaÃ¢â‚¬â€¹ (The Mercury - Factiva, 08/15/2018)
                                                                                                   Electric car makers sprout in ChinaÃ¢â‚¬â€¹ (The Star - Factiva, 08/15/2018)
                                                                                                   electric vehicle start-up nio bids on float in u.s. (South China Morning Post - Factiva,
                                                                                                   08/15/2018)
                                                                                                   For Musk, a love-hate relationship with oil; Tesla's chief rails at fossil fuel industry but
                                                                                                   courts its money (Los Angeles Times - Factiva, 08/15/2018)
                                                                                                   FOR THE RECORD (Los Angeles Times - Factiva, 08/15/2018)
                                                                                                   How Nio Is Taking On Tesla In China Ã¢â‚¬â€ And What Challenges It Sees (Investor's
                                                                                                   Business Daily - Factiva, 08/15/2018)
                                                                                                   How to Solve a Problem Like Elon? (The Wall Street Journal - Factiva, 08/15/2018)
                                                                                                   IMPORTANT INVESTOR NOTICE: The Schall Law Firm Announces the Filing of a
                                                                                                   Class Action Lawsuit Against Tesla, Inc. and Encourages Investors with Losses in
                                                                                                   Excess of $500,000 to Contact the Firm (ACCESSWIRE - Factiva, 08/15/2018)
                                                                                                   Is Tesla a cash cow or simply a handful of beans? (The Washington Post - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Is Tesla a cash cow, or simply a handful of beans? (Washington Post.com - Factiva,
                                                                                                   08/15/2018)
                                                                                                   MORE NEWS (The Denver Post - Factiva, 08/15/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Musk facing heat over tweet (Townsville Bulletin - Factiva, 08/15/2018)
                                                                                                   Musk on Tesla talks (Express & Star - Factiva, 08/15/2018)
                                                                                                   Musk on Tesla talks Tesla (Shropshire Star - Factiva, 08/15/2018)
                                                                                                   Musk presents equipment to privatize Tesla (CE NoticiasFinancieras - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Musk says Goldman on board for his Tesla plans (Irish Independent - Factiva, 08/15/2018)

                                                                                                   Musk says Silver Lake, Goldman advising on taking Tesla private (U-Wire - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Musk says Silver Lake, Goldman Sachs advising on Tesla privatization (SNL Energy
                                                                                                   Finance Daily - Factiva, 08/15/2018)
                                                                                                   Musk says Silver Lake, Goldman Sachs advising on Tesla privatization (SNL Financial
                                                                                                   Services Daily - Factiva, 08/15/2018)
                                                                                                   Musk's Belated Explanation Is Unlikely to Get SEC Off His Back;
                                                                                                   BANKING/FINANCE (Broward Daily Business Review - Factiva, 08/15/2018)
                                                                                                   Musk's Belated Explanation Is Unlikely to Get SEC Off His Back;
                                                                                                   BANKING/FINANCE (Miami Daily Business Review - Factiva, 08/15/2018)
                                                                                                   Musk's Belated Explanation Is Unlikely to Get SEC Off His Back;
                                                                                                   BANKING/FINANCE (Palm Beach Daily Business Review - Factiva, 08/15/2018)
                                                                                                   Musk's bid to take Tesla private gaining traction; Special committee to study offer
                                                                                                   (National Post - Factiva, 08/15/2018)
                                                                                                   Nation/world business briefs (The Richmond Times-Dispatch - Factiva, 08/15/2018)
                                                                                                   Peso, Elektra, Amazon, talent, credits, reward, Elon Musk: Summary of the day (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/15/2018)
                                                                                                   Report: SEC subpoenas Tesla about CEO's buyout plans (Postmedia Breaking News -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Saudi fund seeking to take Tesla private, Musk says (The Australian - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Saudi PIF may partially finance Tesla take-private plan - bankers (Mubasher - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Saudi sovereign fund involved in Tesla buyout deal - report. (Just-Auto - Factiva,
                                                                                                   08/15/2018)
                                                                                                   SEC slaps Tesla with a subpoena over Elon Musk tweets, report says (CNET News.com -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   SEC Subpoenas Tesla Over Musk's Taking-Private Tweet (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   SEC Subpoenas Tesla Over Musk's Taking-Private Tweet (RTT News - Factiva,
                                                                                                   08/15/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events

                                                                                                   Silver Lake, Goldman advising on Tesla move (The Irish Times - Factiva, 08/15/2018)
                                                                                                   Special body to study Tesla going private (Shanghai Daily - Factiva, 08/15/2018)
                                                                                                   Stocks - Tesla Hit Hard Midday After Report of SEC Move (Investing.com - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Sure looks like the SEC is investigating Elon Musk's 'funding secured' tweet
                                                                                                   (Mashable.com - Factiva, 08/15/2018)
                                                                                                   Tencent-Backed Chinese EV Maker Seeks $1.8 Billion US IPO; BANKING/FINANCE
                                                                                                   (Broward Daily Business Review - Factiva, 08/15/2018)
                                                                                                   Tencent-Backed Chinese EV Maker Seeks $1.8 Billion US IPO; BANKING/FINANCE
                                                                                                   (Miami Daily Business Review - Factiva, 08/15/2018)
                                                                                                   Tencent-Backed Chinese EV Maker Seeks $1.8 Billion US IPO; BANKING/FINANCE
                                                                                                   (Palm Beach Daily Business Review - Factiva, 08/15/2018)
                                                                                                   Tesla at greater risk of default as a private company, S&P analysis suggests (SNL
                                                                                                   Financial Extra - Factiva, 08/15/2018)
                                                                                                   Tesla board explores taking firm private (Orlando Sentinel - Factiva, 08/15/2018)
                                                                                                   Tesla board forms special committee to review Musk's privatization proposal (SNL
                                                                                                   Energy Finance Daily - Factiva, 08/15/2018)
                                                                                                   Tesla board forms special committee to review Musk's privatization proposal (SNL
                                                                                                   Financial Services Daily - Factiva, 08/15/2018)
                                                                                                   Tesla board forms special committee to review Musk's privatization proposal (SNL
                                                                                                   Power Daily with Market Report - Factiva, 08/15/2018)
                                                                                                   Tesla board moves to explore going private (The Spokesman-Review - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Tesla board scrambles to do damage control after Elon Musk tweets (The Straits Times -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Tesla board scrambles to do damage control after Elon Musk tweets (The Straits Times -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Tesla board scrambles to do damage control after Elon Musk tweets (The Straits Times -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Tesla board to face many questions about Musk's going-private proposal (Pacific
                                                                                                   Business News - Factiva, 08/15/2018)
                                                                                                   Tesla board to face many questions about Musk's going-private proposal (Silicon
                                                                                                   Valley/San Jose Business Journal - Factiva, 08/15/2018)
                                                                                                   Tesla board trio to dissect Musk plan (New York Post - Factiva, 08/15/2018)
                                                                                                   Tesla committee to assess privatization (Victoria Times Colonist - Factiva, 08/15/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla committee to evaluate possibility of taking firm private; Special committee of
                                                                                                   three independent directors hasn't received a proposal from Musk (Waterloo Region
                                                                                                   Record - Factiva, 08/15/2018)
                                                                                                   Tesla committee to gauge Musk's plan to go private (USA Today - Factiva, 08/15/2018)
                                                                                                   Tesla directors do damage control after Elon Musk tweets (San Francisco Chronicle: Web
                                                                                                   Edition - Factiva, 08/15/2018)
                                                                                                   Tesla explores going private amid lawsuits (Daily Press - Factiva, 08/15/2018)
                                                                                                   Tesla explores going private amid lawsuits (South Florida Sun-Sentinel - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Tesla explores going private; Board forming panel to investigate Musk's idea;
                                                                                                   shareholders file suits (San Diego Union-Tribune - Factiva, 08/15/2018)
                                                                                                   TESLA EYE MUSK IDEA (The Sun - Factiva, 08/15/2018)
                                                                                                   TESLA EYE MUSK IDEA (The Sun - Factiva, 08/15/2018)
                                                                                                   TESLA FACES LAWSUITS (Herald-Sun - Factiva, 08/15/2018)
                                                                                                   Tesla Forms 3-member Committee to Study Privatization; Major Shareholders Cut
                                                                                                   Stake (AAStocks Financial News - Factiva, 08/15/2018)
                                                                                                   Tesla forms committee to consider feasibility of taking company private (The
                                                                                                   Washington Post - Factiva, 08/15/2018)
                                                                                                   Tesla forms special committee to consider going private (Washington Post.com - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Tesla is being investigated by the US regulator (CE NoticiasFinancieras - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Tesla is being investigated by the US regulator (CE NoticiasFinancieras - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Tesla panel to assess proposals (The Seattle Times - Factiva, 08/15/2018)
                                                                                                   Tesla panel will look into taking company private (City AM - Factiva, 08/15/2018)
                                                                                                   TESLA PLAN TO GET A LOOK; Board forms a special committee to explore CEO's
                                                                                                   idea of taking the carmaker private. Shareholders file suits. (Los Angeles Times -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Tesla shares drop amid reports of Securities and Exchange Commission subpoena (USA
                                                                                                   Today Online - Factiva, 08/15/2018)
                                                                                                   Tesla stock drops on report that the SEC has subpoenaed the automaker (latimes.com -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Tesla submits FTZ request (American Shipper - Factiva, 08/15/2018)
                                                                                                   TESLA TURMOIL AS BOARD REVEALS MUSK HAS NOT BID FOR HIS FIRM
                                                                                                   (Daily Mail - Factiva, 08/15/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla turmoil as board reveals Musk has NOT bid for his firm (Scottish Daily Mail -
                                                                                                   Factiva, 08/15/2018)
                                                                                                   Tesla tycoon 'a beta male who wants to be alpha' (The Times - Factiva, 08/15/2018)
                                                                                                   Tesla's Advisers Not Ready to Ride --- CEO Musk tweeted of advisory roles for
                                                                                                   Goldman, Silver Lake as haggling continued (The Wall Street Journal - Factiva,
                                                                                                   08/15/2018)
                                                                                                   Tesla's board panel to study private proposal (Calgary Herald - Factiva, 08/15/2018)
                                                                                                   Tesla's board panel to study private proposal (Edmonton Journal - Factiva, 08/15/2018)
                                                                                                   Tesla's board to look at CEO's plan (i - Factiva, 08/15/2018)
                                                                                                   The US stock market authority demands Tesla information on Elon Musk's tragedy***
                                                                                                   TRANSLATED *** (STT - Factiva, 08/15/2018)
                                                                                                   THREE TESLA BOARD MEMBERS TO EVALUATE ANY TAKE-PRIVATE DEAL;
                                                                                                   ELECTRIC CARMAKER'S BOARD SETS UP SPECIAL COMMITTEE TO ASSESS
                                                                                                   ANY POSSIBLE OFFER TO BUY BACK THE COMPANY'S STOCK (San Jose
                                                                                                   Mercury News - Factiva, 08/15/2018)
                                                                                                   UBS Equities Research Report (Capital IQ - Manual Entry, 08/15/2018)
                                                                                                   UBS Equities Research Report (Capital IQ - Manual Entry, 08/15/2018)
                                                                                                   UBS Equities Research Report (Eikon - Manual Entry, 08/15/2018)
                                                                                                   UBS Equities Research Report (Eikon - Manual Entry, 08/15/2018)
                                                                                                   ValueAct Ups Stake in Seagate (The Deal - Factiva, 08/15/2018)
                                                                                                   What Elon Musk's Tweet Can Teach GCs About Damage Control (Delaware Law
                                                                                                   Weekly - Factiva, 08/15/2018)
                                                                                                   Why Elon Musk, Richard Branson and Michael Dell welcome shareholder money but
                                                                                                   not accountability (scmp.com - Factiva, 08/15/2018)
                                                                                                   PRESS DIGEST- New York Times business news - Aug 15 (Reuters News - Factiva,
                                                                                                   08/15/2018 12:57 AM)
                                                                                                   CEO's Tweets Face More Inquiry -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/15/2018 02:32 AM)
                                                                                                   Saudi Fund Faces Tesla Deal Hurdles -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/15/2018 02:32 AM)
                                                                                                   Tesla's Advisers Not Ready to Ride -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/15/2018 02:32 AM)
                                                                                                   Elon Musk says he's hired Goldman Sachs to help take Tesla private Ã¢â‚¬â€ even
                                                                                                   though the bank's analyst is one of the most bearish on Wall Street (TSLA) (Business
                                                                                                   Insider - Factiva, 08/15/2018 02:47 AM)
                                                                                                   Elon Musk left plenty of questions about Tesla going private, experts say; Equity-
                                                                                                   funded buyouts tend to be much smaller (MarketWatch - Factiva, 08/15/2018 03:29 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   'China's Tesla' files to go public in an offering that could raise $1.8 billion (The
                                                                                                   Telegraph Online - Factiva, 08/15/2018 04:01 AM)
                                                                                                   Elon Musk Tweets Another Surprise: Goldman, Silver Lake Advise Tesla; Electric-car
                                                                                                   maker's CEO and the investment firms hadn't completed any financial deals (Private
                                                                                                   Equity News - Factiva, 08/15/2018 04:35 AM)
                                                                                                   Tesla in turmoil as special committee reveals Musk has NOT bid for his firm (Mail
                                                                                                   Online - Factiva, 08/15/2018 04:45 AM)
                                                                                                   ANALYSIS-Saudi fund may only play minor part in Musk's $72 bln Tesla plan -
                                                                                                   bankers (Reuters News - Factiva, 08/15/2018 05:11 AM)
                                                                                                   Saudi Arabia Goes High-Tech in Approach to Investing (Dow Jones Institutional News -
                                                                                                   Factiva, 08/15/2018 05:30 AM)
                                                                                                   Saudi fund may only play minor part in Musk's $72 billion Tesla plan: bankers (Reuters
                                                                                                   News - Factiva, 08/15/2018 05:49 AM)
                                                                                                   'Good luck with that': Telstra exec drawn into Elon Musk controversy (The Age -
                                                                                                   Online - Factiva, 08/15/2018 06:03 AM)
                                                                                                   'Good luck with that': Telstra exec drawn into Elon Musk controversy (The Sydney
                                                                                                   Morning Herald - Online - Factiva, 08/15/2018 06:03 AM)
                                                                                                   'Good luck with that': Telstra exec drawn into Elon Musk controversy
                                                                                                   (WAToday.com.au - Factiva, 08/15/2018 06:03 AM)
                                                                                                   DealBook Briefing: TeslaÃ¢â‚¬â„¢s Board Tries to Calm Its Chaos (NYTimes.com Feed -
                                                                                                   Factiva, 08/15/2018 06:17 AM)
                                                                                                   Tesla sets up special committee for delisting plan (SeeNews Deals - Factiva, 08/15/2018
                                                                                                   07:09 AM)
                                                                                                   MW UPDATE: Elon Musk left plenty of questions about Tesla going private, experts
                                                                                                   say (MarketWatch - Factiva, 08/15/2018 07:29 AM)
                                                                                                   A Tesla Take-Private Bid Would Be More of the Same for Silver Lake. Sort of.
                                                                                                   (NYTimes.com Feed - Factiva, 08/15/2018 07:38 AM)
                                                                                                   Tesla sets up special committee to consider upcoming Musk offer (Renewables Now -
                                                                                                   Factiva, 08/15/2018 08:15 AM)
                                                                                                   Another Tesla investor trims stake in Q2 (SeeNews Deals - Factiva, 08/15/2018 08:31
                                                                                                   AM)
                                                                                                   CORRECTED-UPDATE 8-Musk bid for Tesla: no formal offer, no firm deals with
                                                                                                   advisers (Aug. 14) (Reuters News - Factiva, 08/15/2018 08:31 AM)
                                                                                                   Musk bid for Tesla: no formal offer, no firm deals with advisers (Reuters News - Factiva,
                                                                                                   08/15/2018 08:46 AM)
                                                                                                   Elon Musk may only face a minor fee if the SEC investigates his tweet storm about
                                                                                                   taking Tesla private Ã¢â‚¬â€ here's why (TSLA) (Business Insider - Factiva, 08/15/2018
                                                                                                   09:09 AM)




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[1]      [2]     [3]     [4]      [5]          [6]      [7]       [8]  [9]     [10]         [11]                                            [12]
                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Kaplan Fox Announces Investor Class Action Lawsuit Filed Against Tesla, Inc. (PR
                                                                                                   Newswire - Factiva, 08/15/2018 10:08 AM)
                                                                                                   Press Release: Kaplan Fox Announces Investor Class Action Lawsuit Filed Against
                                                                                                   Tesla, Inc. (Dow Jones Institutional News - Factiva, 08/15/2018 10:08 AM)
                                                                                                   Elon Musk says he's hired Goldman Sachs to help take Tesla private Ã¢â‚¬â€ even
                                                                                                   though the bank's analyst is one of the most bearish on Wall Street (TSLA) (Business
                                                                                                   Insider - Factiva, 08/15/2018 10:48 AM)
                                                                                                   BRIEF-SEC Sends Subpoenas To Tesla Regarding Privatization Plans- Fox Business'
                                                                                                   Gasparino (Reuters News - Factiva, 08/15/2018 10:52 AM)
                                                                                                   The Downfall Of Elon Musk (Benzinga.com - Factiva, 08/15/2018 10:58 AM)
                                                                                                   U.S. SEC subpoenas Tesla over Musk's tweets -Fox News (Reuters News - Factiva,
                                                                                                   08/15/2018 11:03 AM)
                                                                                                   Tesla Shares Drop on Report of SEC Subpoenas -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/15/2018 11:07 AM)
                                                                                                   Tesla Shares Drop on Report of SEC Subpoenas -- Market Talk (Dow Jones Institutional
                                                                                                   News - Factiva, 08/15/2018 11:07 AM)
                                                                                                   Marijuana Companies Enjoy Bump from Constellation Deal -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/15/2018 11:13 AM)
                                                                                                   Puma Sags on Questions About Breast-Cancer Drug's Prospects -- Market Talk (Dow
                                                                                                   Jones Institutional News - Factiva, 08/15/2018 11:14 AM)
                                                                                                   Tesla Shares Drop on Report of SEC Subpoenas -- Market Talk (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/15/2018 11:21 AM)
                                                                                                   The SEC reportedly sent subpoenas to Tesla concerning Elon Musk's tweets about
                                                                                                   taking Tesla private (TSLA) (Business Insider - Factiva, 08/15/2018 11:47 AM)
                                                                                                   MW SEC's Tesla probe is now 'formal investigation': report (MarketWatch - Factiva,
                                                                                                   08/15/2018 12:08 PM)
                                                                                                   SEC's Tesla Probe Is Now 'formal Investigation': Report -- MarketWatch (Dow Jones
                                                                                                   Institutional News - Factiva, 08/15/2018 12:08 PM)
                                                                                                   Tesla sinks after report the SEC has issued subpoenas about Elon MuskÃ¢â‚¬â„¢s
                                                                                                   'funding secured' tweet (TSLA) (Business Insider - Factiva, 08/15/2018 12:15 PM)
                                                                                                   Saudi Arabia Goes High-Tech in Approach to Investing -- Update (Dow Jones
                                                                                                   Institutional News - Factiva, 08/15/2018 12:16 PM)
                                                                                                   IT'S OFFICIAL: Goldman Sachs is advising Elon Musk on his plans to take Tesla
                                                                                                   private (TSLA) (Business Insider - Factiva, 08/15/2018 12:49 PM)
                                                                                                   Tesla and Elon Musk under fire as SEC issues subpoenas (The Telegraph Online -
                                                                                                   Factiva, 08/15/2018 01:03 PM)
                                                                                                   IT'S OFFICIAL: Goldman Sachs is advising Elon Musk on his plans to take Tesla
                                                                                                   private (TSLA) (Business Insider - Factiva, 08/15/2018 01:39 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   SEC sends subpoena to Tesla in probe over Musk tweets; Subpoena seeks information
                                                                                                   from each of TeslaÃ¢â‚¬â„¢s directors (MarketWatch - Factiva, 08/15/2018 01:44 PM)
                                                                                                   T. Rowe, Fidelity sold more then 20% of their stakes in Tesla last quarter; Two
                                                                                                   investment giants are still among companyÃ¢â‚¬â„¢s largest institutional holders
                                                                                                   (MarketWatch - Factiva, 08/15/2018 01:46 PM)
                                                                                                   Elon Musk could take Tesla private with the Saudis Ã¢â‚¬â€ here's what their
                                                                                                   sovereign wealth fund is all about (TSLA) (Business Insider - Factiva, 08/15/2018 01:51
                                                                                                   PM)
                                                                                                   Goldman Sachs says it's advising Tesla (CNN Wire - Factiva, 08/15/2018 01:59 PM)
                                                                                                   A former Tesla engineer says the company silenced her entire team after they brought
                                                                                                   up safety and quality issues (TSLA) (Business Insider - Factiva, 08/15/2018 01:59 PM)

                                                                                                   A former Tesla engineer says the company silenced her entire team after they brought
                                                                                                   up safety and quality issues (TSLA) (Business Insider - Factiva, 08/15/2018 01:59 PM)

                                                                                                   SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Notifies Investors of
                                                                                                   Class Action Against Tesla, Inc. (TSLA) and Lead Plaintiff Deadline: October 9, 2018
                                                                                                   (GlobeNewswire - Factiva, 08/15/2018 02:01 PM)
                                                                                                   ONGOING INVESTIGATION ALERT: The Schall Law Firm Announces it is
                                                                                                   Investigating Claims Against Tesla, Inc. and Encourages Investors with Losses in
                                                                                                   Excess of $100,000 to Contact the Firm (Business Wire - Factiva, 08/15/2018 02:06 PM)
                                                                                                   Tesla Is Said to Be Subpoenaed by S.E.C. Over Elon Musk Tweet (NYTimes.com Feed -
                                                                                                   Factiva, 08/15/2018 02:13 PM)
                                                                                                   Tesla sinks after reports the SEC has issued subpoenas about Elon MuskÃ¢â‚¬â„¢s
                                                                                                   'funding secured' tweet (TSLA) (Business Insider - Factiva, 08/15/2018 02:24 PM)
                                                                                                   SEC Launches Formal Investigation Over Elon Musk Tweet to Take Tesla Private -
                                                                                                   Reports (Sputnik News Service - Factiva, 08/15/2018 02:28 PM)
                                                                                                   Goldman Sachs says it's advising Tesla (CNN Wire - Factiva, 08/15/2018 02:37 PM)
                                                                                                   Reports: SEC Launches Formal Investigation Over Musk Tweet to Take Tesla Private
                                                                                                   (Sputnik News Service - Factiva, 08/15/2018 02:39 PM)
                                                                                                   CORRECTED-BREAKINGVIEWS-Global dominance is key to Tesla buyout payoff
                                                                                                   (Reuters News - Factiva, 08/15/2018 03:17 PM)
                                                                                                   Tesla shares fall on reports of SEC subpoena (Agence France Presse - Factiva, 08/15/2018
                                                                                                   03:17 PM)
                                                                                                   Saudi Arabia Goes High-Tech in Approach to Investing; Talks with Tesla show how
                                                                                                   crown prince's sovereign-wealth fund has become a global player, but some worry
                                                                                                   about impulsive, risky bets (The Wall Street Journal Online - Factiva, 08/15/2018 03:37
                                                                                                   PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Saudi Arabia Goes High-Tech in Approach to Investing; Talks with Tesla show how
                                                                                                   crown prince's sovereign-wealth fund has become a global player, but some worry
                                                                                                   about impulsive, risky bets (WSJ Pro Central Banking - Factiva, 08/15/2018 03:37 PM)
                                                                                                   Vertical Group Turns More Bearish On Tesla, Doesn't Expect Company To Go Private
                                                                                                   (Benzinga.com - Factiva, 08/15/2018 03:56 PM)
                                                                                                   UPDATE: Tesla is no longer rated by Goldman Sachs as bank takes on advisory role
                                                                                                   (Dow Jones Newswires Chinese (English) - Factiva, 08/15/2018 03:57 PM)
                                                                                                   A Question for TeslaÃ¢â‚¬â„¢s Board: What Was Elon MuskÃ¢â‚¬â„¢s Mental State?
                                                                                                   (NYTimes.com Feed - Factiva, 08/15/2018 04:02 PM)
                                                                                                   Global Equities Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/15/2018 04:25 PM)
                                                                                                   Tesla Shares Fall as Lawyers Take Aim at Company, Musk -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/15/2018 04:25 PM)
                                                                                                   Tesla Shares Fall as Lawyers Take Aim at Company, Musk -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/15/2018 04:25 PM)
                                                                                                   Elon Musk's tweets investigated for possibly breaking law: reports (The Guardian -
                                                                                                   Factiva, 08/15/2018 04:27 PM)
                                                                                                   Cisco Software Sales Spur 3rd Consecutive Quarter of Growth -- Market Talk (Dow
                                                                                                   Jones Institutional News - Factiva, 08/15/2018 04:40 PM)
                                                                                                   Auto & Transport Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/15/2018 04:50 PM)
                                                                                                   SEC Sends Subpoena to Tesla in Probe Over Musk Tweets (Dow Jones Institutional
                                                                                                   News - Factiva, 08/15/2018 04:59 PM)
                                                                                                   Tesla Shares Fall as Lawyers Take Aim at Company, Musk -- Market Talk (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/15/2018 05:05 PM)
                                                                                                   SEC Sends Subpoena to Tesla in Probe Over Musk Tweets (Dow Jones Institutional
                                                                                                   News - Factiva, 08/15/2018 05:10 PM)
                                                                                                   Tesla Class Action: Bernstein Liebhard LLP Announces That A New Securities Class
                                                                                                   Action Lawsuit Expanding The Relevant Class Period Has Been Filed Against Tesla,
                                                                                                   Inc. - TSLA (PR Newswire - Factiva, 08/15/2018 05:10 PM)
                                                                                                   Cisco in 'Deep Discussions' with Administration on Tariffs -- Market Talk (Dow Jones
                                                                                                   Institutional News - Factiva, 08/15/2018 05:12 PM)
                                                                                                   T. Rowe, Fidelity Sold More Than 20% of Their Tesla Shares in Second Quarter (Dow
                                                                                                   Jones Institutional News - Factiva, 08/15/2018 05:22 PM)
                                                                                                   T. Rowe, Fidelity Sold More Than 20% of Their Tesla Shares in Second Quarter;
                                                                                                   Share sales took place before Elon Musk disclosed publicly he wanted to take electric-
                                                                                                   car maker private (The Wall Street Journal Online - Factiva, 08/15/2018 05:22 PM)
                                                                                                   SEC Sends Subpoena to Tesla in Probe Over Musk Tweets (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/15/2018 05:24 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla shares fall on reports of SEC subpoena (Agence France Presse - Factiva, 08/15/2018
                                                                                                   05:33 PM)
                                                                                                   COLUMN-Tesla, Musk face SEC wrist slap at worst, experts say: Frankel (Reuters
                                                                                                   News - Factiva, 08/15/2018 05:40 PM)
                                                                                                   Scott+Scott Attorneys at Law LLP Files Class Action Lawsuit Against Tesla Inc.
                                                                                                   (TSLA) and Elon Musk on Behalf of Short Sellers and Put Options Investors (Business
                                                                                                   Wire - Factiva, 08/15/2018 05:41 PM)
                                                                                                   Tesla Class Action: Bernstein Liebhard LLP Announces that a New Securities Class
                                                                                                   Action Lawsuit Expanding the Relevant Class Period has been Filed Against Tesla, Inc. -
                                                                                                   TSLA (GlobeNewswire - Factiva, 08/15/2018 05:42 PM)
                                                                                                   MW SEC sends subpoena to Tesla in probe over Musk tweets (MarketWatch - Factiva,
                                                                                                   08/15/2018 05:44 PM)
                                                                                                   T. Rowe, Fidelity Sold More Than 20% of Their Tesla Shares in Second Quarter (Dow
                                                                                                   Jones Newswires Chinese (English) - Factiva, 08/15/2018 06:02 PM)
                                                                                                   Elon Musk is handed writ over Tesla sale as he defends his decision to make the buyout
                                                                                                   plans public on social media (Mail Online - Factiva, 08/15/2018 06:39 PM)
                                                                                                   SHAREHOLDER ALERT: Kaskela Law LLC Announces Expanded Class Period in
                                                                                                   Investor Class Action Lawsuits Against Tesla, Inc. and Elon Musk, and Encourages
                                                                                                   Investors with Losses in Excess of $250,000 to Contact the Firm (GlobeNewswire -
                                                                                                   Factiva, 08/15/2018 06:51 PM)
                                                                                                   Report: SEC subpoenas Tesla about CEO's buyout plans (Associated Press Newswires -
                                                                                                   Factiva, 08/15/2018 06:53 PM)
                                                                                                   Report: SEC subpoenas Tesla about CEO's buyout plans (The Canadian Press - Factiva,
                                                                                                   08/15/2018 06:54 PM)
                                                                                                   UPDATE 5-SEC scrutiny of Tesla grows as Goldman hints at adviser role (Reuters
                                                                                                   News - Factiva, 08/15/2018 07:12 PM)
                                                                                                   Tesla, Inc. 3 Accepted 2018-08-15 19:21:04 (SEC - SEC Edgar, 08/15/2018 07:21 PM)
                                                                                                   MEDIA-Baupost Group acquired $200 mln of Tesla convertible bonds during Q2 -
                                                                                                   Bloomberg (Reuters News - Factiva, 08/15/2018 07:30 PM)
                                                                                                   Singer Claims Elon Musk Was 'On Acid' Writing Dicey Tesla Tweets (Sputnik News
                                                                                                   Service - Factiva, 08/15/2018 07:34 PM)
                                                                                                   SEC Sends Subpoena to Tesla in Probe Over Musk Tweets; Subpoena seeks
                                                                                                   information from each of Tesla's directors (The Wall Street Journal Online - Factiva,
                                                                                                   08/15/2018 07:35 PM)
                                                                                                   SEC Sends Subpoena to Tesla in Probe Over Musk Tweets; Subpoena seeks
                                                                                                   information from each of Tesla's directors (WSJ Pro Central Banking - Factiva,
                                                                                                   08/15/2018 07:35 PM)
                                                                                                   SEC scrutiny of Tesla grows as Goldman hints at adviser role (Reuters News - Factiva,
                                                                                                   08/15/2018 07:38 PM)




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                                                      Excess                                       Abnormal
                                           Market    Industry Predicted Abnormal                     Price
    Date        Volume    Price   Return   Return     Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                              SEC Sends Subpoena to Tesla in Probe Over Musk Tweets (Dow Jones Newswires
                                                                                                              Chinese (English) - Factiva, 08/15/2018 07:56 PM)
                                                                                                              Watchdog subpoenas Tesla over Musk go-private tweet (thetimes.co.uk - Factiva,
                                                                                                              08/15/2018 08:01 PM)
                                                                                                              Hagens Berman Sobol Shapiro LLP Announces Extended Class Period in Musk
                                                                                                              "Tweet" Class Action - TSLA (GlobeNewswire - Factiva, 08/15/2018 08:29 PM)
                                                                                                              SEC Sends Subpoena to Tesla in Probe Over Musk Tweets -- Update (Dow Jones
                                                                                                              Newswires Chinese (English) - Factiva, 08/15/2018 09:51 PM)
8/16/2018 Thu   6,064,033 $335.45 -0.96%     0.43%      0.64%    0.58%    -1.54% -0.60 54.85%        -$5.21   Apple rehires ex-Tesla engineering lead, stimulating Project Titan talk (ETMAG.com -
                                                                                                              Factiva, 08/16/2018)
                                                                                                              Elon Musk likely to face US national security review in a Tesla-Saudi deal
                                                                                                              (ArabianBusiness.com - Factiva, 08/16/2018)
                                                                                                              Elon MuskÃ¢â‚¬â„¢s Boring Co. proposes to dig a tunnel to Dodger Stadium (L.A. Biz -
                                                                                                              Factiva, 08/16/2018)
                                                                                                              FacebookÃ¢â‚¬â„¢s median pay tops $240,000 Ã¢â‚¬â€ here's how that compares to 30
                                                                                                              other big Bay Area employers (Silicon Valley/San Jose Business Journal Online - Factiva,
                                                                                                              08/16/2018)
                                                                                                              Porsche's first all-electric vehicle will begin production next year (ETMAG.com -
                                                                                                              Factiva, 08/16/2018)
                                                                                                              US SEC Reportedly Looking Into Tesla CEO's Post on Privatisation (AAStocks
                                                                                                              Financial News - Factiva, 08/16/2018)
                                                                                                              *SEC Globe/wire say SEC sends subpoenas to Tesla's Musk (Canada Stockwatch -
                                                                                                              Factiva, 08/16/2018)
                                                                                                              05:59 EDT Tesla silenced team concerned over safety issues, Business Insider...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                              07:35 EDT Tesla price target raised to $325 after 'taking company private' tweet...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                              07:42 EDT After visiting Tesla's Freemont facility, Evercore ISI says Model 3...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                              07:44 EDT Tesla whistleblower tweets details about allegedly flawed vehicles,...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                              07:59 EDT Tesla backs out of solar-panel deal with Panasonic, WSJ reportsTesla...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                              12:09 EDT Gasparino: Tesla's legal team bracing for 'billions' in potential...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                              14:29 EDT Ex-Tesla worker: Gigafactory workers involved in drug trafficking,...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                              16:14 EDT SEC presses Tesla directors for info on communications with Musk, WSJ...
                                                                                                              (Theflyonthewall.com - Factiva, 08/16/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events

                                                                                                   20:50 EDT Tesla Fremont facility workers left 3.5 hours early on Wednesday, BI...
                                                                                                   (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                   4 Firms Handling Elon Musk's Effort to Take Tesla Private (New York Law Journal -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   A Tesla Take-Private Bid Would Be More of the Same for Silver Lake. Sort of. (The
                                                                                                   New York Times - Factiva, 08/16/2018)
                                                                                                   Another whistleblower: Tesla ignored drug dealing at Gigafactory, spied on employees
                                                                                                   (Tribune Review - Factiva, 08/16/2018)
                                                                                                   Auto industry; Elon Musk may face U.S. security review over a Tesla-Saudi deal (Press-
                                                                                                   Telegram - Factiva, 08/16/2018)
                                                                                                   Auto industry; Elon Musk may face U.S. security review over a Tesla-Saudi deal
                                                                                                   (Riverside Press-Enterprise - Factiva, 08/16/2018)
                                                                                                   Banking & Finance: Saudis Embrace High-Tech Investments (The Wall Street Journal -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   Biz briefs (The Virginian-Pilot - Factiva, 08/16/2018)
                                                                                                   BRIEFCASE (Hannibal Courier-Post - Factiva, 08/16/2018)
                                                                                                   British police seek motive of suspect in crash at Parliament; NEWS BRIEFING; Staff
                                                                                                   and news services; U.S. sanctions shipping firms over North Korea trade; Israel eases
                                                                                                   Gaza restrictions on goods amid cease-fire bid; Conspiracy theorist Alex Jones muzzled
                                                                                                   by Twitter for a week; Report: SEC subpoenas Tesla about buyout plans; Baker who
                                                                                                   won at high court sues in new bias case (South Florida Sun-Sentinel - Factiva, 08/16/2018)

                                                                                                   British police seek motive of suspect in crash at Parliament; NEWS BRIEFING; Staff
                                                                                                   and news services; U.S. sanctions shipping firms over North Korea trade; Refugee held
                                                                                                   in connection with Iraqi policeman's slaying; Conspiracy theorist Alex Jones muzzled
                                                                                                   by Twitter for a week; Report: SEC subpoenas Tesla about buyout plans; Baker who
                                                                                                   won at high court sues in new bias case (The Baltimore Sun - Factiva, 08/16/2018)

                                                                                                   British police seek motive of suspect in crash at Parliament; NEWS BRIEFING; Staff
                                                                                                   and news services; U.S. sanctions shipping firms over North Korea trade; Refugee held
                                                                                                   in connection with Iraqi policeman's slaying; Conspiracy theorist Alex Jones muzzled
                                                                                                   by Twitter for a week; Report: SEC subpoenas Tesla about buyout plans; Baker who
                                                                                                   won at high court sues in new bias case (The Hartford Courant - Factiva, 08/16/2018)

                                                                                                   British police seek motive of suspect in crash at Parliament; U.S. sanctions shipping
                                                                                                   firms over North Korea trade; Israel eases Gaza restrictions on goods amid cease-fire
                                                                                                   bid; Conspiracy theorist Alex Jones muzzled by Twitter for a week; Report: SEC
                                                                                                   subpoenas Tesla about buyout plans; Baker who won at high court sues in new bias
                                                                                                   case (Orlando Sentinel - Factiva, 08/16/2018)
                                                                                                   ChinaÃ¢â‚¬â„¢s Tesla poised to electrify IPO investors (GlobalCapital - Factiva,
                                                                                                   08/16/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   DealBook Briefing: Tesla's Board Tries to Calm Its Chaos (The New York Times -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   Directors struggle to control Musk, Tesla; Board hires two law firms following CEO's
                                                                                                   latest tweets (The Toronto Star - Factiva, 08/16/2018)
                                                                                                   Dow Jones Futures Jump As U.S.-China Trade Talks To Restart; Cisco Soars To Buy
                                                                                                   Zone (Investor's Business Daily - Factiva, 08/16/2018)
                                                                                                   Dow Jones Futures Jump As U.S.-China Trade Talks To Restart; Cisco Soars To Buy
                                                                                                   Zone (Investor's Business Daily - Factiva, 08/16/2018)
                                                                                                   ELON MUSK HANDED WRIT OVER TESLA SALE (Daily Mail - Factiva, 08/16/2018)
                                                                                                   Elon Musk handed writ over Tesla sale (Scottish Daily Mail - Factiva, 08/16/2018)
                                                                                                   Elon Musk wants to dig a tunnel to Dodger Stadium (Silicon Valley/San Jose Business
                                                                                                   Journal Online - Factiva, 08/16/2018)
                                                                                                   ELON MUSK'S MUSINGS (Pittsburgh Post-Gazette - Factiva, 08/16/2018)
                                                                                                   Even as CEO Elon Musk pursues the idea of taking Tesla private, the electric... (The
                                                                                                   San Francisco Chronicle - Factiva, 08/16/2018)
                                                                                                   Evercore ISI Research Report (Capital IQ - Manual Entry, 08/16/2018)
                                                                                                   Evercore ISI Research Report (Eikon - Manual Entry, 08/16/2018)
                                                                                                   Ex-Tesla employee claiming to be whistleblower has Twitter account suspended (San
                                                                                                   Francisco Business Times Online - Factiva, 08/16/2018)
                                                                                                   Ex-Tesla employee claiming to be whistleblower has Twitter account suspended (Silicon
                                                                                                   Valley/San Jose Business Journal Online - Factiva, 08/16/2018)
                                                                                                   FACE THE MUSIC US regulator wants answers over Musk tweet (City AM - Factiva,
                                                                                                   08/16/2018)
                                                                                                   IMPORTANT INVESTOR NOTICE: The Schall Law Firm Announces the Filing of a
                                                                                                   Class Action Lawsuit Against Tesla, Inc. and Encourages Investors with Losses in
                                                                                                   Excess of $500,000 to Contact the Firm (ACCESSWIRE - Factiva, 08/16/2018)
                                                                                                   In Musk-SEC Face-Off, Investors Should Brace for Drawn-Out Tussle;
                                                                                                   BANKING/FINANCE (Broward Daily Business Review - Factiva, 08/16/2018)
                                                                                                   In Musk-SEC Face-Off, Investors Should Brace for Drawn-Out Tussle;
                                                                                                   BANKING/FINANCE (Miami Daily Business Review - Factiva, 08/16/2018)
                                                                                                   In Musk-SEC Face-Off, Investors Should Brace for Drawn-Out Tussle;
                                                                                                   BANKING/FINANCE (Palm Beach Daily Business Review - Factiva, 08/16/2018)
                                                                                                   Industry Trend Analysis - Tesla's Choice - Germany Or The Netherlands For Its
                                                                                                   European Vehicle Production Factory (BMI Industry Insights Reports - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Inside the Mind of a Visionary (The New York Times - Factiva, 08/16/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Inside the mind of a visionary like Elon Musk (San Francisco Chronicle: Web Edition -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   It wonÃ¢â‚¬â„¢t be easy for Musk to get hold of Saudi money (Mail Today - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Latest Musk missive delivers new dose of confusion over future prospects for Tesla
                                                                                                   (Global Times - Factiva, 08/16/2018)
                                                                                                   Musk tweets he's Ã¢â‚¬Ëœexcited to work' with Silver Lake, Goldman Sachs (Buffalo
                                                                                                   News - Factiva, 08/16/2018)
                                                                                                   Musk's Dodger Stadium tunnel is another distraction from his most important task:
                                                                                                   Making cars (latimes.com - Factiva, 08/16/2018)
                                                                                                   Privatisation doubts send Tesla CBs down (GlobalCapital - Factiva, 08/16/2018)
                                                                                                   Red Pulse Research Report (Capital IQ - Manual Entry, 08/16/2018)
                                                                                                   Report of SEC subpoena gives Tesla shares a jolt (Los Angeles Times - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Report of subpoena; by the SEC gives Tesla shares a jolt; U.S. may probe tweet about
                                                                                                   going private (San Diego Union-Tribune - Factiva, 08/16/2018)
                                                                                                   Report: SEC issues subpoenas to Tesla over take-private plan (SNL Financial Services
                                                                                                   Daily - Factiva, 08/16/2018)
                                                                                                   Report: SEC issues subpoenas to Tesla over take-private plan (SNL Power Daily with
                                                                                                   Market Report - Factiva, 08/16/2018)
                                                                                                   Report: SEC subpoenas (Providence Journal - Factiva, 08/16/2018)
                                                                                                   Report: SEC subpoenas Tesla about buyout plans (The Courier - Factiva, 08/16/2018)
                                                                                                   Report: SEC subpoenas Tesla about CEO's buyout plans (St. Paul Pioneer Press -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   Report: Tesla no longer committed to buying all solar modules made by Panasonic in
                                                                                                   Buffalo (Buffalo Business First Online - Factiva, 08/16/2018)
                                                                                                   Saudi fund may only play minor part in Musk's $72B Tesla plan, Reuters reports
                                                                                                   (Theflyonthewall.com - Factiva, 08/16/2018)
                                                                                                   Saudi sovereign fund would spread itself thin to take Tesla privateÃ¢â‚¬â€¹ (Cape
                                                                                                   Times - Factiva, 08/16/2018)
                                                                                                   Saudi sovereign fund would spread itself thin to take Tesla privateÃ¢â‚¬â€¹ (Pretoria
                                                                                                   News - Factiva, 08/16/2018)
                                                                                                   Saudi sovereign fund would spread itself thin to take Tesla privateÃ¢â‚¬â€¹ (The
                                                                                                   Mercury - Factiva, 08/16/2018)
                                                                                                   Saudi sovereign fund would spread itself thin to take Tesla privateÃ¢â‚¬â€¹ (The Star -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   SEC investigation into Tesla likely to take some time; Controversy over whether musk
                                                                                                   misled investors with tweet (National Post - Factiva, 08/16/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   SEC investigation into Tesla likely to take some time; Controversy over whether musk
                                                                                                   misled investors with tweet about buyout (National Post - Factiva, 08/16/2018)
                                                                                                   SEC Serves Tesla With Subpoena (The Wall Street Journal - Factiva, 08/16/2018)
                                                                                                   SEC sparks worry Tesla shares dive on subpoena news (New York Post - Factiva,
                                                                                                   08/16/2018)
                                                                                                   SEC subpoenas Tesla about CEO's buyout plans (The Quad-City Times - Factiva,
                                                                                                   08/16/2018)
                                                                                                   SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Notifies Investors of
                                                                                                   Class Action Against Tesla, Inc. (TSLA) and Lead Plaintiff Deadline: October 9, 2018
                                                                                                   (Agency Tunis Afrique Press - Factiva, 08/16/2018)
                                                                                                   Shop Talk - Elon Musk goes feral (The Financial Mail - Factiva, 08/16/2018)
                                                                                                   Small role in Tesla plan for Saudi fund (Shanghai Daily - Factiva, 08/16/2018)
                                                                                                   Telstra exec drawn into Elon Musk controversy (Canberra Times - Factiva, 08/16/2018)
                                                                                                   Telstra exec drawn into Elon Musk controversy (The Age - Factiva, 08/16/2018)
                                                                                                   Telstra exec drawn into Elon Musk controversy (The Sydney Morning Herald - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Tesla and Musk probe escalates (The Daily Telegraph - Factiva, 08/16/2018)
                                                                                                   Tesla at greater risk of default as a private company, S&P analysis suggests (SNL Power
                                                                                                   Daily with Market Report - Factiva, 08/16/2018)
                                                                                                   Tesla battery maker eyes investment in HCM City (Vietnam News Summary - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Tesla board isn't privy to Musk's plan to take the company private, report claims
                                                                                                   (ETMAG.com - Factiva, 08/16/2018)
                                                                                                   Tesla board scrambles to do damage control after Elon Musk tweets (The Straits Times -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   Tesla boss jumps gun on deal advisers (The Australian - Factiva, 08/16/2018)
                                                                                                   Tesla directors are busy doing damage control; Musk ignores request to stop tweeting,
                                                                                                   adding to chaos engulfing company (Buffalo News - Factiva, 08/16/2018)
                                                                                                   Tesla files lawsuit against Ontario government over electric vehicle rebate program
                                                                                                   (Postmedia Breaking News - Factiva, 08/16/2018)
                                                                                                   Tesla files lawsuit against Ontario government over vehicle rebates (Postmedia Breaking
                                                                                                   News - Factiva, 08/16/2018)
                                                                                                   Tesla files lawsuit against Ontario over cancelled electric vehicle rebates (The Hamilton
                                                                                                   Spectator - Factiva, 08/16/2018)
                                                                                                   Tesla files lawsuit against Ontario over cancelled electric vehicle rebates (The Hamilton
                                                                                                   Spectator - Factiva, 08/16/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                              Events
                                                                                                   Tesla forms committee to assess proposal to go private (Delaware State News - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Tesla shares fall on reports of SEC subpoena (Macau Business Daily - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Tesla subpoenaed by SEC over tweets by Musk, say reports; Tesla CEO told of plans to
                                                                                                   take company private saying funding was secured (The Irish Times - Factiva, 08/16/2018)

                                                                                                   Tesla sues province over abrupt electric vehicle rebate cancellation (Queen's Park
                                                                                                   Briefing - Factiva, 08/16/2018)
                                                                                                   Tesla Take-Private May Have to Face Cfius (The Deal - Factiva, 08/16/2018)
                                                                                                   Tesla takes Ontario government to court over vehicle rebates (Postmedia Breaking News -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   Tesla takes Ontario government to court over vehicle rebates (The Hamilton Spectator -
                                                                                                   Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower alleges 'narcotics trafficking' and 'unauthorized wiretapping' in
                                                                                                   SEC complaint (Mashable.com - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory
                                                                                                   (American News - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory (Herald-
                                                                                                   Times - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory
                                                                                                   (Petoskey News-Review - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory (South
                                                                                                   Bend Tribune: Web Edition - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory (The
                                                                                                   Daily American - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory (The
                                                                                                   Herald-Mail - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory (The
                                                                                                   Reporter-Times - Factiva, 08/16/2018)
                                                                                                   Tesla whistleblower claims rampant theft, drug dealing at Nevada Gigafactory (The
                                                                                                   Times-Mail - Factiva, 08/16/2018)
                                                                                                   Tesla, Musk face SEC wrist slap at worst, experts say; Musk face SEC wrist slap at
                                                                                                   worst, experts say (The Daily Star - Factiva, 08/16/2018)
                                                                                                   Tesla, public or private, will still release Autopilot safety data (San Francisco Chronicle:
                                                                                                   Web Edition - Factiva, 08/16/2018)
                                                                                                   The Coolest Car Company in the World is Being Funded by Saudi Arabia (Al-Bawaba
                                                                                                   News - Factiva, 08/16/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   The private life of Tesla; Innovative leaders face challenges in leading public firms,
                                                                                                   from managing investors' expectations to dealing with short-sellers (South China
                                                                                                   Morning Post - Factiva, 08/16/2018)
                                                                                                   The US stock market authority demands Tesla information on Elon Musk's tragedy***
                                                                                                   TRANSLATED *** (STT - Factiva, 08/16/2018)
                                                                                                   Tweet Is Said to Prompt S.E.C. Subpoena for Tesla (The New York Times - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Uber under pressure to sell self-driving car unit (Pacific Business News Online - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Wall Street's yearning for quick Tesla verdict hits securities snarl; Musk's tweet fuels
                                                                                                   storm, but it isn't a simple case of misleading investors (Calgary Herald - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Watchdog subpoenas Tesla over Musk go-private tweet (The Times - Factiva,
                                                                                                   08/16/2018)
                                                                                                   Elon Musk may face US security probe following BOMBSHELL proposal to flog Tesla
                                                                                                   to Saudis (express.co.uk - Factiva, 08/16/2018 12:57 AM)
                                                                                                   PRESS DIGEST-New York Times business news - Aug 16 (Reuters News - Factiva,
                                                                                                   08/16/2018 01:02 AM)
                                                                                                   PRESS DIGEST- Wall Street Journal - Aug 16 (Reuters News - Factiva, 08/16/2018 01:23
                                                                                                   AM)
                                                                                                   SEC sends subpoena to Tesla over Elon Musk tweets; Subpoena seeks information from
                                                                                                   each of Tesla's directors (Financial News - Factiva, 08/16/2018 02:14 AM)
                                                                                                   Saudis Embrace High-Tech Investments -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/16/2018 02:32 AM)
                                                                                                   SEC Serves Tesla With Subpoena -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/16/2018 02:32 AM)
                                                                                                   Tesla is no longer rated by Goldman Sachs as bank takes on advisory role; Investment
                                                                                                   bank, a major Tesla bear, bows out of coverage (MarketWatch - Factiva, 08/16/2018 03:08
                                                                                                   AM)
                                                                                                   Saudi Arabia Goes High-Tech in Approach to Investing (Dow Jones Newswires Chinese
                                                                                                   (English) - Factiva, 08/16/2018 04:06 AM)
                                                                                                   Auto & Transport Roundup: Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                   08/16/2018 04:20 AM)
                                                                                                   Tesla backs off solar panel deal with Panasonic; The news is the latest sign of the
                                                                                                   uncertain outlook for TeslaÃ¢â‚¬â„¢s solar business, which has taken a back seat to the
                                                                                                   electric car business (MarketWatch - Factiva, 08/16/2018 04:20 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Banks Reject Volcker Rule Changes | | Turkey's Red Flags Stand Out | Norway Flags
                                                                                                   Rate Rise | SEC Sends Subpoena to Tesla | Douglas's Take: U.K. Inflation May Be
                                                                                                   Cooling Faster Than BOE Thinks; The Wall Street Journal's central banking
                                                                                                   newsletter for Thursday, August 16, 2018 (WSJ Pro Central Banking - Factiva, 08/16/2018
                                                                                                   05:28 AM)
                                                                                                   RPT-COLUMN-Tesla, Musk face SEC wrist slap at worst, experts say: Frankel
                                                                                                   (Reuters News - Factiva, 08/16/2018 07:00 AM)
                                                                                                   MW UPDATE: Tesla is no longer rated by Goldman Sachs as bank takes on advisory
                                                                                                   role (MarketWatch - Factiva, 08/16/2018 07:08 AM)
                                                                                                   Correction: Third Parties Buy Solar Equipment From Panasonic-Tesla Factory (Dow
                                                                                                   Jones Institutional News - Factiva, 08/16/2018 07:11 AM)
                                                                                                   Tesla whistleblower tweets claims that the firm's car batteries are faulty (The Telegraph
                                                                                                   Online - Factiva, 08/16/2018 07:14 AM)
                                                                                                   Serbia turns to tech industry to fight economic stagnation (Reuters News - Factiva,
                                                                                                   08/16/2018 07:15 AM)
                                                                                                   Correction: Third Parties Buy Solar Equipment From Panasonic-Tesla Factory (Dow
                                                                                                   Jones Institutional News - Factiva, 08/16/2018 07:20 AM)
                                                                                                   10 things you need to know before the opening bell (Business Insider - Factiva, 08/16/2018
                                                                                                   08:00 AM)
                                                                                                   Hot Stocks to Watch: TSLA (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                   08/16/2018 08:25 AM)
                                                                                                   Arkansas' Huge Lithium Reserves go Unexploited, Until Now (PR Newswire - Factiva,
                                                                                                   08/16/2018 08:45 AM)
                                                                                                   Arkansas' Huge Lithium Reserves go Unexploited, Until Now (PR Newswire Europe -
                                                                                                   Factiva, 08/16/2018 08:45 AM)
                                                                                                   SEC ramps up its investigation into Elon Musk's Tesla privatization plans and sends
                                                                                                   subpoenas about CEO's 'funding secured' tweet (Mail Online - Factiva, 08/16/2018 09:07
                                                                                                   AM)
                                                                                                   Stocks to Watch: Walmart, J.C. Penney, Cisco, Symantec, Tesla, Freeport-McMoRan,
                                                                                                   Best Buy and Netflix (Dow Jones Institutional News - Factiva, 08/16/2018 09:20 AM)
                                                                                                   Stocks to Watch: Walmart, J.C. Penney, Cisco, Symantec, Tesla, Freeport-McMoRan,
                                                                                                   Best Buy and Netflix; Here are some of the companies with shares expected to trade
                                                                                                   actively in Thursday's session (The Wall Street Journal Online - Factiva, 08/16/2018 09:20
                                                                                                   AM)
                                                                                                   Tesla founder may face SEC scrutiny over buyout plan tweet, expert says - report
                                                                                                   (SeeNews Deals - Factiva, 08/16/2018 09:21 AM)
                                                                                                   Trouble in SolarCity? Tesla Backs Off Panel Deal With Panasonic (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/16/2018 09:24 AM)
                                                                                                   Press Release: RM LAW Announces Investigation of Tesla, Inc. (Dow Jones Institutional
                                                                                                   News - Factiva, 08/16/2018 10:30 AM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events

                                                                                                   RM LAW Announces Investigation of Tesla, Inc. (PR Newswire - Factiva, 08/16/2018
                                                                                                   10:30 AM)
                                                                                                   Elon Musk's tunneling company just unveiled a plan to transport people in Los Angeles
                                                                                                   to Dodgers Stadium in only four minutes Ã¢â‚¬â€ but the timing of the announcement
                                                                                                   is curious (Business Insider - Factiva, 08/16/2018 11:00 AM)
                                                                                                   Tesla has reportedly revised an agreement to buy all of the solar cells and modules
                                                                                                   Panasonic made at their solar panel factory (TSLA) (Business Insider - Factiva,
                                                                                                   08/16/2018 11:00 AM)
                                                                                                   Tesla on track to make 8,000 Model 3s per week, Evercore says (Reuters News - Factiva,
                                                                                                   08/16/2018 11:12 AM)
                                                                                                   Tesla on track to make 8,000 Model 3s per week, Evercore says (Reuters News - Factiva,
                                                                                                   08/16/2018 11:15 AM)
                                                                                                   Elon Musk Is the Id of Tech (NYTimes.com Feed - Factiva, 08/16/2018 11:25 AM)
                                                                                                   Milberg Tadler Phillips Grossman LLP Announces Extended Class Period in Tesla,
                                                                                                   Inc. Class Action (PR Newswire - Factiva, 08/16/2018 11:31 AM)
                                                                                                   BRIEF-Tesla's Legal Team Bracing For Billions Of Dollars In Potential Liability From
                                                                                                   Private Lawsuits Over Musk's Tweet- Fox Business' Gasparino (Reuters News - Factiva,
                                                                                                   08/16/2018 11:57 AM)
                                                                                                   Trouble in SolarCity? Third Parties Buy Gear From Panasonic-Tesla Factory;
                                                                                                   Panasonic sells some equipment to non-Tesla customers, another sign of the uncertain
                                                                                                   outlook for Tesla's SolarCity subsidiary (The Wall Street Journal Online - Factiva,
                                                                                                   08/16/2018 12:01 PM)
                                                                                                   Is a $35,000 Tesla Model 3 Envisioned by Musk Profitable? UBS Says No (Dow Jones
                                                                                                   Institutional News - Factiva, 08/16/2018 12:18 PM)
                                                                                                   Is a $35,000 Tesla Model 3 Envisioned by Musk Profitable? UBS Says No; Current
                                                                                                   claims of profitability are based on higher-price version of the sedan, the brokerage
                                                                                                   says (The Wall Street Journal Online - Factiva, 08/16/2018 12:20 PM)
                                                                                                   Tesla Model 3Ã¢â‚¬â„¢s Profitability May Be Fleeting, UBS Report Says (Dow Jones
                                                                                                   Institutional News - Factiva, 08/16/2018 12:30 PM)
                                                                                                   SEC wants to know what Elon Musk told Tesla directors about going private;
                                                                                                   Regulators investigating whether Ã¢â‚¬Ëœfunding securedÃ¢â‚¬â„¢ tweet was true
                                                                                                   (MarketWatch - Factiva, 08/16/2018 12:44 PM)
                                                                                                   BC-APFN-Money & Markets Digest (Associated Press Newswires - Factiva, 08/16/2018
                                                                                                   12:54 PM)
                                                                                                   Urban Dictionary is trolling Elon Musk with the definition of 'funding secured' (TSLA)
                                                                                                   (Business Insider - Factiva, 08/16/2018 01:01 PM)
                                                                                                   BREAKINGVIEWS-Revamped U.S. deal reviews are skid risk for Tesla (Reuters News -
                                                                                                   Factiva, 08/16/2018 01:02 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Is a $35,000 Tesla Model 3 Envisioned by Musk Profitable? UBS Says No (Dow Jones
                                                                                                   Newswires Chinese (English) - Factiva, 08/16/2018 01:16 PM)
                                                                                                   It's time for Tesla to call in a grown-up to keep Elon Musk in check (CNN Wire -
                                                                                                   Factiva, 08/16/2018 01:25 PM)
                                                                                                   It's time for Tesla to call in a grown-up to keep Elon Musk in check (CNN Wire -
                                                                                                   Factiva, 08/16/2018 01:59 PM)
                                                                                                   These Analysts Love Tesla's Potential, But Balk At Its Valuation (Benzinga.com -
                                                                                                   Factiva, 08/16/2018 02:20 PM)
                                                                                                   SEC also investigating Tesla over Model 3 production claims; Company could be
                                                                                                   punished if investors were misled about production delays (MarketWatch - Factiva,
                                                                                                   08/16/2018 02:50 PM)
                                                                                                   Could Elon Musk lose control of Tesla? (CNN Wire - Factiva, 08/16/2018 03:22 PM)
                                                                                                   Ex-Tesla employee alleges Elon Musk authorized spying on workers in bombshell SEC
                                                                                                   tip (TSLA) (Business Insider - Factiva, 08/16/2018 04:03 PM)
                                                                                                   *SEC Pressing Tesla Directors for Details on Communications With Elon Musk--
                                                                                                   Source (Dow Jones Institutional News - Factiva, 08/16/2018 04:06 PM)
                                                                                                   Could Elon Musk lose control of Tesla? (CNN Wire - Factiva, 08/16/2018 04:07 PM)
                                                                                                   SEC PRESSING TESLA DIRECTORS FOR DETAILS ON COMMUNICATIONS
                                                                                                   WITH ELON MUSK - WSJ, CITING SOURCE (Reuters News - Factiva, 08/16/2018
                                                                                                   04:08 PM)
                                                                                                   BRIEF-SEC Pressing Tesla Directors For Details On Communications With Elon Musk
                                                                                                   - WSJ (Reuters News - Factiva, 08/16/2018 04:09 PM)
                                                                                                   Tesla takes Ontario government to court over vehicle rebates (The Canadian Press -
                                                                                                   Broadcast wire - Factiva, 08/16/2018 04:14 PM)
                                                                                                   SEC Pressing Tesla Directors for Details on Communications With Elon Musk (Dow
                                                                                                   Jones Newswires Chinese (English) - Factiva, 08/16/2018 04:29 PM)
                                                                                                   SEC pressing Tesla directors for details on communications with Musk - WSJ (Reuters
                                                                                                   News - Factiva, 08/16/2018 04:30 PM)
                                                                                                   Tesla Was Under Regulator Scrutiny Prior to MuskÃ¢â‚¬â„¢s Tweet (Dow Jones
                                                                                                   Institutional News - Factiva, 08/16/2018 04:30 PM)
                                                                                                   SEC reportedly investigating whether Elon Musk tried to hurt short-sellers with his
                                                                                                   'funding secured' tweet (TSLA) (Business Insider - Factiva, 08/16/2018 04:43 PM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/16/2018 05:00 PM)
                                                                                                   Tesla Sues Ontario Over Rebate Program Cancellation -Bloomberg (Dow Jones
                                                                                                   Institutional News - Factiva, 08/16/2018 05:04 PM)
                                                                                                   UPDATE 1-SEC pressing Tesla directors for details on communications with Musk -
                                                                                                   WSJ (Reuters News - Factiva, 08/16/2018 05:08 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   SEC pressing Tesla directors for details on communications with Musk: Wall Street
                                                                                                   Journal (Reuters News - Factiva, 08/16/2018 05:12 PM)
                                                                                                   First crack at Musk could give top Tesla funds an edge (Reuters News - Factiva,
                                                                                                   08/16/2018 05:16 PM)
                                                                                                   First crack at Musk could give top Tesla funds an edge (Reuters News - Factiva,
                                                                                                   08/16/2018 05:48 PM)
                                                                                                   Tesla files lawsuit against Ontario government (Associated Press Newswires - Factiva,
                                                                                                   08/16/2018 05:48 PM)
                                                                                                   Tesla files lawsuit against Ontario government (The Canadian Press - Factiva, 08/16/2018
                                                                                                   05:49 PM)
                                                                                                   A Tesla whistleblower says the electric car maker's security team is staffed with former
                                                                                                   members of a notorious group from Uber that allegedly spied on rivals (TSLA)
                                                                                                   (Business Insider - Factiva, 08/16/2018 05:54 PM)
                                                                                                   Tesla Motors Canada takes Ontario government to court over vehicle rebates (The
                                                                                                   Canadian Press - Factiva, 08/16/2018 06:05 PM)
                                                                                                   Top News Advisory for Thursday, Aug. 16 (The Canadian Press - Factiva, 08/16/2018
                                                                                                   06:36 PM)
                                                                                                   Top News Advisory for Thursday, Aug. 16 (The Canadian Press - Broadcast wire - Factiva,
                                                                                                   08/16/2018 06:36 PM)
                                                                                                   MEDIA-U.S. SEC subpoenaed Tesla supplier in 2017 about Model 3 production
                                                                                                   problems - WSJ (Reuters News - Factiva, 08/16/2018 06:37 PM)
                                                                                                   SEC Probes Tesla Over Model 3 Production Disclosures (Dow Jones Newswires Chinese
                                                                                                   (English) - Factiva, 08/16/2018 06:47 PM)
                                                                                                   CORRECTED-Tesla sues Ontario over canceled electric vehicle rebate (Reuters News -
                                                                                                   Factiva, 08/16/2018 06:50 PM)
                                                                                                   SEC Probes Tesla Over Model 3 Production Disclosures; The investigation began
                                                                                                   before Elon Musk's tweets about taking the auto maker private (WSJ Pro Central
                                                                                                   Banking - Factiva, 08/16/2018 06:51 PM)
                                                                                                   Tesla sues Ontario over canceled electric vehicle rebate (Reuters News - Factiva,
                                                                                                   08/16/2018 06:54 PM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/16/2018 07:00 PM)
                                                                                                   Tesla employees say the main Model 3 production line has been shutting down early
                                                                                                   (TSLA) (Business Insider - Factiva, 08/16/2018 07:17 PM)
                                                                                                   Tesla employees say the main Model 3 production line has been shutting down early
                                                                                                   (TSLA) (Business Insider - Factiva, 08/16/2018 07:17 PM)
                                                                                                   Elon Musk reportedly calls the Tesla whistleblower who claimed the company spied on
                                                                                                   employees a nut (TSLA) (Business Insider - Factiva, 08/16/2018 08:16 PM)




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                                                       Excess                                        Abnormal
                                            Market    Industry Predicted Abnormal                      Price
     Date       Volume     Price   Return   Return     Return   Return    Return t-stat   p-Value    Reaction                                            Events
                                                                                                                Whistleblower accuses Tesla of spying on employees at Gigafactory -attorney (Reuters
                                                                                                                News - Factiva, 08/16/2018 08:30 PM)
                                                                                                                News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                                08/16/2018 09:00 PM)
                                                                                                                SEC Probes Tesla Over Model 3 Production Disclosures -- 3rd Update (Dow Jones
                                                                                                                Newswires Chinese (English) - Factiva, 08/16/2018 09:06 PM)
                                                                                                                SEC Probes Tesla Over Model 3 Production Disclosures -- 3rd Update (Dow Jones
                                                                                                                Newswires Chinese (English) - Factiva, 08/16/2018 09:27 PM)
                                                                                                                SEC Probes Tesla Over Model 3 Production Disclosures -- 3rd Update (Dow Jones
                                                                                                                Newswires Chinese (English) - Factiva, 08/16/2018 09:35 PM)
                                                                                                                SEC Probes Tesla Over Model 3 Production Disclosures -- 3rd Update (Dow Jones
                                                                                                                Institutional News - Factiva, 08/16/2018 09:40 PM)
                                                                                                                SEC Probes Tesla Over Model 3 Production Disclosures; The investigation began
                                                                                                                before Elon Musk's tweets about taking the auto maker private (The Wall Street Journal
                                                                                                                Online - Factiva, 08/16/2018 09:40 PM)
                                                                                                                Tesla sues Ontario over scrapped electric car rebate (Agence France Presse - Factiva,
                                                                                                                08/16/2018 09:50 PM)
                                                                                                                UPDATE 1-Whistleblower accuses Tesla of spying on employees at Gigafactory -
                                                                                                                attorney (Reuters News - Factiva, 08/16/2018 10:12 PM)
                                                                                                                Whistleblower accuses Tesla of spying on employees at Gigafactory: attorney (Reuters
                                                                                                                News - Factiva, 08/16/2018 10:13 PM)
                                                                                                                News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                                08/16/2018 11:00 PM)
                                                                                                                Elon Musk Details Ã¢â‚¬ËœExcruciatingÃ¢â‚¬â„¢ Personal Toll of Tesla Turmoil
                                                                                                                (NYTimes.com Feed - Factiva, 08/16/2018 11:22 PM)
8/17/2018 Fri   18,958,612 $305.50 -8.93%     0.13%      0.86%    0.17%    -9.10% -3.56   0.05% **    -$30.53   Doug Ford Versus Elon Musk; Tesla sues ontario over cancelled electric vehicle rebate
                                                                                                                (National Post - Factiva, 08/17/2018)
                                                                                                                Elon Musk admits he's had a 'difficult and painful' year (CNET News.com - Factiva,
                                                                                                                08/17/2018)
                                                                                                                Elon Musk is dreaming if he thinks Tesla is worth $420 a share; CEO will find a price
                                                                                                                to take his tech company private, but that price is almost certainly not what he wants
                                                                                                                (The Globe and Mail (Breaking News) - Factiva, 08/17/2018)
                                                                                                                Elon Musk Is the Id of Tech (The New York Times - Factiva, 08/17/2018)
                                                                                                                Elon Musk lives the most painful year of his career (CE NoticiasFinancieras - Factiva,
                                                                                                                08/17/2018)
                                                                                                                Elon Musk May Not Be Working All The Hours He Claims, But Boy He Needs Sleep
                                                                                                                (Forbes.com - Factiva, 08/17/2018)
                                                                                                                Elon Musk opens up about the personal toll Tesla is taking on him (Mashable.com -
                                                                                                                Factiva, 08/17/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events

                                                                                                   Elon Musk Opens Up And Tesla Shares Go Heading Down, The New CEO Of Air
                                                                                                   France KLM Was Announced And The Market Is Down 3% In Its Stock, 1,400 Google
                                                                                                   Workers Signed A Protest Petition After Reports That The Company Would Build A
                                                                                                   Censored Search Engine Especially For China; Paul Manafort Jury Ask to Leave By
                                                                                                   5:00 p.m. Eastern Friday; Worst Flooding in Nearly a Century Claims 324 Lives in the
                                                                                                   Indian State of Kerala; U.S. to End Funding for Stabilizing Syria; Two Palestinians
                                                                                                   have Been Shot and Killed in Gaza; Turkey Rejects Appeal for U.S. Pastor's Release;
                                                                                                   Turks Anxious of Weakened Currency; Trump Postpones Military Parade; WWE
                                                                                                   Stars Ring the NYSE Closing Bell; Crazy Rich Asians on Track to Top the Meg at Box
                                                                                                   Office; Amazon's Twitch Becomes Full-Time Job for Video Gamers. Aired: 4-5p ET
                                                                                                   (CNN International: Quest Means Business - Factiva, 08/17/2018)

                                                                                                   Elon Musk's O'Hare express project is Ã¢â‚¬Ëœfool's gold,' Vallas says (Chicago Sun-
                                                                                                   Times - Factiva, 08/17/2018)
                                                                                                   Elon Musk's tweet makes a big noise and causes a lot of confusion for Tesla (The News-
                                                                                                   Item - Factiva, 08/17/2018)
                                                                                                   FacebookÃ¢â‚¬â„¢s median pay tops $240,000 Ã¢â‚¬â€ here's how that compares to 30
                                                                                                   other big Bay Area employers (Denver Business Journal Online - Factiva, 08/17/2018)

                                                                                                   Goldman Sachs advising Tesla following Musk's privatization proposal (SNL Financial
                                                                                                   Services Daily - Factiva, 08/17/2018)
                                                                                                   Hagens Berman Sobol Shapiro LLP Announces Extended Class Period in Musk
                                                                                                   Ã¢â‚¬Å“TweetÃ¢â‚¬Â Class Action Ã¢â‚¬â€œ TSLA (iCrowdNewswire - Factiva,
                                                                                                   08/17/2018)
                                                                                                   SolarCity Corporation; Patent Issued for Systems And Method For Precision
                                                                                                   Automated Placement Of Backsheet On PV Modules (USPTO 10,043,937) (Energy
                                                                                                   Weekly News - Factiva, 08/17/2018)
                                                                                                   SolarCity Pact With Panasonic Is Redone (The Wall Street Journal - Factiva, 08/17/2018)

                                                                                                   05:41 EDT Tesla CEO has 'no plans' to relinquish chairman, CEO roles, NYT...
                                                                                                   (Theflyonthewall.com - Factiva, 08/17/2018)
                                                                                                   05:50 EDT SEC investigating Tesla over Model 3 production disclosures, WSJ...
                                                                                                   (Theflyonthewall.com - Factiva, 08/17/2018)
                                                                                                   05:54 EDT Tesla security head previously oversaw security team at Uber, BI...
                                                                                                   (Theflyonthewall.com - Factiva, 08/17/2018)
                                                                                                   06:04 EDT Tesla files suit against Ontario over EV rebate program, Financial...
                                                                                                   (Theflyonthewall.com - Factiva, 08/17/2018)
                                                                                                   10:37 EDT Technical Take: Tesla nearing bearish head and shoulders targetIn a...
                                                                                                   (Theflyonthewall.com - Factiva, 08/17/2018)
                                                                                                   4 Tesla EV charging stations installed at Grand Valley town hall (Orangeville Banner -
                                                                                                   Factiva, 08/17/2018)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events

                                                                                                   A Question for TeslaÃ¢â‚¬â„¢s Board: What Was Elon MuskÃ¢â‚¬â„¢s Mental State?;
                                                                                                   Common Sense (International New York Times - Factiva, 08/17/2018)
                                                                                                   Amid Tesla talk, is a $72B leveraged buyout feasible? (SNL Renewable Energy Weekly -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Argus Research Company Research Report (Capital IQ - Manual Entry, 08/17/2018)
                                                                                                   Argus Research Company Research Report (Eikon - Manual Entry, 08/17/2018)
                                                                                                   Art of tweeting for business leadership (Cape Times - Factiva, 08/17/2018)
                                                                                                   Art of tweeting for business leadership (Pretoria News - Factiva, 08/17/2018)
                                                                                                   Art of tweeting for business leadership (The Mercury - Factiva, 08/17/2018)
                                                                                                   Art of tweeting for business leadership (The Star - Factiva, 08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (Daily Herald - Factiva,
                                                                                                   08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (Faribault Daily News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (Janesville Argus - Factiva,
                                                                                                   08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (Le Sueur County News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (Lonsdale Area News-
                                                                                                   Review - Factiva, 08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (Owatonna People's Press -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (St. Peter Herald - Factiva,
                                                                                                   08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (The Kenyon Leader -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (The Northfield News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   As Musk admits to job stress, Tesla's board may have to act (Waseca County News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   As sales surge, lithium-ion battery makers eye profitability (SNL Energy Finance Daily -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   As sales surge, lithium-ion battery makers eye profitability (SNL Power Daily with
                                                                                                   Market Report - Factiva, 08/17/2018)
                                                                                                   As sales surge, lithium-ion battery makers eye profitability (SNL Renewable Energy
                                                                                                   Weekly - Factiva, 08/17/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   At Tesla, It's Time To Face Ã¢â‚¬â€ And Fix Ã¢â‚¬â€ The Facts (Investor's Business
                                                                                                   Daily - Factiva, 08/17/2018)
                                                                                                   Automaker Tesla sues Ontario over rebates for electric vehicles (Windsor Star - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Bank Questions Model 3's Map to Profit --- Based on teardown of the car, UBS analyst
                                                                                                   sees mass-market version losing money (The Wall Street Journal - Factiva, 08/17/2018)
                                                                                                   Barclays Research Report (Capital IQ - Manual Entry, 08/17/2018)
                                                                                                   Barclays Research Report (Eikon - Manual Entry, 08/17/2018)
                                                                                                   Can Elon Musk lose control of Tesla? (CE NoticiasFinancieras - Factiva, 08/17/2018)
                                                                                                   CanadaÃ¢â‚¬â„¢s Ontario scraps EV incentives, draws lawsuit by US Tesla (ICIS News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   CEOs can't make up their own rules on social media (Philadelphia Business Journal
                                                                                                   Online - Factiva, 08/17/2018)
                                                                                                   Delisting Capitalism; The strange case of the shrinking stock markets (Handelsblatt
                                                                                                   Global - Factiva, 08/17/2018)
                                                                                                   Dow Jones Rallies On Cisco, Walmart; Nasdaq Falls On Tesla, Nvidia, China Stocks:
                                                                                                   Weekly Review (Investor's Business Daily - Factiva, 08/17/2018)
                                                                                                   Elon Musk admits to suffering from exhaustion; Musk spoke to The New York Times,
                                                                                                   choking up at times during an interview in which he talked about working endless
                                                                                                   hours trying to meet production deadlines. (The Citizen - Factiva, 08/17/2018)
                                                                                                   Elon Musk calls this year 'the most difficult and painful' of his career (USA Today
                                                                                                   Online - Factiva, 08/17/2018)
                                                                                                   Ex-employee accuses Tesla of spying on workers and ignoring drug cartel operating in
                                                                                                   Gigafactory (V3 - Factiva, 08/17/2018)
                                                                                                   Ex-employee accuses Tesla of spying on workers and ignoring drug cartel operating in
                                                                                                   Gigafactory (V3 - Factiva, 08/17/2018)
                                                                                                   Ex-employee alleges Tesla staff's involvement in drug trafficking (Asian News
                                                                                                   International - Factiva, 08/17/2018)
                                                                                                   Five things you should know before starting your work day on Aug. 17 (Postmedia
                                                                                                   Breaking News - Factiva, 08/17/2018)
                                                                                                   FORMER EMPLOYEE FILES CLAIM AGAINST TESLA; ACCUSATIONS
                                                                                                   INCLUDE DRUG DEALING, SPYING ON WORKERS (San Jose Mercury News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Former employee files complaint against Tesla (French Collection - Factiva, 08/17/2018)

                                                                                                   Friday's Energy Stocks: Broader, energy indexes up on positive trade signals (SNL
                                                                                                   Financial Extra - Factiva, 08/17/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   'He's not unlike the president': How Elon Musk shapes Tesla coverage (Washington
                                                                                                   Post.com - Factiva, 08/17/2018)
                                                                                                   I was not on weed, Tesla tycoon Musk says to critics of his buyout tweet (London
                                                                                                   Evening Standard - Factiva, 08/17/2018)
                                                                                                   Industry: Battery Maker for U.S-based Car Firm Tesla Considers Investing in Vietnam
                                                                                                   (Vietnam News Brief Service - Factiva, 08/17/2018)
                                                                                                   Inflation hits 7-year high of 3% as air fares, energy prices spike; Retaliatory tariffs
                                                                                                   played a small role, too, as consumer prices rise at fastest pace since September, 2011
                                                                                                   (The Globe and Mail (Breaking News) - Factiva, 08/17/2018)
                                                                                                   It has been the most difficult year of my career: Elon Musk (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Jefferson Research & Management Research Report (Capital IQ - Manual Entry,
                                                                                                   08/17/2018)
                                                                                                   Latest Tesla news: Tesla stock price tanks amid reports of 'widening probe' by SEC
                                                                                                   and claims the base Model 3 loses money (V3 - Factiva, 08/17/2018)
                                                                                                   MISO role to evolve as it considers market design, technology shifts (SNL Financial
                                                                                                   Extra - Factiva, 08/17/2018)
                                                                                                   Motor Vehicles and Passenger Car Bodies; Tesla, Inc. Files SEC Form 10-Q, Quarterly
                                                                                                   Report [Sections 13 Or 15(D)]: (Aug. 6, 2018) (Journal of Transportation - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Musk Details 'Excruciating' Year Of Sleepless Nights and Turmoil (The New York
                                                                                                   Times - Factiva, 08/17/2018)
                                                                                                   Musk says no one reviewed his tweet about the plan to privatize Tesla (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/17/2018)
                                                                                                   Musk tells newspaper he's cracking under stress of Tesla job (Tribune Review - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Musk: The last year "was the most painful of my career" (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Musk's Saudi Gambit Invites Kind of Leverage He Doesn't Want;
                                                                                                   BANKING/FINANCE (Broward Daily Business Review - Factiva, 08/17/2018)
                                                                                                   Musk's Saudi Gambit Invites Kind of Leverage He Doesn't Want;
                                                                                                   BANKING/FINANCE (Miami Daily Business Review - Factiva, 08/17/2018)
                                                                                                   Musk's Saudi Gambit Invites Kind of Leverage He Doesn't Want;
                                                                                                   BANKING/FINANCE (Palm Beach Daily Business Review - Factiva, 08/17/2018)
                                                                                                   Not even the Tesla dip drew Wall Street optimism (CE NoticiasFinancieras - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Report: SEC issues subpoenas to Tesla over take-private plan (SNL Renewable Energy
                                                                                                   Weekly - Factiva, 08/17/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Report: SEC looking into Musk's intentions behind take-private tweet (SNL Energy
                                                                                                   Finance Daily - Factiva, 08/17/2018)
                                                                                                   Report: SEC looking into Musk's intentions behind take-private tweet (SNL Financial
                                                                                                   Services Daily - Factiva, 08/17/2018)
                                                                                                   Reuters - The Day Ahead Report Research Report (Eikon - Manual Entry, 08/17/2018)
                                                                                                   Sadif Analytics Prime Research Report (Capital IQ - Manual Entry, 08/17/2018)
                                                                                                   SEC Reportedly Probes Tesla Over Model 3 Production Disclosures (CE
                                                                                                   NoticiasFinancieras - Factiva, 08/17/2018)
                                                                                                   SEC Reportedly Probes Tesla Over Model 3 Production Disclosures (RTT News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   SEC Reportedly Starts Probing Tesla's Model 3 Production Volume Issue Last Yr
                                                                                                   (AAStocks Financial News - Factiva, 08/17/2018)
                                                                                                   SEC summons Tesla by tweet from Elon Musk (CE NoticiasFinancieras - Factiva,
                                                                                                   08/17/2018)
                                                                                                   SEC Was Probing Tesla Before CEO Tweet (The Wall Street Journal - Factiva,
                                                                                                   08/17/2018)
                                                                                                   SHAREHOLDER ALERT: Kaskela Law LLC Announces Expanded Class Period in
                                                                                                   Investor Class Action Lawsuits Against Tesla, Inc. and Elon Musk, and Encourages
                                                                                                   Investors with Losses in Excess of $250,000 to Contact the Firm (iCrowdNewswire -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   SILENT ASSASSIN (Northern Advocate - Factiva, 08/17/2018)
                                                                                                   Stocks - Tesla Sinks Midday; Netflix $100 off All-Time Highs (Investing.com - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Stocks - Tesla, Nvidia, Applied Materials Sink in Pre-market; Nordstrom Surges
                                                                                                   (Investing.com - Factiva, 08/17/2018)
                                                                                                   Stocks Slip As Nvidia, Applied Materials Drag On Chips; Deere Dives (Investor's
                                                                                                   Business Daily - Factiva, 08/17/2018)
                                                                                                   Streetwise newsletter: Best reads of the week: Tesla, Constellation-Canopy deal and
                                                                                                   more; Plus: Wealthsimple launches zero-commission trading platform (The Globe and
                                                                                                   Mail (Breaking News) - Factiva, 08/17/2018)
                                                                                                   Tearful Elon Musk recounts 'excruciating' year and fateful tweet (The Hamilton
                                                                                                   Spectator - Factiva, 08/17/2018)
                                                                                                   Tesla accused of environmental and safety 'failures' as whistleblower dispute deepens
                                                                                                   (The Daily Telegraph - Factiva, 08/17/2018)
                                                                                                   Tesla braced for a big hit from legal claims following Musk's Twitter gaffe (City AM -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Tesla disputes WSJ story, says it never had an exclusive agreement with Panasonic in
                                                                                                   Buffalo (Buffalo Business First Online - Factiva, 08/17/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Tesla goes to court over cancelled electric car rebates in Ontario (The Globe and Mail -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Tesla Motors Canada takes Ontario to court over vehicle rebates (Victoria Times
                                                                                                   Colonist - Factiva, 08/17/2018)
                                                                                                   Tesla probed: report (New York Post - Factiva, 08/17/2018)
                                                                                                   Tesla shares down 8% in reaction to Elon Musk interview (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Tesla shares fall as CEO admits job stress is getting to him (Sentinel-Tribune - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Tesla shares sink after Musk interview in which he cries (CE NoticiasFinancieras -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Tesla stock drops 6% after a tearful Elon Musk interview and a report that SEC
                                                                                                   investigation began last year (latimes.com - Factiva, 08/17/2018)
                                                                                                   Tesla Stock Tumbles Again, Following CEO Elon Musk's 'NYT' Interview (NPR: All
                                                                                                   Things Considered - Factiva, 08/17/2018)
                                                                                                   Tesla Stock Tumbles As Elon Musk Reveals Details Of 'Painful' Year (Investor's
                                                                                                   Business Daily - Factiva, 08/17/2018)
                                                                                                   Tesla Stock Tumbles As Elon Musk Reveals Details Of 'Painful' Year (Investor's
                                                                                                   Business Daily - Factiva, 08/17/2018)
                                                                                                   Tesla Stock Tumbles As Elon Musk Reveals Details Of 'Painful' Year (Investor's
                                                                                                   Business Daily - Factiva, 08/17/2018)
                                                                                                   Tesla Stock, Nvidia Hit Hard But Nasdaq Holds Up; Caterpillar Leads Dow (Investor's
                                                                                                   Business Daily - Factiva, 08/17/2018)
                                                                                                   Tesla sues Ontario over cancellation of rebates (Sarnia Observer - Factiva, 08/17/2018)
                                                                                                   Tesla sues Ontario over EV rebates; Luxury electric carmaker claims it was singled out
                                                                                                   by Ford government (The Toronto Star - Factiva, 08/17/2018)
                                                                                                   Tesla sues Ontario over EV rebates; Luxury electric carmaker claims it was singled out
                                                                                                   by Ford government (The Toronto Star - Factiva, 08/17/2018)
                                                                                                   Tesla sues Ontario over rebate on electric vehicles; Exclusion from program fuels
                                                                                                   complaint of alleged 'discriminatory intentions' (Calgary Herald - Factiva, 08/17/2018)
                                                                                                   Tesla sues Ontario over rebate on electric vehicles; Exclusion from program fuels
                                                                                                   complaint of alleged 'discriminatory intentions' (Edmonton Journal - Factiva, 08/17/2018)

                                                                                                   Tesla sues Ontario over rebate on electric vehicles; Exclusion from program fuels
                                                                                                   complaint of alleged 'discriminatory intentions' (Ottawa Citizen - Factiva, 08/17/2018)
                                                                                                   Tesla sues Ontario over rebate on electric vehicles; Exclusion from program fuels
                                                                                                   complaint of alleged 'discriminatory intentions' (Vancouver Sun - Factiva, 08/17/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla sues Ontario; Automaker says it's treated unfairly by province's cancellation of
                                                                                                   rebate program (The London Free Press - Factiva, 08/17/2018)
                                                                                                   Tesla suing Ontario (The Ottawa Sun - Factiva, 08/17/2018)
                                                                                                   Tesla suing Ontario (The Toronto Sun - Factiva, 08/17/2018)
                                                                                                   Tesla takes Ontario government to court over cancelled vehicle rebates (Peterborough
                                                                                                   Examiner - Factiva, 08/17/2018)
                                                                                                   Tesla takes Ontario government to court over cancelled vehicle rebates (The Hamilton
                                                                                                   Spectator - Factiva, 08/17/2018)
                                                                                                   Tesla takes Ontario government to court over cancelled vehicle rebates (Waterloo
                                                                                                   Region Record - Factiva, 08/17/2018)
                                                                                                   Tesla takes Ontario government to court over vehicle rebates (Niagara Falls Review -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Tesla whistleblower alleges drug trafficking, illegal surveillance at Nevada Gigafactory
                                                                                                   (The Next Web - Factiva, 08/17/2018)
                                                                                                   Tesla worker alleges theft, spying, drugs; Former employee's claims revolve around
                                                                                                   firm's Nevada Gigafactory (Reno Gazette-Journal - Factiva, 08/17/2018)
                                                                                                   Tesla's Musk says stress, overwork taking heavy toll (Postmedia Breaking News - Factiva,
                                                                                                   08/17/2018)
                                                                                                   The GlobeÃ¢â‚¬â„¢s stars and dogs for the week; A humorous look at the companies
                                                                                                   that caught our eye, for better or worse, this week (The Globe and Mail (Breaking News) -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   The Latest: Tesla shares fall as Musk says stress takes toll (Postmedia Breaking News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Trouble in SolarCity? Tesla backs off deal with Panasonic; Auto company won't buy
                                                                                                   the entire output of the solar plant jointly run in Buffalo (Waterloo Region Record -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Trump wants SEC to study half-year company earnings reports (Daily Herald - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Tunnel is Musk's latest diversion (Los Angeles Times - Factiva, 08/17/2018)
                                                                                                   Tweets prompt SEC writ to Tesla (The Australian - Factiva, 08/17/2018)
                                                                                                   US Tesla takes legal action against Ontario province (French Collection - Factiva,
                                                                                                   08/17/2018)
                                                                                                   Valener utility leans on Tesla battery banks to get through Vt. heatwave (SNL
                                                                                                   Renewable Energy Weekly - Factiva, 08/17/2018)
                                                                                                   W hat's in a Saudi buyout for Tesla?; Company can bring some cred to oil giant, but
                                                                                                   Elon Musk may find his fans not so understanding (Vancouver Province - Factiva,
                                                                                                   08/17/2018)
                                                                                                   What If a Female CEO Acted Like Elon Musk? (TheAtlantic.com - Factiva, 08/17/2018)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   What If Elon Musk Succeeds? Tesla, SpaceX Founder Wants to Transform
                                                                                                   TechnologyÃ¢â‚¬â€And Put Humans Out of Work (Newsweek - Factiva, 08/17/2018)
                                                                                                   WHISTLEBLOWER'S TWITTER PAGE GOES DARK (San Jose Mercury News -
                                                                                                   Factiva, 08/17/2018)
                                                                                                   Why Tesla is worth so much (Washington Post.com - Factiva, 08/17/2018)
                                                                                                   Your morning briefing (Queen's Park Briefing - Factiva, 08/17/2018)
                                                                                                   BRIEF-Tesla's Elon Musk Said He Had No Plans To Relinquish His Dual Roles As
                                                                                                   Chairman And Chief Executive - NYT (Reuters News - Factiva, 08/17/2018 12:17 AM)
                                                                                                   Correction: Third Parties Buy Solar Equipment From Panasonic-Tesla Factory --
                                                                                                   Update (Dow Jones Institutional News - Factiva, 08/17/2018 12:38 AM)
                                                                                                   PRESS DIGEST -Wall Street Journal - Aug 17 (Reuters News - Factiva, 08/17/2018 12:38
                                                                                                   AM)
                                                                                                   PRESS DIGEST- New York Times business news - Aug 17 (Reuters News - Factiva,
                                                                                                   08/17/2018 12:42 AM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/17/2018 01:00 AM)
                                                                                                   Tesla's Musk says no plans to relinquish chairman, CEO roles - NYT (Reuters News -
                                                                                                   Factiva, 08/17/2018 01:03 AM)
                                                                                                   'The most difficult and painful year of my career': Tesla CEO Elon Musk opens up
                                                                                                   about personal and professional struggles in revealing interview (TSLA) (Business
                                                                                                   Insider - Factiva, 08/17/2018 01:23 AM)
                                                                                                   Tesla Backs Off Solar Panel Deal With Panasonic -- Update (Dow Jones Newswires
                                                                                                   Chinese (English) - Factiva, 08/17/2018 01:46 AM)
                                                                                                   Elon Musk describes his 'excruciating' year and says he's had to take Ambien to get to
                                                                                                   sleep (Business Insider - Factiva, 08/17/2018 01:49 AM)
                                                                                                   Elon Musk: This has been the most painful year of my career (CNN Wire - Factiva,
                                                                                                   08/17/2018 01:52 AM)
                                                                                                   BR-Tesla-Ontario (The Canadian Press - Broadcast wire - Factiva, 08/17/2018 02:30 AM)

                                                                                                   Bank Questions Model 3's Map to Profit -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                   08/17/2018 02:32 AM)
                                                                                                   Correction: SolarCity Pact With Panasonic Is Redone -- WSJ (Dow Jones Institutional
                                                                                                   News - Factiva, 08/17/2018 02:32 AM)
                                                                                                   SEC Was Probing Tesla Before CEO Tweet -- WSJ (Dow Jones Institutional News -
                                                                                                   Factiva, 08/17/2018 02:32 AM)
                                                                                                   Ex-Employee Accuses Tesla of Covering Up Drug Trafficking - Reports (Sputnik News
                                                                                                   Service - Factiva, 08/17/2018 02:45 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events
                                                                                                   Correction: SolarCity Pact With Panasonic Is Redone -- WSJ (Dow Jones Institutional
                                                                                                   News - Factiva, 08/17/2018 02:47 AM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/17/2018 03:00 AM)
                                                                                                   Ex-Employee Accuses Tesla of Covering Up Drug Trafficking - Reports (Sputnik News
                                                                                                   Service - Factiva, 08/17/2018 03:15 AM)
                                                                                                   Elon Musk repeatedly breaks down in interview as he admits taking pills to sleep and
                                                                                                   explains bizarre Tesla tweet (Independent Online - Factiva, 08/17/2018 03:37 AM)
                                                                                                   UPDATE 1-Musk's SpaceX could help fund take-private deal for Tesla - NYT (Reuters
                                                                                                   News - Factiva, 08/17/2018 03:55 AM)
                                                                                                   Musk's SpaceX could help fund take-private deal for Tesla: NYT (Reuters News -
                                                                                                   Factiva, 08/17/2018 03:56 AM)
                                                                                                   Grappling with tweet aftermath, Musk acknowledges exhaustion (Agence France Presse -
                                                                                                   Factiva, 08/17/2018 05:00 AM)
                                                                                                   News Highlights: Top Company News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                   08/17/2018 05:00 AM)
                                                                                                   Recession indicators are flashing a yellow Ã¢â‚¬ËœcautionÃ¢â‚¬â„¢ signal, Pimco says
                                                                                                   (MarketWatch - Factiva, 08/17/2018 05:00 AM)
                                                                                                   This year has been agony, says Musk (thetimes.co.uk - Factiva, 08/17/2018 05:00 AM)
                                                                                                   Elon Musk speaks; Deere earnings; Nordstrom stock surge (CNN Wire - Factiva,
                                                                                                   08/17/2018 05:02 AM)
                                                                                                   Tesla Model 3 Inverter with SiC Power Module from STMicroelectronics - 2018
                                                                                                   Complete Teardown Report - ResearchAndMarkets.com (Business Wire - Factiva,
                                                                                                   08/17/2018 05:25 AM)
                                                                                                   Elon Musk's $420 target for Tesla stock probably wasn't a reference to weed (TSLA)
                                                                                                   (Business Insider - Factiva, 08/17/2018 05:29 AM)
                                                                                                   Bank of Mexico Cautious On Trade | RBA Uneasy About U.S. Stimulus | SEC Probes
                                                                                                   Tesla | Leveraged Loans Less Safe | Derby's Take: New York Fed Continues Indirect
                                                                                                   Rebuke of Trump Trade Agenda; The Wall Street Journal's central banking newsletter
                                                                                                   for Friday, August 17, 2018 (WSJ Pro Central Banking - Factiva, 08/17/2018 05:52 AM)

                                                                                                   5 Takeaways From Elon MuskÃ¢â‚¬â„¢s Interview With The Times About Tesla
                                                                                                   (NYTimes.com Feed - Factiva, 08/17/2018 06:06 AM)
                                                                                                   EXCRUCIATING Elon Musk reveals truth about Ã¢â‚¬Ëœsmoking weedÃ¢â‚¬â„¢
                                                                                                   accusations and admits Ambien drug habit during tearful interview about his
                                                                                                   Ã¢â‚¬ËœexcruciatingÃ¢â‚¬â„¢ year (thescottishsun.co.uk - Factiva, 08/17/2018 06:33
                                                                                                   AM)
                                                                                                   EXCRUCIATING Tearful Elon Musk reveals truth about Ã¢â‚¬Ëœweed
                                                                                                   smokingÃ¢â‚¬â„¢ accusations and admits Ambien drug habit during interview about
                                                                                                   his Ã¢â‚¬ËœexcruciatingÃ¢â‚¬â„¢ year (thesun.co.uk - Factiva, 08/17/2018 06:33 AM)



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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                           Events

                                                                                                   Tesla demand for Buffalo-made PV lower than expected - report (Renewables Now -
                                                                                                   Factiva, 08/17/2018 06:57 AM)
                                                                                                   RPT-First crack at Musk could give top Tesla funds an edge (Reuters News - Factiva,
                                                                                                   08/17/2018 07:00 AM)
                                                                                                   Musk admits exhaustion as tweet storm deepens (Agence France Presse - Factiva,
                                                                                                   08/17/2018 07:05 AM)
                                                                                                   Elon Musk strikes back at the Tesla whistleblower who claimed the electric car
                                                                                                   manufacturer SPIED on him, branding the ex-employee 'super nuts' (Mail Online -
                                                                                                   Factiva, 08/17/2018 07:20 AM)
                                                                                                   Elon Musk interview: Tesla boss admits to working 120 hours a week and struggling to
                                                                                                   deal with 'excruciating' stress in tearful tell-all (London Evening Standard Online -
                                                                                                   Factiva, 08/17/2018 07:25 AM)
                                                                                                   Three Ã¢â‚¬ËœtiebreakersÃ¢â‚¬â„¢ that will determine if stock market bulls or bears
                                                                                                   are right (MarketWatch - Factiva, 08/17/2018 08:00 AM)
                                                                                                   Hot Stocks to Watch: TSLA (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                   08/17/2018 08:27 AM)
                                                                                                   Hot Stocks to Watch: TSLA (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                   08/17/2018 08:27 AM)
                                                                                                   US SEC probes into Tesla founder Elon MuskÃ¢â‚¬â„¢s Twitter posts - report
                                                                                                   (SeeNews Deals - Factiva, 08/17/2018 08:34 AM)
                                                                                                   Elon Musk is gearing up for 'months of extreme torture from the short-sellers' (TSLA)
                                                                                                   (Business Insider - Factiva, 08/17/2018 08:35 AM)
                                                                                                   Mark Cuban: Elon Musk needs to know the short-sellers 'are his friends' (TSLA)
                                                                                                   (Business Insider - Factiva, 08/17/2018 08:53 AM)
                                                                                                   Tesla's Model 3 margins could be dented by costly powertrain - UBS (Reuters News -
                                                                                                   Factiva, 08/17/2018 09:01 AM)
                                                                                                   Elon Musk once tried to poach Facebook's Sheryl Sandberg to lighten his 'excruciating'
                                                                                                   workload at Tesla (Business Insider - Factiva, 08/17/2018 09:07 AM)
                                                                                                   Elon Musk: Anyone who can do a better job as Tesla's CEO 'can have the reins right
                                                                                                   now' (TSLA) (Business Insider - Factiva, 08/17/2018 09:08 AM)
                                                                                                   'All night Ã¢â‚¬â€ no friends, nothing:' Elon Musk reveals the lonely 24 hours he spent
                                                                                                   working at Tesla on his 47th birthday (Business Insider - Factiva, 08/17/2018 09:23 AM)

                                                                                                   Thinking about buying stock in General Electric, Deere and Co., JC Penney, NVIDIA
                                                                                                   or Tesla? (PR Newswire - Factiva, 08/17/2018 09:31 AM)
                                                                                                   Stocks to Watch: Tesla, Nordstrom, Nvidia, Deere, Applied Materials, Alphabet and
                                                                                                   Acer Therapeutics (Dow Jones Institutional News - Factiva, 08/17/2018 09:36 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                             Events
                                                                                                   Stocks to Watch: Tesla, Nordstrom, Nvidia, Deere, Applied Materials, Alphabet and
                                                                                                   Acer Therapeutics; Here are some of the companies with shares expected to trade
                                                                                                   actively in Friday's session (The Wall Street Journal Online - Factiva, 08/17/2018 09:36
                                                                                                   AM)
                                                                                                   Tesla shares drop 6 percent after reports of widening SEC probe and amid questions of
                                                                                                   CEO Musk's ability to run company (Associated Press Newswires - Factiva, 08/17/2018
                                                                                                   09:47 AM)
                                                                                                   ELON MUSK: STRESS TAKING ITS TOLL IN 'EXCRUCIATING' YEAR (Press
                                                                                                   Association National Newswire - Factiva, 08/17/2018 09:52 AM)
                                                                                                   Telsa's board is reportedly conducting a serious search for a COO Ã¢â‚¬â€ but Elon
                                                                                                   Musk says he doesn't know about it (TSLA) (Business Insider - Factiva, 08/17/2018 09:52
                                                                                                   AM)
                                                                                                   'Why would I?' Elon Musk says he has no regrets about his infamous 'funding secured'
                                                                                                   tweet and plans to keep using Twitter (Business Insider - Factiva, 08/17/2018 10:01 AM)

                                                                                                   BC-APFN-Business News Preview (Associated Press Newswires - Factiva, 08/17/2018
                                                                                                   10:02 AM)
                                                                                                   US stocks fall on Turkey tensions; Tesla drops (Agence France Presse - Factiva,
                                                                                                   08/17/2018 10:11 AM)
                                                                                                   Tesla sinks after Elon Musk opens up about 'the most difficult and painful year' of his
                                                                                                   career (TSLA) (Business Insider - Factiva, 08/17/2018 10:25 AM)
                                                                                                   Tesla: Is the Company Looking for Help for Elon Musk? (Barron's Online - Factiva,
                                                                                                   08/17/2018 10:30 AM)
                                                                                                   Tesla: Is the Company Looking for Help for Elon Musk? -- Barrons.com (Dow Jones
                                                                                                   Institutional News - Factiva, 08/17/2018 10:30 AM)
                                                                                                   Elon Musk says Ã¢â‚¬ËœI was not on weedÃ¢â‚¬â„¢ as Tesla tycoon defends his $420
                                                                                                   buyout tweet (London Evening Standard Online - Factiva, 08/17/2018 10:38 AM)
                                                                                                   Elon Musk Roasted on Twitter as He Admits Poor Sleep, Taking Pills (Sputnik News
                                                                                                   Service - Factiva, 08/17/2018 10:48 AM)
                                                                                                   Tesla shares tumble after Musk comments on personal toll (Agence France Presse -
                                                                                                   Factiva, 08/17/2018 10:50 AM)
                                                                                                   Tesla CEO Elon Musk: 'From A Personal Pain Standpoint, The Worst Is Yet To Come'
                                                                                                   (Benzinga.com - Factiva, 08/17/2018 10:55 AM)
                                                                                                   Tesla sinks after Elon Musk opens up about 'the most difficult and painful year' of his
                                                                                                   career (TSLA) (Business Insider - Factiva, 08/17/2018 10:57 AM)
                                                                                                   MW Tesla shares slide 8% on continued fallout from SEC probe of Musk tweet
                                                                                                   (MarketWatch - Factiva, 08/17/2018 11:05 AM)
                                                                                                   Tesla Shares Slide 8% On Continued Fallout From SEC Probe Of Musk Tweet --
                                                                                                   MarketWatch (Dow Jones Institutional News - Factiva, 08/17/2018 11:05 AM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Tesla news: Elon Musk's tears of a billionaire as he reveals gruelling work schedule
                                                                                                   (express.co.uk - Factiva, 08/17/2018 11:17 AM)
                                                                                                   Elon Musk initially said Tesla board members hadn't contacted him about his 'funding
                                                                                                   secured' tweet, but later had to correct himself (TSLA) (Business Insider - Factiva,
                                                                                                   08/17/2018 11:20 AM)
                                                                                                   Tesla is having Jack White perform a free concert for workers on Friday night at its
                                                                                                   Fremont factory (TSLA) (Business Insider - Factiva, 08/17/2018 11:24 AM)
                                                                                                   Tesla is having Jack White perform a free concert for workers on Friday night at its
                                                                                                   Fremont factory (TSLA) (Business Insider - Factiva, 08/17/2018 11:24 AM)
                                                                                                   Tesla's stock falls sharply after Elon Musk's tearful interview (CNN Wire - Factiva,
                                                                                                   08/17/2018 11:51 AM)
                                                                                                   Tesla shares tumble after CEO Elon Musk breaks down in interview (Independent
                                                                                                   Online - Factiva, 08/17/2018 11:54 AM)
                                                                                                   The Game Has Changed at Tesla -- Heard on the Street (Dow Jones Institutional News -
                                                                                                   Factiva, 08/17/2018 12:01 PM)
                                                                                                   The Game Has Changed at Tesla; SEC investigation means Tesla's precarious cash
                                                                                                   situation could become critical in the coming months (The Wall Street Journal Online -
                                                                                                   Factiva, 08/17/2018 12:04 PM)
                                                                                                   Elon Musk Is Stressed, but Don't Bet Against Tesla -- Barrons.com (Dow Jones
                                                                                                   Institutional News - Factiva, 08/17/2018 12:08 PM)
                                                                                                   Elon Musk Is Stressed, but Don't Bet Against Tesla (Barron's Online - Factiva, 08/17/2018
                                                                                                   12:08 PM)
                                                                                                   Tesla board members are reportedly worried about Elon Musk's Ambien use Ã¢â‚¬â€
                                                                                                   here's what the drug does to your brain and body (Business Insider - Factiva, 08/17/2018
                                                                                                   12:11 PM)
                                                                                                   How Trump could ruin Elon Musk's plan to take Tesla private (CNN Wire - Factiva,
                                                                                                   08/17/2018 12:14 PM)
                                                                                                   Tesla shares tumble after Musk comments on personal toll (Agence France Presse -
                                                                                                   Factiva, 08/17/2018 12:18 PM)
                                                                                                   How Trump could ruin Elon Musk's plan to take Tesla private (CNN Wire - Factiva,
                                                                                                   08/17/2018 12:22 PM)
                                                                                                   Dow logs highest close since February on optimism over trade talks; Tesla sinks
                                                                                                   following Elon MuskÃ¢â‚¬â„¢s soul-baring interview (MarketWatch - Factiva,
                                                                                                   08/17/2018 12:40 PM)
                                                                                                   Tesla's stock falls sharply after Elon Musk's tearful interview (CNN Wire - Factiva,
                                                                                                   08/17/2018 01:10 PM)
                                                                                                   ANALYSIS-Investors query funding costs at a private Tesla (Reuters News - Factiva,
                                                                                                   08/17/2018 01:16 PM)
                                                                                                   Congress, Look at Tesla (NYTimes.com Feed - Factiva, 08/17/2018 01:16 PM)




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                                           Excess                                       Abnormal
                                 Market   Industry Predicted Abnormal                     Price
Date   Volume   Price   Return   Return    Return   Return    Return t-stat   p-Value   Reaction                                            Events
                                                                                                   Investors query funding costs at a private Tesla (Reuters News - Factiva, 08/17/2018
                                                                                                   01:19 PM)
                                                                                                   Tesla shares slide after Elon Musk describes his 'excruciating year' in NYT interview
                                                                                                   (Dow Jones Newswires Chinese (English) - Factiva, 08/17/2018 01:31 PM)
                                                                                                   INVESTIGATION ALERT REMINDER: The Schall Law Firm Announces it is
                                                                                                   Investigating Claims Against Tesla, Inc. and Encourages Investors with Losses in
                                                                                                   Excess of $100,000 to Contact the Firm (Business Wire - Factiva, 08/17/2018 01:36 PM)
                                                                                                   JIM CRAMER: Elon Musk should take medical leave from Tesla (TSLA) (Business
                                                                                                   Insider - Factiva, 08/17/2018 01:45 PM)
                                                                                                   JIM CRAMER: Elon Musk should take medical leave from Tesla (TSLA) (Business
                                                                                                   Insider - Factiva, 08/17/2018 01:45 PM)
                                                                                                   MEDIA-Odey says Tesla feels like it's entering final stage of life - Bloomberg (Reuters
                                                                                                   News - Factiva, 08/17/2018 01:57 PM)
                                                                                                   Tesla Model 3 Inverter with SiC Power Module from STMicroelectronics - 2018
                                                                                                   Complete Teardown Report with a Technical and Cost Comparison with the
                                                                                                   Mitsubishi J-Series TP-M Power Module (PR Newswire - Factiva, 08/17/2018 02:30 PM)

                                                                                                   Tesla whistleblower claims its staff in Nevada trafficked cocaine and meth for a
                                                                                                   Mexican drug cartel and covered up the theft of $37m in raw materials (Mail Online -
                                                                                                   Factiva, 08/17/2018 02:30 PM)
                                                                                                   Tesla Stocks Nosedive After CEO Elon Musk Details Take-Private Tweet (Sputnik News
                                                                                                   Service - Factiva, 08/17/2018 03:15 PM)
                                                                                                   Elon Musk didn't used to care about short sellers Ã¢â‚¬â€ here's why he does now
                                                                                                   (TSLA) (Business Insider - Factiva, 08/17/2018 03:34 PM)
                                                                                                   UPDATE 3-Tesla stock sinks after Musk gives tearful NYT interview (Reuters News -
                                                                                                   Factiva, 08/17/2018 03:58 PM)
                                                                                                   Tesla stock sinks after Musk gives tearful NYT interview (Reuters News - Factiva,
                                                                                                   08/17/2018 04:00 PM)
                                                                                                   MW Dow, S&P 500 end the day and week higher buttressed by optimism over China-
                                                                                                   U.S. trade talks (MarketWatch - Factiva, 08/17/2018 04:09 PM)
                                                                                                   TSLA INVESTORS ALERT: Lieff Cabraser Announces Securities Class Action
                                                                                                   Against Tesla, Inc. (Business Wire - Factiva, 08/17/2018 04:10 PM)
                                                                                                   The Latest: Tesla shares drop 9 per cent after Musk interview (The Canadian Press -
                                                                                                   Factiva, 08/17/2018 04:14 PM)
                                                                                                   The Latest: Tesla shares drop 9 per cent after Musk interview (The Canadian Press -
                                                                                                   Broadcast wire - Factiva, 08/17/2018 04:14 PM)
                                                                                                   The Latest: Tesla shares drop 9 percent after Musk interview (Associated Press
                                                                                                   Newswires - Factiva, 08/17/2018 04:14 PM)




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                                                                                                   Appendix D
                                                                                     Tesla News Chronology with Daily Statistics

       [1]            [2]         [3]       [4]        [5]          [6]      [7]       [8]  [9]                [10]         [11]                                                  [12]
                                                                Excess                                                  Abnormal
                                                    Market     Industry Predicted Abnormal                                Price
     Date          Volume        Price   Return     Return      Return   Return    Return t-stat            p-Value     Reaction                                                 Events
                                                                                                                                     Tech Down as Tesla, Nvidia Weigh -- Tech Roundup (Dow Jones Institutional News -
                                                                                                                                     Factiva, 08/17/2018 04:27 PM)
                                                                                                                                     MW UPDATE: Dow logs highest close since February on optimism over trade talks
                                                                                                                                     (MarketWatch - Factiva, 08/17/2018 04:40 PM)
                                                                                                                                     Zoe's and Nordstrom rise while Tesla and Nvidia skid (Associated Press Newswires -
                                                                                                                                     Factiva, 08/17/2018 04:40 PM)
                                                                                                                                     Zoe's and Nordstrom rise while Tesla and Nvidia skid (The Canadian Press - Factiva,
                                                                                                                                     08/17/2018 04:41 PM)
                                                                                                                                     Tesla shares tumble after Musk interview sparks fresh fears (Agence France Presse -
                                                                                                                                     Factiva, 08/17/2018 04:44 PM)
                                                                                                                                     Tesla investors spooked as tearful Elon Musk talks 120-hour weeks, exhaustion and
                                                                                                                                     Ambien (The Telegraph Online - Factiva, 08/17/2018 05:11 PM)
                                                                                                                                     Nasdaq SUMMARY (Associated Press Newswires - Factiva, 08/17/2018 05:27 PM)
                                                                                                                                     Tesla's stock falls sharply after Elon Musk reveals 'excruciating' year (The Guardian -
                                                                                                                                     Factiva, 08/17/2018 05:31 PM)
                                                                                                                                     Tesla Investigation: Bernstein Liebhard LLP Announces Investigation Of Tesla, Inc. -
                                                                                                                                     TSLA (PR Newswire - Factiva, 08/17/2018 05:40 PM)
                                                                                                                                     Business Highlights (Associated Press Newswires - Factiva, 08/17/2018 06:07 PM)
                                                                                                                                     Business Highlights (The Canadian Press - Factiva, 08/17/2018 06:07 PM)
                                                                                                                                     As Musk admits to job stress, Tesla's board may have to act (Associated Press Newswires
                                                                                                                                     - Factiva, 08/17/2018 06:08 PM)
                                                                                                                                     As Musk admits to job stress, Tesla's board may have to act (The Canadian Press -
                                                                                                                                     Factiva, 08/17/2018 06:08 PM)
                                                                                                                                     Tesla shares SINK after Elon Musk details Ã¢â‚¬ËœEXCRUCIATING yearÃ¢â‚¬â„¢
                                                                                                                                     in emotional interview (express.co.uk - Factiva, 08/17/2018 06:09 PM)
                                                                                                                                     Weekend at ElonÃ¢â‚¬â„¢s: A Tesla Subplot With Azealia Banks (NYTimes.com Feed -
                                                                                                                                     Factiva, 08/17/2018 06:28 PM)
                                                                                                                                     Elon Musk reveals he is feeling the strain as billions are wiped from Tesla value (Mail
                                                                                                                                     Online - Factiva, 08/17/2018 06:54 PM)

Notes:
[1] to [10] See Appendix F.
[11] = [8] * [3] on prior trading day.
[12] For the Tesla chronology, I compiled lists of SEC filings, analyst reports, and news articles. I compiled the list of all of Tesla SEC filings from August 7, 2018 to August 17, 2018 from the SEC website. The list of analyst
reports is based on reports available from the Thomson Eikon and Capital IQ electronic databases. While some other reports may exist, this is a reasonably comprehensive list of the analyst reports issued concerning Tesla. For
news articles contained in the chronology, I searched Factiva. For Factiva, I searched all sources for the company code for “Tesla, Inc.” To eliminate duplicate stories, a news story was considered a duplicate and eliminated if
it had exactly the same date, timestamp, headline, news source, and lead paragraph as another news story from the same provider.




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                                        Appendix E

         A. Regression Specification Used in the Event Study

         1.    For event study analysis, I use generally-accepted econometric methods and
specify a regression model that includes certain explanatory variables – i.e., the variables
that explain the outside influences on the variation in the daily returns to Tesla common
stock. I use a widely-used market model that includes as explanatory variables the general
market returns and the returns to an industry index. This specification can be written as:

                             Rt = α + β1(Rmt) + β2(INDUSTRYt) + et.1

         2.    In this equation, Rt is daily percentage return of Tesla common stock, Rmt is
a proxy for the daily market return (represented by the Nasdaq Composite Total Return
Index with Bloomberg identifier “XCMP”) and INDUSTRYt is a proxy for the daily
industry return (represented by the Dow Jones US Automobiles & Parts Total Return Index




1
      This equation is a time-series where the variables are measured at comparable times.
      In this case, the time interval is at the daily close of trading.

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with Bloomberg identifier “DJUSAPT”).2,3 The parameter α represents the intercept
coefficient or constant term, while the β coefficients represent the empirical relationship
between movements of Tesla common stock prices and the movements of the market and
industry indexes. The et term represents an estimation error for each date. Data from a
period immediately prior to each date when the firm-specific abnormal return is to be




2
      For stock performance comparison purposes, Tesla used the “NASDAQ Composite
      Index” and a group of public companies sharing the same SIC code as Tesla of 3711,
      “Motor Vehicles and Passenger Car Bodies.” See Tesla Forms 10-K filed February 23,
      2018 (p. 37) and February 19, 2019 (p. 40). For choice of industry index used in the
      market model, I tried the following eight indexes (Bloomberg identifier in parentheses):
      the Dow Jones US Automobiles Total Return Index (DJUSAUT); an equal-weighted
      version of the DJUSAUT; the Dow Jones US Automobiles & Parts Total Return Index
      (DJUSAPT); an equal-weighted version of DJUSAPT; the S&P Supercomposite
      Automobiles Total Return Index (STRAUTO); and the S&P Supercomposite
      Automobile Manufacturers Total Return Index (STRAUTM). I chose the NASDAQ
      Composite Total Return Index as the market index because it was selected by Tesla to
      evaluate its investment performance during the Class Period. I chose the Dow Jones
      US Automobiles & Parts Total Return Index to reflect the “industry” because the R-
      Squared measure during the estimation window of 120 days prior to the Class Period
      was similar or better than the other indexes. When comparing the R-Squared of models
      with different industry indexes, I exclude returns on dummy dates as listed below in
      footnote 6.
      The industry index is measured net of market. To net the market return, I regress the
      industry return on the market return and use the obtained residual return (i.e., the
      industry return netting out market effects) as the industry return in my market models
      for Tesla.
3
      When comparing the R-Squared of models with different industry indexes, I also
      remove the impact of Tesla’s daily return from the industry index using daily weights
      obtained from Bloomberg. Tesla was a member of the Dow Jones industry indexes,
      but not the S&P industry indexes. I removed the impact of Tesla’s daily stock price
      movements from the changes in the daily value of the industry index, where the daily
      industry return on date t is equal to: Return of the industry index on date t minus the
      product of Tesla’s weight on date t-1 times Tesla’s daily return on date t, all divided by
      one minus Tesla’s weight on date t-1. For the equal-weighted version of the two Dow
      Jones industry indexes, I compute a series of equal weighted returns as the average
      return of the members in respective index (other than Tesla).

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examined is generally used as the Control (or estimation) Period to estimate the parameters
or coefficients of the regression.4

         3.    Given the short Class Period of 9 trading days, I use a single control period
of 120 trading ending on August 6, 2018, the day prior to the start of the Class Period, to
estimate a set of parameters or coefficients (namely α, β1, and β2) used to calculate the
abnormal return and the standard error for each day in the Class Period.

         4.    In addition to the two explanatory variables, I include “dummy variables”5 to
account and adjust for atypical variation in the daily returns to the common stock that
results from the disclosures during the Control Period of significant firm-specific
information. I use a dummy variable on 2 dates on which the Company announced
earnings results during the Control Period.6 These are dates on which Tesla’s stock price
might be affected by disclosures of unexpected firm-specific material information. For
each disclosure, I determined whether the disclosure was after the market closed and, if so,
the following trading day was used as the price impact date.7

         5.    I include a dummy variable when there is a release of important Tesla-specific
information, because should that single date have a large abnormal return caused not by
chance, but by Tesla’s disclosure of material, unanticipated firm-specific information, this
could possibly change the mix of information in the market that is important to investors.
The use of dummy, indicator, control, or intervention variables, as well as simply excluding




4
      “There are essentially four choices for the estimation period: before the event window,
      during the window, after the window, and around the window. The majority of events
      studies use an estimation period before the event.” Glenn V. Henderson, Jr., Problems
      and Solutions in Conducting Event Studies, 57 J. of Risk and Ins., 282-306, 291 (June
      1990).
5
      A dummy variable is an additional explanatory variable that takes on the value of 1 on
      the date indicated and 0 for all other dates. In econometric time-series analysis, dummy
      variables are often used to indicate a non-recurring event that is unique, unusual or
      anomalous, such as a specific earnings announcement.
6
      The impact dates for the 2 earnings-related dates are: May 3, 2018 and August 2, 2018.
7
      I obtained the time stamps and determined the impact date for the releases. Source:
      GlobeNewswirevia Factiva.

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anomalous dates or periods, is a widely used and generally accepted econometric technique
employed in the academic finance literature.8 For example, Professor Carol Alexander
states that “one might consider creating a dummy [variable] to model the timing of
important news announcements… [or] whenever the data period covers … a temporary
shift due to an extreme market movement.”9 Prof. Alexander adds, “If dummies are
omitted there will be residual problems that lead to inefficient parameter estimates on the
real explanatory variables.”10 It is also consistent with methods courts have relied upon to
certify securities classes.11



8
      For example, see Nihat Aktas, Eric de Bodt, & Jean-Gabriel Cousin, Event Studies with
      a Contaminated Estimation Period, 13 J. Corp. Fin., 129-145, 131 (2007); Ekkehart
      Boehmer, Jim Musumeci, & Annette B. Poulsen, Event-study Methodology under
      Conditions of Event-Induced Variance, 30 J. Fin. Econ., 253-272, 254 (1991); G. E. P.
      Box & G. C. Tiao, Intervention Analysis with Applications to Economic and
      Environmental Problems, 70 J. Am. Stat. Assn., 70-79, 71 (1975); David F. Larcker,
      Lawrence A. Gordon & George E. Pinches, Testing for Market Efficiency: A
      Comparison of the Cumulative Average Residual Methodology and Intervention
      Analysis, 15 J. Fin. & Quant. Analysis, 267-287, 272 (1980); Paul H. Malatesta,
      Measuring Abnormal Performance: The Event Parameter Approach Using Joint
      Generalized Least Squares, 21 J. Fin. & Quant. Analysis, 27-38, 27-28 (1986).
9
      Carol Alexander, Market Models: A Guide to Financial Data Analysis, 440 (John
      Wiley & Sons 2001). Carol Alexander is a Professor of Finance at the University of
      Sussex and Managing Editor of the Journal of Banking and Finance.
10
      Id. at 441. If there is a large abnormal return caused by the release of material,
      unanticipated firm-specific important information, which is obviously not a random
      event, its influence on the Tesla common stock price movement must be accounted for.
      If it is not accounted for via a dummy variable, this non-random influence might
      contaminate the estimation process during the Control Period and induce a distortion
      or bias in the parameter estimate, predicted returns, and thus the abnormal returns and
      standard error. Using dummy variables to control for the price impact of potentially
      important non-random or atypical informational disclosures in the Control Period,
      results in regression model coefficients that more precisely reflect the normal or typical
      return relationship between Tesla and the market and industry indexes, and thus
      improves the efficiency of the estimated parameters, predicted returns and abnormal
      returns.
11
      For example, see In re Groupon, Inc. Sec. Litig., 2015 WL 1043321, at *7: “Dr.
      Feinstein explained that dummy variables are widely used during a control period to
      extract atypical days. Consistent with other experts, he used dummy variables to
      control for potentially abnormal returns related to earnings announcements.


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        6.    Using the specifications of the market model above, including the dummy
variables, and a Control Period of 120 trading days prior to the Class Period, I estimate a
set of parameters to be applied in the Class Period. For the regression I ran over the Control
Period, the coefficients explaining the variation in the returns of Tesla common stock was
1.4527 for β1 and 0.1344 for β2. The adjusted R-squared measure is 41.22%. The daily
results for applying the regression over the Class Period are provided in Appendix F.

        B. Estimating Tesla-Specific Price Movements

        7.    The second step of the event study methodology uses the estimated
coefficients from the Control Period regression, namely measures of α, β1, and β2, and
multiplies them by the actual observed daily return measures for their respective
explanatory variables on each day of the Class Period. On each day during the Class
Period, the products of these multiplications are summed to calculate the predicted daily
return. On each of the 9 days of the Class Period, the portion of Tesla’s stock price
movement or the “firm-specific effect” is calculated as the abnormal return (also referred
to as the excess return or residual). The abnormal return is calculated by subtracting the
predicted daily return from the actual daily return. This subtraction yields the portion of
the daily return (i.e., the firm-specific portion of the return) that is not predicted or
explained by market- and industry-wide influences.

        C. Determining Whether Tesla-Specific Price Movements Are Outside the Bounds
           of What Would Be Expected by Chance

        8.    In the third step of the event study, I determine whether the abnormal return
on each date is outside the bounds of what would be expected by chance. I do this by
presenting empirical evidence showing whether or not the 9 firm-specific abnormal returns
are what economists call statistically significantly different from zero (hereinafter referred
to as “significant returns”).




    Accordingly, he used dummy variables during the control period for all earnings-
    related trading dates, including the event days. He also used a dummy variable for May
    14, 2012, because it was not only an unusual trading day, but also because it was
    contemporaneously described as atypical by the news media.” (citations omitted).

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       9.    A statistical test called the t-test is employed to assess the statistical
significance of Tesla’s abnormal return for each date. The t-test is based on a t-statistic,
which is calculated by taking the estimated abnormal return and dividing it by the standard
error of the regression. The standard error represents the typical or normal volatility of the
unexplained or residual price movements of the common stock. This statistical test is used
to determine whether the abnormal return is outside the bounds of what would be expected
from random volatility alone; or, in other words, whether it is significantly different from
zero with a specified degree of certainty. I use the scientifically accepted level of certainty
and declare statistical significance at a 95% level. This means that when Tesla’s abnormal
return is statistically significant, I can conclude that the Tesla’s abnormal return is outside
the bounds of what would be expected by chance, with at least 95% confidence.




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                                          Appendix F
                                Tesla, Inc. Common Stock Data
 [1]         [2]        [3]     [4]    [5]        [6]      [7]       [8]       [9]        [10]
                                                Excess
                                      Market   Industry Predicted Abnormal
Date       Volume       Price Return Return     Return   Return    Return t-statistic    p-Value
2/14/18    3,950,743   $322.31 -0.42% 1.90%      0.35%    2.68%    -3.09%     -1.21     22.85%
2/15/18    5,912,917   $334.07 3.65% 1.58%      -0.74%    2.07%     1.58%      0.62     53.74%
2/16/18    5,642,637   $335.49 0.43% -0.23%     -1.04%   -0.61%     1.04%      0.41     68.57%
2/20/18    4,009,435   $334.77 -0.21% -0.07%    -0.38%   -0.28%     0.07%      0.03     97.84%
2/21/18    3,219,649   $333.30 -0.44% -0.22%     0.12%   -0.43%    -0.01%      0.00     99.84%
2/22/18    6,969,808   $346.17 3.86% -0.11%      0.33%   -0.25%     4.11%      1.61     11.04%
2/23/18    5,817,387   $352.05 1.70% 1.77%      -0.86%    2.32%    -0.62%     -0.24     80.82%
2/26/18    4,339,985   $357.42 1.53% 1.15%       0.44%    1.59%    -0.07%     -0.03     97.93%
2/27/18    4,797,419   $350.99 -1.80% -1.22%    -1.49%   -2.10%     0.30%      0.12     90.59%
2/28/18    6,069,658   $343.06 -2.26% -0.78%    -0.55%   -1.34%    -0.92%     -0.36     71.85%
 3/1/18    6,885,601   $330.93 -3.54% -1.26%    -1.38%   -2.15%    -1.39%     -0.54     58.75%
 3/2/18    5,092,829   $335.12 1.27% 1.08%      -0.62%    1.36%    -0.09%     -0.04     97.20%
 3/5/18    3,823,769   $333.35 -0.53% 1.00%      0.46%    1.39%    -1.92%     -0.75     45.48%
 3/6/18    4,285,744   $328.20 -1.54% 0.56%      0.43%    0.74%    -2.29%     -0.90     37.20%
 3/7/18    5,007,297   $332.30 1.25% 0.33%      -0.48%    0.29%     0.96%      0.38     70.79%
 3/8/18    3,566,244   $329.10 -0.96% 0.44%      0.07%    0.52%    -1.48%     -0.58     56.34%
 3/9/18    5,506,764   $327.17 -0.59% 1.79%      0.18%    2.49%    -3.08%     -1.21     23.03%
3/12/18    8,264,035   $345.51 5.61% 0.36%      -0.44%    0.34%     5.27%      2.06      4.14% *
3/13/18    5,965,805   $341.84 -1.06% -1.01%     0.84%   -1.49%     0.43%      0.17     86.59%
3/14/18    7,967,370   $326.63 -4.45% -0.18%    -0.29%   -0.44%    -4.01%     -1.57     11.91%
3/15/18    6,564,801   $325.60 -0.32% -0.19%     0.38%   -0.36%     0.05%      0.02     98.59%
3/16/18    6,117,279   $321.35 -1.31% 0.01%      0.83%   -0.01%    -1.29%     -0.51     61.37%
3/19/18    7,484,294   $313.56 -2.42% -1.84%     0.04%   -2.80%     0.38%      0.15     88.30%
3/20/18    4,764,293   $310.55 -0.96% 0.28%     -0.34%    0.22%    -1.18%     -0.46     64.44%
3/21/18    5,958,411   $316.53 1.93% -0.25%      1.48%   -0.30%     2.22%      0.87     38.57%
3/22/18    4,939,771   $309.10 -2.35% -2.43%    -1.22%   -3.83%     1.48%      0.58     56.34%
3/23/18    6,654,899   $301.54 -2.45% -2.43%    -0.57%   -3.74%     1.29%      0.51     61.45%
3/26/18    8,375,175   $304.18 0.88% 3.26%       0.59%    4.68%    -3.81%     -1.49     13.91%
3/27/18   13,872,029   $279.18 -8.22% -2.93%     0.93%   -4.27%    -3.95%     -1.55     12.47%
3/28/18   21,001,437   $257.78 -7.67% -0.84%     0.47%   -1.28%    -6.38%     -2.50      1.39% *
3/29/18   15,170,749   $266.13 3.24% 1.65%       1.07%    2.40%     0.84%      0.33     74.34%
 4/2/18   16,113,968   $252.48 -5.13% -2.74%    -0.04%   -4.11%    -1.02%     -0.40     69.17%
 4/3/18   18,844,384   $267.53 5.96% 1.04%       1.93%    1.64%     4.32%      1.69      9.38%
 4/4/18   19,896,746   $286.94 7.26% 1.47%       0.99%    2.13%     5.12%      2.01      4.73% *
 4/5/18   19,121,101   $305.72 6.54% 0.49%       0.39%    0.63%     5.91%      2.31      2.24% *
 4/6/18   13,520,286   $299.30 -2.10% -2.28%     0.24%   -3.41%     1.31%      0.51     60.81%
 4/9/18   10,249,805   $289.66 -3.22% 0.51%     -0.07%    0.60%    -3.82%     -1.50     13.76%
4/10/18   11,024,259   $304.70 5.19% 2.07%       1.03%    3.01%     2.18%      0.85     39.57%
4/11/18    7,482,945   $300.93 -1.24% -0.36%     0.03%   -0.65%    -0.59%     -0.23     81.75%
4/12/18    7,608,769   $294.08 -2.28% 1.01%     -0.64%    1.25%    -3.52%     -1.38     17.06%
4/13/18    7,327,223   $300.34 2.13% -0.47%     -0.14%   -0.83%     2.96%      1.16     24.85%
4/16/18    6,338,488   $291.21 -3.04% 0.70%      0.85%    1.00%    -4.04%     -1.58     11.69%
4/17/18    7,000,023   $287.69 -1.21% 1.74%     -0.89%    2.28%    -3.49%     -1.37     17.45%
4/18/18    6,557,700   $293.35 1.97% 0.19%      -0.47%    0.09%     1.88%      0.74     46.32%
4/19/18    6,090,599   $300.08 2.29% -0.78%     -1.49%   -1.47%     3.76%      1.47     14.34%


                                                                                                 p. 1 of 4
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                                          Appendix F
                                Tesla, Inc. Common Stock Data
 [1]         [2]        [3]     [4]    [5]        [6]      [7]       [8]       [9]        [10]
                                                Excess
                                      Market   Industry Predicted Abnormal
Date       Volume       Price Return Return     Return   Return    Return t-statistic    p-Value
4/20/18    5,627,928   $290.24 -3.28% -1.27%     0.37%   -1.93%    -1.35%     -0.53     59.80%
4/23/18    4,893,378   $283.37 -2.37% -0.25%     0.98%   -0.36%    -2.01%     -0.79     43.32%
4/24/18    5,685,308   $283.46 0.03% -1.70%      0.95%   -2.47%     2.51%      0.98     32.86%
4/25/18    4,013,574   $280.69 -0.98% -0.05%     0.42%   -0.15%    -0.83%     -0.32     74.68%
4/26/18    4,356,013   $285.48 1.71% 1.64%      -0.19%    2.23%    -0.52%     -0.20     83.91%
4/27/18    4,364,626   $294.08 3.01% 0.02%      -1.01%   -0.24%     3.25%      1.27     20.61%
4/30/18    4,228,172   $293.90 -0.06% -0.75%    -1.24%   -1.39%     1.33%      0.52     60.41%
 5/1/18    4,625,603   $299.92 2.05% 0.91%      -0.71%    1.10%     0.95%      0.37     71.02%
 5/2/18    8,970,370   $301.15 0.41% -0.42%      0.99%   -0.61%     1.02%      0.40     69.14%
 5/3/18   17,352,130   $284.45 -5.55% -0.18%    -0.01%   -0.39%    -5.15%     -2.01      4.70% *
 5/4/18    8,569,354   $294.09 3.39% 1.73%       0.16%    2.41%     0.98%      0.38     70.15%
 5/7/18    8,678,224   $302.77 2.95% 0.77%      -0.63%    0.91%     2.04%      0.80     42.51%
 5/8/18    5,930,000   $301.97 -0.26% 0.03%      0.08%   -0.08%    -0.18%     -0.07     94.40%
 5/9/18    5,727,365   $306.85 1.62% 1.01%      -0.79%    1.23%     0.39%      0.15     87.94%
5/10/18    5,651,561   $305.02 -0.60% 0.89%      1.02%    1.30%    -1.89%     -0.74     45.99%
5/11/18    4,679,649   $301.06 -1.30% 0.01%      0.01%   -0.12%    -1.18%     -0.46     64.54%
5/14/18    7,286,804   $291.97 -3.02% 0.12%     -0.03%    0.03%    -3.05%     -1.20     23.45%
5/15/18    9,519,173   $284.18 -2.67% -0.80%     1.15%   -1.15%    -1.52%     -0.60     55.30%
5/16/18    5,674,019   $286.48 0.81% 0.67%       1.54%    1.05%    -0.24%     -0.10     92.39%
5/17/18    4,420,612   $284.54 -0.68% -0.20%     0.89%   -0.30%    -0.37%     -0.15     88.44%
5/18/18    7,251,887   $276.82 -2.71% -0.38%    -0.31%   -0.72%    -1.99%     -0.78     43.76%
5/21/18    9,182,571   $284.49 2.77% 0.54%       0.60%    0.74%     2.04%      0.80     42.73%
5/22/18    8,945,756   $275.01 -3.33% -0.21%     0.11%   -0.42%    -2.91%     -1.14     25.70%
5/23/18    5,985,053   $279.07 1.48% 0.65%      -1.29%    0.63%     0.84%      0.33     74.24%
5/24/18    4,176,708   $277.85 -0.44% -0.02%     0.58%   -0.08%    -0.35%     -0.14     89.00%
5/25/18    3,875,082   $278.85 0.36% 0.13%      -0.38%    0.00%     0.36%      0.14     88.91%
5/29/18    5,666,640   $283.76 1.76% -0.49%     -1.35%   -1.03%     2.79%      1.09     27.68%
5/30/18    7,489,686   $291.72 2.81% 0.90%       0.29%    1.21%     1.60%      0.63     53.30%
5/31/18    5,919,721   $284.73 -2.40% -0.26%     3.28%   -0.06%    -2.33%     -0.91     36.32%
 6/1/18    5,424,386   $291.82 2.49% 1.51%       0.16%    2.08%     0.41%      0.16     87.35%
 6/4/18    4,797,810   $296.74 1.69% 0.69%       0.63%    0.96%     0.73%      0.29     77.55%
 6/5/18    5,995,157   $291.13 -1.89% 0.42%      0.00%    0.47%    -2.36%     -0.92     35.75%
 6/6/18   18,767,269   $319.50 9.74% 0.67%       0.81%    0.95%     8.79%      3.44      0.08% **
 6/7/18   14,345,271   $316.09 -1.07% -0.69%     1.02%   -1.00%    -0.07%     -0.03     97.89%
 6/8/18    8,205,202   $317.66 0.50% 0.14%       0.41%    0.12%     0.37%      0.15     88.37%
6/11/18   13,183,473   $332.10 4.55% 0.19%       0.15%    0.16%     4.38%      1.72      8.89%
6/12/18   22,347,403   $342.77 3.21% 0.57%      -0.64%    0.61%     2.60%      1.02     31.12%
6/13/18    9,469,804   $344.78 0.59% -0.10%     -0.16%   -0.31%     0.89%      0.35     72.77%
6/14/18   10,981,023   $357.72 3.75% 0.86%      -1.03%    0.98%     2.77%      1.08     28.05%
6/15/18   10,848,254   $358.17 0.13% -0.19%      0.47%   -0.34%     0.47%      0.18     85.55%
6/18/18   12,073,226   $370.83 3.53% 0.01%       0.40%   -0.07%     3.60%      1.41     16.14%
6/19/18   12,761,903   $352.55 -4.93% -0.27%    -1.51%   -0.73%    -4.20%     -1.65     10.26%
6/20/18    8,383,656   $362.22 2.74% 0.72%      -0.60%    0.84%     1.90%      0.75     45.76%
6/21/18    7,967,145   $347.51 -4.06% -0.88%    -1.04%   -1.55%    -2.51%     -0.98     32.82%
6/22/18   10,266,059   $333.63 -3.99% -0.26%    -0.18%   -0.54%    -3.46%     -1.35     17.85%


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                                            Appendix F
                                  Tesla, Inc. Common Stock Data
   [1]         [2]        [3]     [4]     [5]       [6]      [7]       [8]       [9]        [10]
                                                  Excess
                                        Market   Industry Predicted Abnormal
  Date       Volume       Price Return Return     Return   Return    Return t-statistic    p-Value
  6/25/18    6,931,304   $333.01 -0.19% -2.09%     0.34%   -3.12%     2.94%      1.15     25.25%
  6/26/18    7,452,487   $342.00 2.70% 0.39%       0.12%    0.46%     2.24%      0.88     38.15%
  6/27/18    8,333,727   $344.50 0.73% -1.54%      0.15%   -2.35%     3.08%      1.21     23.02%
  6/28/18    8,398,005   $349.93 1.58% 0.80%      -1.44%    0.83%     0.74%      0.29     77.17%
  6/29/18    6,492,396   $342.95 -1.99% 0.09%     -1.19%   -0.16%    -1.83%     -0.72     47.50%
   7/2/18   18,759,765   $335.07 -2.30% 0.77%     -0.30%    0.95%    -3.25%     -1.27     20.64%
   7/3/18   12,282,638   $310.86 -7.23% -0.86%    -0.18%   -1.40%    -5.82%     -2.28      2.46% *
   7/5/18   17,476,374   $309.16 -0.55% 1.13%      0.76%    1.61%    -2.16%     -0.85     39.96%
   7/6/18    8,865,451   $308.90 -0.08% 1.34%     -0.90%    1.70%    -1.78%     -0.70     48.64%
   7/9/18    7,596,753   $318.51 3.11% 0.88%       1.03%    1.29%     1.82%      0.71     47.72%
  7/10/18    9,471,498   $322.47 1.24% 0.04%       0.86%    0.04%     1.20%      0.47     63.82%
  7/11/18    4,884,076   $318.96 -1.09% -0.55%    -1.51%   -1.13%     0.04%      0.02     98.62%
  7/12/18    5,721,166   $316.71 -0.71% 1.39%     -1.02%    1.75%    -2.46%     -0.96     33.81%
  7/13/18    5,875,770   $318.87 0.68% 0.03%       0.21%   -0.07%     0.75%      0.29     77.02%
  7/16/18    7,818,655   $310.10 -2.75% -0.26%     0.06%   -0.50%    -2.25%     -0.88     38.04%
  7/17/18    6,996,232   $322.69 4.06% 0.63%       0.82%    0.90%     3.16%      1.24     21.81%
  7/18/18    5,624,211   $323.85 0.36% -0.01%      0.31%   -0.10%     0.46%      0.18     85.66%
  7/19/18    5,915,345   $320.23 -1.12% -0.37%    -0.57%   -0.75%    -0.37%     -0.14     88.54%
  7/20/18    5,166,547   $313.58 -2.08% -0.07%    -0.80%   -0.34%    -1.74%     -0.68     49.69%
  7/23/18   10,992,947   $303.20 -3.31% 0.28%     -0.46%    0.21%    -3.52%     -1.38     17.12%
  7/24/18    9,590,784   $297.43 -1.90% -0.01%     0.54%   -0.08%    -1.82%     -0.71     47.67%
  7/25/18    7,094,180   $308.74 3.80% 1.17%      -1.85%    1.31%     2.49%      0.97     33.19%
  7/26/18    4,630,522   $306.65 -0.68% -1.01%    -1.56%   -1.81%     1.13%      0.44     65.89%
  7/27/18    5,703,326   $297.18 -3.09% -1.46%     2.49%   -1.92%    -1.17%     -0.46     64.75%
  7/30/18    6,814,072   $290.17 -2.36% -1.38%     1.81%   -1.90%    -0.46%     -0.18     85.72%
  7/31/18    5,076,916   $298.14 2.75% 0.55%       0.89%    0.79%     1.96%      0.77     44.51%
   8/1/18   10,129,430   $300.84 0.91% 0.46%      -2.26%    0.24%     0.67%      0.26     79.37%
   8/2/18   23,214,962   $349.54 16.19% 1.24%     -0.71%    1.57%    14.62%      5.65      0.00% **
   8/3/18   13,656,486   $348.17 -0.39% 0.12%      1.65%    0.26%    -0.66%     -0.26     79.79%
   8/6/18    8,564,331   $341.99 -1.77% 0.62%     -0.42%    0.72%    -2.49%     -0.98     33.10%
   8/7/18   30,875,768   $379.57 10.99% 0.31%      0.49%    0.38%    10.61%      4.15      0.01% **
   8/8/18   24,571,163   $370.34 -2.43% 0.06%     -0.23%   -0.07%    -2.36%     -0.92     35.71%
   8/9/18   17,183,811   $352.45 -4.83% 0.05%     -0.73%   -0.17%    -4.67%     -1.83      7.04%
  8/10/18   11,552,044   $355.49 0.86% -0.63%     -1.41%   -1.24%     2.11%      0.82     41.15%
  8/13/18   10,463,881   $356.41 0.26% -0.25%     -1.49%   -0.69%     0.95%      0.37     71.12%
  8/14/18    6,986,427   $347.64 -2.46% 0.66%      0.25%    0.85%    -3.32%     -1.30     19.70%
  8/15/18    9,101,258   $338.69 -2.57% -1.20%     0.05%   -1.87%    -0.71%     -0.28     78.27%
  8/16/18    6,064,033   $335.45 -0.96% 0.43%      0.64%    0.58%    -1.54%     -0.60     54.85%
  8/17/18   18,958,612   $305.50 -8.93% 0.13%      0.86%    0.17%    -9.10%     -3.56      0.05% **

Notes:
[1] Trading day.
[2] Reported composite U.S. volume. Source: Bloomberg.
[3] Reported composite U.S. price. Source: Bloomberg.
[4] ={[3] / [3] on previous trading day} - 1.


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                                               Appendix F
                                     Tesla, Inc. Common Stock Data
    [1]         [2]        [3]       [4]       [5]          [6]         [7]          [8]          [9]         [10]
                                                          Excess
                                               Market Industry Predicted Abnormal
   Date        Volume      Price Return Return Return                 Return       Return t-statistic p-Value
[5] Daily return for the Nasdaq Composite Total Return Index. Source: Bloomberg.
[6] Daily industry return is the daily return for the Dow Jones US Automobiles & Parts Total Return Index (after
    removing Tesla's daily return based on its daily index weight from the index return). Source: Bloomberg. The
    Excess INDUSTRYt returns are used to account for industry-wide effects in the market model, after removing
    the effect of market returns. The formula for removing the effect of market returns from the industry return is
    {industry return – (intercept + beta * market return)}. The intercept (-0.0012) and beta (0.7487) are estimated
    by regressing daily industry returns on market returns over the period 2/14/2018 to 8/17/2018.
[7] = Intercept + {coefficient for market return x [5]} + {coefficient for excess industry return x [6]}. Intercept,
    coefficients for market returns and excess industry returns are from a market model regression estimated over
    the 120-trading days prior to the Class Period (2/14/2018 - 8/6/2018). The market model includes two dummy
    dates: 5/3/2018 and 8/2/2018. See the intercept, coefficients for the market return and excess industry return
    of the market model are -0.0013, 1.4527, and 0.1344, respectively.
[8] On dummy dates, [8] = coefficient on respective dummy variables; for other dates, [8] = [4] - [7].
[9] On dummy dates, [9] = t-statistics of coefficients on respective dummy variables; for other dates, [9]
    = [8] / Root MSE of the market model estimated over the 120-trading days prior to the Class Period
    (2/14/2018 - 8/6/2018). The Root MSE of the market model is equal to 0.0255.
[10] Two-tailed p-value associated with the t-statistic in [9]. ** denotes p-value is less than or equal to 1% and
    * denotes p-value is less than or equal to 5%.




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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-08-10   $110.00       1     $252.25  $252.25  $252.25     $3.29    0.91%     1,560          0     0.0%         ---     0.8       1      166.7%    125.0%
 C      TSLA   2018-08-10   $165.00       3     $183.40  $194.70  $190.93     $3.59    1.00%     1,560          0     0.0%         ---     1.3       2      300.0%    187.5%
 C      TSLA   2018-08-10   $170.00       2     $206.94  $207.56  $207.25     $3.54    0.98%     1,560          0     0.0%         ---     0.5       1      500.0%    250.0%
 C      TSLA   2018-08-10   $180.00       2     $196.96  $197.54  $197.25     $3.54    0.98%     1,560          0     0.0%         ---     0.5       1      500.0%    250.0%
 C      TSLA   2018-08-10   $190.00       2     $183.94  $184.16  $184.05     $3.66    1.01%     1,560          0     0.0%         ---     1.5       2      166.7%    125.0%
 C      TSLA   2018-08-10   $200.00      13     $155.50  $181.80  $166.48     $3.56    0.99%     1,560          0     0.0%         ---     3.0       6      541.7%    270.8%
 C      TSLA   2018-08-10   $210.00       2     $135.78  $136.51  $136.15     $3.56    0.99%     1,560          0     0.0%         ---     1.3       2      200.0%    125.0%
 C      TSLA   2018-08-10   $225.00       1     $149.15  $149.15  $149.15     $3.54    0.98%     1,560          0     0.0%         ---     0.5       1      250.0%    125.0%
 C      TSLA   2018-08-10   $245.00       1     $107.00  $107.00  $107.00     $3.58    0.99%     1,560          0     0.0%         ---     8.0       8       15.6%     15.6%
 C      TSLA   2018-08-10   $260.00       7      $84.12  $121.55  $101.24     $3.12    0.87%     1,560          0     0.0%         ---   106.8     109        8.2%      8.0%
 C      TSLA   2018-08-10   $265.00       1      $79.10   $79.10   $79.10     $3.60    1.00%     1,560          0     0.0%         ---     1.3       2      100.0%     62.5%
 C      TSLA   2018-08-10   $270.00      20      $74.84  $104.25   $96.33     $3.33    0.92%     1,560          0     0.0%         ---    34.5      45       72.5%     55.6%
 C      TSLA   2018-08-10   $272.50       1      $92.00   $92.00   $92.00     $3.52    0.98%     1,560          0     0.0%         ---     3.5       8       35.7%     15.6%
 C      TSLA   2018-08-10   $280.00     167      $63.09   $98.80   $86.48     $3.12    0.87%     1,560          0     0.0%         ---   125.0     201      167.0%    103.9%
 C      TSLA   2018-08-10   $285.00      80      $61.37   $96.57   $71.54     $3.09    0.86%     1,463          0     0.0%         ---    94.5     154      105.8%     64.9%
 C      TSLA   2018-08-10   $290.00       7      $62.85   $75.50   $69.31     $3.34    0.93%     1,560          0     0.0%         ---    90.0      91        9.7%      9.6%
 C      TSLA   2018-08-10   $292.50      15      $51.15   $81.55   $62.97     $3.30    0.91%     1,463          0     0.0%         ---    47.8      48       39.3%     39.1%
 C      TSLA   2018-08-10   $295.00      51      $46.17   $79.25   $55.41     $3.18    0.88%     1,560          0     0.0%         ---    94.0     121       67.8%     52.7%
 C      TSLA   2018-08-10   $297.50      17      $44.04   $78.44   $56.63     $3.20    0.89%     1,560          0     0.0%         ---    99.0     101       21.5%     21.0%
 C      TSLA   2018-08-10   $300.00     462      $42.22   $81.94   $61.59     $2.81    0.78%     1,560          0     0.0%         ---   416.0     435      138.8%    132.8%
 C      TSLA   2018-08-10   $302.50     110      $41.00   $59.20   $49.32     $2.87    0.79%     1,560          0     0.0%         ---   153.0     159       89.9%     86.5%
 C      TSLA   2018-08-10   $305.00     146      $40.00   $81.00   $54.60     $2.92    0.81%     1,560          0     0.0%         ---   244.3     290       74.7%     62.9%
 C      TSLA   2018-08-10   $307.50      61      $36.01   $75.00   $57.94     $2.90    0.80%     1,560          0     0.0%         ---   105.3     112       72.4%     68.1%
 C      TSLA   2018-08-10   $310.00     235      $30.98   $71.80   $55.57     $2.84    0.79%     1,560          0     0.0%         ---   446.3     501       65.8%     58.6%
 C      TSLA   2018-08-10   $312.50      35      $43.67   $69.16   $58.81     $2.94    0.82%     1,560          0     0.0%         ---   151.3     157       28.9%     27.9%
 C      TSLA   2018-08-10   $315.00      96      $26.50   $68.40   $48.52     $2.88    0.80%     1,560          0     0.0%         ---   684.5     707       17.5%     17.0%
 C      TSLA   2018-08-10   $317.50      55      $31.35   $63.50   $46.51     $3.02    0.84%     1,560          0     0.0%         ---   103.3     111       66.6%     61.9%
 C      TSLA   2018-08-10   $320.00     405      $20.61   $63.44   $38.43     $2.60    0.72%     1,560          0     0.0%         ---   399.0     439      126.9%    115.3%
 C      TSLA   2018-08-10   $322.50      23      $26.25   $59.10   $43.59     $2.84    0.78%     1,560          0     0.0%         ---   276.8     283       10.4%     10.2%
 C      TSLA   2018-08-10   $325.00     563      $17.07   $56.60   $32.89     $2.71    0.75%     1,560          0     0.0%         ---   453.8     497      155.1%    141.6%
 C      TSLA   2018-08-10   $327.50     134      $14.80   $53.95   $27.58     $2.70    0.75%     1,560          0     0.0%         ---   245.3     273       68.3%     61.4%
 C      TSLA   2018-08-10   $330.00   1,114      $12.00   $58.55   $30.07     $2.15    0.60%     1,560          0     0.0%         ---   931.8   1,037      149.4%    134.3%
 C      TSLA   2018-08-10   $332.50     404      $10.80   $45.40   $20.37     $2.48    0.68%     1,560          0     0.0%         ---   354.8     390      142.4%    129.5%
 C      TSLA   2018-08-10   $335.00   1,585       $8.85   $48.10   $30.26     $2.31    0.64%     1,560          0     0.0%         --- 1,269.8   1,542      156.0%    128.5%
 C      TSLA   2018-08-10   $337.50   1,171       $7.40   $39.87   $12.85     $2.44    0.67%     1,560          0     0.0%         ---   537.8     549      272.2%    266.6%
 C      TSLA   2018-08-10   $340.00   4,112       $5.80   $45.00   $14.93     $1.44    0.40%     1,463          0     0.0%         --- 1,278.8   1,375      402.0%    373.8%
 C      TSLA   2018-08-10   $342.50   1,749       $4.62   $50.35   $12.27     $1.79    0.49%     1,560          0     0.0%         ---   649.5     728      336.6%    300.3%
 C      TSLA   2018-08-10   $345.00   8,688       $3.40   $39.36   $11.06     $1.46    0.40%     1,560          0     0.0%         --- 2,415.5   2,563      449.6%    423.7%
 C      TSLA   2018-08-10   $347.50   4,337       $2.70   $37.00     $8.58    $2.76    0.76%     1,560          0     0.0%         ---   766.3     860      707.5%    630.4%



                                                                                                                                                                           p. 1 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-08-10   $350.00 26,072        $1.82   $37.00     $6.91    $1.84    0.51%     1,560          2     0.1%     0.09%   3,044.0   3,949     1070.6%    825.3%
 C      TSLA   2018-08-10   $352.50 11,290        $1.01   $35.75     $4.94    $0.94    0.26%     1,463          1     0.1%     0.02%   1,068.8   1,541     1320.5%    915.8%
 C      TSLA   2018-08-10   $355.00 35,677        $0.18   $30.00     $4.07    $0.74    0.20%     1,463          1     0.1%     0.07%   2,447.3   2,838     1822.3% 1571.4%
 C      TSLA   2018-08-10   $357.50 20,418        $0.01   $28.60     $2.66    $0.72    0.20%     1,463          0     0.0%         ---   742.5   1,256     3437.4% 2032.0%
 C      TSLA   2018-08-10   $360.00 46,209        $0.04   $26.00     $3.68    $0.81    0.22%     1,560          1     0.1%     0.09%   3,442.3   5,419     1678.0% 1065.9%
 C      TSLA   2018-08-10   $362.50 18,533        $0.01   $24.00     $2.77    $1.12    0.30%     1,560          0     0.0%         --- 1,481.5   2,788     1563.7%    830.9%
 C      TSLA   2018-08-10   $365.00 31,592        $0.01   $22.00     $3.65    $1.03    0.28%     1,560          1     0.1%     0.05%   3,852.5   4,729     1025.0%    835.1%
 C      TSLA   2018-08-10   $367.50   9,289       $0.01   $23.00     $3.55    $1.05    0.29%     1,560          0     0.0%         --- 1,260.8   1,328      921.0%    874.3%
 C      TSLA   2018-08-10   $370.00 36,559        $0.01   $18.00     $3.62    $0.55    0.15%     1,463          1     0.1%     0.18%   4,493.5   5,581     1017.0%    818.8%
 C      TSLA   2018-08-10   $372.50   9,365       $0.01   $18.50     $4.26    $0.58    0.16%     1,560          0     0.0%         --- 1,501.5   1,912      779.6%    612.3%
 C      TSLA   2018-08-10   $375.00 25,015        $0.01   $14.00     $4.18    $0.33    0.09%     1,560          0     0.0%         --- 2,467.0   3,058     1267.5% 1022.5%
 C      TSLA   2018-08-10   $377.50   6,986       $0.01   $14.30     $3.83    $0.81    0.22%     1,463          0     0.0%         ---   798.8   1,252     1093.3%    697.5%
 C      TSLA   2018-08-10   $380.00 35,434        $0.01   $12.00     $3.21    $0.29    0.08%     1,560          0     0.0%         --- 4,583.5   6,358      966.3%    696.6%
 C      TSLA   2018-08-10   $382.50   5,994       $0.01   $12.75     $3.49    $0.48    0.13%     1,560          0     0.0%         ---   640.3   1,137     1170.2%    659.0%
 C      TSLA   2018-08-10   $385.00 13,684        $0.01    $8.95     $2.46    $0.38    0.10%     1,560          1     0.1%     0.11%   2,407.0   3,449      710.6%    495.9%
 C      TSLA   2018-08-10   $387.50   3,725       $0.01    $9.40     $2.05    $0.46    0.13%     1,560          0     0.0%         ---   427.8     738     1088.5%    630.9%
 C      TSLA   2018-08-10   $390.00 21,168        $0.01    $7.50     $2.13    $0.24    0.07%     1,560          0     0.0%         --- 3,224.3   4,358      820.7%    607.2%
 C      TSLA   2018-08-10   $392.50   2,888       $0.01    $6.33     $1.65    $0.46    0.13%     1,560          0     0.0%         ---   522.5     876      690.9%    412.1%
 C      TSLA   2018-08-10   $395.00   7,756       $0.01    $6.00     $1.29    $0.17    0.05%     1,560          0     0.0%         --- 1,371.0   2,011      707.1%    482.1%
 C      TSLA   2018-08-10   $397.50     923       $0.01    $9.00     $1.26    $0.27    0.07%     1,560          0     0.0%         ---   168.5     266      684.7%    433.7%
 C      TSLA   2018-08-10   $400.00 31,846        $0.01    $4.50     $1.24    $0.10    0.03%     1,560          0     0.0%         --- 4,990.0   6,719      797.7%    592.5%
 C      TSLA   2018-08-10   $402.50   2,389       $0.01    $4.00     $0.74    $0.45    0.12%     1,560          0     0.0%         ---   697.5   1,318      428.1%    226.6%
 C      TSLA   2018-08-10   $405.00   5,482       $0.01    $3.30     $0.82    $0.40    0.11%     1,560          0     0.0%         --- 1,086.3   1,561      630.8%    439.0%
 C      TSLA   2018-08-10   $410.00 11,416        $0.01    $2.75     $0.53    $0.07    0.02%     1,463          0     0.0%         --- 2,661.3   4,090      536.2%    348.9%
 C      TSLA   2018-08-10   $415.00   6,915       $0.01    $1.80     $0.34    $0.37    0.10%     1,560          0     0.0%         --- 1,512.0   2,336      571.7%    370.0%
 C      TSLA   2018-08-10   $420.00   9,885       $0.01    $1.43     $0.28    $0.35    0.10%     1,560          0     0.0%         --- 2,194.8   3,827      563.0%    322.9%
 C      TSLA   2018-08-10   $425.00   2,608       $0.01    $1.74     $0.25    $0.36    0.10%     1,560          0     0.0%         --- 1,291.3   1,477      252.5%    220.7%
 C      TSLA   2018-08-10   $430.00   1,374       $0.01    $2.49     $0.19    $0.36    0.10%     1,560          0     0.0%         ---   597.5     854      287.4%    201.1%
 C      TSLA   2018-08-10   $435.00     746       $0.01    $1.50     $0.16    $0.36    0.10%     1,560          0     0.0%         ---   528.3     668      176.5%    139.6%
 C      TSLA   2018-08-10   $440.00   1,815       $0.01    $0.33     $0.09    $0.10    0.03%     1,560          0     0.0%         ---   773.3   1,227      293.4%    184.9%
 C      TSLA   2018-08-10   $445.00     727       $0.01    $0.21     $0.06    $0.35    0.10%     1,560          0     0.0%         ---   328.0     565      277.1%    160.8%
 C      TSLA   2018-08-10   $450.00   1,597       $0.01    $0.40     $0.06    $0.15    0.04%     1,560          0     0.0%         ---   862.5   1,355      231.4%    147.3%
 C      TSLA   2018-08-10   $455.00     306       $0.01    $2.54     $0.07    $0.38    0.10%     1,560          0     0.0%         ---   266.0     363      143.8%    105.4%
 C      TSLA   2018-08-10   $460.00     814       $0.01    $0.58     $0.08    $0.36    0.10%     1,560          0     0.0%         ---   525.5     715      193.6%    142.3%
 C      TSLA   2018-08-10   $465.00     130       $0.01    $0.10     $0.06    $0.35    0.10%     1,560          0     0.0%         ---    75.5      96      215.2%    169.3%
 C      TSLA   2018-08-10   $470.00     558       $0.01    $0.15     $0.05    $0.08    0.02%     1,560          0     0.0%         ---   279.0     439      250.0%    158.9%
 C      TSLA   2018-08-10   $475.00     162       $0.03    $0.10     $0.07    $0.04    0.01%     1,560          0     0.0%         ---   351.8     371       57.6%     54.6%
 C      TSLA   2018-08-10   $480.00      63       $0.02    $0.11     $0.07    $0.45    0.12%     1,560          0     0.0%         ---    34.8      50      226.6%    157.5%
 C      TSLA   2018-08-10   $485.00      42       $0.02    $0.10     $0.09    $0.40    0.11%     1,560          0     0.0%         ---   144.0     155       36.5%     33.9%



                                                                                                                                                                           p. 2 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]       [18]
                                                                                                                                                          Weekly     Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open       Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest   Interest
 C      TSLA   2018-08-10   $490.00      39       $0.02    $0.10     $0.07    $0.19    0.05%     1,560          0     0.0%         ---    25.8      39      189.3%     125.0%
 C      TSLA   2018-08-10   $495.00      27       $0.02    $0.10     $0.09    $0.24    0.07%     1,560          0     0.0%         ---    28.8      36      117.4%      93.8%
 C      TSLA   2018-08-10   $500.00     533       $0.01    $0.10     $0.06    $0.02    0.01%     1,560          0     0.0%         ---   493.3     640      135.1%     104.1%
 C      TSLA   2018-08-10   $510.00      38       $0.01    $2.38     $0.32    $0.42    0.11%     1,560          0     0.0%         ---    37.3      54      127.5%      88.0%
 C      TSLA   2018-08-10   $520.00      31       $0.01    $0.02     $0.01    $0.41    0.11%     1,560          0     0.0%         ---    34.3      50      113.1%      77.5%
 C      TSLA   2018-08-10   $530.00     195       $0.01    $0.04     $0.01    $0.33    0.09%     1,560          0     0.0%         ---   148.8     257      163.9%      94.8%
 C      TSLA   2018-08-10   $540.00     477       $0.01    $0.04     $0.02    $0.35    0.09%     1,560          0     0.0%         ---   712.8     849       83.7%      70.2%
 C      TSLA   2018-08-10   $550.00       2       $0.03    $0.03     $0.03    $0.34    0.09%     1,560          0     0.0%         ---     1.5       2      166.7%     125.0%
 C      TSLA   2018-08-17    $40.00       1     $327.00  $327.00  $327.00     $3.24    0.93%     3,510          0     0.0%         ---     0.0       0           ---        ---
 C      TSLA   2018-08-17   $180.00       3     $158.00  $177.00  $169.67     $2.98    0.85%     3,510          0     0.0%         ---   100.1     101        1.7%       1.7%
 C      TSLA   2018-08-17   $200.00      56     $107.50  $172.10  $118.76     $3.15    0.90%     3,510          0     0.0%         ---    48.0      50       64.8%      62.2%
 C      TSLA   2018-08-17   $220.00      17     $134.00  $140.40  $134.40     $3.10    0.89%     3,510          0     0.0%         ---   173.3     301        5.4%       3.1%
 C      TSLA   2018-08-17   $230.00       1     $104.70  $104.70  $104.70     $3.18    0.91%     3,510          0     0.0%         ---     7.0       8        7.9%       6.9%
 C      TSLA   2018-08-17   $240.00      17      $67.75  $125.30   $75.91     $3.16    0.90%     3,413          0     0.0%         ---    20.0      20       47.2%      47.2%
 C      TSLA   2018-08-17   $245.00       3     $119.74  $119.74  $119.74     $3.15    0.90%     3,510          0     0.0%         ---    10.7      14       15.6%      11.9%
 C      TSLA   2018-08-17   $250.00      78      $55.00  $132.35   $98.84     $3.03    0.87%     3,510          0     0.0%         ---    86.4      92       50.1%      47.1%
 C      TSLA   2018-08-17   $255.00       4      $83.52  $116.45   $91.75     $3.11    0.89%     3,510          0     0.0%         ---    20.1      21       11.0%      10.6%
 C      TSLA   2018-08-17   $260.00     210      $54.48  $128.35   $80.65     $2.86    0.82%     3,510          0     0.0%         ---   372.6     402       31.3%      29.0%
 C      TSLA   2018-08-17   $265.00      27      $54.00  $116.02   $90.23     $2.97    0.85%     3,510          0     0.0%         ---    63.4      72       23.6%      20.8%
 C      TSLA   2018-08-17   $270.00      82      $33.50  $105.00   $61.33     $2.79    0.80%     3,510          0     0.0%         ---   187.2     196       24.3%      23.2%
 C      TSLA   2018-08-17   $275.00     473      $29.18   $94.10   $44.53     $2.67    0.76%     3,510          0     0.0%         ---   602.8     618       43.6%      42.5%
 C      TSLA   2018-08-17   $280.00     375      $24.80  $101.09   $66.24     $2.64    0.76%     3,413          0     0.0%         ---   326.7     356       63.8%      58.5%
 C      TSLA   2018-08-17   $282.50     830      $34.00   $70.90   $34.87     $2.62    0.75%     3,510          0     0.0%         ---   812.2     820       56.8%      56.2%
 C      TSLA   2018-08-17   $285.00     691      $19.50   $98.00   $35.27     $2.61    0.75%     3,510          0     0.0%         ---   842.3     874       45.6%      43.9%
 C      TSLA   2018-08-17   $287.50      10      $17.29   $17.29   $17.29     $2.96    0.85%     3,510          0     0.0%         ---     0.0       0           ---        ---
 C      TSLA   2018-08-17   $290.00     567      $14.05   $93.50   $39.99     $2.60    0.75%     3,510          0     0.0%         ---   590.1     655       53.4%      48.1%
 C      TSLA   2018-08-17   $292.50      33      $12.00   $78.62   $38.63     $2.79    0.80%     3,510          0     0.0%         ---    77.6      84       23.6%      21.8%
 C      TSLA   2018-08-17   $295.00     381       $9.95   $80.42   $29.34     $2.59    0.74%     3,510          0     0.0%         ---   570.3     591       37.1%      35.8%
 C      TSLA   2018-08-17   $297.50     145       $7.14   $88.85   $24.98     $2.59    0.74%     3,510          0     0.0%         ---   246.2     251       32.7%      32.1%
 C      TSLA   2018-08-17   $300.00   3,406       $3.40   $83.50   $24.97     $2.35    0.67%     3,510          0     0.0%         --- 2,417.4   2,576       78.3%      73.5%
 C      TSLA   2018-08-17   $302.50     883       $1.80   $83.75   $13.56     $2.44    0.70%     3,510          0     0.0%         ---   238.6     243      205.6%     201.9%
 C      TSLA   2018-08-17   $305.00   3,536       $0.50   $77.00     $7.67    $2.30    0.65%     3,510          0     0.0%         --- 1,535.8   1,579      127.9%     124.4%
 C      TSLA   2018-08-17   $307.50   5,222       $0.02   $67.78     $2.17    $2.32    0.66%     3,510          0     0.0%         ---   318.1     325      912.0%     892.6%
 C      TSLA   2018-08-17   $310.00 19,969        $0.01   $77.00     $3.63    $2.19    0.62%     3,510          0     0.0%         --- 2,148.1   2,350      516.4%     472.1%
 C      TSLA   2018-08-17   $312.50   6,778       $0.01   $56.00     $1.66    $2.30    0.65%     3,510          0     0.0%         ---   124.8     141     3017.8% 2670.6%
 C      TSLA   2018-08-17   $315.00   9,460       $0.01   $68.00     $3.21    $2.05    0.58%     3,510          0     0.0%         --- 1,503.3   1,559      349.6%     337.1%
 C      TSLA   2018-08-17   $317.50   6,257       $0.01   $63.75     $1.89    $2.08    0.59%     3,510          0     0.0%         ---   120.0     135     2896.8% 2574.9%
 C      TSLA   2018-08-17   $320.00 12,104        $0.01   $67.80     $5.28    $1.59    0.45%     3,413          0     0.0%         --- 3,253.6   3,311      206.7%     203.1%
 C      TSLA   2018-08-17   $322.50   2,332       $0.01   $53.84     $1.81    $1.86    0.52%     3,413          0     0.0%         ---   111.7     117     1160.2% 1107.3%



                                                                                                                                                                              p. 3 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-08-17   $325.00   7,432       $0.01   $58.93     $2.90    $2.70    0.75%     3,510          0     0.0%         --- 1,523.9   1,554      270.9%    265.7%
 C      TSLA   2018-08-17   $327.50   4,200       $0.01   $51.85     $3.40    $1.39    0.39%     3,413          0     0.0%         ---   287.7     685      811.1%    340.6%
 C      TSLA   2018-08-17   $330.00   6,201       $0.01   $62.00     $8.01    $1.23    0.35%     3,413          0     0.0%         --- 4,165.6   4,343       82.7%     79.3%
 C      TSLA   2018-08-17   $332.50   3,074       $0.01   $52.50     $5.26    $1.14    0.32%     3,510          0     0.0%         ---   366.4     896      466.0%    190.6%
 C      TSLA   2018-08-17   $335.00   9,933       $0.01   $52.86     $6.59    $0.99    0.28%     3,510          0     0.0%         --- 2,549.7   3,598      216.4%    153.4%
 C      TSLA   2018-08-17   $337.50   7,569       $0.01   $47.35     $4.72    $0.88    0.24%     3,510          0     0.0%         ---   623.1   1,525      674.8%    275.7%
 C      TSLA   2018-08-17   $340.00 23,022        $0.01   $48.00     $6.32    $0.79    0.22%     3,510          0     0.0%         --- 3,641.1   5,492      351.3%    232.9%
 C      TSLA   2018-08-17   $342.50   9,786       $0.01   $40.22     $3.88    $0.61    0.17%     3,413          0     0.0%         --- 1,037.9   2,951      523.8%    184.2%
 C      TSLA   2018-08-17   $345.00 18,375        $0.01   $40.04     $4.57    $0.53    0.15%     3,413          0     0.0%         --- 2,457.6   4,577      415.4%    223.0%
 C      TSLA   2018-08-17   $347.50   7,425       $0.01   $35.86     $5.51    $0.63    0.17%     3,413          0     0.0%         ---   856.7   1,558      481.5%    264.8%
 C      TSLA   2018-08-17   $350.00 35,501        $0.01   $39.40     $8.03    $0.92    0.25%     3,510          1     0.0%     0.12%   7,570.0   7,982      260.5%    247.1%
 C      TSLA   2018-08-17   $352.50 13,425        $0.01   $33.20     $4.76    $0.41    0.11%     3,413          0     0.0%         --- 1,251.4   2,853      596.0%    261.4%
 C      TSLA   2018-08-17   $355.00 20,625        $0.01   $31.91     $6.37    $0.87    0.24%     3,413          2     0.1%     0.12%   2,085.8   3,395      549.4%    337.5%
 C      TSLA   2018-08-17   $357.50   8,002       $0.01   $28.88     $6.63    $0.43    0.12%     3,510          0     0.0%         ---   761.7   1,461      583.7%    304.3%
 C      TSLA   2018-08-17   $360.00 40,554        $0.01   $30.10     $6.18    $1.44    0.39%     3,510          2     0.1%     0.02%   4,533.7   6,321      496.9%    356.4%
 C      TSLA   2018-08-17   $362.50   7,179       $0.01   $25.20     $6.10    $0.40    0.11%     3,510          0     0.0%         ---   702.8   1,269      567.5%    314.3%
 C      TSLA   2018-08-17   $365.00 18,654        $0.01   $25.00     $5.26    $0.35    0.10%     3,510          0     0.0%         --- 2,152.7   2,743      481.4%    377.8%
 C      TSLA   2018-08-17   $367.50   6,144       $0.01   $24.60     $5.19    $0.65    0.18%     3,510          0     0.0%         ---   721.1   1,043      473.3%    327.3%
 C      TSLA   2018-08-17   $370.00 34,931        $0.01   $22.55     $4.89    $0.28    0.08%     3,413          0     0.0%         --- 7,102.8   8,113      273.2%    239.2%
 C      TSLA   2018-08-17   $372.50   7,316       $0.01   $25.90     $4.48    $0.55    0.15%     3,413          0     0.0%         ---   950.4   1,413      427.6%    287.6%
 C      TSLA   2018-08-17   $375.00 19,055        $0.01   $18.00     $5.54    $0.26    0.07%     3,510          0     0.0%         --- 3,950.7   4,634      268.0%    228.4%
 C      TSLA   2018-08-17   $377.50   4,996       $0.01   $25.08     $4.42    $0.48    0.13%     3,510          0     0.0%         --- 1,058.9   1,516      262.1%    183.1%
 C      TSLA   2018-08-17   $380.00 36,478        $0.01   $16.00     $3.40    $0.23    0.06%     3,510          2     0.1%     0.17%   5,830.1   8,048      347.6%    251.8%
 C      TSLA   2018-08-17   $382.50   3,350       $0.01   $18.00     $3.30    $0.29    0.08%     3,510          0     0.0%         ---   615.2   1,082      302.5%    172.0%
 C      TSLA   2018-08-17   $385.00 14,777        $0.01   $16.00     $3.02    $0.39    0.11%     3,510          0     0.0%         --- 2,635.3   3,921      311.5%    209.4%
 C      TSLA   2018-08-17   $387.50   2,426       $0.01   $12.70     $2.18    $0.28    0.08%     3,510          0     0.0%         ---   420.2     692      320.7%    194.8%
 C      TSLA   2018-08-17   $390.00 18,064        $0.01   $11.05     $2.78    $0.27    0.07%     3,510          0     0.0%         --- 3,772.6   4,493      266.0%    223.4%
 C      TSLA   2018-08-17   $392.50   1,613       $0.01   $10.00     $2.25    $0.27    0.07%     3,510          0     0.0%         ---   401.7     652      223.1%    137.4%
 C      TSLA   2018-08-17   $395.00   9,101       $0.01    $9.50     $1.62    $0.24    0.07%     3,510          0     0.0%         --- 1,982.1   3,062      255.1%    165.1%
 C      TSLA   2018-08-17   $397.50   1,486       $0.01    $8.00     $1.48    $0.26    0.07%     3,510          0     0.0%         ---   327.0     527      252.5%    156.7%
 C      TSLA   2018-08-17   $400.00 39,663        $0.01    $7.95     $1.89    $0.10    0.03%     3,510          0     0.0%         --- 9,725.0  11,594      226.6%    190.1%
 C      TSLA   2018-08-17   $402.50   3,076       $0.01    $6.00     $2.33    $0.23    0.06%     3,510          0     0.0%         ---   672.7   1,111      254.0%    153.8%
 C      TSLA   2018-08-17   $405.00   6,426       $0.01    $5.29     $1.28    $0.23    0.06%     3,510          0     0.0%         --- 2,298.3   2,991      155.3%    119.4%
 C      TSLA   2018-08-17   $407.50     190       $0.01    $0.85     $0.36    $0.07    0.02%     2,340          0     0.0%         ---   105.0     147      150.8%    107.7%
 C      TSLA   2018-08-17   $410.00   9,278       $0.01    $6.70     $1.25    $0.21    0.06%     3,510          0     0.0%         --- 2,536.6   3,355      203.2%    153.6%
 C      TSLA   2018-08-17   $412.50     199       $0.03    $0.63     $0.24    $0.08    0.02%     2,340          0     0.0%         ---    58.7      76      282.7%    218.2%
 C      TSLA   2018-08-17   $415.00   6,532       $0.01    $3.00     $1.08    $0.22    0.06%     3,510          0     0.0%         --- 2,361.3   2,907      153.7%    124.8%
 C      TSLA   2018-08-17   $420.00 16,252        $0.01    $2.81     $0.71    $0.09    0.02%     3,510          0     0.0%         --- 4,916.7   6,152      183.6%    146.8%
 C      TSLA   2018-08-17   $425.00   7,022       $0.01    $2.01     $0.77    $0.09    0.03%     3,510          0     0.0%         --- 2,844.9   3,583      137.1%    108.9%



                                                                                                                                                                           p. 4 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]       [18]
                                                                                                                                                          Weekly     Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open       Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest   Interest
 C      TSLA   2018-08-17   $430.00   2,605       $0.01    $1.66     $0.52    $0.22    0.06%     3,510          0     0.0%         --- 1,037.9   1,442      139.4%     100.4%
 C      TSLA   2018-08-17   $435.00     424       $0.01    $1.10     $0.32    $0.22    0.06%     3,510          0     0.0%         ---   448.1     504       52.6%      46.7%
 C      TSLA   2018-08-17   $440.00   2,851       $0.01    $0.85     $0.24    $0.16    0.04%     3,510          0     0.0%         --- 1,572.3   1,841      100.7%      86.0%
 C      TSLA   2018-08-17   $445.00     190       $0.01    $0.67     $0.24    $0.24    0.07%     3,510          0     0.0%         ---   193.6     209       54.5%      50.5%
 C      TSLA   2018-08-17   $450.00   4,968       $0.01    $0.80     $0.14    $0.08    0.02%     3,510          0     0.0%         --- 3,299.0   4,028       83.7%      68.5%
 C      TSLA   2018-08-17   $455.00   1,410       $0.01    $0.46     $0.12    $0.22    0.06%     3,510          0     0.0%         ---   999.6   1,417       78.4%      55.3%
 C      TSLA   2018-08-17   $460.00   3,099       $0.01    $0.45     $0.09    $0.06    0.02%     3,510          0     0.0%         --- 3,470.1   4,034       49.6%      42.7%
 C      TSLA   2018-08-17   $465.00     519       $0.03    $0.70     $0.11    $0.22    0.06%     3,510          0     0.0%         ---   325.6     424       88.6%      68.0%
 C      TSLA   2018-08-17   $470.00     367       $0.01    $0.20     $0.05    $0.25    0.07%     3,510          0     0.0%         ---   259.7     355       78.5%      57.4%
 C      TSLA   2018-08-17   $475.00     545       $0.03    $0.50     $0.06    $0.06    0.02%     3,510          0     0.0%         ---   598.7     693       50.6%      43.7%
 C      TSLA   2018-08-17   $480.00     193       $0.01    $0.25     $0.07    $0.20    0.06%     3,510          0     0.0%         ---   273.8     329       39.2%      32.6%
 C      TSLA   2018-08-17   $485.00     460       $0.01    $0.32     $0.04    $0.15    0.04%     3,510          0     0.0%         ---   522.2     629       48.9%      40.6%
 C      TSLA   2018-08-17   $490.00      20       $0.01    $0.20     $0.05    $0.28    0.08%     3,510          0     0.0%         ---    81.2      84       13.7%      13.2%
 C      TSLA   2018-08-17   $495.00     161       $0.01    $0.20     $0.01    $0.26    0.07%     3,510          0     0.0%         ---   228.0     317       39.2%      28.2%
 C      TSLA   2018-08-17   $500.00   2,682       $0.01    $0.30     $0.04    $0.03    0.01%     3,510          0     0.0%         --- 3,638.6   4,254       41.0%      35.0%
 C      TSLA   2018-08-17   $505.00     201       $0.01    $0.01     $0.01    $0.22    0.06%     3,510          0     0.0%         ---   285.9     397       39.1%      28.1%
 C      TSLA   2018-08-17   $515.00       3       $0.03    $0.03     $0.03    $0.23    0.06%     3,510          0     0.0%         ---   298.3     301        0.6%       0.6%
 C      TSLA   2018-08-17   $520.00     265       $0.01    $0.10     $0.03    $0.18    0.05%     3,510          0     0.0%         --- 2,033.9   2,103        7.2%       7.0%
 C      TSLA   2018-08-17   $525.00   2,587       $0.02    $0.08     $0.03    $0.16    0.04%     3,510          0     0.0%         --- 2,196.2   3,012       65.4%      47.7%
 C      TSLA   2018-08-17   $530.00      10       $0.06    $0.06     $0.06    $0.35    0.10%     3,510          0     0.0%         ---     8.9      10       62.5%      55.6%
 C      TSLA   2018-08-17   $545.00     216       $0.01    $0.10     $0.01    $0.26    0.07%     3,510          0     0.0%         ---   152.6     244       78.7%      49.2%
 C      TSLA   2018-08-17   $550.00     108       $0.01    $0.14     $0.02    $0.19    0.05%     3,510          0     0.0%         ---   283.7     284       21.2%      21.1%
 C      TSLA   2018-08-17   $555.00     105       $0.01    $0.05     $0.01    $0.20    0.05%     3,510          0     0.0%         ---   145.4     146       40.1%      40.0%
 C      TSLA   2018-08-17   $560.00     105       $0.03    $0.10     $0.04    $0.10    0.03%     3,510          0     0.0%         ---    54.2      61      107.6%      95.6%
 C      TSLA   2018-08-17   $570.00     140       $0.01    $0.08     $0.05    $0.18    0.05%     3,510          0     0.0%         ---   119.3     132       65.2%      58.9%
 C      TSLA   2018-08-17   $575.00      40       $0.07    $0.07     $0.07    $0.31    0.08%     3,510          0     0.0%         ---    23.2      41       95.7%      54.2%
 C      TSLA   2018-08-17   $580.00       2       $0.01    $0.07     $0.04    $0.33    0.09%     3,510          0     0.0%         ---     0.4       1      250.0%     111.1%
 C      TSLA   2018-08-17   $590.00       3       $0.01    $0.01     $0.01    $0.34    0.10%     3,510          0     0.0%         ---     1.4       3      115.4%      55.6%
 C      TSLA   2018-08-17   $600.00     265       $0.01    $0.05     $0.03    $0.16    0.04%     3,510          0     0.0%         ---   562.7     592       26.2%      24.9%
 C      TSLA   2018-08-24   $100.00      20     $261.45  $263.15  $262.30     $3.76    1.07%     3,510          0     0.0%         ---     9.0      10      123.5%     111.1%
 C      TSLA   2018-08-24   $160.00       2     $197.10  $198.20  $197.65     $3.64    1.04%     3,510          0     0.0%         ---     0.0       0           ---        ---
 C      TSLA   2018-08-24   $200.00       4     $153.13  $153.40  $153.27     $3.59    1.02%     3,510          0     0.0%         ---     2.8       4       79.4%      55.6%
 C      TSLA   2018-08-24   $220.00       4      $89.70  $136.42  $113.06     $3.52    1.00%     3,510          0     0.0%         ---     0.8       2      277.8%     111.1%
 C      TSLA   2018-08-24   $240.00       6      $68.10   $69.51   $68.81     $3.42    0.97%     3,510          0     0.0%         ---    15.6      21       21.4%      15.9%
 C      TSLA   2018-08-24   $250.00       2      $58.19   $59.78   $58.99     $3.37    0.96%     3,510          0     0.0%         ---     0.0       0           ---        ---
 C      TSLA   2018-08-24   $255.00       1      $90.88   $90.88   $90.88     $3.33    0.95%     3,510          0     0.0%         ---     6.0       6        9.3%       9.3%
 C      TSLA   2018-08-24   $260.00      19      $56.48   $95.71   $89.73     $3.28    0.93%     3,510          0     0.0%         ---    14.4      21       73.3%      50.3%
 C      TSLA   2018-08-24   $265.00       2      $80.98  $116.55   $98.77     $3.23    0.92%     3,510          0     0.0%         ---     2.0       2       55.6%      55.6%
 C      TSLA   2018-08-24   $270.00      23      $42.60   $67.28   $46.63     $3.17    0.90%     3,510          0     0.0%         ---    23.4      42       54.6%      30.4%



                                                                                                                                                                              p. 5 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-08-24   $275.00     526      $36.48   $83.50   $43.42     $3.09    0.88%     3,510          0     0.0%         ---    79.5     546      367.6%     53.5%
 C      TSLA   2018-08-24   $277.50       6      $35.89   $35.89   $35.89     $3.06    0.87%     3,510          0     0.0%         ---     0.6       6      555.6%     55.6%
 C      TSLA   2018-08-24   $280.00     273      $29.00   $94.45   $32.43     $3.01    0.85%     3,510          0     0.0%         ---    19.2     102      789.9%    148.7%
 C      TSLA   2018-08-24   $282.50     812      $30.66   $36.55   $36.54     $2.80    0.80%     3,510          0     0.0%         ---    88.2     819      511.5%     55.1%
 C      TSLA   2018-08-24   $285.00     411      $26.05   $33.10   $32.98     $2.73    0.78%     3,510          0     0.0%         ---    71.9     440      317.6%     51.9%
 C      TSLA   2018-08-24   $287.50       6      $23.70   $70.01   $32.47     $2.67    0.76%     3,510          0     0.0%         ---    12.5      16       26.7%     20.8%
 C      TSLA   2018-08-24   $290.00     201      $20.41   $50.07   $22.30     $2.61    0.74%     3,510          0     0.0%         ---    42.1     158      265.2%     70.7%
 C      TSLA   2018-08-24   $292.50      29      $18.95   $85.25   $31.63     $2.50    0.71%     3,510          0     0.0%         ---    18.2      39       88.5%     41.3%
 C      TSLA   2018-08-24   $295.00     104      $17.07   $66.25   $25.41     $2.38    0.67%     3,510          0     0.0%         ---    81.0     112       71.3%     51.6%
 C      TSLA   2018-08-24   $297.50      93      $15.45   $61.00   $21.36     $2.29    0.65%     3,510          0     0.0%         ---    42.0      82      123.0%     63.0%
 C      TSLA   2018-08-24   $300.00     993      $13.98   $77.50   $20.87     $1.89    0.54%     3,413          0     0.0%         ---  173.3      628      318.3%     87.8%
 C      TSLA   2018-08-24   $302.50     237      $12.25   $61.00   $21.76     $2.07    0.58%     3,510          0     0.0%         ---    34.6     109      380.5%    120.8%
 C      TSLA   2018-08-24   $305.00     911      $10.83   $69.09   $12.84     $1.99    0.56%     3,510          0     0.0%         ---  134.6      554      376.0%     91.4%
 C      TSLA   2018-08-24   $307.50     811       $9.50   $70.15   $13.42     $1.92    0.54%     3,510          1     0.0%     0.01%      72.6     437      620.6%    103.1%
 C      TSLA   2018-08-24   $310.00   3,183       $8.40   $69.05   $10.88     $1.81    0.51%     3,510          0     0.0%         ---  203.6    1,342      868.5%    131.8%
 C      TSLA   2018-08-24   $312.50     573       $7.30   $62.04   $10.47     $1.75    0.49%     3,510          0     0.0%         ---    55.6     278      572.5%    114.5%
 C      TSLA   2018-08-24   $315.00   3,074       $6.30   $60.00     $8.78    $1.66    0.47%     3,510          0     0.0%         ---  183.2    1,002      932.2%    170.4%
 C      TSLA   2018-08-24   $317.50     913       $5.45   $40.35     $7.65    $1.59    0.45%     3,510          0     0.0%         ---    65.7     315      772.0%    161.0%
 C      TSLA   2018-08-24   $320.00   3,763       $3.92   $63.05     $8.80    $1.50    0.42%     3,510          0     0.0%         ---  212.0      945      986.1%    221.2%
 C      TSLA   2018-08-24   $322.50     871       $4.33   $55.20     $8.61    $1.44    0.40%     3,510          0     0.0%         ---  131.9      378      366.9%    128.0%
 C      TSLA   2018-08-24   $325.00   1,643       $2.63   $54.30     $7.05    $1.30    0.36%     3,510          0     0.0%         ---    98.2     495      929.5%    184.4%
 C      TSLA   2018-08-24   $327.50     480       $3.10   $51.90     $7.51    $1.22    0.34%     3,413          0     0.0%         ---    84.7     237      314.8%    112.5%
 C      TSLA   2018-08-24   $330.00   4,750       $2.69   $53.00     $6.97    $1.05    0.29%     3,510          0     0.0%         ---  367.6    1,491      717.9%    177.0%
 C      TSLA   2018-08-24   $332.50     809       $2.40   $33.45     $5.29    $0.99    0.28%     3,510          0     0.0%         ---  129.8      460      346.3%     97.7%
 C      TSLA   2018-08-24   $335.00   2,416       $2.04   $46.00     $8.17    $1.53    0.42%     3,510          0     0.0%         ---  208.9      764      642.5%    175.7%
 C      TSLA   2018-08-24   $337.50     894       $1.73   $44.50     $6.16    $0.88    0.24%     3,510          0     0.0%         ---  102.9      332      482.7%    149.6%
 C      TSLA   2018-08-24   $340.00   6,716       $1.50   $44.15     $8.43    $0.83    0.23%     3,510          1     0.0%     0.01%    495.2    1,866      753.5%    200.0%
 C      TSLA   2018-08-24   $342.50   1,017       $1.30   $37.95     $7.90    $0.66    0.18%     3,413          0     0.0%         ---  127.0      394      444.9%    143.4%
 C      TSLA   2018-08-24   $345.00   1,806       $1.10   $41.11     $7.58    $0.73    0.20%     3,510          0     0.0%         ---  420.6      797      238.5%    125.9%
 C      TSLA   2018-08-24   $347.50   1,003       $0.88   $36.16     $8.09    $0.71    0.20%     3,510          0     0.0%         ---  193.1      417      288.6%    133.6%
 C      TSLA   2018-08-24   $350.00   5,504       $0.76   $37.75     $8.28    $0.66    0.18%     3,510          0     0.0%         ---  677.3    1,469      451.5%    208.2%
 C      TSLA   2018-08-24   $352.50   2,304       $0.70   $33.68     $6.96    $0.64    0.18%     3,510          0     0.0%         ---  318.3      793      402.1%    161.4%
 C      TSLA   2018-08-24   $355.00   3,740       $0.47   $35.00     $8.78    $0.61    0.17%     3,510          0     0.0%         ---  569.3    1,263      365.0%    164.5%
 C      TSLA   2018-08-24   $357.50   1,614       $0.53   $28.70     $7.42    $0.59    0.16%     3,510          0     0.0%         ---  206.7      361      433.8%    248.4%
 C      TSLA   2018-08-24   $360.00 10,249        $0.45   $30.00     $7.31    $0.52    0.14%     3,510          0     0.0%         ---  759.1    1,608      750.1%    354.1%
 C      TSLA   2018-08-24   $362.50   1,591       $0.40   $26.20     $6.20    $0.31    0.09%     3,120          0     0.0%         ---  184.0      410      540.4%    242.5%
 C      TSLA   2018-08-24   $365.00   3,735       $0.33   $26.45     $8.06    $0.49    0.14%     3,510          0     0.0%         ---  662.0      954      313.4%    217.5%
 C      TSLA   2018-08-24   $367.50   1,638       $0.29   $22.50     $3.17    $0.29    0.08%     3,120          0     0.0%         ---  228.6      793      447.9%    129.1%
 C      TSLA   2018-08-24   $370.00   4,392       $0.24   $23.00     $6.03    $0.47    0.13%     3,510          0     0.0%         ---  475.5      873      513.1%    279.5%



                                                                                                                                                                           p. 6 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-08-24   $372.50   1,034       $0.23   $18.90     $5.26    $0.28    0.08%     3,120          0     0.0%         ---   148.8     239      434.4%    270.4%
 C      TSLA   2018-08-24   $375.00   2,578       $0.21   $20.00     $5.74    $0.34    0.10%     3,413          0     0.0%         ---   358.8     650      399.2%    220.3%
 C      TSLA   2018-08-24   $377.50     778       $0.18   $18.50     $8.73    $0.25    0.07%     3,120          0     0.0%         ---   184.3     238      263.8%    204.3%
 C      TSLA   2018-08-24   $380.00   5,478       $0.17   $20.00     $4.37    $0.49    0.14%     3,510          0     0.0%         ---   901.3   1,575      337.7%    193.2%
 C      TSLA   2018-08-24   $382.50     875       $0.19   $15.40     $3.27    $0.25    0.07%     3,120          0     0.0%         ---   212.8     438      257.0%    124.9%
 C      TSLA   2018-08-24   $385.00   2,876       $0.13   $22.00     $3.16    $0.42    0.12%     3,510          0     0.0%         ---   661.9   1,137      241.4%    140.5%
 C      TSLA   2018-08-24   $387.50   1,405       $0.13   $12.75     $3.15    $0.23    0.07%     3,120          0     0.0%         ---   660.1   1,036      133.0%     84.8%
 C      TSLA   2018-08-24   $390.00   3,196       $0.10   $12.34     $2.56    $0.39    0.11%     3,510          0     0.0%         ---   685.1   1,253      259.2%    141.7%
 C      TSLA   2018-08-24   $392.50     390       $0.13    $9.95     $2.69    $0.24    0.07%     3,120          0     0.0%         ---    89.4     189      272.5%    129.0%
 C      TSLA   2018-08-24   $395.00   2,012       $0.09   $11.00     $2.17    $0.41    0.11%     3,510          0     0.0%         ---   627.5   1,082      178.1%    103.3%
 C      TSLA   2018-08-24   $397.50     975       $0.11    $7.20     $2.12    $0.24    0.07%     3,120          0     0.0%         ---   529.0     872      115.2%     69.9%
 C      TSLA   2018-08-24   $400.00   9,468       $0.06   $11.00     $2.67    $0.33    0.09%     3,510          0     0.0%         --- 2,471.7   3,503      212.8%    150.2%
 C      TSLA   2018-08-24   $402.50     184       $0.12    $2.58     $0.97    $0.23    0.07%     2,730          0     0.0%         ---    57.1     110      230.1%    119.5%
 C      TSLA   2018-08-24   $405.00   2,455       $0.07    $6.90     $3.67    $0.39    0.11%     3,510          0     0.0%         --- 1,472.7   1,922       92.6%     71.0%
 C      TSLA   2018-08-24   $407.50     894       $0.10    $2.50     $1.04    $0.21    0.06%     2,730          0     0.0%         ---   541.1     843      118.0%     75.7%
 C      TSLA   2018-08-24   $410.00   1,279       $0.04    $8.05     $1.38    $0.39    0.11%     3,510          0     0.0%         ---   372.2     579      190.9%    122.7%
 C      TSLA   2018-08-24   $412.50      63       $0.05    $1.07     $0.67    $0.18    0.05%     2,340          0     0.0%         ---    35.1      54      149.4%     97.2%
 C      TSLA   2018-08-24   $415.00     999       $0.05    $4.15     $1.19    $0.38    0.11%     3,510          0     0.0%         ---   230.2     380      241.1%    146.1%
 C      TSLA   2018-08-24   $420.00   2,335       $0.05    $8.50     $0.66    $0.19    0.05%     3,413          0     0.0%         ---   586.6   1,400      221.1%     92.7%
 C      TSLA   2018-08-24   $425.00   1,419       $0.03    $2.55     $0.41    $0.24    0.07%     3,413          0     0.0%         ---   383.2   1,022      205.7%     77.1%
 C      TSLA   2018-08-24   $430.00   1,430       $0.04    $1.87     $0.38    $0.34    0.09%     3,510          0     0.0%         ---   294.5   1,087      269.8%     73.1%
 C      TSLA   2018-08-24   $435.00     415       $0.02    $1.08     $0.14    $0.36    0.10%     3,510          0     0.0%         ---    77.8     297      296.3%     77.6%
 C      TSLA   2018-08-24   $440.00     588       $0.02    $1.30     $0.33    $0.35    0.10%     3,510          0     0.0%         ---   230.3     423      141.8%     77.2%
 C      TSLA   2018-08-24   $445.00     388       $0.08    $1.20     $0.41    $0.34    0.09%     3,510          0     0.0%         ---   200.3     274      107.6%     78.7%
 C      TSLA   2018-08-24   $450.00     448       $0.05    $1.08     $0.27    $0.33    0.09%     3,510          0     0.0%         ---   160.5     292      155.1%     85.2%
 C      TSLA   2018-08-24   $455.00      73       $0.05    $0.49     $0.13    $0.39    0.11%     3,510          0     0.0%         ---    29.8      71      136.1%     57.1%
 C      TSLA   2018-08-24   $460.00     439       $0.05    $0.73     $0.12    $0.29    0.08%     3,510          0     0.0%         ---   194.2     427      125.6%     57.1%
 C      TSLA   2018-08-24   $465.00     352       $0.05    $0.18     $0.09    $0.33    0.09%     3,510          0     0.0%         ---   105.1     343      186.1%     57.0%
 C      TSLA   2018-08-24   $470.00     253       $0.03    $0.10     $0.07    $0.36    0.10%     3,510          0     0.0%         ---   149.8     250       93.8%     56.2%
 C      TSLA   2018-08-24   $475.00      33       $0.01    $0.39     $0.11    $0.30    0.08%     3,510          0     0.0%         ---   106.6     119       17.2%     15.4%
 C      TSLA   2018-08-24   $480.00      47       $0.01    $0.53     $0.09    $0.36    0.10%     3,510          0     0.0%         ---    21.9      41      119.2%     63.7%
 C      TSLA   2018-08-24   $490.00      31       $0.03    $0.15     $0.07    $0.36    0.10%     3,510          0     0.0%         ---    10.3      21      167.2%     82.0%
 C      TSLA   2018-08-24   $500.00     970       $0.01    $0.56     $0.06    $0.24    0.07%     3,510          0     0.0%         ---   329.4     885      163.6%     60.9%
 C      TSLA   2018-08-24   $510.00     108       $0.03    $0.25     $0.11    $0.25    0.07%     3,510          0     0.0%         ---    57.2      77      104.9%     77.9%
 C      TSLA   2018-08-24   $520.00       3       $0.03    $0.13     $0.09    $0.29    0.08%     3,510          0     0.0%         ---     2.2       3       75.8%     55.6%
 C      TSLA   2018-08-24   $550.00      90       $0.01    $0.15     $0.10    $0.21    0.06%     3,510          0     0.0%         ---    71.5      82       69.9%     61.0%
 C      TSLA   2018-08-31   $180.00       1     $128.31  $128.31  $128.31     $3.63    1.04%     3,510          0     0.0%         ---     0.1       1      555.6%     55.6%
 C      TSLA   2018-08-31   $200.00       2     $110.00  $110.00  $110.00     $3.56    1.02%     3,413          0     0.0%         ---    10.2      12       10.9%      9.3%
 C      TSLA   2018-08-31   $250.00       9      $60.05  $115.48   $76.16     $3.23    0.92%     3,413          0     0.0%         ---     2.7       4      185.2%    125.0%



                                                                                                                                                                           p. 7 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-08-31   $260.00       6      $53.20   $59.24   $56.22     $3.11    0.88%     3,510          0     0.0%         ---     1.0       1      333.3%    333.3%
 C      TSLA   2018-08-31   $265.00       2      $56.50   $56.50   $56.50     $3.04    0.86%     3,510          0     0.0%         ---     4.2       6       26.5%     18.5%
 C      TSLA   2018-08-31   $270.00       4      $44.20   $44.20   $44.20     $2.95    0.84%     3,510          0     0.0%         ---    37.4      41        5.9%      5.4%
 C      TSLA   2018-08-31   $280.00     103      $37.49   $79.12   $73.99     $2.73    0.77%     3,510          1     0.0%     0.09%      92.7     114       61.7%     50.2%
 C      TSLA   2018-08-31   $282.50      17      $30.73   $90.10   $83.13     $2.63    0.75%     3,510          0     0.0%         ---    15.1      16       62.5%     59.0%
 C      TSLA   2018-08-31   $285.00       1      $32.57   $32.57   $32.57     $2.40    0.68%     3,510          0     0.0%         ---     5.0       5       11.1%     11.1%
 C      TSLA   2018-08-31   $290.00     142      $24.50   $69.00   $39.45     $2.23    0.63%     3,510          0     0.0%         ---    59.3     143      133.0%     55.2%
 C      TSLA   2018-08-31   $292.50      11      $24.65   $74.30   $36.15     $2.16    0.61%     3,510          0     0.0%         ---    26.4      27       23.1%     22.6%
 C      TSLA   2018-08-31   $295.00      20      $21.66   $68.00   $51.67     $2.07    0.59%     3,510          0     0.0%         ---    69.1      74       16.1%     15.0%
 C      TSLA   2018-08-31   $297.50      46      $19.15   $80.50   $25.04     $1.99    0.56%     3,413          0     0.0%         ---    50.7      52       50.4%     49.1%
 C      TSLA   2018-08-31   $300.00     333      $18.00   $82.40   $43.80     $1.91    0.54%     3,510          0     0.0%         ---  146.3      183      126.5%    101.1%
 C      TSLA   2018-08-31   $302.50     143      $16.50   $78.30   $25.32     $1.89    0.53%     3,510          0     0.0%         ---    32.4      99      245.2%     80.2%
 C      TSLA   2018-08-31   $305.00     141      $14.90   $77.81   $19.86     $1.83    0.52%     3,510          0     0.0%         ---  128.5      212       61.0%     36.9%
 C      TSLA   2018-08-31   $307.50     272      $13.65   $47.70   $14.92     $1.78    0.50%     3,510          0     0.0%         ---    37.5     141      403.0%    107.2%
 C      TSLA   2018-08-31   $310.00     866      $12.31   $66.35   $16.80     $1.69    0.48%     3,510          0     0.0%         ---  103.8      454      463.5%    106.0%
 C      TSLA   2018-08-31   $312.50     255      $11.50   $29.15   $14.00     $1.64    0.46%     3,510          0     0.0%         ---    35.8     203      395.7%     69.8%
 C      TSLA   2018-08-31   $315.00     320      $10.20   $50.00   $16.86     $1.58    0.44%     3,510          0     0.0%         ---  212.5      297       83.7%     59.9%
 C      TSLA   2018-08-31   $317.50     112       $9.10   $67.60   $19.71     $1.50    0.42%     3,510          0     0.0%         ---  126.7      164       49.1%     37.9%
 C      TSLA   2018-08-31   $320.00   1,125       $8.20   $60.88   $22.54     $1.44    0.40%     3,510          1     0.0%     0.04%    400.3      676      156.1%     92.5%
 C      TSLA   2018-08-31   $322.50      47       $7.44   $57.90   $22.58     $1.38    0.39%     3,510          0     0.0%         ---    38.5      40       67.8%     65.3%
 C      TSLA   2018-08-31   $325.00     270       $6.90   $56.74   $15.30     $1.33    0.37%     3,510          0     0.0%         ---  102.7      180      146.1%     83.3%
 C      TSLA   2018-08-31   $327.50     121       $6.20   $48.25   $13.40     $1.28    0.36%     3,510          0     0.0%         ---    26.0      57      258.5%    117.9%
 C      TSLA   2018-08-31   $330.00     428       $5.30   $51.00   $18.81     $1.22    0.34%     3,413          2     0.1%     0.05%    179.9      218      132.2%    109.1%
 C      TSLA   2018-08-31   $332.50     124       $4.90   $55.00   $13.65     $1.01    0.28%     3,510          1     0.0%     0.01%      35.7      72      193.0%     95.7%
 C      TSLA   2018-08-31   $335.00     418       $4.39   $50.55   $13.81     $0.96    0.27%     3,510          0     0.0%         ---  191.0      246      121.6%     94.4%
 C      TSLA   2018-08-31   $337.50     178       $3.90   $48.39   $12.89     $0.92    0.26%     3,510          3     0.1%     0.01%      58.9      96      167.9%    103.0%
 C      TSLA   2018-08-31   $340.00   1,080       $3.36   $48.00   $10.50     $0.85    0.24%     3,509          2     0.1%     0.01%    344.9      615      174.0%     97.6%
 C      TSLA   2018-08-31   $342.50     342       $3.00   $40.57   $16.57     $0.84    0.23%     3,510          4     0.1%     0.02%    121.6      197      156.3%     96.4%
 C      TSLA   2018-08-31   $345.00     682       $2.73   $42.70   $15.03     $0.79    0.22%     3,510          5     0.1%     0.01%    193.1      306      196.2%    123.8%
 C      TSLA   2018-08-31   $347.50     432       $2.49   $40.13   $10.60     $0.78    0.22%     3,510          3     0.1%     0.01%      96.2     182      249.5%    131.9%
 C      TSLA   2018-08-31   $350.00   1,779       $2.18   $38.19   $12.81     $0.71    0.20%     3,510          9     0.3%     0.01%    390.2      570      253.3%    173.4%
 C      TSLA   2018-08-31   $352.50     795       $1.96   $35.30   $12.02     $0.72    0.20%     3,510          3     0.1%     0.02%    194.1      237      227.5%    186.4%
 C      TSLA   2018-08-31   $355.00     929       $1.70   $35.00   $12.20     $0.68    0.19%     3,510          7     0.2%     0.02%    144.4      202      357.4%    255.5%
 C      TSLA   2018-08-31   $357.50     727       $1.53   $30.14   $12.52     $0.66    0.19%     3,510          4     0.1%     0.03%    353.4      402      114.3%    100.5%
 C      TSLA   2018-08-31   $360.00   3,088       $1.31   $31.50     $9.89    $1.56    0.43%     3,510          8     0.2%     0.02%    687.3    1,224      249.6%    140.2%
 C      TSLA   2018-08-31   $362.50     188       $1.34   $25.80   $11.51     $0.42    0.12%     3,120          3     0.1%     0.02%      47.6      80      247.1%    146.9%
 C      TSLA   2018-08-31   $365.00     665       $1.10   $28.18   $11.38     $0.59    0.17%     3,510          3     0.1%     0.01%    218.4      248      169.2%    149.0%
 C      TSLA   2018-08-31   $367.50     161       $1.00   $19.23   $11.30     $0.41    0.12%     3,120          1     0.0%     0.01%      41.1      61      244.8%    165.0%
 C      TSLA   2018-08-31   $370.00   1,744       $0.85   $27.95     $9.14    $0.55    0.15%     3,510          2     0.1%     0.01%    382.6      563      253.2%    172.1%



                                                                                                                                                                           p. 8 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-08-31   $372.50     351       $0.74   $21.96     $8.08    $0.38    0.11%     3,120          0     0.0%         ---   114.3     193      191.9%    113.7%
 C      TSLA   2018-08-31   $375.00   1,095       $0.67   $31.05     $8.59    $0.54    0.15%     3,510          0     0.0%         ---   308.0     400      197.5%    152.1%
 C      TSLA   2018-08-31   $377.50     156       $0.61   $19.00     $7.51    $0.36    0.10%     3,120          0     0.0%         ---    37.1      53      262.7%    184.0%
 C      TSLA   2018-08-31   $380.00   2,450       $0.54   $22.00     $6.13    $0.51    0.14%     3,510          0     0.0%         --- 1,219.2   1,401      111.6%     97.2%
 C      TSLA   2018-08-31   $382.50     248       $0.53   $17.05     $6.95    $0.37    0.10%     3,120          0     0.0%         ---   103.7     162      149.5%     95.7%
 C      TSLA   2018-08-31   $385.00     857       $0.42   $20.00     $7.27    $0.53    0.15%     3,510          0     0.0%         ---   295.1     353      161.3%    134.9%
 C      TSLA   2018-08-31   $387.50     355       $0.44   $13.75     $7.84    $0.35    0.10%     3,120          0     0.0%         ---   137.8     191      161.0%    116.2%
 C      TSLA   2018-08-31   $390.00   1,094       $0.37   $17.00     $3.92    $0.51    0.14%     3,510          0     0.0%         ---   302.7     500      200.8%    121.6%
 C      TSLA   2018-08-31   $392.50     233       $0.36   $12.10     $1.13    $0.35    0.10%     3,120          0     0.0%         ---    40.6     214      359.1%     68.0%
 C      TSLA   2018-08-31   $395.00   1,222       $0.32   $11.65     $4.06    $0.66    0.18%     3,510          0     0.0%         ---   324.5     473      209.2%    143.5%
 C      TSLA   2018-08-31   $397.50     640       $0.33    $8.50     $3.55    $0.32    0.09%     3,120          0     0.0%         ---   213.6     322      187.3%    124.2%
 C      TSLA   2018-08-31   $400.00   2,832       $0.25   $15.00     $3.34    $0.41    0.11%     3,510          0     0.0%         --- 1,170.2   1,462      134.4%    107.6%
 C      TSLA   2018-08-31   $402.50     247       $0.30    $3.35     $2.48    $0.26    0.08%     2,730          0     0.0%         ---   188.1     235       93.8%     75.1%
 C      TSLA   2018-08-31   $405.00     696       $0.21   $10.00     $3.29    $0.50    0.14%     3,510          0     0.0%         ---   342.9     442      112.8%     87.5%
 C      TSLA   2018-08-31   $407.50      26       $1.49    $2.40     $2.13    $0.31    0.09%     2,730          0     0.0%         ---    11.6      16      159.8%    116.1%
 C      TSLA   2018-08-31   $410.00   1,970       $0.19    $6.50     $2.53    $0.43    0.12%     3,510          0     0.0%         ---   890.6   1,091      122.9%    100.3%
 C      TSLA   2018-08-31   $415.00     357       $0.17   $10.14     $4.24    $0.43    0.12%     3,510          0     0.0%         ---   223.3     270       88.8%     73.5%
 C      TSLA   2018-08-31   $420.00   2,728       $0.10    $5.60     $1.56    $0.24    0.07%     3,413          0     0.0%         ---   847.3   1,093      178.9%    138.7%
 C      TSLA   2018-08-31   $425.00     454       $0.10    $5.20     $1.18    $0.46    0.13%     3,510          0     0.0%         ---   272.3     371       92.6%     68.0%
 C      TSLA   2018-08-31   $430.00   1,341       $0.09    $5.00     $0.79    $0.40    0.11%     3,510          0     0.0%         ---   540.0     908      138.0%     82.0%
 C      TSLA   2018-08-31   $435.00     322       $0.17    $1.94     $0.84    $0.43    0.12%     3,510          0     0.0%         ---   156.7     221      114.2%     80.9%
 C      TSLA   2018-08-31   $440.00     327       $0.08    $1.50     $0.68    $0.42    0.12%     3,510          0     0.0%         ---   159.0     215      114.3%     84.5%
 C      TSLA   2018-08-31   $445.00     168       $0.12    $1.75     $0.75    $0.37    0.10%     3,510          0     0.0%         ---    86.4      96      108.0%     97.2%
 C      TSLA   2018-08-31   $450.00     797       $0.03    $1.53     $1.14    $0.39    0.11%     3,510          0     0.0%         ---   596.7     690       74.2%     64.2%
 C      TSLA   2018-08-31   $455.00       2       $0.18    $0.23     $0.21    $0.46    0.13%     3,510          0     0.0%         ---    16.9      17        6.6%      6.5%
 C      TSLA   2018-08-31   $460.00      62       $0.11    $0.90     $0.40    $0.39    0.11%     3,510          0     0.0%         ---    46.2      55       74.6%     62.6%
 C      TSLA   2018-08-31   $465.00      72       $0.05    $0.77     $0.67    $0.40    0.11%     3,510          0     0.0%         ---    55.7      62       71.8%     64.5%
 C      TSLA   2018-08-31   $550.00      54       $0.01    $0.15     $0.04    $0.12    0.03%     3,510          0     0.0%         ---    14.3      50      209.8%     60.0%
 C      TSLA   2018-09-07   $240.00       6      $68.35  $132.33  $105.91     $3.11    0.88%     3,510          0     0.0%         ---     2.8       4      119.0%     83.3%
 C      TSLA   2018-09-07   $245.00      11     $118.50  $118.50  $118.50     $3.05    0.87%     3,510          0     0.0%         ---     1.1      11      555.6%     55.6%
 C      TSLA   2018-09-07   $250.00      23      $60.00   $70.00   $67.66     $2.99    0.85%     3,510          0     0.0%         ---    11.1      21      115.1%     60.8%
 C      TSLA   2018-09-07   $270.00       5     $108.50  $108.50  $108.50     $2.66    0.76%     3,510          0     0.0%         ---    17.0      21       16.3%     13.2%
 C      TSLA   2018-09-07   $280.00       8      $36.43   $84.85   $72.92     $2.40    0.68%     3,510          0     0.0%         ---     0.8       6      555.6%     74.1%
 C      TSLA   2018-09-07   $282.50       1      $86.50   $86.50   $86.50     $2.34    0.66%     3,510          0     0.0%         ---     1.0       1       55.6%     55.6%
 C      TSLA   2018-09-07   $290.00       8      $27.50   $93.44   $53.91     $1.98    0.56%     3,510          0     0.0%         ---    20.1      24       22.1%     18.5%
 C      TSLA   2018-09-07   $292.50       3      $30.12   $65.23   $49.03     $1.93    0.55%     3,510          0     0.0%         ---    22.7      23        7.3%      7.2%
 C      TSLA   2018-09-07   $295.00      24      $24.20   $77.80   $46.81     $1.87    0.53%     3,510          0     0.0%         ---    38.9      42       34.3%     31.7%
 C      TSLA   2018-09-07   $297.50      31      $25.30   $82.45   $49.19     $1.83    0.52%     3,510          0     0.0%         ---    28.7      34       60.0%     50.7%
 C      TSLA   2018-09-07   $300.00     233      $20.20   $82.00   $36.91     $1.77    0.50%     3,510          1     0.0%     0.01%      53.4     150      242.4%     86.3%



                                                                                                                                                                           p. 9 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-09-07   $302.50       5      $18.90   $80.79   $31.45     $1.73    0.49%     3,510          0     0.0%         ---    13.3      16       20.9%     17.4%
 C      TSLA   2018-09-07   $305.00      78      $17.55   $78.21   $26.34     $1.68    0.47%     3,510          0     0.0%         ---    54.2      84       80.0%     51.6%
 C      TSLA   2018-09-07   $307.50      69      $16.35   $53.50   $20.23     $1.62    0.46%     3,510          0     0.0%         ---     8.1      42      473.3%     91.3%
 C      TSLA   2018-09-07   $310.00     153      $15.20   $67.43   $32.52     $1.57    0.44%     3,510          2     0.1%     0.06%      92.4    120        92.0%     70.8%
 C      TSLA   2018-09-07   $312.50      61      $13.76   $51.70   $23.93     $1.53    0.43%     3,510          0     0.0%         ---    16.3      37      207.9%     91.6%
 C      TSLA   2018-09-07   $315.00     124      $12.70   $61.35   $17.89     $1.47    0.41%     3,510          4     0.1%     0.02%      45.4      82      151.7%     84.0%
 C      TSLA   2018-09-07   $317.50      32      $11.79   $57.80   $36.40     $1.43    0.40%     3,510          2     0.1%     0.01%      26.7      33       66.6%     53.9%
 C      TSLA   2018-09-07   $320.00     178      $11.00   $58.95   $14.59     $1.37    0.39%     3,510          2     0.1%     0.01%      42.2    164       234.3%     60.3%
 C      TSLA   2018-09-07   $322.50      91       $9.50   $46.65   $18.00     $1.33    0.37%     3,510          4     0.1%     0.01%      23.7      69      213.3%     73.3%
 C      TSLA   2018-09-07   $325.00     157       $8.80   $57.40   $14.28     $1.28    0.36%     3,510          4     0.1%     0.02%      32.0    135       272.6%     64.6%
 C      TSLA   2018-09-07   $327.50      46       $8.00   $53.81   $22.01     $1.23    0.35%     3,510          5     0.1%     0.01%      30.1      54       84.9%     47.3%
 C      TSLA   2018-09-07   $330.00     384       $7.15   $55.15   $15.51     $1.18    0.33%     3,413        12      0.4%     0.02%      76.5    236       278.9%     90.4%
 C      TSLA   2018-09-07   $332.50     143       $6.70   $49.70   $10.02     $0.98    0.28%     3,510        13      0.4%     0.01%      47.0    155       169.0%     51.3%
 C      TSLA   2018-09-07   $335.00     268       $6.00   $50.20   $18.02     $0.94    0.26%     3,510        14      0.4%     0.02%      77.2    163       192.9%     91.3%
 C      TSLA   2018-09-07   $337.50     297       $5.40   $48.13   $13.19     $0.91    0.25%     3,510        16      0.5%     0.01%      33.1    149       498.5%    110.7%
 C      TSLA   2018-09-07   $340.00     421       $4.70   $45.25   $19.32     $0.87    0.25%     3,510        23      0.7%     0.01%    189.5     231       123.4%    101.3%
 C      TSLA   2018-09-07   $342.50     276       $4.44   $27.75     $9.89    $0.53    0.15%     2,730        24      0.9%     0.01%      39.8    128       496.0%    154.0%
 C      TSLA   2018-09-07   $345.00     445       $3.95   $41.27   $15.67     $0.81    0.23%     3,510        25      0.7%     0.01%    117.9     210       209.7%    117.7%
 C      TSLA   2018-09-07   $347.50     136       $3.65   $24.03   $14.94     $0.50    0.14%     2,730        26      1.0%     0.02%      43.9      87      221.4%    111.7%
 C      TSLA   2018-09-07   $350.00   1,126       $3.15   $39.80   $18.88     $0.75    0.21%     3,510        28      0.8%     0.02%    347.6     486       180.0%    128.7%
 C      TSLA   2018-09-07   $352.50     144       $2.98   $29.15   $16.44     $0.51    0.15%     3,120        20      0.6%     0.01%      45.7      71      197.1%    126.8%
 C      TSLA   2018-09-07   $355.00     509       $2.60   $35.85   $14.36     $0.73    0.21%     3,510        23      0.7%     0.02%      94.3    200       299.9%    141.4%
 C      TSLA   2018-09-07   $357.50     305       $2.32   $25.90   $16.97     $0.48    0.14%     3,120        17      0.5%     0.02%      79.4    137       239.9%    139.1%
 C      TSLA   2018-09-07   $360.00   1,682       $2.00   $38.30   $13.13     $0.69    0.19%     3,510        19      0.5%     0.02%    301.1     482       310.3%    193.9%
 C      TSLA   2018-09-07   $362.50     125       $2.00   $26.26     $6.87    $0.46    0.13%     3,120        10      0.3%     0.01%      26.4      89      295.4%     87.8%
 C      TSLA   2018-09-07   $365.00     434       $1.71   $30.00   $13.43     $0.55    0.15%     3,413          9     0.3%     0.01%    123.3     157       195.5%    153.6%
 C      TSLA   2018-09-07   $367.50      36       $1.50   $13.90     $5.16    $0.44    0.13%     3,120        10      0.3%     0.01%       6.6      16      343.2%    140.6%
 C      TSLA   2018-09-07   $370.00     791       $1.36   $31.85   $10.87     $0.61    0.17%     3,510          6     0.2%     0.03%    184.1     245       238.7%    179.4%
 C      TSLA   2018-09-07   $372.50      68       $1.20   $22.10   $12.59     $0.43    0.12%     3,120          4     0.1%     0.02%      33.7      55      126.2%     77.3%
 C      TSLA   2018-09-07   $375.00     791       $1.10   $26.20   $10.88     $0.60    0.17%     3,510          4     0.1%     0.02%    295.6     351       148.7%    125.2%
 C      TSLA   2018-09-07   $377.50     178       $1.00   $19.35   $13.24     $0.41    0.12%     3,120          2     0.1%     0.02%    103.4     132       107.5%     84.3%
 C      TSLA   2018-09-07   $380.00   1,103       $0.90   $24.00     $7.79    $0.58    0.16%     3,510          2     0.1%     0.01%    300.7     546       203.8%    112.2%
 C      TSLA   2018-09-07   $382.50     294       $0.83   $15.85     $4.04    $0.40    0.12%     3,120          0     0.0%         ---    57.6    212       319.3%     86.7%
 C      TSLA   2018-09-07   $385.00     224       $0.75   $18.00     $7.27    $0.60    0.17%     3,510          1     0.0%     0.02%    109.5     144       113.6%     86.4%
 C      TSLA   2018-09-07   $387.50      55       $1.63   $12.75     $4.41    $0.40    0.11%     3,120          1     0.0%     0.02%      19.8      44      173.8%     78.1%
 C      TSLA   2018-09-07   $390.00     590       $0.67   $16.17     $5.53    $0.56    0.16%     3,510          1     0.0%     0.01%    166.0     259       197.5%    126.6%
 C      TSLA   2018-09-07   $392.50     320       $0.51   $11.25     $3.03    $0.40    0.11%     3,120          1     0.0%     0.01%    106.6     160       187.7%    125.0%
 C      TSLA   2018-09-07   $395.00     146       $0.52   $12.77     $5.40    $0.49    0.14%     3,413          0     0.0%         ---    56.8      76      142.8%    106.7%
 C      TSLA   2018-09-07   $397.50      45       $0.55   $10.40     $6.03    $0.38    0.11%     3,120          0     0.0%         ---    20.2      24      139.1%    117.2%



                                                                                                                                                                          p. 10 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-09-07   $400.00   6,085       $0.25   $11.00     $2.33    $0.49    0.14%     3,510          0     0.0%         ---  970.7    1,866      348.3%    181.2%
 C      TSLA   2018-09-07   $402.50     467       $0.78    $3.46     $1.55    $0.35    0.10%     2,730          0     0.0%         ---  103.3      185      323.1%    180.3%
 C      TSLA   2018-09-07   $405.00     429       $0.36    $9.88     $4.68    $0.57    0.16%     3,510          0     0.0%         ---  191.2      207      124.7%    115.1%
 C      TSLA   2018-09-07   $407.50      24       $0.50    $3.23     $1.78    $0.37    0.11%     2,730          0     0.0%         ---    10.4      17      165.2%    100.8%
 C      TSLA   2018-09-07   $410.00     294       $0.29   $10.00     $2.51    $0.52    0.15%     3,510          0     0.0%         ---    99.7     168      163.8%     97.2%
 C      TSLA   2018-09-07   $415.00     128       $0.23    $5.14     $2.06    $0.55    0.15%     3,510          0     0.0%         ---    70.1      98      101.4%     72.6%
 C      TSLA   2018-09-07   $420.00     838       $0.21    $5.00     $1.48    $0.47    0.13%     3,510          0     0.0%         ---  270.0      509      172.4%     91.5%
 C      TSLA   2018-09-07   $425.00     306       $0.16    $3.40     $1.75    $0.44    0.12%     3,413          0     0.0%         ---  135.5      177      125.5%     96.0%
 C      TSLA   2018-09-07   $430.00     220       $0.18    $6.36     $2.03    $0.53    0.15%     3,510          0     0.0%         ---    88.3     106      138.4%    115.3%
 C      TSLA   2018-09-07   $435.00     129       $0.25    $2.54     $0.60    $0.53    0.15%     3,510          0     0.0%         ---    58.3      79      122.9%     90.7%
 C      TSLA   2018-09-07   $440.00     149       $0.12    $2.35     $0.60    $0.53    0.15%     3,510          0     0.0%         ---  178.0      208       46.5%     39.8%
 C      TSLA   2018-09-07   $445.00      47       $0.12    $1.57     $0.90    $0.54    0.15%     3,510          0     0.0%         ---    25.0      33      104.4%     79.1%
 C      TSLA   2018-09-07   $450.00     411       $0.12    $1.62     $0.42    $0.51    0.14%     3,510          0     0.0%         ---  118.1      313      193.3%     72.9%
 C      TSLA   2018-09-07   $455.00      85       $0.19    $1.20     $0.77    $0.51    0.14%     3,510          0     0.0%         ---    40.1      53      117.8%     89.1%
 C      TSLA   2018-09-07   $460.00      98       $0.14    $0.60     $0.31    $0.52    0.15%     3,510          0     0.0%         ---    37.9      57      143.7%     95.5%
 C      TSLA   2018-09-07   $465.00      32       $0.38    $0.52     $0.39    $0.52    0.14%     3,510          0     0.0%         ---    25.6      32       69.4%     55.6%
 C      TSLA   2018-09-07   $470.00      47       $0.11    $1.21     $0.35    $0.46    0.13%     3,510          0     0.0%         ---    27.7      32       94.3%     81.6%
 C      TSLA   2018-09-07   $480.00      57       $0.09    $0.67     $0.35    $0.37    0.10%     3,510          0     0.0%         ---    34.9      42       90.7%     75.4%
 C      TSLA   2018-09-07   $490.00      24       $0.12    $0.22     $0.16    $0.48    0.13%     3,510          0     0.0%         ---    16.8      24       79.4%     55.6%
 C      TSLA   2018-09-07   $500.00      92       $0.05    $0.59     $0.21    $0.36    0.10%     3,510          0     0.0%         ---    41.3      84      123.8%     60.8%
 C      TSLA   2018-09-07   $510.00       4       $0.05    $0.11     $0.10    $0.45    0.13%     3,510          0     0.0%         ---     1.2       3      185.2%     74.1%
 C      TSLA   2018-09-07   $520.00      16       $0.09    $0.10     $0.10    $0.46    0.13%     3,510          0     0.0%         ---     4.7      16      189.1%     55.6%
 C      TSLA   2018-09-07   $530.00       5       $0.21    $0.21     $0.21    $0.44    0.12%     3,510          0     0.0%         ---     4.5       5       61.7%     55.6%
 C      TSLA   2018-09-07   $550.00     203       $0.05    $0.45     $0.13    $0.27    0.07%     3,510          0     0.0%         ---  111.7      200      101.0%     56.4%
 C      TSLA   2018-09-14   $277.50       3      $45.98   $45.98   $45.98     $2.29    0.65%     3,510          0     0.0%         ---     0.3       3      555.6%     55.6%
 C      TSLA   2018-09-14   $280.00       1      $40.85   $40.85   $40.85     $2.23    0.63%     3,413          0     0.0%         ---     0.1       1      555.6%     55.6%
 C      TSLA   2018-09-14   $285.00       6      $45.00   $96.65   $62.55     $1.98    0.56%     3,510          1     0.0%     0.01%       1.6       2      208.3%    166.7%
 C      TSLA   2018-09-14   $290.00      12      $30.10   $35.60   $32.89     $1.90    0.54%     3,510          1     0.0%     0.03%       1.2      12      555.6%     55.6%
 C      TSLA   2018-09-14   $292.50       3      $30.70   $34.00   $32.68     $1.85    0.52%     3,510          1     0.0%     0.03%       0.2       2      833.3%     83.3%
 C      TSLA   2018-09-14   $295.00       2      $26.88   $32.35   $29.62     $1.79    0.51%     3,510          1     0.0%     0.01%       0.2       2      555.6%     55.6%
 C      TSLA   2018-09-14   $300.00      36      $23.00   $79.60   $48.81     $1.71    0.48%     3,510          5     0.1%     0.03%       8.0      17      250.0%    117.6%
 C      TSLA   2018-09-14   $302.50      16      $21.73   $81.45   $29.36     $1.66    0.47%     3,510          2     0.1%     0.02%       2.0      13      444.4%     68.4%
 C      TSLA   2018-09-14   $305.00      50      $19.90   $52.60   $26.74     $1.62    0.46%     3,510          4     0.1%     0.02%      14.8      34      187.7%     81.7%
 C      TSLA   2018-09-14   $307.50      49      $18.92   $39.15   $21.27     $1.58    0.44%     3,510          2     0.1%     0.02%       3.6      32      756.2%     85.1%
 C      TSLA   2018-09-14   $310.00     176      $17.52   $68.35   $32.13     $1.53    0.43%     3,510          3     0.1%     0.02%      45.9      70      213.0%    139.7%
 C      TSLA   2018-09-14   $312.50      49      $16.30   $52.27   $21.10     $1.50    0.42%     3,510          3     0.1%     0.02%       4.3      39      633.1%     69.8%
 C      TSLA   2018-09-14   $315.00      64      $14.55   $50.22   $20.02     $1.35    0.38%     3,510          8     0.2%     0.02%       4.9      48      725.6%     74.1%
 C      TSLA   2018-09-14   $317.50      18      $14.15   $19.90   $18.81     $1.41    0.40%     3,510          6     0.2%     0.02%       3.4      16      294.1%     62.5%
 C      TSLA   2018-09-14   $320.00      76      $12.90   $33.42   $16.00     $1.37    0.38%     3,510          8     0.2%     0.01%       9.1      47      464.0%     89.8%



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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                         Weekly    Weekly
                                                                Volume-             Average                               Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-09-14   $322.50     44      $12.30   $55.72   $15.05     $1.33    0.37%     3,510        10      0.3%     0.02%      10.2      48      239.7%     50.9%
 C      TSLA   2018-09-14   $325.00    100      $10.95   $42.00   $18.39     $1.29    0.36%     3,510        16      0.5%     0.02%      16.6      54      334.7%    102.9%
 C      TSLA   2018-09-14   $327.50     71      $10.10   $43.20   $18.11     $1.25    0.35%     3,510        14      0.4%     0.03%      30.2      50      130.6%     78.9%
 C      TSLA   2018-09-14   $330.00    161       $9.00   $52.00   $15.75     $1.20    0.34%     3,510        17      0.5%     0.02%      49.2    127       181.8%     70.4%
 C      TSLA   2018-09-14   $332.50     99       $8.50   $40.60   $21.61     $1.17    0.33%     3,510        27      0.8%     0.02%      15.4      42      357.1%    131.0%
 C      TSLA   2018-09-14   $335.00     94       $7.68   $47.51   $18.18     $0.98    0.28%     3,510        30      0.9%     0.02%      31.0      50      168.5%    104.4%
 C      TSLA   2018-09-14   $337.50     64       $9.10   $30.47   $16.07     $0.65    0.19%     2,730        35      1.3%     0.02%       9.8      25      468.9%    182.9%
 C      TSLA   2018-09-14   $340.00    232       $6.25   $47.88   $16.62     $0.92    0.26%     3,510        32      0.9%     0.02%      80.8    183       159.5%     70.4%
 C      TSLA   2018-09-14   $342.50     51       $6.31   $30.13   $16.83     $0.60    0.17%     2,730        38      1.4%     0.02%      10.0      31      364.3%    117.5%
 C      TSLA   2018-09-14   $345.00    119       $5.31   $41.78   $19.66     $0.87    0.25%     3,510        38      1.1%     0.02%      34.0      48      194.4%    137.7%
 C      TSLA   2018-09-14   $347.50     26       $4.86   $30.10   $17.75     $0.57    0.17%     2,730        54      2.0%     0.02%       8.5      15      218.5%    123.8%
 C      TSLA   2018-09-14   $350.00    778       $4.37   $42.00   $20.14     $0.78    0.22%     3,510        71      2.0%     0.02%    174.4     306       247.8%    141.2%
 C      TSLA   2018-09-14   $352.50     77       $4.20   $26.05   $15.78     $0.58    0.17%     3,120        54      1.7%     0.02%      26.0      53      185.1%     90.8%
 C      TSLA   2018-09-14   $355.00    348       $3.65   $38.76   $18.48     $0.80    0.22%     3,510        69      2.0%     0.02%    105.1     190       184.0%    101.8%
 C      TSLA   2018-09-14   $357.50    146       $3.50   $34.90   $20.41     $0.55    0.16%     3,120        59      1.9%     0.02%      51.7      69      176.6%    132.2%
 C      TSLA   2018-09-14   $360.00    613       $2.82   $34.67   $16.52     $0.73    0.21%     3,510        59      1.7%     0.02%    161.5     255       210.9%    133.6%
 C      TSLA   2018-09-14   $362.50     76       $2.75   $28.90   $18.17     $0.53    0.15%     3,120        49      1.6%     0.02%      14.6      22      326.3%    215.9%
 C      TSLA   2018-09-14   $365.00    334       $2.45   $30.93   $16.08     $0.75    0.21%     3,510        37      1.1%     0.02%      52.9      81      350.8%    229.1%
 C      TSLA   2018-09-14   $367.50     28       $3.30   $23.64   $17.45     $0.51    0.15%     3,120        27      0.9%     0.02%      17.9      23       97.8%     76.1%
 C      TSLA   2018-09-14   $370.00    564       $1.94   $27.65   $15.49     $0.67    0.19%     3,510        27      0.8%     0.02%    229.9     284       136.3%    110.3%
 C      TSLA   2018-09-14   $372.50    260       $1.74   $23.28   $18.74     $0.49    0.14%     3,120        23      0.7%     0.02%    157.9     187       102.9%     86.9%
 C      TSLA   2018-09-14   $375.00    743       $1.58   $24.10   $11.27     $0.66    0.19%     3,510        27      0.8%     0.02%    165.4     243       249.6%    169.9%
 C      TSLA   2018-09-14   $377.50    200       $1.58   $20.60   $10.34     $0.47    0.13%     3,120        17      0.5%     0.01%      79.8    104       156.7%    120.2%
 C      TSLA   2018-09-14   $380.00    701       $1.40   $21.65   $10.73     $0.64    0.18%     3,510        10      0.3%     0.02%    137.8     192       282.6%    202.8%
 C      TSLA   2018-09-14   $382.50    117       $1.20   $16.96   $10.72     $0.45    0.13%     3,120          9     0.3%     0.01%      46.8      66      156.3%    110.8%
 C      TSLA   2018-09-14   $385.00    136       $1.10   $18.80     $9.83    $0.66    0.19%     3,510          8     0.2%     0.03%      57.6      78      131.2%     96.9%
 C      TSLA   2018-09-14   $387.50      3       $2.99    $6.95     $4.40    $0.46    0.13%     3,120          2     0.1%     0.01%       1.2       3      153.4%     62.5%
 C      TSLA   2018-09-14   $390.00    231       $1.00   $16.20     $7.10    $0.64    0.18%     3,510          2     0.1%     0.02%      67.2      94      191.0%    136.5%
 C      TSLA   2018-09-14   $392.50     64       $0.96   $12.38     $7.31    $0.44    0.13%     3,120          1     0.0%     0.01%      26.8      38      149.4%    105.3%
 C      TSLA   2018-09-14   $395.00    199       $1.05   $15.00     $6.23    $0.65    0.18%     3,510          1     0.0%     0.04%      74.2      94      149.0%    117.6%
 C      TSLA   2018-09-14   $397.50     13       $1.76   $13.00     $5.66    $0.45    0.13%     3,120          0     0.0%         ---     5.8       9      140.6%     90.3%
 C      TSLA   2018-09-14   $400.00    636       $0.64   $14.10     $4.39    $0.57    0.16%     3,510          0     0.0%         ---  227.6     339       155.2%    104.2%
 C      TSLA   2018-09-14   $402.50    106       $0.05    $5.50     $3.87    $0.40    0.12%     2,730          0     0.0%         ---    61.3      90      123.6%     84.1%
 C      TSLA   2018-09-14   $405.00     73       $0.54    $9.90     $4.20    $0.63    0.18%     3,510          1     0.0%     0.01%      29.2      46      138.9%     88.2%
 C      TSLA   2018-09-14   $407.50     69       $1.40    $4.03     $3.55    $0.41    0.12%     2,730          0     0.0%         ---    50.0      69       98.6%     71.4%
 C      TSLA   2018-09-14   $410.00    347       $0.44    $7.00     $3.08    $0.60    0.17%     3,510          0     0.0%         ---  111.2     179       173.4%    107.7%
 C      TSLA   2018-09-14   $415.00    178       $0.41    $8.15     $4.38    $0.61    0.17%     3,510          0     0.0%         ---  110.3     148        89.7%     66.8%
 C      TSLA   2018-09-14   $420.00    235       $0.35    $4.90     $2.32    $0.61    0.17%     3,510          0     0.0%         ---    89.1    138       146.5%     94.6%
 C      TSLA   2018-09-14   $425.00    241       $0.28    $4.75     $1.61    $0.61    0.17%     3,510          0     0.0%         ---    90.5    147       147.9%     91.1%



                                                                                                                                                                         p. 12 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-09-14   $430.00      90       $0.28    $4.10     $1.32    $0.58    0.16%     3,510          0     0.0%         ---    40.7      68      122.9%     73.5%
 C      TSLA   2018-09-14   $435.00      21       $0.26    $3.43     $1.50    $0.59    0.17%     3,510          0     0.0%         ---     8.9      13      131.1%     89.7%
 C      TSLA   2018-09-14   $440.00      79       $0.40    $1.75     $0.74    $0.61    0.17%     3,510          0     0.0%         ---    24.0      43      182.9%    102.1%
 C      TSLA   2018-09-14   $445.00      38       $0.47    $1.54     $1.05    $0.61    0.17%     3,510          0     0.0%         ---     9.7      12      217.6%    175.9%
 C      TSLA   2018-09-14   $450.00      75       $0.40    $2.21     $0.89    $0.53    0.15%     3,510          0     0.0%         ---    32.1      43      129.8%     96.9%
 C      TSLA   2018-09-14   $455.00      20       $0.31    $0.94     $0.44    $0.58    0.16%     3,510          0     0.0%         ---     7.3      15      152.2%     74.1%
 C      TSLA   2018-09-14   $460.00      94       $0.15    $1.86     $0.69    $0.52    0.15%     3,510          0     0.0%         ---    45.3      63      115.3%     82.9%
 C      TSLA   2018-09-14   $465.00       7       $0.41    $1.19     $0.83    $0.55    0.16%     3,510          0     0.0%         ---     2.7       3      144.0%    129.6%
 C      TSLA   2018-09-14   $470.00      23       $0.14    $0.48     $0.27    $0.54    0.15%     3,510          0     0.0%         ---    12.4      16      103.0%     79.9%
 C      TSLA   2018-09-14   $475.00      43       $0.16    $1.50     $0.53    $0.53    0.15%     3,510          0     0.0%         ---    27.2      32       87.8%     74.7%
 C      TSLA   2018-09-14   $480.00      14       $0.26    $0.37     $0.34    $0.54    0.15%     3,510          0     0.0%         ---    11.2      14       69.4%     55.6%
 C      TSLA   2018-09-14   $485.00       1       $0.18    $0.18     $0.18    $0.36    0.11%     2,340          0     0.0%         ---     0.7       1      116.7%     83.3%
 C      TSLA   2018-09-14   $490.00      25       $0.18    $0.67     $0.25    $0.54    0.15%     3,510          0     0.0%         ---     9.2      23      151.0%     60.4%
 C      TSLA   2018-09-14   $500.00      18       $0.10    $0.29     $0.19    $0.51    0.14%     3,510          0     0.0%         ---    11.3      15       88.5%     66.7%
 C      TSLA   2018-09-14   $550.00     107       $0.03    $0.18     $0.07    $0.31    0.08%     3,510          0     0.0%         ---    33.1     103      179.6%     57.7%
 C      TSLA   2018-09-21    $50.00       1     $258.43  $258.43  $258.43     $3.82    1.09%     3,510          0     0.0%         ---     5.0       5       11.1%     11.1%
 C      TSLA   2018-09-21    $75.00      12     $299.43  $299.43  $299.43     $3.71    1.06%     3,413          0     0.0%         ---     5.0       5      133.3%    133.3%
 C      TSLA   2018-09-21   $100.00      12     $274.42  $274.42  $274.42     $3.71    1.06%     3,510          0     0.0%         ---    32.8      34       20.3%     19.6%
 C      TSLA   2018-09-21   $200.00      72     $107.40  $180.00  $118.88     $2.75    0.79%     3,413          3     0.1%     0.04%     173.4     227       23.1%     17.6%
 C      TSLA   2018-09-21   $205.00       1     $103.50  $103.50  $103.50     $3.19    0.91%     3,510          0     0.0%         ---     2.0       2       27.8%     27.8%
 C      TSLA   2018-09-21   $210.00       2     $145.11  $145.11  $145.11     $3.14    0.89%     3,510          0     0.0%         ---    13.0      13        8.5%      8.5%
 C      TSLA   2018-09-21   $215.00       1     $160.24  $160.24  $160.24     $3.09    0.88%     3,510          0     0.0%         ---     2.0       2       27.8%     27.8%
 C      TSLA   2018-09-21   $220.00       3     $133.00  $135.30  $134.53     $3.05    0.87%     3,510          1     0.0%     0.03%      17.4      19        9.6%      8.8%
 C      TSLA   2018-09-21   $225.00       6     $128.20  $130.71  $130.09     $3.01    0.86%     3,510          2     0.1%     0.04%       5.0       5       66.7%     66.7%
 C      TSLA   2018-09-21   $230.00      40     $107.35  $152.00  $135.04     $2.94    0.84%     3,510          5     0.1%     0.02%     179.5     184       12.4%     12.1%
 C      TSLA   2018-09-21   $235.00       3     $109.55  $134.10  $122.47     $2.93    0.83%     3,510          0     0.0%         ---     2.1       3       79.4%     55.6%
 C      TSLA   2018-09-21   $240.00      24      $77.96  $139.21   $95.89     $2.84    0.81%     3,510          3     0.1%     0.03%     167.8     172        7.9%      7.8%
 C      TSLA   2018-09-21   $245.00      12      $99.80  $119.00  $117.40     $2.75    0.78%     3,510          2     0.1%     0.06%      89.0      90        7.5%      7.4%
 C      TSLA   2018-09-21   $250.00     116      $63.00  $134.95   $98.03     $2.61    0.74%     3,510         10     0.3%     0.04%     284.8     303       22.6%     21.3%
 C      TSLA   2018-09-21   $255.00      13      $62.35  $129.42   $93.01     $2.53    0.72%     3,510         23     0.7%     0.02%     220.4     223        3.3%      3.2%
 C      TSLA   2018-09-21   $260.00     205      $53.53  $119.17   $78.47     $2.42    0.68%     3,510         35     1.0%     0.02%     373.9     471       30.5%     24.2%
 C      TSLA   2018-09-21   $265.00      28      $49.96  $115.98   $63.14     $2.30    0.65%     3,510         47     1.3%     0.02%   1,515.1   1,528        1.0%      1.0%
 C      TSLA   2018-09-21   $270.00      95      $46.00  $110.64   $56.86     $2.21    0.62%     3,510         55     1.6%     0.02%     331.0     362       15.9%     14.6%
 C      TSLA   2018-09-21   $275.00      41      $42.42  $105.26   $85.39     $2.11    0.59%     3,510         56     1.6%     0.03%     529.0     535        4.3%      4.3%
 C      TSLA   2018-09-21   $280.00     265      $38.08  $105.67   $77.48     $2.05    0.58%     3,510         90     2.6%     0.02%     634.2     656       23.2%     22.4%
 C      TSLA   2018-09-21   $285.00     324      $34.00   $95.10   $63.15     $1.80    0.51%     3,510         91     2.6%     0.02%     534.8     613       33.7%     29.4%
 C      TSLA   2018-09-21   $290.00     251      $31.37   $95.54   $54.19     $1.67    0.47%     3,510        235     6.7%     0.02%     794.1     839       17.6%     16.6%
 C      TSLA   2018-09-21   $295.00     176      $28.15   $88.78   $46.72     $1.59    0.45%     3,510        346     9.9%     0.02%     574.9     599       17.0%     16.3%
 C      TSLA   2018-09-21   $300.00   3,385      $24.65   $86.00   $56.16     $1.22    0.34%     3,413        461    13.5%     0.03%   4,135.9   5,277       45.5%     35.6%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-09-21   $305.00     353      $21.70   $80.85   $34.64     $1.19    0.34%     3,413        447    13.1%     0.02%     596.0     697       32.9%     28.1%
 C      TSLA   2018-09-21   $310.00   1,750      $18.90   $76.00   $31.56     $1.14    0.32%     3,413        613    18.0%     0.02%   2,715.3   3,275       35.8%     29.7%
 C      TSLA   2018-09-21   $315.00     612      $16.40   $72.19   $29.39     $1.19    0.33%     3,510        809    23.0%     0.03%     500.9     662       67.9%     51.4%
 C      TSLA   2018-09-21   $320.00   3,998      $14.21   $70.00   $34.13     $0.96    0.27%     3,413        938    27.5%     0.03%   3,315.8   3,727       67.0%     59.6%
 C      TSLA   2018-09-21   $325.00   1,402      $12.15   $64.85   $25.68     $0.99    0.28%     3,510     1,230     35.0%     0.03%   2,154.1   2,328       36.2%     33.5%
 C      TSLA   2018-09-21   $330.00   9,961      $10.34   $59.90   $26.74     $0.90    0.25%     3,510     1,417     40.4%     0.03%   2,841.3   5,200      194.8%    106.4%
 C      TSLA   2018-09-21   $335.00   2,511       $8.90   $54.72   $21.92     $0.94    0.26%     3,510     1,505     42.9%     0.03%     954.9   1,680      146.1%     83.0%
 C      TSLA   2018-09-21   $340.00   5,264       $7.35   $55.00   $20.65     $2.21    0.61%     3,510     1,517     43.2%     0.04%   3,189.0   4,320       91.7%     67.7%
 C      TSLA   2018-09-21   $345.00   1,853       $6.16   $46.00   $21.05     $0.76    0.21%     3,510     1,517     43.2%     0.04%   1,397.9   1,500       73.6%     68.6%
 C      TSLA   2018-09-21   $350.00   8,889       $5.15   $45.00   $21.47     $1.49    0.41%     3,510     1,476     42.1%     0.04%   5,739.8   5,941       86.0%     83.1%
 C      TSLA   2018-09-21   $355.00   4,377       $4.32   $40.00   $17.75     $0.51    0.14%     3,412     1,310     38.4%     0.04%   1,965.5   2,200      123.7%    110.5%
 C      TSLA   2018-09-21   $360.00 10,498        $3.52   $36.00   $18.42     $0.43    0.12%     3,413     1,172     34.3%     0.04%   3,995.0   4,428      146.0%    131.7%
 C      TSLA   2018-09-21   $365.00   4,422       $2.95   $32.37   $14.79     $0.56    0.16%     3,510        845    24.1%     0.03%   1,620.7   1,823      151.6%    134.8%
 C      TSLA   2018-09-21   $370.00   8,889       $2.44   $31.44   $14.20     $0.76    0.21%     3,510        685    19.5%     0.03%   2,168.4   2,525      227.7%    195.6%
 C      TSLA   2018-09-21   $375.00 12,763        $2.00   $27.00   $11.22     $0.47    0.13%     3,413        499    14.6%     0.03%   3,537.0   4,590      200.5%    154.5%
 C      TSLA   2018-09-21   $380.00 15,088        $1.61   $24.80     $9.02    $0.29    0.08%     3,413        249     7.3%     0.03%   3,717.1   4,976      225.5%    168.5%
 C      TSLA   2018-09-21   $385.00   5,357       $1.35   $28.00     $7.30    $0.89    0.25%     3,413        159     4.7%     0.03%   1,878.7   2,739      158.4%    108.7%
 C      TSLA   2018-09-21   $390.00   9,557       $0.88   $19.00     $8.93    $0.81    0.22%     3,510         73     2.1%     0.02%   2,580.8   3,403      205.7%    156.0%
 C      TSLA   2018-09-21   $395.00   2,565       $0.93   $16.23     $6.29    $0.27    0.08%     3,413         46     1.3%     0.02%     674.8     812      211.2%    175.5%
 C      TSLA   2018-09-21   $400.00 26,746        $0.50   $14.80     $5.64    $0.50    0.14%     3,510         36     1.0%     0.02%   5,670.4   6,877      262.0%    216.1%
 C      TSLA   2018-09-21   $405.00   2,632       $0.57   $11.37     $4.38    $1.00    0.28%     3,508         13     0.4%     0.02%     825.2   1,021      177.2%    143.2%
 C      TSLA   2018-09-21   $410.00 12,500        $0.56   $10.00     $3.46    $0.44    0.12%     3,510          7     0.2%     0.02%   2,720.8   3,870      255.2%    179.4%
 C      TSLA   2018-09-21   $415.00   3,857       $0.47    $7.55     $3.51    $0.39    0.11%     3,510          4     0.1%     0.02%     990.3   1,533      216.4%    139.8%
 C      TSLA   2018-09-21   $420.00 12,509        $0.32    $6.90     $2.47    $0.29    0.08%     3,510          3     0.1%     0.02%   3,698.4   5,196      187.9%    133.7%
 C      TSLA   2018-09-21   $425.00   5,168       $0.37    $5.80     $2.58    $0.30    0.08%     3,510          1     0.0%     0.01%   2,009.2   2,703      142.9%    106.2%
 C      TSLA   2018-09-21   $430.00   5,148       $0.31    $4.65     $2.31    $0.32    0.09%     3,510          1     0.0%     0.01%   1,379.7   1,766      207.3%    161.9%
 C      TSLA   2018-09-21   $435.00   3,448       $0.21    $4.24     $1.50    $0.32    0.09%     3,509          0     0.0%         --- 1,080.5   1,389      177.3%    137.9%
 C      TSLA   2018-09-21   $440.00   1,941       $0.21    $3.68     $1.65    $0.32    0.09%     3,510          0     0.0%         ---   965.9   1,034      111.6%    104.3%
 C      TSLA   2018-09-21   $445.00     923       $0.25    $3.18     $1.13    $0.37    0.10%     3,510          0     0.0%         ---   542.9     652       94.5%     78.6%
 C      TSLA   2018-09-21   $450.00   5,917       $0.20    $2.85     $0.99    $0.14    0.04%     3,413          0     0.0%         --- 3,020.1   3,539      108.8%     92.9%
 C      TSLA   2018-09-21   $455.00     983       $0.17    $2.87     $0.76    $0.26    0.07%     3,510          0     0.0%         ---   464.0     631      117.7%     86.5%
 C      TSLA   2018-09-21   $460.00   1,991       $0.10    $1.85     $0.46    $0.34    0.10%     3,510          0     0.0%         ---   856.9   1,227      129.1%     90.1%
 C      TSLA   2018-09-21   $465.00     597       $0.20    $2.00     $0.84    $0.37    0.10%     3,510          0     0.0%         ---   301.3     367      110.1%     90.4%
 C      TSLA   2018-09-21   $470.00     304       $0.15    $1.67     $0.53    $0.35    0.10%     3,510          0     0.0%         ---   318.1     327       53.1%     51.6%
 C      TSLA   2018-09-21   $475.00     106       $0.12    $1.15     $0.57    $0.28    0.08%     3,413          0     0.0%         ---   181.9     194       32.4%     30.4%
 C      TSLA   2018-09-21   $480.00     238       $0.01    $1.14     $0.40    $0.36    0.10%     3,510          0     0.0%         ---   191.4     209       69.1%     63.3%
 C      TSLA   2018-09-21   $485.00       8       $0.28    $1.00     $0.45    $0.45    0.13%     3,510          0     0.0%         ---    42.8      43       10.4%     10.3%
 C      TSLA   2018-09-21   $490.00     144       $0.06    $0.97     $0.42    $0.37    0.10%     3,510          0     0.0%         ---   502.4     511       15.9%     15.7%
 C      TSLA   2018-09-21   $495.00      21       $0.10    $0.28     $0.18    $0.47    0.13%     3,510          0     0.0%         ---    14.1      20       82.7%     58.3%



                                                                                                                                                                          p. 14 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-09-21   $500.00   3,538       $0.08    $1.99     $0.35    $0.10    0.03%     3,510          0     0.0%         --- 3,501.3   4,033       56.1%     48.7%
 C      TSLA   2018-09-21   $505.00      21       $0.09    $0.49     $0.22    $0.44    0.12%     3,510          0     0.0%         ---     7.0      10      166.7%    116.7%
 C      TSLA   2018-09-21   $510.00      16       $0.08    $0.48     $0.18    $0.47    0.13%     3,510          0     0.0%         ---    33.0      33       26.9%     26.9%
 C      TSLA   2018-09-21   $520.00     344       $0.04    $0.62     $0.16    $0.18    0.05%     3,510          0     0.0%         --- 1,691.0   1,722       11.3%     11.1%
 C      TSLA   2018-09-21   $525.00     839       $0.03    $0.40     $0.14    $0.21    0.06%     3,510          0     0.0%         ---   716.4     919       65.1%     50.7%
 C      TSLA   2018-09-21   $550.00      61       $0.04    $0.20     $0.07    $0.33    0.09%     3,510          0     0.0%         ---    56.0     102       60.5%     33.2%
 C      TSLA   2018-09-21   $570.00       4       $0.07    $0.17     $0.11    $0.35    0.10%     3,510          0     0.0%         ---     3.6       4       61.7%     55.6%
 C      TSLA   2018-09-21   $580.00     610       $0.01    $0.25     $0.07    $0.18    0.05%     3,510          0     0.0%         ---   192.5     519      176.0%     65.3%
 C      TSLA   2018-09-21   $590.00       1       $0.10    $0.10     $0.10    $0.34    0.09%     3,510          0     0.0%         ---     0.6       1       92.6%     55.6%
 C      TSLA   2018-09-21   $600.00   8,983       $0.02    $0.12     $0.03    $0.19    0.05%     3,510          0     0.0%         --- 1,845.1   8,786      270.5%     56.8%
 C      TSLA   2018-09-28   $250.00       1     $113.47  $113.47  $113.47     $1.99    0.59%     1,950          5     0.3%     0.02%       0.8       1      120.0%    100.0%
 C      TSLA   2018-09-28   $270.00       1      $50.26   $50.26   $50.26     $1.69    0.49%     2,340         48     2.1%     0.02%       0.1       1      583.3%     83.3%
 C      TSLA   2018-09-28   $280.00       7      $45.61   $81.96   $76.77     $2.05    0.59%     2,730         36     1.3%     0.02%       5.4       7       93.0%     71.4%
 C      TSLA   2018-09-28   $285.00       1      $72.00   $72.00   $72.00     $1.98    0.57%     2,730         53     1.9%     0.02%       0.9       1       81.6%     71.4%
 C      TSLA   2018-09-28   $290.00       1      $34.60   $34.60   $34.60     $1.92    0.55%     2,730         80     2.9%     0.02%       0.1       1      571.4%     71.4%
 C      TSLA   2018-09-28   $295.00       5      $30.45   $32.08   $30.78     $1.86    0.53%     2,730         93     3.4%     0.03%       0.5       4      714.3%     89.3%
 C      TSLA   2018-09-28   $300.00      47      $26.59   $68.11   $40.26     $1.80    0.52%     2,730        135     4.9%     0.02%      11.6      36      288.8%     93.3%
 C      TSLA   2018-09-28   $305.00      33      $24.13   $30.75   $28.18     $1.73    0.50%     2,730        176     6.4%     0.02%       4.0      32      589.3%     73.7%
 C      TSLA   2018-09-28   $310.00      75      $20.84   $55.10   $25.88     $1.66    0.48%     2,730        252     9.2%     0.02%      11.1      71      481.5%     75.5%
 C      TSLA   2018-09-28   $315.00      62      $18.75   $37.05   $23.57     $1.58    0.45%     2,730        351    12.9%     0.02%      10.1      54      437.4%     82.0%
 C      TSLA   2018-09-28   $320.00      98      $16.00   $49.46   $31.37     $1.52    0.44%     2,730        426    15.6%     0.02%      26.4      71      265.4%     98.6%
 C      TSLA   2018-09-28   $325.00      93      $14.27   $45.82   $17.91     $1.46    0.42%     2,730        525    19.2%     0.03%      13.8      83      483.1%     80.0%
 C      TSLA   2018-09-28   $330.00     549      $11.94   $40.03   $21.76     $1.38    0.40%     2,730        607    22.2%     0.03%      58.9     251      666.1%    156.2%
 C      TSLA   2018-09-28   $335.00      70      $10.45   $36.73   $17.72     $1.35    0.39%     2,730        617    22.6%     0.03%      11.6      42      430.1%    119.0%
 C      TSLA   2018-09-28   $337.50      47      $10.00   $33.90   $17.08     $1.31    0.38%     2,730        618    22.6%     0.03%       7.6      24      440.3%    139.9%
 C      TSLA   2018-09-28   $340.00     102       $8.95   $35.65   $16.94     $1.29    0.37%     2,730        623    22.8%     0.03%      16.3      60      448.4%    121.4%
 C      TSLA   2018-09-28   $342.50      19       $8.40   $29.00   $13.18     $1.27    0.36%     2,730        585    21.4%     0.03%       2.8      15      493.5%     90.5%
 C      TSLA   2018-09-28   $345.00      53       $7.41   $32.60   $17.24     $1.25    0.36%     2,730        578    21.2%     0.03%      10.8      26      352.2%    145.6%
 C      TSLA   2018-09-28   $347.50      14       $7.11   $29.70   $17.03     $1.24    0.35%     2,730        552    20.2%     0.03%       3.3       9      307.7%    111.1%
 C      TSLA   2018-09-28   $350.00     537       $6.25   $32.10   $18.80     $1.18    0.34%     2,730        547    20.0%     0.03%     120.0     221      319.6%    173.6%
 C      TSLA   2018-09-28   $352.50      31       $5.85   $26.85   $18.77     $1.22    0.35%     2,730        513    18.8%     0.03%      11.5      21      192.5%    105.4%
 C      TSLA   2018-09-28   $355.00     181       $5.25   $27.60   $19.17     $1.17    0.33%     2,730        550    20.1%     0.03%      50.5      80      256.0%    161.6%
 C      TSLA   2018-09-28   $357.50      23       $5.03   $26.05   $16.93     $1.18    0.34%     2,730        464    17.0%     0.03%       7.6      14      215.5%    117.3%
 C      TSLA   2018-09-28   $360.00     111       $4.58   $25.70   $11.14     $1.14    0.33%     2,730        434    15.9%     0.03%      25.4      67      312.5%    118.3%
 C      TSLA   2018-09-28   $362.50      34       $5.23   $22.80   $18.39     $1.13    0.32%     2,730        385    14.1%     0.03%      11.3      15      215.9%    161.9%
 C      TSLA   2018-09-28   $365.00     128       $3.77   $23.43   $14.82     $1.11    0.32%     2,730        334    12.2%     0.03%      39.4      85      232.2%    107.6%
 C      TSLA   2018-09-28   $367.50      41       $3.54   $19.10   $14.07     $1.12    0.32%     2,730        281    10.3%     0.03%      18.4      34      159.4%     86.1%
 C      TSLA   2018-09-28   $370.00     103       $3.39   $20.00   $10.93     $1.10    0.31%     2,730        222     8.1%     0.03%      26.1      62      281.6%    118.7%
 C      TSLA   2018-09-28   $372.50      25       $3.40   $16.65   $10.38     $1.10    0.31%     2,730        182     6.7%     0.03%       9.4      23      190.5%     77.6%



                                                                                                                                                                          p. 15 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]       [18]
                                                                                                                                                         Weekly     Weekly
                                                                Volume-             Average                               Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open       Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest   Interest
 C      TSLA   2018-09-28   $375.00    135       $2.60   $16.50     $6.36    $1.08    0.31%     2,730        147     5.4%     0.03%      28.0      88      344.4%     109.6%
 C      TSLA   2018-09-28   $377.50    131       $2.38   $13.00   $11.54     $1.07    0.31%     2,730        120     4.4%     0.03%      60.8    122       154.0%      76.7%
 C      TSLA   2018-09-28   $380.00     84       $2.05   $16.25     $6.73    $1.04    0.30%     2,730        108     4.0%     0.03%      15.3      39      393.4%     153.8%
 C      TSLA   2018-09-28   $382.50     36       $2.34   $14.15     $3.39    $1.04    0.30%     2,730         83     3.0%     0.02%       5.8      30      447.2%      85.7%
 C      TSLA   2018-09-28   $385.00    160       $1.79   $14.00     $8.32    $1.01    0.29%     2,730         70     2.6%     0.02%      68.6    138       166.5%      82.8%
 C      TSLA   2018-09-28   $387.50     22       $1.61   $12.16     $4.95    $1.06    0.30%     2,730         44     1.6%     0.02%       4.5      10      349.2%     157.1%
 C      TSLA   2018-09-28   $390.00     53       $1.60   $13.40     $6.96    $1.01    0.29%     2,730         32     1.2%     0.02%      18.0      28      210.3%     135.2%
 C      TSLA   2018-09-28   $392.50     45       $1.42    $9.00     $2.73    $1.05    0.30%     2,730         24     0.9%     0.02%       7.4      33      435.8%      97.4%
 C      TSLA   2018-09-28   $395.00     55       $1.40    $9.70     $6.71    $0.98    0.28%     2,730         16     0.6%     0.02%      18.5      29      212.4%     135.5%
 C      TSLA   2018-09-28   $397.50     15       $1.75    $7.18     $3.57    $0.98    0.28%     2,730         14     0.5%     0.02%       4.3      11      252.1%      97.4%
 C      TSLA   2018-09-28   $400.00    166       $1.10    $9.85     $4.69    $0.88    0.25%     2,730          9     0.3%     0.02%      24.0      69      494.0%     171.8%
 C      TSLA   2018-09-28   $402.50     21       $0.98    $6.29     $3.49    $0.97    0.28%     2,730          4     0.1%     0.03%       5.4      11      279.1%     136.4%
 C      TSLA   2018-09-28   $405.00     21       $0.85    $5.87     $3.87    $0.96    0.27%     2,730          4     0.1%     0.02%       4.6       8      324.3%     187.5%
 C      TSLA   2018-09-28   $407.50    208       $1.74    $4.98     $2.80    $0.97    0.28%     2,730          3     0.1%     0.01%      48.3    103       307.9%     144.2%
 C      TSLA   2018-09-28   $410.00     32       $0.74    $5.55     $2.71    $0.96    0.28%     2,730          0     0.0%         ---     9.4      23      243.8%      99.4%
 C      TSLA   2018-09-28   $415.00    124       $0.70    $4.93     $2.66    $0.95    0.27%     2,730          1     0.0%     0.01%      56.3    111       157.5%      79.8%
 C      TSLA   2018-09-28   $420.00    236       $0.44    $4.78     $1.89    $0.80    0.23%     2,730          0     0.0%         ---    80.4    161       209.7%     104.7%
 C      TSLA   2018-09-28   $425.00     48       $0.59    $4.02     $1.29    $0.98    0.28%     2,730          0     0.0%         ---    12.1      31      282.8%     110.6%
 C      TSLA   2018-09-28   $430.00     33       $0.40    $3.20     $1.29    $1.01    0.29%     2,730          0     0.0%         ---     7.8      13      304.1%     181.3%
 C      TSLA   2018-09-28   $435.00      8       $0.67    $1.66     $1.23    $0.95    0.27%     2,730          0     0.0%         ---     2.1       5      268.9%     114.3%
 C      TSLA   2018-09-28   $440.00     23       $0.87    $1.50     $0.98    $1.01    0.29%     2,730          0     0.0%         ---     6.4      12      257.7%     136.9%
 C      TSLA   2018-09-28   $445.00    319       $0.56    $1.25     $0.89    $1.00    0.29%     2,730          0     0.0%         ---  180.0     318       126.6%      71.7%
 C      TSLA   2018-09-28   $450.00      3       $0.27    $0.45     $0.33    $1.06    0.30%     2,730          0     0.0%         ---     0.5       3      428.6%      71.4%
 C      TSLA   2018-09-28   $465.00      3       $0.23    $0.23     $0.23    $1.04    0.30%     2,730          0     0.0%         ---     0.4       3      571.4%      71.4%
 C      TSLA   2018-09-28   $470.00    408       $0.24    $0.50     $0.33    $0.88    0.25%     2,730          0     0.0%         ---  186.4     405       156.4%      72.0%
 C      TSLA   2018-10-19    $25.00      1     $312.00  $312.00  $312.00     $3.49    1.02%     2,730          0     0.0%         ---     0.0       0           ---        ---
 C      TSLA   2018-10-19    $50.00     10     $289.67  $289.72  $289.71     $3.49    1.02%     2,730          0     0.0%         ---     0.8       2      952.4%     357.1%
 C      TSLA   2018-10-19    $85.00     10     $277.50  $277.50  $277.50     $4.11    1.17%     3,510          0     0.0%         ---     0.0       0           ---        ---
 C      TSLA   2018-10-19   $150.00      3     $159.35  $160.00  $159.57     $3.84    1.09%     3,510          0     0.0%         ---     0.3       3      555.6%      55.6%
 C      TSLA   2018-10-19   $185.00      6     $179.52  $179.52  $179.52     $3.48    0.99%     3,510          0     0.0%         ---     3.5       8       95.2%      41.7%
 C      TSLA   2018-10-19   $190.00      6     $174.58  $174.58  $174.58     $3.43    0.98%     3,510          0     0.0%         ---     2.4       6      138.9%      55.6%
 C      TSLA   2018-10-19   $200.00      4     $111.25  $156.00  $133.63     $3.35    0.95%     3,510          4     0.1%     0.02%       7.9      10       28.1%      22.2%
 C      TSLA   2018-10-19   $210.00      7     $101.50  $146.62  $114.39     $3.24    0.92%     3,510          8     0.2%     0.03%       2.4       7      162.0%      55.6%
 C      TSLA   2018-10-19   $220.00    302     $134.35  $137.05  $135.40     $3.13    0.89%     3,413         36     1.1%     0.03%    168.2     302        99.7%      55.6%
 C      TSLA   2018-10-19   $225.00     10     $132.61  $135.10  $134.10     $3.08    0.87%     3,510         47     1.3%     0.02%       7.4      10       75.1%      55.6%
 C      TSLA   2018-10-19   $230.00      9     $127.95  $149.50  $138.17     $3.01    0.85%     3,510         99     2.8%     0.02%      74.5      75        6.7%       6.7%
 C      TSLA   2018-10-19   $240.00      9      $76.00  $123.27   $94.22     $2.82    0.80%     3,510        444    12.6%     0.03%      14.1      20       35.5%      25.0%
 C      TSLA   2018-10-19   $245.00      2      $83.00  $100.50   $91.75     $2.72    0.77%     3,510        639    18.2%     0.04%       0.3       1      370.4%     111.1%
 C      TSLA   2018-10-19   $250.00     28      $70.50  $130.42  $110.81     $2.60    0.74%     3,510        957    27.3%     0.05%      96.2    101        16.2%      15.4%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of   Open    Open         Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-10-19   $255.00      10      $92.70  $130.20  $119.14     $2.53    0.72%     3,510     1,075     30.6%     0.05%     10.4       12       53.4%     46.3%
 C      TSLA   2018-10-19   $260.00      26      $97.00  $112.40  $101.40     $2.46    0.70%     3,510     1,249     35.6%     0.05%     76.2       90       19.0%     16.0%
 C      TSLA   2018-10-19   $265.00       1      $98.60   $98.60   $98.60     $2.42    0.68%     3,510     1,424     40.6%     0.05%      7.4        8        7.5%      6.9%
 C      TSLA   2018-10-19   $270.00      66      $52.50  $111.59   $86.15     $2.34    0.66%     3,510     1,572     44.8%     0.06%     74.9       82       49.0%     44.7%
 C      TSLA   2018-10-19   $275.00       8      $61.27   $90.75   $70.44     $2.26    0.64%     3,510     1,673     47.7%     0.06%      7.2       12       61.7%     37.0%
 C      TSLA   2018-10-19   $280.00      22      $47.15   $92.38   $72.42     $2.17    0.61%     3,510     1,775     50.6%     0.07%    436.1      439        2.8%      2.8%
 C      TSLA   2018-10-19   $285.00       5      $42.85   $98.85   $55.35     $2.17    0.61%     3,510     1,841     52.5%     0.07%     18.6       22       14.9%     12.6%
 C      TSLA   2018-10-19   $290.00     179      $37.50   $94.00   $45.07     $1.93    0.54%     3,510     1,907     54.3%     0.08%    300.8      392       33.1%     25.4%
 C      TSLA   2018-10-19   $295.00      19      $38.95   $85.74   $56.36     $1.87    0.53%     3,510     1,966     56.0%     0.08%     65.8       68       16.0%     15.5%
 C      TSLA   2018-10-19   $300.00   2,080      $31.51   $88.90   $67.75     $1.77    0.50%     3,510     2,048     58.3%     0.09%  1,536.6    1,959       75.2%     59.0%
 C      TSLA   2018-10-19   $305.00      72      $28.64   $78.02   $44.24     $1.74    0.49%     3,510     2,032     57.9%     0.09%     38.3       63      104.4%     63.5%
 C      TSLA   2018-10-19   $310.00     406      $25.65   $75.00   $37.35     $1.64    0.46%     3,510     2,009     57.2%     0.10%  2,149.8    2,333       10.5%      9.7%
 C      TSLA   2018-10-19   $315.00     353      $23.76   $71.62   $35.06     $1.57    0.44%     3,510     2,019     57.5%     0.10%    114.8      202      170.8%     97.1%
 C      TSLA   2018-10-19   $320.00     533      $21.00   $71.00   $39.12    $12.23    3.36%     3,510     2,008     57.2%     0.10%    913.9      974       32.4%     30.4%
 C      TSLA   2018-10-19   $325.00     352      $18.96   $60.50   $29.32     $1.45    0.41%     3,510     2,044     58.2%     0.10%     84.1      148      232.5%    132.1%
 C      TSLA   2018-10-19   $330.00   6,354      $16.36   $63.00   $42.91     $1.31    0.37%     3,510     2,085     59.4%     0.10%  2,593.2    3,720      136.1%     94.9%
 C      TSLA   2018-10-19   $335.00   1,168      $14.70   $59.35   $33.04     $1.50    0.42%     3,510     1,977     56.3%     0.10%    416.8      677      155.7%     95.8%
 C      TSLA   2018-10-19   $340.00   1,808      $13.02   $55.00   $33.35     $1.24    0.35%     3,510     1,997     56.9%     0.10%    932.1    1,144      107.8%     87.8%
 C      TSLA   2018-10-19   $345.00     454      $11.30   $50.00   $27.59     $0.94    0.26%     3,413     1,940     56.8%     0.10%    149.5      211      168.7%    119.5%
 C      TSLA   2018-10-19   $350.00   3,914       $9.75   $47.00   $22.70     $1.33    0.37%     3,510     1,953     55.6%     0.10%  1,273.6    1,919      170.7%    113.3%
 C      TSLA   2018-10-19   $355.00   3,651       $8.55   $43.50   $23.17     $0.78    0.22%     3,413     1,865     54.6%     0.09%  1,103.7    2,068      183.8%     98.1%
 C      TSLA   2018-10-19   $360.00   2,943       $7.30   $42.70   $22.31     $0.71    0.20%     3,413     1,883     55.2%     0.09%  1,737.8    2,116       94.1%     77.3%
 C      TSLA   2018-10-19   $365.00     782       $6.30   $41.74   $18.45     $0.72    0.20%     3,413     1,858     54.4%     0.08%    213.0      420      204.0%    103.4%
 C      TSLA   2018-10-19   $370.00   2,487       $5.27   $40.00   $19.19     $0.69    0.19%     3,510     1,748     49.8%     0.08%  1,037.9    1,183      133.1%    116.8%
 C      TSLA   2018-10-19   $375.00   1,362       $4.51   $32.00   $19.55     $0.69    0.19%     3,509     1,418     40.4%     0.07%    919.3    1,109       82.3%     68.2%
 C      TSLA   2018-10-19   $380.00   2,867       $3.85   $40.20   $14.61     $0.70    0.20%     3,510     1,318     37.5%     0.07%  1,353.0    1,806      117.7%     88.2%
 C      TSLA   2018-10-19   $385.00     877       $3.30   $33.05   $10.87     $0.73    0.20%     3,510     1,035     29.5%     0.06%    247.8      396      196.6%    123.0%
 C      TSLA   2018-10-19   $390.00   1,438       $2.80   $22.35   $12.67     $0.68    0.19%     3,510        853    24.3%     0.06%    823.0    1,062       97.1%     75.2%
 C      TSLA   2018-10-19   $395.00   2,628       $2.45   $19.90   $15.71     $0.66    0.19%     3,510        677    19.3%     0.05%    438.7    1,116      332.8%    130.8%
 C      TSLA   2018-10-19   $400.00   7,080       $1.82   $18.00     $9.73    $0.60    0.17%     3,510        490    14.0%     0.04%  2,126.1    2,458      185.0%    160.0%
 C      TSLA   2018-10-19   $405.00     344       $1.67   $16.40     $7.29    $0.69    0.19%     3,509        304     8.7%     0.04%    174.6      234      109.5%     81.7%
 C      TSLA   2018-10-19   $410.00   5,086       $1.37   $20.00   $10.78     $0.61    0.17%     3,510        249     7.1%     0.04%  2,539.1    2,704      111.3%    104.5%
 C      TSLA   2018-10-19   $415.00     381       $1.14   $13.55     $6.10    $0.89    0.25%     3,509        135     3.8%     0.03%    158.4      204      133.6%    103.8%
 C      TSLA   2018-10-19   $420.00   5,721       $0.79   $12.70     $5.18    $0.68    0.19%     3,510         92     2.6%     0.03%  1,733.5    2,440      183.3%    130.3%
 C      TSLA   2018-10-19   $425.00     834       $0.73    $9.62     $3.97    $0.67    0.19%     3,510         61     1.7%     0.03%    314.5      477      147.3%     97.1%
 C      TSLA   2018-10-19   $430.00     775       $0.69    $8.65     $3.42    $0.55    0.16%     3,510         40     1.1%     0.03%    268.4      373      160.4%    115.4%
 C      TSLA   2018-10-19   $435.00     570       $0.63    $5.90     $2.94    $0.63    0.18%     3,510         21     0.6%     0.03%    134.9      198      234.7%    159.9%
 C      TSLA   2018-10-19   $440.00   1,059       $0.54    $7.00     $4.23    $0.57    0.16%     3,510          7     0.2%     0.03%    764.0      816       77.0%     72.1%
 C      TSLA   2018-10-19   $445.00     222       $0.52    $5.20     $2.47    $0.56    0.16%     3,510          7     0.2%     0.03%    346.3      393       35.6%     31.4%



                                                                                                                                                                          p. 17 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]       [18]
                                                                                                                                                          Weekly     Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open       Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest   Interest
 C      TSLA   2018-10-19   $450.00   2,029       $0.41    $6.60     $3.01    $0.51    0.14%     3,510          1     0.0%     0.01%    887.7      993      127.0%     113.5%
 C      TSLA   2018-10-19   $455.00      86       $0.40    $5.00     $2.13    $0.53    0.15%     3,510          0     0.0%         ---    54.1      66       88.3%      72.4%
 C      TSLA   2018-10-19   $460.00   2,584       $0.15    $5.00     $0.78    $0.59    0.16%     3,510          0     0.0%         ---  934.6    1,543      153.6%      93.0%
 C      TSLA   2018-10-19   $465.00     129       $0.32    $4.06     $3.46    $0.57    0.16%     3,510          0     0.0%         ---    66.4      68      107.9%     105.4%
 C      TSLA   2018-10-19   $470.00     219       $0.34    $3.09     $0.77    $0.51    0.14%     3,510          0     0.0%         ---  152.6      249       79.7%      48.9%
 C      TSLA   2018-10-19   $475.00     148       $0.23    $1.01     $0.88    $0.60    0.17%     3,510          0     0.0%         ---    58.4      98      140.8%      83.9%
 C      TSLA   2018-10-19   $480.00     848       $0.29    $2.81     $1.56    $0.69    0.19%     3,510          0     0.0%         ---  472.1      557       99.8%      84.6%
 C      TSLA   2018-10-19   $485.00      18       $0.22    $1.85     $0.92    $0.58    0.16%     3,510          0     0.0%         ---     6.0       9      166.7%     111.1%
 C      TSLA   2018-10-19   $490.00     295       $0.31    $3.50     $1.56    $0.53    0.15%     3,510          0     0.0%         ---  220.0      232       74.5%      70.6%
 C      TSLA   2018-10-19   $495.00       1       $0.44    $0.44     $0.44    $0.59    0.17%     3,510          0     0.0%         ---     0.6       1       92.6%      55.6%
 C      TSLA   2018-10-19   $500.00     759       $0.10    $2.00     $0.76    $0.35    0.10%     3,510          0     0.0%         ---  666.3      746       63.3%      56.5%
 C      TSLA   2018-10-19   $505.00       3       $1.50    $1.50     $1.50    $0.62    0.18%     3,510          0     0.0%         ---     2.7       3       61.7%      55.6%
 C      TSLA   2018-10-19   $510.00      30       $0.23    $1.22     $0.46    $0.60    0.17%     3,510          0     0.0%         ---    59.4      60       28.1%      27.8%
 C      TSLA   2018-10-19   $515.00       1       $0.22    $0.22     $0.22    $0.62    0.17%     3,510          0     0.0%         ---     0.6       1       92.6%      55.6%
 C      TSLA   2018-10-19   $520.00      46       $0.15    $1.35     $0.45    $0.53    0.15%     3,510          0     0.0%         ---    83.9      87       30.5%      29.4%
 C      TSLA   2018-10-19   $530.00      84       $0.12    $1.30     $0.76    $0.57    0.16%     3,510          0     0.0%         ---    74.5      82       62.6%      56.9%
 C      TSLA   2018-10-19   $540.00      44       $0.15    $0.97     $0.47    $0.56    0.16%     3,510          0     0.0%         ---    81.8     116       29.9%      21.1%
 C      TSLA   2018-10-19   $550.00      37       $0.08    $1.00     $0.18    $0.53    0.15%     3,510          0     0.0%         ---    53.1      55       38.7%      37.4%
 C      TSLA   2018-10-19   $560.00      87       $0.07    $0.82     $0.37    $0.37    0.10%     3,510          0     0.0%         ---  336.8      342       14.4%      14.1%
 C      TSLA   2018-10-19   $650.00      92       $0.03    $0.12     $0.07    $0.10    0.03%     2,730          0     0.0%         ---    53.4      92      123.1%      71.4%
 C      TSLA   2018-11-16    $40.00      10     $275.81  $275.81  $275.81     $3.54    1.03%     2,730          0     0.0%         ---     0.0       0           ---        ---
 C      TSLA   2018-11-16   $200.00       1     $144.00  $144.00  $144.00     $3.31    0.94%     3,510     1,777     50.6%     0.10%       0.3       1      185.2%      55.6%
 C      TSLA   2018-11-16   $230.00       2     $119.45  $134.73  $127.09     $2.95    0.84%     3,510     2,052     58.5%     0.15%       0.4       1      277.8%     111.1%
 C      TSLA   2018-11-16   $250.00       8      $73.00  $118.75   $89.33     $2.71    0.77%     3,510     2,074     59.1%     0.18%       1.7       7      261.4%      63.5%
 C      TSLA   2018-11-16   $255.00       2      $69.00   $69.00   $69.00     $2.65    0.75%     3,510     2,075     59.1%     0.18%       0.2       2      555.6%      55.6%
 C      TSLA   2018-11-16   $260.00       2     $102.90  $102.90  $102.90     $2.59    0.73%     3,510     2,093     59.6%     0.19%       1.2       2       92.6%      55.6%
 C      TSLA   2018-11-16   $270.00       5      $81.50  $112.00   $95.71     $2.47    0.70%     3,510     2,221     63.3%     0.19%       1.6       3      173.6%      92.6%
 C      TSLA   2018-11-16   $275.00       3      $55.00   $97.20   $76.60     $2.42    0.68%     3,510     2,202     62.7%     0.20%       1.0       2      166.7%      83.3%
 C      TSLA   2018-11-16   $280.00       3      $55.00   $89.50   $77.68     $2.36    0.66%     3,510     2,304     65.6%     0.20%       0.4       1      416.7%     166.7%
 C      TSLA   2018-11-16   $290.00      10      $75.10   $75.10   $75.10     $2.25    0.63%     3,510     2,273     64.8%     0.21%       7.0      10       79.4%      55.6%
 C      TSLA   2018-11-16   $295.00       2      $79.25   $79.75   $79.50     $2.03    0.57%     3,510     2,272     64.7%     0.21%       0.1       1     1111.1%     111.1%
 C      TSLA   2018-11-16   $300.00     131      $38.16   $90.00   $51.91     $1.95    0.55%     3,510     2,359     67.2%     0.21%      26.9      89      270.5%      81.8%
 C      TSLA   2018-11-16   $305.00      49      $35.00   $76.32   $37.92     $1.91    0.54%     3,510     2,322     66.2%     0.21%       5.1      44      533.8%      61.9%
 C      TSLA   2018-11-16   $310.00     297      $32.25   $78.85   $49.16     $1.83    0.51%     3,510     2,355     67.1%     0.21%      58.5     170      282.1%      97.1%
 C      TSLA   2018-11-16   $315.00     112      $30.00   $74.18   $32.61     $1.80    0.51%     3,510     2,329     66.4%     0.21%      12.3     104      505.9%      59.8%
 C      TSLA   2018-11-16   $320.00     127      $27.00   $72.29   $40.54     $1.73    0.49%     3,510     2,364     67.4%     0.21%      27.4     106      257.5%      66.6%
 C      TSLA   2018-11-16   $325.00      69      $25.00   $71.00   $35.84     $1.66    0.47%     3,510     2,380     67.8%     0.21%      13.7      61      279.8%      62.8%
 C      TSLA   2018-11-16   $330.00     561      $22.85   $53.40   $29.08     $1.63    0.46%     3,510     2,356     67.1%     0.20%      46.8     316      666.0%      98.6%
 C      TSLA   2018-11-16   $335.00     156      $20.70   $49.82   $37.18     $1.58    0.44%     3,510     2,348     66.9%     0.20%      35.6      73      243.4%     118.7%



                                                                                                                                                                             p. 18 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-11-16   $340.00     328      $18.91   $56.52   $29.54     $1.48    0.42%     3,510     2,359     67.2%     0.19%      60.3     224      302.2%     81.3%
 C      TSLA   2018-11-16   $345.00      95      $17.55   $52.38   $34.98     $1.46    0.41%     3,510     2,336     66.6%     0.19%      74.6      96       70.7%     55.0%
 C      TSLA   2018-11-16   $350.00     625      $15.10   $49.99   $33.94     $1.40    0.39%     3,510     2,362     67.3%     0.18%     161.9     296      214.5%    117.3%
 C      TSLA   2018-11-16   $355.00     315      $13.65   $49.01   $31.27     $1.25    0.35%     3,510     2,242     63.9%     0.18%      84.5     152      207.1%    115.1%
 C      TSLA   2018-11-16   $360.00   3,864      $12.00   $45.00   $22.43     $1.22    0.34%     3,510     2,210     63.0%     0.17%     903.8   3,322      237.5%     64.6%
 C      TSLA   2018-11-16   $365.00     492      $10.70   $40.00   $17.49     $1.23    0.35%     3,510     2,056     58.6%     0.17%      92.2     390      296.5%     70.1%
 C      TSLA   2018-11-16   $370.00     395       $9.40   $36.46   $27.46     $1.20    0.34%     3,510     1,936     55.2%     0.16%     114.5     198      191.7%    110.8%
 C      TSLA   2018-11-16   $375.00     230       $8.25   $39.00   $25.64     $1.16    0.33%     3,510     1,801     51.3%     0.16%      67.0     101      190.7%    126.5%
 C      TSLA   2018-11-16   $380.00   1,248       $7.35   $35.00   $22.16     $1.12    0.32%     3,510     1,705     48.6%     0.15%     411.1     764      168.7%     90.8%
 C      TSLA   2018-11-16   $385.00     131       $6.20   $33.80   $17.64     $1.14    0.32%     3,510     1,526     43.5%     0.15%     171.1     196       42.5%     37.1%
 C      TSLA   2018-11-16   $390.00   1,400       $5.75   $32.00   $16.39     $1.08    0.30%     3,510     1,480     42.2%     0.14%     332.5     541      233.9%    143.8%
 C      TSLA   2018-11-16   $395.00      83       $5.17   $25.00   $13.20     $1.13    0.32%     3,510     1,387     39.5%     0.12%      23.5      57      196.2%     80.9%
 C      TSLA   2018-11-16   $400.00   3,044       $4.13   $27.00   $14.94     $2.06    0.57%     3,510     1,402     39.9%     0.11%     613.3     860      275.7%    196.6%
 C      TSLA   2018-11-16   $405.00     307       $3.52   $21.05     $8.75    $1.09    0.31%     3,510     1,205     34.3%     0.10%      93.1     251      183.2%     68.0%
 C      TSLA   2018-11-16   $410.00     588       $2.98   $19.46     $9.98    $1.02    0.29%     3,510     1,038     29.6%     0.09%     228.0     425      143.3%     76.9%
 C      TSLA   2018-11-16   $415.00     457       $2.66   $18.00     $9.05    $1.02    0.29%     3,510        888    25.3%     0.08%     168.2     299      150.9%     84.9%
 C      TSLA   2018-11-16   $420.00     932       $2.30   $17.00     $7.70    $0.94    0.26%     3,510        754    21.5%     0.07%     300.9     495      172.1%    104.6%
 C      TSLA   2018-11-16   $425.00     469       $2.00   $15.35     $7.29    $1.02    0.29%     3,510        644    18.3%     0.06%     205.9     311      126.5%     83.8%
 C      TSLA   2018-11-16   $430.00     757       $1.60   $14.70     $8.12    $0.91    0.26%     3,510        538    15.3%     0.05%     265.5     337      158.4%    124.8%
 C      TSLA   2018-11-16   $435.00     201       $1.42   $10.85     $3.21    $1.06    0.30%     3,510        320     9.1%     0.04%      44.8     152      249.3%     73.5%
 C      TSLA   2018-11-16   $440.00     313       $0.87   $10.60     $5.22    $1.01    0.28%     3,510        130     3.7%     0.03%     110.7     150      157.1%    115.9%
 C      TSLA   2018-11-16   $445.00      50       $1.15    $5.99     $3.38    $1.08    0.30%     3,510         64     1.8%     0.03%      26.3      57      105.6%     48.7%
 C      TSLA   2018-11-16   $450.00   3,891       $0.91   $10.80     $4.40    $0.92    0.26%     3,510         34     1.0%     0.03%   1,349.0   1,893      160.2%    114.2%
 C      TSLA   2018-11-16   $460.00      98       $0.75    $3.60     $2.08    $1.06    0.30%     3,510          2     0.1%     0.03%      37.0      94      147.1%     57.9%
 C      TSLA   2018-11-16   $470.00     134       $0.53    $6.87     $2.09    $0.92    0.26%     3,510          0     0.0%         ---    62.3      88      119.5%     84.6%
 C      TSLA   2018-11-16   $480.00     696       $0.55    $5.80     $3.21    $0.95    0.27%     3,510          0     0.0%         ---   198.6     281      194.7%    137.6%
 C      TSLA   2018-11-16   $490.00      59       $0.79    $3.15     $0.99    $1.00    0.28%     3,510          0     0.0%         ---    24.2      57      135.4%     57.5%
 C      TSLA   2018-11-16   $500.00     352       $0.45    $3.89     $0.88    $0.86    0.24%     3,510          0     0.0%         ---   123.3     328      158.6%     59.6%
 C      TSLA   2018-11-16   $510.00      91       $0.53    $0.80     $0.66    $0.52    0.15%     2,730          0     0.0%         ---    58.3      91      111.6%     71.4%
 C      TSLA   2018-11-16   $520.00      32       $0.49    $2.89     $1.71    $1.06    0.30%     3,510          0     0.0%         ---    11.6      22      153.3%     80.8%
 C      TSLA   2018-11-16   $530.00      12       $0.30    $0.43     $0.37    $0.63    0.18%     2,730          0     0.0%         ---     5.4      12      159.5%     71.4%
 C      TSLA   2018-11-16   $600.00       3       $0.25    $0.25     $0.25    $0.60    0.17%     2,730          0     0.0%         ---     2.6       3       81.6%     71.4%
 C      TSLA   2018-12-21   $140.00       1     $215.00  $215.00  $215.00     $3.75    1.07%     3,510     1,776     50.6%     0.11%      13.0      13        4.3%      4.3%
 C      TSLA   2018-12-21   $200.00      18     $115.09  $174.35  $135.06     $3.11    0.88%     3,510     2,453     69.9%     0.23%      26.1      30       38.3%     33.3%
 C      TSLA   2018-12-21   $205.00       1     $161.35  $161.35  $161.35     $3.06    0.87%     3,510     2,429     69.2%     0.23%       3.9       4       14.2%     13.9%
 C      TSLA   2018-12-21   $215.00       1     $166.00  $166.00  $166.00     $2.94    0.83%     3,510     2,466     70.3%     0.25%       1.8       2       30.9%     27.8%
 C      TSLA   2018-12-21   $220.00       6     $159.80  $159.80  $159.80     $2.86    0.81%     3,510     2,527     72.0%     0.26%      23.0      23       14.5%     14.5%
 C      TSLA   2018-12-21   $225.00       3      $95.20  $123.00  $113.73     $2.80    0.79%     3,510     2,577     73.4%     0.27%      15.4      17       10.8%      9.8%
 C      TSLA   2018-12-21   $235.00       1      $87.36   $87.36   $87.36     $2.73    0.77%     3,510     2,560     72.9%     0.28%       3.1       4       17.9%     13.9%



                                                                                                                                                                          p. 19 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of   Open    Open         Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-12-21   $240.00       4     $125.70  $141.85  $137.33     $2.64    0.75%     3,510     2,588     73.7%     0.29%     14.3       15       15.5%     14.8%
 C      TSLA   2018-12-21   $250.00      28     $114.00  $132.80  $129.70     $2.52    0.71%     3,510     2,666     76.0%     0.30%     23.7       42       65.6%     37.0%
 C      TSLA   2018-12-21   $260.00      33      $90.46  $118.92   $93.19     $2.43    0.69%     3,510     2,662     75.8%     0.31%     38.5       54       47.6%     34.0%
 C      TSLA   2018-12-21   $265.00       2     $103.70  $103.70  $103.70     $2.38    0.67%     3,510     2,671     76.1%     0.31%      8.4        9       13.2%     12.3%
 C      TSLA   2018-12-21   $270.00     223      $61.95  $114.10  $101.43     $2.32    0.66%     3,510     2,683     76.4%     0.31%  1,125.9    1,247       11.0%      9.9%
 C      TSLA   2018-12-21   $275.00      10      $84.26   $84.26   $84.26     $2.28    0.64%     3,510     2,697     76.8%     0.31%     82.0       82        6.8%      6.8%
 C      TSLA   2018-12-21   $280.00      39      $55.00  $108.70   $81.99     $2.22    0.63%     3,413     2,696     79.0%     0.32%     93.7      117       23.1%     18.5%
 C      TSLA   2018-12-21   $285.00      23      $51.50   $76.58   $75.15     $2.17    0.61%     3,510     2,680     76.4%     0.32%     83.0       85       15.4%     15.0%
 C      TSLA   2018-12-21   $290.00      33      $49.56   $98.00   $63.51     $2.10    0.59%     3,510     2,714     77.3%     0.32%    166.0      183       11.0%     10.0%
 C      TSLA   2018-12-21   $295.00      15      $48.22   $94.00   $53.68     $2.06    0.58%     3,510     2,710     77.2%     0.32%    108.9      109        7.7%      7.6%
 C      TSLA   2018-12-21   $300.00     208      $42.00   $93.00   $67.14     $1.81    0.51%     3,510     2,741     78.1%     0.32%  1,204.9    1,223        9.6%      9.4%
 C      TSLA   2018-12-21   $305.00      27      $40.00   $86.75   $62.40     $1.76    0.50%     3,510     2,719     77.5%     0.32%    267.5      271        5.6%      5.5%
 C      TSLA   2018-12-21   $310.00     171      $37.11   $85.00   $63.66     $1.71    0.48%     3,510     2,730     77.8%     0.31%    577.9      626       16.4%     15.2%
 C      TSLA   2018-12-21   $315.00      63      $34.51   $76.10   $49.89     $1.65    0.46%     3,510     2,728     77.7%     0.31%    160.0      165       21.9%     21.2%
 C      TSLA   2018-12-21   $320.00     230      $31.94   $80.00   $49.14     $1.59    0.45%     3,510     2,733     77.9%     0.31%    299.5      343       42.7%     37.3%
 C      TSLA   2018-12-21   $325.00     153      $29.11   $76.50   $44.08     $1.55    0.43%     3,510     2,722     77.5%     0.30%    466.3      490       18.2%     17.3%
 C      TSLA   2018-12-21   $330.00     185      $27.16   $71.65   $39.14     $1.22    0.34%     3,413     2,708     79.3%     0.30%    354.8      366       29.0%     28.1%
 C      TSLA   2018-12-21   $335.00      84      $25.15   $62.20   $45.35     $1.46    0.41%     3,510     2,655     75.6%     0.29%    262.9      270       17.8%     17.3%
 C      TSLA   2018-12-21   $340.00     359      $22.60   $62.14   $41.14     $1.25    0.35%     3,510     2,698     76.9%     0.29%    907.1      941       22.0%     21.2%
 C      TSLA   2018-12-21   $345.00     214      $20.40   $55.43   $40.91     $1.18    0.33%     3,509     2,689     76.6%     0.28%    471.2      482       25.2%     24.7%
 C      TSLA   2018-12-21   $350.00   1,592      $18.70   $58.10   $36.47     $1.19    0.33%     3,510     2,748     78.3%     0.27%  1,509.2    1,668       58.6%     53.0%
 C      TSLA   2018-12-21   $355.00     309      $16.98   $51.30   $35.69     $1.25    0.35%     3,510     2,666     76.0%     0.26%    199.3      229       86.1%     75.0%
 C      TSLA   2018-12-21   $360.00   1,920      $15.40   $55.00   $34.80     $1.30    0.36%     3,510     2,671     76.1%     0.25%    909.6    1,047      117.3%    101.9%
 C      TSLA   2018-12-21   $365.00     414      $14.00   $47.40   $33.59     $1.10    0.31%     3,510     2,587     73.7%     0.23%    449.0      503       51.2%     45.7%
 C      TSLA   2018-12-21   $370.00     620      $12.45   $45.10   $31.63     $1.10    0.31%     3,510     2,608     74.3%     0.22%    625.7      681       55.0%     50.6%
 C      TSLA   2018-12-21   $375.00     485      $11.30   $48.25   $26.71     $1.09    0.31%     3,510     2,525     71.9%     0.21%  4,661.4    4,689        5.8%      5.7%
 C      TSLA   2018-12-21   $380.00     574       $9.80   $41.00   $22.37     $0.96    0.27%     3,413     2,479     72.6%     0.20%    457.3      539       69.7%     59.2%
 C      TSLA   2018-12-21   $385.00     172       $8.70   $35.90   $17.13     $1.10    0.31%     3,510     2,300     65.5%     0.19%    166.9      228       57.3%     41.9%
 C      TSLA   2018-12-21   $390.00   2,604       $7.92   $36.34   $21.30     $1.04    0.29%     3,510     2,127     60.6%     0.18%  1,063.9    1,312      136.0%    110.3%
 C      TSLA   2018-12-21   $395.00     180       $6.95   $27.00   $18.49     $1.04    0.29%     3,510     1,925     54.8%     0.18%    130.8      165       76.5%     60.6%
 C      TSLA   2018-12-21   $400.00   2,283       $6.00   $30.35   $15.38     $0.86    0.24%     3,413     1,783     52.2%     0.17%  2,795.6    2,926       45.4%     43.3%
 C      TSLA   2018-12-21   $410.00     646       $4.45   $27.50   $15.24     $0.97    0.27%     3,510     1,527     43.5%     0.15%    229.3      327      156.5%    109.8%
 C      TSLA   2018-12-21   $420.00   2,298       $2.95   $21.30   $11.56     $1.31    0.37%     3,510     1,352     38.5%     0.11%  1,535.0    2,023       83.2%     63.1%
 C      TSLA   2018-12-21   $430.00   3,329       $2.54   $18.93     $9.73    $1.30    0.36%     3,510     1,034     29.5%     0.09%  4,560.8    5,176       40.6%     35.7%
 C      TSLA   2018-12-21   $440.00     319       $1.82   $15.00     $7.15    $0.90    0.25%     3,510        636    18.1%     0.07%    978.2      996       18.1%     17.8%
 C      TSLA   2018-12-21   $450.00     554       $1.36   $14.00     $5.87    $0.81    0.23%     3,510        422    12.0%     0.05%    397.1      472       77.5%     65.2%
 C      TSLA   2018-12-21   $460.00     491       $0.95   $12.23     $6.26    $0.83    0.23%     3,510        175     5.0%     0.03%    782.5      849       34.9%     32.1%
 C      TSLA   2018-12-21   $470.00     105       $0.91   $10.05     $2.75    $0.86    0.24%     3,510         24     0.7%     0.02%    143.5      155       40.7%     37.6%
 C      TSLA   2018-12-21   $480.00     161       $0.62    $9.65     $2.35    $0.88    0.25%     3,510          1     0.0%     0.01%     96.4      108       92.8%     82.8%



                                                                                                                                                                          p. 20 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2018-12-21   $490.00      80       $0.50    $7.30     $2.59    $0.90    0.25%     3,510          0     0.0%         ---   124.6     131       35.7%     33.9%
 C      TSLA   2018-12-21   $500.00     996       $0.40    $7.15     $1.08    $0.75    0.21%     3,510          0     0.0%         ---   358.8     836      154.2%     66.2%
 C      TSLA   2018-12-21   $510.00       2       $0.60    $1.00     $0.80    $0.61    0.18%     2,730          0     0.0%         ---     1.0       2      142.9%     71.4%
 C      TSLA   2018-12-21   $520.00     112       $0.30    $4.50     $1.19    $0.84    0.23%     3,510          0     0.0%         ---   222.5     230       28.0%     27.1%
 C      TSLA   2018-12-21   $530.00      32       $0.34    $0.80     $0.57    $0.69    0.20%     2,730          0     0.0%         ---     9.1      22      250.5%    103.9%
 C      TSLA   2018-12-21   $540.00   1,327       $0.15    $3.85     $0.82    $0.70    0.20%     3,510          0     0.0%         ---   904.5   1,387       81.5%     53.2%
 C      TSLA   2018-12-21   $560.00      24       $0.35    $0.36     $0.35    $0.73    0.21%     2,730          0     0.0%         ---    13.1      24      130.6%     71.4%
 C      TSLA   2018-12-21   $570.00      46       $0.30    $0.31     $0.30    $0.72    0.21%     2,730          0     0.0%         ---    23.0      46      142.9%     71.4%
 C      TSLA   2018-12-21   $630.00       1       $0.21    $0.21     $0.21    $0.64    0.19%     2,730          0     0.0%         ---     0.1       1      571.4%     71.4%
 C      TSLA   2019-01-18    $50.00       1     $325.40  $325.40  $325.40     $4.76    1.36%     3,510          0     0.0%         ---    21.5     116        2.6%      0.5%
 C      TSLA   2019-01-18    $75.00      33     $278.25  $281.40  $279.66     $4.46    1.27%     3,510        273     7.8%     0.34%     100.7     116       18.2%     15.8%
 C      TSLA   2019-01-18    $80.00      90     $254.60  $294.24  $289.91     $4.67    1.33%     3,510         61     1.7%     0.14%     156.0     159       32.1%     31.4%
 C      TSLA   2019-01-18    $85.00      80     $289.21  $289.21  $289.21     $4.66    1.33%     3,510        122     3.5%     0.04%     254.5     270       17.5%     16.5%
 C      TSLA   2019-01-18   $100.00     249     $209.85  $277.47  $252.33     $3.49    1.00%     3,510     2,647     75.4%     0.33%   3,030.0   3,054        4.6%      4.5%
 C      TSLA   2019-01-18   $105.00       3     $237.65  $272.53  $260.90     $4.54    1.30%     3,510        811    23.1%     0.06%     108.4     110        1.5%      1.5%
 C      TSLA   2019-01-18   $150.00      18     $164.77  $228.00  $194.36     $4.17    1.19%     3,510     2,369     67.5%     0.15%     885.7     890        1.1%      1.1%
 C      TSLA   2019-01-18   $160.00       5     $201.00  $201.00  $201.00     $3.97    1.13%     3,510     2,405     68.5%     0.17%     294.0     294        0.9%      0.9%
 C      TSLA   2019-01-18   $170.00       5     $190.75  $190.75  $190.75     $3.87    1.10%     3,510     2,452     69.9%     0.19%     637.2     638        0.4%      0.4%
 C      TSLA   2019-01-18   $175.00      30     $185.55  $186.90  $186.07     $3.81    1.08%     3,510     2,492     71.0%     0.20%      93.6     107       17.8%     15.6%
 C      TSLA   2019-01-18   $180.00      14     $134.75  $184.00  $168.02     $3.75    1.07%     3,510     2,531     72.1%     0.21%     515.5     520        1.5%      1.5%
 C      TSLA   2019-01-18   $185.00       6     $182.00  $189.07  $183.18     $3.70    1.05%     3,510     2,541     72.4%     0.22%     387.5     392        0.9%      0.9%
 C      TSLA   2019-01-18   $190.00      21     $125.00  $188.00  $167.76     $3.65    1.04%     3,510     2,571     73.2%     0.23%   1,974.2   1,975        0.6%      0.6%
 C      TSLA   2019-01-18   $195.00       6     $129.00  $170.00  $160.60     $3.58    1.02%     3,510     2,580     73.5%     0.24%     369.7     372        0.9%      0.9%
 C      TSLA   2019-01-18   $200.00     122     $117.00  $185.00  $157.40     $3.47    0.98%     3,510     2,743     78.1%     0.26%   2,874.5   2,903        2.4%      2.3%
 C      TSLA   2019-01-18   $210.00      17     $155.80  $167.06  $156.48     $3.38    0.96%     3,510     2,666     76.0%     0.27%   1,239.1   1,240        0.8%      0.8%
 C      TSLA   2019-01-18   $220.00      21     $128.22  $157.79  $151.31     $3.25    0.92%     3,510     2,707     77.1%     0.30%     812.1     818        1.4%      1.4%
 C      TSLA   2019-01-18   $230.00      72      $95.50  $153.19  $127.90     $3.12    0.88%     3,510     2,758     78.6%     0.31%   1,663.4   1,673        2.4%      2.4%
 C      TSLA   2019-01-18   $240.00      29      $84.90  $145.85  $115.98     $2.99    0.85%     3,510     2,775     79.1%     0.32%   1,491.9   1,496        1.1%      1.1%
 C      TSLA   2019-01-18   $250.00     194      $82.00  $137.80  $116.26     $2.84    0.80%     3,510     2,846     81.1%     0.34%   2,165.1   2,197        5.0%      4.9%
 C      TSLA   2019-01-18   $260.00     304      $73.75  $127.00  $102.02     $2.74    0.77%     3,510     2,823     80.4%     0.35%   1,132.4   1,245       14.9%     13.6%
 C      TSLA   2019-01-18   $270.00     153      $64.15  $119.00   $97.66     $2.17    0.62%     3,413     2,846     83.4%     0.36%     882.3     938        9.6%      9.1%
 C      TSLA   2019-01-18   $280.00     148      $57.77  $106.06   $88.66     $2.49    0.70%     3,510     2,851     81.2%     0.37%   1,307.8   1,330        6.3%      6.2%
 C      TSLA   2019-01-18   $290.00      86      $51.47  $100.00   $77.30     $2.35    0.66%     3,510     2,866     81.7%     0.37%   1,742.5   1,759        2.7%      2.7%
 C      TSLA   2019-01-18   $300.00   7,568      $45.40   $96.00   $73.16     $1.66    0.47%     3,413     2,934     86.0%     0.38% 10,487.7   11,798       40.1%     35.6%
 C      TSLA   2019-01-18   $310.00     285      $40.00   $86.30   $65.79     $1.90    0.53%     3,510     2,885     82.2%     0.37%   2,988.7   2,998        5.3%      5.3%
 C      TSLA   2019-01-18   $320.00   1,304      $34.64   $83.00   $57.25     $1.43    0.40%     3,413     2,897     84.9%     0.37%   3,338.3   3,643       21.7%     19.9%
 C      TSLA   2019-01-18   $330.00   1,484      $29.50   $77.00   $46.41     $1.57    0.44%     3,413     2,853     83.6%     0.36%   5,247.7   5,437       15.7%     15.2%
 C      TSLA   2019-01-18   $340.00   1,094      $25.60   $65.00   $46.15     $1.19    0.33%     3,413     2,818     82.6%     0.34%   6,028.9   6,095       10.1%     10.0%
 C      TSLA   2019-01-18   $350.00   5,252      $21.45   $60.97   $44.51     $2.64    0.73%     3,510     2,870     81.8%     0.32% 11,483.0   12,188       25.4%     23.9%



                                                                                                                                                                          p. 21 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]     [16]         [17]      [18]
                                                                                                                                                           Weekly    Weekly
                                                                 Volume-             Average                               Average                        Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum       Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open     Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest        Interest  Interest
 C      TSLA   2019-01-18   $360.00   3,634      $17.66   $51.25   $40.15     $1.12    0.32%     3,510     2,808     80.0%     0.30%    7,688.6   7,977       26.3%     25.3%
 C      TSLA   2019-01-18   $365.00     397      $16.97   $50.00   $35.65     $1.09    0.31%     3,510     2,780     79.2%     0.27%    1,438.9   1,510       15.3%     14.6%
 C      TSLA   2019-01-18   $370.00   2,622      $14.35   $47.75   $31.43     $2.06    0.57%     3,510     2,775     79.1%     0.26%    3,137.6   3,313       46.4%     44.0%
 C      TSLA   2019-01-18   $375.00   1,163      $13.30   $50.00   $30.31     $2.38    0.66%     3,510     2,721     77.5%     0.25%    2,837.2   2,923       22.8%     22.1%
 C      TSLA   2019-01-18   $380.00   3,359      $11.95   $42.00   $27.56     $1.04    0.29%     3,510     2,708     77.2%     0.23%    3,335.7   3,630       55.9%     51.4%
 C      TSLA   2019-01-18   $385.00     474      $10.85   $42.70   $26.94     $1.06    0.30%     3,510     2,656     75.7%     0.21%      795.2     836       33.1%     31.5%
 C      TSLA   2019-01-18   $390.00   2,031       $9.35   $35.00   $23.85     $1.01    0.28%     3,509     2,555     72.8%     0.20%    3,168.6   3,321       35.6%     34.0%
 C      TSLA   2019-01-18   $395.00   1,319       $8.58   $30.90   $11.34     $1.01    0.28%     3,510     2,392     68.1%     0.18%    1,516.6   1,554       48.3%     47.2%
 C      TSLA   2019-01-18   $400.00 13,632        $7.55   $34.00   $20.39     $1.13    0.32%     3,510     2,301     65.6%     0.17% 11,793.7    11,966       64.2%     63.3%
 C      TSLA   2019-01-18   $405.00     634       $6.65   $33.00   $20.27     $0.97    0.27%     3,510     2,099     59.8%     0.15%      865.3     917       40.7%     38.4%
 C      TSLA   2019-01-18   $410.00   2,869       $5.80   $30.25   $17.15     $0.89    0.25%     3,510     1,950     55.6%     0.13%    2,001.2   2,308       79.6%     69.1%
 C      TSLA   2019-01-18   $415.00   1,238       $5.15   $24.50     $9.69    $0.91    0.26%     3,510     1,716     48.9%     0.12%      537.4     791      128.0%     87.0%
 C      TSLA   2019-01-18   $420.00 11,687        $4.35   $25.85   $14.41     $0.76    0.22%     3,510     1,562     44.5%     0.15%    5,634.3   7,495      115.2%     86.6%
 C      TSLA   2019-01-18   $430.00   2,923       $3.10   $22.00   $11.84     $0.83    0.23%     3,510        942    26.8%     0.09%    2,498.7   2,795       65.0%     58.1%
 C      TSLA   2019-01-18   $440.00   1,157       $2.60   $22.26     $9.95    $0.76    0.22%     3,510        580    16.5%     0.07%    2,518.6   2,570       25.5%     25.0%
 C      TSLA   2019-01-18   $450.00   6,628       $1.77   $19.50     $8.01    $1.66    0.46%     3,510        374    10.7%     0.07%    7,118.2   7,303       51.7%     50.4%
 C      TSLA   2019-01-18   $460.00   2,331       $1.19   $14.10     $5.20    $0.70    0.20%     3,510        215     6.1%     0.05%    1,421.2   1,724       91.1%     75.1%
 C      TSLA   2019-01-18   $470.00     736       $1.10   $13.50     $4.37    $0.68    0.19%     3,510         86     2.5%     0.04%    2,159.3   2,228       18.9%     18.4%
 C      TSLA   2019-01-18   $480.00   2,514       $1.00   $11.50     $5.05    $0.69    0.19%     3,510         21     0.6%     0.02%    2,593.1   2,795       53.9%     50.0%
 C      TSLA   2019-01-18   $490.00     488       $0.62   $11.00     $1.72    $0.75    0.21%     3,510          0     0.0%         ---  1,315.3   1,508       20.6%     18.0%
 C      TSLA   2019-01-18   $500.00 10,404        $0.60    $9.80     $3.04    $0.35    0.10%     3,510          1     0.0%     0.15% 12,847.2    13,506       45.0%     42.8%
 C      TSLA   2019-01-18   $510.00     160       $0.63    $6.40     $1.41    $0.88    0.25%     3,510          0     0.0%         ---    521.4     545       17.0%     16.3%
 C      TSLA   2019-01-18   $520.00     417       $0.52    $6.10     $2.08    $0.81    0.23%     3,510          0     0.0%         ---    905.4     939       25.6%     24.7%
 C      TSLA   2019-01-18   $530.00     263       $0.50    $4.15     $1.95    $0.91    0.26%     3,510          0     0.0%         ---    627.2     649       23.3%     22.5%
 C      TSLA   2019-01-18   $540.00     180       $0.24    $4.00     $1.19    $1.06    0.30%     3,510          0     0.0%         ---    416.3     442       24.0%     22.6%
 C      TSLA   2019-01-18   $550.00   1,228       $0.35    $4.75     $1.22    $0.88    0.25%     3,510          0     0.0%         ---  3,418.8   3,647       20.0%     18.7%
 C      TSLA   2019-01-18   $560.00      28       $0.40    $3.95     $2.55    $0.96    0.27%     3,510          0     0.0%         ---  1,142.8   1,161        1.4%      1.3%
 C      TSLA   2019-01-18   $570.00     152       $0.41    $3.13     $0.94    $0.80    0.23%     3,510          0     0.0%         ---    353.7     367       23.9%     23.0%
 C      TSLA   2019-01-18   $580.00     431       $0.30    $3.29     $0.99    $1.05    0.30%     3,510          0     0.0%         ---    905.9     962       26.4%     24.9%
 C      TSLA   2019-01-18   $590.00      24       $0.15    $2.24     $0.62    $1.15    0.32%     3,510          0     0.0%         ---    756.4     759        1.8%      1.8%
 C      TSLA   2019-01-18   $600.00   3,655       $0.25    $3.00     $1.12    $0.29    0.08%     3,510          0     0.0%         --- 24,686.6  24,907        8.2%      8.2%
 C      TSLA   2019-01-18   $610.00      14       $0.40    $0.60     $0.46    $1.15    0.32%     3,510          0     0.0%         ---    525.2     530        1.5%      1.5%
 C      TSLA   2019-01-18   $620.00     135       $0.19    $2.20     $0.83    $0.93    0.26%     3,510          0     0.0%         ---    657.3     665       11.4%     11.3%
 C      TSLA   2019-01-18   $630.00       6       $0.30    $0.30     $0.30    $1.01    0.28%     3,510          0     0.0%         ---    365.0     365        0.9%      0.9%
 C      TSLA   2019-01-18   $640.00      61       $0.20    $0.50     $0.29    $0.58    0.16%     3,510          0     0.0%         ---    456.6     469        7.4%      7.2%
 C      TSLA   2019-01-18   $650.00   1,177       $0.15    $2.50     $0.31    $0.17    0.05%     3,413          0     0.0%         ---  2,455.0   2,589       26.6%     25.3%
 C      TSLA   2019-01-18   $660.00     112       $0.14    $1.54     $0.28    $0.46    0.13%     3,510          0     0.0%         ---    425.7     445       14.6%     14.0%
 C      TSLA   2019-01-18   $670.00     353       $0.13    $1.17     $0.33    $0.26    0.07%     3,510          0     0.0%         ---    512.6     560       38.3%     35.0%
 C      TSLA   2019-01-18   $680.00   2,131       $0.05    $1.45     $0.36    $0.10    0.03%     3,510          0     0.0%         --- 10,839.4  11,034       10.9%     10.7%



                                                                                                                                                                           p. 22 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]       [18]
                                                                                                                                                         Weekly     Weekly
                                                                Volume-             Average                               Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open       Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest   Interest
 C      TSLA   2019-02-15   $200.00      1     $159.75  $159.75  $159.75     $3.47    0.99%     3,510     2,737     78.0%     0.26%       0.7       1       79.4%      55.6%
 C      TSLA   2019-02-15   $230.00      2     $154.35  $154.55  $154.45     $3.10    0.88%     3,510     2,746     78.2%     0.31%       0.0       0           ---        ---
 C      TSLA   2019-02-15   $250.00     11      $82.50  $103.50   $88.29     $2.88    0.82%     3,510     2,802     79.8%     0.32%       0.8       7      763.9%      87.3%
 C      TSLA   2019-02-15   $270.00     22      $66.85  $108.00   $86.59     $2.66    0.75%     3,510     2,807     80.0%     0.34%       8.9      20      137.3%      61.1%
 C      TSLA   2019-02-15   $280.00     24      $61.60   $80.50   $62.72     $2.56    0.72%     3,510     2,802     79.8%     0.33%       2.1      20      634.9%      66.7%
 C      TSLA   2019-02-15   $290.00     17      $54.00   $92.70   $57.18     $2.47    0.70%     3,510     2,782     79.3%     0.33%       2.5      17      377.8%      55.6%
 C      TSLA   2019-02-15   $300.00     20      $48.46   $91.31   $70.80     $2.36    0.66%     3,510     2,779     79.2%     0.33%      10.4      19      106.8%      58.5%
 C      TSLA   2019-02-15   $310.00     41      $42.94   $58.35   $45.77     $2.08    0.59%     3,510     2,785     79.3%     0.32%       4.0      37      569.4%      61.6%
 C      TSLA   2019-02-15   $320.00     16      $38.52   $43.12   $41.66     $1.98    0.56%     3,510     2,774     79.0%     0.31%       1.6      16      555.6%      55.6%
 C      TSLA   2019-02-15   $330.00     32      $34.10   $70.11   $46.47     $1.92    0.54%     3,510     2,750     78.3%     0.29%       7.4      29      240.2%      61.3%
 C      TSLA   2019-02-15   $340.00     62      $29.50   $62.75   $40.19     $1.85    0.52%     3,510     2,739     78.0%     0.27%      20.6      49      167.2%      70.3%
 C      TSLA   2019-02-15   $350.00    137      $24.65   $64.85   $46.61     $1.79    0.50%     3,510     2,659     75.8%     0.26%      63.2      86      120.4%      88.5%
 C      TSLA   2019-02-15   $360.00    232      $20.85   $52.50   $36.72     $1.77    0.50%     3,510     2,560     72.9%     0.23%    126.3     201       102.0%      64.1%
 C      TSLA   2019-02-15   $370.00     57      $16.80   $48.00   $34.21     $1.59    0.45%     3,510     2,413     68.7%     0.21%      29.0      51      109.2%      62.1%
 C      TSLA   2019-02-15   $380.00    125      $15.20   $43.05   $32.27     $1.55    0.44%     3,510     2,212     63.0%     0.18%      60.0      92      115.7%      75.5%
 C      TSLA   2019-02-15   $390.00     87      $12.02   $40.00   $25.81     $1.55    0.44%     3,510     1,767     50.3%     0.17%      34.0      72      142.2%      67.1%
 C      TSLA   2019-02-15   $400.00    232       $9.95   $33.00   $17.19     $1.54    0.44%     3,510     1,354     38.6%     0.15%      76.8    215       167.8%      59.9%
 C      TSLA   2019-02-15   $410.00     40       $8.01   $24.70   $13.73     $1.54    0.44%     3,510     1,069     30.5%     0.12%      11.9      35      186.7%      63.5%
 C      TSLA   2019-02-15   $420.00    915       $6.42   $27.50   $17.58     $1.38    0.39%     3,413        777    22.8%     0.10%    412.6     583       123.2%      87.2%
 C      TSLA   2019-02-15   $430.00    277       $5.20   $16.75     $9.62    $1.47    0.42%     3,510        482    13.7%     0.08%      72.9    196       211.1%      78.5%
 C      TSLA   2019-02-15   $440.00    110       $5.95   $21.50     $9.43    $1.48    0.42%     3,510        295     8.4%     0.06%      38.8      93      157.5%      65.7%
 C      TSLA   2019-02-15   $450.00    297       $3.20   $20.00   $10.83     $1.38    0.39%     3,510        147     4.2%     0.05%    155.0     202       106.5%      81.7%
 C      TSLA   2019-02-15   $460.00     20       $3.60    $7.75     $6.41    $1.44    0.41%     3,510         39     1.1%     0.03%       7.2      20      154.3%      55.6%
 C      TSLA   2019-02-15   $470.00     15       $2.77    $7.87     $3.97    $1.37    0.39%     3,510          8     0.2%     0.03%       5.2      14      160.3%      59.5%
 C      TSLA   2019-02-15   $480.00     53       $1.48   $13.35     $9.42    $1.46    0.41%     3,510          0     0.0%         ---    34.1      53       86.3%      55.6%
 C      TSLA   2019-02-15   $490.00     83       $0.94   $11.80     $6.44    $1.44    0.41%     3,510          2     0.1%     0.03%      43.2      77      106.7%      59.9%
 C      TSLA   2019-02-15   $500.00     50       $0.65    $8.65     $4.71    $1.34    0.38%     3,413          0     0.0%         ---    18.7      35      148.5%      79.4%
 C      TSLA   2019-02-15   $520.00     40       $0.36    $6.70     $1.33    $1.41    0.40%     3,510          0     0.0%         ---     7.7      36      288.6%      61.7%
 C      TSLA   2019-03-15    $70.00      5     $286.35  $286.35  $286.35     $5.17    1.48%     3,510          4     0.1%     0.27%      45.0      45        6.2%       6.2%
 C      TSLA   2019-03-15    $75.00      2     $303.25  $303.25  $303.25     $5.14    1.47%     3,510          0     0.0%         ---  167.2     168         0.7%       0.7%
 C      TSLA   2019-03-15   $100.00      5     $256.40  $257.62  $256.64     $5.00    1.43%     3,509     2,230     63.6%     0.10%    209.5     212         1.3%       1.3%
 C      TSLA   2019-03-15   $200.00     39     $119.90  $165.72  $134.20     $4.12    1.17%     3,510     2,191     62.4%     0.25%      17.6      45      123.1%      48.1%
 C      TSLA   2019-03-15   $205.00      1     $147.90  $147.90  $147.90     $4.07    1.16%     3,510     2,045     58.3%     0.25%      25.9      26        2.1%       2.1%
 C      TSLA   2019-03-15   $230.00      6      $97.15  $120.00  $101.19     $3.87    1.10%     3,510     2,006     57.2%     0.28%    140.4     144         2.4%       2.3%
 C      TSLA   2019-03-15   $245.00      3      $88.65   $94.75   $92.72     $3.70    1.05%     3,510     2,019     57.5%     0.29%      50.7      51        3.3%       3.3%
 C      TSLA   2019-03-15   $250.00     64      $86.00  $134.00  $118.10     $3.65    1.03%     3,510     2,102     59.9%     0.29%    824.5     825         4.3%       4.3%
 C      TSLA   2019-03-15   $255.00      3     $101.90  $128.74  $110.85     $3.60    1.02%     3,510     2,059     58.7%     0.30%      41.0      41        4.1%       4.1%
 C      TSLA   2019-03-15   $270.00      6      $80.91  $118.00   $92.18     $3.43    0.97%     3,510     2,117     60.3%     0.30%    427.0     427         0.8%       0.8%
 C      TSLA   2019-03-15   $275.00      3     $102.62  $108.55  $106.13     $3.39    0.96%     3,510     1,990     56.7%     0.30%       8.9      11       18.7%      15.2%



                                                                                                                                                                            p. 23 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2019-03-15   $280.00      15      $63.50  $109.37   $88.87     $3.36    0.95%     3,510     2,025     57.7%     0.30%     452.7     454        1.8%      1.8%
 C      TSLA   2019-03-15   $285.00      22      $60.00  $102.50   $74.92     $3.25    0.92%     3,510     1,987     56.6%     0.30%      51.8      65       23.6%     18.8%
 C      TSLA   2019-03-15   $290.00      49      $59.10  $105.90   $84.30     $3.20    0.90%     3,510     1,929     55.0%     0.30%     361.7     381        7.5%      7.1%
 C      TSLA   2019-03-15   $295.00      59      $55.80  $103.00   $88.24     $3.13    0.88%     3,510     1,881     53.6%     0.32%      87.5      94       37.5%     34.9%
 C      TSLA   2019-03-15   $300.00     121      $51.00   $99.25   $71.08     $2.66    0.75%     3,413     1,948     57.1%     0.31%     425.6     430       15.8%     15.6%
 C      TSLA   2019-03-15   $305.00      42      $49.75   $88.00   $62.18     $2.88    0.81%     3,510     1,833     52.2%     0.31%      71.9      80       32.5%     29.2%
 C      TSLA   2019-03-15   $310.00     124      $46.00   $90.00   $71.48     $2.79    0.79%     3,510     1,832     52.2%     0.31%     106.2     145       64.9%     47.5%
 C      TSLA   2019-03-15   $315.00      30      $46.15   $81.70   $66.18     $2.73    0.77%     3,510     1,857     52.9%     0.30%      29.0      44       57.5%     37.9%
 C      TSLA   2019-03-15   $320.00   2,101      $41.35   $82.15   $76.71     $2.63    0.74%     3,510     1,845     52.6%     0.29%   1,342.3   2,230       87.0%     52.3%
 C      TSLA   2019-03-15   $325.00      50      $39.35   $75.20   $58.73     $2.64    0.75%     3,510     1,758     50.1%     0.30%   1,199.8   1,216        2.3%      2.3%
 C      TSLA   2019-03-15   $330.00     169      $36.33   $73.00   $64.60     $2.60    0.73%     3,510     1,760     50.1%     0.30%     378.2     408       24.8%     23.0%
 C      TSLA   2019-03-15   $335.00      24      $33.74   $67.48   $49.85     $2.58    0.73%     3,510     1,696     48.3%     0.29%   1,194.0   1,202        1.1%      1.1%
 C      TSLA   2019-03-15   $340.00     118      $31.81   $69.60   $46.57     $2.53    0.71%     3,510     1,687     48.1%     0.28%     739.0     762        8.9%      8.6%
 C      TSLA   2019-03-15   $345.00      38      $30.30   $66.00   $40.86     $3.99    1.11%     3,510     1,673     47.7%     0.27%     353.6     362        6.0%      5.8%
 C      TSLA   2019-03-15   $350.00   1,865      $27.25   $64.00   $55.13     $4.02    1.12%     3,510     1,675     47.7%     0.25%   1,281.1   1,782       80.9%     58.1%
 C      TSLA   2019-03-15   $355.00      14      $27.11   $55.15   $41.74     $2.46    0.69%     3,510     1,592     45.4%     0.24%     237.7     240        3.3%      3.2%
 C      TSLA   2019-03-15   $360.00     744      $23.80   $60.25   $41.43     $2.40    0.68%     3,510     1,603     45.7%     0.23%   2,992.3   3,212       13.8%     12.9%
 C      TSLA   2019-03-15   $365.00     169      $22.00   $52.45   $45.74     $2.44    0.69%     3,510     1,538     43.8%     0.21%     579.2     590       16.2%     15.9%
 C      TSLA   2019-03-15   $370.00     960      $19.58   $51.95   $42.39     $2.43    0.69%     3,510     1,466     41.8%     0.20%   1,260.1   1,501       42.3%     35.5%
 C      TSLA   2019-03-15   $375.00      94      $19.32   $47.10   $38.45     $2.29    0.64%     3,510     1,376     39.2%     0.19%      97.3     122       53.7%     42.8%
 C      TSLA   2019-03-15   $380.00     750      $16.47   $47.35   $39.39     $2.22    0.63%     3,510     1,282     36.5%     0.18%     832.3   1,055       50.1%     39.5%
 C      TSLA   2019-03-15   $385.00      42      $17.18   $44.30   $31.47     $2.26    0.64%     3,510     1,170     33.3%     0.17%      86.9     105       26.9%     22.2%
 C      TSLA   2019-03-15   $390.00      47      $14.62   $44.30   $24.18     $2.28    0.64%     3,510     1,057     30.1%     0.16%     150.0     152       17.4%     17.2%
 C      TSLA   2019-03-15   $395.00       3      $15.16   $21.35   $18.34     $2.28    0.64%     3,510        995    28.3%     0.15%      47.0      48        3.5%      3.5%
 C      TSLA   2019-03-15   $400.00     393      $11.50   $40.90   $25.40     $2.11    0.60%     3,510        917    26.1%     0.12%     402.1     429       54.3%     50.9%
 C      TSLA   2019-03-15   $405.00      50      $23.70   $31.55   $30.94     $2.26    0.64%     3,510        768    21.9%     0.11%      53.2      58       52.2%     47.9%
 C      TSLA   2019-03-15   $410.00      23      $10.47   $29.95   $23.61     $2.27    0.64%     3,510        515    14.7%     0.09%     109.0     116       11.7%     11.0%
 C      TSLA   2019-03-15   $415.00      73      $14.96   $22.57   $21.97     $2.23    0.63%     3,510        393    11.2%     0.10%      50.7      72       80.0%     56.3%
 C      TSLA   2019-03-15   $420.00   1,290       $7.25   $30.77   $14.81     $2.01    0.57%     3,413        404    11.8%     0.10%     573.4   1,194      125.0%     60.0%
 C      TSLA   2019-03-15   $430.00     558       $6.20   $28.00     $9.02    $2.04    0.57%     3,510        207     5.9%     0.08%     105.9     444      292.7%     69.8%
 C      TSLA   2019-03-15   $440.00     105       $5.00   $23.10   $15.58     $2.14    0.60%     3,510         30     0.9%     0.06%     349.4     370       16.7%     15.8%
 C      TSLA   2019-03-15   $450.00   1,180       $4.25   $23.00   $12.23     $1.88    0.53%     3,510         29     0.8%     0.08%   1,109.6   1,383       59.1%     47.4%
 C      TSLA   2019-03-15   $460.00     286       $3.35   $20.00     $9.16    $1.88    0.53%     3,510         17     0.5%     0.05%     230.6     263       68.9%     60.4%
 C      TSLA   2019-03-15   $470.00      99       $2.62   $18.35     $7.26    $1.95    0.55%     3,510          7     0.2%     0.03%      91.9     126       59.8%     43.7%
 C      TSLA   2019-03-15   $480.00      32       $2.00    $7.85     $3.28    $1.96    0.55%     3,510          1     0.0%     0.01%      32.6      39       54.5%     45.6%
 C      TSLA   2019-03-15   $490.00      31       $1.32    $6.08     $3.05    $1.85    0.52%     3,510          2     0.1%     0.05%     216.9     218        7.9%      7.9%
 C      TSLA   2019-03-15   $500.00     751       $0.97   $14.15     $9.45    $1.73    0.49%     3,510          0     0.0%         ---   396.9     461      105.1%     90.5%
 C      TSLA   2019-03-15   $510.00      34       $1.60   $10.10     $6.49    $2.11    0.59%     3,510          0     0.0%         ---    34.9      38       54.1%     49.7%
 C      TSLA   2019-03-15   $520.00       6       $1.35    $2.30     $1.83    $2.16    0.61%     3,510          0     0.0%         ---   173.3     176        1.9%      1.9%



                                                                                                                                                                          p. 24 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2019-03-15   $530.00       4       $0.90    $2.93     $2.06    $2.21    0.62%     3,510          0     0.0%         ---    11.4      13       19.5%     17.1%
 C      TSLA   2019-03-15   $540.00      31       $0.81    $5.10     $0.95    $2.26    0.64%     3,510          0     0.0%         ---     4.9      31      351.5%     55.6%
 C      TSLA   2019-03-15   $550.00      27       $0.70    $2.68     $2.04    $2.23    0.63%     3,510          0     0.0%         ---    69.1      70       21.7%     21.4%
 C      TSLA   2019-03-15   $560.00       4       $3.85    $6.70     $4.56    $2.22    0.63%     3,510          0     0.0%         ---    68.7      69        3.2%      3.2%
 C      TSLA   2019-03-15   $570.00       4       $0.50    $0.50     $0.50    $2.14    0.60%     3,510          0     0.0%         ---    14.6      15       15.2%     14.8%
 C      TSLA   2019-03-15   $580.00       4       $1.51    $6.00     $3.76    $2.11    0.60%     3,510          0     0.0%         ---   186.2     188        1.2%      1.2%
 C      TSLA   2019-03-15   $600.00     140       $0.40    $1.50     $0.69    $1.68    0.47%     3,510          0     0.0%         ---   165.1     223       47.1%     34.9%
 C      TSLA   2019-03-15   $620.00     217       $0.50    $1.59     $1.40    $0.96    0.27%     3,510          0     0.0%         ---   233.6     255       51.6%     47.3%
 C      TSLA   2019-03-15   $700.00     756       $0.20    $2.50     $0.60    $0.44    0.13%     3,510          0     0.0%         ---   617.3     647       68.0%     64.9%
 C      TSLA   2019-06-21    $80.00       4     $277.95  $291.30  $284.63     $6.17    1.76%     3,412     1,615     47.3%     0.12%     211.0     211        1.1%      1.1%
 C      TSLA   2019-06-21   $145.00       1     $226.00  $226.00  $226.00     $5.95    1.69%     3,510     2,176     62.0%     0.31%      29.0      29        1.9%      1.9%
 C      TSLA   2019-06-21   $170.00       8     $200.00  $200.00  $200.00     $5.53    1.57%     3,510     2,492     71.0%     0.38%       8.0       8       55.6%     55.6%
 C      TSLA   2019-06-21   $200.00      33     $160.56  $178.00  $169.22     $5.29    1.50%     3,510     3,089     88.0%     0.41%      47.8      64       38.4%     28.6%
 C      TSLA   2019-06-21   $220.00       2     $154.96  $156.85  $155.91     $5.06    1.43%     3,510     2,557     72.8%     0.40%       3.0       3       37.0%     37.0%
 C      TSLA   2019-06-21   $230.00      10     $106.40  $106.40  $106.40     $4.97    1.41%     3,510     2,610     74.4%     0.39%       3.7      10      150.2%     55.6%
 C      TSLA   2019-06-21   $235.00       1     $102.00  $102.00  $102.00     $4.94    1.40%     3,510     2,548     72.6%     0.40%      90.1      91        0.6%      0.6%
 C      TSLA   2019-06-21   $250.00       6      $95.50  $140.00  $116.33     $4.80    1.36%     3,413     3,043     89.2%     0.49%      38.4      40        8.7%      8.3%
 C      TSLA   2019-06-21   $255.00       1     $133.75  $133.75  $133.75     $4.82    1.36%     3,510     2,441     69.5%     0.40%      12.0      12        4.6%      4.6%
 C      TSLA   2019-06-21   $260.00       2     $102.16  $118.83  $110.50     $4.76    1.34%     3,510     2,333     66.5%     0.40%       3.4       4       32.7%     27.8%
 C      TSLA   2019-06-21   $270.00       2     $115.00  $115.00  $115.00     $4.64    1.31%     3,509     2,399     68.4%     0.39%      33.0      33        3.4%      3.4%
 C      TSLA   2019-06-21   $275.00       1      $76.50   $76.50   $76.50     $4.59    1.30%     3,510     2,290     65.2%     0.39%     289.1     290        0.2%      0.2%
 C      TSLA   2019-06-21   $280.00      27      $70.60  $108.00   $92.41     $4.55    1.28%     3,510     2,326     66.3%     0.38%     177.3     183        8.5%      8.2%
 C      TSLA   2019-06-21   $290.00      21      $64.80  $111.00   $97.10     $4.45    1.25%     3,510     2,204     62.8%     0.38%     439.4     443        2.7%      2.6%
 C      TSLA   2019-06-21   $295.00       1      $76.70   $76.70   $76.70     $4.42    1.25%     3,510     2,106     60.0%     0.37%     367.0     367        0.2%      0.2%
 C      TSLA   2019-06-21   $300.00     155      $58.50  $103.60   $86.42     $4.37    1.23%     3,510     2,327     66.3%     0.35%     999.3   1,022        8.6%      8.4%
 C      TSLA   2019-06-21   $305.00      10      $56.35   $97.00   $77.28     $3.98    1.12%     3,510     2,088     59.5%     0.35%     405.6     407        1.4%      1.4%
 C      TSLA   2019-06-21   $310.00      24      $53.15   $93.62   $69.73     $3.92    1.10%     3,510     2,072     59.0%     0.34%      86.4      87       15.4%     15.3%
 C      TSLA   2019-06-21   $315.00      10      $51.79   $80.25   $55.27     $3.88    1.09%     3,510     2,020     57.5%     0.34%     251.7     252        2.2%      2.2%
 C      TSLA   2019-06-21   $320.00      14      $48.25   $85.30   $61.75     $3.81    1.07%     3,510     2,069     58.9%     0.32%     903.2     907        0.9%      0.9%
 C      TSLA   2019-06-21   $325.00      35      $46.00   $48.25   $47.13     $3.73    1.05%     3,510     2,029     57.8%     0.31%     631.7     638        3.1%      3.0%
 C      TSLA   2019-06-21   $330.00      51      $45.10   $79.90   $68.70     $5.77    1.61%     3,510     1,950     55.6%     0.30%     394.9     407        7.2%      7.0%
 C      TSLA   2019-06-21   $335.00      30      $53.52   $79.62   $65.76     $3.65    1.03%     3,510     1,931     55.0%     0.29%     205.2     208        8.1%      8.0%
 C      TSLA   2019-06-21   $340.00      76      $40.05   $74.00   $55.79     $3.60    1.02%     3,509     1,790     51.0%     0.28%     218.5     249       19.3%     17.0%
 C      TSLA   2019-06-21   $345.00      95      $38.65   $70.76   $58.94     $3.56    1.00%     3,509     1,782     50.8%     0.26%   1,255.1   1,273        4.2%      4.1%
 C      TSLA   2019-06-21   $350.00   1,386      $35.00   $74.00   $59.52     $2.89    0.82%     3,413     1,746     51.2%     0.25%   1,077.6   1,549       71.5%     49.7%
 C      TSLA   2019-06-21   $355.00      57      $34.10   $60.50   $50.06     $3.10    0.88%     3,510     1,666     47.5%     0.24%     626.2     651        5.1%      4.9%
 C      TSLA   2019-06-21   $360.00     137      $31.00   $70.00   $53.79     $3.03    0.86%     3,510     1,570     44.7%     0.22%     322.6     357       23.6%     21.3%
 C      TSLA   2019-06-21   $365.00      63      $39.40   $64.48   $58.22     $3.35    0.94%     3,510     1,490     42.5%     0.21%     454.8     459        7.7%      7.6%
 C      TSLA   2019-06-21   $370.00     169      $28.37   $63.00   $43.45     $3.23    0.91%     3,510     1,442     41.1%     0.19%     112.9     146       83.2%     64.3%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2019-06-21   $375.00      22      $27.05   $60.10   $49.07     $3.18    0.90%     3,510     1,315     37.5%     0.18%     181.9     183        6.7%      6.7%
 C      TSLA   2019-06-21   $380.00     214      $24.55   $57.75   $30.58     $3.12    0.88%     3,510     1,182     33.7%     0.17%   2,084.4   2,229        5.7%      5.3%
 C      TSLA   2019-06-21   $385.00      12      $44.00   $50.00   $44.67     $3.07    0.87%     3,510        991    28.2%     0.15%      94.9      97        7.0%      6.9%
 C      TSLA   2019-06-21   $390.00      73      $20.50   $42.00   $32.32     $3.02    0.85%     3,510        913    26.0%     0.14%   1,231.0   1,255        3.3%      3.2%
 C      TSLA   2019-06-21   $395.00      17      $20.45   $37.60   $33.54     $3.07    0.87%     3,510        801    22.8%     0.13%     154.5     163        6.1%      5.8%
 C      TSLA   2019-06-21   $400.00   1,242      $18.50   $49.60   $34.71     $2.93    0.83%     3,510        751    21.4%     0.12%   1,683.8   1,841       41.0%     37.5%
 C      TSLA   2019-06-21   $410.00      38      $20.68   $42.40   $27.51     $3.05    0.86%     3,509        471    13.4%     0.10%     294.3     300        7.2%      7.0%
 C      TSLA   2019-06-21   $420.00     559      $13.85   $43.90   $22.93     $2.88    0.81%     3,510        326     9.3%     0.10%     249.5     467      124.5%     66.5%
 C      TSLA   2019-06-21   $430.00     314      $12.63   $38.80   $18.89     $2.97    0.84%     3,509        140     4.0%     0.08%     150.7     249      115.8%     70.1%
 C      TSLA   2019-06-21   $440.00     111       $9.90   $35.21   $19.04     $2.81    0.80%     3,509         49     1.4%     0.07%     287.5     296       21.4%     20.8%
 C      TSLA   2019-06-21   $450.00     527       $8.75   $31.50   $17.44     $2.63    0.74%     3,510         13     0.4%     0.08%     965.3   1,009       30.3%     29.0%
 C      TSLA   2019-06-21   $460.00     128       $7.30   $16.73   $12.66     $2.86    0.81%     3,510          0     0.0%         ---   375.0     414       19.0%     17.2%
 C      TSLA   2019-06-21   $470.00       4       $7.10    $9.55     $7.85    $2.84    0.80%     3,510          0     0.0%         ---   313.5     316        0.7%      0.7%
 C      TSLA   2019-06-21   $480.00     206       $7.55   $24.90   $10.91     $2.85    0.81%     3,510          0     0.0%         ---   592.1     641       19.3%     17.9%
 C      TSLA   2019-06-21   $490.00       4       $5.18   $11.10     $8.32    $2.87    0.81%     3,510          0     0.0%         --- 1,005.4   1,006        0.2%      0.2%
 C      TSLA   2019-06-21   $500.00   1,312       $3.75   $20.55     $7.27    $2.23    0.63%     3,412          1     0.0%     0.04%     522.7   1,028      139.4%     70.9%
 C      TSLA   2019-06-21   $510.00       5       $7.48   $16.45   $10.27     $2.89    0.82%     3,510          0     0.0%         --- 1,477.0   1,477        0.2%      0.2%
 C      TSLA   2019-06-21   $530.00      15       $6.00   $13.30   $10.87     $2.94    0.83%     3,510          0     0.0%         ---    45.0      46       18.5%     18.1%
 C      TSLA   2019-06-21   $540.00      80       $2.26   $12.75     $7.69    $3.07    0.87%     3,510          0     0.0%         ---   177.2     184       25.1%     24.2%
 C      TSLA   2019-06-21   $550.00     331       $3.75   $12.90     $6.87    $3.18    0.90%     3,510          0     0.0%         ---   121.2     167      151.7%    110.1%
 C      TSLA   2019-06-21   $560.00       3       $2.83    $2.85     $2.84    $3.16    0.90%     3,510          0     0.0%         ---    23.8      25        7.0%      6.7%
 C      TSLA   2019-06-21   $570.00       2      $10.04   $10.04   $10.04     $3.29    0.93%     3,510          0     0.0%         ---    23.2      25        4.8%      4.4%
 C      TSLA   2019-06-21   $580.00      96       $1.31    $9.00     $8.52    $3.30    0.93%     3,510          0     0.0%         ---    91.0      91       58.6%     58.6%
 C      TSLA   2019-06-21   $590.00      30       $2.29    $8.65     $4.27    $3.33    0.94%     3,510          0     0.0%         ---   100.0     100       16.7%     16.7%
 C      TSLA   2019-06-21   $600.00      63       $0.84    $9.34     $3.06    $3.16    0.89%     3,510          0     0.0%         ---   134.9     149       25.9%     23.5%
 C      TSLA   2019-06-21   $610.00     184       $0.80    $1.03     $0.89    $3.21    0.91%     3,510          0     0.0%         ---    34.3     105      298.0%     97.4%
 C      TSLA   2019-06-21   $620.00      42       $0.82    $0.97     $0.95    $3.19    0.90%     3,510          0     0.0%         ---    11.8      23      197.7%    101.4%
 C      TSLA   2019-06-21   $640.00      17       $0.83    $3.00     $1.24    $2.94    0.83%     3,509          0     0.0%         ---     5.1       9      185.2%    104.9%
 C      TSLA   2019-06-21   $650.00     350       $1.04    $1.50     $1.34    $2.75    0.78%     3,510          0     0.0%         ---    86.0     137      226.1%    141.9%
 C      TSLA   2019-06-21   $660.00     103       $0.54    $2.00     $1.09    $2.65    0.75%     3,510          0     0.0%         ---    49.0      74      116.8%     77.3%
 C      TSLA   2019-06-21   $670.00     160       $0.84    $1.40     $1.08    $2.71    0.77%     3,510          0     0.0%         ---    69.4      94      128.1%     94.6%
 C      TSLA   2019-06-21   $680.00      27       $0.67    $4.20     $1.20    $2.10    0.59%     3,509          0     0.0%         ---     6.0       7      250.0%    214.3%
 C      TSLA   2019-06-21   $690.00     337       $0.44    $2.50     $1.35    $1.35    0.38%     3,510          0     0.0%         ---   206.2     242       90.8%     77.4%
 C      TSLA   2019-06-21   $700.00     724       $0.05    $2.50     $0.94    $1.06    0.30%     3,510          0     0.0%         ---   347.9     399      115.6%    100.8%
 C      TSLA   2019-08-16   $150.00      10     $218.78  $218.78  $218.78     $6.05    1.72%     3,412     2,976     87.2%     0.29%      11.0      20       50.5%     27.8%
 C      TSLA   2019-08-16   $200.00      10     $179.85  $179.85  $179.85     $5.47    1.56%     3,510     2,982     85.0%     0.46%      21.2      22       26.2%     25.3%
 C      TSLA   2019-08-16   $250.00      23     $124.00  $137.80  $129.17     $5.11    1.45%     3,510     2,745     78.2%     0.32%     585.8     597        2.2%      2.1%
 C      TSLA   2019-08-16   $255.00       4     $104.45  $107.10  $105.56     $5.18    1.47%     3,510     2,621     74.7%     0.30%      26.3      27        8.4%      8.2%
 C      TSLA   2019-08-16   $260.00       7      $86.10  $121.10  $103.25     $5.07    1.44%     3,510     2,572     73.3%     0.29%     126.3     127        3.1%      3.1%



                                                                                                                                                                          p. 26 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                         Weekly    Weekly
                                                                Volume-             Average                               Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2019-08-16   $265.00      2     $117.58  $118.23  $117.91     $5.06    1.43%     3,510     2,515     71.7%     0.28%      42.6      43        2.6%      2.6%
 C      TSLA   2019-08-16   $275.00     20     $115.65  $115.65  $115.65     $4.94    1.40%     3,510     2,416     68.8%     0.26%      22.0      22       50.5%     50.5%
 C      TSLA   2019-08-16   $280.00      8     $102.00  $104.79  $102.79     $4.91    1.39%     3,510     2,294     65.4%     0.26%      40.0      40       11.1%     11.1%
 C      TSLA   2019-08-16   $290.00      4      $68.00  $108.30   $88.35     $3.94    1.12%     3,411     2,150     63.0%     0.25%    205.8     206         1.1%      1.1%
 C      TSLA   2019-08-16   $300.00     65      $62.00  $100.00   $76.54     $3.87    1.10%     3,413     1,948     57.1%     0.24%    152.2     159        23.7%     22.7%
 C      TSLA   2019-08-16   $305.00      7      $84.00   $98.30   $86.86     $4.70    1.33%     3,509     1,843     52.5%     0.24%       8.7      10       44.7%     38.9%
 C      TSLA   2019-08-16   $310.00     55      $57.89   $90.00   $59.01     $4.25    1.20%     3,510     1,764     50.3%     0.25%      17.2      63      177.6%     48.5%
 C      TSLA   2019-08-16   $315.00     49      $54.97   $57.06   $55.94     $4.23    1.20%     3,510     1,732     49.3%     0.24%      37.4      50       72.8%     54.4%
 C      TSLA   2019-08-16   $320.00     15      $52.20   $88.00   $70.32     $4.20    1.19%     3,510     1,573     44.8%     0.25%      16.0      21       52.1%     39.7%
 C      TSLA   2019-08-16   $325.00      5      $51.00   $52.75   $51.56     $4.17    1.18%     3,510     1,555     44.3%     0.23%      25.5      30       10.9%      9.3%
 C      TSLA   2019-08-16   $330.00     12      $50.00   $85.00   $81.50     $4.12    1.17%     3,413     1,444     42.3%     0.24%      71.9      73        9.3%      9.1%
 C      TSLA   2019-08-16   $335.00     13      $47.50   $79.83   $77.06     $4.10    1.16%     3,510     1,490     42.5%     0.21%      13.0      17       55.6%     42.5%
 C      TSLA   2019-08-16   $340.00    100      $44.00   $79.00   $66.32     $4.08    1.16%     3,509     1,405     40.0%     0.23%      53.4      93      104.0%     59.7%
 C      TSLA   2019-08-16   $345.00      6      $62.00   $71.15   $69.63     $4.10    1.16%     3,510     1,307     37.2%     0.19%      48.5      50        6.9%      6.7%
 C      TSLA   2019-08-16   $350.00     56      $38.00   $81.65   $61.21     $4.05    1.15%     3,510     1,252     35.7%     0.18%    112.5     120        27.7%     25.9%
 C      TSLA   2019-08-16   $355.00      3      $57.00   $59.00   $57.67     $4.05    1.15%     3,510     1,169     33.3%     0.17%      15.3      17       10.9%      9.8%
 C      TSLA   2019-08-16   $360.00     22      $35.80   $62.70   $54.23     $4.02    1.14%     3,510     1,098     31.3%     0.17%      71.8      77       17.0%     15.9%
 C      TSLA   2019-08-16   $365.00      5      $43.05   $65.00   $56.84     $4.01    1.14%     3,509        960    27.4%     0.14%    131.0     131         2.1%      2.1%
 C      TSLA   2019-08-16   $370.00     59      $50.97   $60.75   $53.90     $4.00    1.13%     3,510        856    24.4%     0.13%      55.1      64       59.5%     51.2%
 C      TSLA   2019-08-16   $375.00     43      $39.50   $67.00   $50.90     $4.02    1.14%     3,510        701    20.0%     0.12%      51.6      63       46.3%     37.9%
 C      TSLA   2019-08-16   $380.00    714      $28.25   $61.30   $46.43     $3.89    1.10%     3,510        575    16.4%     0.19%    238.5     387       166.3%    102.5%
 C      TSLA   2019-08-16   $385.00     25      $25.45   $59.75   $43.62     $3.71    1.05%     3,510        445    12.7%     0.11%      20.2      29       68.8%     47.9%
 C      TSLA   2019-08-16   $390.00      4      $25.50   $43.32   $35.15     $3.67    1.04%     3,510        275     7.8%     0.09%      99.5    101         2.2%      2.2%
 C      TSLA   2019-08-16   $395.00      1      $30.25   $30.25   $30.25     $3.67    1.04%     3,510        271     7.7%     0.09%      26.0      26        2.1%      2.1%
 C      TSLA   2019-08-16   $400.00     56      $23.11   $55.00   $43.73     $3.53    1.01%     3,510        197     5.6%     0.10%    168.1     177        18.5%     17.6%
 C      TSLA   2019-08-16   $410.00     29      $33.60   $38.97   $35.37     $3.69    1.05%     3,510         74     2.1%     0.08%      33.2      35       48.5%     46.0%
 C      TSLA   2019-08-16   $420.00    169      $16.20   $45.51   $30.27     $3.54    1.01%     3,510        268     7.6%     0.12%      73.4    104       127.9%     90.3%
 C      TSLA   2019-08-16   $430.00     84      $15.00   $31.26   $23.96     $3.54    1.01%     3,510        124     3.5%     0.13%      22.5      31      207.4%    150.5%
 C      TSLA   2019-08-16   $440.00     45      $15.40   $30.80   $20.83     $3.65    1.04%     3,510         10     0.3%     0.04%      25.2      34       99.2%     73.5%
 C      TSLA   2019-08-16   $450.00     39      $10.50   $30.00   $17.11     $3.44    0.98%     3,510          1     0.0%     0.06%      36.2      45       59.9%     48.1%
 C      TSLA   2019-08-16   $460.00     62      $15.50   $21.00   $19.66     $3.45    0.98%     3,508          0     0.0%         ---    91.6    111        37.6%     31.0%
 C      TSLA   2019-08-16   $470.00      4       $9.50   $19.60   $13.38     $3.48    0.99%     3,510          0     0.0%         ---    41.2      43        5.4%      5.2%
 C      TSLA   2019-08-16   $480.00     10       $8.25   $16.50   $10.32     $3.38    0.96%     3,510          1     0.0%     0.04%      51.0      56       10.9%      9.9%
 C      TSLA   2019-08-16   $490.00     41       $7.80   $16.08     $8.54    $3.94    1.12%     3,510          0     0.0%         ---    50.6      56       45.0%     40.7%
 C      TSLA   2019-08-16   $500.00    273       $5.85   $24.06     $9.65    $2.43    0.69%     3,412          0     0.0%         ---  110.4     188       137.4%     80.7%
 C      TSLA   2019-08-16   $520.00      1       $6.75    $6.75     $6.75    $3.55    1.01%     3,510          0     0.0%         ---    19.0      19        2.9%      2.9%
 C      TSLA   2019-08-16   $530.00      2       $5.90    $7.56     $6.73    $3.65    1.04%     3,510          0     0.0%         ---     3.7       4       30.0%     27.8%
 C      TSLA   2019-08-16   $540.00    199       $5.70    $6.40     $5.94    $3.56    1.01%     3,510          0     0.0%         ---    80.8    199       136.8%     55.6%
 C      TSLA   2019-08-16   $550.00      1      $17.50   $17.50   $17.50     $3.74    1.06%     3,510          0     0.0%         ---    20.0      20        2.8%      2.8%



                                                                                                                                                                         p. 27 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                         Weekly    Weekly
                                                                Volume-             Average                               Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2019-08-16   $560.00      4       $2.70    $2.70     $2.70    $3.77    1.07%     3,510          0     0.0%         ---     4.2       7       52.9%     31.7%
 C      TSLA   2019-08-16   $580.00     20       $3.50   $10.00     $3.86    $3.45    0.98%     3,510          0     0.0%         ---    12.1      19       91.8%     58.5%
 C      TSLA   2019-08-16   $590.00     59       $2.11   $11.00     $2.95    $3.42    0.97%     3,510          0     0.0%         ---    24.0      58      136.6%     56.5%
 C      TSLA   2019-08-16   $600.00    270       $1.00    $4.20     $2.73    $3.24    0.92%     3,510          0     0.0%         ---   127.2     153      117.9%     98.0%
 C      TSLA   2019-08-16   $610.00      1       $3.95    $3.95     $3.95    $3.73    1.06%     3,510          0     0.0%         ---     3.0       3       18.5%     18.5%
 C      TSLA   2019-08-16   $620.00      1       $2.50    $2.50     $2.50    $3.70    1.05%     3,510          0     0.0%         ---     2.0       2       27.8%     27.8%
 C      TSLA   2019-08-16   $650.00     18       $2.76    $3.15     $2.98    $3.56    1.01%     3,509          0     0.0%         ---    20.4      22       49.0%     45.5%
 C      TSLA   2019-08-16   $660.00     21       $0.75    $2.80     $0.92    $3.49    0.99%     3,510          0     0.0%         ---     5.9      22      197.7%     53.0%
 C      TSLA   2019-08-16   $680.00      6       $1.63    $2.40     $2.09    $2.81    0.80%     3,510          0     0.0%         ---     5.4       6       61.7%     55.6%
 C      TSLA   2019-08-16   $690.00    258       $1.00    $3.50     $1.92    $1.73    0.49%     3,510          0     0.0%         ---   118.4     180      121.1%     79.6%
 C      TSLA   2019-08-16   $700.00    622       $0.74    $7.05     $2.58    $1.56    0.44%     3,509          0     0.0%         ---   462.1     486       74.8%     71.1%
 C      TSLA   2020-01-17    $20.00     38     $339.50  $354.00  $347.24     $6.36    1.82%     3,510          0     0.0%         ---    24.7     184       85.5%     11.5%
 C      TSLA   2020-01-17    $30.00     10     $343.50  $343.50  $343.50     $6.37    1.82%     3,510          1     0.0%     0.21%      19.8      24       28.1%     23.1%
 C      TSLA   2020-01-17    $50.00      2     $261.50  $261.50  $261.50     $6.36    1.81%     3,510     2,552     72.7%     0.12%      69.1      70        1.6%      1.6%
 C      TSLA   2020-01-17    $60.00      2     $291.70  $291.70  $291.70     $6.35    1.81%     3,508     1,395     39.8%     0.27%     193.4     194        0.6%      0.6%
 C      TSLA   2020-01-17    $70.00      2     $242.80  $243.50  $243.15     $6.33    1.81%     3,413     2,455     71.9%     0.42%     797.4     816        0.1%      0.1%
 C      TSLA   2020-01-17    $75.00      2     $280.00  $280.00  $280.00     $6.41    1.83%     3,510     2,359     67.2%     0.39%     718.5     719        0.2%      0.2%
 C      TSLA   2020-01-17    $90.00      5     $222.10  $270.35  $241.82     $6.32    1.80%     3,510     3,266     93.0%     0.74%     586.2     588        0.5%      0.5%
 C      TSLA   2020-01-17   $100.00    299     $210.25  $280.00  $250.74     $6.28    1.79%     3,508     3,338     95.2%     0.88%     861.6     960       19.3%     17.3%
 C      TSLA   2020-01-17   $130.00      6     $247.50  $248.00  $247.75     $6.30    1.80%     3,509     3,249     92.6%     0.61%      35.4      36        9.4%      9.3%
 C      TSLA   2020-01-17   $140.00     14     $182.60  $223.00  $213.18     $6.30    1.80%     3,508     3,249     92.6%     0.62%      13.4      17       58.0%     45.8%
 C      TSLA   2020-01-17   $145.00      2     $228.00  $228.00  $228.00     $6.29    1.79%     3,510     3,249     92.6%     0.60%       2.8       3       39.7%     37.0%
 C      TSLA   2020-01-17   $150.00     20     $171.00  $230.00  $202.66     $6.27    1.79%     3,510     3,325     94.7%     0.88%     191.0     196        5.8%      5.7%
 C      TSLA   2020-01-17   $160.00      1     $224.63  $224.63  $224.63    $14.05    3.92%     3,510     3,262     92.9%     0.68%      22.0      22        2.5%      2.5%
 C      TSLA   2020-01-17   $170.00      3     $192.00  $207.00  $197.00     $6.00    1.71%     3,510     3,258     92.8%     0.64%      39.9      41        4.2%      4.1%
 C      TSLA   2020-01-17   $175.00      1     $199.50  $199.50  $199.50     $5.14    1.48%     3,411     3,277     96.1%     0.75%      11.1      12        5.0%      4.6%
 C      TSLA   2020-01-17   $180.00      9     $148.85  $155.00  $154.32     $5.97    1.70%     3,510     3,284     93.6%     0.76%      42.5      43       11.8%     11.6%
 C      TSLA   2020-01-17   $185.00      1     $143.00  $143.00  $143.00     $6.97    1.97%     3,509     3,254     92.7%     0.60%      32.9      33        1.7%      1.7%
 C      TSLA   2020-01-17   $200.00    565     $133.00  $196.85  $164.81     $5.76    1.64%     3,510     3,336     95.0%     0.93%   1,639.4   1,801       19.1%     17.4%
 C      TSLA   2020-01-17   $210.00      6     $143.00  $170.00  $157.17     $5.95    1.70%     3,509     3,267     93.1%     0.60%     117.1     118        2.8%      2.8%
 C      TSLA   2020-01-17   $220.00     50     $117.20  $175.05  $149.55     $9.79    2.75%     3,510     3,253     92.7%     0.52%     353.5     368        7.9%      7.5%
 C      TSLA   2020-01-17   $230.00     11     $146.00  $162.00  $155.32    $11.02    3.09%     3,510     3,222     91.8%     0.59%     356.0     358        1.7%      1.7%
 C      TSLA   2020-01-17   $240.00      7     $121.88  $159.05  $150.05    $10.73    3.00%     3,510     3,258     92.8%     0.60%     300.9     301        1.3%      1.3%
 C      TSLA   2020-01-17   $250.00    170      $96.50  $156.20  $136.74     $5.76    1.64%     3,508     3,270     93.2%     0.61%     583.7     604       16.2%     15.6%
 C      TSLA   2020-01-17   $255.00     51     $109.00  $140.00  $123.37     $5.78    1.64%     3,510     3,154     89.9%     0.44%     130.0     137       21.8%     20.7%
 C      TSLA   2020-01-17   $260.00     11      $92.55  $143.80  $124.71     $5.78    1.65%     3,509     3,069     87.5%     0.40%     212.6     216        2.9%      2.8%
 C      TSLA   2020-01-17   $265.00      4     $119.97  $134.82  $130.02     $5.75    1.64%     3,510     3,071     87.5%     0.38%      59.6      60        3.7%      3.7%
 C      TSLA   2020-01-17   $270.00     26      $90.40  $132.89  $112.12     $5.73    1.63%     3,509     3,029     86.3%     0.40%     234.7     242        6.2%      6.0%
 C      TSLA   2020-01-17   $275.00      8      $83.82  $128.20  $107.35     $5.70    1.62%     3,510     3,034     86.4%     0.41%     167.4     168        2.7%      2.6%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA   2020-01-17   $280.00      86      $80.42  $126.00  $111.01     $5.83    1.66%     3,510     2,924     83.3%     0.35%     329.4     334       14.5%     14.3%
 C      TSLA   2020-01-17   $285.00       8      $82.61  $123.00  $106.89     $5.57    1.58%     3,508     2,844     81.1%     0.33%     124.0     126        3.6%      3.5%
 C      TSLA   2020-01-17   $290.00      15     $115.30  $118.00  $117.42     $4.81    1.37%     3,413     2,737     80.2%     0.31%     454.3     457        1.8%      1.8%
 C      TSLA   2020-01-17   $295.00       9      $72.10  $117.00   $99.28     $5.60    1.59%     3,509     2,684     76.5%     0.31%     127.8     128        3.9%      3.9%
 C      TSLA   2020-01-17   $300.00   1,323      $68.46  $115.00   $92.05     $4.27    1.22%     3,413     2,934     86.0%     0.43%   2,520.8   2,740       29.2%     26.8%
 C      TSLA   2020-01-17   $305.00     111      $67.70  $110.34   $87.41     $5.36    1.52%     3,508     2,478     70.6%     0.28%     398.3     413       15.5%     14.9%
 C      TSLA   2020-01-17   $310.00      64      $64.80  $110.00   $80.42     $5.45    1.55%     3,510     2,336     66.6%     0.27%     594.5     608        6.0%      5.8%
 C      TSLA   2020-01-17   $315.00     191      $60.50  $110.00   $75.07     $7.51    2.11%     3,508     2,244     64.0%     0.25%     336.4     389       31.5%     27.3%
 C      TSLA   2020-01-17   $320.00     158      $59.50  $110.00   $74.74     $5.39    1.53%     3,510     2,114     60.2%     0.27%     702.1     732       12.5%     12.0%
 C      TSLA   2020-01-17   $325.00     415      $58.00  $101.50   $79.40     $4.98    1.42%     3,411     2,065     60.5%     0.25%     521.0     619       44.3%     37.2%
 C      TSLA   2020-01-17   $330.00     261      $54.00  $101.00   $83.24     $4.89    1.39%     3,510     1,842     52.5%     0.28%   1,038.7   1,049       14.0%     13.8%
 C      TSLA   2020-01-17   $335.00      46      $54.20   $97.02   $76.92     $4.93    1.40%     3,508     1,529     43.6%     0.23%     176.3     182       14.5%     14.0%
 C      TSLA   2020-01-17   $340.00     243      $51.80   $85.00   $66.68     $4.89    1.39%     3,510     1,476     42.1%     0.24%     386.0     485       35.0%     27.8%
 C      TSLA   2020-01-17   $350.00   1,781      $46.00   $90.00   $61.56     $4.52    1.29%     3,510     1,565     44.6%     0.26%   1,735.8   2,252       57.0%     43.9%
 C      TSLA   2020-01-17   $360.00   2,743      $42.84   $82.65   $56.26     $3.97    1.13%     3,508     1,288     36.7%     0.31%   3,700.2   4,227       41.2%     36.1%
 C      TSLA   2020-01-17   $370.00     400      $38.37   $70.52   $51.60     $4.55    1.29%     3,508        800    22.8%     0.21%     578.1     620       38.4%     35.8%
 C      TSLA   2020-01-17   $380.00   2,134      $35.00   $69.56   $42.73     $4.57    1.30%     3,510        599    17.1%     0.21%     888.1   2,157      133.5%     55.0%
 C      TSLA   2020-01-17   $390.00     322      $34.00   $67.73   $47.25     $4.69    1.33%     3,508        345     9.8%     0.17%     336.1     399       53.2%     44.8%
 C      TSLA   2020-01-17   $400.00   5,586      $28.80   $71.98   $43.71     $4.40    1.24%     3,510        981    27.9%     0.23%   4,260.0   4,650       72.8%     66.7%
 C      TSLA   2020-01-17   $410.00     552      $24.40   $65.41   $36.86     $4.53    1.29%     3,510        416    11.9%     0.14%     773.6     941       39.6%     32.6%
 C      TSLA   2020-01-17   $420.00   4,772      $23.38   $65.00   $37.66     $2.66    0.76%     3,510     1,424     40.6%     0.29%   2,736.3   3,565       96.9%     74.4%
 C      TSLA   2020-01-17   $430.00   1,216      $21.72   $55.50   $30.22     $4.28    1.22%     3,509        269     7.7%     0.25%     642.3     747      105.2%     90.4%
 C      TSLA   2020-01-17   $440.00     663      $19.42   $55.28   $30.27     $3.81    1.09%     3,413        202     5.9%     0.13%     335.6     394      109.8%     93.5%
 C      TSLA   2020-01-17   $450.00   2,994      $18.00   $55.00   $28.51     $4.22    1.19%     3,510        256     7.3%     0.14%   1,982.3   2,081       83.9%     79.9%
 C      TSLA   2020-01-17   $460.00     360      $15.00   $52.49   $24.25     $4.89    1.39%     3,509          2     0.1%     0.05%     330.0     374       60.6%     53.5%
 C      TSLA   2020-01-17   $470.00     551      $14.15   $45.50   $19.74     $3.91    1.11%     3,510          4     0.1%     0.07%     267.8     558      114.3%     54.9%
 C      TSLA   2020-01-17   $480.00     101      $11.55   $29.30   $21.49     $4.09    1.17%     3,508          0     0.0%         ---   154.5     170       36.3%     33.0%
 C      TSLA   2020-01-17   $490.00      49      $11.80   $40.40   $23.15     $4.08    1.16%     3,510          0     0.0%         ---   241.5     244       11.3%     11.2%
 C      TSLA   2020-01-17   $500.00   4,644       $9.55   $39.75   $19.17     $2.23    0.63%     3,509         18     0.5%     0.08%   4,113.8   4,276       62.7%     60.3%
 C      TSLA   2020-01-17   $510.00      48      $12.00   $30.96   $20.84     $3.79    1.08%     3,509          0     0.0%         ---   144.6     146       18.4%     18.3%
 C      TSLA   2020-01-17   $520.00     160       $8.40   $33.00   $19.36     $3.64    1.04%     3,411          0     0.0%         ---   334.6     349       26.6%     25.5%
 C      TSLA   2020-01-17   $530.00      19       $7.90   $20.00   $11.54     $3.99    1.14%     3,413          0     0.0%         ---    69.5      70       15.2%     15.1%
 C      TSLA   2020-01-17   $540.00      32       $5.50   $22.45   $13.88     $4.20    1.20%     3,508          0     0.0%         ---   287.5     292        6.2%      6.1%
 C      TSLA   2020-01-17   $550.00     838       $3.50   $28.59   $10.08     $3.34    0.96%     3,508          0     0.0%         --- 1,144.8   1,228       40.7%     37.9%
 C      TSLA   2020-01-17   $560.00     455       $6.40   $17.80   $11.99     $4.05    1.15%     3,509          0     0.0%         ---   400.0     437       63.2%     57.8%
 C      TSLA   2020-01-17   $570.00      46       $6.17   $27.00   $13.73     $4.36    1.25%     3,510          0     0.0%         ---    34.6      44       73.9%     58.1%
 C      TSLA   2020-01-17   $580.00      75       $5.70   $17.65     $8.54    $4.48    1.28%     3,510          0     0.0%         ---   113.4     129       36.7%     32.3%
 C      TSLA   2020-01-17   $590.00     118       $5.00   $11.00     $6.06    $2.51    0.71%     3,510          0     0.0%         ---    82.2      96       79.8%     68.3%
 C      TSLA   2020-01-17   $600.00   3,532       $4.50   $22.71     $7.53    $1.42    0.40%     3,510          0     0.0%         --- 2,897.1   3,245       67.7%     60.5%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]       [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put      Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 C      TSLA    2020-01-17   $610.00    526       $4.65   $22.00     $6.64    $3.59    1.03%     3,413          0     0.0%         ---   620.3     642       47.1%     45.5%
 C      TSLA    2020-01-17   $620.00     37       $4.40   $16.50     $5.79    $4.20    1.20%     3,509          0     0.0%         ---   134.7     144       15.3%     14.3%
 C      TSLA    2020-01-17   $630.00     25       $4.25   $15.00     $7.58    $4.26    1.22%     3,510          0     0.0%         ---    55.1      67       25.2%     20.7%
 C      TSLA    2020-01-17   $640.00     61       $4.40    $8.50     $5.42    $3.94    1.13%     3,509          0     0.0%         ---    51.4      55       65.9%     61.6%
 C      TSLA    2020-01-17   $650.00    499       $2.00   $17.20     $6.29    $2.48    0.71%     3,412          0     0.0%         ---   421.1     467       65.8%     59.4%
 C      TSLA    2020-01-17   $660.00      4       $4.00    $6.46     $5.62    $3.68    1.05%     3,510          0     0.0%         ---    21.0      21       10.6%     10.6%
 C      TSLA    2020-01-17   $670.00      7       $3.00    $6.30     $4.71    $3.37    0.97%     3,412          0     0.0%         ---    39.3      40        9.9%      9.7%
 C      TSLA    2020-01-17   $680.00    984       $2.75    $7.25     $5.78    $1.74    0.49%     3,510          0     0.0%         ---   612.5     665       89.3%     82.2%
 C      TSLA    2020-01-17   $690.00    892       $2.75   $11.50     $6.00    $1.56    0.44%     3,510          0     0.0%         ---   759.8     819       65.2%     60.5%
 C      TSLA    2020-01-17   $700.00 10,452       $2.50   $14.00     $5.40    $0.60    0.17%     3,413          0     0.0%         --- 8,027.2   8,294       72.3%     70.0%
 C      TSLA1   2019-01-18    $17.00      1      $25.00   $25.00   $25.00     $1.49    3.86%     3,510          0     0.0%         ---    55.1      56        1.0%      1.0%
 C      TSLA1   2019-01-18    $20.00     11      $19.30   $21.80   $19.53     $1.37    3.57%     3,510          0     0.0%         ---   498.2     503        1.2%      1.2%
 C      TSLA1   2019-01-18    $27.00      8      $12.75   $14.60   $13.40     $1.55    4.03%     3,510          0     0.0%         --- 1,228.0   1,228        0.4%      0.4%
 C      TSLA1   2019-01-18    $30.00     12      $10.20   $10.80   $10.50     $1.63    4.21%     3,510          0     0.0%         ---   564.5     566        1.2%      1.2%
 C      TSLA1   2019-01-18    $40.00      6       $2.45    $5.70     $4.07    $1.40    3.64%     3,509          0     0.0%         ---    62.9      64        5.3%      5.2%
 P      TSLA    2018-08-10   $100.00    100       $0.01    $0.02     $0.02    $0.80    0.22%     1,560          0     0.0%         ---    37.5     100      333.3%    125.0%
 P      TSLA    2018-08-10   $130.00     26       $0.02    $1.00     $0.06    $0.79    0.22%     1,560          0     0.0%         ---     7.0      26      464.3%    125.0%
 P      TSLA    2018-08-10   $155.00      6       $0.03    $0.85     $0.71    $0.77    0.21%     1,560          0     0.0%         ---     3.0       6      250.0%    125.0%
 P      TSLA    2018-08-10   $185.00      6       $0.01    $0.02     $0.02    $0.32    0.09%     1,560          0     0.0%         ---   228.0     228        3.3%      3.3%
 P      TSLA    2018-08-10   $190.00     17       $0.01    $0.01     $0.01    $0.32    0.09%     1,560          0     0.0%         ---   615.0     615        3.5%      3.5%
 P      TSLA    2018-08-10   $200.00     20       $0.01    $0.01     $0.01    $0.32    0.09%     1,560          0     0.0%         ---   409.0     409        6.1%      6.1%
 P      TSLA    2018-08-10   $205.00     10       $0.02    $0.02     $0.02    $0.03    0.01%     1,560          0     0.0%         ---   259.0     259        4.8%      4.8%
 P      TSLA    2018-08-10   $210.00     69       $0.01    $0.02     $0.01    $0.33    0.09%     1,560          0     0.0%         ---   843.5     862       10.2%     10.0%
 P      TSLA    2018-08-10   $215.00     40       $0.01    $0.02     $0.02    $0.02    0.00%     1,560          0     0.0%         ---   239.3     253       20.9%     19.8%
 P      TSLA    2018-08-10   $220.00     42       $0.01    $0.01     $0.01    $0.37    0.10%     1,560          0     0.0%         ---   251.8     267       20.9%     19.7%
 P      TSLA    2018-08-10   $225.00     86       $0.01    $0.28     $0.02    $0.35    0.10%     1,560          0     0.0%         ---   290.3     315       37.0%     34.1%
 P      TSLA    2018-08-10   $230.00    100       $0.01    $0.08     $0.03    $0.33    0.09%     1,560          0     0.0%         ---   567.3     629       22.0%     19.9%
 P      TSLA    2018-08-10   $235.00    187       $0.01    $0.04     $0.02    $0.33    0.09%     1,560          0     0.0%         ---   263.3     298       88.8%     78.4%
 P      TSLA    2018-08-10   $240.00    266       $0.01    $0.25     $0.01    $0.36    0.10%     1,560          0     0.0%         ---   512.5     549       64.9%     60.6%
 P      TSLA    2018-08-10   $245.00     68       $0.01    $0.04     $0.02    $0.35    0.10%     1,560          0     0.0%         ---   327.0     342       26.0%     24.9%
 P      TSLA    2018-08-10   $250.00    269       $0.01    $0.08     $0.02    $0.34    0.09%     1,560          0     0.0%         ---   846.0     882       39.7%     38.1%
 P      TSLA    2018-08-10   $255.00    117       $0.01    $0.70     $0.02    $0.12    0.03%     1,560          0     0.0%         ---   396.8     440       36.9%     33.2%
 P      TSLA    2018-08-10   $260.00    305       $0.01    $0.10     $0.03    $0.35    0.10%     1,560          0     0.0%         ---   990.8   1,100       38.5%     34.7%
 P      TSLA    2018-08-10   $262.50     25       $0.01    $0.10     $0.04    $0.45    0.12%     1,560          0     0.0%         ---   114.5     120       27.3%     26.0%
 P      TSLA    2018-08-10   $265.00    442       $0.01    $0.10     $0.04    $0.08    0.02%     1,560          0     0.0%         ---   486.0     632      113.7%     87.4%
 P      TSLA    2018-08-10   $267.50    480       $0.01    $0.10     $0.03    $0.40    0.11%     1,560          0     0.0%         ---   227.3     477      264.0%    125.8%
 P      TSLA    2018-08-10   $270.00    243       $0.01    $0.12     $0.04    $0.37    0.10%     1,560          0     0.0%         ---   389.0     436       78.1%     69.7%
 P      TSLA    2018-08-10   $272.50    172       $0.01    $0.06     $0.04    $0.08    0.02%     1,560          0     0.0%         ---   177.8     220      121.0%     97.7%
 P      TSLA    2018-08-10   $275.00    270       $0.01    $0.14     $0.04    $0.36    0.10%     1,560          0     0.0%         ---   723.3     758       46.7%     44.5%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-10   $277.50     120       $0.01    $0.14     $0.05    $0.55    0.15%     1,560          0     0.0%         ---   161.0     190       93.2%     78.9%
 P      TSLA   2018-08-10   $280.00     424       $0.01    $4.35     $0.12    $0.36    0.10%     1,560          0     0.0%         --- 1,331.0   1,374       39.8%     38.6%
 P      TSLA   2018-08-10   $282.50     296       $0.01    $0.18     $0.05    $0.08    0.02%     1,463          0     0.0%         ---   277.3     356      133.5%    103.9%
 P      TSLA   2018-08-10   $285.00     427       $0.01    $0.23     $0.09    $0.40    0.11%     1,463          0     0.0%         ---   783.5     817       68.1%     65.3%
 P      TSLA   2018-08-10   $287.50     173       $0.01    $0.14     $0.09    $0.12    0.03%     1,560          0     0.0%         ---   433.0     450       49.9%     48.1%
 P      TSLA   2018-08-10   $290.00     244       $0.01    $0.31     $0.07    $0.38    0.10%     1,560          0     0.0%         ---   775.5     783       39.3%     39.0%
 P      TSLA   2018-08-10   $292.50     422       $0.01    $0.31     $0.15    $0.07    0.02%     1,463          0     0.0%         ---   390.0     419      135.3%    125.9%
 P      TSLA   2018-08-10   $295.00     988       $0.01    $0.25     $0.09    $0.05    0.01%     1,560          0     0.0%         ---   921.0   1,059      134.1%    116.6%
 P      TSLA   2018-08-10   $297.50     632       $0.01    $0.40     $0.09    $0.07    0.02%     1,560          0     0.0%         ---   614.3     780      128.6%    101.3%
 P      TSLA   2018-08-10   $300.00   9,437       $0.01    $0.44     $0.10    $0.03    0.01%     1,560          0     0.0%         --- 3,433.3   5,171      343.6%    228.1%
 P      TSLA   2018-08-10   $302.50     509       $0.01    $0.50     $0.15    $0.93    0.25%     1,560          0     0.0%         ---   438.5     552      145.1%    115.3%
 P      TSLA   2018-08-10   $305.00     573       $0.01    $0.55     $0.11    $0.40    0.11%     1,560          0     0.0%         ---   647.3     696      110.7%    102.9%
 P      TSLA   2018-08-10   $307.50     561       $0.01    $0.63     $0.19    $0.40    0.11%     1,560          0     0.0%         ---   625.5     651      112.1%    107.7%
 P      TSLA   2018-08-10   $310.00   3,374       $0.01    $0.67     $0.17    $0.35    0.10%     1,560          0     0.0%         --- 2,817.0   3,190      149.7%    132.2%
 P      TSLA   2018-08-10   $312.50   1,011       $0.01    $0.78     $0.23    $0.40    0.11%     1,560          0     0.0%         ---   415.3     495      304.3%    255.3%
 P      TSLA   2018-08-10   $315.00   2,828       $0.01    $0.85     $0.21    $0.11    0.03%     1,560          0     0.0%         --- 1,352.3   1,571      261.4%    225.0%
 P      TSLA   2018-08-10   $317.50   1,384       $0.01    $1.00     $0.26    $0.11    0.03%     1,560          0     0.0%         ---   564.8     692      306.3%    250.0%
 P      TSLA   2018-08-10   $320.00   5,552       $0.01    $1.07     $0.29    $0.08    0.02%     1,560          0     0.0%         --- 2,548.3   2,744      272.3%    252.9%
 P      TSLA   2018-08-10   $322.50   2,170       $0.01    $1.25     $0.41    $1.31    0.36%     1,560          0     0.0%         ---   707.0   1,087      383.7%    249.5%
 P      TSLA   2018-08-10   $325.00   8,815       $0.01    $1.42     $0.43    $0.11    0.03%     1,560          0     0.0%         --- 2,756.0   3,160      399.8%    348.7%
 P      TSLA   2018-08-10   $327.50   2,176       $0.01    $1.60     $0.56    $0.17    0.05%     1,560          0     0.0%         ---   792.3     917      343.3%    296.6%
 P      TSLA   2018-08-10   $330.00 13,652        $0.01    $2.03     $0.67    $0.20    0.05%     1,560          0     0.0%         --- 3,035.0   3,405      562.3%    501.2%
 P      TSLA   2018-08-10   $332.50   3,809       $0.01    $3.55     $0.92    $0.18    0.05%     1,560          0     0.0%         --- 1,102.0   1,375      432.1%    346.3%
 P      TSLA   2018-08-10   $335.00 15,214        $0.01    $3.46     $1.00    $0.27    0.07%     1,560          0     0.0%         --- 2,976.0   3,401      639.0%    559.2%
 P      TSLA   2018-08-10   $337.50   5,769       $0.01    $4.45     $1.12    $0.22    0.06%     1,560          0     0.0%         --- 1,055.3   1,555      683.4%    463.7%
 P      TSLA   2018-08-10   $340.00 25,605        $0.01    $5.55     $1.57    $0.13    0.03%     1,463          0     0.0%         --- 3,164.5   4,333     1011.4%    738.7%
 P      TSLA   2018-08-10   $342.50   9,066       $0.02    $6.85     $2.03    $0.43    0.12%     1,560          0     0.0%         --- 1,511.3   2,343      749.9%    483.7%
 P      TSLA   2018-08-10   $345.00 24,812        $0.01    $8.05     $2.07    $0.24    0.07%     1,560          0     0.0%         --- 2,423.0   3,692     1280.0%    840.1%
 P      TSLA   2018-08-10   $347.50 13,010        $0.02    $9.80     $2.02    $0.41    0.11%     1,560          0     0.0%         --- 1,216.5   1,756     1336.8%    926.1%
 P      TSLA   2018-08-10   $350.00 49,091        $0.01   $13.19     $2.53    $0.38    0.10%     1,560          2     0.1%     0.09%   3,708.5   5,197     1654.7% 1180.8%
 P      TSLA   2018-08-10   $352.50 14,335        $0.01   $12.95     $3.02    $0.31    0.09%     1,463          1     0.1%     0.02%     928.3   1,756     1930.4% 1020.4%
 P      TSLA   2018-08-10   $355.00 23,441        $0.22   $16.90     $3.97    $0.79    0.22%     1,463          1     0.1%     0.07%   1,455.5   2,162     2013.1% 1355.3%
 P      TSLA   2018-08-10   $357.50   8,040       $1.03   $16.90     $4.90    $0.82    0.23%     1,463          0     0.0%         ---   624.8   1,017     1608.6%    988.2%
 P      TSLA   2018-08-10   $360.00 24,158        $1.50   $20.40     $5.49    $1.09    0.31%     1,560          1     0.1%     0.09%   1,939.8   3,221     1556.8%    937.5%
 P      TSLA   2018-08-10   $362.50   4,085       $0.80   $23.00     $6.63    $1.19    0.34%     1,560          0     0.0%         ---   639.8   1,166      798.2%    437.9%
 P      TSLA   2018-08-10   $365.00   8,860       $2.24   $20.75     $7.03    $1.18    0.33%     1,560          1     0.1%     0.05%   1,048.0   1,880     1056.8%    589.1%
 P      TSLA   2018-08-10   $367.50   2,629       $2.88   $23.84     $7.64    $1.55    0.43%     1,560          0     0.0%         ---   353.3     646      930.3%    508.7%
 P      TSLA   2018-08-10   $370.00 12,408        $3.37   $27.50     $7.67    $1.28    0.36%     1,463          1     0.1%     0.18%   1,467.0   2,665     1057.3%    582.0%
 P      TSLA   2018-08-10   $372.50   2,409       $4.10   $28.88     $7.94    $1.72    0.48%     1,560          0     0.0%         ---   271.8     522     1108.1%    576.9%



                                                                                                                                                                          p. 31 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]     [16]         [17]       [18]
                                                                                                                                                           Weekly     Weekly
                                                                 Volume-             Average                               Average                        Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum       Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open     Open        Open       Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest        Interest   Interest
 P      TSLA   2018-08-10   $375.00   5,272       $4.67   $32.40     $9.42    $1.77    0.50%     1,560          0     0.0%         ---    723.8   1,248      910.5%     528.0%
 P      TSLA   2018-08-10   $377.50     972       $6.10   $31.13   $10.94     $1.96    0.55%     1,463          0     0.0%         ---    143.5     257      846.7%     472.8%
 P      TSLA   2018-08-10   $380.00   3,693       $7.00   $34.15   $12.80     $1.89    0.53%     1,560          0     0.0%         ---    723.8   1,273      637.8%     362.6%
 P      TSLA   2018-08-10   $382.50     308       $8.25   $33.85   $14.60     $2.51    0.70%     1,560          0     0.0%         ---     44.0      67      875.0%     574.6%
 P      TSLA   2018-08-10   $385.00     352       $9.85   $38.00   $15.88     $2.33    0.65%     1,560          1     0.1%     0.11%      110.3     202      399.1%     217.8%
 P      TSLA   2018-08-10   $387.50      30      $13.65   $35.70   $18.35     $2.71    0.76%     1,560          0     0.0%         ---     11.8      22      319.1%     170.5%
 P      TSLA   2018-08-10   $390.00     221      $12.90   $43.03   $22.60     $2.70    0.75%     1,560          0     0.0%         ---     45.8      76      603.8%     363.5%
 P      TSLA   2018-08-10   $392.50      10      $15.30   $28.05   $25.51     $3.01    0.84%     1,560          0     0.0%         ---      6.5       9      192.3%     138.9%
 P      TSLA   2018-08-10   $395.00      23      $17.87   $48.50   $33.37     $2.98    0.83%     1,560          0     0.0%         ---     14.3      20      201.8%     143.8%
 P      TSLA   2018-08-10   $397.50      31      $19.45   $49.09   $32.31     $3.16    0.88%     1,560          0     0.0%         ---      7.5      16      516.7%     242.2%
 P      TSLA   2018-08-10   $400.00     237      $21.00   $56.90   $38.53     $2.90    0.81%     1,560          0     0.0%         ---     49.5      65      598.5%     455.8%
 P      TSLA   2018-08-10   $402.50       3      $39.45   $39.45   $39.45     $3.41    0.95%     1,560          0     0.0%         ---      0.0       0           ---        ---
 P      TSLA   2018-08-10   $405.00      15      $33.28   $52.18   $37.28     $3.45    0.96%     1,560          0     0.0%         ---      6.5      12      288.5%     156.3%
 P      TSLA   2018-08-10   $410.00       7      $32.16   $43.00   $40.59     $3.47    0.96%     1,463          0     0.0%         ---      5.0       5      175.0%     175.0%
 P      TSLA   2018-08-10   $415.00       1      $60.50   $60.50   $60.50     $3.50    0.97%     1,560          0     0.0%         ---      1.0       1      125.0%     125.0%
 P      TSLA   2018-08-10   $420.00      30      $38.00   $45.30   $41.01     $3.41    0.95%     1,560          0     0.0%         ---     13.0      21      288.5%     178.6%
 P      TSLA   2018-08-10   $425.00       4      $58.00   $74.12   $66.22     $3.54    0.98%     1,560          0     0.0%         ---      1.0       2      500.0%     250.0%
 P      TSLA   2018-08-10   $430.00      48      $55.00   $59.70   $56.15     $3.15    0.88%     1,560          0     0.0%         ---     18.3      25      328.8%     240.0%
 P      TSLA   2018-08-10   $440.00       2      $56.00   $59.00   $57.50     $3.50    0.97%     1,560          0     0.0%         ---      0.5       1      500.0%     250.0%
 P      TSLA   2018-08-17    $20.00      36       $0.01    $0.01     $0.01    $0.15    0.04%     3,510          0     0.0%         ---  1,245.9   1,254        1.6%       1.6%
 P      TSLA   2018-08-17    $30.00     506       $0.01    $0.01     $0.01    $0.15    0.04%     3,510          0     0.0%         ---  1,203.3   1,370       23.4%      20.5%
 P      TSLA   2018-08-17    $40.00     936       $0.01    $0.01     $0.01    $0.01    0.00%     3,510          0     0.0%         ---  1,600.8   1,805       32.5%      28.8%
 P      TSLA   2018-08-17    $50.00   5,053       $0.01    $0.02     $0.01    $0.15    0.04%     3,510          0     0.0%         --- 12,746.2  13,498       22.0%      20.8%
 P      TSLA   2018-08-17    $60.00     186       $0.01    $0.02     $0.01    $0.15    0.04%     3,510          0     0.0%         ---  1,756.0   1,779        5.9%       5.8%
 P      TSLA   2018-08-17    $70.00      72       $0.01    $0.04     $0.01    $0.21    0.06%     3,510          0     0.0%         ---    538.4     556        7.4%       7.2%
 P      TSLA   2018-08-17    $80.00     234       $0.01    $0.03     $0.02    $0.16    0.04%     3,510          0     0.0%         ---    876.1     909       14.8%      14.3%
 P      TSLA   2018-08-17    $90.00     216       $0.01    $0.02     $0.02    $0.19    0.05%     3,510          0     0.0%         ---  1,942.1   1,988        6.2%       6.0%
 P      TSLA   2018-08-17   $100.00   1,138       $0.01    $0.06     $0.03    $0.35    0.10%     3,510          0     0.0%         ---  8,553.9   8,651        7.4%       7.3%
 P      TSLA   2018-08-17   $105.00       2       $0.02    $0.02     $0.02    $0.23    0.06%     3,510          0     0.0%         ---     12.9      14        8.6%       7.9%
 P      TSLA   2018-08-17   $110.00      80       $0.01    $0.04     $0.02    $0.20    0.06%     3,510          0     0.0%         ---    927.9     943        4.8%       4.7%
 P      TSLA   2018-08-17   $115.00       1       $0.04    $0.04     $0.04    $0.23    0.06%     3,510          0     0.0%         ---      0.6       1      100.0%      55.6%
 P      TSLA   2018-08-17   $120.00     188       $0.01    $0.07     $0.06    $0.20    0.06%     3,510          0     0.0%         ---    489.7     534       21.3%      19.6%
 P      TSLA   2018-08-17   $125.00     154       $0.01    $0.06     $0.03    $0.23    0.06%     3,510          0     0.0%         ---     70.3     104      121.6%      82.3%
 P      TSLA   2018-08-17   $130.00     167       $0.01    $0.05     $0.03    $0.21    0.06%     3,510          0     0.0%         ---    220.0     278       42.2%      33.4%
 P      TSLA   2018-08-17   $135.00      37       $0.04    $0.06     $0.05    $0.25    0.07%     3,510          0     0.0%         ---     42.6      54       48.3%      38.1%
 P      TSLA   2018-08-17   $140.00     153       $0.02    $0.08     $0.05    $0.21    0.06%     3,510          0     0.0%         ---    336.3     383       25.3%      22.2%
 P      TSLA   2018-08-17   $145.00     545       $0.01    $0.45     $0.16    $0.05    0.01%     3,510          0     0.0%         ---  1,933.9   2,012       15.7%      15.0%
 P      TSLA   2018-08-17   $150.00   1,507       $0.01    $0.34     $0.05    $0.16    0.04%     3,510          0     0.0%         ---  4,095.7   4,344       20.4%      19.3%
 P      TSLA   2018-08-17   $155.00     653       $0.01    $0.18     $0.07    $0.19    0.05%     3,510          0     0.0%         ---  2,226.4   2,328       16.3%      15.6%



                                                                                                                                                                              p. 32 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-17   $160.00     504       $0.01    $0.15     $0.07    $0.20    0.06%     3,510          0     0.0%         ---   489.3     556       57.2%     50.4%
 P      TSLA   2018-08-17   $165.00     260       $0.01    $0.15     $0.07    $0.23    0.06%     3,510          0     0.0%         ---   292.8     349       49.3%     41.4%
 P      TSLA   2018-08-17   $170.00   1,017       $0.01    $0.14     $0.08    $0.19    0.05%     3,510          0     0.0%         --- 1,350.1   1,443       41.8%     39.2%
 P      TSLA   2018-08-17   $175.00     109       $0.01    $0.19     $0.04    $0.22    0.06%     3,510          0     0.0%         ---   437.7     447       13.8%     13.5%
 P      TSLA   2018-08-17   $180.00     381       $0.01    $0.27     $0.11    $0.20    0.06%     3,510          0     0.0%         --- 1,015.7   1,093       20.8%     19.4%
 P      TSLA   2018-08-17   $185.00     316       $0.01    $0.23     $0.08    $0.24    0.07%     3,510          0     0.0%         ---   504.1     518       34.8%     33.9%
 P      TSLA   2018-08-17   $190.00     270       $0.01    $0.23     $0.12    $0.20    0.06%     3,510          0     0.0%         --- 1,281.6   1,299       11.7%     11.5%
 P      TSLA   2018-08-17   $195.00     147       $0.01    $0.30     $0.06    $0.21    0.06%     3,510          0     0.0%         ---   247.3     257       33.0%     31.8%
 P      TSLA   2018-08-17   $200.00   1,766       $0.01    $0.40     $0.15    $0.18    0.05%     3,510          0     0.0%         --- 5,622.7   5,826       17.4%     16.8%
 P      TSLA   2018-08-17   $205.00     596       $0.01    $1.09     $0.15    $0.25    0.07%     3,510          0     0.0%         ---   591.3     654       56.0%     50.6%
 P      TSLA   2018-08-17   $210.00   1,554       $0.01    $0.41     $0.15    $0.21    0.06%     3,510          0     0.0%         --- 1,473.4   1,709       58.6%     50.5%
 P      TSLA   2018-08-17   $215.00     980       $0.01    $0.74     $0.14    $0.23    0.06%     3,510          0     0.0%         ---   852.7   1,022       63.9%     53.3%
 P      TSLA   2018-08-17   $220.00     544       $0.01    $0.57     $0.21    $0.20    0.06%     3,510          0     0.0%         --- 2,266.0   2,309       13.3%     13.1%
 P      TSLA   2018-08-17   $225.00     901       $0.01    $0.49     $0.12    $0.31    0.08%     3,510          0     0.0%         --- 1,044.6   1,149       47.9%     43.6%
 P      TSLA   2018-08-17   $230.00     850       $0.01    $0.58     $0.19    $0.08    0.02%     3,510          0     0.0%         ---   986.4   1,056       47.9%     44.7%
 P      TSLA   2018-08-17   $235.00     854       $0.01    $0.98     $0.12    $0.22    0.06%     3,510          0     0.0%         --- 1,620.7   1,801       29.3%     26.3%
 P      TSLA   2018-08-17   $240.00   1,264       $0.01    $0.75     $0.35    $0.08    0.02%     3,413          0     0.0%         --- 1,682.6   1,825       41.7%     38.5%
 P      TSLA   2018-08-17   $245.00   3,746       $0.01    $0.81     $0.34    $0.24    0.06%     3,510          0     0.0%         --- 1,476.2   1,762      141.0%    118.1%
 P      TSLA   2018-08-17   $250.00   4,064       $0.01    $0.94     $0.31    $0.09    0.03%     3,510          0     0.0%         --- 6,749.6   7,192       33.5%     31.4%
 P      TSLA   2018-08-17   $255.00     603       $0.01    $0.99     $0.34    $0.26    0.07%     3,510          0     0.0%         ---   725.8     798       46.2%     42.0%
 P      TSLA   2018-08-17   $260.00   3,460       $0.01    $1.07     $0.39    $0.13    0.03%     3,510          0     0.0%         --- 3,107.0   3,257       61.9%     59.0%
 P      TSLA   2018-08-17   $265.00   1,474       $0.01    $4.35     $0.30    $0.25    0.07%     3,510          0     0.0%         ---   807.7     917      101.4%     89.3%
 P      TSLA   2018-08-17   $270.00   2,884       $0.01    $5.00     $0.31    $0.91    0.25%     3,510          0     0.0%         --- 2,611.2   2,788       61.4%     57.5%
 P      TSLA   2018-08-17   $275.00   4,430       $0.01    $1.51     $0.29    $0.08    0.02%     3,510          0     0.0%         --- 2,007.4   2,245      122.6%    109.6%
 P      TSLA   2018-08-17   $280.00   8,688       $0.01    $1.66     $0.51    $0.07    0.02%     3,413          0     0.0%         --- 3,552.1   4,408      135.9%    109.5%
 P      TSLA   2018-08-17   $282.50     901       $0.02    $1.75     $0.30    $0.28    0.08%     3,510          0     0.0%         ---   125.3     206      399.4%    243.0%
 P      TSLA   2018-08-17   $285.00   3,367       $0.01    $1.81     $0.47    $0.22    0.06%     3,510          0     0.0%         --- 1,276.9   1,522      146.5%    122.9%
 P      TSLA   2018-08-17   $287.50   1,545       $0.01    $1.95     $0.46    $0.17    0.05%     3,510          0     0.0%         ---   323.8     562      265.1%    152.7%
 P      TSLA   2018-08-17   $290.00   7,494       $0.01    $2.05     $0.51    $0.37    0.10%     3,510          0     0.0%         --- 3,573.8   3,786      116.5%    110.0%
 P      TSLA   2018-08-17   $292.50   2,286       $0.01    $2.17     $0.50    $0.52    0.14%     3,510          0     0.0%         ---   328.4     520      386.7%    244.2%
 P      TSLA   2018-08-17   $295.00   6,876       $0.01    $2.42     $0.64    $0.22    0.06%     3,510          0     0.0%         --- 1,255.6   1,616      304.2%    236.4%
 P      TSLA   2018-08-17   $297.50   6,383       $0.02    $2.60     $0.57    $0.24    0.07%     3,510          0     0.0%         ---   618.4     844      573.4%    420.2%
 P      TSLA   2018-08-17   $300.00 40,960        $0.02    $2.80     $0.89    $0.07    0.02%     3,510          0     0.0%         --- 6,062.1   6,908      375.4%    329.4%
 P      TSLA   2018-08-17   $302.50   9,594       $0.01    $2.90     $0.91    $0.25    0.07%     3,510          0     0.0%         ---   247.8     281     2151.1% 1896.8%
 P      TSLA   2018-08-17   $305.00 25,439        $0.08    $3.70     $1.35    $0.24    0.07%     3,510          0     0.0%         --- 3,105.4   4,006      455.1%    352.8%
 P      TSLA   2018-08-17   $307.50   7,537       $0.14    $4.80     $2.23    $0.26    0.07%     3,510          0     0.0%         ---   510.4     605      820.3%    692.1%
 P      TSLA   2018-08-17   $310.00 24,775        $0.16    $6.50     $2.53    $0.16    0.05%     3,510          0     0.0%         --- 3,085.9   3,710      446.0%    371.0%
 P      TSLA   2018-08-17   $312.50   6,713       $0.20    $8.95     $3.35    $0.33    0.10%     3,510          0     0.0%         ---   533.1     706      699.6%    528.2%
 P      TSLA   2018-08-17   $315.00 15,723        $0.24   $11.50     $3.81    $0.34    0.10%     3,510          0     0.0%         --- 2,524.3   2,959      346.0%    295.2%



                                                                                                                                                                          p. 33 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-17   $317.50   5,925       $0.28   $13.15     $3.65    $0.38    0.11%     3,510          0     0.0%         ---   645.9   1,307      509.6%    251.8%
 P      TSLA   2018-08-17   $320.00 20,229        $0.34   $16.23     $3.47    $0.23    0.07%     3,413          0     0.0%         --- 4,305.8   5,013      261.0%    224.2%
 P      TSLA   2018-08-17   $322.50   9,708       $0.43   $19.00     $3.42    $0.30    0.09%     3,413          0     0.0%         --- 1,264.0   1,995      426.7%    270.3%
 P      TSLA   2018-08-17   $325.00 13,849        $0.52   $21.45     $4.06    $0.81    0.23%     3,510          0     0.0%         --- 2,313.7   3,597      332.5%    213.9%
 P      TSLA   2018-08-17   $327.50   5,973       $0.57   $23.65     $4.00    $0.33    0.10%     3,413          0     0.0%         ---   813.2   1,850      408.0%    179.4%
 P      TSLA   2018-08-17   $330.00 29,171        $0.84   $26.40     $4.78    $0.30    0.09%     3,413          0     0.0%         --- 3,772.2   5,692      429.6%    284.7%
 P      TSLA   2018-08-17   $332.50   6,559       $1.12   $29.40     $4.81    $0.50    0.15%     3,510          0     0.0%         ---   520.6   1,336      700.0%    272.7%
 P      TSLA   2018-08-17   $335.00 18,589        $1.02   $31.38     $5.50    $0.50    0.15%     3,510          0     0.0%         --- 1,750.1   3,086      590.1%    334.6%
 P      TSLA   2018-08-17   $337.50 10,292        $1.39   $33.44     $5.79    $0.56    0.17%     3,510          0     0.0%         ---   789.3   1,516      724.4%    377.2%
 P      TSLA   2018-08-17   $340.00 29,771        $1.46   $36.20     $6.43    $0.50    0.15%     3,510          0     0.0%         --- 4,836.8   6,259      342.0%    264.3%
 P      TSLA   2018-08-17   $342.50   5,657       $1.00   $38.40     $7.37    $0.65    0.19%     3,413          0     0.0%         ---   613.6     900      512.2%    349.2%
 P      TSLA   2018-08-17   $345.00 12,736        $1.66   $41.00     $8.07    $0.69    0.20%     3,413          0     0.0%         --- 2,016.0   2,704      351.0%    261.7%
 P      TSLA   2018-08-17   $347.50   5,229       $3.00   $44.00     $8.78    $0.68    0.20%     3,413          0     0.0%         ---   749.4   1,201      387.6%    241.9%
 P      TSLA   2018-08-17   $350.00 35,239        $3.10   $46.70     $9.46    $0.83    0.24%     3,510          1     0.0%     0.12%   5,466.3   7,038      358.1%    278.2%
 P      TSLA   2018-08-17   $352.50   5,168       $3.61   $47.87     $9.45    $0.80    0.24%     3,413          0     0.0%         ---   635.6   1,298      451.7%    221.2%
 P      TSLA   2018-08-17   $355.00   9,422       $3.00   $51.09   $10.89     $0.84    0.25%     3,413          2     0.1%     0.12%   1,202.0   1,668      435.5%    313.8%
 P      TSLA   2018-08-17   $357.50   3,526       $4.60   $52.80   $12.23     $1.10    0.32%     3,510          0     0.0%         ---   530.2     893      369.4%    219.4%
 P      TSLA   2018-08-17   $360.00 11,941        $4.20   $55.92   $13.18     $1.37    0.40%     3,510          2     0.1%     0.02%   2,037.3   2,640      325.6%    251.3%
 P      TSLA   2018-08-17   $362.50   1,391       $5.00   $57.91   $14.30     $1.25    0.37%     3,510          0     0.0%         ---   307.3     393      251.4%    196.6%
 P      TSLA   2018-08-17   $365.00   3,092       $4.45   $60.89   $14.54     $1.63    0.47%     3,510          0     0.0%         ---   566.3     687      303.3%    250.0%
 P      TSLA   2018-08-17   $367.50     812       $7.22   $62.57   $16.31     $1.48    0.43%     3,510          0     0.0%         ---   244.8     298      184.3%    151.4%
 P      TSLA   2018-08-17   $370.00   4,958       $7.86   $65.75   $16.54     $1.37    0.40%     3,413          0     0.0%         --- 1,201.2   1,675      229.3%    164.4%
 P      TSLA   2018-08-17   $372.50     832       $9.60   $57.48   $15.25     $1.55    0.45%     3,413          0     0.0%         ---   219.9     301      210.2%    153.6%
 P      TSLA   2018-08-17   $375.00   2,627       $9.70   $71.00   $19.24     $2.63    0.75%     3,510          0     0.0%         --- 1,785.9   2,084       81.7%     70.0%
 P      TSLA   2018-08-17   $377.50     779      $10.65   $68.14   $16.41     $1.87    0.54%     3,510          0     0.0%         ---   233.1     330      185.7%    131.1%
 P      TSLA   2018-08-17   $380.00   3,268      $12.00   $75.05   $17.87     $1.90    0.55%     3,510          2     0.1%     0.17%   1,253.1   1,440      144.9%    126.1%
 P      TSLA   2018-08-17   $382.50     129      $13.19   $73.43   $24.87     $2.08    0.60%     3,510          0     0.0%         ---    46.2      54      155.0%    132.7%
 P      TSLA   2018-08-17   $385.00     248      $10.95   $79.53   $27.88     $2.97    0.85%     3,510          0     0.0%         ---   214.8     231       64.1%     59.6%
 P      TSLA   2018-08-17   $387.50      61      $15.00   $78.51   $34.35     $2.30    0.67%     3,510          0     0.0%         ---    24.2      31      139.9%    109.3%
 P      TSLA   2018-08-17   $390.00     832      $17.50   $85.30   $40.69     $2.26    0.65%     3,510          0     0.0%         ---   437.8     492      105.6%     93.9%
 P      TSLA   2018-08-17   $392.50      26      $22.80   $26.15   $24.60     $2.43    0.70%     3,510          0     0.0%         ---    14.4      20      100.0%     72.2%
 P      TSLA   2018-08-17   $395.00     133      $21.00   $89.50   $43.75     $2.44    0.70%     3,510          0     0.0%         ---   119.1     133       62.0%     55.6%
 P      TSLA   2018-08-17   $397.50      19      $23.45   $51.91   $29.90     $2.55    0.73%     3,510          0     0.0%         ---    10.1      14      104.4%     75.4%
 P      TSLA   2018-08-17   $400.00     445      $24.46   $95.00   $44.03     $2.51    0.72%     3,510          0     0.0%         ---   229.6     258      107.7%     95.8%
 P      TSLA   2018-08-17   $405.00       8      $36.88   $57.80   $41.83     $2.87    0.83%     3,510          0     0.0%         ---    40.9      43       10.9%     10.3%
 P      TSLA   2018-08-17   $407.50       2      $55.95   $73.50   $64.73     $2.92    0.85%     2,340          0     0.0%         ---     0.3       1      500.0%    166.7%
 P      TSLA   2018-08-17   $410.00      17      $50.85   $72.00   $55.76     $2.90    0.83%     3,510          0     0.0%         ---    86.3      89       10.9%     10.6%
 P      TSLA   2018-08-17   $415.00       8      $36.00   $57.80   $46.79     $3.01    0.86%     3,510          0     0.0%         ---    16.6      18       26.8%     24.7%
 P      TSLA   2018-08-17   $420.00      38      $40.00  $111.83   $61.09     $3.20    0.92%     3,510          0     0.0%         ---    39.2      41       53.8%     51.5%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-17   $425.00      91      $57.00   $72.13   $71.54     $3.04    0.87%     3,510          0     0.0%         ---  111.9      141       45.2%     35.9%
 P      TSLA   2018-08-17   $430.00       1      $61.80   $61.80   $61.80     $3.27    0.93%     3,510          0     0.0%         ---    38.8      39        1.4%      1.4%
 P      TSLA   2018-08-17   $435.00       6      $58.98   $70.65   $64.82     $3.30    0.94%     3,510          0     0.0%         ---    21.4      22       15.5%     15.2%
 P      TSLA   2018-08-17   $455.00       3      $78.20   $78.20   $78.20     $3.48    0.99%     3,510          0     0.0%         ---    11.3      13       14.7%     12.8%
 P      TSLA   2018-08-17   $475.00      11     $111.70  $112.05  $112.02     $3.52    1.01%     3,510          0     0.0%         ---    24.7      26       24.8%     23.5%
 P      TSLA   2018-08-17   $500.00       3     $136.70  $195.50  $165.73     $3.57    1.02%     3,510          0     0.0%         ---     3.8       4       44.1%     41.7%
 P      TSLA   2018-08-17   $600.00       2     $218.00  $226.17  $222.09     $3.60    1.03%     3,510          0     0.0%         ---     0.1       1     1000.0%    111.1%
 P      TSLA   2018-08-24   $100.00   1,490       $0.02    $0.10     $0.05    $0.26    0.07%     3,510          0     0.0%         ---  321.9    1,408      257.2%     58.8%
 P      TSLA   2018-08-24   $105.00      71       $0.02    $0.08     $0.03    $0.35    0.10%     3,510          0     0.0%         ---   23.1       71      170.8%     55.6%
 P      TSLA   2018-08-24   $110.00   1,248       $0.02    $0.10     $0.05    $0.36    0.10%     3,510          0     0.0%         ---  121.8    1,168      569.2%     59.4%
 P      TSLA   2018-08-24   $115.00     134       $0.02    $0.15     $0.03    $0.34    0.09%     3,510          0     0.0%         ---    16.5     130      451.2%     57.3%
 P      TSLA   2018-08-24   $120.00     125       $0.03    $0.20     $0.10    $0.33    0.09%     3,510          0     0.0%         ---    32.0     131      217.0%     53.0%
 P      TSLA   2018-08-24   $125.00     194       $0.04    $0.15     $0.06    $0.37    0.10%     3,510          0     0.0%         ---    23.5     171      458.6%     63.0%
 P      TSLA   2018-08-24   $130.00     430       $0.04    $0.15     $0.07    $0.36    0.10%     3,510          0     0.0%         ---    67.5     364      353.9%     65.6%
 P      TSLA   2018-08-24   $135.00      96       $0.04    $0.25     $0.07    $0.36    0.10%     3,510          0     0.0%         ---   17.6       91      303.0%     58.6%
 P      TSLA   2018-08-24   $140.00     148       $0.05    $0.22     $0.10    $0.39    0.11%     3,510          0     0.0%         ---    23.1     111      355.9%     74.1%
 P      TSLA   2018-08-24   $145.00     658       $0.01    $0.25     $0.10    $0.30    0.08%     3,510          0     0.0%         ---  419.1      481       87.2%     76.0%
 P      TSLA   2018-08-24   $150.00     862       $0.01    $0.30     $0.13    $0.28    0.08%     3,510          0     0.0%         ---  277.2      746      172.8%     64.2%
 P      TSLA   2018-08-24   $155.00     213       $0.05    $0.34     $0.12    $0.30    0.08%     3,510          0     0.0%         ---  400.3      464       29.6%     25.5%
 P      TSLA   2018-08-24   $160.00      70       $0.08    $0.41     $0.21    $0.36    0.10%     3,510          0     0.0%         ---   11.4       45      341.1%     86.4%
 P      TSLA   2018-08-24   $165.00     239       $0.13    $0.38     $0.19    $0.42    0.12%     3,510          0     0.0%         ---    55.9     210      237.5%     63.2%
 P      TSLA   2018-08-24   $170.00      94       $0.04    $0.47     $0.28    $0.41    0.11%     3,510          0     0.0%         ---   46.5       92      112.3%     56.8%
 P      TSLA   2018-08-24   $175.00   1,284       $0.10    $0.60     $0.34    $0.38    0.11%     3,510          0     0.0%         ---  274.5    1,110      259.9%     64.3%
 P      TSLA   2018-08-24   $180.00     516       $0.12    $0.64     $0.36    $0.28    0.08%     3,413          0     0.0%         ---  117.2      432      244.6%     66.4%
 P      TSLA   2018-08-24   $185.00     128       $0.14    $0.75     $0.33    $0.36    0.10%     3,510          0     0.0%         ---  184.7      282       38.5%     25.2%
 P      TSLA   2018-08-24   $190.00     467       $0.11    $0.70     $0.27    $0.37    0.10%     3,510          0     0.0%         ---  276.7      371       93.8%     69.9%
 P      TSLA   2018-08-24   $195.00     192       $0.14    $0.90     $0.42    $0.38    0.11%     3,510          0     0.0%         ---  105.3      138      101.3%     77.3%
 P      TSLA   2018-08-24   $200.00   1,224       $0.09    $1.01     $0.54    $0.33    0.09%     3,510          0     0.0%         ---  296.0      896      229.7%     75.9%
 P      TSLA   2018-08-24   $205.00     586       $0.09    $1.02     $0.56    $0.38    0.11%     3,510          0     0.0%         ---  158.4      278      205.5%    117.1%
 P      TSLA   2018-08-24   $210.00     366       $0.19    $1.06     $0.64    $0.38    0.11%     3,510          0     0.0%         ---    89.0     337      228.5%     60.3%
 P      TSLA   2018-08-24   $215.00     317       $0.23    $1.20     $0.60    $0.39    0.11%     3,510          0     0.0%         ---    90.5     247      194.6%     71.3%
 P      TSLA   2018-08-24   $220.00     768       $0.10    $1.91     $0.72    $0.33    0.09%     3,510          0     0.0%         ---  171.6      380      248.6%    112.3%
 P      TSLA   2018-08-24   $225.00     486       $0.16    $1.51     $0.72    $0.34    0.10%     3,510          0     0.0%         ---  107.8      267      250.5%    101.1%
 P      TSLA   2018-08-24   $230.00     620       $0.10    $2.21     $1.02    $0.31    0.09%     3,510          0     0.0%         ---  188.9      438      182.3%     78.6%
 P      TSLA   2018-08-24   $235.00     466       $0.18    $1.80     $0.94    $0.37    0.10%     3,510          0     0.0%         ---  144.0      233      179.8%    111.1%
 P      TSLA   2018-08-24   $240.00     969       $0.15    $2.18     $1.01    $0.30    0.08%     3,510          0     0.0%         ---  341.7      726      157.5%     74.2%
 P      TSLA   2018-08-24   $245.00     347       $0.16    $2.35     $1.33    $0.36    0.10%     3,510          0     0.0%         ---  954.7    1,035       20.2%     18.6%
 P      TSLA   2018-08-24   $250.00   3,183       $0.14    $2.61     $1.31    $0.29    0.08%     3,510          0     0.0%         ---  504.1    1,543      350.8%    114.6%
 P      TSLA   2018-08-24   $255.00     917       $0.48    $2.93     $1.63    $0.37    0.10%     3,510          0     0.0%         ---  116.0      599      439.2%     85.0%



                                                                                                                                                                          p. 35 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-24   $260.00   1,493       $0.21    $3.24     $1.88    $0.34    0.09%     3,510          0     0.0%         ---  259.7      703      319.4%    118.0%
 P      TSLA   2018-08-24   $262.50     133       $0.55    $2.93     $1.74    $0.38    0.11%     3,510          0     0.0%         ---    22.8      65      324.1%    113.7%
 P      TSLA   2018-08-24   $265.00     573       $0.28    $3.75     $1.85    $0.37    0.10%     3,510          0     0.0%         ---  113.9      299      279.5%    106.5%
 P      TSLA   2018-08-24   $267.50     193       $0.32    $3.80     $1.93    $0.37    0.10%     3,510          0     0.0%         ---  138.0      214       77.7%     50.1%
 P      TSLA   2018-08-24   $270.00   1,933       $0.31    $4.10     $2.37    $0.34    0.09%     3,510          0     0.0%         ---  715.9    1,225      150.0%     87.7%
 P      TSLA   2018-08-24   $272.50     481       $0.78    $5.32     $2.12    $0.39    0.11%     3,510          0     0.0%         ---    75.6     304      353.5%     87.9%
 P      TSLA   2018-08-24   $275.00   1,600       $0.44    $4.73     $3.01    $0.37    0.10%     3,510          0     0.0%         ---  217.6      856      408.5%    103.8%
 P      TSLA   2018-08-24   $277.50     306       $0.42    $5.05     $2.52    $0.38    0.11%     3,510          0     0.0%         ---    56.0     115      303.6%    147.8%
 P      TSLA   2018-08-24   $280.00   3,224       $0.01    $5.50     $3.68    $0.34    0.10%     3,510          0     0.0%         ---  327.0    1,270      547.7%    141.0%
 P      TSLA   2018-08-24   $282.50     586       $0.85    $5.65     $3.06    $0.40    0.11%     3,510          0     0.0%         ---  151.8      392      214.5%     83.0%
 P      TSLA   2018-08-24   $285.00   1,761       $0.63    $6.40     $4.19    $0.36    0.10%     3,510          0     0.0%         ---  241.8      979      404.6%     99.9%
 P      TSLA   2018-08-24   $287.50     533       $0.55    $6.70     $3.55    $0.41    0.11%     3,510          0     0.0%         ---    73.5     220      402.9%    134.6%
 P      TSLA   2018-08-24   $290.00   2,099       $0.20    $7.49     $4.56    $0.36    0.10%     3,510          0     0.0%         ---  435.3      877      267.9%    133.0%
 P      TSLA   2018-08-24   $292.50   1,020       $0.78    $8.05     $4.05    $0.33    0.09%     3,510          0     0.0%         ---  134.4      488      421.6%    116.1%
 P      TSLA   2018-08-24   $295.00   2,199       $0.47    $8.75     $5.15    $0.23    0.06%     3,510          0     0.0%         ---  267.9      683      456.0%    178.9%
 P      TSLA   2018-08-24   $297.50   1,182       $0.96    $9.50     $6.70    $0.48    0.13%     3,510          0     0.0%         ---  117.6      477      558.4%    137.7%
 P      TSLA   2018-08-24   $300.00   8,264       $0.90   $10.39     $6.14    $0.56    0.15%     3,413          0     0.0%         ---  812.2    2,837      565.3%    161.8%
 P      TSLA   2018-08-24   $302.50   1,188       $1.22   $11.17     $7.44    $0.42    0.12%     3,510          0     0.0%         ---  122.7      432      537.9%    152.8%
 P      TSLA   2018-08-24   $305.00   3,571       $1.20   $12.25     $8.52    $0.41    0.12%     3,510          0     0.0%         ---  262.3    1,051      756.3%    188.8%
 P      TSLA   2018-08-24   $307.50   1,572       $1.41   $13.50     $9.17    $0.43    0.12%     3,510          1     0.0%     0.01%      94.1     346      928.1%    252.4%
 P      TSLA   2018-08-24   $310.00   4,720       $1.15   $14.55     $8.37    $0.39    0.11%     3,510          0     0.0%         ---  489.7      989      535.5%    265.1%
 P      TSLA   2018-08-24   $312.50   2,001       $2.05   $15.80     $8.09    $0.46    0.13%     3,510          0     0.0%         ---  299.4      677      371.3%    164.2%
 P      TSLA   2018-08-24   $315.00   3,719       $1.85   $17.50     $8.14    $0.44    0.12%     3,510          0     0.0%         ---  903.9    1,134      228.6%    182.2%
 P      TSLA   2018-08-24   $317.50   1,602       $2.00   $18.80     $8.58    $0.48    0.14%     3,510          0     0.0%         ---  229.8      546      387.3%    163.0%
 P      TSLA   2018-08-24   $320.00   5,428       $2.20   $21.00     $6.72    $0.46    0.13%     3,510          0     0.0%         ---  609.1    1,083      495.1%    278.4%
 P      TSLA   2018-08-24   $322.50   1,223       $2.22   $22.84     $8.82    $0.53    0.15%     3,510          0     0.0%         ---  144.7      333      469.6%    204.0%
 P      TSLA   2018-08-24   $325.00   1,885       $2.00   $24.83     $9.63    $0.50    0.14%     3,510          0     0.0%         ---  306.4      706      341.8%    148.3%
 P      TSLA   2018-08-24   $327.50   1,621       $2.75   $26.70   $12.36     $0.45    0.13%     3,413          0     0.0%         ---  165.4      539      544.5%    167.1%
 P      TSLA   2018-08-24   $330.00   2,811       $2.00   $28.50     $9.93    $0.63    0.18%     3,510          0     0.0%         ---  473.9      889      329.5%    175.7%
 P      TSLA   2018-08-24   $332.50   1,292       $2.96   $30.60     $9.52    $0.61    0.18%     3,510          0     0.0%         ---  159.0      403      451.4%    178.1%
 P      TSLA   2018-08-24   $335.00   2,196       $3.52   $32.69   $10.93     $0.63    0.18%     3,510          0     0.0%         ---  289.3      601      421.7%    203.0%
 P      TSLA   2018-08-24   $337.50   1,271       $4.45   $35.35   $12.88     $0.67    0.19%     3,510          0     0.0%         ---  159.6      290      442.4%    243.5%
 P      TSLA   2018-08-24   $340.00   2,910       $3.50   $37.45   $13.74     $1.30    0.37%     3,510          1     0.0%     0.01%    407.9      858      396.3%    188.4%
 P      TSLA   2018-08-24   $342.50   1,319       $4.65   $38.83   $11.28     $0.74    0.22%     3,413          0     0.0%         ---  293.5      402      249.7%    182.3%
 P      TSLA   2018-08-24   $345.00   2,140       $5.10   $43.10   $11.41     $1.05    0.30%     3,510          0     0.0%         ---  440.6      687      269.8%    173.1%
 P      TSLA   2018-08-24   $347.50     772       $5.75   $44.09   $13.57     $1.17    0.34%     3,510          0     0.0%         ---  157.2      250      272.8%    171.6%
 P      TSLA   2018-08-24   $350.00   2,896       $5.40   $46.70   $15.42     $0.80    0.23%     3,510          0     0.0%         ---  462.1      747      348.2%    215.4%
 P      TSLA   2018-08-24   $352.50     846       $6.82   $49.06   $14.84     $0.91    0.27%     3,510          0     0.0%         ---  187.5      273      250.7%    172.2%
 P      TSLA   2018-08-24   $355.00   1,251       $6.75   $50.27   $15.65     $0.96    0.28%     3,510          0     0.0%         ---  262.5      406      264.8%    171.2%



                                                                                                                                                                          p. 36 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-24   $357.50     382       $7.40   $53.17   $16.69     $1.05    0.31%     3,510          0     0.0%         ---    76.5    128       277.4%    165.8%
 P      TSLA   2018-08-24   $360.00   1,486       $5.00   $56.64   $18.46     $1.35    0.39%     3,510          0     0.0%         ---  261.8     348       315.3%    237.2%
 P      TSLA   2018-08-24   $362.50     151       $9.45   $58.78   $21.03     $1.05    0.31%     3,120          0     0.0%         ---    25.9      38      364.5%    248.4%
 P      TSLA   2018-08-24   $365.00     530       $9.70   $61.29   $18.16     $1.27    0.37%     3,510          0     0.0%         ---  111.6     146       263.8%    201.7%
 P      TSLA   2018-08-24   $367.50     270      $11.50   $62.88   $19.27     $1.19    0.35%     3,120          0     0.0%         ---  149.9     179       112.6%     94.3%
 P      TSLA   2018-08-24   $370.00     778      $11.55   $65.45   $24.38     $1.38    0.40%     3,510          0     0.0%         ---  109.9     158       393.3%    273.6%
 P      TSLA   2018-08-24   $372.50      89      $13.80   $66.30   $22.11     $1.42    0.42%     3,120          0     0.0%         ---    26.6      37      209.5%    150.3%
 P      TSLA   2018-08-24   $375.00     378      $13.85   $71.09   $23.72     $2.24    0.64%     3,413          0     0.0%         ---    89.0    122       236.0%    172.1%
 P      TSLA   2018-08-24   $377.50      48      $14.60   $71.10   $20.99     $1.63    0.48%     3,120          0     0.0%         ---    23.7      31      126.8%     96.8%
 P      TSLA   2018-08-24   $380.00     310      $15.16   $72.00   $30.69     $1.83    0.53%     3,510          0     0.0%         ---    85.3    118       201.9%    146.0%
 P      TSLA   2018-08-24   $382.50      33      $17.23   $78.00   $34.06     $1.82    0.53%     3,120          0     0.0%         ---    15.3      20      134.5%    103.1%
 P      TSLA   2018-08-24   $385.00      43      $19.35   $67.92   $33.45     $2.09    0.61%     3,510          0     0.0%         ---    27.2      38       87.8%     62.9%
 P      TSLA   2018-08-24   $387.50      15      $21.55   $78.70   $45.69     $2.02    0.59%     3,120          0     0.0%         ---     8.2      13      114.0%     72.1%
 P      TSLA   2018-08-24   $390.00      26      $21.00   $76.90   $34.94     $2.27    0.66%     3,510          0     0.0%         ---    24.7      27       58.5%     53.5%
 P      TSLA   2018-08-24   $392.50       5      $33.95   $33.95   $33.95     $2.22    0.65%     3,120          0     0.0%         ---     2.8       5      112.5%     62.5%
 P      TSLA   2018-08-24   $395.00     116      $23.50   $69.53   $35.43     $2.46    0.71%     3,510          0     0.0%         ---    58.7      72      109.8%     89.5%
 P      TSLA   2018-08-24   $400.00     164      $25.00   $91.00   $56.70     $4.34    1.23%     3,510          0     0.0%         ---    35.1      93      259.6%     98.0%
 P      TSLA   2018-08-24   $410.00       7      $41.95   $94.80   $56.89     $3.02    0.87%     3,510          0     0.0%         ---     4.1       6       94.9%     64.8%
 P      TSLA   2018-08-24   $420.00      28      $45.80  $111.85   $67.95     $3.18    0.91%     3,413          0     0.0%         ---    12.7      28      122.5%     55.6%
 P      TSLA   2018-08-24   $425.00      20      $46.23  $113.00   $78.98     $3.31    0.95%     3,413          0     0.0%         ---     7.5      10      148.1%    111.1%
 P      TSLA   2018-08-24   $430.00      20      $50.63  $116.50   $83.85     $3.35    0.96%     3,510          0     0.0%         ---     8.0      10      138.9%    111.1%
 P      TSLA   2018-08-31   $100.00     475       $0.04    $0.20     $0.08    $0.31    0.09%     3,510          0     0.0%         ---  186.7     455       141.3%     58.0%
 P      TSLA   2018-08-31   $105.00      31       $0.03    $0.14     $0.03    $0.44    0.12%     3,510          0     0.0%         ---   24.6       31       70.0%     55.6%
 P      TSLA   2018-08-31   $110.00     120       $0.08    $0.17     $0.16    $0.47    0.13%     3,510          0     0.0%         ---    84.0    120        79.4%     55.6%
 P      TSLA   2018-08-31   $115.00     208       $0.04    $4.87     $0.14    $0.40    0.11%     3,510          0     0.0%         ---    91.2    145       126.7%     79.7%
 P      TSLA   2018-08-31   $120.00     166       $0.04    $0.17     $0.13    $0.47    0.13%     3,510          0     0.0%         ---    34.0    114       271.2%     80.9%
 P      TSLA   2018-08-31   $125.00      47       $0.10    $2.13     $0.86    $0.45    0.13%     3,510          0     0.0%         ---   11.2       47      233.1%     55.6%
 P      TSLA   2018-08-31   $130.00       5       $0.17    $0.35     $0.25    $0.47    0.13%     3,510          0     0.0%         ---     1.5       4      185.2%     69.4%
 P      TSLA   2018-08-31   $135.00     226       $0.10    $0.45     $0.16    $0.48    0.14%     3,510          0     0.0%         ---    76.3    229       164.6%     54.8%
 P      TSLA   2018-08-31   $140.00      37       $0.19    $0.46     $0.32    $0.46    0.13%     3,510          0     0.0%         ---     7.1      37      289.5%     55.6%
 P      TSLA   2018-08-31   $145.00      31       $0.12    $0.50     $0.28    $0.47    0.13%     3,510          0     0.0%         ---     7.1      29      242.6%     59.4%
 P      TSLA   2018-08-31   $150.00     381       $0.04    $0.60     $0.26    $0.39    0.11%     3,510          0     0.0%         ---  144.2     351       146.8%     60.3%
 P      TSLA   2018-08-31   $155.00      12       $0.17    $0.45     $0.38    $0.45    0.13%     3,510          0     0.0%         ---     1.9      12      350.9%     55.6%
 P      TSLA   2018-08-31   $160.00      75       $0.21    $1.35     $0.89    $0.47    0.13%     3,510          0     0.0%         ---     8.1      52      514.4%     80.1%
 P      TSLA   2018-08-31   $165.00      41       $0.22    $0.76     $0.46    $0.46    0.13%     3,510          0     0.0%         ---   14.1       42      161.5%     54.2%
 P      TSLA   2018-08-31   $170.00     520       $0.07    $0.83     $0.52    $0.39    0.11%     3,510          0     0.0%         ---  464.2     619        62.2%     46.7%
 P      TSLA   2018-08-31   $175.00     114       $0.15    $1.12     $0.62    $0.44    0.12%     3,510          0     0.0%         ---  258.6     276        24.5%     22.9%
 P      TSLA   2018-08-31   $180.00     211       $0.17    $1.00     $0.61    $0.40    0.11%     3,510          0     0.0%         ---  112.6     169       104.1%     69.4%
 P      TSLA   2018-08-31   $185.00     237       $0.29    $1.13     $0.98    $0.40    0.11%     3,510          0     0.0%         ---    94.3    289       139.6%     45.6%



                                                                                                                                                                          p. 37 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-31   $190.00     283       $0.31    $1.28     $0.98    $0.43    0.12%     3,510          0     0.0%         ---   270.8     385       58.1%     40.8%
 P      TSLA   2018-08-31   $195.00     120       $0.09    $1.25     $0.85    $0.38    0.11%     3,510          0     0.0%         ---    73.3     131       91.0%     50.9%
 P      TSLA   2018-08-31   $200.00   1,325       $0.10    $1.55     $1.01    $0.20    0.06%     3,413          0     0.0%         --- 1,231.0   1,805       59.8%     40.8%
 P      TSLA   2018-08-31   $205.00      87       $0.15    $1.64     $0.82    $0.39    0.11%     3,510          0     0.0%         ---    31.2      71      154.9%     68.1%
 P      TSLA   2018-08-31   $210.00      38       $0.30    $3.55     $1.68    $0.36    0.10%     3,510          0     0.0%         ---    75.8      94       27.9%     22.5%
 P      TSLA   2018-08-31   $215.00      28       $0.41    $1.72     $1.38    $0.43    0.12%     3,510          0     0.0%         ---    50.4      69       30.9%     22.5%
 P      TSLA   2018-08-31   $220.00     323       $0.48    $1.93     $1.20    $0.36    0.10%     3,510          0     0.0%         ---   324.4     393       55.3%     45.7%
 P      TSLA   2018-08-31   $225.00     115       $0.40    $2.64     $1.37    $0.41    0.12%     3,510          0     0.0%         ---    68.1     102       93.8%     62.6%
 P      TSLA   2018-08-31   $230.00   1,443       $0.08    $3.03     $1.18    $0.43    0.12%     3,510          0     0.0%         --- 1,203.2   1,328       66.6%     60.4%
 P      TSLA   2018-08-31   $235.00     122       $0.39    $2.52     $1.44    $0.45    0.13%     3,510          0     0.0%         ---    60.7     117      111.7%     57.9%
 P      TSLA   2018-08-31   $240.00     380       $0.30    $3.53     $2.15    $0.43    0.12%     3,510          0     0.0%         ---   309.8     384       68.1%     55.0%
 P      TSLA   2018-08-31   $245.00     200       $0.82    $3.90     $2.03    $0.40    0.11%     3,510          0     0.0%         ---   496.0     543       22.4%     20.5%
 P      TSLA   2018-08-31   $250.00   1,163       $0.38    $4.30     $2.26    $0.30    0.08%     3,413          0     0.0%         --- 1,283.8   1,451       50.3%     44.5%
 P      TSLA   2018-08-31   $255.00     407       $0.33    $4.85     $2.77    $0.44    0.12%     3,510          0     0.0%         ---   148.9     326      151.9%     69.4%
 P      TSLA   2018-08-31   $260.00     814       $0.46    $5.35     $2.70    $0.43    0.12%     3,510          0     0.0%         ---   287.6     427      157.2%    105.9%
 P      TSLA   2018-08-31   $262.50     141       $0.94    $5.65     $3.73    $0.50    0.14%     3,510          0     0.0%         ---    15.6      70      502.1%    111.9%
 P      TSLA   2018-08-31   $265.00     520       $0.42    $5.85     $2.45    $0.45    0.13%     3,510          0     0.0%         ---   257.4     415      112.2%     69.6%
 P      TSLA   2018-08-31   $267.50     198       $0.78    $6.45     $3.72    $0.50    0.14%     3,510          0     0.0%         ---    36.5     125      301.4%     88.0%
 P      TSLA   2018-08-31   $270.00     576       $0.70    $6.62     $4.34    $0.46    0.13%     3,510          0     0.0%         ---   195.1     374      164.0%     85.6%
 P      TSLA   2018-08-31   $272.50     171       $0.50    $7.20     $4.37    $0.47    0.13%     3,510          0     0.0%         ---   108.4     152       87.6%     62.5%
 P      TSLA   2018-08-31   $275.00     552       $0.75    $7.07     $5.02    $0.44    0.13%     3,510          0     0.0%         ---   187.7     338      163.4%     90.7%
 P      TSLA   2018-08-31   $277.50      35       $1.83    $7.30     $4.18    $0.53    0.15%     3,510          0     0.0%         ---    23.0      43       84.5%     45.2%
 P      TSLA   2018-08-31   $280.00     578       $1.06    $8.55     $3.97    $0.47    0.13%     3,510          1     0.0%     0.09%     226.0     314      142.1%    102.3%
 P      TSLA   2018-08-31   $282.50      84       $1.40    $8.45     $5.19    $0.54    0.15%     3,510          0     0.0%         ---    30.8      67      151.5%     69.7%
 P      TSLA   2018-08-31   $285.00     725       $1.14    $9.75     $6.82    $0.45    0.13%     3,510          0     0.0%         ---   149.8     442      268.9%     91.1%
 P      TSLA   2018-08-31   $287.50     163       $1.36   $10.54     $5.52    $0.50    0.14%     3,510          0     0.0%         ---    82.3     116      110.0%     78.1%
 P      TSLA   2018-08-31   $290.00   1,406       $0.90   $11.27     $6.51    $0.43    0.12%     3,510          0     0.0%         ---   408.3     874      191.3%     89.4%
 P      TSLA   2018-08-31   $292.50     139       $1.78   $12.00     $6.36    $0.50    0.14%     3,510          0     0.0%         ---   170.0     197       45.4%     39.2%
 P      TSLA   2018-08-31   $295.00     545       $1.50   $12.87     $5.72    $0.49    0.14%     3,510          0     0.0%         ---   139.3     258      217.4%    117.4%
 P      TSLA   2018-08-31   $297.50     231       $1.12   $13.66     $7.63    $0.36    0.10%     3,413          0     0.0%         ---    63.5     133      202.1%     96.5%
 P      TSLA   2018-08-31   $300.00   2,440       $1.10   $14.66     $7.57    $0.42    0.12%     3,510          0     0.0%         ---   725.9   1,143      186.7%    118.6%
 P      TSLA   2018-08-31   $302.50     426       $1.72   $15.60     $6.71    $0.51    0.14%     3,510          0     0.0%         ---   127.1     225      186.2%    105.2%
 P      TSLA   2018-08-31   $305.00     591       $2.08   $16.52   $10.84     $0.50    0.14%     3,510          0     0.0%         ---   246.2     350      133.4%     93.8%
 P      TSLA   2018-08-31   $307.50     374       $2.47   $18.00     $8.08    $0.53    0.15%     3,510          0     0.0%         ---   100.2     192      207.4%    108.2%
 P      TSLA   2018-08-31   $310.00   1,044       $2.00   $19.10     $9.78    $0.49    0.14%     3,510          0     0.0%         ---   262.6     484      220.9%    119.8%
 P      TSLA   2018-08-31   $312.50     266       $2.55   $19.81   $11.30     $0.54    0.15%     3,510          0     0.0%         ---    90.1     138      164.0%    107.1%
 P      TSLA   2018-08-31   $315.00     576       $2.76   $21.61   $12.37     $0.56    0.16%     3,510          0     0.0%         ---   193.1     279      165.7%    114.7%
 P      TSLA   2018-08-31   $317.50     434       $3.00   $21.90     $9.29    $0.56    0.16%     3,510          0     0.0%         ---    88.0     300      274.0%     80.4%
 P      TSLA   2018-08-31   $320.00   1,531       $3.00   $24.00   $10.81     $0.54    0.15%     3,510          1     0.0%     0.04%   1,319.3   1,465       64.5%     58.1%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-08-31   $322.50     264       $3.45   $25.66   $11.96     $0.60    0.17%     3,510          0     0.0%         ---   109.0     139      134.6%    105.5%
 P      TSLA   2018-08-31   $325.00     700       $3.25   $27.00   $10.43     $0.59    0.17%     3,510          0     0.0%         ---   321.3     420      121.0%     92.6%
 P      TSLA   2018-08-31   $327.50     409       $4.10   $29.42   $10.34     $0.64    0.18%     3,510          0     0.0%         ---   129.2     187      175.9%    121.5%
 P      TSLA   2018-08-31   $330.00   1,016       $4.00   $31.24   $13.81     $0.50    0.14%     3,413          2     0.1%     0.05%     235.1     427      240.1%    132.2%
 P      TSLA   2018-08-31   $332.50     689       $4.94   $32.80   $15.10     $0.68    0.20%     3,510          1     0.0%     0.01%     146.2     303      261.8%    126.3%
 P      TSLA   2018-08-31   $335.00     719       $4.83   $34.56   $19.03     $0.82    0.24%     3,510          0     0.0%         ---   138.5     347      288.4%    115.1%
 P      TSLA   2018-08-31   $337.50     424       $5.00   $36.35   $12.91     $0.73    0.21%     3,510          3     0.1%     0.01%     154.4     281      152.6%     83.8%
 P      TSLA   2018-08-31   $340.00   1,017       $5.50   $38.38   $15.59     $0.72    0.21%     3,509          2     0.1%     0.01%     680.1     748       83.1%     75.5%
 P      TSLA   2018-08-31   $342.50     337       $7.02   $40.50   $16.16     $0.80    0.23%     3,510          4     0.1%     0.02%     103.3     195      181.2%     96.0%
 P      TSLA   2018-08-31   $345.00     548       $5.85   $42.33   $14.07     $0.83    0.24%     3,510          5     0.1%     0.01%     173.9     203      175.1%    150.0%
 P      TSLA   2018-08-31   $347.50     274       $7.52   $40.55   $14.94     $0.86    0.25%     3,510          3     0.1%     0.01%     117.5     134      129.6%    113.6%
 P      TSLA   2018-08-31   $350.00   1,194       $5.00   $48.00   $17.77     $0.86    0.25%     3,510          9     0.3%     0.01%     331.3     428      200.2%    155.0%
 P      TSLA   2018-08-31   $352.50     459       $9.00   $46.00   $18.96     $0.95    0.28%     3,510          3     0.1%     0.02%     107.8     155      236.5%    164.5%
 P      TSLA   2018-08-31   $355.00     686       $8.53   $51.03   $18.01     $1.00    0.29%     3,510          7     0.2%     0.02%     170.6     270      223.4%    141.2%
 P      TSLA   2018-08-31   $357.50     275       $9.91   $51.50   $17.33     $1.08    0.31%     3,510          4     0.1%     0.03%      95.2     130      160.5%    117.5%
 P      TSLA   2018-08-31   $360.00     496       $6.15   $57.18   $22.29     $1.12    0.33%     3,510          8     0.2%     0.02%     149.6     199      184.2%    138.5%
 P      TSLA   2018-08-31   $362.50     181      $11.51   $30.60   $19.36     $1.04    0.31%     3,120          3     0.1%     0.02%      47.3      59      239.0%    191.7%
 P      TSLA   2018-08-31   $365.00     267      $11.80   $58.00   $21.84     $1.27    0.37%     3,510          3     0.1%     0.01%      59.0      73      251.4%    203.2%
 P      TSLA   2018-08-31   $367.50     167      $12.80   $62.13   $22.12     $1.18    0.35%     3,120          1     0.0%     0.01%      53.8      99      194.1%    105.4%
 P      TSLA   2018-08-31   $370.00     613      $12.50   $64.85   $19.02     $1.37    0.40%     3,510          2     0.1%     0.01%     170.8     230      199.4%    148.1%
 P      TSLA   2018-08-31   $372.50      93      $15.00   $63.01   $22.50     $1.33    0.39%     3,120          0     0.0%         ---    36.1      46      161.0%    126.4%
 P      TSLA   2018-08-31   $375.00     201      $15.00   $70.00   $23.58     $1.62    0.47%     3,510          0     0.0%         ---    85.4     116      130.8%     96.3%
 P      TSLA   2018-08-31   $377.50      88      $17.50   $45.10   $24.30     $1.55    0.46%     3,120          0     0.0%         ---    21.0      27      261.9%    203.7%
 P      TSLA   2018-08-31   $380.00     184      $17.51   $73.45   $26.60     $1.81    0.53%     3,510          0     0.0%         ---    48.9      63      209.0%    162.3%
 P      TSLA   2018-08-31   $382.50     180      $21.00   $78.75   $42.83     $1.74    0.51%     3,120          0     0.0%         ---    38.1      74      295.2%    152.0%
 P      TSLA   2018-08-31   $385.00      20      $18.40   $33.07   $27.60     $1.97    0.57%     3,510          0     0.0%         ---    12.2      18       91.1%     61.7%
 P      TSLA   2018-08-31   $387.50       8      $25.70   $74.66   $39.59     $1.93    0.57%     3,120          0     0.0%         ---     2.8       4      180.0%    125.0%
 P      TSLA   2018-08-31   $390.00       9      $23.65   $79.08   $32.04     $2.16    0.63%     3,510          0     0.0%         ---    12.9      14       38.8%     35.7%
 P      TSLA   2018-08-31   $392.50       5      $27.60   $27.60   $27.60     $2.07    0.61%     3,120          0     0.0%         ---     4.4       5       70.3%     62.5%
 P      TSLA   2018-08-31   $395.00      14      $47.50   $70.13   $63.84     $2.30    0.67%     3,510          0     0.0%         ---     3.7      13      210.2%     59.8%
 P      TSLA   2018-08-31   $400.00      75      $28.00   $62.37   $42.24     $2.47    0.72%     3,510          0     0.0%         --- 1,186.1   1,194        3.5%      3.5%
 P      TSLA   2018-08-31   $405.00       2      $38.20   $48.50   $43.35     $2.79    0.80%     3,510          0     0.0%         ---     0.3       1      370.4%    111.1%
 P      TSLA   2018-08-31   $410.00      16      $43.50   $43.50   $43.50     $2.95    0.85%     3,510          0     0.0%         ---    13.4      16       66.3%     55.6%
 P      TSLA   2018-08-31   $420.00       4      $46.95   $97.35   $63.52     $3.19    0.92%     3,413          0     0.0%         ---     1.7       2      130.7%    111.1%
 P      TSLA   2018-08-31   $430.00       2      $55.34   $71.12   $63.23     $3.33    0.96%     3,510          0     0.0%         ---     0.8       1      138.9%    111.1%
 P      TSLA   2018-09-07   $100.00     402       $0.05    $0.35     $0.18    $0.38    0.11%     3,510          0     0.0%         ---   114.3     345      195.4%     64.7%
 P      TSLA   2018-09-07   $105.00      35       $0.10    $0.22     $0.14    $0.50    0.14%     3,510          0     0.0%         ---    36.0      48       54.0%     40.5%
 P      TSLA   2018-09-07   $110.00       2       $0.25    $0.25     $0.25    $0.53    0.15%     3,510          0     0.0%         ---     0.2       2      555.6%     55.6%
 P      TSLA   2018-09-07   $120.00      60       $0.17    $2.28     $0.79    $0.52    0.15%     3,510          0     0.0%         ---     9.3      60      358.4%     55.6%



                                                                                                                                                                          p. 39 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-09-07   $125.00       3       $0.16    $0.50     $0.29    $0.54    0.15%     3,510          0     0.0%         ---     0.4       1      416.7%    166.7%
 P      TSLA   2018-09-07   $130.00      10       $0.33    $0.58     $0.55    $0.53    0.15%     3,510          0     0.0%         ---     2.4      10      231.5%     55.6%
 P      TSLA   2018-09-07   $135.00      16       $0.42    $0.43     $0.43    $0.53    0.15%     3,510          0     0.0%         ---     2.6      16      341.9%     55.6%
 P      TSLA   2018-09-07   $140.00      24       $0.29    $0.50     $0.41    $0.52    0.15%     3,510          0     0.0%         ---   16.8       24       79.4%     55.6%
 P      TSLA   2018-09-07   $145.00      37       $0.15    $0.54     $0.32    $0.48    0.14%     3,510          0     0.0%         ---   21.7       37       94.7%     55.6%
 P      TSLA   2018-09-07   $150.00     345       $0.24    $0.97     $0.64    $0.46    0.13%     3,510          0     0.0%         ---    88.5     188      216.6%    102.0%
 P      TSLA   2018-09-07   $155.00      49       $0.55    $1.06     $0.92    $0.50    0.14%     3,510          0     0.0%         ---     4.9      49      555.6%     55.6%
 P      TSLA   2018-09-07   $160.00     238       $0.39    $1.18     $0.80    $0.49    0.14%     3,510          0     0.0%         ---    69.2     227      191.1%     58.2%
 P      TSLA   2018-09-07   $165.00      42       $0.79    $1.26     $1.04    $0.49    0.14%     3,510          0     0.0%         ---     4.2      42      555.6%     55.6%
 P      TSLA   2018-09-07   $170.00      69       $0.38    $1.27     $0.98    $0.45    0.13%     3,510          0     0.0%         ---   54.0      101       71.0%     38.0%
 P      TSLA   2018-09-07   $175.00      91       $0.34    $1.48     $0.97    $0.47    0.13%     3,510          0     0.0%         ---   46.4      103      109.0%     49.1%
 P      TSLA   2018-09-07   $180.00     121       $0.70    $1.71     $1.17    $0.48    0.14%     3,510          0     0.0%         ---    16.4      85      409.9%     79.1%
 P      TSLA   2018-09-07   $185.00       4       $0.47    $1.60     $1.03    $0.48    0.13%     3,510          0     0.0%         ---     6.2       8       35.8%     27.8%
 P      TSLA   2018-09-07   $190.00      93       $0.67    $1.75     $1.18    $0.50    0.14%     3,510          0     0.0%         ---  116.3      154       44.4%     33.5%
 P      TSLA   2018-09-07   $195.00     142       $0.75    $2.92     $1.49    $0.51    0.14%     3,510          0     0.0%         ---    69.9     143      112.9%     55.2%
 P      TSLA   2018-09-07   $200.00     590       $0.45    $2.31     $1.30    $0.46    0.13%     3,510          0     0.0%         ---  414.2      564       79.1%     58.1%
 P      TSLA   2018-09-07   $205.00     177       $0.23    $2.73     $1.11    $0.49    0.14%     3,510          0     0.0%         ---    70.8     190      138.9%     51.8%
 P      TSLA   2018-09-07   $210.00     170       $0.55    $2.84     $1.64    $0.47    0.13%     3,510          0     0.0%         ---    84.0     200      112.4%     47.2%
 P      TSLA   2018-09-07   $215.00     163       $0.30    $3.10     $1.20    $0.51    0.14%     3,510          0     0.0%         ---    38.1     167      237.7%     54.2%
 P      TSLA   2018-09-07   $220.00      96       $0.46    $3.55     $2.17    $0.50    0.14%     3,510          0     0.0%         ---   77.6      112       68.7%     47.6%
 P      TSLA   2018-09-07   $225.00     302       $0.78    $3.75     $1.95    $0.48    0.14%     3,510          0     0.0%         ---    54.6     123      307.3%    136.4%
 P      TSLA   2018-09-07   $230.00     132       $0.40    $4.20     $1.87    $0.48    0.14%     3,510          0     0.0%         ---  211.6      277       34.7%     26.5%
 P      TSLA   2018-09-07   $235.00     110       $0.25    $4.65     $1.71    $0.51    0.14%     3,510          0     0.0%         ---  158.5      171       38.6%     35.7%
 P      TSLA   2018-09-07   $240.00      83       $0.50    $5.00     $2.36    $0.47    0.13%     3,510          0     0.0%         ---  144.5      156       31.9%     29.6%
 P      TSLA   2018-09-07   $245.00     191       $0.01    $5.50     $1.69    $0.50    0.14%     3,510          0     0.0%         ---    83.6     103      126.9%    103.0%
 P      TSLA   2018-09-07   $250.00   1,454       $0.54    $6.05     $3.24    $0.47    0.13%     3,510          0     0.0%         ---  395.7    1,029      204.1%     78.5%
 P      TSLA   2018-09-07   $255.00     125       $0.91    $6.70     $4.09    $0.54    0.15%     3,510          0     0.0%         ---    29.8      65      233.0%    106.8%
 P      TSLA   2018-09-07   $260.00     722       $0.80    $6.65     $2.25    $0.39    0.11%     3,413          0     0.0%         ---  850.7    1,101       47.2%     36.4%
 P      TSLA   2018-09-07   $262.50     121       $0.88    $7.00     $3.36    $0.57    0.16%     3,510          0     0.0%         ---    43.4      68      154.9%     98.9%
 P      TSLA   2018-09-07   $265.00      96       $0.96    $8.15     $3.29    $0.56    0.16%     3,510          0     0.0%         ---   70.9      105       75.2%     50.8%
 P      TSLA   2018-09-07   $267.50      14       $1.01    $6.90     $3.88    $0.56    0.16%     3,510          0     0.0%         ---   18.4       23       42.3%     33.8%
 P      TSLA   2018-09-07   $270.00     110       $1.10    $7.80     $4.24    $0.55    0.16%     3,510          0     0.0%         ---    84.9     116       72.0%     52.7%
 P      TSLA   2018-09-07   $272.50      50       $1.55    $8.52     $5.08    $0.56    0.16%     3,510          0     0.0%         ---   23.0       48      120.8%     57.9%
 P      TSLA   2018-09-07   $275.00     321       $1.00    $8.40     $4.54    $0.54    0.15%     3,510          0     0.0%         ---  134.4      205      132.7%     87.0%
 P      TSLA   2018-09-07   $277.50     108       $1.35    $9.22     $4.51    $0.55    0.15%     3,510          0     0.0%         ---    51.0      87      117.6%     69.0%
 P      TSLA   2018-09-07   $280.00     403       $1.29   $10.91     $8.03    $0.45    0.13%     3,510          0     0.0%         ---    84.3     277      265.6%     80.8%
 P      TSLA   2018-09-07   $282.50     105       $2.15   $11.70     $5.45    $0.56    0.16%     3,510          0     0.0%         ---    36.1      61      161.6%     95.6%
 P      TSLA   2018-09-07   $285.00      72       $1.55   $10.93     $6.28    $0.55    0.15%     3,510          0     0.0%         ---    37.0      60      108.1%     66.7%
 P      TSLA   2018-09-07   $287.50     203       $2.06   $12.17     $7.02    $0.58    0.16%     3,510          0     0.0%         ---    63.9     104      176.5%    108.4%



                                                                                                                                                                          p. 40 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-09-07   $290.00     323       $2.02   $13.65     $6.61    $0.53    0.15%     3,510          0     0.0%         ---  120.0     170       149.5%    105.6%
 P      TSLA   2018-09-07   $292.50      44       $2.29   $14.30     $8.49    $0.56    0.16%     3,510          0     0.0%         ---    55.1      76       44.4%     32.2%
 P      TSLA   2018-09-07   $295.00     232       $2.20   $15.14     $8.10    $0.47    0.13%     3,510          0     0.0%         ---    89.6    134       143.8%     96.2%
 P      TSLA   2018-09-07   $297.50     162       $2.41   $15.60     $9.02    $0.54    0.15%     3,510          0     0.0%         ---    48.0      78      187.5%    115.4%
 P      TSLA   2018-09-07   $300.00   1,662       $2.00   $17.00     $9.32    $0.44    0.13%     3,510          1     0.0%     0.01%    311.6     738       296.3%    125.1%
 P      TSLA   2018-09-07   $302.50     122       $3.00   $17.85   $10.21     $0.57    0.16%     3,510          0     0.0%         ---    49.3      74      137.5%     91.6%
 P      TSLA   2018-09-07   $305.00     203       $2.40   $18.80   $10.11     $0.58    0.16%     3,510          0     0.0%         ---    64.3    106       175.4%    106.4%
 P      TSLA   2018-09-07   $307.50     132       $3.63   $20.10   $13.11     $0.59    0.17%     3,510          0     0.0%         ---    27.5    108       266.7%     67.9%
 P      TSLA   2018-09-07   $310.00     244       $2.95   $21.19   $10.22     $0.59    0.17%     3,510          2     0.1%     0.06%    103.6     133       130.8%    101.9%
 P      TSLA   2018-09-07   $312.50     252       $3.85   $21.10     $7.90    $0.62    0.17%     3,510          0     0.0%         ---  111.0     157       126.1%     89.2%
 P      TSLA   2018-09-07   $315.00     218       $2.75   $23.20   $11.33     $0.61    0.17%     3,510          4     0.1%     0.02%      72.5      98      167.0%    123.6%
 P      TSLA   2018-09-07   $317.50      87       $7.23   $21.59   $13.45     $0.63    0.18%     3,510          2     0.1%     0.01%      24.2      32      199.7%    151.0%
 P      TSLA   2018-09-07   $320.00     532       $4.20   $26.47   $11.70     $0.61    0.17%     3,510          2     0.1%     0.01%    167.8     246       176.1%    120.1%
 P      TSLA   2018-09-07   $322.50      70       $4.75   $22.85     $8.14    $0.66    0.19%     3,510          4     0.1%     0.01%      44.6      61       87.2%     63.8%
 P      TSLA   2018-09-07   $325.00     335       $5.00   $29.15   $15.03     $0.64    0.18%     3,510          4     0.1%     0.02%      81.9    140       227.2%    132.9%
 P      TSLA   2018-09-07   $327.50     387       $3.58   $31.70     $9.61    $0.65    0.19%     3,510          5     0.1%     0.01%    269.0     279        79.9%     77.1%
 P      TSLA   2018-09-07   $330.00   1,103       $2.50   $33.39   $14.55     $0.55    0.16%     3,413        12      0.4%     0.02%    433.6     738       141.3%     83.0%
 P      TSLA   2018-09-07   $332.50     163       $6.20   $31.00   $15.04     $0.72    0.21%     3,510        13      0.4%     0.01%      42.0      75      215.6%    120.7%
 P      TSLA   2018-09-07   $335.00     129       $5.80   $35.98   $13.11     $0.98    0.28%     3,510        14      0.4%     0.02%      48.1      63      149.0%    113.8%
 P      TSLA   2018-09-07   $337.50     112       $7.05   $35.15   $14.64     $0.79    0.23%     3,510        16      0.5%     0.01%      33.0      48      188.6%    129.6%
 P      TSLA   2018-09-07   $340.00     673       $6.55   $40.03   $14.59     $0.75    0.22%     3,510        23      0.7%     0.01%    198.7     242       188.2%    154.5%
 P      TSLA   2018-09-07   $342.50      41      $12.90   $41.70   $16.18     $0.64    0.19%     2,730        24      0.9%     0.01%     14.5       23      202.0%    127.3%
 P      TSLA   2018-09-07   $345.00     335       $4.70   $43.81   $17.28     $0.84    0.24%     3,510        25      0.7%     0.01%      59.9      71      310.7%    262.1%
 P      TSLA   2018-09-07   $347.50      76      $13.91   $45.75   $20.11     $0.70    0.21%     2,730        26      1.0%     0.02%     27.3       38      199.2%    142.9%
 P      TSLA   2018-09-07   $350.00     690       $7.70   $48.40   $19.27     $0.88    0.25%     3,510        28      0.8%     0.02%    159.2     203       240.8%    188.8%
 P      TSLA   2018-09-07   $352.50     198      $12.09   $43.19   $19.02     $0.75    0.22%     3,120        20      0.6%     0.01%     70.2       92      176.2%    134.5%
 P      TSLA   2018-09-07   $355.00     590       $9.00   $35.95   $20.17     $0.97    0.28%     3,510        23      0.7%     0.02%    169.4     287       193.5%    114.2%
 P      TSLA   2018-09-07   $357.50     187      $13.06   $43.42   $21.49     $0.85    0.25%     3,120        17      0.5%     0.02%     35.6       51      328.7%    229.2%
 P      TSLA   2018-09-07   $360.00   1,280      $11.60   $55.80   $21.63     $1.07    0.31%     3,510        19      0.5%     0.02%    260.0     374       273.5%    190.1%
 P      TSLA   2018-09-07   $362.50     164      $12.00   $28.00   $22.16     $0.96    0.28%     3,120        10      0.3%     0.01%     64.1     102       159.9%    100.5%
 P      TSLA   2018-09-07   $365.00     328      $13.00   $61.00   $25.99     $1.17    0.34%     3,413          9     0.3%     0.01%    101.4     128       179.7%    142.4%
 P      TSLA   2018-09-07   $367.50      46      $16.10   $31.26   $19.13     $1.10    0.33%     3,120        10      0.3%     0.01%     26.2       33      109.6%     87.1%
 P      TSLA   2018-09-07   $370.00     365      $14.43   $63.25   $22.70     $1.30    0.38%     3,510          6     0.2%     0.03%      90.6    141       223.8%    143.8%
 P      TSLA   2018-09-07   $372.50      57      $18.90   $36.95   $24.39     $1.24    0.37%     3,120          4     0.1%     0.02%      15.0      22      237.5%    161.9%
 P      TSLA   2018-09-07   $375.00     196      $16.28   $66.00   $24.70     $1.47    0.43%     3,510          4     0.1%     0.02%    101.7     129       107.1%     84.4%
 P      TSLA   2018-09-07   $377.50      28      $18.10   $65.00   $25.92     $1.37    0.40%     3,120          2     0.1%     0.02%      14.2      17      123.0%    102.9%
 P      TSLA   2018-09-07   $380.00      78      $18.50   $71.00   $35.51     $1.62    0.47%     3,510          2     0.1%     0.01%      40.7      51      106.5%     85.0%
 P      TSLA   2018-09-07   $382.50      18      $22.25   $39.80   $25.72     $1.55    0.46%     3,120          0     0.0%         ---    12.4      14       90.4%     80.4%
 P      TSLA   2018-09-07   $385.00      30      $22.01   $45.20   $29.96     $1.79    0.52%     3,510          1     0.0%     0.02%      14.1      18      118.2%     92.6%



                                                                                                                                                                          p. 41 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                         Weekly    Weekly
                                                                Volume-             Average                               Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-09-07   $390.00     45      $23.55   $45.40   $31.19     $1.96    0.57%     3,510          1     0.0%     0.01%      23.5      28      106.4%     89.3%
 P      TSLA   2018-09-07   $395.00     25      $29.11   $49.32   $38.99     $2.09    0.61%     3,413          0     0.0%         ---    21.5      24       64.6%     57.9%
 P      TSLA   2018-09-07   $397.50     32      $43.70   $44.30   $44.03     $2.01    0.59%     3,120          0     0.0%         ---     8.9      16      225.0%    125.0%
 P      TSLA   2018-09-07   $400.00    147      $32.14   $68.75   $45.13     $2.21    0.64%     3,510          0     0.0%         ---    53.1      66      153.8%    123.7%
 P      TSLA   2018-09-07   $402.50     10      $50.45   $50.45   $50.45     $2.22    0.65%     2,730          0     0.0%         ---     5.0      10      142.9%     71.4%
 P      TSLA   2018-09-07   $405.00     51      $35.67   $52.15   $39.65     $2.53    0.73%     3,510          0     0.0%         ---    38.7      46       73.2%     61.6%
 P      TSLA   2018-09-07   $420.00     27      $46.75   $61.65   $49.99     $3.03    0.87%     3,510          0     0.0%         ---    13.4      16      111.9%     93.8%
 P      TSLA   2018-09-07   $425.00      5      $49.00   $49.85   $49.68     $3.11    0.89%     3,413          0     0.0%         ---     4.2       5       66.1%     55.6%
 P      TSLA   2018-09-07   $470.00      2      $93.05   $96.00   $94.53     $3.56    1.02%     3,510          0     0.0%         ---     0.8       1      138.9%    111.1%
 P      TSLA   2018-09-14   $140.00     51       $0.44    $1.23     $0.94    $0.31    0.09%     1,950          0     0.0%         ---     8.8      43      577.4%    118.6%
 P      TSLA   2018-09-14   $145.00      3       $0.71    $0.88     $0.77    $0.29    0.09%     1,950          0     0.0%         ---     0.5       3      600.0%    100.0%
 P      TSLA   2018-09-14   $150.00     33       $0.90    $1.34     $1.21    $0.26    0.08%     1,950          0     0.0%         ---     5.5      33      600.0%    100.0%
 P      TSLA   2018-09-14   $155.00      2       $1.05    $1.30     $1.18    $0.27    0.08%     1,950          0     0.0%         ---     0.3       2      600.0%    100.0%
 P      TSLA   2018-09-14   $160.00     30       $0.90    $1.20     $1.10    $0.25    0.07%     1,950          0     0.0%         ---     5.0      30      600.0%    100.0%
 P      TSLA   2018-09-14   $170.00     26       $0.99    $1.90     $1.41    $0.28    0.08%     2,340          0     0.0%         ---     4.4      26      489.2%     83.3%
 P      TSLA   2018-09-14   $175.00      2       $1.50    $1.51     $1.51    $0.28    0.08%     2,340          0     0.0%         ---     0.3       2      583.3%     83.3%
 P      TSLA   2018-09-14   $180.00    183       $0.82    $1.65     $1.15    $0.27    0.08%     2,340          0     0.0%         ---    97.7    181       156.1%     84.3%
 P      TSLA   2018-09-14   $185.00     28       $0.90    $1.78     $1.07    $0.28    0.08%     2,340          0     0.0%         ---   10.7       27      217.8%     86.4%
 P      TSLA   2018-09-14   $190.00     67       $1.07    $2.44     $1.20    $0.30    0.09%     2,340          0     0.0%         ---   29.3       66      190.7%     84.6%
 P      TSLA   2018-09-14   $195.00    266       $0.68    $2.05     $0.82    $0.47    0.13%     3,510          0     0.0%         ---  184.2     251        80.2%     58.9%
 P      TSLA   2018-09-14   $200.00    325       $0.71    $3.16     $1.58    $0.50    0.14%     3,510          0     0.0%         ---  110.9     276       162.8%     65.4%
 P      TSLA   2018-09-14   $205.00     18       $0.76    $1.57     $0.81    $0.53    0.15%     3,510          0     0.0%         ---   14.1       18       70.9%     55.6%
 P      TSLA   2018-09-14   $210.00     41       $0.37    $1.73     $1.00    $0.52    0.15%     3,510          0     0.0%         ---   28.4       40       80.2%     56.9%
 P      TSLA   2018-09-14   $215.00    107       $0.94    $4.15     $1.33    $0.54    0.15%     3,510          0     0.0%         ---    66.4    101        89.5%     58.9%
 P      TSLA   2018-09-14   $220.00     13       $0.99    $2.84     $1.52    $0.54    0.15%     3,510          0     0.0%         ---     6.2       8      116.5%     90.3%
 P      TSLA   2018-09-14   $225.00    156       $0.59    $3.50     $1.40    $0.55    0.15%     3,510          0     0.0%         ---    89.2    117        97.2%     74.1%
 P      TSLA   2018-09-14   $230.00     97       $0.61    $4.30     $2.31    $0.52    0.15%     3,510          0     0.0%         ---   31.3       86      172.2%     62.7%
 P      TSLA   2018-09-14   $235.00    129       $1.21    $4.81     $1.84    $0.53    0.15%     3,510          0     0.0%         ---  171.3     193        41.8%     37.1%
 P      TSLA   2018-09-14   $240.00    131       $2.12    $6.25     $3.89    $0.53    0.15%     3,510          0     0.0%         ---    50.8    131       143.3%     55.6%
 P      TSLA   2018-09-14   $245.00    101       $0.85    $5.75     $3.00    $0.57    0.16%     3,510          0     0.0%         ---    25.0      85      224.4%     66.0%
 P      TSLA   2018-09-14   $250.00    525       $0.99    $6.65     $5.49    $0.55    0.16%     3,510          0     0.0%         ---    46.6    276       625.9%    105.7%
 P      TSLA   2018-09-14   $255.00     34       $1.03    $8.00     $4.74    $0.60    0.17%     3,510          0     0.0%         ---     7.2      25      262.3%     75.6%
 P      TSLA   2018-09-14   $260.00     82       $1.11    $8.06     $4.25    $0.58    0.16%     3,510          0     0.0%         ---   42.0       66      108.5%     69.0%
 P      TSLA   2018-09-14   $262.50      6       $7.38    $8.26     $8.11    $0.62    0.17%     3,510          0     0.0%         ---     1.6       7      208.3%     47.6%
 P      TSLA   2018-09-14   $265.00     27       $1.80    $8.00     $3.74    $0.57    0.16%     3,510          0     0.0%         ---   11.4       17      131.6%     88.2%
 P      TSLA   2018-09-14   $267.50     17       $1.50   $10.25     $7.19    $0.59    0.17%     3,510          0     0.0%         ---    11.5      12       82.1%     78.7%
 P      TSLA   2018-09-14   $270.00    691       $0.84    $9.93     $4.98    $0.57    0.16%     3,510          0     0.0%         ---  208.5     660       184.1%     58.2%
 P      TSLA   2018-09-14   $272.50     15       $3.20    $9.58     $6.38    $0.59    0.17%     3,510          0     0.0%         ---   12.4       16       67.2%     52.1%
 P      TSLA   2018-09-14   $275.00    173       $0.96   $11.00     $5.47    $0.57    0.16%     3,510          0     0.0%         ---    35.0      71      274.6%    135.4%



                                                                                                                                                                         p. 42 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                         Weekly    Weekly
                                                                Volume-             Average                               Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-09-14   $277.50     90       $2.83   $11.60     $6.65    $0.61    0.17%     3,510          0     0.0%         ---    37.0      57      135.1%     87.7%
 P      TSLA   2018-09-14   $280.00    153       $2.00   $13.05     $6.87    $0.46    0.13%     3,413          0     0.0%         ---    59.5    113       142.9%     75.2%
 P      TSLA   2018-09-14   $282.50     10       $2.30    $5.35     $3.98    $0.59    0.17%     3,510          0     0.0%         ---     8.2       9       67.8%     61.7%
 P      TSLA   2018-09-14   $285.00     55       $2.52   $13.37     $6.28    $0.62    0.18%     3,510          1     0.0%     0.01%      27.9      38      109.5%     80.4%
 P      TSLA   2018-09-14   $287.50     39       $3.17   $14.85     $6.80    $0.64    0.18%     3,510          1     0.0%     0.03%      12.6      25      172.0%     86.7%
 P      TSLA   2018-09-14   $290.00    151       $2.35   $15.98     $7.49    $0.63    0.18%     3,510          1     0.0%     0.03%      51.2      70      163.8%    119.8%
 P      TSLA   2018-09-14   $292.50    166       $3.25   $15.50     $9.93    $0.62    0.18%     3,510          1     0.0%     0.03%      59.3    141       155.5%     65.4%
 P      TSLA   2018-09-14   $295.00    131       $2.76   $17.95     $8.61    $0.62    0.18%     3,510          1     0.0%     0.01%      57.9      80      125.7%     91.0%
 P      TSLA   2018-09-14   $297.50     45       $3.90   $17.08   $12.94     $0.63    0.18%     3,510          3     0.1%     0.01%      21.0      43      119.0%     58.1%
 P      TSLA   2018-09-14   $300.00    611       $2.50   $19.53     $9.84    $0.61    0.17%     3,510          5     0.1%     0.03%    138.5     227       245.1%    149.5%
 P      TSLA   2018-09-14   $302.50     77       $3.90   $19.54   $10.23     $0.63    0.18%     3,510          2     0.1%     0.02%      36.0      59      118.8%     72.5%
 P      TSLA   2018-09-14   $305.00    181       $3.57   $21.85   $13.89     $0.64    0.18%     3,510          4     0.1%     0.02%      28.5      98      352.8%    102.6%
 P      TSLA   2018-09-14   $307.50     83       $4.40   $21.75   $16.28     $0.67    0.19%     3,510          2     0.1%     0.02%      18.8      45      245.3%    102.5%
 P      TSLA   2018-09-14   $310.00    304       $3.95   $23.64   $12.02     $0.63    0.18%     3,510          3     0.1%     0.02%    101.7     137       166.1%    123.3%
 P      TSLA   2018-09-14   $312.50    158       $4.93   $24.03   $14.20     $0.68    0.19%     3,510          3     0.1%     0.02%      48.7    117       180.2%     75.0%
 P      TSLA   2018-09-14   $315.00    162       $3.80   $26.10   $14.45     $0.68    0.19%     3,510          8     0.2%     0.02%      45.8      82      196.5%    109.8%
 P      TSLA   2018-09-14   $317.50     63       $5.40   $26.85   $11.76     $0.68    0.19%     3,510          6     0.2%     0.02%      25.3      48      138.3%     72.9%
 P      TSLA   2018-09-14   $320.00    947       $4.26   $28.06   $13.00     $0.66    0.19%     3,510          8     0.2%     0.01%    335.6     611       156.8%     86.1%
 P      TSLA   2018-09-14   $322.50    140       $6.23   $30.20   $18.61     $0.73    0.21%     3,510        10      0.3%     0.02%      42.6      56      182.6%    138.9%
 P      TSLA   2018-09-14   $325.00    142       $4.00   $31.68   $13.04     $0.72    0.21%     3,510        16      0.5%     0.02%      60.7      85      130.0%     92.8%
 P      TSLA   2018-09-14   $327.50     57       $6.90   $31.23   $20.76     $0.75    0.21%     3,510        14      0.4%     0.03%     25.1       49      126.2%     64.6%
 P      TSLA   2018-09-14   $330.00    204       $6.80   $35.00   $19.32     $0.76    0.22%     3,510        17      0.5%     0.02%      55.7    114       203.5%     99.4%
 P      TSLA   2018-09-14   $332.50    222       $7.65   $36.72   $24.12     $0.78    0.22%     3,510        27      0.8%     0.02%      31.8    139       387.8%     88.7%
 P      TSLA   2018-09-14   $335.00    117       $1.15   $38.00   $17.63     $0.79    0.23%     3,510        30      0.9%     0.02%      36.0      49      180.6%    132.7%
 P      TSLA   2018-09-14   $337.50    134      $14.24   $40.01   $29.55     $0.64    0.19%     2,730        35      1.3%     0.02%     22.1       55      432.6%    174.0%
 P      TSLA   2018-09-14   $340.00    207       $8.75   $41.23   $19.16     $0.84    0.24%     3,510        32      0.9%     0.02%      53.7      65      214.2%    176.9%
 P      TSLA   2018-09-14   $342.50     15      $15.30   $20.33   $18.38     $0.70    0.21%     2,730        38      1.4%     0.02%       3.4       7      317.5%    153.1%
 P      TSLA   2018-09-14   $345.00    270       $9.94   $46.00   $20.09     $0.90    0.26%     3,510        38      1.1%     0.02%      55.0    105       272.7%    142.9%
 P      TSLA   2018-09-14   $347.50     18      $18.15   $44.78   $27.88     $0.76    0.23%     2,730        54      2.0%     0.02%       5.3      10      244.9%    128.6%
 P      TSLA   2018-09-14   $350.00    414      $10.50   $50.04   $23.58     $0.94    0.27%     3,510        71      2.0%     0.02%     88.9     118       258.7%    194.9%
 P      TSLA   2018-09-14   $352.50    143      $13.35   $45.51   $20.77     $0.81    0.24%     3,120        54      1.7%     0.02%     72.2       95      123.8%     94.1%
 P      TSLA   2018-09-14   $355.00    343      $11.45   $53.00   $24.70     $1.02    0.30%     3,510        69      2.0%     0.02%    102.9     229       185.2%     83.2%
 P      TSLA   2018-09-14   $357.50     36      $20.15   $30.47   $24.76     $0.88    0.26%     3,120        59      1.9%     0.02%       8.2      17      273.6%    132.4%
 P      TSLA   2018-09-14   $360.00    283      $13.55   $57.95   $24.16     $1.07    0.31%     3,510        59      1.7%     0.02%     54.6       76      288.0%    206.9%
 P      TSLA   2018-09-14   $362.50    230      $20.95   $59.00   $22.39     $0.96    0.28%     3,120        49      1.6%     0.02%     43.9       61      327.5%    235.7%
 P      TSLA   2018-09-14   $365.00    154      $15.00   $58.74   $25.27     $1.19    0.35%     3,510        37      1.1%     0.02%     34.7       45      246.6%    190.1%
 P      TSLA   2018-09-14   $367.50      7      $18.30   $40.00   $24.28     $1.08    0.32%     3,120        27      0.9%     0.02%       4.2       5      103.6%     87.5%
 P      TSLA   2018-09-14   $370.00    117      $16.45   $67.75   $24.81     $1.33    0.39%     3,510        27      0.8%     0.02%     37.6       51      172.9%    127.5%
 P      TSLA   2018-09-14   $372.50     32      $17.15   $40.75   $20.58     $1.21    0.36%     3,120        23      0.7%     0.02%     22.4       26       89.1%     76.9%



                                                                                                                                                                         p. 43 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]     [16]         [17]      [18]
                                                                                                                                                           Weekly    Weekly
                                                                 Volume-             Average                               Average                        Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum       Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open     Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest        Interest  Interest
 P      TSLA   2018-09-14   $375.00     203      $19.50   $67.10   $23.59     $1.46    0.42%     3,510        27      0.8%     0.02%      120.2     151       93.8%     74.7%
 P      TSLA   2018-09-14   $377.50       7      $20.39   $34.00   $26.86     $1.34    0.39%     3,120        17      0.5%     0.01%        3.6       4      123.0%    109.4%
 P      TSLA   2018-09-14   $380.00      94      $20.75   $71.65   $26.54     $1.61    0.47%     3,510        10      0.3%     0.02%       17.9      21      291.7%    248.7%
 P      TSLA   2018-09-14   $382.50       7      $25.15   $25.15   $25.15     $1.51    0.44%     3,120          9     0.3%     0.01%        6.2       7       70.3%     62.5%
 P      TSLA   2018-09-14   $385.00      13      $22.35   $55.00   $31.63     $1.77    0.51%     3,510          8     0.2%     0.03%        3.8       5      190.1%    144.4%
 P      TSLA   2018-09-14   $390.00      17      $26.38   $85.49   $45.84     $1.91    0.55%     3,510          2     0.1%     0.02%        2.6       7      363.2%    134.9%
 P      TSLA   2018-09-14   $400.00      20      $33.60   $48.75   $39.43     $2.26    0.65%     3,510          0     0.0%         ---      9.7      12      114.5%     92.6%
 P      TSLA   2018-09-14   $405.00       2      $39.45   $51.00   $45.23     $2.59    0.75%     3,510          1     0.0%     0.01%        0.1       1     1111.1%    111.1%
 P      TSLA   2018-09-14   $407.50       4      $59.80   $97.70   $78.75     $2.44    0.72%     2,730          0     0.0%         ---      1.5       2      190.5%    142.9%
 P      TSLA   2018-09-14   $410.00       1      $56.55   $56.55   $56.55     $2.73    0.79%     3,510          0     0.0%         ---      0.9       1       61.7%     55.6%
 P      TSLA   2018-09-14   $415.00      10      $46.90   $60.85   $56.88     $2.87    0.83%     3,510          0     0.0%         ---      3.6       5      154.3%    111.1%
 P      TSLA   2018-09-14   $425.00       5      $69.75   $69.75   $69.75     $3.11    0.89%     3,510          0     0.0%         ---      4.5       5       61.7%     55.6%
 P      TSLA   2018-09-14   $440.00      12      $67.95  $136.00   $94.08     $3.32    0.95%     3,510          0     0.0%         ---      2.4       3      277.8%    222.2%
 P      TSLA   2018-09-14   $500.00       3     $139.89  $139.89  $139.89     $3.63    1.04%     3,510          0     0.0%         ---      2.1       3       79.4%     55.6%
 P      TSLA   2018-09-21    $50.00 36,853        $0.02    $1.11     $0.07    $0.15    0.04%     3,510          0     0.0%         --- 55,914.0  65,903       36.6%     31.1%
 P      TSLA   2018-09-21    $75.00   7,423       $0.03    $0.26     $0.14    $0.02    0.01%     3,413          0     0.0%         --- 11,188.6  13,998       36.9%     29.5%
 P      TSLA   2018-09-21   $100.00 10,598        $0.06    $0.60     $0.26    $0.05    0.02%     3,510          0     0.0%         --- 20,273.5  21,555       29.0%     27.3%
 P      TSLA   2018-09-21   $125.00   4,781       $0.01    $1.06     $0.57    $0.28    0.08%     3,510          0     0.0%         ---  5,510.5   8,173       48.2%     32.5%
 P      TSLA   2018-09-21   $140.00     837       $0.15    $1.40     $0.56    $0.30    0.08%     3,510          0     0.0%         ---    694.5     863       67.0%     53.9%
 P      TSLA   2018-09-21   $145.00     334       $0.15    $2.67     $0.83    $0.19    0.05%     3,413          0     0.0%         ---    623.0     651       29.8%     28.5%
 P      TSLA   2018-09-21   $150.00   7,049       $0.19    $1.72     $0.81    $0.09    0.03%     3,413          0     0.0%         --- 10,652.8  11,708       36.8%     33.4%
 P      TSLA   2018-09-21   $155.00     356       $0.24    $1.78     $1.07    $0.34    0.09%     3,510          0     0.0%         ---  1,269.0   1,342       15.6%     14.7%
 P      TSLA   2018-09-21   $160.00     693       $0.20    $2.08     $1.01    $0.29    0.08%     3,510          0     0.0%         ---  4,597.9   4,716        8.4%      8.2%
 P      TSLA   2018-09-21   $165.00     380       $0.58    $2.22     $1.34    $0.19    0.05%     3,413          0     0.0%         ---    540.8     670       39.0%     31.5%
 P      TSLA   2018-09-21   $170.00     457       $0.28    $2.35     $1.26    $0.17    0.05%     3,413          0     0.0%         ---  1,019.1   1,065       24.9%     23.8%
 P      TSLA   2018-09-21   $175.00   1,423       $0.45    $2.43     $1.15    $0.18    0.05%     3,413          0     0.0%         ---    991.8   1,613       79.7%     49.0%
 P      TSLA   2018-09-21   $180.00   3,926       $0.30    $2.89     $1.74    $0.28    0.08%     3,510          0     0.0%         ---  3,227.7   3,450       67.6%     63.2%
 P      TSLA   2018-09-21   $185.00     427       $0.40    $3.10     $2.04    $0.32    0.09%     3,510          0     0.0%         ---    426.9     502       55.6%     47.3%
 P      TSLA   2018-09-21   $190.00     746       $0.42    $3.26     $1.90    $0.31    0.08%     3,510          0     0.0%         ---    966.7   1,125       42.9%     36.8%
 P      TSLA   2018-09-21   $195.00     346       $0.43    $3.36     $1.85    $0.29    0.08%     3,510          0     0.0%         ---    584.6     621       32.9%     31.0%
 P      TSLA   2018-09-21   $200.00 15,212        $0.35    $4.10     $2.07    $0.23    0.06%     3,413          3     0.1%     0.04% 14,326.3    16,323       59.0%     51.8%
 P      TSLA   2018-09-21   $205.00   4,418       $0.38    $4.30     $2.62    $0.31    0.09%     3,510          0     0.0%         ---  2,372.1   3,388      103.5%     72.4%
 P      TSLA   2018-09-21   $210.00     845       $0.53    $4.68     $2.36    $0.17    0.05%     3,510          0     0.0%         ---  2,755.3   2,932       17.0%     16.0%
 P      TSLA   2018-09-21   $215.00     389       $0.62    $4.95     $2.76    $0.30    0.09%     3,510          0     0.0%         ---    275.2     428       78.5%     50.5%
 P      TSLA   2018-09-21   $220.00   2,091       $0.56    $5.59     $2.60    $0.33    0.09%     3,510          1     0.0%     0.03%    3,387.4   3,554       34.3%     32.7%
 P      TSLA   2018-09-21   $225.00   1,372       $0.70    $5.95     $3.45    $0.29    0.08%     3,510          2     0.1%     0.04%      912.7     955       83.5%     79.8%
 P      TSLA   2018-09-21   $230.00   1,824       $0.81    $6.53     $2.74    $0.29    0.08%     3,510          5     0.1%     0.02%    3,173.2   3,313       31.9%     30.6%
 P      TSLA   2018-09-21   $235.00     872       $0.90    $7.00     $4.00    $0.33    0.09%     3,510          0     0.0%         ---    413.6     584      117.1%     83.0%
 P      TSLA   2018-09-21   $240.00   3,372       $0.65    $7.70     $4.65    $0.32    0.09%     3,510          3     0.1%     0.03%    5,542.2   6,647       33.8%     28.2%



                                                                                                                                                                           p. 44 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-09-21   $245.00   4,259       $1.02    $8.34     $3.96    $0.33    0.09%     3,510          2     0.1%     0.06%   2,375.4   3,559       99.6%     66.5%
 P      TSLA   2018-09-21   $250.00 10,798        $0.95    $9.11     $3.77    $0.28    0.08%     3,510         10     0.3%     0.04%   9,214.1   9,784       65.1%     61.3%
 P      TSLA   2018-09-21   $255.00   1,491       $1.07    $9.92     $4.36    $0.33    0.09%     3,510         23     0.7%     0.02%   3,606.7   3,766       23.0%     22.0%
 P      TSLA   2018-09-21   $260.00   3,536       $1.37   $10.78     $5.63    $0.33    0.09%     3,510         35     1.0%     0.02%   2,800.2   3,524       70.2%     55.7%
 P      TSLA   2018-09-21   $265.00   1,647       $1.45   $11.73     $5.82    $0.34    0.10%     3,510         47     1.3%     0.02%   1,944.7   2,129       47.1%     43.0%
 P      TSLA   2018-09-21   $270.00   2,656       $1.47   $12.78     $5.69    $0.30    0.09%     3,510         55     1.6%     0.02%   3,463.8   3,806       42.6%     38.8%
 P      TSLA   2018-09-21   $275.00   4,318       $1.41   $14.05     $6.00    $0.35    0.10%     3,510         56     1.6%     0.03%   3,316.9   3,466       72.3%     69.2%
 P      TSLA   2018-09-21   $280.00   3,449       $1.81   $15.41     $6.89    $0.34    0.10%     3,510         90     2.6%     0.02%   5,409.7   5,536       35.4%     34.6%
 P      TSLA   2018-09-21   $285.00   4,879       $2.07   $16.86     $6.75    $0.38    0.11%     3,510         91     2.6%     0.02%   2,840.8   3,475       95.4%     78.0%
 P      TSLA   2018-09-21   $290.00   6,658       $1.88   $18.13     $7.19    $0.66    0.18%     3,510        235     6.7%     0.02%   4,944.5   5,384       74.8%     68.7%
 P      TSLA   2018-09-21   $295.00   2,952       $2.50   $20.00     $8.75    $0.39    0.11%     3,510        346     9.9%     0.02%   1,997.2   2,196       82.1%     74.7%
 P      TSLA   2018-09-21   $300.00 25,295        $2.02   $22.09   $11.37     $0.70    0.20%     3,413        461    13.5%     0.03% 11,487.1   12,686      122.3%    110.8%
 P      TSLA   2018-09-21   $305.00   2,505       $0.05   $24.01   $12.08     $0.52    0.15%     3,413        447    13.1%     0.02%   1,189.1   1,407      117.0%     98.9%
 P      TSLA   2018-09-21   $310.00   4,801       $4.00   $26.15   $12.02     $0.55    0.16%     3,413        613    18.0%     0.02%   3,263.3   3,598       81.7%     74.1%
 P      TSLA   2018-09-21   $315.00   5,021       $3.00   $28.69   $11.34     $0.55    0.16%     3,510        809    23.0%     0.03%   2,411.5   2,981      115.7%     93.6%
 P      TSLA   2018-09-21   $320.00 13,059        $5.05   $30.83   $13.85     $5.17    1.42%     3,413        938    27.5%     0.03%   6,386.5   7,492      113.6%     96.8%
 P      TSLA   2018-09-21   $325.00   3,567       $5.50   $33.65   $13.73     $0.68    0.19%     3,510     1,230     35.0%     0.03%   2,981.5   3,068       66.5%     64.6%
 P      TSLA   2018-09-21   $330.00   7,770       $6.68   $36.84   $14.21     $0.91    0.26%     3,510     1,417     40.4%     0.03%   2,571.5   3,034      167.9%    142.3%
 P      TSLA   2018-09-21   $335.00   2,950       $7.50   $40.15   $17.03     $0.93    0.26%     3,510     1,505     42.9%     0.03%     961.8   1,281      170.4%    127.9%
 P      TSLA   2018-09-21   $340.00 10,302        $5.35   $43.82   $19.00     $1.06    0.30%     3,510     1,517     43.2%     0.04%   3,431.5   5,147      166.8%    111.2%
 P      TSLA   2018-09-21   $345.00   2,668       $5.00   $47.85   $19.40     $0.64    0.19%     3,510     1,517     43.2%     0.04%   1,317.1   1,540      112.5%     96.2%
 P      TSLA   2018-09-21   $350.00   9,307      $10.00   $51.25   $21.32     $0.66    0.19%     3,510     1,476     42.1%     0.04%   6,947.4   7,751       74.4%     66.7%
 P      TSLA   2018-09-21   $355.00   2,912      $11.45   $54.52   $23.92     $0.75    0.22%     3,412     1,310     38.4%     0.04%     965.7   1,555      167.5%    104.0%
 P      TSLA   2018-09-21   $360.00   5,577      $12.00   $59.41   $25.26     $1.46    0.41%     3,413     1,172     34.3%     0.04%   2,709.2   3,261      114.4%     95.0%
 P      TSLA   2018-09-21   $365.00   1,895      $13.65  $100.00   $25.75     $0.97    0.28%     3,510        845    24.1%     0.03%     896.0   1,004      117.5%    104.9%
 P      TSLA   2018-09-21   $370.00   2,744      $15.65   $68.00   $26.77     $1.05    0.31%     3,510        685    19.5%     0.03%   1,142.1   1,361      133.5%    112.0%
 P      TSLA   2018-09-21   $375.00   1,977      $17.50   $71.90   $28.82     $1.07    0.31%     3,413        499    14.6%     0.03%     835.1   1,089      131.5%    100.9%
 P      TSLA   2018-09-21   $380.00   2,450      $20.00   $77.50   $37.89     $1.34    0.39%     3,413        249     7.3%     0.03%   1,052.6   1,369      129.3%     99.4%
 P      TSLA   2018-09-21   $385.00     802      $23.20  $125.30   $27.28     $1.39    0.40%     3,413        159     4.7%     0.03%     595.5     710       74.8%     62.8%
 P      TSLA   2018-09-21   $390.00     435      $26.00   $85.23   $37.45     $1.66    0.48%     3,510         73     2.1%     0.02%     210.8     287      114.6%     84.2%
 P      TSLA   2018-09-21   $395.00      63      $26.10   $81.86   $43.03     $1.81    0.52%     3,413         46     1.3%     0.02%     114.6     122       30.5%     28.7%
 P      TSLA   2018-09-21   $400.00     812      $30.88   $95.15   $43.59     $1.94    0.56%     3,510         36     1.0%     0.02%     491.4     546       91.8%     82.6%
 P      TSLA   2018-09-21   $405.00      39      $38.91  $102.31   $57.42     $2.18    0.63%     3,508         13     0.4%     0.02%      61.2      73       35.4%     29.7%
 P      TSLA   2018-09-21   $410.00     136      $41.80  $103.00   $46.02     $2.31    0.67%     3,510          7     0.2%     0.02%     536.6     562       14.1%     13.4%
 P      TSLA   2018-09-21   $415.00      13      $40.63  $107.68   $67.48     $2.41    0.70%     3,510          4     0.1%     0.02%     208.4     209        3.5%      3.5%
 P      TSLA   2018-09-21   $420.00     101      $44.21  $115.17   $65.34     $2.57    0.74%     3,510          3     0.1%     0.02%      58.6      64       95.8%     87.7%
 P      TSLA   2018-09-21   $425.00      74      $57.40  $117.32   $87.10     $2.67    0.77%     3,510          1     0.0%     0.01%      35.9      47      114.5%     87.5%
 P      TSLA   2018-09-21   $430.00      74      $58.00  $122.22   $92.11     $2.76    0.79%     3,510          1     0.0%     0.01%      62.5      73       65.8%     56.3%
 P      TSLA   2018-09-21   $440.00       4      $62.90   $98.50   $82.38     $3.25    0.93%     3,510          0     0.0%         ---    19.7      20       11.3%     11.1%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]       [18]
                                                                                                                                                          Weekly     Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open       Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest   Interest
 P      TSLA   2018-09-21   $445.00       2      $87.73   $87.73   $87.73     $3.30    0.95%     3,510          0     0.0%         ---    14.2      16        7.8%       6.9%
 P      TSLA   2018-09-21   $450.00       1      $69.90   $69.90   $69.90     $3.29    0.94%     3,413          0     0.0%         ---    72.8      73        0.8%       0.8%
 P      TSLA   2018-09-21   $470.00       1     $107.45  $107.45  $107.45     $3.51    1.00%     3,510          0     0.0%         ---     0.9       1       61.7%      55.6%
 P      TSLA   2018-09-21   $480.00       1     $106.00  $106.00  $106.00     $3.55    1.01%     3,510          0     0.0%         ---    11.9      12        4.7%       4.6%
 P      TSLA   2018-09-21   $500.00       2     $123.52  $123.52  $123.52     $3.53    1.01%     3,510          0     0.0%         ---     3.4       4       32.7%      27.8%
 P      TSLA   2018-09-28   $250.00     272       $3.86   $10.10     $7.71    $0.42    0.12%     1,950          5     0.3%     0.02%      57.3     208      474.4%     130.8%
 P      TSLA   2018-09-28   $255.00      56       $4.90   $10.65     $7.67    $0.49    0.14%     2,340          6     0.3%     0.02%      19.4      44      240.2%     106.1%
 P      TSLA   2018-09-28   $260.00      85       $4.77   $11.93     $8.65    $0.49    0.14%     2,340         17     0.7%     0.02%     18.0       57      393.5%     124.3%
 P      TSLA   2018-09-28   $265.00      57       $4.80   $13.50     $8.62    $0.49    0.14%     2,340         40     1.7%     0.03%     17.7       53      268.1%      89.6%
 P      TSLA   2018-09-28   $270.00      61       $5.78   $13.54   $11.34     $0.50    0.15%     2,340         48     2.1%     0.02%     10.6       40      480.9%     127.1%
 P      TSLA   2018-09-28   $275.00      58       $4.92   $15.10   $10.08     $1.01    0.29%     2,730         36     1.3%     0.02%     13.0       38      318.7%     109.0%
 P      TSLA   2018-09-28   $280.00      75       $6.67   $15.94     $9.57    $1.08    0.31%     2,730         36     1.3%     0.02%     18.3       45      293.5%     119.0%
 P      TSLA   2018-09-28   $285.00     706       $7.07   $17.80   $15.09     $1.05    0.30%     2,730         53     1.9%     0.02%      95.6     635      527.4%      79.4%
 P      TSLA   2018-09-28   $290.00      87       $6.90   $19.14   $12.54     $1.07    0.31%     2,730         80     2.9%     0.02%     16.3       40      382.4%     155.4%
 P      TSLA   2018-09-28   $295.00      70       $7.90   $21.00   $12.35     $1.07    0.31%     2,730         93     3.4%     0.03%     17.9       32      279.7%     156.3%
 P      TSLA   2018-09-28   $300.00     166       $8.00   $24.00   $14.69     $1.06    0.30%     2,730        135     4.9%     0.02%      31.1      69      381.0%     171.8%
 P      TSLA   2018-09-28   $305.00     164      $10.00   $25.71   $19.57     $0.97    0.28%     2,730        176     6.4%     0.02%     25.0       99      468.6%     118.3%
 P      TSLA   2018-09-28   $310.00      98      $11.00   $26.75   $17.26     $1.14    0.33%     2,730        252     9.2%     0.02%     24.0       64      291.7%     109.4%
 P      TSLA   2018-09-28   $315.00     102       $9.90   $29.25   $23.46     $1.10    0.32%     2,730        351    12.9%     0.02%      21.4      91      340.9%      80.1%
 P      TSLA   2018-09-28   $320.00     101      $12.37   $31.96   $18.71     $1.16    0.33%     2,730        426    15.6%     0.02%     26.9       58      268.4%     124.4%
 P      TSLA   2018-09-28   $325.00     135      $13.40   $35.00   $18.59     $1.19    0.34%     2,730        525    19.2%     0.03%     35.1       65      274.5%     148.4%
 P      TSLA   2018-09-28   $330.00      59      $14.68   $38.55   $24.03     $1.25    0.36%     2,730        607    22.2%     0.03%     12.0       30      351.2%     140.5%
 P      TSLA   2018-09-28   $335.00      50      $16.43   $40.93   $24.59     $1.30    0.38%     2,730        617    22.6%     0.03%     14.1       36      252.8%      99.2%
 P      TSLA   2018-09-28   $337.50      17      $18.20   $41.50   $27.21     $1.27    0.37%     2,730        618    22.6%     0.03%       2.8       7      441.6%     173.5%
 P      TSLA   2018-09-28   $340.00     144      $17.86   $44.83   $28.98     $1.29    0.37%     2,730        623    22.8%     0.03%     24.0       68      428.6%     151.3%
 P      TSLA   2018-09-28   $342.50       5      $21.00   $46.00   $28.29     $1.32    0.38%     2,730        585    21.4%     0.03%       1.4       3      259.7%     119.0%
 P      TSLA   2018-09-28   $345.00      68      $23.45   $48.00   $43.50     $1.34    0.39%     2,730        578    21.2%     0.03%       5.6      23      863.5%     211.2%
 P      TSLA   2018-09-28   $347.50      13      $20.05   $47.87   $30.31     $1.39    0.40%     2,730        552    20.2%     0.03%       2.3       6      412.7%     154.8%
 P      TSLA   2018-09-28   $350.00      93      $20.96   $51.50   $29.08     $1.42    0.41%     2,730        547    20.0%     0.03%     27.3       44      243.8%     151.0%
 P      TSLA   2018-09-28   $352.50      84      $22.90   $41.41   $28.56     $1.47    0.43%     2,730        513    18.8%     0.03%     20.9       36      287.4%     166.7%
 P      TSLA   2018-09-28   $355.00     302      $22.55   $56.64   $29.01     $1.48    0.43%     2,730        550    20.1%     0.03%    128.1      237      168.4%      91.0%
 P      TSLA   2018-09-28   $357.50      29      $24.27   $35.45   $30.95     $1.54    0.45%     2,730        464    17.0%     0.03%     12.8       21      162.5%      98.6%
 P      TSLA   2018-09-28   $360.00     139      $24.70   $57.47   $28.53     $1.55    0.45%     2,730        434    15.9%     0.03%     42.6       68      232.9%     146.0%
 P      TSLA   2018-09-28   $362.50      17      $27.33   $37.20   $35.65     $1.62    0.47%     2,730        385    14.1%     0.03%       6.5      16      186.8%      75.9%
 P      TSLA   2018-09-28   $365.00      30      $29.75   $63.93   $38.02     $1.67    0.49%     2,730        334    12.2%     0.03%     10.4       27      206.5%      79.4%
 P      TSLA   2018-09-28   $397.50       7      $65.45   $65.45   $65.45     $2.49    0.73%     2,730         14     0.5%     0.02%       1.8       7      285.7%      71.4%
 P      TSLA   2018-09-28   $405.00       2     $101.00  $101.00  $101.00     $2.71    0.79%     2,730          4     0.1%     0.02%       0.0       0           ---        ---
 P      TSLA   2018-10-19    $25.00   2,408       $0.03    $0.13     $0.07    $0.04    0.01%     2,730          0     0.0%         ---  818.8    2,393      210.1%      71.9%
 P      TSLA   2018-10-19    $30.00     326       $0.04    $0.13     $0.08    $0.11    0.03%     2,730          0     0.0%         ---   98.9      211      235.5%     110.4%



                                                                                                                                                                             p. 46 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-10-19    $35.00     125       $0.14    $0.20     $0.17    $0.16    0.05%     2,730          0     0.0%         ---    15.6     125      571.4%     71.4%
 P      TSLA   2018-10-19    $40.00      65       $0.10    $0.25     $0.17    $0.18    0.05%     2,730          0     0.0%         ---     9.9      63      470.2%     73.7%
 P      TSLA   2018-10-19    $45.00     605       $0.13    $0.35     $0.24    $0.17    0.05%     2,730          0     0.0%         ---   101.0     444      427.9%     97.3%
 P      TSLA   2018-10-19    $50.00 18,425        $0.16    $0.46     $0.22    $0.04    0.01%     2,730          0     0.0%         --- 6,182.0  10,962      212.9%    120.1%
 P      TSLA   2018-10-19    $55.00      41       $0.23    $0.53     $0.39    $0.39    0.11%     2,730          0     0.0%         ---     5.5      41      532.5%     71.4%
 P      TSLA   2018-10-19    $60.00      69       $0.16    $0.47     $0.41    $0.38    0.11%     2,730          0     0.0%         ---    17.8      69      277.7%     71.4%
 P      TSLA   2018-10-19    $65.00      32       $0.25    $0.70     $0.46    $0.34    0.10%     2,730          0     0.0%         ---     5.5      31      415.6%     73.7%
 P      TSLA   2018-10-19    $70.00     200       $0.35    $0.85     $0.48    $0.31    0.09%     2,730          0     0.0%         ---    35.5     104      402.4%    137.4%
 P      TSLA   2018-10-19    $75.00   9,220       $0.06    $0.95     $0.33    $0.27    0.08%     3,510          0     0.0%         --- 3,157.4   4,032      162.2%    127.0%
 P      TSLA   2018-10-19    $80.00     539       $0.10    $1.05     $0.63    $0.49    0.14%     3,510          0     0.0%         ---   102.0     372      293.6%     80.5%
 P      TSLA   2018-10-19    $85.00      13       $0.54    $1.16     $0.99    $0.58    0.16%     3,510          0     0.0%         ---    11.1      13       65.1%     55.6%
 P      TSLA   2018-10-19    $90.00     100       $0.15    $1.31     $1.04    $0.59    0.17%     3,510          0     0.0%         ---    19.8      84      280.6%     66.1%
 P      TSLA   2018-10-19    $95.00      87       $0.13    $1.51     $1.12    $0.60    0.17%     3,510          0     0.0%         ---    45.3      94      106.7%     51.4%
 P      TSLA   2018-10-19   $100.00   5,028       $0.22    $1.63     $0.70    $0.41    0.11%     3,510          0     0.0%         --- 3,410.0   4,308       81.9%     64.8%
 P      TSLA   2018-10-19   $105.00      57       $0.27    $1.98     $1.24    $0.57    0.16%     3,510          0     0.0%         ---    23.0      42      137.7%     75.4%
 P      TSLA   2018-10-19   $110.00     229       $0.27    $1.87     $1.24    $0.54    0.15%     3,510          0     0.0%         ---    78.5     132      162.1%     96.4%
 P      TSLA   2018-10-19   $115.00     129       $0.37    $2.08     $1.19    $0.53    0.15%     3,510          0     0.0%         ---    68.4     135      104.8%     53.1%
 P      TSLA   2018-10-19   $120.00     271       $0.20    $2.25     $0.99    $0.40    0.11%     3,510          0     0.0%         --- 1,328.2   1,365       11.3%     11.0%
 P      TSLA   2018-10-19   $125.00   1,202       $0.40    $2.60     $1.02    $0.48    0.14%     3,510          0     0.0%         ---   941.9   1,044       70.9%     64.0%
 P      TSLA   2018-10-19   $130.00      63       $0.73    $2.16     $1.75    $0.46    0.13%     3,510          0     0.0%         ---   136.4     164       25.7%     21.3%
 P      TSLA   2018-10-19   $135.00      11       $0.48    $2.50     $1.53    $0.50    0.14%     3,510          0     0.0%         ---   316.9     320        1.9%      1.9%
 P      TSLA   2018-10-19   $140.00      29       $0.52    $2.80     $1.99    $0.52    0.15%     3,510          0     0.0%         ---   118.9     125       13.6%     12.9%
 P      TSLA   2018-10-19   $145.00     131       $0.65    $3.05     $1.14    $0.54    0.15%     3,510          0     0.0%         ---   107.7     117       67.6%     62.2%
 P      TSLA   2018-10-19   $150.00   1,167       $0.48    $3.80     $1.79    $0.84    0.23%     3,510          0     0.0%         --- 1,883.6   2,003       34.4%     32.4%
 P      TSLA   2018-10-19   $155.00     251       $0.60    $3.37     $2.68    $0.52    0.14%     3,510          0     0.0%         ---   377.2     441       37.0%     31.6%
 P      TSLA   2018-10-19   $160.00     257       $0.40    $4.20     $2.03    $0.51    0.14%     3,510          0     0.0%         ---   190.7     226       74.9%     63.2%
 P      TSLA   2018-10-19   $165.00     574       $0.72    $4.25     $1.41    $0.52    0.15%     3,510          0     0.0%         ---   493.4     599       64.6%     53.2%
 P      TSLA   2018-10-19   $170.00     248       $1.46    $4.88     $3.34    $0.54    0.15%     3,510          0     0.0%         ---   480.2     549       28.7%     25.1%
 P      TSLA   2018-10-19   $175.00     373       $0.90    $5.30     $2.35    $0.52    0.15%     3,510          0     0.0%         ---   372.9     425       55.6%     48.8%
 P      TSLA   2018-10-19   $180.00     566       $0.92    $5.90     $1.64    $0.33    0.09%     3,413          0     0.0%         ---   506.4     552       62.1%     57.0%
 P      TSLA   2018-10-19   $185.00      57       $1.17    $5.80     $3.59    $0.56    0.16%     3,510          0     0.0%         ---    68.9      98       46.0%     32.3%
 P      TSLA   2018-10-19   $190.00     372       $1.25    $6.40     $4.57    $0.76    0.21%     3,510          0     0.0%         ---   188.8     328      109.5%     63.0%
 P      TSLA   2018-10-19   $195.00      96       $1.33    $6.53     $3.73    $0.50    0.14%     3,510          2     0.1%     0.01%     160.8     189       33.2%     28.2%
 P      TSLA   2018-10-19   $200.00   2,318       $1.34    $7.50     $4.47    $0.46    0.13%     3,510          4     0.1%     0.02%   1,534.1   2,175       83.9%     59.2%
 P      TSLA   2018-10-19   $205.00   2,366       $1.51    $7.65     $5.64    $0.57    0.16%     3,510          5     0.1%     0.04%     645.1   1,103      203.8%    119.2%
 P      TSLA   2018-10-19   $210.00   1,188       $1.78    $7.61     $5.91    $0.56    0.16%     3,510          8     0.2%     0.03%     405.7     624      162.7%    105.8%
 P      TSLA   2018-10-19   $215.00     329       $2.00    $8.70     $3.86    $0.58    0.16%     3,510        14      0.4%     0.02%     240.3     342       76.1%     53.4%
 P      TSLA   2018-10-19   $220.00     371       $2.00    $9.70     $4.77    $0.42    0.12%     3,413        36      1.1%     0.03%     856.0     891       24.1%     23.1%
 P      TSLA   2018-10-19   $225.00     275       $2.20   $10.35     $4.95    $0.52    0.15%     3,510        47      1.3%     0.02%     664.2     708       23.0%     21.6%



                                                                                                                                                                          p. 47 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]      [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of   Open    Open         Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-10-19   $230.00     460       $2.30   $11.10     $6.14    $0.49    0.14%     3,510         99     2.8%     0.02%    776.3      917       32.9%     27.9%
 P      TSLA   2018-10-19   $235.00     305       $3.05   $11.80     $7.26    $1.27    0.35%     3,510        322     9.2%     0.03%    397.3      565       42.6%     30.0%
 P      TSLA   2018-10-19   $240.00   3,593       $2.57   $12.34   $10.22     $0.85    0.24%     3,510        444    12.6%     0.03%    740.1    3,581      269.7%     55.7%
 P      TSLA   2018-10-19   $245.00     199       $2.75   $13.57     $7.30    $0.60    0.17%     3,510        639    18.2%     0.04%    178.4      205       62.0%     53.9%
 P      TSLA   2018-10-19   $250.00 11,802        $2.50   $14.55     $7.55    $0.47    0.13%     3,510        957    27.3%     0.05%  4,943.9    6,266      132.6%    104.6%
 P      TSLA   2018-10-19   $255.00     197       $3.70   $15.27     $9.32    $0.63    0.18%     3,510     1,075     30.6%     0.05%     84.9      173      128.9%     63.3%
 P      TSLA   2018-10-19   $260.00     779       $2.83   $16.50     $8.29    $0.57    0.16%     3,510     1,249     35.6%     0.05%  1,489.1    1,577       29.1%     27.4%
 P      TSLA   2018-10-19   $265.00     235       $4.50   $16.78     $9.83    $0.60    0.17%     3,510     1,424     40.6%     0.05%    199.1      249       65.6%     52.4%
 P      TSLA   2018-10-19   $270.00     612       $3.99   $18.50   $11.68     $0.99    0.28%     3,510     1,572     44.8%     0.06%  1,474.6    1,602       23.1%     21.2%
 P      TSLA   2018-10-19   $275.00     610       $4.00   $20.18   $11.24     $0.58    0.16%     3,510     1,673     47.7%     0.06%  1,300.0    1,432       26.1%     23.7%
 P      TSLA   2018-10-19   $280.00   1,046       $4.84   $21.48   $11.73     $0.57    0.16%     3,510     1,775     50.6%     0.07%  2,087.8    2,232       27.8%     26.0%
 P      TSLA   2018-10-19   $285.00     705       $5.90   $22.93   $11.18     $0.63    0.18%     3,510     1,841     52.5%     0.07%    267.6      370      146.4%    105.9%
 P      TSLA   2018-10-19   $290.00   1,156       $6.00   $24.90   $12.05     $0.60    0.17%     3,510     1,907     54.3%     0.08%  1,004.0    1,061       64.0%     60.5%
 P      TSLA   2018-10-19   $295.00     578       $7.00   $26.60   $14.82     $0.66    0.19%     3,510     1,966     56.0%     0.08%    252.8      337      127.0%     95.3%
 P      TSLA   2018-10-19   $300.00   6,864       $6.35   $28.70   $14.26     $0.72    0.20%     3,510     2,048     58.3%     0.09%  3,002.5    3,976      127.0%     95.9%
 P      TSLA   2018-10-19   $305.00     462       $8.05   $30.90   $16.74     $0.69    0.19%     3,510     2,032     57.9%     0.09%    244.5      307      105.0%     83.6%
 P      TSLA   2018-10-19   $310.00   1,068       $7.28   $32.40   $18.54     $0.69    0.20%     3,510     2,009     57.2%     0.10%  2,168.4    2,279       27.4%     26.0%
 P      TSLA   2018-10-19   $315.00     261       $9.50  $187.70   $19.51     $0.74    0.21%     3,510     2,019     57.5%     0.10%    237.8      246       61.0%     58.9%
 P      TSLA   2018-10-19   $320.00     794       $9.03   $37.23   $18.66     $0.74    0.21%     3,510     2,008     57.2%     0.10%    399.7      459      110.4%     96.1%
 P      TSLA   2018-10-19   $325.00   3,302       $8.79   $39.91   $22.14     $0.78    0.22%     3,510     2,044     58.2%     0.10%    833.1    1,065      220.2%    172.2%
 P      TSLA   2018-10-19   $330.00   4,051       $8.80   $43.31   $23.04     $0.79    0.22%     3,510     2,085     59.4%     0.10%  1,484.0    2,052      151.7%    109.7%
 P      TSLA   2018-10-19   $335.00     467       $9.15   $45.05   $24.46     $0.86    0.25%     3,510     1,977     56.3%     0.10%    169.5      236      153.1%    109.9%
 P      TSLA   2018-10-19   $340.00   3,043      $12.70   $49.44   $26.94     $1.32    0.37%     3,510     1,997     56.9%     0.10%  1,024.3    1,825      165.0%     92.6%
 P      TSLA   2018-10-19   $345.00     593      $15.70   $51.73   $29.50     $0.92    0.26%     3,413     1,940     56.8%     0.10%    170.1      209      193.7%    157.6%
 P      TSLA   2018-10-19   $350.00   2,758       $7.94   $56.50   $33.32     $1.72    0.48%     3,510     1,953     55.6%     0.10%    942.6    1,438      162.6%    106.6%
 P      TSLA   2018-10-19   $355.00     848      $17.38   $59.70   $29.84     $0.97    0.28%     3,413     1,865     54.6%     0.09%    262.2      437      179.7%    107.8%
 P      TSLA   2018-10-19   $360.00     987      $15.50   $63.21   $30.34     $1.05    0.30%     3,413     1,883     55.2%     0.09%    371.0      429      147.8%    127.8%
 P      TSLA   2018-10-19   $365.00     834      $20.75   $67.00   $27.47     $1.08    0.31%     3,413     1,858     54.4%     0.08%    451.4      604      102.6%     76.7%
 P      TSLA   2018-10-19   $370.00   1,227      $22.63   $72.00   $29.69     $1.18    0.34%     3,510     1,748     49.8%     0.08%    629.7      819      108.3%     83.2%
 P      TSLA   2018-10-19   $375.00     301      $25.38   $73.50   $35.06     $1.32    0.38%     3,509     1,418     40.4%     0.07%    101.7      126      164.4%    132.7%
 P      TSLA   2018-10-19   $380.00     400      $26.00   $78.08   $34.79     $1.34    0.39%     3,510     1,318     37.5%     0.07%    305.4      365       72.8%     60.9%
 P      TSLA   2018-10-19   $385.00      95      $28.00   $51.00   $36.84     $1.59    0.46%     3,510     1,035     29.5%     0.06%     49.1       53      107.5%     99.6%
 P      TSLA   2018-10-19   $390.00      23      $30.00   $60.20   $45.03     $1.69    0.49%     3,510        853    24.3%     0.06%    162.4      165        7.9%      7.7%
 P      TSLA   2018-10-19   $395.00      18      $37.43   $51.64   $44.09     $1.91    0.55%     3,510        677    19.3%     0.05%     23.7       27       42.2%     37.0%
 P      TSLA   2018-10-19   $400.00     204      $38.34  $191.65   $48.13     $2.02    0.58%     3,510        490    14.0%     0.04%    232.0      264       48.9%     42.9%
 P      TSLA   2018-10-19   $405.00     427      $39.20   $92.95   $80.05     $2.17    0.62%     3,509        304     8.7%     0.04%    118.6      342      200.0%     69.4%
 P      TSLA   2018-10-19   $410.00     400      $76.02   $97.85   $86.65     $2.31    0.66%     3,510        249     7.1%     0.04%     88.0      320      252.5%     69.4%
 P      TSLA   2018-10-19   $415.00      32      $45.95  $103.02   $54.93     $2.66    0.76%     3,509        135     3.8%     0.03%     21.3       28       83.5%     63.5%
 P      TSLA   2018-10-19   $420.00      20      $50.00  $116.50   $71.41     $2.78    0.80%     3,510         92     2.6%     0.03%    110.9      113       10.0%      9.8%



                                                                                                                                                                          p. 48 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-10-19   $425.00      12      $52.90   $76.50   $72.00     $2.92    0.84%     3,510         61     1.7%     0.03%       2.2       5      303.0%    133.3%
 P      TSLA   2018-10-19   $430.00       8      $54.15  $122.00   $79.13     $2.98    0.85%     3,510         40     1.1%     0.03%      15.2      16       29.2%     27.8%
 P      TSLA   2018-10-19   $435.00       4      $77.30   $77.30   $77.30     $3.07    0.88%     3,510         21     0.6%     0.03%       5.0       7       44.4%     31.7%
 P      TSLA   2018-10-19   $440.00       2      $68.00   $91.10   $79.55     $3.13    0.90%     3,510          7     0.2%     0.03%       4.8       5       23.1%     22.2%
 P      TSLA   2018-10-19   $490.00       2     $136.00  $185.00  $160.50     $3.88    1.11%     3,510          0     0.0%         ---    36.9      37        3.0%      3.0%
 P      TSLA   2018-10-19   $540.00       1     $168.85  $168.85  $168.85     $3.93    1.12%     3,510          0     0.0%         ---     0.9       1       61.7%     55.6%
 P      TSLA   2018-11-16    $25.00     479       $0.13    $0.20     $0.17    $0.39    0.11%     2,730          0     0.0%         ---   148.9     479      229.8%     71.4%
 P      TSLA   2018-11-16    $30.00      33       $0.10    $0.29     $0.21    $0.58    0.17%     2,730          0     0.0%         ---     5.4      21      438.5%    112.2%
 P      TSLA   2018-11-16    $35.00      10       $0.34    $0.34     $0.34    $0.61    0.18%     2,730          0     0.0%         ---     1.3      10      571.4%     71.4%
 P      TSLA   2018-11-16    $40.00      51       $0.37    $0.47     $0.42    $0.64    0.18%     2,730          0     0.0%         ---     6.4      51      571.4%     71.4%
 P      TSLA   2018-11-16    $45.00      28       $0.45    $0.50     $0.47    $0.67    0.19%     2,730          0     0.0%         ---     5.5      28      363.6%     71.4%
 P      TSLA   2018-11-16    $50.00     824       $0.35    $0.76     $0.52    $0.53    0.15%     2,730          0     0.0%         ---   228.8     694      257.3%     84.8%
 P      TSLA   2018-11-16    $60.00      17       $0.70    $0.99     $0.89    $0.73    0.21%     2,730          0     0.0%         ---     2.5      12      485.7%    101.2%
 P      TSLA   2018-11-16    $70.00     161       $0.68    $1.32     $0.96    $0.72    0.21%     2,730          0     0.0%         ---    71.9     145      160.0%     79.3%
 P      TSLA   2018-11-16    $80.00     112       $0.95    $1.68     $1.37    $0.70    0.20%     2,730          0     0.0%         ---    22.3     112      359.6%     71.4%
 P      TSLA   2018-11-16    $90.00     144       $1.14    $1.91     $1.57    $0.59    0.17%     2,730          1     0.0%     0.04%      22.1     132      464.9%     77.9%
 P      TSLA   2018-11-16   $100.00   3,360       $1.33    $2.48     $1.78    $0.46    0.13%     2,730          2     0.1%     0.02%     761.4   2,758      315.2%     87.0%
 P      TSLA   2018-11-16   $110.00     141       $1.67    $2.91     $2.24    $0.60    0.17%     2,730          6     0.2%     0.03%      21.5     129      468.4%     78.1%
 P      TSLA   2018-11-16   $120.00      45       $1.79    $3.55     $2.93    $0.59    0.17%     2,730         20     0.7%     0.03%   1,684.6   2,274        1.9%      1.4%
 P      TSLA   2018-11-16   $130.00      11       $2.20    $3.75     $3.31    $0.63    0.18%     2,730         88     3.2%     0.03%       2.6       9      299.3%     87.3%
 P      TSLA   2018-11-16   $140.00      11       $2.74    $3.00     $2.94    $0.66    0.19%     2,730        197     7.2%     0.03%       4.0      11      196.4%     71.4%
 P      TSLA   2018-11-16   $150.00     156       $3.02    $5.30     $4.36    $0.64    0.18%     2,730        485    17.8%     0.03%      29.6     127      376.1%     87.7%
 P      TSLA   2018-11-16   $160.00      39       $2.89    $5.90     $3.87    $0.67    0.19%     2,730        917    33.6%     0.04%      17.0      39      163.9%     71.4%
 P      TSLA   2018-11-16   $170.00      12       $3.12    $6.00     $5.13    $0.68    0.20%     2,730     1,322     48.4%     0.05%       3.8      12      228.6%     71.4%
 P      TSLA   2018-11-16   $175.00      87       $4.30    $6.00     $4.69    $0.45    0.13%     1,950     1,441     73.9%     0.06%      44.7      86      194.8%    101.2%
 P      TSLA   2018-11-16   $180.00     365       $1.80    $7.70     $3.92    $0.87    0.25%     3,510     1,542     43.9%     0.06%     164.6     229      123.2%     88.5%
 P      TSLA   2018-11-16   $185.00     350       $2.23    $8.25     $6.52    $1.08    0.30%     3,510     1,616     46.0%     0.07%      95.1     154      204.5%    126.3%
 P      TSLA   2018-11-16   $190.00     156       $2.50    $8.50     $6.63    $1.09    0.31%     3,510     1,650     47.0%     0.08%      30.6     129      283.2%     67.2%
 P      TSLA   2018-11-16   $195.00      24       $5.35    $9.00     $8.75    $1.07    0.30%     3,510     1,697     48.3%     0.09%       2.9      24      459.8%     55.6%
 P      TSLA   2018-11-16   $200.00   3,197       $1.80   $10.20     $6.88    $0.96    0.27%     3,510     1,777     50.6%     0.10%   1,017.6   2,221      174.5%     80.0%
 P      TSLA   2018-11-16   $210.00      74       $3.00   $10.71     $8.50    $1.01    0.28%     3,510     1,817     51.8%     0.12%      11.5      57      357.5%     72.1%
 P      TSLA   2018-11-16   $220.00      91       $3.50   $13.35     $8.13    $0.97    0.27%     3,510     1,842     52.5%     0.14%      30.9      82      163.6%     61.7%
 P      TSLA   2018-11-16   $230.00   1,082       $3.35   $14.80     $9.91    $0.90    0.25%     3,510     2,052     58.5%     0.15%     330.0     762      182.2%     78.9%
 P      TSLA   2018-11-16   $240.00     137       $5.10   $16.65     $8.02    $0.96    0.27%     3,510     2,008     57.2%     0.17%      79.9     100       95.3%     76.1%
 P      TSLA   2018-11-16   $250.00   5,594       $4.90   $19.01   $14.01     $1.03    0.29%     3,510     2,074     59.1%     0.18%     746.0   4,242      416.6%     73.3%
 P      TSLA   2018-11-16   $255.00      36       $6.70   $18.52   $13.60     $1.16    0.33%     3,510     2,075     59.1%     0.18%      10.3      28      194.2%     71.4%
 P      TSLA   2018-11-16   $260.00   2,182       $9.87   $21.15   $17.29     $1.01    0.29%     3,510     2,093     59.6%     0.19%     311.7   1,097      388.9%    110.5%
 P      TSLA   2018-11-16   $265.00     105       $9.00   $22.35   $14.29     $1.04    0.29%     3,510     2,179     62.1%     0.19%      39.7      76      146.9%     76.8%
 P      TSLA   2018-11-16   $270.00     826       $6.90   $23.80   $20.36     $1.03    0.29%     3,510     2,221     63.3%     0.19%     120.7     647      380.2%     70.9%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-11-16   $275.00     115       $7.00   $25.85   $17.56     $1.03    0.29%     3,510     2,202     62.7%     0.20%      30.3      75      210.9%     85.2%
 P      TSLA   2018-11-16   $280.00     422       $8.45   $27.45   $16.43     $1.18    0.33%     3,510     2,304     65.6%     0.20%    200.5      308      116.9%     76.1%
 P      TSLA   2018-11-16   $285.00     477      $10.00   $28.70   $25.83     $1.30    0.37%     3,510     2,269     64.6%     0.20%      63.7     332      416.0%     79.8%
 P      TSLA   2018-11-16   $290.00   2,171       $9.58   $30.75   $24.63     $1.06    0.30%     3,510     2,273     64.8%     0.21%    326.7    1,077      369.2%    112.0%
 P      TSLA   2018-11-16   $295.00      57      $10.95   $32.05   $19.10     $1.07    0.30%     3,510     2,272     64.7%     0.21%      51.0      55       62.1%     57.6%
 P      TSLA   2018-11-16   $300.00   1,603      $10.00   $34.75   $17.18     $0.92    0.26%     3,510     2,359     67.2%     0.21%    773.3    1,082      115.2%     82.3%
 P      TSLA   2018-11-16   $305.00     175      $12.00   $36.80   $22.26     $1.07    0.30%     3,510     2,322     66.2%     0.21%      52.9      80      183.8%    121.5%
 P      TSLA   2018-11-16   $310.00   1,127      $10.15   $39.37   $25.09     $1.08    0.30%     3,510     2,355     67.1%     0.21%    237.4      997      263.7%     62.8%
 P      TSLA   2018-11-16   $315.00     358      $15.00   $40.51   $23.29     $1.15    0.32%     3,510     2,329     66.4%     0.21%    121.0      297      164.4%     67.0%
 P      TSLA   2018-11-16   $320.00     302      $14.07   $43.50   $25.38     $1.14    0.32%     3,510     2,364     67.4%     0.21%      85.6     138      196.0%    121.6%
 P      TSLA   2018-11-16   $325.00     204      $15.00   $46.95   $29.08     $1.15    0.33%     3,510     2,380     67.8%     0.21%      69.0     111      164.3%    102.1%
 P      TSLA   2018-11-16   $330.00     185      $11.20   $48.86   $28.20     $1.16    0.33%     3,510     2,356     67.1%     0.20%      75.0     129      137.0%     79.7%
 P      TSLA   2018-11-16   $335.00     222      $18.60   $50.80   $34.64     $1.21    0.34%     3,510     2,348     66.9%     0.20%      90.4     131      136.4%     94.1%
 P      TSLA   2018-11-16   $340.00     340      $19.00   $54.50   $31.35     $1.19    0.34%     3,510     2,359     67.2%     0.19%    172.9      243      109.2%     77.7%
 P      TSLA   2018-11-16   $345.00     238      $21.15   $55.40   $39.17     $1.24    0.35%     3,510     2,336     66.6%     0.19%      96.8     161      136.6%     82.1%
 P      TSLA   2018-11-16   $350.00   2,192      $22.00   $60.90   $34.84     $1.19    0.34%     3,510     2,362     67.3%     0.18%    731.5    1,045      166.5%    116.5%
 P      TSLA   2018-11-16   $355.00     239      $25.00   $62.15   $37.00     $1.36    0.39%     3,510     2,242     63.9%     0.18%    103.5      172      128.3%     77.2%
 P      TSLA   2018-11-16   $360.00     178      $24.00   $66.00   $41.29     $1.40    0.40%     3,510     2,210     63.0%     0.17%      49.2      81      201.0%    122.1%
 P      TSLA   2018-11-16   $365.00     186      $27.50   $71.27   $39.22     $1.45    0.41%     3,510     2,056     58.6%     0.17%      47.2      71      218.9%    145.5%
 P      TSLA   2018-11-16   $370.00     266      $29.00   $75.00   $46.69     $1.50    0.43%     3,510     1,936     55.2%     0.16%      86.0     148      171.8%     99.8%
 P      TSLA   2018-11-16   $375.00     331      $29.00   $53.40   $41.39     $1.53    0.44%     3,510     1,801     51.3%     0.16%      75.2      92      244.5%    199.9%
 P      TSLA   2018-11-16   $380.00     207      $31.99   $81.79   $36.86     $1.62    0.46%     3,510     1,705     48.6%     0.15%    125.2      162       91.9%     71.0%
 P      TSLA   2018-11-16   $385.00      25      $34.62   $85.74   $56.55     $1.94    0.55%     3,510     1,526     43.5%     0.15%       6.6      16      210.4%     86.8%
 P      TSLA   2018-11-16   $390.00      52      $39.25   $90.02   $57.77     $1.81    0.52%     3,510     1,480     42.2%     0.14%      21.2      36      136.3%     80.2%
 P      TSLA   2018-11-16   $395.00      35      $39.28   $67.00   $55.19     $1.91    0.55%     3,510     1,387     39.5%     0.12%      19.3      34      100.7%     57.2%
 P      TSLA   2018-11-16   $400.00     293      $41.80   $90.80   $48.95     $2.02    0.58%     3,510     1,402     39.9%     0.11%    180.1      237       90.4%     68.7%
 P      TSLA   2018-11-16   $405.00       3      $51.22   $67.15   $57.48     $2.20    0.63%     3,510     1,205     34.3%     0.10%       0.6       1      277.8%    166.7%
 P      TSLA   2018-11-16   $410.00       4      $48.65   $69.30   $61.24     $2.37    0.68%     3,510     1,038     29.6%     0.09%       1.8       2      123.5%    111.1%
 P      TSLA   2018-11-16   $415.00      34      $52.05   $76.27   $57.76     $2.45    0.70%     3,510        888    25.3%     0.08%     26.9       34       70.2%     55.6%
 P      TSLA   2018-11-16   $420.00      26      $56.60  $109.00   $82.13     $2.59    0.74%     3,510        754    21.5%     0.07%       8.5      15      169.9%     96.3%
 P      TSLA   2018-11-16   $425.00       2      $57.30   $59.85   $58.58     $2.83    0.81%     3,510        644    18.3%     0.06%       1.8       2       61.7%     55.6%
 P      TSLA   2018-11-16   $450.00     718      $80.50  $116.30   $92.93     $3.41    0.98%     3,510         34     1.0%     0.03%    547.4      710       72.9%     56.2%
 P      TSLA   2018-11-16   $460.00      11      $94.55  $102.50   $95.27     $3.58    1.02%     3,510          2     0.1%     0.03%       9.5      11       64.3%     55.6%
 P      TSLA   2018-11-16   $640.00       1     $284.50  $284.50  $284.50     $3.51    1.02%     2,730          0     0.0%         ---     0.4       1      190.5%     71.4%
 P      TSLA   2018-12-21    $25.00     143       $0.23    $0.50     $0.34    $0.53    0.15%     2,730          0     0.0%         ---   22.3      143      459.1%     71.4%
 P      TSLA   2018-12-21    $30.00       1       $0.26    $0.26     $0.26    $0.61    0.18%     2,730          0     0.0%         ---     0.6       1      114.3%     71.4%
 P      TSLA   2018-12-21    $35.00       4       $0.35    $0.35     $0.35    $0.61    0.18%     2,730          0     0.0%         ---     1.8       4      163.3%     71.4%
 P      TSLA   2018-12-21    $40.00      51       $0.56    $0.60     $0.60    $0.65    0.19%     2,730          0     0.0%         ---     6.4      51      571.4%     71.4%
 P      TSLA   2018-12-21    $45.00      29       $0.79    $0.82     $0.81    $0.69    0.20%     2,730          0     0.0%         ---     3.6      29      571.4%     71.4%



                                                                                                                                                                          p. 50 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2018-12-21    $50.00     325       $0.43    $1.05     $0.72    $0.58    0.17%     2,730          0     0.0%         ---   166.5     283      139.4%     82.0%
 P      TSLA   2018-12-21    $60.00      34       $1.21    $1.26     $1.25    $0.76    0.22%     2,730          0     0.0%         ---     4.3      34      571.4%     71.4%
 P      TSLA   2018-12-21    $70.00      18       $1.51    $1.58     $1.58    $0.74    0.21%     2,730          0     0.0%         ---     2.3      18      571.4%     71.4%
 P      TSLA   2018-12-21    $80.00      93       $1.36    $2.00     $1.88    $0.64    0.18%     2,730          5     0.2%     0.03%      15.8      84      421.8%     79.1%
 P      TSLA   2018-12-21    $90.00       7       $1.77    $2.43     $2.20    $0.64    0.18%     2,730         21     0.8%     0.03%       1.6       7      307.7%     71.4%
 P      TSLA   2018-12-21   $100.00     907       $1.70    $3.20     $2.57    $0.63    0.18%     2,730        283    10.4%     0.04%     247.0     676      262.3%     95.8%
 P      TSLA   2018-12-21   $110.00      33       $2.45    $3.40     $2.64    $0.65    0.19%     2,730        717    26.3%     0.04%      20.6      32      114.3%     73.7%
 P      TSLA   2018-12-21   $130.00      32       $2.40    $4.95     $3.46    $0.66    0.19%     2,730     1,553     56.9%     0.08%      22.6      28      101.0%     81.6%
 P      TSLA   2018-12-21   $140.00     362       $1.75    $5.90     $2.73    $0.70    0.20%     3,510     1,776     50.6%     0.11%   1,032.7   1,068       19.5%     18.8%
 P      TSLA   2018-12-21   $145.00      71       $1.93    $6.30     $4.02    $0.70    0.20%     3,510     1,809     51.5%     0.12%     318.7     326       12.4%     12.1%
 P      TSLA   2018-12-21   $150.00   1,438       $2.00    $6.85     $3.68    $0.73    0.21%     3,510     1,991     56.7%     0.13%   2,257.0   2,484       35.4%     32.2%
 P      TSLA   2018-12-21   $155.00       2       $4.40    $7.45     $5.93    $0.90    0.25%     3,510     1,997     56.9%     0.14%      96.1      97        1.2%      1.1%
 P      TSLA   2018-12-21   $160.00      53       $2.75    $7.70     $5.46    $0.83    0.23%     3,510     2,134     60.8%     0.15%     577.3     583        5.1%      5.1%
 P      TSLA   2018-12-21   $165.00      34       $3.00    $5.35     $3.38    $0.89    0.25%     3,510     2,187     62.3%     0.16%     167.9     170       11.3%     11.1%
 P      TSLA   2018-12-21   $170.00      32       $2.15    $8.25     $4.38    $0.89    0.25%     3,510     2,190     62.4%     0.17%     301.1     307        5.9%      5.8%
 P      TSLA   2018-12-21   $175.00      82       $2.98    $9.37     $7.32    $0.83    0.24%     3,510     2,222     63.3%     0.18%     515.0     554        8.8%      8.2%
 P      TSLA   2018-12-21   $180.00     155       $3.00   $10.00     $6.32    $0.76    0.21%     3,413     2,308     67.6%     0.19%     263.9     302       32.6%     28.5%
 P      TSLA   2018-12-21   $185.00     127       $3.30   $10.41     $6.10    $0.78    0.22%     3,413     2,328     68.2%     0.20%     349.7     355       20.2%     19.9%
 P      TSLA   2018-12-21   $190.00     134       $4.05   $11.50     $6.56    $0.92    0.26%     3,510     2,346     66.8%     0.21%     161.1     178       46.2%     41.8%
 P      TSLA   2018-12-21   $195.00      48       $3.50   $11.73     $8.02    $0.87    0.25%     3,510     2,375     67.7%     0.22%     169.7     177       15.7%     15.1%
 P      TSLA   2018-12-21   $200.00   2,031       $3.70   $13.10     $6.67    $0.76    0.21%     3,510     2,453     69.9%     0.23%   7,767.4   8,032       14.5%     14.0%
 P      TSLA   2018-12-21   $205.00      74       $5.19   $14.17   $10.40     $0.87    0.24%     3,510     2,429     69.2%     0.23%     244.6     251       16.8%     16.4%
 P      TSLA   2018-12-21   $210.00   1,939       $4.90   $14.05   $13.38     $1.00    0.28%     3,510     2,457     70.0%     0.24%     549.1   2,022      196.2%     53.3%
 P      TSLA   2018-12-21   $215.00      51       $8.60   $14.75   $12.08     $0.90    0.25%     3,510     2,466     70.3%     0.25%     112.2     127       25.3%     22.3%
 P      TSLA   2018-12-21   $220.00     229       $3.00   $16.10     $8.66    $0.80    0.23%     3,510     2,527     72.0%     0.26%     339.1     352       37.5%     36.1%
 P      TSLA   2018-12-21   $225.00     152       $5.00   $16.60     $8.97    $0.85    0.24%     3,510     2,577     73.4%     0.27%     657.8     663       12.8%     12.7%
 P      TSLA   2018-12-21   $230.00     291       $6.85   $16.92     $9.26    $0.87    0.24%     3,510     2,565     73.1%     0.28%     686.8     717       23.5%     22.5%
 P      TSLA   2018-12-21   $235.00      62       $7.14   $13.00   $10.04     $0.87    0.25%     3,510     2,560     72.9%     0.28%     230.4     253       14.9%     13.6%
 P      TSLA   2018-12-21   $240.00     421       $2.00   $20.19   $11.93     $0.85    0.24%     3,510     2,588     73.7%     0.29%     731.2     885       32.0%     26.4%
 P      TSLA   2018-12-21   $245.00   1,347       $4.85   $21.75   $17.04     $0.86    0.24%     3,510     2,606     74.2%     0.29%     376.1   1,197      199.0%     62.5%
 P      TSLA   2018-12-21   $250.00   2,027       $6.60   $22.65   $11.48     $0.77    0.22%     3,510     2,666     76.0%     0.30%   3,351.8   3,563       33.6%     31.6%
 P      TSLA   2018-12-21   $255.00     117       $7.66   $24.16   $19.59     $0.87    0.25%     3,510     2,654     75.6%     0.30%     254.9     324       25.5%     20.1%
 P      TSLA   2018-12-21   $260.00      94       $8.13   $25.00   $14.31     $0.87    0.24%     3,510     2,662     75.8%     0.31%     503.0     525       10.4%      9.9%
 P      TSLA   2018-12-21   $265.00     166       $8.82   $27.00   $19.86     $0.88    0.25%     3,510     2,671     76.1%     0.31%     782.5     800       11.8%     11.5%
 P      TSLA   2018-12-21   $270.00     406       $9.50   $28.31   $18.81     $0.87    0.24%     3,510     2,683     76.4%     0.31%   1,208.5   1,309       18.7%     17.2%
 P      TSLA   2018-12-21   $275.00     576       $9.40   $29.99   $13.10     $0.90    0.25%     3,510     2,697     76.8%     0.31%     489.5     573       65.4%     55.8%
 P      TSLA   2018-12-21   $280.00     502      $10.00   $31.40   $19.05     $0.79    0.22%     3,413     2,696     79.0%     0.32%   1,417.6   1,469       19.7%     19.0%
 P      TSLA   2018-12-21   $285.00     228      $12.01   $33.35   $21.75     $0.94    0.27%     3,510     2,680     76.4%     0.32%     217.4     271       58.3%     46.7%
 P      TSLA   2018-12-21   $290.00     851      $11.00   $35.35   $19.24     $0.92    0.26%     3,510     2,714     77.3%     0.32%     995.1   1,083       47.5%     43.7%



                                                                                                                                                                          p. 51 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]     [16]         [17]      [18]
                                                                                                                                                           Weekly    Weekly
                                                                 Volume-             Average                               Average                        Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum       Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open     Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest        Interest  Interest
 P      TSLA   2018-12-21   $295.00     296      $12.50   $37.24   $24.60     $0.94    0.27%     3,510     2,710     77.2%     0.32%      656.8     673       25.0%     24.4%
 P      TSLA   2018-12-21   $300.00   2,156      $11.50   $39.50   $22.64     $1.45    0.41%     3,510     2,741     78.1%     0.32%    2,678.9   2,798       44.7%     42.8%
 P      TSLA   2018-12-21   $305.00     162      $14.59   $41.44   $28.85     $0.99    0.28%     3,510     2,719     77.5%     0.32%      291.0     303       30.9%     29.7%
 P      TSLA   2018-12-21   $310.00   1,960      $15.20   $43.33   $41.15     $0.97    0.27%     3,510     2,730     77.8%     0.31%      620.7   2,059      175.4%     52.9%
 P      TSLA   2018-12-21   $315.00     591      $16.96   $46.03   $30.72     $1.03    0.29%     3,510     2,728     77.7%     0.31%      323.7     343      101.4%     95.7%
 P      TSLA   2018-12-21   $320.00     656      $14.00   $47.65   $29.51     $1.02    0.29%     3,510     2,733     77.9%     0.31%      585.6     713       62.2%     51.1%
 P      TSLA   2018-12-21   $325.00     319      $17.71   $50.75   $30.22     $1.04    0.30%     3,510     2,722     77.5%     0.30%      365.0     379       48.6%     46.8%
 P      TSLA   2018-12-21   $330.00     423      $19.05   $53.43   $29.69     $1.08    0.31%     3,413     2,708     79.3%     0.30%      595.6     610       39.5%     38.5%
 P      TSLA   2018-12-21   $335.00     213      $21.20   $56.13   $35.15     $1.18    0.33%     3,510     2,655     75.6%     0.29%      149.5     165       79.2%     71.7%
 P      TSLA   2018-12-21   $340.00   1,646      $21.60   $58.75   $33.37     $1.75    0.49%     3,510     2,698     76.9%     0.29%      962.5   1,446       95.0%     63.2%
 P      TSLA   2018-12-21   $345.00     120      $23.85   $62.04   $39.08     $2.23    0.62%     3,509     2,689     76.6%     0.28%      258.1     262       25.8%     25.4%
 P      TSLA   2018-12-21   $350.00   1,485      $23.10   $65.26   $39.66     $1.17    0.33%     3,510     2,748     78.3%     0.27%      771.9   1,026      106.9%     80.4%
 P      TSLA   2018-12-21   $355.00     486      $24.95   $68.85   $39.98     $1.22    0.35%     3,510     2,666     76.0%     0.26%      274.6     403       98.3%     67.0%
 P      TSLA   2018-12-21   $360.00     263      $27.10   $70.00   $38.42     $1.22    0.35%     3,510     2,671     76.1%     0.25%      244.2     260       59.8%     56.2%
 P      TSLA   2018-12-21   $365.00     150      $30.00   $73.50   $42.29     $1.33    0.38%     3,510     2,587     73.7%     0.23%       77.2      88      107.9%     94.7%
 P      TSLA   2018-12-21   $370.00     408      $31.50   $78.62   $48.62     $1.37    0.39%     3,510     2,608     74.3%     0.22%      168.2     201      134.8%    112.8%
 P      TSLA   2018-12-21   $375.00     159      $32.90   $79.77   $48.20     $1.48    0.42%     3,510     2,525     71.9%     0.21%      179.3     216       49.3%     40.9%
 P      TSLA   2018-12-21   $380.00     165      $35.86   $78.48   $47.24     $1.54    0.44%     3,413     2,479     72.6%     0.20%       80.9     114      113.3%     80.4%
 P      TSLA   2018-12-21   $385.00      19      $41.00   $75.00   $48.53     $1.63    0.47%     3,510     2,300     65.5%     0.19%       27.6      33       38.2%     32.0%
 P      TSLA   2018-12-21   $390.00       7      $58.55   $85.88   $68.95     $1.69    0.48%     3,510     2,127     60.6%     0.18%       38.0      40       10.2%      9.7%
 P      TSLA   2018-12-21   $395.00       8      $46.71   $74.79   $55.58     $1.82    0.52%     3,510     1,925     54.8%     0.18%       16.2      17       27.4%     26.1%
 P      TSLA   2018-12-21   $400.00     159      $44.40  $102.00   $76.56     $1.81    0.52%     3,413     1,783     52.2%     0.17%      107.2     120       82.4%     73.6%
 P      TSLA   2018-12-21   $410.00      27      $52.32  $109.65   $62.67     $2.15    0.61%     3,510     1,527     43.5%     0.15%       19.2      21       78.1%     71.4%
 P      TSLA   2018-12-21   $420.00      29      $58.79  $118.54   $92.45     $2.39    0.69%     3,510     1,352     38.5%     0.11%       38.3      52       42.1%     31.0%
 P      TSLA   2018-12-21   $430.00      14      $64.80  $126.67   $74.83     $2.53    0.73%     3,510     1,034     29.5%     0.09%        9.6      10       81.0%     77.8%
 P      TSLA   2018-12-21   $440.00       4      $80.02  $135.90  $104.11     $3.06    0.87%     3,510        636    18.1%     0.07%        8.5       9       26.1%     24.7%
 P      TSLA   2018-12-21   $450.00       6     $110.00  $114.93  $113.29     $3.21    0.92%     3,510        422    12.0%     0.05%        4.9       5       68.0%     66.7%
 P      TSLA   2018-12-21   $460.00       2      $87.10   $92.00   $89.55     $3.33    0.95%     3,510        175     5.0%     0.03%        1.7       2       65.4%     55.6%
 P      TSLA   2018-12-21   $470.00       3      $99.95  $100.50  $100.32     $3.44    0.98%     3,510         24     0.7%     0.02%        1.8       2       92.6%     83.3%
 P      TSLA   2019-01-18    $10.00 15,050        $0.05    $0.16     $0.09    $0.02    0.01%     3,510          0     0.0%         --- 11,294.6  15,992       74.0%     52.3%
 P      TSLA   2019-01-18    $15.00     366       $0.10    $0.21     $0.16    $0.08    0.02%     3,510          0     0.0%         ---  1,118.5   1,247       18.2%     16.3%
 P      TSLA   2019-01-18    $20.00   3,781       $0.10    $0.35     $0.21    $0.20    0.06%     3,510          0     0.0%         --- 17,311.5  18,260       12.1%     11.5%
 P      TSLA   2019-01-18    $25.00   2,205       $0.13    $0.50     $0.33    $0.09    0.03%     3,510          0     0.0%         --- 10,802.9  11,405       11.3%     10.7%
 P      TSLA   2019-01-18    $30.00     154       $0.24    $0.60     $0.44    $0.34    0.10%     3,510          0     0.0%         ---  1,642.0   1,663        5.2%      5.1%
 P      TSLA   2019-01-18    $35.00     630       $0.36    $0.70     $0.58    $0.43    0.12%     3,510          0     0.0%         ---  1,334.8   1,457       26.2%     24.0%
 P      TSLA   2019-01-18    $40.00     138       $0.38    $0.84     $0.60    $0.43    0.12%     3,510          0     0.0%         ---  1,448.5   1,471        5.3%      5.2%
 P      TSLA   2019-01-18    $45.00     280       $0.40    $1.00     $0.86    $0.52    0.15%     3,510          0     0.0%         ---  1,701.2   1,791        9.1%      8.7%
 P      TSLA   2019-01-18    $50.00   8,392       $0.38    $1.40     $0.81    $0.13    0.04%     3,510          0     0.0%         --- 62,623.8  63,006        7.4%      7.4%
 P      TSLA   2019-01-18    $55.00     124       $0.52    $1.41     $1.08    $0.54    0.15%     3,510          0     0.0%         ---  3,355.8   3,361        2.1%      2.0%



                                                                                                                                                                           p. 52 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2019-01-18    $60.00     405       $0.60    $1.70     $1.57    $0.81    0.23%     3,510          0     0.0%         --- 1,947.5   1,962       11.6%     11.5%
 P      TSLA   2019-01-18    $65.00       8       $0.80    $1.57     $1.12    $0.92    0.26%     3,510          0     0.0%         ---   808.8     810        0.5%      0.5%
 P      TSLA   2019-01-18    $70.00     342       $0.66    $2.25     $1.34    $0.51    0.14%     3,510          1     0.0%     0.01%   6,809.5   6,854        2.8%      2.8%
 P      TSLA   2019-01-18    $75.00   1,467       $0.66    $2.53     $1.43    $0.50    0.14%     3,510        273     7.8%     0.34%   7,927.2   7,986       10.3%     10.2%
 P      TSLA   2019-01-18    $80.00     329       $0.84    $2.60     $1.70    $0.54    0.15%     3,510         61     1.7%     0.14%   4,561.6   4,571        4.0%      4.0%
 P      TSLA   2019-01-18    $85.00      59       $2.00    $2.95     $2.62    $0.60    0.17%     3,510        122     3.5%     0.04%     677.0     690        4.8%      4.8%
 P      TSLA   2019-01-18    $90.00      76       $1.00    $3.03     $1.66    $0.46    0.13%     3,413        228     6.7%     0.05%   3,021.1   3,032        1.4%      1.4%
 P      TSLA   2019-01-18    $95.00     609       $1.35    $3.00     $1.55    $0.65    0.18%     3,510        386    11.0%     0.05%   2,192.2   2,471       15.4%     13.7%
 P      TSLA   2019-01-18   $100.00 10,302        $1.00    $4.00     $2.57    $0.28    0.08%     3,510     2,647     75.4%     0.33% 34,906.3   35,765       16.4%     16.0%
 P      TSLA   2019-01-18   $105.00      35       $1.60    $4.05     $3.18    $0.64    0.18%     3,510        811    23.1%     0.06%   1,210.9   1,220        1.6%      1.6%
 P      TSLA   2019-01-18   $110.00     110       $1.74    $3.24     $2.09    $0.60    0.17%     3,510     1,005     28.6%     0.07%   3,085.1   3,087        2.0%      2.0%
 P      TSLA   2019-01-18   $115.00       9       $1.95    $4.33     $2.80    $0.69    0.19%     3,510     1,160     33.0%     0.08%     473.2     475        1.1%      1.1%
 P      TSLA   2019-01-18   $120.00     515       $2.10    $5.30     $2.83    $0.62    0.17%     3,510     1,371     39.1%     0.09% 11,240.6   11,281        2.5%      2.5%
 P      TSLA   2019-01-18   $125.00     463       $0.70    $5.65     $3.61    $0.57    0.16%     3,510     1,554     44.3%     0.10%   1,134.6   1,312       22.7%     19.6%
 P      TSLA   2019-01-18   $130.00     114       $2.45    $6.10     $3.39    $0.63    0.18%     3,510     1,752     49.9%     0.11%   2,621.7   2,632        2.4%      2.4%
 P      TSLA   2019-01-18   $135.00      48       $2.25    $4.65     $3.29    $0.70    0.20%     3,510     1,921     54.7%     0.12%     346.6     353        7.7%      7.6%
 P      TSLA   2019-01-18   $140.00      96       $2.00    $5.40     $4.32    $0.69    0.19%     3,510     2,074     59.1%     0.13%   1,781.5   1,799        3.0%      3.0%
 P      TSLA   2019-01-18   $145.00      94       $3.00    $7.26     $3.62    $0.69    0.19%     3,510     2,192     62.5%     0.14%     918.8     922        5.7%      5.7%
 P      TSLA   2019-01-18   $150.00   5,825       $2.40    $8.36     $5.27    $0.60    0.17%     3,510     2,369     67.5%     0.15% 16,151.2   16,594       20.0%     19.5%
 P      TSLA   2019-01-18   $155.00     146       $3.43    $8.50     $7.56    $0.77    0.22%     3,510     2,351     67.0%     0.16%   1,181.8   1,193        6.9%      6.8%
 P      TSLA   2019-01-18   $160.00     266       $3.65    $9.49     $6.91    $0.72    0.20%     3,510     2,405     68.5%     0.17%   2,020.8   2,065        7.3%      7.2%
 P      TSLA   2019-01-18   $165.00     228       $3.95    $9.80     $4.51    $0.78    0.22%     3,510     2,439     69.5%     0.18%   2,086.5   2,142        6.1%      5.9%
 P      TSLA   2019-01-18   $170.00     152       $3.65   $10.25     $5.13    $0.72    0.20%     3,510     2,452     69.9%     0.19%   3,385.8   3,420        2.5%      2.5%
 P      TSLA   2019-01-18   $175.00     389       $3.70   $11.05     $7.99    $0.78    0.22%     3,510     2,492     71.0%     0.20%   4,178.5   4,206        5.2%      5.1%
 P      TSLA   2019-01-18   $180.00   1,016       $3.50   $11.65     $6.22    $0.73    0.21%     3,510     2,531     72.1%     0.21%   2,191.7   2,255       25.8%     25.0%
 P      TSLA   2019-01-18   $185.00     198       $3.45   $12.15     $7.25    $0.79    0.22%     3,510     2,541     72.4%     0.22%     685.7     723       16.0%     15.2%
 P      TSLA   2019-01-18   $190.00     600       $3.75   $13.35     $9.62    $1.12    0.31%     3,510     2,571     73.2%     0.23%   1,773.1   2,032       18.8%     16.4%
 P      TSLA   2019-01-18   $195.00     194       $4.50   $14.10     $9.76    $0.78    0.22%     3,510     2,580     73.5%     0.24%   1,852.7   1,898        5.8%      5.7%
 P      TSLA   2019-01-18   $200.00 10,445        $2.00   $15.00     $8.07    $0.54    0.15%     3,510     2,743     78.1%     0.26% 30,425.2   31,137       19.1%     18.6%
 P      TSLA   2019-01-18   $210.00   1,727       $5.20   $16.79   $12.04     $0.83    0.23%     3,510     2,666     76.0%     0.27%   5,190.6   6,096       18.5%     15.7%
 P      TSLA   2019-01-18   $220.00   1,617       $4.50   $18.88   $11.93     $0.74    0.21%     3,510     2,707     77.1%     0.30%   6,827.4   7,155       13.2%     12.6%
 P      TSLA   2019-01-18   $230.00   3,700       $7.00   $21.24   $11.49     $0.74    0.21%     3,510     2,758     78.6%     0.31% 11,893.1   12,112       17.3%     17.0%
 P      TSLA   2019-01-18   $240.00     903       $5.00   $23.26   $13.41     $0.98    0.27%     3,510     2,775     79.1%     0.32%   5,658.3   5,762        8.9%      8.7%
 P      TSLA   2019-01-18   $250.00   3,919       $6.10   $26.00   $15.94     $0.69    0.20%     3,510     2,846     81.1%     0.34% 10,542.6   10,895       20.7%     20.0%
 P      TSLA   2019-01-18   $260.00   4,299       $7.40   $28.70   $17.68     $1.74    0.48%     3,510     2,823     80.4%     0.35%   6,647.8   7,022       35.9%     34.0%
 P      TSLA   2019-01-18   $270.00   6,297      $10.35   $31.70   $20.86     $0.82    0.23%     3,413     2,846     83.4%     0.36%   8,851.0  10,017       39.5%     34.9%
 P      TSLA   2019-01-18   $280.00   1,950      $11.20   $35.50   $21.19     $0.82    0.23%     3,510     2,851     81.2%     0.37%   9,014.2   9,112       12.0%     11.9%
 P      TSLA   2019-01-18   $290.00     705      $13.46   $38.65   $23.17     $1.48    0.41%     3,510     2,866     81.7%     0.37%   3,353.7   3,388       11.7%     11.6%
 P      TSLA   2019-01-18   $300.00   5,404      $12.00   $43.05   $25.28     $3.58    0.99%     3,413     2,934     86.0%     0.38% 10,941.8   11,121       27.4%     27.0%



                                                                                                                                                                          p. 53 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2019-01-18   $310.00   1,558      $14.00   $47.50   $30.01     $1.95    0.54%     3,510     2,885     82.2%     0.37%   4,485.1   4,570       19.3%     18.9%
 P      TSLA   2019-01-18   $320.00   2,308      $18.76   $51.80   $29.88     $0.98    0.28%     3,413     2,897     84.9%     0.37%   4,268.9   4,473       30.0%     28.7%
 P      TSLA   2019-01-18   $330.00   3,388      $20.00   $57.00   $33.55     $0.88    0.25%     3,413     2,853     83.6%     0.36%   5,654.0   5,851       33.3%     32.2%
 P      TSLA   2019-01-18   $340.00   1,882      $23.75   $61.47   $37.97     $7.15    1.97%     3,413     2,818     82.6%     0.34%   4,951.3   5,063       21.1%     20.7%
 P      TSLA   2019-01-18   $350.00   2,884      $24.95   $68.00   $40.71     $1.12    0.32%     3,510     2,870     81.8%     0.32%   9,690.9   9,852       16.5%     16.3%
 P      TSLA   2019-01-18   $360.00   1,595      $28.70   $74.35   $43.56     $1.22    0.35%     3,510     2,808     80.0%     0.30%   3,327.9   3,515       26.6%     25.2%
 P      TSLA   2019-01-18   $365.00     128      $32.10   $78.20   $42.44     $1.31    0.37%     3,510     2,780     79.2%     0.27%     920.1     928        7.7%      7.7%
 P      TSLA   2019-01-18   $370.00     450      $33.00   $80.76   $44.50     $1.33    0.38%     3,510     2,775     79.1%     0.26%   1,776.6   1,804       14.1%     13.9%
 P      TSLA   2019-01-18   $375.00     340      $36.60   $83.64   $49.15     $1.42    0.41%     3,510     2,721     77.5%     0.25%   1,180.9   1,210       16.0%     15.6%
 P      TSLA   2019-01-18   $380.00     816      $36.85   $87.27   $45.52     $1.47    0.42%     3,510     2,708     77.2%     0.23%     683.8     749       66.3%     60.5%
 P      TSLA   2019-01-18   $385.00      63      $40.95   $62.30   $51.15     $1.56    0.45%     3,510     2,656     75.7%     0.21%     572.3     586        6.1%      6.0%
 P      TSLA   2019-01-18   $390.00     149      $42.10   $95.00   $56.45     $1.67    0.48%     3,509     2,555     72.8%     0.20%     389.3     408       21.3%     20.3%
 P      TSLA   2019-01-18   $395.00      24      $47.25   $91.35   $63.57     $1.86    0.53%     3,510     2,392     68.1%     0.18%     202.4     206        6.6%      6.5%
 P      TSLA   2019-01-18   $400.00   2,606      $46.69  $101.23   $57.02     $1.98    0.57%     3,510     2,301     65.6%     0.17%   2,749.1   2,991       52.7%     48.4%
 P      TSLA   2019-01-18   $405.00      96      $51.90  $105.27   $85.31     $2.14    0.61%     3,510     2,099     59.8%     0.15%     120.6     166       44.2%     32.1%
 P      TSLA   2019-01-18   $410.00      10      $59.44  $104.00   $76.34     $2.22    0.64%     3,510     1,950     55.6%     0.13%     754.0     756        0.7%      0.7%
 P      TSLA   2019-01-18   $420.00   1,097      $60.00  $116.57   $83.20     $2.45    0.70%     3,510     1,562     44.5%     0.15%     812.6   1,103       75.0%     55.3%
 P      TSLA   2019-01-18   $430.00     359      $69.00  $102.57   $89.74     $2.82    0.81%     3,510        942    26.8%     0.09%     652.5     657       30.6%     30.4%
 P      TSLA   2019-01-18   $440.00      11      $74.31   $99.90   $76.77     $3.36    0.96%     3,510        580    16.5%     0.07%     910.3     911        0.7%      0.7%
 P      TSLA   2019-01-18   $450.00      93      $79.00  $145.75   $97.00     $3.50    1.00%     3,510        374    10.7%     0.07%   1,132.2   1,143        4.6%      4.5%
 P      TSLA   2019-01-18   $460.00      30      $87.07  $114.22  $109.38     $3.64    1.04%     3,510        215     6.1%     0.05%     361.1     374        4.6%      4.5%
 P      TSLA   2019-01-18   $470.00       2      $95.17   $95.17   $95.17     $3.77    1.08%     3,510         86     2.5%     0.04%     475.4     477        0.2%      0.2%
 P      TSLA   2019-01-18   $480.00      26     $103.52  $141.87  $118.30     $3.86    1.10%     3,510         21     0.6%     0.02%     634.9     645        2.3%      2.2%
 P      TSLA   2019-01-18   $500.00      19     $129.09  $194.15  $157.92     $4.08    1.17%     3,510          1     0.0%     0.15%   3,377.0   3,380        0.3%      0.3%
 P      TSLA   2019-01-18   $510.00       1     $173.95  $173.95  $173.95     $4.14    1.18%     3,510          0     0.0%         ---    51.0      51        1.1%      1.1%
 P      TSLA   2019-01-18   $580.00       1     $210.00  $210.00  $210.00     $4.48    1.28%     3,510          0     0.0%         --- 1,488.1   1,489        0.0%      0.0%
 P      TSLA   2019-01-18   $600.00     121     $231.80  $289.80  $262.72     $4.47    1.28%     3,510          0     0.0%         --- 1,870.4   1,932        3.6%      3.5%
 P      TSLA   2019-01-18   $650.00      30     $312.45  $345.70  $324.54     $4.65    1.33%     3,413          0     0.0%         ---   501.0     506        3.3%      3.3%
 P      TSLA   2019-01-18   $680.00      48     $307.34  $374.95  $320.05     $3.92    1.12%     3,510          0     0.0%         ---   806.8   1,130        3.3%      2.4%
 P      TSLA   2019-02-15   $175.00      29       $7.70   $12.50     $9.60    $0.95    0.28%     1,950     1,867     95.7%     0.26%      10.2      24      285.2%    120.8%
 P      TSLA   2019-02-15   $180.00      41       $4.45   $13.30     $7.77    $1.44    0.41%     3,510     2,600     74.1%     0.21%      15.4      21      147.9%    108.5%
 P      TSLA   2019-02-15   $185.00      54       $4.80   $10.05     $6.31    $1.48    0.42%     3,510     2,617     74.6%     0.22%      38.2      45       78.5%     66.7%
 P      TSLA   2019-02-15   $190.00      12       $5.20   $15.30     $9.30    $1.46    0.41%     3,510     2,643     75.3%     0.23%       6.6      10      101.0%     66.7%
 P      TSLA   2019-02-15   $195.00       8       $5.35   $14.10     $9.01    $1.45    0.41%     3,510     2,673     76.2%     0.24%       4.4       7      101.0%     63.5%
 P      TSLA   2019-02-15   $200.00      97       $6.00   $15.45   $11.02     $1.47    0.42%     3,510     2,737     78.0%     0.26%      39.6      75      136.1%     71.9%
 P      TSLA   2019-02-15   $210.00       5       $6.85   $18.01   $12.76     $1.40    0.39%     3,510     2,747     78.3%     0.29%       1.7       3      163.4%     92.6%
 P      TSLA   2019-02-15   $220.00      34      $10.20   $14.75   $13.47     $1.41    0.40%     3,510     2,744     78.2%     0.30%      13.3      21      142.0%     89.9%
 P      TSLA   2019-02-15   $230.00      39      $13.54   $22.18   $17.30     $1.45    0.41%     3,510     2,746     78.2%     0.31%       8.2      31      264.2%     69.9%
 P      TSLA   2019-02-15   $240.00      95      $14.61   $22.00   $16.51     $1.45    0.41%     3,510     2,766     78.8%     0.32%      33.3      79      158.5%     66.8%



                                                                                                                                                                          p. 54 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2019-02-15   $250.00      77      $10.00   $28.50   $18.10     $1.39    0.39%     3,510     2,802     79.8%     0.32%      24.4      39      175.3%    109.7%
 P      TSLA   2019-02-15   $260.00      19      $13.05   $31.50   $21.58     $1.42    0.40%     3,510     2,800     79.8%     0.33%       8.9      18      118.6%     58.6%
 P      TSLA   2019-02-15   $270.00     558      $13.65   $34.60   $23.62     $1.42    0.40%     3,510     2,807     80.0%     0.34%     236.9     306      130.9%    101.3%
 P      TSLA   2019-02-15   $280.00      69      $15.00   $38.27   $28.35     $1.47    0.42%     3,510     2,802     79.8%     0.33%      17.8      46      215.4%     83.3%
 P      TSLA   2019-02-15   $290.00     340      $16.00   $41.60   $18.23     $1.48    0.42%     3,510     2,782     79.3%     0.33%     181.2     222      104.2%     85.1%
 P      TSLA   2019-02-15   $300.00      74      $18.00   $44.96   $30.22     $1.47    0.42%     3,510     2,779     79.2%     0.33%      37.5      48      109.6%     85.6%
 P      TSLA   2019-02-15   $310.00      39      $28.82   $36.50   $32.34     $1.56    0.44%     3,510     2,785     79.3%     0.32%      41.1      57       52.7%     38.0%
 P      TSLA   2019-02-15   $320.00      69      $22.30   $54.60   $38.02     $1.58    0.45%     3,510     2,774     79.0%     0.31%      19.6      41      195.6%     93.5%
 P      TSLA   2019-02-15   $330.00     115      $24.00   $59.09   $40.44     $1.59    0.45%     3,510     2,750     78.3%     0.29%      20.7      43      308.6%    148.6%
 P      TSLA   2019-02-15   $340.00      39      $39.80   $63.00   $45.09     $1.63    0.46%     3,510     2,739     78.0%     0.27%      30.1      36       72.0%     60.2%
 P      TSLA   2019-02-15   $350.00     702      $30.12   $70.00   $41.58     $1.65    0.47%     3,510     2,659     75.8%     0.26%     257.2     334      151.6%    116.8%
 P      TSLA   2019-02-15   $360.00     288      $32.60   $72.50   $50.68     $1.73    0.49%     3,510     2,560     72.9%     0.23%      82.9     134      193.0%    119.4%
 P      TSLA   2019-02-15   $370.00      82      $36.05   $63.62   $44.08     $1.95    0.55%     3,510     2,413     68.7%     0.21%      25.5      36      178.6%    126.5%
 P      TSLA   2019-02-15   $380.00      60      $42.25   $66.35   $47.70     $2.07    0.59%     3,510     2,212     63.0%     0.18%      47.4      59       70.3%     56.5%
 P      TSLA   2019-02-15   $390.00      26      $46.50   $82.00   $48.71     $2.20    0.63%     3,510     1,767     50.3%     0.17%      22.1      26       65.4%     55.6%
 P      TSLA   2019-02-15   $400.00      17      $56.40   $83.20   $74.53     $2.33    0.66%     3,510     1,354     38.6%     0.15%      13.0      15       72.6%     63.0%
 P      TSLA   2019-02-15   $410.00       7      $57.45   $92.00   $82.79     $2.49    0.71%     3,510     1,069     30.5%     0.12%       6.1       7       63.8%     55.6%
 P      TSLA   2019-02-15   $420.00      25      $63.00   $96.00   $91.66     $2.66    0.76%     3,413        777    22.8%     0.10%      20.6      23       67.4%     60.4%
 P      TSLA   2019-02-15   $430.00       8      $69.50   $92.80   $84.71     $2.91    0.83%     3,510        482    13.7%     0.08%       6.9       8       64.4%     55.6%
 P      TSLA   2019-02-15   $440.00       7      $78.85  $136.00  $102.16     $3.13    0.89%     3,510        295     8.4%     0.06%       5.2       6       74.8%     64.8%
 P      TSLA   2019-02-15   $450.00       3      $88.70   $98.85   $92.98     $3.42    0.98%     3,510        147     4.2%     0.05%       1.7       2       98.0%     83.3%
 P      TSLA   2019-02-15   $470.00       2      $99.70  $105.80  $102.75     $3.67    1.05%     3,510          8     0.2%     0.03%       1.6       2       69.4%     55.6%
 P      TSLA   2019-02-15   $480.00       3     $110.70  $173.00  $132.65     $3.77    1.08%     3,510          0     0.0%         ---     1.6       2      104.2%     83.3%
 P      TSLA   2019-02-15   $490.00      20     $114.70  $114.70  $114.70     $3.86    1.10%     3,510          2     0.1%     0.03%      18.0      20       61.7%     55.6%
 P      TSLA   2019-02-15   $500.00      10     $124.40  $124.40  $124.40     $3.95    1.13%     3,413          0     0.0%         ---     9.0      10       61.7%     55.6%
 P      TSLA   2019-03-15    $20.00     371       $0.20    $0.99     $0.44    $0.61    0.17%     3,510          0     0.0%         ---   124.7     220      165.3%     93.7%
 P      TSLA   2019-03-15    $30.00       7       $0.64    $1.20     $0.96    $1.80    0.51%     3,510          0     0.0%         ---     4.9       7       79.4%     55.6%
 P      TSLA   2019-03-15    $35.00       4       $0.90    $0.90     $0.90    $1.82    0.52%     3,510          0     0.0%         ---   145.4     149        1.5%      1.5%
 P      TSLA   2019-03-15    $50.00   1,094       $0.95    $2.37     $1.51    $0.63    0.18%     3,510          0     0.0%         --- 4,757.3   5,108       12.8%     11.9%
 P      TSLA   2019-03-15    $55.00       2       $2.09    $2.09     $2.09    $2.28    0.64%     3,510          0     0.0%         ---     5.2       7       21.4%     15.9%
 P      TSLA   2019-03-15    $60.00       4       $1.50    $2.62     $1.87    $2.10    0.59%     3,510          0     0.0%         ---    49.6      50        4.5%      4.4%
 P      TSLA   2019-03-15    $70.00       2       $3.10    $3.10     $3.10    $2.31    0.65%     3,510          4     0.1%     0.27%      33.1      34        3.4%      3.3%
 P      TSLA   2019-03-15    $75.00       1       $2.02    $2.02     $2.02    $2.26    0.64%     3,510          0     0.0%         ---   202.7     203        0.3%      0.3%
 P      TSLA   2019-03-15    $80.00       2       $3.80    $3.90     $3.85    $2.25    0.64%     3,510         17     0.5%     0.03%      15.0      15        7.4%      7.4%
 P      TSLA   2019-03-15    $90.00      10       $4.08    $4.08     $4.08    $2.27    0.64%     3,510        105     3.0%     0.04%     367.0     367        1.5%      1.5%
 P      TSLA   2019-03-15    $95.00      26       $3.30    $4.85     $4.79    $2.33    0.66%     3,510        283     8.1%     0.06%     184.0     184        7.9%      7.9%
 P      TSLA   2019-03-15   $100.00     750       $2.49    $5.35     $4.08    $1.14    0.32%     3,509     2,230     63.6%     0.10%   6,027.5   6,326        6.9%      6.6%
 P      TSLA   2019-03-15   $105.00     192       $2.80    $5.55     $4.05    $1.98    0.56%     3,510        725    20.7%     0.06%     502.5     553       21.2%     19.3%
 P      TSLA   2019-03-15   $110.00       7       $2.80    $3.80     $3.24    $1.65    0.47%     3,510     1,326     37.8%     0.06%      89.2      90        4.4%      4.3%



                                                                                                                                                                          p. 55 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]        [17]      [18]
                                                                                                                                                        Weekly    Weekly
                                                                Volume-             Average                              Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of     % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call  Put Call  as % of   Open    Open         Open      Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest      Interest  Interest
 P      TSLA   2019-03-15   $120.00     57       $3.00    $7.00     $3.34    $2.28    0.64%     3,510     1,349    38.4%     0.08%    177.7      180       17.8%     17.6%
 P      TSLA   2019-03-15   $130.00      3       $4.35    $5.85     $4.85    $2.33    0.66%     3,510     1,507    42.9%     0.10%    128.3      129        1.3%      1.3%
 P      TSLA   2019-03-15   $140.00     42       $6.20    $9.75     $8.87    $2.16    0.61%     3,510     1,534    43.7%     0.13%     79.7      106       29.3%     22.0%
 P      TSLA   2019-03-15   $145.00     11       $6.80    $7.35     $7.30    $2.40    0.68%     3,510     1,564    44.6%     0.14%     47.2       48       12.9%     12.7%
 P      TSLA   2019-03-15   $150.00    200       $2.50   $10.50     $6.84    $2.20    0.62%     3,510     1,611    45.9%     0.17%    660.1      712       16.8%     15.6%
 P      TSLA   2019-03-15   $155.00      3      $10.00   $10.00   $10.00     $2.36    0.66%     3,510     1,615    46.0%     0.16%     23.3       26        7.2%      6.4%
 P      TSLA   2019-03-15   $160.00     78       $4.69   $11.85     $8.06    $2.20    0.62%     3,510     1,721    49.0%     0.17%     91.8      110       47.2%     39.4%
 P      TSLA   2019-03-15   $165.00    158       $7.70   $11.75   $11.63     $2.22    0.63%     3,510     1,737    49.5%     0.18%    247.6      258       35.5%     34.0%
 P      TSLA   2019-03-15   $170.00    111       $4.50   $13.50     $5.73    $2.16    0.61%     3,510     1,751    49.9%     0.20%  1,592.5    1,621        3.9%      3.8%
 P      TSLA   2019-03-15   $175.00     80       $7.50   $10.50     $9.42    $2.09    0.59%     3,510     2,058    58.6%     0.20%    127.4      135       34.9%     32.9%
 P      TSLA   2019-03-15   $180.00     76       $6.05   $13.42     $8.80    $2.23    0.63%     3,510     1,722    49.1%     0.21%    288.1      313       14.7%     13.5%
 P      TSLA   2019-03-15   $185.00      7       $6.00    $9.35     $6.73    $2.06    0.58%     3,413     1,815    53.2%     0.22%    147.3      148        2.6%      2.6%
 P      TSLA   2019-03-15   $190.00     13       $6.00   $10.70     $7.26    $2.23    0.63%     3,510     1,749    49.8%     0.25%    715.5      718        1.0%      1.0%
 P      TSLA   2019-03-15   $195.00      3       $7.64   $17.70   $12.51     $2.19    0.62%     3,510     1,828    52.1%     0.25%     16.5       17       10.1%      9.8%
 P      TSLA   2019-03-15   $200.00    701       $4.50   $18.50   $11.82     $1.69    0.48%     3,510     2,191    62.4%     0.25%  1,778.7    1,852       21.9%     21.0%
 P      TSLA   2019-03-15   $205.00      4       $8.90   $15.55   $10.56     $2.11    0.59%     3,510     2,045    58.3%     0.25%     52.6       53        4.2%      4.2%
 P      TSLA   2019-03-15   $210.00     39       $7.50   $20.50   $14.99     $2.03    0.57%     3,510     2,016    57.4%     0.26%     99.4      119       21.8%     18.2%
 P      TSLA   2019-03-15   $215.00      1      $21.35   $21.35   $21.35     $2.03    0.57%     3,510     1,961    55.9%     0.27%     30.0       30        1.9%      1.9%
 P      TSLA   2019-03-15   $220.00    250       $9.30   $22.95   $14.67     $1.90    0.54%     3,510     2,065    58.8%     0.26%    805.2      872       17.2%     15.9%
 P      TSLA   2019-03-15   $225.00     55      $10.00   $23.90   $21.11     $2.07    0.58%     3,510     1,968    56.1%     0.27%     85.9      111       35.6%     27.5%
 P      TSLA   2019-03-15   $230.00     11      $17.02   $18.10   $17.92     $2.10    0.59%     3,510     2,006    57.2%     0.28%    517.3      518        1.2%      1.2%
 P      TSLA   2019-03-15   $235.00     17      $16.00   $18.98   $16.35     $2.06    0.58%     3,510     2,007    57.2%     0.28%     84.5       95       11.2%      9.9%
 P      TSLA   2019-03-15   $240.00    170       $7.50   $25.10   $16.10     $1.94    0.55%     3,510     2,065    58.8%     0.29%  2,573.7    2,599        3.7%      3.6%
 P      TSLA   2019-03-15   $245.00     10       $8.00   $20.85   $15.40     $1.97    0.56%     3,510     2,019    57.5%     0.29%     83.9       89        6.6%      6.2%
 P      TSLA   2019-03-15   $250.00    588      $11.45   $31.20   $19.44     $1.82    0.51%     3,510     2,102    59.9%     0.29%  1,070.8    1,163       30.5%     28.1%
 P      TSLA   2019-03-15   $255.00     53      $10.35   $31.75   $18.67     $1.94    0.55%     3,510     2,059    58.7%     0.30%    170.0      178       17.3%     16.5%
 P      TSLA   2019-03-15   $260.00    155      $10.00   $30.70   $18.51     $1.95    0.55%     3,510     2,024    57.7%     0.30%    856.1      865       10.1%     10.0%
 P      TSLA   2019-03-15   $265.00     22      $16.95   $34.90   $26.75     $1.98    0.56%     3,510     2,011    57.3%     0.30%    254.1      258        4.8%      4.7%
 P      TSLA   2019-03-15   $270.00    417      $14.20   $35.50   $19.19     $1.95    0.55%     3,510     2,117    60.3%     0.30%    742.1      795       31.2%     29.1%
 P      TSLA   2019-03-15   $275.00     66      $14.50   $37.78   $26.28     $2.01    0.57%     3,510     1,990    56.7%     0.30%    110.6      114       33.2%     32.2%
 P      TSLA   2019-03-15   $280.00     88      $12.50   $38.90   $20.04     $1.97    0.56%     3,510     2,025    57.7%     0.30%    284.6      296       17.2%     16.5%
 P      TSLA   2019-03-15   $285.00     23      $18.00   $28.33   $25.13     $2.04    0.58%     3,510     1,987    56.6%     0.30%    238.2      245        5.4%      5.2%
 P      TSLA   2019-03-15   $290.00     44      $19.65   $43.93   $28.99     $2.08    0.59%     3,510     1,929    55.0%     0.30%    332.4      343        7.4%      7.1%
 P      TSLA   2019-03-15   $295.00    346      $19.00   $44.76   $36.19     $2.09    0.59%     3,510     1,881    53.6%     0.32%    467.5      586       41.1%     32.8%
 P      TSLA   2019-03-15   $300.00    750      $19.00   $48.95   $30.02     $1.98    0.56%     3,413     1,948    57.1%     0.31%    761.9      834       54.7%     50.0%
 P      TSLA   2019-03-15   $305.00     57      $33.40   $50.23   $40.92     $2.15    0.61%     3,510     1,833    52.2%     0.31%     97.4      116       32.5%     27.3%
 P      TSLA   2019-03-15   $310.00    232      $21.10   $52.25   $29.44     $2.21    0.62%     3,510     1,832    52.2%     0.31%    459.0      493       28.1%     26.1%
 P      TSLA   2019-03-15   $315.00     53      $30.50   $55.00   $42.04     $2.20    0.62%     3,510     1,857    52.9%     0.30%     87.9      107       33.5%     27.5%
 P      TSLA   2019-03-15   $320.00    189      $22.80   $57.55   $34.30     $2.20    0.62%     3,510     1,845    52.6%     0.29%    300.7      314       34.9%     33.4%



                                                                                                                                                                        p. 56 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2019-03-15   $325.00     294      $26.31   $59.40   $51.28     $2.23    0.63%     3,510     1,758     50.1%     0.30%   1,100.1   1,223       14.8%     13.4%
 P      TSLA   2019-03-15   $330.00     695      $27.20   $62.09   $40.97     $2.20    0.62%     3,510     1,760     50.1%     0.30%     385.3     646      100.2%     59.8%
 P      TSLA   2019-03-15   $335.00      32      $28.60   $57.00   $45.59     $2.28    0.64%     3,510     1,696     48.3%     0.29%      67.7      80       26.3%     22.2%
 P      TSLA   2019-03-15   $340.00      46      $28.25   $60.00   $42.88     $2.27    0.64%     3,510     1,687     48.1%     0.28%     284.1     287        9.0%      8.9%
 P      TSLA   2019-03-15   $345.00     178      $45.00   $69.05   $51.65     $2.30    0.65%     3,510     1,673     47.7%     0.27%     154.9     186       63.8%     53.2%
 P      TSLA   2019-03-15   $350.00     747      $32.00   $71.75   $45.88     $2.18    0.62%     3,510     1,675     47.7%     0.25%     276.2     406      150.3%    102.2%
 P      TSLA   2019-03-15   $355.00     148      $47.26   $75.45   $51.87     $2.22    0.63%     3,510     1,592     45.4%     0.24%     487.3     552       16.9%     14.9%
 P      TSLA   2019-03-15   $360.00     361      $36.50   $80.60   $53.55     $2.38    0.67%     3,510     1,603     45.7%     0.23%     229.9     298       87.2%     67.3%
 P      TSLA   2019-03-15   $365.00     122      $44.00   $81.90   $70.11     $2.55    0.72%     3,510     1,538     43.8%     0.21%      34.8      60      194.8%    113.0%
 P      TSLA   2019-03-15   $370.00      99      $40.52   $85.30   $66.48     $2.58    0.73%     3,510     1,466     41.8%     0.20%     112.6     139       48.8%     39.6%
 P      TSLA   2019-03-15   $375.00      63      $40.70   $71.10   $56.33     $2.63    0.75%     3,510     1,376     39.2%     0.19%      53.6      64       65.3%     54.7%
 P      TSLA   2019-03-15   $380.00      60      $41.35   $79.10   $54.13     $2.70    0.77%     3,510     1,282     36.5%     0.18%     293.9     300       11.3%     11.1%
 P      TSLA   2019-03-15   $385.00       5      $49.00   $71.80   $66.48     $2.75    0.78%     3,510     1,170     33.3%     0.17%       8.0       8       34.7%     34.7%
 P      TSLA   2019-03-15   $390.00      11      $75.50   $75.50   $75.50     $2.81    0.80%     3,510     1,057     30.1%     0.16%      10.3      18       59.3%     34.0%
 P      TSLA   2019-03-15   $400.00      47      $56.10  $106.00   $81.35     $2.92    0.83%     3,510        917    26.1%     0.12%     123.0     133       21.2%     19.6%
 P      TSLA   2019-03-15   $405.00       6      $77.05   $77.10   $77.09     $2.99    0.85%     3,510        768    21.9%     0.11%       5.8       7       57.5%     47.6%
 P      TSLA   2019-03-15   $410.00       2      $62.91   $81.12   $72.02     $3.12    0.89%     3,510        515    14.7%     0.09%      17.9      18        6.2%      6.2%
 P      TSLA   2019-03-15   $415.00       2      $85.50   $93.49   $89.50     $3.21    0.92%     3,510        393    11.2%     0.10%       0.7       2      158.7%     55.6%
 P      TSLA   2019-03-15   $420.00      18      $64.65   $96.12   $73.84     $3.26    0.93%     3,413        404    11.8%     0.10%      78.1      82       12.8%     12.2%
 P      TSLA   2019-03-15   $430.00      65      $93.25  $102.70   $94.12     $3.39    0.97%     3,510        207     5.9%     0.08%      54.9      65       65.8%     55.6%
 P      TSLA   2019-03-15   $440.00       2      $79.45   $79.45   $79.45     $3.74    1.07%     3,510         30     0.9%     0.06%      21.0      21        5.3%      5.3%
 P      TSLA   2019-03-15   $450.00       2      $86.71   $86.71   $86.71     $3.85    1.10%     3,510         29     0.8%     0.08%      23.4      25        4.7%      4.4%
 P      TSLA   2019-03-15   $460.00       7     $117.73  $127.60  $126.19     $3.93    1.13%     3,510         17     0.5%     0.05%      54.0      54        7.2%      7.2%
 P      TSLA   2019-03-15   $490.00      10     $116.45  $116.45  $116.45     $4.14    1.19%     3,510          2     0.1%     0.05%       9.0      10       61.7%     55.6%
 P      TSLA   2019-03-15   $510.00       4     $137.20  $137.20  $137.20     $4.27    1.22%     3,510          0     0.0%         ---     3.6       4       61.7%     55.6%
 P      TSLA   2019-03-15   $530.00      10     $151.70  $151.70  $151.70     $4.43    1.27%     3,510          0     0.0%         ---     9.0      10       61.7%     55.6%
 P      TSLA   2019-03-15   $570.00       1     $197.50  $197.50  $197.50     $4.57    1.31%     3,510          0     0.0%         ---     0.9       1       61.7%     55.6%
 P      TSLA   2019-03-15   $650.00     100     $293.80  $314.40  $309.43     $5.10    1.46%     3,510          0     0.0%         ---    84.0     100       66.1%     55.6%
 P      TSLA   2019-03-15   $670.00       1     $334.85  $334.85  $334.85     $5.20    1.49%     3,510          0     0.0%         ---     0.2       1      277.8%     55.6%
 P      TSLA   2019-03-15   $680.00       1     $344.85  $344.85  $344.85     $5.21    1.49%     3,510          0     0.0%         ---     0.2       1      277.8%     55.6%
 P      TSLA   2019-06-21    $20.00     333       $0.50    $1.00     $0.74    $1.08    0.30%     3,509          0     0.0%         ---   101.7     142      181.9%    130.3%
 P      TSLA   2019-06-21    $25.00      38       $0.73    $1.25     $0.98    $1.52    0.43%     3,510          0     0.0%         ---   139.0     143       15.2%     14.8%
 P      TSLA   2019-06-21    $30.00       3       $1.05    $1.20     $1.14    $2.16    0.62%     3,510          0     0.0%         ---    19.6      22        8.5%      7.6%
 P      TSLA   2019-06-21    $50.00   2,752       $1.00    $3.00     $1.96    $0.47    0.13%     3,413        191     5.6%     0.07% 10,738.3   10,816       14.2%     14.1%
 P      TSLA   2019-06-21    $55.00      66       $1.80    $2.70     $2.25    $3.21    0.91%     3,510          9     0.3%     0.05%      69.4      82       52.8%     44.7%
 P      TSLA   2019-06-21    $60.00      23       $1.49    $3.76     $2.61    $3.16    0.89%     3,510         75     2.1%     0.04%      76.3      85       16.7%     15.0%
 P      TSLA   2019-06-21    $65.00       3       $1.67    $3.84     $2.58    $3.28    0.93%     3,510        208     5.9%     0.06%       4.7       5       35.5%     33.3%
 P      TSLA   2019-06-21    $70.00       1       $3.91    $3.91     $3.91    $3.06    0.86%     3,510        802    22.8%     0.08%     206.0     206        0.3%      0.3%
 P      TSLA   2019-06-21    $75.00      10       $3.95    $4.40     $4.18    $3.08    0.87%     3,510     1,176     33.5%     0.09%     116.0     125        4.8%      4.4%



                                                                                                                                                                          p. 57 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]        [17]      [18]
                                                                                                                                                         Weekly    Weekly
                                                                 Volume-             Average                              Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of     % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call  Put Call  as % of   Open    Open         Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest      Interest  Interest
 P      TSLA   2019-06-21    $80.00     147       $3.00    $5.50     $3.90    $2.78    0.78%     3,412     1,615    47.3%     0.12%    165.2      238       49.4%     34.3%
 P      TSLA   2019-06-21    $85.00       2       $3.85    $3.85     $3.85    $2.98    0.84%     3,510     1,678    47.8%     0.15%    113.2      115        1.0%      1.0%
 P      TSLA   2019-06-21    $90.00      46       $2.00    $5.94     $4.45    $2.85    0.80%     3,509     1,971    56.2%     0.18%     79.9       84       32.0%     30.4%
 P      TSLA   2019-06-21    $95.00     550       $4.80    $6.30     $5.63    $2.87    0.81%     3,510     1,987    56.6%     0.21%    233.4      520      130.9%     58.8%
 P      TSLA   2019-06-21   $100.00   1,678       $2.33    $7.70     $5.40    $1.02    0.29%     3,413     3,195    93.6%     0.32%  5,557.8    6,080       16.8%     15.3%
 P      TSLA   2019-06-21   $110.00       1       $5.85    $5.85     $5.85    $2.79    0.79%     3,509     2,030    57.9%     0.25%    126.9      127        0.4%      0.4%
 P      TSLA   2019-06-21   $120.00      46       $4.20    $9.40     $6.34    $2.26    0.64%     3,510     2,186    62.3%     0.27%    193.7      206       13.2%     12.4%
 P      TSLA   2019-06-21   $130.00      48       $5.50   $11.00     $8.44    $1.95    0.55%     3,412     2,465    72.2%     0.25%    105.9      124       25.2%     21.5%
 P      TSLA   2019-06-21   $140.00   1,036       $7.30   $12.40     $8.85    $1.89    0.53%     3,510     2,241    63.8%     0.32%  3,199.6    3,439       18.0%     16.7%
 P      TSLA   2019-06-21   $145.00     326       $7.30   $12.95   $11.31     $2.50    0.70%     3,510     2,176    62.0%     0.31%     80.5      220      225.0%     82.3%
 P      TSLA   2019-06-21   $150.00     522       $6.00   $13.75     $9.32    $2.26    0.64%     3,510     2,813    80.1%     0.34%    744.2      782       39.0%     37.1%
 P      TSLA   2019-06-21   $155.00      77       $5.40   $13.80   $12.99     $2.81    0.79%     3,510     2,344    66.8%     0.32%     43.9       73       97.4%     58.6%
 P      TSLA   2019-06-21   $160.00      33       $7.40   $14.85   $12.04     $2.82    0.79%     3,510     2,354    67.1%     0.35%     29.2       41       62.8%     44.7%
 P      TSLA   2019-06-21   $165.00       3       $7.00   $12.10     $8.72    $2.77    0.78%     3,510     2,441    69.5%     0.35%     15.6       16       10.7%     10.4%
 P      TSLA   2019-06-21   $170.00      24      $10.71   $16.25   $12.85     $2.63    0.74%     3,510     2,492    71.0%     0.38%     78.2       80       17.1%     16.7%
 P      TSLA   2019-06-21   $175.00     285       $8.00   $17.05   $10.27     $2.49    0.70%     3,510     2,574    73.3%     0.40%    485.1      498       32.6%     31.8%
 P      TSLA   2019-06-21   $180.00      22       $8.00   $18.50   $12.65     $2.70    0.76%     3,510     2,486    70.8%     0.39%    130.9      135        9.3%      9.1%
 P      TSLA   2019-06-21   $185.00      32      $10.40   $19.11   $15.06     $2.75    0.77%     3,510     2,439    69.5%     0.39%     15.4       34      115.4%     52.3%
 P      TSLA   2019-06-21   $190.00      76       $9.61   $21.29   $14.38     $2.74    0.77%     3,510     2,469    70.3%     0.38%     68.5       81       61.6%     52.1%
 P      TSLA   2019-06-21   $195.00      10       $9.47   $21.63   $16.03     $2.80    0.79%     3,510     2,532    72.1%     0.39%     19.2       21       28.9%     26.5%
 P      TSLA   2019-06-21   $200.00     927       $8.00   $23.75   $13.22     $1.70    0.48%     3,510     3,089    88.0%     0.41%  2,404.1    2,520       21.4%     20.4%
 P      TSLA   2019-06-21   $205.00       6      $16.70   $23.45   $21.08     $2.65    0.75%     3,510     2,637    75.1%     0.39%     44.4       46        7.5%      7.2%
 P      TSLA   2019-06-21   $210.00      73      $11.48   $24.45   $23.61     $2.60    0.73%     3,510     2,708    77.2%     0.39%     40.5       99      100.1%     41.0%
 P      TSLA   2019-06-21   $215.00     125      $14.06   $26.60   $20.87     $2.61    0.73%     3,510     2,629    74.9%     0.39%    113.8      145       61.0%     47.9%
 P      TSLA   2019-06-21   $220.00      14      $10.05   $27.01   $17.69     $2.64    0.74%     3,510     2,557    72.8%     0.40%    141.7      142        5.5%      5.5%
 P      TSLA   2019-06-21   $225.00      78      $19.53   $27.75   $27.40     $2.68    0.75%     3,510     2,590    73.8%     0.39%    884.6      899        4.9%      4.8%
 P      TSLA   2019-06-21   $230.00     110      $16.10   $29.65   $24.64     $2.58    0.73%     3,510     2,610    74.4%     0.39%    486.7      551       12.6%     11.1%
 P      TSLA   2019-06-21   $235.00       3      $22.43   $32.75   $29.31     $2.66    0.75%     3,510     2,548    72.6%     0.40%    209.7      210        0.8%      0.8%
 P      TSLA   2019-06-21   $240.00      28       $5.50   $33.55   $19.52     $2.49    0.70%     3,413     2,483    72.8%     0.40%  1,356.7    1,360        1.1%      1.1%
 P      TSLA   2019-06-21   $245.00      43      $23.00   $34.70   $26.26     $2.69    0.76%     3,510     2,453    69.9%     0.40%    103.7      119       23.0%     20.1%
 P      TSLA   2019-06-21   $250.00   2,063      $14.00   $38.00   $27.15     $1.69    0.48%     3,413     3,043    89.2%     0.49%  3,796.6    4,189       30.2%     27.4%
 P      TSLA   2019-06-21   $255.00      93      $16.00   $38.36   $28.36     $2.70    0.76%     3,510     2,441    69.5%     0.40%    156.2      169       33.1%     30.6%
 P      TSLA   2019-06-21   $260.00      77      $18.74   $39.50   $33.99     $2.70    0.76%     3,510     2,333    66.5%     0.40%    499.3      540        8.6%      7.9%
 P      TSLA   2019-06-21   $265.00      50      $19.20   $31.50   $20.35     $2.63    0.74%     3,510     2,426    69.1%     0.39%    391.8      393        7.1%      7.1%
 P      TSLA   2019-06-21   $270.00     362      $18.00   $43.71   $33.72     $2.56    0.73%     3,509     2,399    68.4%     0.39%  1,105.3    1,208       18.2%     16.6%
 P      TSLA   2019-06-21   $275.00      45      $20.00   $44.90   $31.41     $2.73    0.77%     3,510     2,290    65.2%     0.39%    759.6      771        3.3%      3.2%
 P      TSLA   2019-06-21   $280.00     469      $21.90   $48.45   $40.49     $2.68    0.75%     3,510     2,326    66.3%     0.38%    654.2      741       39.8%     35.2%
 P      TSLA   2019-06-21   $285.00      13      $16.05   $47.71   $26.73     $2.80    0.79%     3,510     2,161    61.6%     0.39%    192.4      194        3.8%      3.7%
 P      TSLA   2019-06-21   $290.00     129      $22.00   $51.64   $26.50     $2.75    0.78%     3,510     2,204    62.8%     0.38%  1,114.2    1,121        6.4%      6.4%



                                                                                                                                                                         p. 58 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]         [17]      [18]
                                                                                                                                                          Weekly    Weekly
                                                                 Volume-             Average                               Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest       Interest  Interest
 P      TSLA   2019-06-21   $295.00      52      $22.00   $50.00   $35.17     $2.84    0.80%     3,510     2,106     60.0%     0.37%     426.7     429        6.8%      6.7%
 P      TSLA   2019-06-21   $300.00   1,103      $25.70   $57.00   $37.31     $2.63    0.75%     3,510     2,327     66.3%     0.35%   1,139.8   1,349       53.8%     45.4%
 P      TSLA   2019-06-21   $305.00       3      $28.41   $39.50   $35.80     $2.89    0.82%     3,510     2,088     59.5%     0.35%      31.8      33        5.2%      5.1%
 P      TSLA   2019-06-21   $310.00      14      $29.71   $57.65   $44.64     $2.87    0.81%     3,510     2,072     59.0%     0.34%      52.7      56       14.8%     13.9%
 P      TSLA   2019-06-21   $315.00      10      $30.83   $57.00   $37.89     $2.93    0.83%     3,510     2,020     57.5%     0.34%      86.4      87        6.4%      6.4%
 P      TSLA   2019-06-21   $320.00     123      $30.00   $64.50   $44.59     $2.83    0.80%     3,510     2,069     58.9%     0.32%     253.8     277       26.9%     24.7%
 P      TSLA   2019-06-21   $325.00      17      $25.70   $68.00   $42.35     $2.95    0.83%     3,510     2,029     57.8%     0.31%     104.2     105        9.1%      9.0%
 P      TSLA   2019-06-21   $330.00      87      $31.30   $70.00   $53.01     $2.94    0.83%     3,510     1,950     55.6%     0.30%     205.8     235       23.5%     20.6%
 P      TSLA   2019-06-21   $335.00       6      $50.00   $55.48   $54.57     $2.98    0.84%     3,510     1,931     55.0%     0.29%     224.1     228        1.5%      1.5%
 P      TSLA   2019-06-21   $340.00      89      $34.75   $74.30   $42.48     $3.02    0.86%     3,509     1,790     51.0%     0.28%      58.3      67       84.8%     73.8%
 P      TSLA   2019-06-21   $345.00       7      $44.00   $70.43   $59.54     $3.02    0.85%     3,509     1,782     50.8%     0.26%      40.6      41        9.6%      9.5%
 P      TSLA   2019-06-21   $350.00   1,346      $34.00   $83.11   $58.39     $3.07    0.87%     3,413     1,746     51.2%     0.25%     936.9   1,457       79.8%     51.3%
 P      TSLA   2019-06-21   $355.00      44      $55.73   $75.97   $63.01     $3.44    0.97%     3,510     1,666     47.5%     0.24%      36.6      53       66.8%     46.1%
 P      TSLA   2019-06-21   $360.00      93      $43.00   $79.00   $59.61     $3.48    0.98%     3,510     1,570     44.7%     0.22%     135.6     149       38.1%     34.7%
 P      TSLA   2019-06-21   $365.00      34      $47.00   $67.00   $56.94     $3.52    0.99%     3,510     1,490     42.5%     0.21%      19.8      26       95.4%     72.6%
 P      TSLA   2019-06-21   $370.00      22      $47.75   $71.00   $55.04     $3.52    0.99%     3,510     1,442     41.1%     0.19%     114.3     119       10.7%     10.3%
 P      TSLA   2019-06-21   $375.00      15      $51.40   $97.72   $59.65     $3.21    0.91%     3,510     1,315     37.5%     0.18%       9.8      10       85.0%     83.3%
 P      TSLA   2019-06-21   $380.00      87      $51.60   $73.86   $69.47     $3.62    1.02%     3,510     1,182     33.7%     0.17%      77.9      90       62.0%     53.7%
 P      TSLA   2019-06-21   $390.00       1      $83.63   $83.63   $83.63     $3.77    1.07%     3,510        913    26.0%     0.14%      14.8      15        3.8%      3.7%
 P      TSLA   2019-06-21   $395.00      32      $59.00   $85.87   $82.90     $3.82    1.08%     3,510        801    22.8%     0.13%      27.2      32       65.4%     55.6%
 P      TSLA   2019-06-21   $400.00     293      $64.20  $115.30   $77.54     $3.89    1.10%     3,510        751    21.4%     0.12%     161.6     243      100.7%     67.0%
 P      TSLA   2019-06-21   $410.00     147      $70.00  $118.30   $94.02     $4.01    1.14%     3,509        471    13.4%     0.10%      53.2     128      153.5%     63.8%
 P      TSLA   2019-06-21   $420.00     201      $72.40  $128.00   $98.82     $4.07    1.16%     3,510        326     9.3%     0.10%      94.4     153      118.3%     73.0%
 P      TSLA   2019-06-21   $430.00     207      $84.85  $110.22  $109.43     $3.74    1.07%     3,509        140     4.0%     0.08%     111.5     235      103.1%     48.9%
 P      TSLA   2019-06-21   $440.00     602     $108.00  $144.15  $117.67     $4.27    1.22%     3,509         49     1.4%     0.07%     348.0     768       96.1%     43.5%
 P      TSLA   2019-06-21   $450.00     629      $92.52  $125.59  $124.20     $4.76    1.35%     3,510         13     0.4%     0.08%     205.2     629      170.3%     55.6%
 P      TSLA   2019-06-21   $460.00     204     $104.45  $133.77  $133.36     $4.91    1.39%     3,510          0     0.0%         ---   114.6     247       98.9%     45.9%
 P      TSLA   2019-06-21   $480.00       5     $120.90  $120.90  $120.90     $5.09    1.45%     3,510          0     0.0%         ---    10.0      11       27.8%     25.3%
 P      TSLA   2019-06-21   $500.00       6     $132.00  $195.90  $155.02     $5.25    1.49%     3,412          1     0.0%     0.04%       7.9      10       42.2%     33.3%
 P      TSLA   2019-08-16    $20.00     361       $0.55    $1.15     $0.90    $0.84    0.23%     3,510          0     0.0%         ---   110.9     226      180.8%     88.7%
 P      TSLA   2019-08-16    $25.00      12       $1.19    $1.31     $1.26    $2.23    0.63%     3,508          0     0.0%         ---     4.2       6      158.7%    111.1%
 P      TSLA   2019-08-16    $30.00       7       $0.90    $1.75     $1.14    $2.37    0.68%     3,510          0     0.0%         ---    11.3      13       34.4%     29.9%
 P      TSLA   2019-08-16    $50.00     687       $1.25    $3.50     $2.55    $1.03    0.29%     3,510        527    15.0%     0.08%   1,184.8   1,334       32.2%     28.6%
 P      TSLA   2019-08-16    $55.00      12       $2.35    $2.90     $2.68    $2.14    0.61%     3,510        752    21.4%     0.08%      43.0      45       15.5%     14.8%
 P      TSLA   2019-08-16    $60.00      12       $2.30    $2.90     $2.80    $3.57    1.02%     3,510         88     2.5%     0.05%      98.0     102        6.8%      6.5%
 P      TSLA   2019-08-16    $70.00       1       $2.50    $2.50     $2.50    $3.54    1.01%     3,510        843    24.0%     0.10%     929.0     929        0.1%      0.1%
 P      TSLA   2019-08-16    $80.00       1       $3.57    $3.57     $3.57    $3.58    1.02%     3,510     1,535     43.7%     0.12%      50.0      50        1.1%      1.1%
 P      TSLA   2019-08-16    $85.00       1       $3.74    $3.74     $3.74    $3.75    1.07%     3,510     1,568     44.7%     0.15%       4.8       5       11.6%     11.1%
 P      TSLA   2019-08-16    $90.00       5       $5.00    $7.00     $6.20    $3.75    1.07%     3,510     1,746     49.7%     0.18%      59.1      61        4.7%      4.6%



                                                                                                                                                                          p. 59 of 64
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                                              Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]        [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]        [17]      [18]
                                                                                                                                                        Weekly    Weekly
                                                                Volume-             Average                              Average                       Volume to Volume to
                                             Minimum Maximum Weighted              Spread as            # of     % of    Violation Average Maximum      Average Maximum
Call/                                         Traded   Traded Average Average $      % of    Put Call Put Call  Put Call  as % of   Open    Open         Open      Open
Put     Root   Expiration   Strike Volume      Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest      Interest  Interest
 P      TSLA   2019-08-16    $95.00     30       $5.95    $7.05     $6.68    $3.74    1.06%     3,510     1,898    54.1%     0.18%     87.4      111       19.1%     15.0%
 P      TSLA   2019-08-16   $100.00    111       $5.00    $8.75     $5.99    $2.45    0.70%     3,510     2,752    78.4%     0.30%    859.1      879        7.2%      7.0%
 P      TSLA   2019-08-16   $115.00      8       $4.80    $8.08     $7.54    $3.70    1.05%     3,510     2,526    72.0%     0.21%     14.6       16       30.4%     27.8%
 P      TSLA   2019-08-16   $120.00     62       $8.00   $10.50     $8.18    $3.72    1.06%     3,510     2,590    73.8%     0.23%    232.0      264       14.8%     13.0%
 P      TSLA   2019-08-16   $125.00      2      $11.80   $11.80   $11.80     $3.76    1.07%     3,510     2,647    75.4%     0.23%     39.2       41        2.8%      2.7%
 P      TSLA   2019-08-16   $130.00     80       $8.25    $8.25     $8.25    $3.55    1.01%     3,510     2,675    76.2%     0.25%     92.0      116       48.3%     38.3%
 P      TSLA   2019-08-16   $135.00     10      $10.00   $10.27   $10.24     $3.66    1.04%     3,510     2,682    76.4%     0.25%     42.5       43       13.1%     12.9%
 P      TSLA   2019-08-16   $140.00      9      $10.25   $10.89   $10.49     $3.64    1.03%     3,510     2,718    77.4%     0.26%     54.4       58        9.2%      8.6%
 P      TSLA   2019-08-16   $145.00      3      $10.25   $11.00   $10.58     $3.66    1.04%     3,510     2,733    77.9%     0.27%     56.4       57        3.0%      2.9%
 P      TSLA   2019-08-16   $150.00    195       $7.00   $16.00   $11.18     $3.05    0.87%     3,412     2,976    87.2%     0.29%    347.2      372       31.2%     29.1%
 P      TSLA   2019-08-16   $155.00      2      $12.00   $12.50   $12.25     $3.59    1.02%     3,510     2,729    77.7%     0.29%      4.4        5       25.3%     22.2%
 P      TSLA   2019-08-16   $160.00      2      $10.00   $13.00   $11.50     $3.51    1.00%     3,510     2,797    79.7%     0.31%     30.5       31        3.6%      3.6%
 P      TSLA   2019-08-16   $165.00      2       $7.81   $10.00     $8.91    $3.68    1.05%     3,510     2,765    78.8%     0.31%      8.0        8       13.9%     13.9%
 P      TSLA   2019-08-16   $170.00     10       $8.50   $19.20   $13.81     $3.47    0.99%     3,509     2,936    83.7%     0.33%     17.7       18       31.4%     30.9%
 P      TSLA   2019-08-16   $175.00     14       $9.50   $14.56   $10.37     $3.69    1.05%     3,510     2,810    80.1%     0.33%    144.4      146        5.4%      5.3%
 P      TSLA   2019-08-16   $180.00      2       $8.95   $13.00   $10.98     $3.66    1.04%     3,510     2,789    79.5%     0.34%    175.9      176        0.6%      0.6%
 P      TSLA   2019-08-16   $185.00      1      $11.74   $11.74   $11.74     $3.69    1.05%     3,510     2,779    79.2%     0.34%     53.1       54        1.0%      1.0%
 P      TSLA   2019-08-16   $190.00     10      $18.00   $23.10   $20.55     $3.57    1.01%     3,510     2,770    78.9%     0.35%     58.3       61        9.5%      9.1%
 P      TSLA   2019-08-16   $195.00      1      $14.00   $14.00   $14.00     $3.56    1.01%     3,510     2,821    80.4%     0.35%      5.0        5       11.1%     11.1%
 P      TSLA   2019-08-16   $200.00    353      $12.30   $26.06   $14.97     $2.99    0.85%     3,510     2,982    85.0%     0.46%  4,668.8    4,677        4.2%      4.2%
 P      TSLA   2019-08-16   $205.00      2       $7.00   $21.40   $14.20     $3.64    1.03%     3,510     2,776    79.1%     0.35%     57.9       58        1.9%      1.9%
 P      TSLA   2019-08-16   $210.00      1      $21.11   $21.11   $21.11     $3.59    1.02%     3,510     2,787    79.4%     0.36%     11.0       11        5.1%      5.1%
 P      TSLA   2019-08-16   $220.00      4      $21.00   $24.71   $22.49     $3.60    1.02%     3,510     2,753    78.4%     0.35%     14.0       15       15.9%     14.8%
 P      TSLA   2019-08-16   $225.00     36      $18.00   $30.00   $22.56     $3.55    1.01%     3,510     2,755    78.5%     0.33%     55.6       61       36.0%     32.8%
 P      TSLA   2019-08-16   $230.00     12      $18.75   $25.29   $24.47     $3.61    1.03%     3,510     2,731    77.8%     0.33%     21.6       22       30.9%     30.3%
 P      TSLA   2019-08-16   $235.00      2      $16.97   $18.50   $17.74     $3.61    1.03%     3,510     2,717    77.4%     0.32%     11.2       12        9.9%      9.3%
 P      TSLA   2019-08-16   $240.00      5      $10.65   $22.00   $15.77     $3.62    1.03%     3,510     2,678    76.3%     0.32%    100.8      101        2.8%      2.8%
 P      TSLA   2019-08-16   $245.00     30      $22.00   $37.63   $34.34     $3.59    1.02%     3,510     2,659    75.8%     0.31%    114.7      137       14.5%     12.2%
 P      TSLA   2019-08-16   $250.00    187      $19.05   $40.52   $30.98     $3.46    0.98%     3,510     2,745    78.2%     0.32%    141.0      173       73.7%     60.1%
 P      TSLA   2019-08-16   $255.00     62      $19.65   $40.88   $27.12     $3.58    1.02%     3,510     2,621    74.7%     0.30%     90.2      100       38.2%     34.4%
 P      TSLA   2019-08-16   $260.00      6      $19.70   $39.00   $24.26     $3.57    1.02%     3,510     2,572    73.3%     0.29%     11.4       12       29.2%     27.8%
 P      TSLA   2019-08-16   $265.00     32      $22.20   $35.00   $33.46     $3.53    1.00%     3,510     2,515    71.7%     0.28%    110.6      112       16.1%     15.9%
 P      TSLA   2019-08-16   $270.00      2      $20.40   $23.06   $21.73     $3.60    1.02%     3,510     2,507    71.4%     0.27%     41.8       42        2.7%      2.6%
 P      TSLA   2019-08-16   $275.00     41      $23.90   $32.51   $24.64     $3.64    1.04%     3,510     2,416    68.8%     0.26%     87.3       95       26.1%     24.0%
 P      TSLA   2019-08-16   $280.00      4      $23.00   $35.91   $29.94     $3.66    1.04%     3,510     2,294    65.4%     0.26%     53.4       54        4.2%      4.1%
 P      TSLA   2019-08-16   $285.00      1      $26.54   $26.54   $26.54     $3.68    1.05%     3,510     2,235    63.7%     0.26%     83.0       83        0.7%      0.7%
 P      TSLA   2019-08-16   $290.00      5      $27.69   $53.67   $40.74     $3.69    1.05%     3,411     2,150    63.0%     0.25%    217.6      218        1.3%      1.3%
 P      TSLA   2019-08-16   $295.00      4      $27.00   $42.32   $32.10     $3.67    1.05%     3,510     2,036    58.0%     0.24%     18.8       19       11.8%     11.7%
 P      TSLA   2019-08-16   $300.00    166      $28.00   $61.00   $45.96     $3.64    1.04%     3,413     1,948    57.1%     0.24%    208.3      244       44.3%     37.8%



                                                                                                                                                                        p. 60 of 64
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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]     [16]         [17]      [18]
                                                                                                                                                           Weekly    Weekly
                                                                 Volume-             Average                               Average                        Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum       Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open     Open        Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest        Interest  Interest
 P      TSLA   2019-08-16   $305.00       5      $31.38   $62.90   $55.12     $3.71    1.06%     3,509     1,843     52.5%     0.24%        5.0       7       55.6%     39.7%
 P      TSLA   2019-08-16   $310.00     167      $29.99   $63.80   $39.08     $3.66    1.04%     3,510     1,764     50.3%     0.25%      378.2     414       24.5%     22.4%
 P      TSLA   2019-08-16   $315.00       1      $34.20   $34.20   $34.20     $3.69    1.05%     3,510     1,732     49.3%     0.24%       37.8      38        1.5%      1.5%
 P      TSLA   2019-08-16   $320.00      11      $32.00   $52.00   $34.34     $3.71    1.05%     3,510     1,573     44.8%     0.25%       39.8      41       15.4%     14.9%
 P      TSLA   2019-08-16   $325.00      14      $35.00   $70.00   $46.04     $3.69    1.05%     3,510     1,555     44.3%     0.23%       14.6      17       53.3%     45.8%
 P      TSLA   2019-08-16   $330.00       8      $35.00   $61.50   $50.84     $3.45    0.98%     3,413     1,444     42.3%     0.24%       43.6      44       10.2%     10.1%
 P      TSLA   2019-08-16   $335.00       2      $51.20   $60.00   $55.60     $3.69    1.05%     3,510     1,490     42.5%     0.21%        2.3       3       48.3%     37.0%
 P      TSLA   2019-08-16   $340.00      79      $41.00   $78.00   $59.93     $3.64    1.04%     3,509     1,405     40.0%     0.23%       50.3      71       87.3%     61.8%
 P      TSLA   2019-08-16   $345.00      25      $42.00   $63.00   $61.60     $3.73    1.06%     3,510     1,307     37.2%     0.19%       38.1      39       36.5%     35.6%
 P      TSLA   2019-08-16   $350.00      45      $42.25   $65.00   $48.33     $3.99    1.13%     3,510     1,252     35.7%     0.18%       76.5      86       32.7%     29.1%
 P      TSLA   2019-08-16   $355.00       2      $45.00   $68.50   $56.75     $4.00    1.14%     3,510     1,169     33.3%     0.17%      167.7     168        0.7%      0.7%
 P      TSLA   2019-08-16   $360.00      24      $51.65   $88.25   $69.22     $4.07    1.16%     3,510     1,098     31.3%     0.17%       25.7      29       51.9%     46.0%
 P      TSLA   2019-08-16   $365.00      40      $52.35   $72.58   $70.14     $4.11    1.17%     3,509        960    27.4%     0.14%       26.6      40       83.5%     55.6%
 P      TSLA   2019-08-16   $370.00      68      $51.65   $74.70   $62.58     $4.06    1.15%     3,510        856    24.4%     0.13%      135.2     153       27.9%     24.7%
 P      TSLA   2019-08-16   $375.00       8      $59.43   $92.00   $73.21     $4.14    1.18%     3,510        701    20.0%     0.12%       16.2      20       27.4%     22.2%
 P      TSLA   2019-08-16   $380.00     409      $55.00   $82.46   $74.78     $4.15    1.18%     3,510        575    16.4%     0.19%      134.6     204      168.8%    111.4%
 P      TSLA   2019-08-16   $385.00       2      $61.65   $61.65   $61.65     $4.19    1.19%     3,510        445    12.7%     0.11%       13.6      14        8.2%      7.9%
 P      TSLA   2019-08-16   $395.00       2      $67.36   $83.44   $75.40     $4.28    1.22%     3,510        271     7.7%     0.09%       11.1      12       10.0%      9.3%
 P      TSLA   2019-08-16   $400.00      15      $67.00   $85.50   $68.92     $4.31    1.23%     3,510        197     5.6%     0.10%       53.6      54       15.5%     15.4%
 P      TSLA   2019-08-16   $410.00       1     $100.98  $100.98  $100.98     $4.41    1.25%     3,510         74     2.1%     0.08%       55.3      56        1.0%      1.0%
 P      TSLA   2019-08-16   $420.00     131      $93.50  $107.68  $103.47     $4.75    1.35%     3,510        268     7.6%     0.12%       48.4     105      150.4%     69.3%
 P      TSLA   2019-08-16   $450.00      12     $100.00  $155.00  $109.17     $5.00    1.42%     3,510          1     0.0%     0.06%       43.2      46       15.4%     14.5%
 P      TSLA   2019-08-16   $500.00       8     $153.33  $158.65  $157.53     $5.40    1.54%     3,412          0     0.0%         ---     53.5      57        8.3%      7.8%
 P      TSLA   2020-01-17    $10.00   2,238       $0.24    $0.60     $0.42    $0.34    0.09%     3,509          0     0.0%         ---  2,957.3   3,797       42.0%     32.7%
 P      TSLA   2020-01-17    $15.00     665       $0.32    $0.90     $0.64    $0.48    0.13%     3,510          0     0.0%         ---    174.3     230      212.0%    160.6%
 P      TSLA   2020-01-17    $20.00   4,095       $0.31    $1.27     $0.98    $0.11    0.03%     3,510          0     0.0%         --- 14,016.6  14,635       16.2%     15.5%
 P      TSLA   2020-01-17    $25.00     610       $0.90    $1.84     $1.30    $0.45    0.13%     3,413          0     0.0%         ---    746.5     883       45.4%     38.4%
 P      TSLA   2020-01-17    $30.00     848       $0.30    $2.00     $1.42    $0.40    0.12%     3,510          1     0.0%     0.21%    3,985.2   4,123       11.8%     11.4%
 P      TSLA   2020-01-17    $35.00     252       $1.13    $2.51     $1.86    $1.64    0.47%     3,510          5     0.1%     0.04%      292.2     415       47.9%     33.7%
 P      TSLA   2020-01-17    $40.00      69       $1.50    $2.29     $2.18    $1.90    0.55%     3,413         70     2.1%     0.05%      461.0     488        8.3%      7.9%
 P      TSLA   2020-01-17    $45.00     496       $2.00    $3.07     $2.41    $0.95    0.27%     3,510        886    25.2%     0.09%    1,209.6   1,291       22.8%     21.3%
 P      TSLA   2020-01-17    $50.00 10,053        $2.00    $3.87     $2.80    $0.27    0.08%     3,510     2,552     72.7%     0.12% 24,634.2    25,590       22.7%     21.8%
 P      TSLA   2020-01-17    $55.00     143       $2.15    $3.92     $3.09    $2.11    0.60%     3,412     1,652     48.4%     0.18%      339.1     384       23.4%     20.7%
 P      TSLA   2020-01-17    $60.00      54       $2.65    $4.00     $3.02    $2.96    0.84%     3,508     1,395     39.8%     0.27%      242.0     242       12.4%     12.4%
 P      TSLA   2020-01-17    $65.00       2       $4.50    $4.60     $4.55    $3.95    1.12%     3,510        926    26.4%     0.38%       37.3      38        3.0%      2.9%
 P      TSLA   2020-01-17    $70.00      36       $3.63    $5.74     $4.46    $1.92    0.55%     3,413     2,455     71.9%     0.42%    3,795.6   3,798        0.5%      0.5%
 P      TSLA   2020-01-17    $75.00     186       $4.20    $6.50     $4.84    $2.46    0.70%     3,510     2,359     67.2%     0.39%    1,186.5   1,223        8.7%      8.4%
 P      TSLA   2020-01-17    $80.00      69       $5.00    $7.45     $5.58    $3.68    1.04%     3,509     2,644     75.3%     0.36%      252.2     289       15.2%     13.3%
 P      TSLA   2020-01-17    $85.00      89       $5.05    $8.00     $5.79    $3.44    0.98%     3,509     3,090     88.1%     0.52%    2,485.4   2,491        2.0%      2.0%



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                                               Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]      [3]        [4]     [5]         [6]      [7]       [8]       [9]      [10]      [11]      [12]      [13]       [14]   [15]    [16]        [17]      [18]
                                                                                                                                                         Weekly    Weekly
                                                                 Volume-             Average                              Average                       Volume to Volume to
                                              Minimum Maximum Weighted              Spread as            # of     % of    Violation Average Maximum      Average Maximum
Call/                                          Traded   Traded Average Average $      % of    Put Call Put Call  Put Call  as % of   Open    Open         Open      Open
Put     Root   Expiration   Strike Volume       Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest      Interest  Interest
 P      TSLA   2020-01-17    $90.00     449       $4.65    $8.55     $6.80    $2.04    0.58%     3,510     3,266    93.0%     0.74%  1,372.8    1,592       18.2%     15.7%
 P      TSLA   2020-01-17    $95.00      75       $5.00    $9.40     $6.82    $3.29    0.94%     3,510     3,219    91.7%     0.52%  2,357.0    2,359        1.8%      1.8%
 P      TSLA   2020-01-17   $100.00 14,928        $2.95   $10.65     $7.15    $0.46    0.13%     3,508     3,338    95.2%     0.88% 23,917.1   24,907       34.7%     33.3%
 P      TSLA   2020-01-17   $105.00      41       $5.55   $11.10     $7.01    $3.57    1.02%     3,509     3,229    92.0%     0.55%  1,334.8    1,343        1.7%      1.7%
 P      TSLA   2020-01-17   $110.00      40       $7.48   $12.75     $9.72    $3.81    1.09%     3,508     3,266    93.1%     0.61%    475.9      495        4.7%      4.5%
 P      TSLA   2020-01-17   $115.00       9       $7.10    $9.25     $7.58    $4.14    1.18%     3,510     3,226    91.9%     0.58%    599.6      602        0.8%      0.8%
 P      TSLA   2020-01-17   $120.00      72       $7.00   $13.90     $9.60    $3.44    0.98%     3,509     3,229    92.0%     0.60%  1,292.8    1,298        3.1%      3.1%
 P      TSLA   2020-01-17   $125.00     490       $9.86   $14.50   $10.45     $3.85    1.09%     3,509     3,245    92.5%     0.62%    345.4      479       78.8%     56.8%
 P      TSLA   2020-01-17   $130.00      74       $8.00   $15.75   $11.68     $3.62    1.03%     3,509     3,249    92.6%     0.61%  2,164.3    2,168        1.9%      1.9%
 P      TSLA   2020-01-17   $135.00      16       $7.15   $12.00   $11.31     $4.24    1.21%     3,509     3,226    91.9%     0.60%     56.3       63       15.8%     14.1%
 P      TSLA   2020-01-17   $140.00      43       $5.20   $17.16   $15.02     $3.91    1.12%     3,508     3,249    92.6%     0.62%    239.3      260       10.0%      9.2%
 P      TSLA   2020-01-17   $145.00      93      $10.65   $15.60   $10.75     $4.24    1.21%     3,510     3,249    92.6%     0.60%    404.0      422       12.8%     12.2%
 P      TSLA   2020-01-17   $150.00   1,359       $8.70   $20.20   $13.73     $2.14    0.62%     3,510     3,325    94.7%     0.88%  4,281.7    4,364       17.6%     17.3%
 P      TSLA   2020-01-17   $160.00      82      $10.70   $21.78   $17.63     $4.13    1.17%     3,510     3,262    92.9%     0.68%    594.5      614        7.7%      7.4%
 P      TSLA   2020-01-17   $165.00       5       $9.00   $23.70   $17.31     $3.96    1.13%     3,509     3,255    92.8%     0.61%    894.1      895        0.3%      0.3%
 P      TSLA   2020-01-17   $170.00     266       $9.00   $24.00   $16.86     $3.38    0.96%     3,510     3,258    92.8%     0.64%    836.5      862       17.7%     17.1%
 P      TSLA   2020-01-17   $175.00     527      $12.00   $25.70   $18.92     $2.71    0.77%     3,411     3,277    96.1%     0.75%  2,590.0    2,658       11.3%     11.0%
 P      TSLA   2020-01-17   $180.00     259      $13.00   $26.75   $19.08     $2.72    0.78%     3,510     3,284    93.6%     0.76%    996.4    1,014       14.4%     14.2%
 P      TSLA   2020-01-17   $185.00      14      $13.40   $20.10   $18.70     $3.26    0.93%     3,509     3,254    92.7%     0.60%    265.2      266        2.9%      2.9%
 P      TSLA   2020-01-17   $190.00     100      $14.90   $29.75   $21.13     $3.10    0.88%     3,509     3,253    92.7%     0.69%  1,118.6    1,141        5.0%      4.9%
 P      TSLA   2020-01-17   $195.00      53      $17.31   $28.89   $25.39     $3.72    1.05%     3,509     3,257    92.8%     0.62%    851.5      890        3.5%      3.3%
 P      TSLA   2020-01-17   $200.00   4,054      $10.65   $32.00   $23.37     $1.46    0.42%     3,510     3,336    95.0%     0.93% 12,590.8   13,161       17.9%     17.1%
 P      TSLA   2020-01-17   $210.00     532      $16.35   $34.75   $24.14     $2.75    0.79%     3,509     3,267    93.1%     0.60%  2,140.8    2,209       13.8%     13.4%
 P      TSLA   2020-01-17   $220.00     167      $11.80   $36.40   $22.24     $4.00    1.14%     3,510     3,253    92.7%     0.52%  1,908.2    1,917        4.9%      4.8%
 P      TSLA   2020-01-17   $230.00     153      $15.00   $41.00   $23.42     $3.57    1.02%     3,510     3,222    91.8%     0.59%  2,363.8    2,371        3.6%      3.6%
 P      TSLA   2020-01-17   $240.00     419      $21.90   $44.30   $29.52     $3.07    0.88%     3,510     3,258    92.8%     0.60%  1,259.5    1,348       18.5%     17.3%
 P      TSLA   2020-01-17   $250.00   2,470      $17.00   $47.29   $31.75     $2.72    0.78%     3,508     3,270    93.2%     0.61%  6,080.4    6,226       22.6%     22.0%
 P      TSLA   2020-01-17   $255.00     186      $26.50   $48.50   $34.42     $3.72    1.06%     3,510     3,154    89.9%     0.44%  1,375.5    1,407        7.5%      7.3%
 P      TSLA   2020-01-17   $260.00   1,269      $26.65   $51.48   $35.07     $3.80    1.09%     3,509     3,069    87.5%     0.40%  1,983.4    2,145       35.5%     32.9%
 P      TSLA   2020-01-17   $265.00     321      $26.62   $53.07   $36.29     $3.92    1.12%     3,510     3,071    87.5%     0.38%    708.7      791       25.2%     22.5%
 P      TSLA   2020-01-17   $270.00     541      $28.60   $54.50   $33.67     $3.78    1.08%     3,509     3,029    86.3%     0.40%  3,409.5    3,530        8.8%      8.5%
 P      TSLA   2020-01-17   $275.00     636      $31.00   $57.05   $45.33     $3.89    1.11%     3,510     3,034    86.4%     0.41%    631.6      948       55.9%     37.3%
 P      TSLA   2020-01-17   $280.00     201      $28.92   $59.75   $39.90     $3.91    1.12%     3,510     2,924    83.3%     0.35%  1,478.2    1,495        7.6%      7.5%
 P      TSLA   2020-01-17   $285.00     102      $28.00   $58.70   $42.43     $3.88    1.11%     3,508     2,844    81.1%     0.33%    439.1      460       12.9%     12.3%
 P      TSLA   2020-01-17   $290.00     909      $26.65   $62.45   $43.94     $3.97    1.13%     3,413     2,737    80.2%     0.31%  1,061.5    1,160       47.6%     43.5%
 P      TSLA   2020-01-17   $295.00     238      $31.10   $65.00   $48.61     $4.03    1.15%     3,509     2,684    76.5%     0.31%    620.5      650       21.3%     20.3%
 P      TSLA   2020-01-17   $300.00   2,901      $30.00   $70.00   $46.99     $3.13    0.89%     3,413     2,934    86.0%     0.43%  5,513.1    5,665       29.2%     28.4%
 P      TSLA   2020-01-17   $305.00      85      $35.00   $70.88   $61.12     $4.42    1.26%     3,508     2,478    70.6%     0.28%    545.7      559        8.7%      8.4%
 P      TSLA   2020-01-17   $310.00      77      $33.70   $74.25   $57.24     $4.60    1.31%     3,510     2,336    66.6%     0.27%    351.3      357       12.2%     12.0%



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                                                   Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]     [2]       [3]         [4]        [5]        [6]        [7]         [8]        [9]        [10]        [11]       [12]        [13]   [14]   [15]   [16]      [17]      [18]
                                                                                                                                                                  Weekly    Weekly
                                                                    Volume-             Average                               Average                            Volume to Volume to
                                                 Minimum Maximum Weighted              Spread as            # of      % of    Violation Average Maximum           Average Maximum
Call/                                             Traded   Traded Average Average $      % of    Put Call Put Call   Put Call  as % of    Open    Open             Open      Open
Put      Root   Expiration   Strike Volume         Price    Price    Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest            Interest  Interest
 P      TSLA    2020-01-17   $315.00      61        $40.00   $74.00   $52.43     $4.61    1.31%     3,508     2,244     64.0%     0.25%     251.1     255            13.5%     13.3%
 P      TSLA    2020-01-17   $320.00     241        $37.14   $78.00   $58.07     $4.64    1.32%     3,510     2,114     60.2%     0.27%     653.0     710            20.5%     18.9%
 P      TSLA    2020-01-17   $325.00     332        $44.00   $81.09   $55.11     $4.04    1.15%     3,411     2,065     60.5%     0.25%     562.7     571            32.8%     32.3%
 P      TSLA    2020-01-17   $330.00     599        $40.00   $82.61   $55.03     $4.41    1.25%     3,510     1,842     52.5%     0.28%   3,975.9   4,020             8.4%      8.3%
 P      TSLA    2020-01-17   $335.00     102        $50.00   $86.00   $64.93     $4.78    1.36%     3,508     1,529     43.6%     0.23%     167.7     220            33.8%     25.8%
 P      TSLA    2020-01-17   $340.00     331        $42.50   $89.45   $57.73     $4.66    1.33%     3,510     1,476     42.1%     0.24%     414.8     456            44.3%     40.3%
 P      TSLA    2020-01-17   $350.00   1,041        $41.75   $95.00   $63.29     $4.42    1.26%     3,510     1,565     44.6%     0.26%   1,129.0   1,239            51.2%     46.7%
 P      TSLA    2020-01-17   $360.00   1,206        $52.60  $101.11   $63.34     $4.57    1.30%     3,508     1,288     36.7%     0.31%   1,042.4   1,237            64.3%     54.2%
 P      TSLA    2020-01-17   $370.00     834        $57.00   $97.96   $66.38     $4.66    1.33%     3,508        800    22.8%     0.21%     689.3     820            67.2%     56.5%
 P      TSLA    2020-01-17   $380.00   2,738        $61.00  $111.03   $79.95     $4.81    1.37%     3,510        599    17.1%     0.21%     878.1   1,199           173.2%    126.9%
 P      TSLA    2020-01-17   $390.00     602        $69.70   $97.00   $75.50     $4.89    1.39%     3,508        345     9.8%     0.17%     485.8     587            68.8%     57.0%
 P      TSLA    2020-01-17   $400.00   1,082        $68.00  $126.50   $91.92     $4.90    1.40%     3,510        981    27.9%     0.23%     846.9   1,334            71.0%     45.1%
 P      TSLA    2020-01-17   $410.00      42        $80.00  $130.23   $98.82     $5.04    1.44%     3,510        416    11.9%     0.14%      77.1      89            30.3%     26.2%
 P      TSLA    2020-01-17   $420.00     406        $82.00  $140.00  $106.53     $5.33    1.52%     3,510     1,424     40.6%     0.29%     368.3     416            61.2%     54.2%
 P      TSLA    2020-01-17   $430.00     250        $90.00  $143.85  $107.24     $5.42    1.54%     3,509        269     7.7%     0.25%     400.3     428            34.7%     32.5%
 P      TSLA    2020-01-17   $440.00      74       $100.60  $128.20  $117.22     $5.50    1.57%     3,413        202     5.9%     0.13%     217.1     227            18.9%     18.1%
 P      TSLA    2020-01-17   $450.00     161       $103.87  $164.00  $120.31     $5.46    1.56%     3,510        256     7.3%     0.14%     310.0     315            28.9%     28.4%
 P      TSLA    2020-01-17   $460.00     158       $112.50  $125.00  $114.50     $5.64    1.61%     3,509          2     0.1%     0.05%     132.4     147            66.3%     59.7%
 P      TSLA    2020-01-17   $470.00      55       $120.75  $152.00  $127.39     $5.70    1.63%     3,510          4     0.1%     0.07%     243.1     244            12.6%     12.5%
 P      TSLA    2020-01-17   $480.00      30       $126.25  $179.01  $132.64     $5.70    1.63%     3,508          0     0.0%         ---    32.6      43            51.1%     38.8%
 P      TSLA    2020-01-17   $490.00       3       $187.57  $187.57  $187.57     $5.76    1.64%     3,510          0     0.0%         ---    43.7      44             3.8%      3.8%
 P      TSLA    2020-01-17   $500.00     134       $137.00  $197.20  $155.33     $5.74    1.64%     3,509         18     0.5%     0.08%     124.8     151            59.7%     49.3%
 P      TSLA    2020-01-17   $530.00      10       $168.50  $168.50  $168.50     $5.91    1.69%     3,413          0     0.0%         ---    14.0      16            39.7%     34.7%
 P      TSLA    2020-01-17   $550.00      12       $184.00  $223.00  $188.56     $5.94    1.70%     3,508          0     0.0%         ---    50.0      52            13.3%     12.8%
 P      TSLA    2020-01-17   $600.00     190       $228.92  $295.00  $244.13     $6.25    1.78%     3,510          0     0.0%         ---   251.8     278            41.9%     38.0%
 P      TSLA    2020-01-17   $660.00      11       $323.00  $323.00  $323.00     $6.24    1.78%     3,510          0     0.0%         ---    16.0      16            38.2%     38.2%
 P      TSLA    2020-01-17   $670.00       3       $299.60  $299.60  $299.60     $6.25    1.78%     3,412          0     0.0%         ---     4.0       4            41.7%     41.7%
 P      TSLA    2020-01-17   $680.00       2       $321.35  $367.50  $344.43     $6.34    1.81%     3,510          0     0.0%         ---    21.6      23             5.1%      4.8%
 P      TSLA    2020-01-17   $690.00      27       $377.00  $377.50  $377.48     $6.35    1.81%     3,510          0     0.0%         ---    13.7      38           109.5%     39.5%
 P      TSLA    2020-01-17   $700.00      88       $324.20  $395.30  $380.79     $5.36    1.54%     3,413          0     0.0%         ---   795.0     828             6.1%      5.9%
 P      TSLA1   2019-01-18    $40.00      11         $4.00    $4.55     $4.50    $1.14    2.97%     3,509          0     0.0%         ---    35.2      36            17.4%     17.0%

Notes:
All option and Tesla (underlying) common stock data based on one-mintue interval data obtained from Cboe DataShop, Option Interval data.
   [1] C for Call; P for Put.
   [2] Option root. For root = TSLA1, underlying Tesla bid and ask prices multiplied by 0.11 where applicable.
   [3] Option expiration date.
   [4] Option strike price.
   [5] Total option contracts traded over Class Period.



                                                                                                                                                                                  p. 63 of 64
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                                                     Appendix G: Class Period Statistics for Tesla Options Traded during the Class Period

 [1]      [2]        [3]         [4]       [5]        [6]         [7]        [8]         [9]        [10]       [11]        [12]        [13]         [14]        [15]       [16]          [17]        [18]
                                                                                                                                                                                       Weekly       Weekly
                                                                                Volume-                Average                                     Average                            Volume to Volume to
                                                       Minimum Maximum Weighted                       Spread as               # of       % of     Violation Average Maximum Average Maximum
Call/                                                   Traded      Traded Average Average $             % of      Put Call Put Call   Put Call    as % of      Open        Open        Open        Open
Put      Root Expiration Strike Volume                    Price      Price        Price    Spread Stock Mid Pairs Violations Violations Stock Mid Interest Interest                    Interest    Interest
  [6]   Minimum traded price over Class Period.
  [7]   Maximum traded price over Class Period.
  [8]   Volume-weighted average traded price over Class Period.
  [9]   Average $ spread over Class Period. For each one-minute interval, $ spread equal to ask minus bid. If ask <= bid, then excluded. See Report for methodology calculating over the Class Period.
 [10]   For each one-minute interval, [9] divided by midpoint of underlying bid and underlying ask per CBOE DataShop data. See Report for methodology calculating over the Class Period.
 [11]   Number of put-call pairs for the option (one-minute intervals). See text of Report for procedure.
 [12]   Number of put-call pairs for which there is a violation of the put-call formula. See text of Report for procedure.
 [13]   = [12] / [11].
 [14]   Average violation as % of Tesla stock quote midpoint for pairs with violations. See text of Report for procedure.
 [15]   Average open interest over Class Period based on beginning of day open interest each day from August 7, 2018 through August 20, 2018.
 [16]   Maximum open interest over Class Period based on beginning of day open interest each day from August 7, 2018 through August 20, 2018.
 [17]   ={ [5] / [15] } * { 5 / # of days that option had bid-ask quotes available }.
 [18]   ={ [5] / [16] } * { 5 / # of days that option had bid-ask quotes available }.




                                                                                                                                                                                                         p. 64 of 64
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                     Pre Tweet                                 8/7 Last          8/16 Last      8/17 First         Price Change           Typical (=0)          Class            Moneyness
       Expiration             Call/                                                                                                                                                                                           Period
Root      Date       Strike   Put    Price    Time      Price    Time      Delta    Gamma       Rho      Theta     Vega    Price    Time      Price   Time   Price    Time   FT      Tweet    NYT   FT      Tweet       NYT   Volume      FT      Tweet     NYT
TSLA   2018-08-10   $210.00    C    135.78 10:31:00                                                                                                                                                                                  2    ---       ---      ---
TSLA   2018-08-10   $260.00    C     84.12 11:08:00                                                                       121.55   15:51:00                                                                                          7    ---       ---      ---
TSLA   2018-08-10   $265.00    C     79.10 11:08:00                                                                                                                                                                                  1    ---       ---      ---
TSLA   2018-08-10   $270.00    C     74.84 10:35:00     84.81   12:30:00   1.0000    0.0000     2.3421   -0.0145   0.0000                                                     9.97                  0                               20   ITM        ---      ---
TSLA   2018-08-10   $280.00    C     63.09 11:14:00     79.43   12:39:00   1.0000    0.0000     2.4240    0.0000   0.0000                                                    16.34                  0                              167   ITM        ---      ---
TSLA   2018-08-10   $285.00    C     61.37 10:26:00     66.00   12:24:00   1.0000    0.0000     2.4754   -0.0153   0.0000 82.40    13:49:00                                   4.63    16.40         0         0                     80   ITM       ITM       ---
TSLA   2018-08-10   $290.00    C                        67.66   12:33:00   1.0000    0.0000     2.5139    0.0000   0.0000                                                                                                            7    ---       ---      ---
TSLA   2018-08-10   $292.50    C     51.15 10:06:00                                                                                                                                                                                 15    ---       ---      ---
TSLA   2018-08-10   $295.00    C     46.17 11:31:00     59.46   12:30:00   1.0000    0.0000     2.5589   -0.0158   0.0000 74.29    14:07:00                                  13.29    14.83         0         0                     51   ITM       ITM       ---
TSLA   2018-08-10   $297.50    C     44.04 11:42:00                                                                       62.05    12:56:00                                                                                         17    ---       ---      ---
TSLA   2018-08-10   $300.00    C     42.22 11:31:00     56.00   12:47:00   1.0000    0.0000     2.5926    0.0000   0.0000 75.00    15:58:00                                  13.78    19.00         0         0                    462   ITM       ITM       ---
TSLA   2018-08-10   $302.50    C     41.01 11:22:00     51.00   12:27:00   1.0000    0.0000     2.6257    0.0000   0.0000 59.00    13:34:00                                   9.99     8.00         0         0                    110   ITM       ITM       ---
TSLA   2018-08-10   $305.00    C     40.88 10:29:00     53.00   12:33:00   0.9573    0.0027     2.5076   -0.4609   0.0300 73.00    15:59:00                                  12.12    20.00         0         0                    146   ITM       ITM       ---
TSLA   2018-08-10   $307.50    C     36.01 11:22:00                                                                       75.00    15:53:00                                                                                         61    ---       ---      ---
TSLA   2018-08-10   $310.00    C     31.60 11:46:00     47.90   12:42:00   1.0000    0.0000     2.6820    0.0000   0.0000 50.06    13:41:00                                  16.30     2.16         0         0                    235   ITM       ITM       ---
TSLA   2018-08-10   $315.00    C     26.69 11:42:00     43.50   12:42:00   1.0000    0.0000     2.7252    0.0000   0.0000 59.90    15:57:00                                  16.81    16.40         0         0                     96   ITM       ITM       ---
TSLA   2018-08-10   $317.50    C                        40.00   12:31:00   0.9313    0.0046     2.5335   -0.6115   0.0439 56.23    15:57:00                                           16.23                   0                     55    ---      ITM       ---
TSLA   2018-08-10   $320.00    C     22.70 11:52:00     38.00   12:42:00   1.0000    0.0000     2.7685    0.0000   0.0000 61.70    16:00:00                                  15.30    23.70         0         0                    405   ITM       ITM       ---
TSLA   2018-08-10   $322.50    C                        34.90   12:31:00   0.9230    0.0056     2.5510   -0.6010   0.0479 59.10    15:51:00                                           24.20                   0                     23    ---      ITM       ---
TSLA   2018-08-10   $325.00    C     17.07 11:47:00     32.15   12:43:00   0.9052    0.0065     2.5097   -0.6625   0.0558 56.60    15:51:00                                  15.08    24.45         0         0                    563   ITM       ITM       ---
TSLA   2018-08-10   $327.50    C     15.93 12:14:00     31.34   12:39:00   0.9394    0.0056     2.6462   -0.2759   0.0394 33.70    13:02:00                                  15.41     2.36         0         0                    134   ITM       ITM       ---
TSLA   2018-08-10   $330.00    C     13.90 11:55:00     26.36   12:46:00   0.9568    0.0059     2.7175   -0.2403   0.0303 48.55    16:00:00                                  12.46    22.19         0         0                  1,114   ITM       ITM       ---
TSLA   2018-08-10   $332.50    C     11.80 12:08:00     24.01   12:46:00   0.9355    0.0079     2.6721   -0.3304   0.0416 30.50    13:42:00                                  12.21     6.49         0         0                    404   ITM       ITM       ---
TSLA   2018-08-10   $335.00    C     10.50 12:03:00     21.75   12:47:00   0.9020    0.0097     2.5877   -0.4258   0.0571 46.00    15:54:00                                  11.25    24.25         0         0                  1,585   ITM       ITM       ---
TSLA   2018-08-10   $337.50    C      8.45 11:59:00     22.08   12:40:00   0.8781    0.0108     2.5336   -0.5970   0.0674 37.25    15:54:00                                  13.63    15.17         0         0                  1,171   ITM       ITM       ---
TSLA   2018-08-10   $340.00    C      6.60 12:14:00     17.33   12:45:00   0.7909    0.0146     2.2802   -0.7930   0.0946 37.05    15:59:00                                  10.73    19.72         0         0                  4,112   ITM       ITM       ---
TSLA   2018-08-10   $342.50    C      5.11 12:13:00     17.63   12:43:00   0.7769    0.0151     2.2526   -0.9062   0.0989 30.00    15:57:00                                  12.52    12.37         0         0                  1,749   OTM       ITM       ---
TSLA   2018-08-10   $345.00    C      4.18 12:15:00     13.74   12:47:00   0.7624    0.0178     2.2293   -0.7988   0.1024 33.91    16:00:00                                   9.56    20.17         0         0                  8,688   OTM       ITM       ---
TSLA   2018-08-10   $347.50    C      3.05 12:13:00     11.50   12:47:00   0.7199    0.0201     2.1154   -0.8472   0.1116 25.25    15:56:00                                   8.45    13.75         0         0                  4,337   OTM       ITM       ---
TSLA   2018-08-10   $350.00    C      2.31 12:17:00     11.05   12:47:00   0.6609    0.0210     1.9459   -0.9680   0.1213 30.00    16:00:00                                   8.74    18.95         0         0                 26,072   OTM       ITM       ---
TSLA   2018-08-10   $352.50    C      1.72 12:16:00      9.12   12:47:00   0.6059    0.0220     1.7893   -1.0259   0.1276 27.85    16:00:00                                   7.40    18.73         0         0                 11,290   OTM       ITM       ---
TSLA   2018-08-10   $355.00    C      1.24 12:14:00      8.10   12:47:00   0.5491    0.0224     1.6255   -1.0720   0.1313 25.25    16:00:00                                   6.86    17.15         0         0                 35,677   OTM       ITM       ---
TSLA   2018-08-10   $357.50    C      0.89 12:09:00      6.35   12:47:00   0.4928    0.0224     1.4622   -1.0925   0.1323 23.00    16:00:00                                   5.46    16.65         0         0                 20,418   OTM      OTM        ---
TSLA   2018-08-10   $360.00    C      0.65 12:13:00      5.75   12:47:00   0.4380    0.0220     1.3021   -1.0928   0.1307 22.14    16:00:00                                   5.10    16.39         0         0                 46,209   OTM      OTM        ---
TSLA   2018-08-10   $362.50    C      0.49 12:02:00      4.45   12:47:00   0.3845    0.0213     1.1458   -1.0629   0.1267 19.80    16:00:00                                   3.96    15.35         0         0                 18,533   OTM      OTM        ---
TSLA   2018-08-10   $365.00    C      0.33 12:13:00      3.87   12:47:00   0.3342    0.0202     0.9977   -1.0186   0.1207 18.39    16:00:00                                   3.54    14.52         0         0                 31,592   OTM      OTM        ---
TSLA   2018-08-10   $367.50    C      0.25 11:55:00      3.03   12:47:00   0.2902    0.0187     0.8671   -0.9768   0.1136 15.39    16:00:00                                   2.78    12.36         0         0                  9,289   OTM      OTM        ---
TSLA   2018-08-10   $370.00    C      0.17 12:09:00      2.65   12:47:00   0.2475    0.0172     0.7407   -0.9061   0.1049 14.58    16:00:00                                   2.48    11.93         0         0                 36,559   OTM      OTM        ---
TSLA   2018-08-10   $372.50    C      0.12 12:02:00      1.96   12:47:00   0.2065    0.0156     0.6191   -0.8137   0.0947 13.00    16:00:00                                   1.84    11.04         0         0                  9,365   OTM      OTM        ---
TSLA   2018-08-10   $375.00    C      0.10 12:06:00      1.72   12:47:00   0.1767    0.0139     0.5302   -0.7568   0.0861 12.00    16:00:00                                   1.62    10.28         0         0                 25,015   OTM      OTM        ---
TSLA   2018-08-10   $377.50    C      0.08 12:02:00      1.39   12:47:00   0.1461    0.0122     0.4390   -0.6701   0.0760 10.50    16:00:00                                   1.31     9.11         0         0                  6,986   OTM      OTM        ---
TSLA   2018-08-10   $380.00    C      0.06 12:15:00      1.12   12:47:00   0.1227    0.0107     0.3687   -0.6032   0.0674 8.80     16:00:00                                   1.06     7.68         0         0                 35,434   OTM      OTM        ---
TSLA   2018-08-10   $382.50    C                         0.78   12:46:00   0.0920    0.0086     0.2757   -0.5038   0.0545 7.45     16:00:00                                            6.67                   0                  5,994    ---     OTM        ---
TSLA   2018-08-10   $385.00    C      0.05 12:00:00      0.70   12:47:00   0.0860    0.0080     0.2588   -0.4805   0.0521 6.80     16:00:00                                   0.65     6.10         0         0                 13,684   OTM      OTM        ---
TSLA   2018-08-10   $387.50    C                         0.64   12:47:00   0.0700    0.0068     0.2108   -0.4134   0.0445 5.53     16:00:00                                            4.89                   0                  3,725    ---     OTM        ---
TSLA   2018-08-10   $390.00    C      0.02 12:15:00      0.46   12:47:00   0.0585    0.0059     0.1763   -0.3656   0.0388 5.35     16:00:00                                   0.44     4.89         0         0                 21,168   OTM      OTM        ---
TSLA   2018-08-10   $392.50    C      0.03 11:50:00      0.60   12:43:00   0.0570    0.0054     0.1717   -0.3826   0.0380 4.65     16:00:00                                   0.57     4.05         0         0                  2,888   OTM      OTM        ---
TSLA   2018-08-10   $395.00    C      0.01 12:07:00      0.33   12:47:00   0.0432    0.0044     0.1301   -0.3003   0.0304 3.75     16:00:00                                   0.32     3.42         0         0                  7,756   OTM      OTM        ---
TSLA   2018-08-10   $397.50    C      0.13 11:52:00      0.30   12:47:00   0.0350    0.0037     0.1056   -0.2550   0.0257 3.20     16:00:00                                   0.17     2.90         0         0                    923   OTM      OTM        ---
TSLA   2018-08-10   $400.00    C      0.01 12:10:00      0.25   12:47:00   0.0302    0.0032     0.0909   -0.2299   0.0227 2.69     16:00:00                                   0.24     2.44         0         0                 31,846   OTM      OTM        ---
TSLA   2018-08-10   $402.50    C                         0.25   12:45:00   0.0243    0.0026     0.0731   -0.1988   0.0189 2.50     16:00:00                                            2.25                   0                  2,389    ---     OTM        ---
TSLA   2018-08-10   $405.00    C      0.03 10:45:00      0.29   12:40:00   0.0320    0.0031     0.0967   -0.2649   0.0239 2.02     16:00:00                                   0.26     1.73         0         0                  5,482   OTM      OTM        ---
TSLA   2018-08-10   $410.00    C      0.01 11:54:00      0.20   12:39:00   0.0271    0.0025     0.0820   -0.2412   0.0209 1.68     16:00:00                                   0.19     1.48         0         0                 11,416   OTM      OTM        ---
TSLA   2018-08-10   $415.00    C      0.02 11:55:00      0.08   12:47:00   0.0119    0.0013     0.0360   -0.1152   0.0103 0.97     16:00:00                                   0.06     0.89         0         0                  6,915   OTM      OTM        ---
TSLA   2018-08-10   $420.00    C      0.03    9:41:00    0.08   12:46:00   0.0082    0.0009     0.0247   -0.0867   0.0074 0.65     16:00:00                                   0.05     0.57         0         0                  9,885   OTM      OTM        ---
TSLA   2018-08-10   $425.00    C                         0.10   12:42:00   0.0108    0.0011     0.0327   -0.1181   0.0095 0.38     16:00:00                                            0.28                   0                  2,608    ---     OTM        ---
TSLA   2018-08-10   $430.00    C                         0.06   12:46:00   0.0074    0.0007     0.0222   -0.0888   0.0068 0.24     16:00:00                                            0.18                   0                  1,374    ---     OTM        ---
TSLA   2018-08-10   $435.00    C                         0.07   12:42:00   0.0072    0.0007     0.0219   -0.0887   0.0067 0.15     15:59:00                                            0.08                   0                    746    ---     OTM        ---




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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                   8/7 Last          8/16 Last          8/17 First            Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                           Period
Root      Date       Strike   Put     Price    Time    Price      Time      Delta Gamma          Rho      Theta     Vega      Price  Time        Price    Time      Price    Time      FT    Tweet      NYT         FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-10   $440.00    C                        0.06     12:40:00   0.0074 0.0007        0.0222   -0.0958   0.0068     0.10 16:00:00                                                   0.04                           0                   1,815    ---     OTM        ---
TSLA   2018-08-10   $450.00    C       0.02   11:15:00 0.03      12:47:00   0.0033 0.0003        0.0101   -0.0480   0.0034     0.07 15:59:00                                            0.01   0.04                 0         0                   1,597   OTM      OTM        ---
TSLA   2018-08-17   $180.00    C                      177.00     12:42:00   0.9475 0.0006        4.3557   -0.9250   0.0635                                                                                                                            3    ---       ---      ---
TSLA   2018-08-17   $200.00    C                      154.00     12:27:00   1.0000 0.0000        5.5689    0.0000   0.0000                    139.74     11:23:00 107.50    14:54:00                       -32.24                        0           56    ---       ---     ITM
TSLA   2018-08-17   $230.00    C                                                                                                              104.70      9:48:00                                                                                     1    ---       ---      ---
TSLA   2018-08-17   $250.00    C      94.52   10:36:00                                                                       132.35   15:48:00 87.00      9:52:00 73.72      9:31:00                       -13.28                        0           78    ---       ---     ITM
TSLA   2018-08-17   $255.00    C                                                                                                               83.52     12:16:00                                                                                     4    ---       ---      ---
TSLA   2018-08-17   $260.00    C      83.10   11:17:00                                                                       128.35   15:49:00 77.80     11:09:00 64.08      9:31:00                       -13.72                        0          210    ---       ---     ITM
TSLA   2018-08-17   $265.00    C                         80.72   12:21:00   1.0000    0.0000     7.3818    0.0000   0.0000                                                                                                                           27    ---       ---      ---
TSLA   2018-08-17   $270.00    C                         86.86   12:31:00   0.9945    0.0004     7.4591   -0.0453   0.0094                       65.50   15:21:00 50.00      9:41:00                       -15.50                        0           82    ---       ---     ITM
TSLA   2018-08-17   $275.00    C      66.96   11:31:00   80.40   12:30:00   1.0000    0.0000     7.6556    0.0000   0.0000    94.00   14:04:00                                         13.44    13.60               0         0                     473   ITM       ITM       ---
TSLA   2018-08-17   $280.00    C      63.20   12:05:00   71.58   12:24:00   1.0000    0.0000     7.7980    0.0000   0.0000    99.40   16:00:00   55.50   14:52:00   35.85    9:49:00    8.38    27.82      -19.65   0         0          0          375   ITM       ITM      ITM
TSLA   2018-08-17   $285.00    C      59.97   10:47:00   72.50   12:33:00   0.9728    0.0014     7.6540   -0.1292   0.0368    98.00   15:47:00   55.07   11:27:00   35.63    9:41:00   12.53    25.50      -19.44   0         0          0          691   ITM       ITM      ITM
TSLA   2018-08-17   $290.00    C      55.96   10:20:00   70.00   12:39:00   0.9595    0.0019     7.6580   -0.1524   0.0505    93.50   15:51:00   45.35   15:55:00   35.00    9:34:00   14.04    23.50      -10.35   0         0          0          567   ITM       ITM      ITM
TSLA   2018-08-17   $295.00    C      45.70   11:48:00   65.00   12:39:00   0.9530    0.0022     7.7285   -0.1691   0.0573    77.00   15:58:00   41.55   15:12:00   29.92    9:32:00   19.30    12.00      -11.63   0         0          0          381   ITM       ITM      ITM
TSLA   2018-08-17   $297.50    C                         59.78   12:31:00   0.9856    0.0012     8.1339   -0.0699   0.0218    88.85   15:50:00   37.70   14:25:00   18.00    9:46:00            29.07      -19.70             0          0          145    ---      ITM      ITM
TSLA   2018-08-17   $300.00    C      41.90   11:43:00   58.84   12:43:00   0.9524    0.0026     7.8494   -0.2028   0.0590    74.00   15:56:00   35.00   15:46:00   23.88    9:31:00   16.94    15.16      -11.12   0         0          0        3,406   ITM       ITM      ITM
TSLA   2018-08-17   $302.50    C                         49.23   12:25:00   0.9569    0.0028     7.9889   -0.1437   0.0534    71.73   15:55:00   35.33   10:46:00   20.45    9:31:00            22.50      -14.88             0          0          883    ---      ITM      ITM
TSLA   2018-08-17   $305.00    C      38.87   10:00:00   50.74   12:30:00   0.9453    0.0031     7.9329   -0.1809   0.0651    76.68   15:53:00   30.76   13:45:00   18.00    9:39:00   11.87    25.94      -12.76   0         0          0        3,536   ITM       ITM      ITM
TSLA   2018-08-17   $310.00    C      32.70   11:43:00   48.64   12:43:00   0.9253    0.0039     7.8460   -0.2665   0.0840    70.00   16:00:00   25.56   16:00:00   15.35    9:31:00   15.94    21.36      -10.21   0         0          0       19,969   ITM       ITM      ITM
TSLA   2018-08-17   $312.50    C      33.00    9:39:00   47.69   12:38:00   0.9416    0.0035     8.0979   -0.1652   0.0689    52.69   13:11:00   26.68    9:33:00    6.05    9:43:00   14.69     5.00      -20.63   0         0          0        6,778   ITM       ITM      ITM
TSLA   2018-08-17   $315.00    C      29.46   12:05:00   43.49   12:43:00   0.9125    0.0047     7.8527   -0.2823   0.0947    61.80   15:59:00   20.62   16:00:00   10.87    9:31:00   14.03    18.31       -9.75   0         0          0        9,460   ITM       ITM      ITM
TSLA   2018-08-17   $320.00    C      24.82   11:52:00   37.20   12:45:00   0.8908    0.0060     7.7825   -0.2698   0.1101    59.00   16:00:00   15.70   15:49:00    5.85    9:31:00   12.38    21.80       -9.85   0         0          0       12,104   ITM       ITM      ITM
TSLA   2018-08-17   $322.50    C                         33.06   12:29:00   0.8814    0.0068     7.7647   -0.2836   0.1169    43.00   13:02:00   13.87   15:33:00    6.25    9:31:00             9.94       -7.62             0          0        2,332    ---      ITM      ITM
TSLA   2018-08-17   $325.00    C      21.63   11:16:00   33.38   12:44:00   0.8452    0.0071     7.4361   -0.3758   0.1408    49.27   15:57:00   10.90   16:00:00    3.35    9:31:00   11.75    15.89       -7.55   0         0          0        7,432   ITM       ITM      ITM
TSLA   2018-08-17   $327.50    C      18.76   12:14:00                                                                        39.15   13:57:00    8.80   15:39:00    1.97    9:31:00                        -6.83                        0        4,200    ---       ---     ITM
TSLA   2018-08-17   $330.00    C      17.02   12:07:00 29.00     12:47:00   0.8351    0.0083     7.4757   -0.3414   0.1470    49.55   16:00:00    6.66   16:00:00    1.30    9:31:00   11.98    20.55       -5.36   0         0          0        6,201   ITM       ITM      ITM
TSLA   2018-08-17   $332.50    C      15.35   12:05:00 26.60     12:44:00   0.7906    0.0090     7.0726   -0.4358   0.1704    43.00   15:58:00    4.85   16:00:00    0.98    9:31:00   11.25    16.40       -3.87   0         0          0        3,074   ITM       ITM      ITM
TSLA   2018-08-17   $335.00    C      13.44   12:13:00 24.63     12:47:00   0.7866    0.0098     7.1042   -0.4051   0.1726    43.03   15:59:00    3.34   16:00:00    0.73    9:31:00   11.19    18.40       -2.61   0         0          0        9,933   ITM       ITM      ITM
TSLA   2018-08-17   $337.50    C      12.00   11:23:00 22.15     12:45:00   0.7484    0.0110     6.7823   -0.4396   0.1885    38.50   15:57:00    2.04   16:00:00    0.27    9:31:00   10.15    16.35       -1.77   0         0          0        7,569   ITM       ITM      OTM
TSLA   2018-08-17   $340.00    C      10.53   12:14:00 21.55     12:47:00   0.7401    0.0114     6.7566   -0.4331   0.1925    41.44   16:00:00    1.29   16:00:00    0.31    9:31:00   11.02    19.89       -0.98   0         0          0       23,022   ITM       ITM      OTM
TSLA   2018-08-17   $342.50    C       9.15   12:12:00 19.00     12:47:00   0.7128    0.0123     6.5396   -0.4468   0.2024    39.00   16:00:00    0.84   16:00:00    0.40    9:31:00    9.85    20.00       -0.44   0         0          0        9,786   OTM       ITM      OTM
TSLA   2018-08-17   $345.00    C       8.00   12:14:00 17.15     12:45:00   0.6554    0.0128     6.0033   -0.5111   0.2180    35.00   15:59:00    0.54   16:00:00    0.15    9:31:00    9.15    17.85       -0.39   0         0          0       18,375   OTM       ITM      OTM
TSLA   2018-08-17   $347.50    C       6.92   12:11:00 15.68     12:47:00   0.6454    0.0133     5.9598   -0.4945   0.2211    29.25   15:58:00    0.36   16:00:00    0.17    9:31:00    8.76    13.57       -0.19   0         0          0        7,425   OTM       ITM      OTM
TSLA   2018-08-17   $350.00    C       5.95   12:14:00 13.96     12:46:00   0.5955    0.0139     5.4968   -0.5441   0.2297    32.50   16:00:00    0.23   15:59:00    0.10    9:31:00    8.01    18.54       -0.13   0         0          0       35,501   OTM       ITM      OTM
TSLA   2018-08-17   $352.50    C       5.05   12:11:00 12.70     12:46:00   0.5603    0.0142     5.1894   -0.5489   0.2338    26.78   15:56:00    0.20   16:00:00    0.05    9:31:00    7.65    14.08       -0.15   0         0          0       13,425   OTM       ITM      OTM
TSLA   2018-08-17   $355.00    C       4.25   12:12:00 11.48     12:47:00   0.5398    0.0145     5.0333   -0.5226   0.2360    29.03   16:00:00    0.14   15:58:00    0.06    9:31:00    7.23    17.55       -0.08   0         0          0       20,625   OTM       ITM      OTM
TSLA   2018-08-17   $357.50    C       3.45   11:25:00 10.37     12:47:00   0.5033    0.0146     4.7065   -0.5227   0.2372    23.00   15:58:00    0.11   15:54:00    0.05    9:31:00    6.92    12.63       -0.06   0         0          0        8,002   OTM      OTM       OTM
TSLA   2018-08-17   $360.00    C       3.01   12:12:00  9.32     12:47:00   0.4665    0.0147     4.3750   -0.5187   0.2364    25.02   16:00:00    0.11   16:00:00    0.01    9:31:00    6.31    15.70       -0.10   0         0          0       40,554   OTM      OTM       OTM
TSLA   2018-08-17   $362.50    C       2.28   11:29:00  8.28     12:47:00   0.4305    0.0145     4.0459   -0.5133   0.2337    22.00   16:00:00    0.08   15:46:00    0.01    9:31:00    6.00    13.72       -0.07   0         0          0        7,179   OTM      OTM       OTM
TSLA   2018-08-17   $365.00    C       2.22   12:04:00  7.36     12:47:00   0.3959    0.0141     3.7282   -0.5070   0.2292    21.07   16:00:00    0.08   16:00:00    0.03    9:31:00    5.14    13.71       -0.05   0         0          0       18,654   OTM      OTM       OTM
TSLA   2018-08-17   $367.50    C       2.15   11:04:00  6.00     12:45:00   0.3418    0.0135     3.2148   -0.4838   0.2175    15.50   15:58:00    0.06   15:22:00    0.01    9:31:00    3.85     9.50       -0.05   0         0          0        6,144   OTM      OTM       OTM
TSLA   2018-08-17   $370.00    C       1.55   12:04:00  5.85     12:47:00   0.3296    0.0133     3.1151   -0.4784   0.2154    18.00   16:00:00    0.05   15:59:00    0.05    9:31:00    4.30    12.15        0.00   0         0          1       34,931   OTM      OTM       OTM
TSLA   2018-08-17   $372.50    C       1.15   11:40:00  5.45     12:43:00   0.3123    0.0124     2.9469   -0.5049   0.2107    17.25   16:00:00    0.04   15:44:00    0.01    9:31:00    4.30    11.80       -0.03   0         0          0        7,316   OTM      OTM       OTM
TSLA   2018-08-17   $375.00    C       1.07   12:00:00  4.25     12:47:00   0.2704    0.0120     2.5632   -0.4413   0.1969    15.23   16:00:00    0.04   15:52:00    0.01    9:33:00    3.18    10.98       -0.03   0         0          0       19,055   OTM      OTM       OTM
TSLA   2018-08-17   $377.50    C       0.83   11:34:00  3.47     12:46:00   0.2310    0.0111     2.1852   -0.4150   0.1804    13.67   16:00:00    0.03   15:58:00    0.01    9:36:00    2.64    10.20       -0.02   0         0          0        4,996   OTM      OTM       OTM
TSLA   2018-08-17   $380.00    C       0.78   12:04:00  3.10     12:47:00   0.2189    0.0106     2.0804   -0.3979   0.1757    12.50   16:00:00    0.03   15:55:00    0.01    9:33:00    2.32     9.40       -0.02   0         0          0       36,478   OTM      OTM       OTM
TSLA   2018-08-17   $382.50    C       0.75   10:58:00  2.90     12:45:00   0.1861    0.0095     1.7633   -0.3689   0.1588    11.70   16:00:00    0.03   15:52:00    0.01   10:55:00    2.15     8.80       -0.02   0         0          0        3,350   OTM      OTM       OTM
TSLA   2018-08-17   $385.00    C       0.51   12:15:00  2.52     12:47:00   0.1746    0.0092     1.6637   -0.3502   0.1532    10.37   16:00:00    0.01   15:29:00    0.01    9:35:00    2.01     7.85        0.00   0         0          1       14,777   OTM      OTM       OTM
TSLA   2018-08-17   $387.50    C       0.55   11:04:00  2.09     12:46:00   0.1472    0.0082     1.3980   -0.3205   0.1365     8.64   15:54:00    0.03   15:44:00    0.03    9:31:00    1.54     6.55        0.00   0         0          1        2,426   OTM      OTM       OTM
TSLA   2018-08-17   $390.00    C       0.37   11:51:00  1.85     12:47:00   0.1375    0.0078     1.3129   -0.3018   0.1309     8.50   16:00:00    0.02   15:54:00    0.01    9:31:00    1.48     6.65       -0.01   0         0          0       18,064   OTM      OTM       OTM
TSLA   2018-08-17   $392.50    C       0.28   11:48:00  1.80     12:38:00   0.1358    0.0078     1.3077   -0.2967   0.1307     6.93   16:00:00    0.03   12:45:00    0.01   10:07:00    1.52     5.13       -0.02   0         0          0        1,613   OTM      OTM       OTM
TSLA   2018-08-17   $395.00    C       0.30   11:59:00  1.40     12:44:00   0.1059    0.0064     1.0106   -0.2571   0.1087     6.10   16:00:00    0.01   15:51:00    0.01   10:06:00    1.10     4.70        0.00   0         0          1        9,101   OTM      OTM       OTM
TSLA   2018-08-17   $397.50    C                        1.21     12:47:00   0.0921    0.0058     0.8823   -0.2279   0.0983     5.28   16:00:00    0.02   15:40:00    0.01   10:07:00             4.07       -0.01             0          0        1,486    ---     OTM       OTM
TSLA   2018-08-17   $400.00    C       0.20   12:15:00 1.15      12:47:00   0.0888    0.0055     0.8497   -0.2311   0.0957     4.75   16:00:00    0.01   15:58:00    0.01    9:34:00    0.95     3.60        0.00   0         0          1       39,663   OTM      OTM       OTM
TSLA   2018-08-17   $402.50    C                        1.20     12:40:00   0.0800    0.0051     0.7693   -0.2104   0.0888     2.96   15:58:00                                                   1.76                         0                   3,076    ---     OTM        ---
TSLA   2018-08-17   $405.00    C       0.15   11:41:00 0.81      12:45:00   0.0635    0.0042     0.6059   -0.1812   0.0738     3.67   16:00:00    0.01   14:51:00    0.01    9:31:00    0.66     2.86       0.00    0         0          1        6,426   OTM      OTM       OTM
TSLA   2018-08-17   $407.50    C                                                                                                                  0.01   12:57:00                                                                                   190    ---       ---      ---




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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                    8/7 Last          8/16 Last          8/17 First          Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                          Period
Root      Date       Strike   Put     Price    Time      Price    Time      Delta Gamma          Rho       Theta     Vega      Price    Time      Price    Time      Price    Time      FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-17   $410.00    C       0.13   11:25:00    0.80   12:42:00   0.0615 0.0040        0.5913    -0.1820   0.0726     3.00   16:00:00    0.01   14:35:00    0.01    9:51:00    0.67   2.20     0.00       0        0          1        9,278   OTM      OTM       OTM
TSLA   2018-08-17   $415.00    C       0.10   12:03:00    0.50   12:40:00   0.0428 0.0030        0.4121    -0.1333   0.0543     2.25   16:00:00    0.01   12:07:00                       0.40   1.75                0        0                   6,532   OTM      OTM        ---
TSLA   2018-08-17   $420.00    C       0.10   12:05:00    0.37   12:44:00   0.0331 0.0024        0.3174    -0.1133   0.0439     1.35   16:00:00    0.01   15:07:00    0.01    9:46:00    0.27   0.98       0.00     0        0          1       16,252   OTM      OTM       OTM
TSLA   2018-08-17   $425.00    C       0.07   11:46:00    0.30   12:47:00   0.0272 0.0020        0.2610    -0.0974   0.0373     1.20   16:00:00    0.01   15:22:00    0.02    9:31:00    0.23   0.90       0.01     0        0          1        7,022   OTM      OTM       OTM
TSLA   2018-08-17   $430.00    C       0.05   12:08:00    0.25   12:37:00   0.0201 0.0015        0.1938    -0.0748   0.0290     0.75   16:00:00    0.01   13:22:00    0.01   10:56:00    0.20   0.50       0.00     0        0          1        2,605   OTM      OTM       OTM
TSLA   2018-08-17   $435.00    C       0.05   11:03:00    0.19   12:38:00   0.0174 0.0013        0.1690    -0.0672   0.0258     1.10   16:00:00    0.01   10:52:00                       0.14   0.91                0        0                     424   OTM      OTM        ---
TSLA   2018-08-17   $440.00    C       0.05   10:32:00    0.17   12:43:00   0.0148 0.0011        0.1418    -0.0619   0.0222     0.45   15:59:00    0.01   13:57:00    0.04   13:33:00    0.12   0.28       0.03     0        0          1        2,851   OTM      OTM       OTM
TSLA   2018-08-17   $450.00    C                          0.12   12:44:00   0.0107 0.0008        0.1021    -0.0490   0.0167     0.35   16:00:00    0.01   13:56:00                              0.23                         0                   4,968    ---     OTM        ---
TSLA   2018-08-17   $455.00    C       0.05   10:00:00    0.10   12:47:00   0.0086 0.0007        0.0831    -0.0411   0.0140     0.46   13:18:00    0.01   11:30:00                       0.05   0.36               0         0                   1,410   OTM      OTM        ---
TSLA   2018-08-17   $460.00    C                          0.08   12:31:00   0.0066 0.0005        0.0637    -0.0329   0.0110     0.15   15:59:00                                                 0.07                         0                   3,099    ---     OTM        ---
TSLA   2018-08-17   $465.00    C                          0.06   12:31:00   0.0061 0.0005        0.0583    -0.0313   0.0102     0.23   13:51:00                                                 0.17                         0                     519    ---     OTM        ---
TSLA   2018-08-17   $470.00    C       0.02    9:56:00    0.09   12:40:00   0.0109 0.0007        0.1048    -0.0585   0.0172                        0.01   10:42:00                       0.07                      0                               367   OTM        ---      ---
TSLA   2018-08-17   $475.00    C                          0.08   12:39:00   0.0061 0.0004        0.0587    -0.0333   0.0103     0.12   15:59:00                                                 0.04                         0                     545    ---     OTM        ---
TSLA   2018-08-17   $480.00    C                          0.05   12:38:00   0.0075 0.0005        0.0725    -0.0426   0.0125     0.23   15:50:00    0.02   14:52:00                              0.18                         0                     193    ---     OTM        ---
TSLA   2018-08-17   $485.00    C       0.02   11:40:00    0.06   12:42:00   0.0034 0.0003        0.0331    -0.0200   0.0062     0.29   15:50:00                                          0.04   0.23               0         0                     460   OTM      OTM        ---
TSLA   2018-08-17   $490.00    C                                                                                                                   0.01   14:52:00                                                                                  20    ---       ---      ---
TSLA   2018-08-17   $505.00    C       0.01   11:11:00                                                                                                                                                                                             201    ---       ---      ---
TSLA   2018-08-17   $515.00    C                          0.03   12:39:00   0.0074    0.0004      0.0702   -0.0517   0.0122                                                                                                                          3    ---       ---      ---
TSLA   2018-08-17   $560.00    C                          0.03   12:39:00   0.0017    0.0001      0.0162   -0.0142   0.0033     0.05   15:52:00                                                  0.02                        0                     105    ---     OTM        ---
TSLA   2018-08-24   $255.00    C      90.88   10:29:00                                                                                                                                                                                               1    ---       ---      ---
TSLA   2018-08-24   $260.00    C      85.93   10:29:00                                                                                                                                                                                              19    ---       ---      ---
TSLA   2018-08-24   $265.00    C      80.98   10:29:00                                                                        116.55   15:51:00                                                                                                      2    ---       ---      ---
TSLA   2018-08-24   $270.00    C                                                                                                                  67.28   14:14:00 47.21     10:19:00                     -20.07                        0           23    ---       ---     ITM
TSLA   2018-08-24   $280.00    C                                                                                                                  56.84   15:23:00 38.00      9:43:00                     -18.84                        0          273    ---       ---     ITM
TSLA   2018-08-24   $287.50    C                       70.01     12:34:00   0.9628    0.0018     12.8574   -0.1102   0.0623                                                                                                                          6    ---       ---      ---
TSLA   2018-08-24   $295.00    C      51.00    9:52:00                                                                                            45.25   12:16:00 22.00     10:29:00                     -23.25                        0          104    ---       ---     ITM
TSLA   2018-08-24   $300.00    C      45.18    9:51:00 48.40     12:22:00   0.9239    0.0037     12.8054   -0.1542   0.1072                       37.70   15:31:00 26.08      9:31:00    3.22             -11.62   0                    0          993   ITM        ---     ITM
TSLA   2018-08-24   $302.50    C      42.50    9:31:00                                                                         61.00   12:52:00                                                                                                    237    ---       ---      ---
TSLA   2018-08-24   $307.50    C      38.84   10:52:00                                                                                          33.85     11:55:00   16.40    9:48:00                     -17.45                        0          811    ---       ---     ITM
TSLA   2018-08-24   $310.00    C                       49.40     12:38:00   0.9033    0.0040     12.8589   -0.1953   0.1319 60.20      14:06:00 28.60     14:56:00   18.45    9:31:00           10.80     -10.15             0          0        3,183    ---      ITM      ITM
TSLA   2018-08-24   $312.50    C                                                                                                                29.40     11:55:00   16.70    9:32:00                     -12.70                        0          573    ---       ---     ITM
TSLA   2018-08-24   $315.00    C                       34.88     12:23:00   0.8615    0.0062     12.4188   -0.2247   0.1669                     24.30     15:19:00   15.80    9:37:00                      -8.50                        0        3,074    ---       ---     ITM
TSLA   2018-08-24   $320.00    C      26.33   11:30:00 39.94     12:43:00   0.8494    0.0059     12.3642   -0.2695   0.1801    63.05   15:51:00 20.10     13:50:00   11.44    9:31:00   13.61   23.11      -8.66   0         0          0        3,763   ITM       ITM      ITM
TSLA   2018-08-24   $322.50    C                       37.05     12:45:00   0.8245    0.0066     12.0640   -0.2729   0.1976                     22.80     11:34:00   10.00    9:31:00                     -12.80                        0          871    ---       ---     ITM
TSLA   2018-08-24   $325.00    C      23.84   10:00:00 35.69     12:43:00   0.8242    0.0068     12.1506   -0.2852   0.1994    54.30   15:56:00 15.79     15:59:00    9.16    9:31:00   11.85   18.61      -6.63   0         0          0        1,643   ITM       ITM      ITM
TSLA   2018-08-24   $327.50    C      22.95    9:37:00 30.00     12:27:00   0.7960    0.0079     11.8088   -0.2889   0.2169    51.90   15:58:00 15.05     13:29:00    7.80    9:33:00    7.05   21.90      -7.25   0         0          0          480   ITM       ITM      ITM
TSLA   2018-08-24   $330.00    C      18.53   11:42:00 31.00     12:45:00   0.7738    0.0081     11.5110   -0.3076   0.2306    48.60   16:00:00 12.53     16:00:00    6.95    9:31:00   12.47   17.60      -5.58   0         0          0        4,750   ITM       ITM      ITM
TSLA   2018-08-24   $332.50    C                                                                                                                11.29     15:20:00    5.25    9:31:00                      -6.04                        0          809    ---       ---     ITM
TSLA   2018-08-24   $335.00    C      16.00   11:25:00   29.10   12:41:00   0.7482    0.0084     11.2416   -0.3426   0.2466 31.80      13:25:00 9.55      16:00:00    5.31    9:31:00   13.10    2.70      -4.24   0         0          0        2,416   ITM       ITM      ITM
TSLA   2018-08-24   $337.50    C      15.21    9:31:00                                                                      40.43      15:55:00 8.39      15:56:00    3.15    9:31:00                      -5.24                        0          894    ---       ---     OTM
TSLA   2018-08-24   $340.00    C      13.00   11:46:00   23.00   12:46:00   0.6869    0.0098     10.3916   -0.3697   0.2725 37.31      15:58:00 7.05      15:58:00    3.66    9:31:00   10.00   14.31      -3.39   0         0          0        6,716   ITM       ITM      OTM
TSLA   2018-08-24   $342.50    C      14.15   10:22:00   21.78   12:44:00   0.6675    0.0101     10.1465   -0.3754   0.2799 25.00      13:28:00 6.30      15:47:00    3.55    9:31:00    7.63    3.22      -2.75   0         0          0        1,017   OTM       ITM      OTM
TSLA   2018-08-24   $345.00    C      10.75   11:25:00   20.13   12:44:00   0.6414    0.0104      9.7857   -0.3848   0.2879 37.41      16:00:00 5.30      16:00:00    2.61    9:31:00    9.38   17.28      -2.69   0         0          0        1,806   OTM       ITM      OTM
TSLA   2018-08-24   $347.50    C       9.80   12:12:00   14.95   12:25:00   0.5766    0.0121      8.8317   -0.3694   0.2988 27.00      13:18:00 4.55      15:57:00    2.29    9:31:00    5.15   12.05      -2.26   0         0          0        1,003   OTM       ITM      OTM
TSLA   2018-08-24   $350.00    C       8.34   11:46:00   17.22   12:47:00   0.5969    0.0111      9.1969   -0.3861   0.2990 33.28      16:00:00 3.90      15:59:00    2.39    9:31:00    8.88   16.06      -1.51   0         0          0        5,504   OTM       ITM      OTM
TSLA   2018-08-24   $352.50    C       7.60   11:50:00   16.51   12:37:00   0.5792    0.0113      8.9717   -0.3887   0.3030 21.00      13:37:00 3.45      15:55:00    1.10    9:31:00    8.91    4.49      -2.35   0         0          0        2,304   OTM       ITM      OTM
TSLA   2018-08-24   $355.00    C       7.15   12:02:00   14.45   12:47:00   0.5397    0.0114      8.3632   -0.3960   0.3067 30.20      16:00:00 2.85      15:58:00    1.52    9:31:00    7.30   15.75      -1.33   0         0          0        3,740   OTM       ITM      OTM
TSLA   2018-08-24   $357.50    C       5.85   11:27:00   13.20   12:47:00   0.5109    0.0115      7.9388   -0.3972   0.3082 27.71      15:59:00 2.50      15:56:00    1.16    9:33:00    7.35   14.51      -1.34   0         0          0        1,614   OTM      OTM       OTM
TSLA   2018-08-24   $360.00    C       5.75   11:21:00   12.02   12:47:00   0.4820    0.0116      7.5107   -0.3956   0.3080 25.94      15:59:00 2.12      16:00:00    1.16    9:31:00    6.27   13.92      -0.96   0         0          0       10,249   OTM      OTM       OTM
TSLA   2018-08-24   $362.50    C                                                                                                                 1.82     15:57:00    1.27    9:32:00                      -0.55                        0        1,591    ---       ---     OTM
TSLA   2018-08-24   $365.00    C       4.09   11:51:00 11.05     12:42:00   0.4433    0.0113      6.9511   -0.4014   0.3065 18.50      15:57:00 1.72      15:37:00    0.85    9:35:00    6.96    7.45      -0.87   0         0          0        3,735   OTM      OTM       OTM
TSLA   2018-08-24   $367.50    C                                                                                                                 1.34     15:58:00    0.78    9:31:00                      -0.56                        0        1,638    ---       ---     OTM
TSLA   2018-08-24   $370.00    C       3.35   12:02:00    8.10   12:45:00   0.3527    0.0108      5.5257   -0.3652   0.2859 19.31      16:00:00 1.27      15:42:00    0.63    9:31:00    4.75   11.21      -0.64   0         0          0        4,392   OTM      OTM       OTM
TSLA   2018-08-24   $372.50    C                                                                                                                 1.13     15:36:00    0.72    9:31:00                      -0.41                        0        1,034    ---       ---     OTM
TSLA   2018-08-24   $375.00    C       2.44   11:25:00    6.80   12:47:00   0.3186    0.0104      5.0282   -0.3530   0.2760 18.00      16:00:00 0.98      15:55:00    0.54    9:32:00    4.36   11.20      -0.44   0         0          0        2,578   OTM      OTM       OTM
TSLA   2018-08-24   $377.50    C                                                                                                                 0.93     14:21:00    0.49    9:31:00                      -0.44                        0          778    ---       ---     OTM
TSLA   2018-08-24   $380.00    C       1.80   11:39:00    5.40   12:47:00   0.2712    0.0097      4.2952   -0.3284   0.2563 14.26      16:00:00 0.79      15:51:00    0.38    9:31:00    3.60    8.86      -0.41   0         0          0        5,478   OTM      OTM       OTM
TSLA   2018-08-24   $382.50    C                                                                                                                 0.72     14:00:00    0.41    9:35:00                      -0.31                        0          875    ---       ---     OTM




                                                                                                                                                                                                                                                                             p. 3 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                  8/7 Last          8/16 Last          8/17 First         Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                       Period
Root      Date       Strike   Put     Price  Time        Price  Time        Delta Gamma          Rho       Theta     Vega   Price  Time         Price    Time      Price  Time       FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-24   $385.00    C       1.31 11:49:00      4.30 12:47:00     0.2274 0.0088        3.6133    -0.2984   0.2334 11.00 15:59:00       0.60   15:58:00    0.40  9:31:00     2.99   6.70     -0.20      0        0          0        2,876   OTM      OTM       OTM
TSLA   2018-08-24   $387.50    C                                                                                                                 0.53   15:58:00    0.28  9:31:00                     -0.25                          0        1,405    ---       ---     OTM
TSLA   2018-08-24   $390.00    C       1.12   11:59:00    3.40   12:47:00   0.1905    0.0079      3.0336   -0.2707   0.2102 10.70    15:59:00    0.50   15:47:00    0.29  9:31:00     2.28    7.30    -0.21     0         0          0        3,196   OTM      OTM       OTM
TSLA   2018-08-24   $392.50    C                                                                                                                 0.50   12:41:00    0.23  9:34:00                     -0.27                          0          390    ---       ---     OTM
TSLA   2018-08-24   $395.00    C       0.79   11:49:00    2.60   12:46:00   0.1506    0.0067      2.3942   -0.2361   0.1801   6.80   15:57:00    0.42   15:16:00    0.21  9:33:00     1.81    4.20    -0.21     0         0          0        2,012   OTM      OTM       OTM
TSLA   2018-08-24   $397.50    C                                                                                                                 0.48   11:14:00    0.18  9:34:00                     -0.30                          0          975    ---       ---     OTM
TSLA   2018-08-24   $400.00    C       0.60   11:47:00    2.10   12:47:00   0.1293    0.0061      2.0684   -0.2117   0.1630   7.00   15:59:00    0.34   15:59:00    0.21  9:31:00     1.50    4.90    -0.13     0         0          0        9,468   OTM      OTM       OTM
TSLA   2018-08-24   $402.50    C                                                                                                                 0.28   15:58:00    0.14  9:33:00                     -0.14                          0          184    ---       ---     OTM
TSLA   2018-08-24   $405.00    C       0.52   12:11:00    1.69   12:45:00   0.1016    0.0050      1.6206   -0.1811   0.1368   5.60   16:00:00    0.28   15:59:00    0.18  9:46:00     1.17    3.91    -0.10     0         0          0        2,455   OTM      OTM       OTM
TSLA   2018-08-24   $407.50    C                                                                                                                 0.23   15:59:00    0.10  9:34:00                     -0.13                          0          894    ---       ---     OTM
TSLA   2018-08-24   $410.00    C       0.47   10:08:00    1.65   12:38:00   0.0972    0.0049      1.5696   -0.1752   0.1339   4.50   16:00:00    0.20   16:00:00    0.24  9:31:00     1.18    2.85     0.04     0         0          1        1,279   OTM      OTM       OTM
TSLA   2018-08-24   $415.00    C                          1.19   12:39:00   0.0784    0.0041      1.2648   -0.1523   0.1138   2.35   13:47:00    0.20   14:54:00    0.12  9:31:00             1.16    -0.08               0          0          999    ---     OTM       OTM
TSLA   2018-08-24   $420.00    C       0.34   10:49:00    0.88   12:46:00   0.0555    0.0031      0.8888   -0.1178   0.0863   2.63   15:59:00    0.16   16:00:00    0.09  9:32:00     0.54    1.75    -0.07     0         0          0        2,335   OTM      OTM       OTM
TSLA   2018-08-24   $425.00    C                          0.70   12:47:00   0.0493    0.0028      0.7924   -0.1085   0.0789   1.20   15:58:00    0.14   14:50:00    0.09  9:34:00             0.50    -0.05               0          0        1,419    ---     OTM       OTM
TSLA   2018-08-24   $430.00    C       0.19   11:54:00    0.59   12:36:00   0.0377    0.0023      0.6083   -0.0869   0.0636   1.11   13:44:00    0.10   14:43:00    0.07  9:31:00     0.40    0.52    -0.03     0         0          0        1,430   OTM      OTM       OTM
TSLA   2018-08-24   $435.00    C                          0.44   12:34:00   0.0325    0.0020      0.5242   -0.0788   0.0563                      0.10   15:02:00    0.06  9:31:00                     -0.04                          0          415    ---       ---     OTM
TSLA   2018-08-24   $440.00    C                          0.40   12:32:00   0.0256    0.0016      0.4123   -0.0651   0.0460   1.30   13:53:00    0.05   15:59:00    0.05  9:31:00             0.90     0.00               0          1          588    ---     OTM       OTM
TSLA   2018-08-24   $450.00    C                                                                                                                 0.09   11:35:00    0.05 10:06:00                     -0.04                          0          448    ---       ---     OTM
TSLA   2018-08-24   $455.00    C                          0.25   12:44:00   0.0172    0.0011      0.2763   -0.0497   0.0328                      0.05   12:05:00                                                                                 73    ---       ---      ---
TSLA   2018-08-24   $460.00    C                          0.18   12:35:00   0.0133    0.0009      0.2141   -0.0399   0.0263   0.73   13:14:00    0.05   13:14:00                              0.55                        0                     439    ---     OTM        ---
TSLA   2018-08-24   $465.00    C                          0.14   12:30:00   0.0090    0.0006      0.1454   -0.0278   0.0188                      0.07    9:41:00                                                                                352    ---       ---      ---
TSLA   2018-08-24   $470.00    C       0.09   11:45:00                                                                        0.10   15:56:00                                                                                                   253    ---       ---      ---
TSLA   2018-08-24   $480.00    C                          0.12   12:46:00   0.0088    0.0005      0.1418   -0.0306   0.0184   0.53   14:06:00                                                 0.41                        0                      47    ---     OTM        ---
TSLA   2018-08-24   $500.00    C       0.09   11:27:00    0.06   12:33:00   0.0047    0.0003      0.0766   -0.0181   0.0107   0.56   14:06:00                                        -0.03    0.50              1         0                     970   OTM      OTM        ---
TSLA   2018-08-31   $297.50    C                                                                                                              41.60     14:35:00 31.88     9:31:00                      -9.72                        0           46    ---       ---     ITM
TSLA   2018-08-31   $300.00    C      44.40   11:27:00 58.59     12:45:00   0.8995    0.0035     17.3528   -0.1630   0.1585 75.00    15:56:00 40.50     12:44:00 31.30     9:31:00   14.19   16.41      -9.20   0         0          0          333   ITM       ITM      ITM
TSLA   2018-08-31   $302.50    C      45.75   10:42:00 56.20     12:36:00   0.8960    0.0036     17.4102   -0.1749   0.1640 75.60    15:49:00                                        10.45   19.40              0         0                     143   ITM       ITM       ---
TSLA   2018-08-31   $305.00    C      42.50    9:58:00 51.55     12:27:00   0.8836    0.0042     17.2996   -0.1761   0.1764 77.81    15:50:00 36.08     10:07:00 20.80    10:20:00    9.05   26.26     -15.28   0         0          0          141   ITM       ITM      ITM
TSLA   2018-08-31   $307.50    C                       47.70     12:26:00   0.8710    0.0047     17.1605   -0.1881   0.1892                                                                                                                     272    ---       ---      ---
TSLA   2018-08-31   $310.00    C      39.70   10:39:00                                                                      66.35    15:57:00 31.10     15:30:00 22.85     9:31:00                      -8.25                        0          866    ---       ---     ITM
TSLA   2018-08-31   $315.00    C      33.53   11:15:00 46.50     12:43:00   0.8437    0.0051     16.8953   -0.2276   0.2186 50.00    12:49:00                                        12.97    3.50              0         0                     320   ITM       ITM       ---
TSLA   2018-08-31   $317.50    C      31.57   11:15:00 39.40     12:26:00   0.8205    0.0061     16.5520   -0.2259   0.2363                                                           7.83                      0                               112   ITM        ---      ---
TSLA   2018-08-31   $320.00    C      29.04   12:07:00 40.99     12:32:00   0.8192    0.0058     16.6177   -0.2398   0.2400 47.16    13:45:00 27.60     11:35:00 15.50     9:32:00   11.95    6.17     -12.10   0         0          0        1,125   ITM       ITM      ITM
TSLA   2018-08-31   $322.50    C                                                                                                              23.01     12:54:00 14.00     9:33:00                      -9.01                        0           47    ---       ---     ITM
TSLA   2018-08-31   $325.00    C      25.41   12:07:00 26.59     12:19:00   0.7103    0.0087     14.4269   -0.2749   0.3021 50.45    15:58:00                                         1.18   23.86              0         0                     270   ITM       ITM       ---
TSLA   2018-08-31   $327.50    C      25.31    9:55:00                                                                                        17.65     15:56:00 10.01    10:01:00                      -7.64                        0          121    ---       ---     ITM
TSLA   2018-08-31   $330.00    C      21.50   11:39:00 33.33     12:45:00   0.7440    0.0074     15.3708   -0.2782   0.2927 38.16    13:45:00 16.25     15:59:00 10.68     9:31:00   11.83    4.83      -5.57   0         0          0          428   ITM       ITM      ITM
TSLA   2018-08-31   $332.50    C                                                                                                              15.91     12:44:00 9.19      9:31:00                      -6.72                        0          124    ---       ---     ITM
TSLA   2018-08-31   $335.00    C                         30.61   12:42:00   0.7281    0.0076     15.2226   -0.2941   0.3047 46.25    15:54:00 13.58     15:40:00 8.40      9:31:00           15.64      -5.18             0          0          418    ---      ITM      ITM
TSLA   2018-08-31   $337.50    C      17.20   11:36:00                                                                      36.61    13:16:00 12.59     15:36:00 7.77      9:37:00                      -4.82                        0          178    ---       ---     OTM
TSLA   2018-08-31   $340.00    C      15.18   11:42:00   24.50   12:30:00   0.6731    0.0088     14.2104   -0.2967   0.3293 40.00    15:57:00 11.50     14:12:00 6.25      9:31:00    9.32   15.50      -5.25   0         0          0        1,080   ITM       ITM      OTM
TSLA   2018-08-31   $342.50    C      13.90   11:42:00                                                                      28.43    12:57:00 9.92      16:00:00 4.50      9:44:00                      -5.42                        0          342    ---       ---     OTM
TSLA   2018-08-31   $345.00    C      13.12   11:50:00   24.00   12:42:00   0.6462    0.0088     13.7437   -0.3197   0.3419 37.00    15:58:00 9.02      15:50:00 5.25      9:32:00   10.88   13.00      -3.77   0         0          0          682   OTM       ITM      OTM
TSLA   2018-08-31   $347.50    C      11.93   11:50:00   19.00   12:27:00   0.5880    0.0099     12.5372   -0.3092   0.3539 32.70    15:58:00 8.25      15:16:00 4.12      9:33:00    7.07   13.70      -4.13   0         0          0          432   OTM       ITM      OTM
TSLA   2018-08-31   $350.00    C      10.65   11:44:00   20.80   12:42:00   0.6004    0.0092     12.8566   -0.3299   0.3553 36.50    16:00:00 6.95      15:56:00 3.95      9:31:00   10.15   15.70      -3.00   0         0          0        1,779   OTM       ITM      OTM
TSLA   2018-08-31   $352.50    C      10.20   12:17:00   18.36   12:47:00   0.5633    0.0096     12.0903   -0.3269   0.3609 34.00    15:52:00 6.26      16:00:00 4.50      9:31:00    8.16   15.64      -1.76   0         0          0          795   OTM       ITM      OTM
TSLA   2018-08-31   $355.00    C       8.72   11:48:00   18.30   12:42:00   0.5530    0.0096     11.9217   -0.3342   0.3638 32.01    15:59:00 5.81      14:28:00 3.30      9:32:00    9.58   13.71      -2.51   0         0          0          929   OTM       ITM      OTM
TSLA   2018-08-31   $357.50    C       8.44   11:56:00   15.85   12:45:00   0.4984    0.0098     10.7286   -0.3274   0.3640 25.50    15:58:00 4.90      15:58:00 2.68      9:31:00    7.41    9.65      -2.22   0         0          0          727   OTM      OTM       OTM
TSLA   2018-08-31   $360.00    C       7.47   12:08:00   15.00   12:43:00   0.4907    0.0098     10.6119   -0.3349   0.3656 25.00    15:58:00 4.37      15:55:00 2.28      9:31:00    7.53   10.00      -2.09   0         0          0        3,088   OTM      OTM       OTM
TSLA   2018-08-31   $362.50    C                                                                                                               4.03     15:36:00 2.00     10:10:00                      -2.03                        0          188    ---       ---     OTM
TSLA   2018-08-31   $365.00    C       5.70   11:48:00 13.45     12:40:00   0.4546    0.0097      9.9088   -0.3304   0.3647 24.70    15:59:00 3.42      15:56:00 1.78      9:31:00    7.75   11.25      -1.64   0         0          0          665   OTM      OTM       OTM
TSLA   2018-08-31   $367.50    C                                                                                                               3.45     12:32:00 1.71      9:48:00                      -1.74                        0          161    ---       ---     OTM
TSLA   2018-08-31   $370.00    C       5.00   12:08:00 10.50     12:45:00   0.3774    0.0095      8.2277   -0.3079   0.3469 22.20    16:00:00 2.70      15:56:00 1.84      9:31:00    5.50   11.70      -0.86   0         0          0        1,744   OTM      OTM       OTM
TSLA   2018-08-31   $372.50    C                                                                                                               2.37     15:58:00 1.37      9:39:00                      -1.00                        0          351    ---       ---     OTM
TSLA   2018-08-31   $375.00    C       4.60   10:47:00    8.80   12:43:00   0.3488    0.0092      7.6509   -0.3059   0.3393 20.04    16:00:00 2.04      16:00:00 1.31      9:31:00    4.20   11.24      -0.73   0         0          0        1,095   OTM      OTM       OTM
TSLA   2018-08-31   $377.50    C                                                                                                               2.15     10:56:00 1.00      9:53:00                      -1.15                        0          156    ---       ---     OTM
TSLA   2018-08-31   $380.00    C       3.05   12:16:00    6.89   12:46:00   0.2930    0.0086      6.4346   -0.2818   0.3143 17.75    16:00:00 1.58      15:58:00 1.00      9:31:00    3.84   10.86      -0.58   0         0          0        2,450   OTM      OTM       OTM
TSLA   2018-08-31   $382.50    C                                                                                                               1.60     13:38:00 0.70      9:33:00                      -0.90                        0          248    ---       ---     OTM




                                                                                                                                                                                                                                                                          p. 4 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                   8/7 Last          8/16 Last          8/17 First         Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                        Period
Root      Date       Strike   Put     Price  Time        Price  Time        Delta Gamma          Rho       Theta     Vega   Price  Time          Price    Time      Price  Time       FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-31   $385.00    C       2.45 11:58:00      6.07 12:44:00     0.2606 0.0082        5.7503    -0.2672   0.2974 13.50 15:59:00        1.30   15:57:00    0.80  9:38:00     3.62   7.43     -0.50      0        0          0          857   OTM      OTM       OTM
TSLA   2018-08-31   $387.50    C                                                                                                                  1.18   15:36:00    0.61  9:31:00                     -0.57                          0          355    ---       ---     OTM
TSLA   2018-08-31   $390.00    C       2.13   11:21:00    4.99   12:44:00   0.2243    0.0075      4.9655   -0.2462   0.2742 10.40     15:57:00    1.09   15:35:00    0.64  9:31:00     2.86    5.41    -0.45     0         0          0        1,094   OTM      OTM       OTM
TSLA   2018-08-31   $395.00    C       1.46   11:43:00    4.61   12:39:00   0.2081    0.0071      4.6435   -0.2365   0.2643 7.00      15:58:00    0.95   12:52:00    0.68  9:36:00     3.15    2.39    -0.27     0         0          0        1,222   OTM      OTM       OTM
TSLA   2018-08-31   $397.50    C                                                                                                                  0.82   14:04:00    0.52 10:11:00                     -0.30                          0          640    ---       ---     OTM
TSLA   2018-08-31   $400.00    C       1.37   10:59:00    3.53   12:42:00   0.1774    0.0064      3.9636   -0.2160   0.2395    6.81   16:00:00    0.72   16:00:00    0.50  9:31:00     2.16    3.28    -0.22     0         0          0        2,832   OTM      OTM       OTM
TSLA   2018-08-31   $402.50    C                                                                                                                  0.70    9:37:00    0.30  9:48:00                     -0.40                          0          247    ---       ---     OTM
TSLA   2018-08-31   $405.00    C       1.30   10:40:00    2.95   12:42:00   0.1508    0.0058      3.3770   -0.1949   0.2156    6.00   15:58:00    0.59   15:06:00    0.50  9:48:00     1.65    3.05    -0.09     0         0          0          696   OTM      OTM       OTM
TSLA   2018-08-31   $410.00    C                          3.52   12:27:00   0.0982    0.0045      2.1895   -0.1372   0.1578    5.50   16:00:00    0.58   13:04:00    0.50  9:31:00             1.98    -0.08               0          0        1,970    ---     OTM       OTM
TSLA   2018-08-31   $415.00    C                          3.50   12:27:00   0.0814    0.0039      1.8180   -0.1200   0.1372    6.00   15:50:00    0.45   12:42:00    0.20 12:08:00             2.50    -0.25               0          0          357    ---     OTM       OTM
TSLA   2018-08-31   $420.00    C       0.67    9:41:00                                                                         3.00   15:58:00    0.34   15:50:00    0.29  9:31:00                     -0.05                          0        2,728    ---       ---     OTM
TSLA   2018-08-31   $425.00    C                        0.44     12:19:00   0.0313    0.0019      0.6836   -0.0552   0.0624    1.90   15:58:00    0.30   14:18:00    0.22  9:31:00             1.46    -0.08               0          0          454    ---     OTM       OTM
TSLA   2018-08-31   $430.00    C       0.37   12:16:00  1.13     12:39:00   0.0645    0.0030      1.4568   -0.1076   0.1162    0.33   16:00:00    0.30   14:19:00    0.19  9:31:00     0.76   -0.80    -0.11     0         1          0        1,341   OTM      OTM       OTM
TSLA   2018-08-31   $435.00    C                        0.92     12:41:00   0.0537    0.0026      1.2108   -0.0946   0.1004    1.30   12:56:00    0.24   12:51:00                              0.38                        0                     322    ---     OTM        ---
TSLA   2018-08-31   $440.00    C                        0.74     12:44:00   0.0420    0.0021      0.9450   -0.0782   0.0822    1.36   13:49:00                                                 0.62                        0                     327    ---     OTM        ---
TSLA   2018-08-31   $445.00    C                        0.65     12:39:00   0.0388    0.0020      0.8779   -0.0736   0.0775    0.85   15:59:00    0.12   15:46:00                              0.20                        0                     168    ---     OTM        ---
TSLA   2018-08-31   $450.00    C                        0.25     12:23:00   0.0179    0.0011      0.3977   -0.0372   0.0396    0.90   14:06:00                                                 0.65                        0                     797    ---     OTM        ---
TSLA   2018-08-31   $460.00    C                        0.41     12:35:00   0.0205    0.0011      0.4623   -0.0443   0.0453    0.90   13:12:00                                                 0.49                        0                      62    ---     OTM        ---
TSLA   2018-09-07   $295.00    C      49.70   11:47:00 64.00     12:31:00   0.9074    0.0031     22.1693   -0.1386   0.1705   77.80   15:57:00                                        14.30   13.80              0         0                      24   ITM       ITM       ---
TSLA   2018-09-07   $297.50    C                                                                                                                 44.03    9:53:00 26.49     9:46:00                     -17.54                        0           31    ---       ---     ITM
TSLA   2018-09-07   $300.00    C      45.55   11:27:00 59.40     12:45:00   0.8809    0.0036     21.7447   -0.1583   0.2035 63.50     13:44:00                                        13.85    4.10              0         0                     233   ITM       ITM       ---
TSLA   2018-09-07   $307.50    C      42.50    9:39:00 53.50     12:37:00   0.8631    0.0041     21.7731   -0.1729   0.2263                                                           11.00                      0                                69   ITM        ---      ---
TSLA   2018-09-07   $310.00    C                       52.18     12:37:00   0.8535    0.0044     21.6674   -0.1794   0.2372                                                                                                                      153    ---       ---      ---
TSLA   2018-09-07   $315.00    C                       42.00     12:26:00   0.8121    0.0056     20.8081   -0.2024   0.2757                                                                                                                      124    ---       ---      ---
TSLA   2018-09-07   $317.50    C      35.92   10:26:00                                                                                                                                                                                            32    ---       ---      ---
TSLA   2018-09-07   $320.00    C                                                                                                                 26.80   10:55:00 15.40     9:42:00                     -11.40                        0          178    ---       ---     ITM
TSLA   2018-09-07   $322.50    C      32.19   10:26:00                                                                        46.65   13:52:00                                                                                                    91    ---       ---      ---
TSLA   2018-09-07   $325.00    C                                                                                                               22.00     13:49:00 14.85     9:32:00                      -7.15                        0          157    ---       ---     ITM
TSLA   2018-09-07   $327.50    C                                                                                                               21.02     14:07:00 13.90     9:38:00                      -7.12                        0           46    ---       ---     ITM
TSLA   2018-09-07   $330.00    C      26.00    9:44:00                                                                        55.15   15:50:00 18.74     15:57:00 13.50     9:35:00                      -5.24                        0          384    ---       ---     ITM
TSLA   2018-09-07   $332.50    C                         32.71   12:36:00   0.7233    0.0070     19.2360   -0.2490   0.3474                                                                                                                      143    ---       ---      ---
TSLA   2018-09-07   $335.00    C                                                                                                                 15.88   15:57:00 10.95     9:31:00                      -4.93                        0          268    ---       ---     ITM
TSLA   2018-09-07   $337.50    C                       29.21     12:36:00   0.6868    0.0076     18.4249   -0.2602   0.3681                      14.75   15:53:00 10.00     9:35:00                      -4.75                        0          297    ---       ---     OTM
TSLA   2018-09-07   $340.00    C      18.45   11:17:00 28.45     12:37:00   0.6734    0.0077     18.1607   -0.2625   0.3755 35.85     14:03:00   13.72   15:30:00 8.65      9:31:00   10.00    7.40      -5.07   0         0          0          421   ITM       ITM      OTM
TSLA   2018-09-07   $342.50    C                                                                                                                 13.90   11:59:00 8.85      9:31:00                      -5.05                        0          276    ---       ---     OTM
TSLA   2018-09-07   $345.00    C      17.40   10:29:00 25.15     12:37:00   0.6331    0.0081     17.2020   -0.2722   0.3923 41.27     16:00:00   13.30   11:46:00 7.00      9:32:00    7.75   16.12      -6.30   0         0          0          445   OTM       ITM      OTM
TSLA   2018-09-07   $347.50    C                                                                                                                 10.90   12:37:00 6.65      9:34:00                      -4.25                        0          136    ---       ---     OTM
TSLA   2018-09-07   $350.00    C      13.00   11:55:00 21.65     12:47:00   0.5834    0.0085     15.9341   -0.2808   0.4058 33.00     15:58:00    9.25   15:56:00 5.95      9:31:00    8.65   11.35      -3.30   0         0          0        1,126   OTM       ITM      OTM
TSLA   2018-09-07   $352.50    C                                                                                                                 10.06   12:09:00 4.46     10:53:00                      -5.60                        0          144    ---       ---     OTM
TSLA   2018-09-07   $355.00    C      10.50   11:26:00 19.95     12:40:00   0.5509    0.0086     15.1579   -0.2874   0.4131 28.55     15:57:00    8.20   12:49:00 3.81      9:43:00    9.45    8.60      -4.39   0         0          0          509   OTM       ITM      OTM
TSLA   2018-09-07   $357.50    C                                                                                                                  6.81   13:46:00 4.11      9:31:00                      -2.70                        0          305    ---       ---     OTM
TSLA   2018-09-07   $360.00    C       9.00   12:13:00 16.00     12:47:00   0.4953    0.0089     13.6976   -0.2824   0.4151 28.75     15:59:00    7.00   12:08:00 3.35      9:31:00    7.00   12.75      -3.65   0         0          0        1,682   OTM      OTM       OTM
TSLA   2018-09-07   $362.50    C                                                                                                                  5.76   12:46:00 2.97      9:49:00                      -2.79                        0          125    ---       ---     OTM
TSLA   2018-09-07   $365.00    C                         14.03   12:45:00   0.4366    0.0088     12.1003   -0.2758   0.4082 25.50     15:59:00    5.14   13:31:00 2.68      9:43:00           11.47      -2.46             0          0          434    ---     OTM       OTM
TSLA   2018-09-07   $367.50    C                                                                                                                  4.43   13:46:00 2.42      9:49:00                      -2.01                        0           36    ---       ---     OTM
TSLA   2018-09-07   $370.00    C       6.25   12:07:00 11.62     12:45:00   0.3935    0.0087     10.9577   -0.2684   0.3987 19.00     15:57:00    3.80   15:44:00 2.25      9:41:00    5.37    7.38      -1.55   0         0          0          791   OTM      OTM       OTM
TSLA   2018-09-07   $375.00    C       5.13   11:52:00 10.10     12:44:00   0.3613    0.0085     10.1151   -0.2646   0.3894 20.85     16:00:00    3.11   15:47:00 5.24      9:31:00    4.97   10.75       2.13   0         0          1          791   OTM      OTM       OTM
TSLA   2018-09-07   $377.50    C                                                                                                                  3.60   11:17:00 8.27      9:31:00                       4.67                        1          178    ---       ---     OTM
TSLA   2018-09-07   $380.00    C       4.30   12:02:00    9.33   12:40:00   0.3372    0.0082      9.5171   -0.2577   0.3818 17.94     16:00:00    2.55   14:46:00 1.28      9:31:00    5.03    8.61      -1.27   0         0          0        1,103   OTM      OTM       OTM
TSLA   2018-09-07   $382.50    C                                                                                                                  2.11   16:00:00 7.82      9:31:00                       5.71                        1          294    ---       ---     OTM
TSLA   2018-09-07   $385.00    C       3.15   11:41:00    7.11   12:36:00   0.2872    0.0078      8.1240   -0.2370   0.3550 13.50     15:56:00    2.00   15:48:00 0.91      9:31:00    3.96    6.39      -1.09   0         0          0          224   OTM      OTM       OTM
TSLA   2018-09-07   $390.00    C                          5.29   12:30:00   0.2384    0.0073      6.7639   -0.2094   0.3218 15.00     16:00:00    1.50   15:44:00 0.97      9:36:00            9.71      -0.53             0          0          590    ---     OTM       OTM
TSLA   2018-09-07   $395.00    C       2.10   11:28:00    4.90   12:45:00   0.2105    0.0066      5.9644   -0.2003   0.2993 9.10      15:58:00    1.31   13:46:00 0.98     10:40:00    2.80    4.20      -0.33   0         0          0          146   OTM      OTM       OTM
TSLA   2018-09-07   $397.50    C                                                                                                                  1.16   15:25:00 0.55     12:26:00                      -0.61                        0           45    ---       ---     OTM
TSLA   2018-09-07   $400.00    C       1.79   12:17:00    2.50   12:33:00   0.1918    0.0063      5.4817   -0.1892   0.2848    7.42   15:58:00    0.98   15:57:00 0.60      9:31:00    0.71    4.92      -0.38   0         0          0        6,085   OTM      OTM       OTM
TSLA   2018-09-07   $402.50    C                                                                                                                  0.90   14:57:00 0.78      9:57:00                      -0.12                        0          467    ---       ---     OTM
TSLA   2018-09-07   $405.00    C       1.50    9:32:00    3.66   12:43:00   0.1675    0.0057      4.7830   -0.1771   0.2611    9.88   15:51:00    0.89   13:46:00 2.59      9:35:00    2.16    6.22       1.70   0         0          1          429   OTM      OTM       OTM
TSLA   2018-09-07   $407.50    C                                                                                                                  0.91   12:08:00 0.50     11:10:00                      -0.41                        0           24    ---       ---     OTM




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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                  8/7 Last          8/16 Last          8/17 First          Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                        Period
Root      Date       Strike   Put     Price  Time        Price  Time        Delta Gamma          Rho       Theta     Vega     Price  Time       Price    Time      Price  Time        FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-09-07   $410.00    C       1.57  9:38:00      3.33 12:40:00     0.1511 0.0053        4.3383    -0.1660   0.2450    5.06 15:58:00     0.72   15:59:00    0.50  9:34:00      1.76   1.73     -0.22      0        0          0          294   OTM      OTM       OTM
TSLA   2018-09-07   $415.00    C       0.95 11:54:00      2.77 12:40:00     0.1304 0.0047        3.7507    -0.1508   0.2217                      0.67   13:04:00    0.50  9:40:00      1.82            -0.17      0                   0          128   OTM        ---     OTM
TSLA   2018-09-07   $420.00    C                                                                                                                 0.61   12:20:00    0.45  9:31:00                      -0.16                          0          838    ---       ---     OTM
TSLA   2018-09-07   $425.00    C                                                                                                                 0.48   14:10:00    0.25  9:31:00                      -0.23                          0          306    ---       ---     OTM
TSLA   2018-09-07   $430.00    C                                                                                                                 0.40    9:52:00    0.19 12:25:00                      -0.21                          0          220    ---       ---     OTM
TSLA   2018-09-07   $440.00    C                          1.08   12:40:00   0.0609    0.0026      1.7652   -0.0883   0.1261   2.15   13:15:00                                                  1.07                        0                     149    ---     OTM        ---
TSLA   2018-09-07   $445.00    C                                                                                                                 0.19   14:14:00    0.12   12:54:00                      -0.07                        0           47    ---       ---     OTM
TSLA   2018-09-07   $450.00    C                                                                                                                 0.24   13:20:00    0.19   10:54:00                      -0.05                        0          411    ---       ---     OTM
TSLA   2018-09-07   $460.00    C                                                                                                                 0.19   11:12:00                                                                                  98    ---       ---      ---
TSLA   2018-09-07   $470.00    C                                                                                                                 0.16   11:12:00                                                                                  47    ---       ---      ---
TSLA   2018-09-07   $480.00    C                                                                                                                 0.11   11:18:00    0.09   12:02:00                      -0.02                        0           57    ---       ---     OTM
TSLA   2018-09-07   $500.00    C                                                                                                                 0.16   11:16:00    0.05   10:30:00                      -0.11                        0           92    ---       ---     OTM
TSLA   2018-09-07   $510.00    C                                                                                                                 0.11   11:12:00                                                                                   4    ---       ---      ---
TSLA   2018-09-07   $520.00    C                                                                                                                 0.10   11:12:00                                                                                  16    ---       ---      ---
TSLA   2018-09-07   $550.00    C                                                                                                                 0.05   11:11:00                                                                                 203    ---       ---      ---
TSLA   2018-09-14   $300.00    C                                                                                                                43.50   14:19:00   28.70   10:16:00                     -14.80                        0           36    ---       ---     ITM
TSLA   2018-09-14   $305.00    C                                                                                                                39.30    9:59:00   25.25    9:50:00                     -14.05                        0           50    ---       ---     ITM
TSLA   2018-09-14   $310.00    C                                                                                                                35.46   13:45:00   23.50    9:42:00                     -11.96                        0          176    ---       ---     ITM
TSLA   2018-09-14   $320.00    C                                                                                                                29.95   10:16:00   20.00    9:31:00                      -9.95                        0           76    ---       ---     ITM
TSLA   2018-09-14   $325.00    C                                                                                                                26.20    9:38:00   18.53    9:36:00                      -7.67                        0          100    ---       ---     ITM
TSLA   2018-09-14   $327.50    C                                                                                                                23.50   14:18:00   17.00    9:36:00                      -6.50                        0           71    ---       ---     ITM
TSLA   2018-09-14   $330.00    C                                                                                                                24.35   11:53:00   12.31    9:43:00                     -12.04                        0          161    ---       ---     ITM
TSLA   2018-09-14   $332.50    C                         32.82   12:30:00   0.7007    0.0066     22.5655   -0.2277   0.3973 38.34    13:41:00   20.29   14:36:00   11.62   10:05:00            5.52      -8.67             0          0           99    ---      ITM      ITM
TSLA   2018-09-14   $335.00    C      23.80   10:05:00                                                                                          18.88   14:36:00   11.80    9:37:00                      -7.08                        0           94    ---       ---     ITM
TSLA   2018-09-14   $337.50    C                                                                                                                17.65   14:38:00    9.95    9:49:00                      -7.70                        0           64    ---       ---     OTM
TSLA   2018-09-14   $340.00    C      22.11   10:22:00                                                                                          16.00   14:25:00   10.71    9:31:00                      -5.29                        0          232    ---       ---     OTM
TSLA   2018-09-14   $342.50    C                                                                                                                15.05   13:35:00    8.02    9:45:00                      -7.03                        0           51    ---       ---     OTM
TSLA   2018-09-14   $345.00    C      16.75   11:45:00 27.45     12:40:00   0.6269    0.0072     20.6011   -0.2536   0.4368 33.25    13:18:00   16.05   11:39:00    8.50    9:31:00   10.70    5.80      -7.55   0         0          0          119   OTM       ITM      OTM
TSLA   2018-09-14   $350.00    C      15.15   12:02:00 22.80     12:46:00   0.5695    0.0077     18.7778   -0.2579   0.4502 35.60    15:55:00   11.40   15:45:00    8.00    9:35:00    7.65   12.80      -3.40   0         0          0          778   OTM       ITM      OTM
TSLA   2018-09-14   $352.50    C                                                                                                                11.20   12:35:00    6.15    9:55:00                      -5.05                        0           77    ---       ---     OTM
TSLA   2018-09-14   $355.00    C      13.07   12:03:00 20.50     12:47:00   0.5410    0.0079     18.0070   -0.2575   0.4567 33.00    15:56:00    9.50   15:52:00    4.75    9:43:00    7.43   12.50      -4.75   0         0          0          348   OTM       ITM      OTM
TSLA   2018-09-14   $360.00    C      11.20   12:03:00 18.10     12:47:00   0.5011    0.0080     16.7792   -0.2570   0.4593 28.00    15:55:00    8.03   15:02:00    3.81    9:43:00    6.90    9.90      -4.22   0         0          0          613   OTM      OTM       OTM
TSLA   2018-09-14   $365.00    C       9.35   11:24:00 16.12     12:34:00   0.4630    0.0081     15.6126   -0.2540   0.4579 25.10    15:54:00    7.00   12:31:00    3.70   10:04:00    6.77    8.98      -3.30   0         0          0          334   OTM      OTM       OTM
TSLA   2018-09-14   $367.50    C                                                                                                                 6.49   10:02:00    3.30   10:05:00                      -3.19                        0           28    ---       ---     OTM
TSLA   2018-09-14   $370.00    C       7.90   11:24:00 11.55     12:26:00   0.3815    0.0081     12.8507   -0.2319   0.4339 23.00    15:54:00    5.44   15:05:00    3.45    9:37:00    3.65   11.45      -1.99   0         0          0          564   OTM      OTM       OTM
TSLA   2018-09-14   $372.50    C                                                                                                                 5.82   11:51:00    2.60   11:43:00                      -3.22                        0          260    ---       ---     OTM
TSLA   2018-09-14   $375.00    C       6.53   11:34:00 11.95     12:33:00   0.3841    0.0079     13.0881   -0.2393   0.4406 17.75    13:15:00    4.61   12:35:00    2.57    9:31:00    5.42    5.80      -2.04   0         0          0          743   OTM      OTM       OTM
TSLA   2018-09-14   $377.50    C                                                                                                                 4.45   12:14:00    1.72    9:32:00                      -2.73                        0          200    ---       ---     OTM
TSLA   2018-09-14   $380.00    C       5.61   12:04:00 10.37     12:45:00   0.3319    0.0075     11.3034   -0.2258   0.4164 20.06    16:00:00    3.39   15:40:00    1.85    9:31:00    4.76    9.69      -1.54   0         0          0          701   OTM      OTM       OTM
TSLA   2018-09-14   $382.50    C                                                                                                                 3.48    9:45:00    1.81    9:31:00                      -1.67                        0          117    ---       ---     OTM
TSLA   2018-09-14   $385.00    C       4.69   12:04:00    8.90   12:45:00   0.2978    0.0072     10.1748   -0.2157   0.3975 13.93    14:06:00    2.80   15:37:00    2.45    9:42:00    4.21    5.03      -0.35   0         0          0          136   OTM      OTM       OTM
TSLA   2018-09-14   $390.00    C       4.60    9:38:00    7.33   12:33:00   0.2777    0.0070      9.5700   -0.2089   0.3869 11.26    15:57:00    2.80   11:22:00    1.44   10:21:00    2.73    3.93      -1.36   0         0          0          231   OTM      OTM       OTM
TSLA   2018-09-14   $392.50    C                                                                                                                 2.31   12:12:00    1.01    9:31:00                      -1.30                        0           64    ---       ---     OTM
TSLA   2018-09-14   $395.00    C       3.17   12:17:00    5.05   12:31:00   0.2375    0.0065      8.2036   -0.1899   0.3558   9.00   15:58:00                                          1.88    3.95              0         0                     199   OTM      OTM        ---
TSLA   2018-09-14   $397.50    C                                                                                                                 1.76   12:35:00                                                                                  13    ---       ---      ---
TSLA   2018-09-14   $400.00    C       2.77    9:31:00    5.60   12:46:00   0.2099    0.0060      7.2386   -0.1812   0.3308 11.60    16:00:00    1.53   15:47:00    0.88    9:32:00    2.83    6.00      -0.65   0         0          0          636   OTM      OTM       OTM
TSLA   2018-09-14   $402.50    C                                                                                                                 1.52   12:12:00    1.02   10:54:00                      -0.50                        0          106    ---       ---     OTM
TSLA   2018-09-14   $405.00    C       2.65   10:04:00    4.98   12:38:00   0.2063    0.0059      7.1984   -0.1801   0.3311   6.96   15:57:00                                          2.33    1.98              0         0                      73   OTM      OTM        ---
TSLA   2018-09-14   $407.50    C                                                                                                                 1.40   11:17:00                                                                                  69    ---       ---      ---
TSLA   2018-09-14   $410.00    C       2.08   11:05:00    4.25   12:40:00   0.1766    0.0053      6.1556   -0.1646   0.3000   6.00   15:54:00    1.00   15:58:00    0.44    9:48:00    2.17    1.75      -0.56   0         0          0          347   OTM      OTM       OTM
TSLA   2018-09-14   $415.00    C                          3.80   12:38:00   0.1601    0.0050      5.6112   -0.1546   0.2827   8.15   15:56:00    0.89   12:28:00    0.60   11:49:00            4.35      -0.29             0          0          178    ---     OTM       OTM
TSLA   2018-09-14   $420.00    C       1.60    9:36:00    2.77   12:46:00   0.1239    0.0042      4.3076   -0.1298   0.2349   4.48   14:04:00    0.70   15:51:00    0.53   10:09:00    1.17    1.71      -0.17   0         0          0          235   OTM      OTM       OTM
TSLA   2018-09-14   $425.00    C                          2.75   12:38:00   0.1216    0.0041      4.2824   -0.1287   0.2346   4.75   13:14:00                                                  2.00                        0                     241    ---     OTM        ---
TSLA   2018-09-14   $430.00    C       0.90   11:37:00                                                                        4.10   13:16:00    0.46    9:49:00    0.28    9:34:00                      -0.18                        0           90    ---       ---     OTM
TSLA   2018-09-14   $440.00    C       0.79   11:08:00                                                                                           0.40   10:23:00                                                                                  79    ---       ---      ---
TSLA   2018-09-14   $445.00    C       0.65   11:10:00                                                                                                                                                                                            38    ---       ---      ---
TSLA   2018-09-14   $450.00    C       0.55   11:13:00                                                                        1.36   13:31:00                                                                                                     75    ---       ---      ---
TSLA   2018-09-14   $455.00    C       0.43   12:02:00                                                                                                                                                                                            20    ---       ---      ---




                                                                                                                                                                                                                                                                           p. 6 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                  8/7 Last          8/16 Last          8/17 First          Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                        Period
Root      Date       Strike   Put    Price    Time       Price  Time        Delta Gamma          Rho       Theta     Vega     Price  Time       Price    Time      Price    Time      FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-09-14   $460.00    C      0.40 11:15:00       0.84 12:47:00     0.0428 0.0018        1.5075    -0.0602   0.1049    1.39 13:17:00                                           0.44   0.55                0        0                      94   OTM      OTM        ---
TSLA   2018-09-14   $465.00    C                          0.70 12:32:00     0.0358 0.0016        1.2628    -0.0521   0.0907    1.19 13:17:00                                                  0.49                         0                       7    ---     OTM        ---
TSLA   2018-09-14   $470.00    C      0.28 11:37:00                                                                                                                                                                                               23    ---       ---      ---
TSLA   2018-09-14   $475.00    C      0.23 11:18:00                                                                           0.75   13:38:00                                                                                                     43    ---       ---      ---
TSLA   2018-09-14   $500.00    C                          0.29   12:40:00   0.0156    0.0007      0.5553   -0.0275   0.0454                                                                                                                       18    ---       ---      ---
TSLA   2018-09-21   $230.00    C    111.86 11:27:00     125.00   12:30:00   0.9477    0.0010     25.9095   -0.1084   0.1282 145.00   15:54:00 107.35     9:48:00                      13.14   20.00              0         0                      40   ITM       ITM       ---
TSLA   2018-09-21   $235.00    C    109.55    9:31:00   123.75   12:34:00   0.9547    0.0010     26.8838   -0.0891   0.1146                                                           14.20                      0                                 3   ITM        ---      ---
TSLA   2018-09-21   $240.00    C    106.27 10:39:00                                                                         123.35   13:21:00                                                                                                     24    ---       ---      ---
TSLA   2018-09-21   $245.00    C     99.80    9:31:00                                                                       119.00   13:53:00                                                                                                     12    ---       ---      ---
TSLA   2018-09-21   $250.00    C                        105.50   12:30:00   0.9424    0.0013     28.1717   -0.0967   0.1390 134.95   15:51:00 89.90     13:37:00   78.99    9:31:00           29.45     -10.91             0          0          116    ---      ITM      ITM
TSLA   2018-09-21   $255.00    C                                                                                                              88.65     11:18:00   66.00    9:43:00                     -22.65                        0           13    ---       ---     ITM
TSLA   2018-09-21   $260.00    C     83.00 11:39:00      98.88   12:42:00   0.9294    0.0016     28.7354   -0.1149   0.1653 110.80   14:09:00 82.90     11:55:00   68.48    9:31:00   15.88   11.92     -14.42   0         0          0          205   ITM       ITM      ITM
TSLA   2018-09-21   $265.00    C                                                                                                              75.13     15:47:00   57.86    9:44:00                     -17.27                        0           28    ---       ---     ITM
TSLA   2018-09-21   $270.00    C     76.50    9:56:00                                                                       110.64   16:00:00                                                                                                     95    ---       ---      ---
TSLA   2018-09-21   $275.00    C     69.40 11:45:00      77.00   12:23:00   0.9075    0.0024     29.6829   -0.1159   0.1994 105.26   16:00:00                                          7.60   28.26              0         0                      41   ITM       ITM       ---
TSLA   2018-09-21   $280.00    C     66.48 12:04:00      75.04   12:26:00   0.9000    0.0025     29.9114   -0.1213   0.2129 105.67   15:47:00 61.32     14:26:00   48.01    9:42:00    8.56   30.63     -13.31   0         0          0          265   ITM       ITM      ITM
TSLA   2018-09-21   $285.00    C     65.00 10:21:00                                                                          93.00   15:59:00 57.12     14:26:00   46.45    9:39:00                     -10.67                        0          324    ---       ---     ITM
TSLA   2018-09-21   $290.00    C     59.44 10:15:00      70.79   12:43:00   0.8753    0.0029     29.8745   -0.1441   0.2529 90.00    15:59:00 55.20     12:17:00   41.90    9:31:00   11.35   19.21     -13.30   0         0          0          251   ITM       ITM      ITM
TSLA   2018-09-21   $295.00    C     52.53 11:31:00      65.70   12:33:00   0.8702    0.0032     30.2447   -0.1440   0.2614 86.34    16:00:00 48.70     15:51:00   39.92    9:32:00   13.17   20.64      -8.78   0         0          0          176   ITM       ITM      ITM
TSLA   2018-09-21   $300.00    C     48.10 11:26:00      62.09   12:43:00   0.8436    0.0036     29.5543   -0.1644   0.2962 82.00    16:00:00 44.75     16:00:00   35.20    9:31:00   13.99   19.91      -9.55   0         0          0        3,385   ITM       ITM      ITM
TSLA   2018-09-21   $305.00    C     46.44 10:06:00      58.42   12:41:00   0.8341    0.0038     29.6642   -0.1715   0.3101 79.17    15:53:00 40.90     15:39:00   31.95    9:33:00   11.98   20.75      -8.95   0         0          0          353   ITM       ITM      ITM
TSLA   2018-09-21   $310.00    C     43.70 10:46:00      53.20   12:36:00   0.8135    0.0043     29.3283   -0.1749   0.3331 74.35    16:00:00 37.30     15:46:00   30.00    9:35:00    9.50   21.15      -7.30   0         0          0        1,750   ITM       ITM      ITM
TSLA   2018-09-21   $315.00    C     36.44 11:48:00      44.86   12:25:00   0.7725    0.0051     28.0715   -0.1892   0.3709 66.00    15:59:00 36.08     11:55:00   26.50    9:35:00    8.42   21.14      -9.58   0         0          0          612   ITM       ITM      ITM
TSLA   2018-09-21   $320.00    C     34.29 12:04:00      44.30   12:46:00   0.7568    0.0052     27.7865   -0.2004   0.3882 63.35    16:00:00 29.90     15:58:00   22.50    9:32:00   10.01   19.05      -7.40   0         0          0        3,998   ITM       ITM      ITM
TSLA   2018-09-21   $325.00    C     33.31 10:21:00      41.45   12:44:00   0.7337    0.0055     27.2245   -0.2090   0.4085 59.24    16:00:00 27.15     15:10:00   20.93    9:31:00    8.14   17.79      -6.22   0         0          0        1,402   ITM       ITM      ITM
TSLA   2018-09-21   $330.00    C     29.55 10:47:00      38.00   12:47:00   0.7091    0.0058     26.5991   -0.2137   0.4274 55.00    15:59:00 23.50     15:51:00   16.36    9:31:00    8.45   17.00      -7.14   0         0          0        9,961   ITM       ITM      ITM
TSLA   2018-09-21   $335.00    C     24.50 12:06:00      35.00   12:43:00   0.6764    0.0062     25.5675   -0.2230   0.4481 54.35    16:00:00 20.53     15:59:00   14.60    9:31:00   10.50   19.35      -5.93   0         0          0        2,511   ITM       ITM      ITM
TSLA   2018-09-21   $340.00    C     21.47 12:12:00      31.00   12:47:00   0.6460    0.0065     24.6483   -0.2274   0.4644 48.00    16:00:00 17.96     16:00:00   12.53    9:31:00    9.53   17.00      -5.43   0         0          0        5,264   ITM       ITM      OTM
TSLA   2018-09-21   $345.00    C     18.90 12:13:00      28.76   12:43:00   0.6103    0.0067     23.4227   -0.2349   0.4791 44.03    16:00:00 15.53     15:51:00   10.50    9:31:00    9.86   15.27      -5.03   0         0          0        1,853   OTM       ITM      OTM
TSLA   2018-09-21   $350.00    C     16.80 12:15:00      25.30   12:47:00   0.5770    0.0070     22.3372   -0.2357   0.4895 39.95    16:00:00 13.17     16:00:00    8.89    9:31:00    8.50   14.65      -4.28   0         0          0        8,889   OTM       ITM      OTM
TSLA   2018-09-21   $355.00    C     14.43 12:12:00      22.60   12:47:00   0.5411    0.0072     21.0907   -0.2366   0.4964 32.88    15:59:00 11.11     15:57:00    7.55    9:31:00    8.17   10.28      -3.56   0         0          0        4,377   OTM       ITM      OTM
TSLA   2018-09-21   $360.00    C     12.83 12:02:00      20.05   12:47:00   0.5048    0.0073     19.7897   -0.2368   0.4992 33.80    16:00:00 9.30      15:57:00    6.14    9:31:00    7.22   13.75      -3.16   0         0          0       10,498   OTM      OTM       OTM
TSLA   2018-09-21   $365.00    C     10.50 11:46:00      17.80   12:47:00   0.4687    0.0073     18.4691   -0.2355   0.4979 25.45    15:58:00 7.75      16:00:00    4.93    9:31:00    7.30    7.65      -2.82   0         0          0        4,422   OTM      OTM       OTM
TSLA   2018-09-21   $370.00    C      9.36 12:15:00      15.37   12:47:00   0.4321    0.0073     17.1254   -0.2305   0.4923 27.00    16:00:00 6.30      16:00:00    4.08    9:31:00    6.01   11.63      -2.22   0         0          0        8,889   OTM      OTM       OTM
TSLA   2018-09-21   $375.00    C      7.98 12:15:00      13.52   12:47:00   0.3961    0.0072     15.7800   -0.2242   0.4826 23.40    16:00:00 5.20      16:00:00    3.25    9:31:00    5.54    9.88      -1.95   0         0          0       12,763   OTM      OTM       OTM
TSLA   2018-09-21   $380.00    C      6.71 12:13:00      11.65   12:46:00   0.3518    0.0070     14.0311   -0.2152   0.4630 21.71    16:00:00 4.25      16:00:00    2.68    9:31:00    4.94   10.06      -1.57   0         0          0       15,088   OTM      OTM       OTM
TSLA   2018-09-21   $385.00    C      5.71 11:53:00      10.18   12:45:00   0.3185    0.0068     12.7539   -0.2059   0.4453 19.50    16:00:00 3.45      15:59:00    2.16    9:31:00    4.47    9.32      -1.29   0         0          0        5,357   OTM      OTM       OTM
TSLA   2018-09-21   $390.00    C      4.82 12:12:00       8.98   12:47:00   0.2966    0.0066     11.9646   -0.1992   0.4335 16.38    16:00:00 2.78      15:59:00    1.55    9:31:00    4.16    7.40      -1.23   0         0          0        9,557   OTM      OTM       OTM
TSLA   2018-09-21   $395.00    C      4.05 12:12:00       8.17   12:43:00   0.2667    0.0062     10.7879   -0.1894   0.4118 12.92    16:00:00 2.30      15:39:00    1.45    9:31:00    4.12    4.75      -0.85   0         0          0        2,565   OTM      OTM       OTM
TSLA   2018-09-21   $400.00    C      3.46 12:17:00       6.96   12:47:00   0.2382    0.0059      9.6736   -0.1771   0.3881 11.60    16:00:00 1.87      16:00:00    1.25    9:31:00    3.50    4.64      -0.62   0         0          0       26,746   OTM      OTM       OTM
TSLA   2018-09-21   $405.00    C      2.86 11:44:00       5.90   12:45:00   0.2065    0.0054      8.3763   -0.1641   0.3563 9.36     16:00:00 1.57      16:00:00    0.92    9:31:00    3.04    3.46      -0.65   0         0          0        2,632   OTM      OTM       OTM
TSLA   2018-09-21   $410.00    C      2.57 12:02:00       4.90   12:46:00   0.1829    0.0051      7.4411   -0.1521   0.3310 7.65     16:00:00 1.29      15:54:00    0.66    9:31:00    2.33    2.75      -0.63   0         0          0       12,500   OTM      OTM       OTM
TSLA   2018-09-21   $415.00    C      2.19 12:08:00       4.24   12:46:00   0.1617    0.0047      6.5917   -0.1405   0.3059 7.50     16:00:00 1.04      15:53:00    0.68    9:33:00    2.05    3.26      -0.36   0         0          0        3,857   OTM      OTM       OTM
TSLA   2018-09-21   $420.00    C      1.84 11:59:00       3.87   12:45:00   0.1442    0.0043      5.8882   -0.1311   0.2836 5.00     16:00:00 0.85      16:00:00    0.58    9:31:00    2.03    1.13      -0.27   0         0          0       12,509   OTM      OTM       OTM
TSLA   2018-09-21   $425.00    C      1.50 12:14:00       3.10   12:46:00   0.1263    0.0040      5.1721   -0.1196   0.2590 3.38     16:00:00 0.78      15:51:00    0.51    9:35:00    1.60    0.28      -0.27   0         0          0        5,168   OTM      OTM       OTM
TSLA   2018-09-21   $430.00    C      1.25 11:31:00       2.90   12:44:00   0.1146    0.0037      4.7049   -0.1124   0.2423 2.42     16:00:00 0.69      15:57:00    0.50    9:33:00    1.65   -0.48      -0.19   0         1          0        5,148   OTM      OTM       OTM
TSLA   2018-09-21   $435.00    C      1.09 12:17:00       2.61   12:40:00   0.1098    0.0035      4.5349   -0.1108   0.2364 2.60     15:54:00 0.59      16:00:00    0.21    9:31:00    1.52   -0.01      -0.38   0         1          0        3,448   OTM      OTM       OTM
TSLA   2018-09-21   $440.00    C      0.95 12:14:00       2.10   12:38:00   0.0965    0.0032      4.0128   -0.0998   0.2161 1.03     15:54:00 0.52      15:57:00    0.83    9:31:00    1.15   -1.07       0.31   0         1          1        1,941   OTM      OTM       OTM
TSLA   2018-09-21   $445.00    C      0.83 11:32:00       1.00   12:22:00   0.0497    0.0021      2.0249   -0.0561   0.1259 1.47     16:00:00 0.41      14:52:00    0.37   10:37:00    0.17    0.47      -0.04   0         0          0          923   OTM      OTM       OTM
TSLA   2018-09-21   $450.00    C      0.70 11:36:00       1.63   12:38:00   0.0748    0.0026      3.1196   -0.0832   0.1786 1.49     16:00:00 0.35      15:38:00    0.86    9:31:00    0.93   -0.14       0.51   0         1          1        5,917   OTM      OTM       OTM
TSLA   2018-09-21   $455.00    C      0.63 12:05:00       1.45   12:40:00   0.0648    0.0023      2.6944   -0.0753   0.1593 1.15     15:46:00 0.26      15:26:00    0.31    9:36:00    0.82   -0.30       0.05   0         1          1          983   OTM      OTM       OTM
TSLA   2018-09-21   $460.00    C      0.52 12:16:00       1.15   12:47:00   0.0536    0.0020      2.2236   -0.0646   0.1367 0.30     15:59:00                                          0.63   -0.85              0         1                   1,991   OTM      OTM        ---
TSLA   2018-09-21   $465.00    C      0.63 10:24:00       1.00   12:44:00   0.0476    0.0018      1.9729   -0.0597   0.1242 0.87     13:55:00                                          0.37   -0.13              0         1                     597   OTM      OTM        ---
TSLA   2018-09-21   $470.00    C                          0.85   12:46:00   0.0407    0.0016      1.6856   -0.0528   0.1093 0.60     15:54:00                                                 -0.25                        1                     304    ---     OTM        ---
TSLA   2018-09-21   $475.00    C      0.40 11:32:00       0.41   12:19:00   0.0204    0.0009      0.8238   -0.0285   0.0597 0.40     16:00:00                                          0.01   -0.01              0         1                     106   OTM      OTM        ---
TSLA   2018-09-21   $480.00    C                          0.67   12:46:00   0.0317    0.0013      1.3146   -0.0435   0.0890 0.32     15:57:00                                                 -0.35                        1                     238    ---     OTM        ---
TSLA   2018-09-21   $485.00    C      0.28 11:28:00                                                                           0.58   13:31:00                                                                                                      8    ---       ---      ---
TSLA   2018-09-21   $490.00    C      0.28 11:18:00                                                                           0.19   16:00:00                                                                                                    144    ---       ---      ---




                                                                                                                                                                                                                                                                           p. 7 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                   8/7 Last          8/16 Last          8/17 First          Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                          Period
Root      Date       Strike   Put     Price  Time         Price    Time      Delta Gamma          Rho       Theta     Vega     Price    Time      Price  Time        Price    Time      FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-09-21   $500.00    C       0.26 10:19:00       0.40   12:44:00   0.0217 0.0009        0.9019    -0.0330   0.0650    0.47   15:54:00    0.12 11:18:00      0.09    9:50:00    0.14   0.07     -0.03      0        0          0        3,538   OTM      OTM       OTM
TSLA   2018-09-21   $520.00    C                           0.18   12:28:00   0.0098 0.0005        0.4078    -0.0165   0.0326    0.36   13:21:00                                                 0.18                         0                     344    ---     OTM        ---
TSLA   2018-09-21   $525.00    C                           0.15   12:31:00   0.0093 0.0004        0.3904    -0.0157   0.0314    0.25   15:59:00    0.05   16:00:00    0.05   10:37:00           0.10        0.00             0          1          839    ---     OTM       OTM
TSLA   2018-09-21   $600.00    C       0.03   11:37:00     0.12   12:39:00   0.0040 0.0002        0.1691    -0.0089   0.0151    0.08   13:23:00    0.02    9:37:00    0.03   10:36:00    0.09  -0.04        0.01   0         1          1        8,983   OTM      OTM       OTM
TSLA   2018-09-28   $315.00    C                                                                                                                  37.05    9:52:00   23.00    9:51:00                     -14.05                        0           62    ---       ---     ITM
TSLA   2018-09-28   $320.00    C                                                                                                                  32.00    9:47:00   21.58    9:48:00                     -10.42                        0           98    ---       ---     ITM
TSLA   2018-09-28   $325.00    C                                                                                                                  29.00   15:37:00   20.90    9:40:00                      -8.10                        0           93    ---       ---     ITM
TSLA   2018-09-28   $330.00    C                                                                                                                  25.89   13:53:00   18.85    9:33:00                      -7.04                        0          549    ---       ---     ITM
TSLA   2018-09-28   $335.00    C                                                                                                                  23.11   13:29:00   16.70    9:32:00                      -6.41                        0           70    ---       ---     ITM
TSLA   2018-09-28   $337.50    C                                                                                                                  21.50   15:17:00   13.25   10:16:00                      -8.25                        0           47    ---       ---     OTM
TSLA   2018-09-28   $340.00    C                                                                                                                  20.50   14:07:00   14.35    9:31:00                      -6.15                        0          102    ---       ---     OTM
TSLA   2018-09-28   $342.50    C                                                                                                                  19.80   10:51:00   10.59   11:06:00                      -9.21                        0           19    ---       ---     OTM
TSLA   2018-09-28   $345.00    C                                                                                                                  17.65   14:39:00   12.15    9:39:00                      -5.50                        0           53    ---       ---     OTM
TSLA   2018-09-28   $347.50    C                                                                                                                  17.17    9:41:00    8.75   11:07:00                      -8.42                        0           14    ---       ---     OTM
TSLA   2018-09-28   $350.00    C                                                                                                                  15.00   15:39:00   10.00    9:31:00                      -5.00                        0          537    ---       ---     OTM
TSLA   2018-09-28   $352.50    C                                                                                                                  15.85   11:21:00    9.80    9:37:00                      -6.05                        0           31    ---       ---     OTM
TSLA   2018-09-28   $355.00    C                                                                                                                  15.35   11:35:00    9.20    9:35:00                      -6.15                        0          181    ---       ---     OTM
TSLA   2018-09-28   $357.50    C                                                                                                                  13.02   11:10:00    6.45   11:19:00                      -6.57                        0           23    ---       ---     OTM
TSLA   2018-09-28   $360.00    C                                                                                                                  10.94   15:50:00    7.00    9:33:00                      -3.94                        0          111    ---       ---     OTM
TSLA   2018-09-28   $362.50    C                                                                                                                  10.47    9:54:00    5.58    9:48:00                      -4.89                        0           34    ---       ---     OTM
TSLA   2018-09-28   $365.00    C                                                                                                                   9.11   15:51:00    6.43    9:31:00                      -2.68                        0          128    ---       ---     OTM
TSLA   2018-09-28   $367.50    C                                                                                                                   8.59   13:36:00    6.05    9:31:00                      -2.54                        0           41    ---       ---     OTM
TSLA   2018-09-28   $370.00    C                                                                                                                   7.68   15:50:00    5.10    9:31:00                      -2.58                        0          103    ---       ---     OTM
TSLA   2018-09-28   $372.50    C                                                                                                                   7.16   13:36:00    3.40    9:45:00                      -3.76                        0           25    ---       ---     OTM
TSLA   2018-09-28   $375.00    C                                                                                                                   6.34   15:41:00    3.95    9:43:00                      -2.39                        0          135    ---       ---     OTM
TSLA   2018-09-28   $380.00    C                                                                                                                   5.10   15:57:00    3.09    9:31:00                      -2.01                        0           84    ---       ---     OTM
TSLA   2018-09-28   $382.50    C                                                                                                                   4.71   15:51:00    2.37    9:39:00                      -2.34                        0           36    ---       ---     OTM
TSLA   2018-09-28   $385.00    C                                                                                                                   5.20   11:32:00    2.50    9:54:00                      -2.70                        0          160    ---       ---     OTM
TSLA   2018-09-28   $387.50    C                                                                                                                   3.84   15:51:00    2.70    9:31:00                      -1.14                        0           22    ---       ---     OTM
TSLA   2018-09-28   $390.00    C                                                                                                                   3.60   14:14:00    2.30    9:31:00                      -1.30                        0           53    ---       ---     OTM
TSLA   2018-09-28   $392.50    C                                                                                                                   3.30   12:42:00    1.69    9:51:00                      -1.61                        0           45    ---       ---     OTM
TSLA   2018-09-28   $395.00    C                                                                                                                   2.89   14:14:00    1.85    9:58:00                      -1.04                        0           55    ---       ---     OTM
TSLA   2018-09-28   $397.50    C                                                                                                                   2.91   11:13:00    1.75   10:19:00                      -1.16                        0           15    ---       ---     OTM
TSLA   2018-09-28   $400.00    C                                                                                                                   2.53   12:50:00    1.44    9:31:00                      -1.09                        0          166    ---       ---     OTM
TSLA   2018-09-28   $402.50    C                                                                                                                   2.11   14:01:00    2.88    9:31:00                       0.77                        1           21    ---       ---     OTM
TSLA   2018-09-28   $407.50    C                                                                                                                   1.74   14:01:00                                                                                 208    ---       ---      ---
TSLA   2018-09-28   $410.00    C                                                                                                                   1.80   11:22:00    0.74    9:31:00                      -1.06                        0           32    ---       ---     OTM
TSLA   2018-09-28   $420.00    C                                                                                                                   1.00   14:38:00    0.44    9:31:00                      -0.56                        0          236    ---       ---     OTM
TSLA   2018-09-28   $425.00    C                                                                                                                   0.82   14:21:00    0.59   13:35:00                      -0.23                        0           48    ---       ---     OTM
TSLA   2018-09-28   $430.00    C                                                                                                                   0.63   14:04:00    0.40    9:44:00                      -0.23                        0           33    ---       ---     OTM
TSLA   2018-09-28   $435.00    C                                                                                                                   0.67   11:10:00                                                                                   8    ---       ---      ---
TSLA   2018-09-28   $450.00    C                                                                                                                   0.45   11:52:00    0.27   11:44:00                      -0.18                        0            3    ---       ---     OTM
TSLA   2018-09-28   $470.00    C                                                                                                                   0.28   12:53:00    0.24   12:43:00                      -0.04                        0          408    ---       ---     OTM
TSLA   2018-10-19   $225.00    C                         135.10   12:38:00   0.9339    0.0010     39.7687   -0.0890   0.1942                                                                                                                        10    ---       ---      ---
TSLA   2018-10-19   $255.00    C      92.70   10:00:00                                                                       130.20    15:51:00                                                                                                     10    ---       ---      ---
TSLA   2018-10-19   $260.00    C                          97.00   12:27:00   0.8959    0.0018     43.8359   -0.1057   0.2768 112.40    13:12:00                                                 15.40                        0                      26    ---      ITM       ---
TSLA   2018-10-19   $270.00    C                          80.74   12:20:00   0.8610    0.0025     43.2776   -0.1218   0.3342 100.90    13:12:00                                                 20.16                        0                      66    ---      ITM       ---
TSLA   2018-10-19   $275.00    C      76.65   10:12:00                                                                                                                                                                                               8    ---       ---      ---
TSLA   2018-10-19   $280.00    C                       72.27      12:20:00   0.8342    0.0029     43.1445   -0.1334   0.3775   92.38   13:50:00                                                 20.11                        0                      22    ---      ITM       ---
TSLA   2018-10-19   $290.00    C                       76.50      12:38:00   0.8374    0.0027     44.9073   -0.1355   0.3871   83.60   13:50:00 63.10     11:30:00   43.35    9:31:00            7.10     -19.75             0          0          179    ---      ITM      ITM
TSLA   2018-10-19   $295.00    C      60.40   10:12:00 68.27      12:30:00   0.8168    0.0031     44.3670   -0.1409   0.4150   74.98   12:49:00 55.50     10:48:00   44.57    9:41:00    7.87    6.71     -10.93   0         0          0           19   ITM       ITM      ITM
TSLA   2018-10-19   $300.00    C      54.00   11:31:00 68.00      12:41:00   0.7996    0.0032     43.8017   -0.1526   0.4411   85.00   16:00:00 51.50     15:05:00   41.07    9:41:00   14.00   17.00     -10.43   0         0          0        2,080   ITM       ITM      ITM
TSLA   2018-10-19   $305.00    C      50.27    9:33:00                                                                                          47.05      9:59:00   34.45    9:47:00                     -12.60                        0           72    ---       ---     ITM
TSLA   2018-10-19   $310.00    C      46.12   11:48:00 57.58      12:47:00   0.7635    0.0037     42.8396   -0.1622   0.4860 75.00     15:59:00 43.58      9:59:00   35.63    9:32:00   11.46   17.42      -7.95   0         0          0          406   ITM       ITM      ITM
TSLA   2018-10-19   $315.00    C                       55.55      12:42:00   0.7477    0.0039     42.4205   -0.1684   0.5057 70.00     15:47:00 40.25     15:53:00   32.15    9:33:00           14.45      -8.10             0          0          353    ---      ITM      ITM
TSLA   2018-10-19   $320.00    C      40.04   11:31:00 50.48      12:47:00   0.7222    0.0042     41.3650   -0.1731   0.5298 63.09     15:57:00 36.70     15:55:00   31.10    9:31:00   10.44   12.61      -5.60   0         0          0          533   ITM       ITM      ITM
TSLA   2018-10-19   $325.00    C      36.39   11:47:00                                                                       52.38     13:10:00 35.00     10:45:00   26.50    9:32:00                      -8.50                        0          352    ---       ---     ITM
TSLA   2018-10-19   $330.00    C      33.50   11:47:00 45.80      12:42:00   0.6820    0.0045     39.8182   -0.1831   0.5668 55.02     15:59:00 30.40     15:51:00   24.00    9:31:00   12.30    9.22      -6.40   0         0          0        6,354   ITM       ITM      ITM




                                                                                                                                                                                                                                                                             p. 8 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                     Pre Tweet                                   8/7 Last        8/16 Last          8/17 First          Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                      Period
Root      Date       Strike   Put    Price    Time      Price    Time      Delta Gamma           Rho      Theta     Vega     Price    Time    Price    Time      Price    Time      FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-10-19   $335.00    C     31.50 12:07:00     41.25   12:35:00   0.6489 0.0049        38.1462   -0.1872   0.5866   55.00   15:59:00 27.50   15:44:00   20.05    9:31:00    9.75  13.75     -7.45      0        0          0        1,168   ITM       ITM      ITM
TSLA   2018-10-19   $340.00    C     28.90 12:01:00     38.00   12:47:00   0.6267 0.0050        37.1751   -0.1890   0.6004   48.80   15:55:00 24.71   15:47:00   19.00    9:31:00    9.10  10.80     -5.71      0        0          0        1,808   ITM       ITM      OTM
TSLA   2018-10-19   $345.00    C     26.15 11:51:00     36.47   12:40:00   0.6062 0.0050        36.2632   -0.1918   0.6123   43.00   15:58:00 22.60   13:36:00   16.95    9:31:00   10.32   6.53     -5.65      0        0          0          454   OTM       ITM      OTM
TSLA   2018-10-19   $350.00    C     24.00 11:55:00     32.40   12:47:00   0.5741 0.0052        34.5467   -0.1933   0.6225   44.21   16:00:00 19.55   16:00:00   15.85    9:31:00    8.40  11.81     -3.70      0        0          0        3,914   OTM       ITM      OTM
TSLA   2018-10-19   $355.00    C     22.30 10:56:00     28.85   12:46:00   0.5398 0.0054        32.6015   -0.1951   0.6283   40.00   16:00:00 17.25   15:56:00    9.00    9:31:00    6.55  11.15     -8.25      0        0          0        3,651   OTM       ITM      OTM
TSLA   2018-10-19   $360.00    C     19.45 12:12:00     26.60   12:47:00   0.5199 0.0054        31.6920   -0.1941   0.6333   38.00   16:00:00 15.30   14:49:00   11.54    9:37:00    7.15  11.40     -3.76      0        0          0        2,943   OTM      OTM       OTM
TSLA   2018-10-19   $365.00    C     18.55 10:49:00     25.90   12:42:00   0.5003 0.0054        30.7430   -0.1948   0.6368   31.10   15:56:00 13.35   15:25:00    9.30    9:32:00    7.35   5.20     -4.05      0        0          0          782   OTM      OTM       OTM
TSLA   2018-10-19   $370.00    C     15.92 11:58:00     23.70   12:41:00   0.4692 0.0055        28.9705   -0.1923   0.6340   34.45   16:00:00 11.40   15:39:00    8.45    9:31:00    7.78  10.75     -2.95      0        0          0        2,487   OTM      OTM       OTM
TSLA   2018-10-19   $375.00    C     14.35 12:01:00     20.47   12:35:00   0.4332 0.0055        26.8329   -0.1882   0.6246   29.00   16:00:00 10.10   15:31:00    7.30    9:36:00    6.12   8.53     -2.80      0        0          0        1,362   OTM      OTM       OTM
TSLA   2018-10-19   $380.00    C     12.70 12:09:00     19.95   12:40:00   0.4183 0.0054        26.1118   -0.1873   0.6237   22.00   15:58:00  8.40   15:53:00    5.64    9:33:00    7.25   2.05     -2.76      0        0          0        2,867   OTM      OTM       OTM
TSLA   2018-10-19   $385.00    C     11.22 11:30:00     17.46   12:41:00   0.3891 0.0054        24.3889   -0.1826   0.6117   25.35   15:59:00  7.10   15:54:00    5.20    9:36:00    6.24   7.89     -1.90      0        0          0          877   OTM      OTM       OTM
TSLA   2018-10-19   $390.00    C     10.00 11:38:00     15.62   12:34:00   0.3595 0.0053        22.6428   -0.1763   0.5961   20.16   16:00:00  5.90   15:57:00    4.50    9:36:00    5.62   4.54     -1.40      0        0          0        1,438   OTM      OTM       OTM
TSLA   2018-10-19   $395.00    C     10.02 10:45:00     11.50   12:25:00   0.3042 0.0052        19.0994   -0.1587   0.5503   18.00   16:00:00  5.05   14:38:00    3.00    9:42:00    1.48   6.50     -2.05      0        0          0        2,628   OTM      OTM       OTM
TSLA   2018-10-19   $400.00    C      8.10 12:11:00     12.45   12:47:00   0.3111 0.0050        19.7172   -0.1663   0.5630   18.00   16:00:00  4.11   15:42:00    2.50    9:31:00    4.35   5.55     -1.61      0        0          0        7,080   OTM      OTM       OTM
TSLA   2018-10-19   $405.00    C      7.47 10:53:00     11.30   12:34:00   0.2872 0.0049        18.3033   -0.1590   0.5435   13.00   15:56:00  3.60   14:08:00    2.99    9:31:00    3.83   1.70     -0.61      0        0          0          344   OTM      OTM       OTM
TSLA   2018-10-19   $410.00    C      6.20 11:31:00     10.45   12:47:00   0.2692 0.0047        17.1542   -0.1562   0.5263   12.25   16:00:00  2.87   15:59:00    2.10    9:31:00    4.25   1.80     -0.77      0        0          0        5,086   OTM      OTM       OTM
TSLA   2018-10-19   $415.00    C                        10.00   12:38:00   0.2564 0.0046        16.5166   -0.1509   0.5171    8.90   15:57:00  2.34   15:46:00    1.77    9:31:00          -1.10     -0.57               1          0          381    ---     OTM       OTM
TSLA   2018-10-19   $420.00    C      5.02    9:32:00    7.70   12:31:00   0.2204 0.0043        14.1589   -0.1364   0.4719    8.50   16:00:00  1.90   15:57:00    1.40    9:31:00    2.68   0.80     -0.50     0         0          0        5,721   OTM      OTM       OTM
TSLA   2018-10-19   $425.00    C      4.90 10:04:00      7.90   12:38:00   0.2187 0.0042        14.1645   -0.1386   0.4740    7.37   15:56:00  1.55   15:58:00    1.00    9:31:00    3.00  -0.53     -0.55     0         1          0          834   OTM      OTM       OTM
TSLA   2018-10-19   $430.00    C      3.96 11:57:00      5.85   12:28:00   0.1702 0.0038        10.9154   -0.1148   0.3994    8.35   15:46:00  1.30   15:49:00    0.69    9:31:00    1.89   2.50     -0.61     0         0          0          775   OTM      OTM       OTM
TSLA   2018-10-19   $435.00    C      3.70 10:54:00      5.90   12:33:00   0.1739 0.0037        11.2767   -0.1189   0.4100    5.00   15:56:00  1.14   12:27:00    0.82   10:04:00    2.20  -0.90     -0.32     0         1          0          570   OTM      OTM       OTM
TSLA   2018-10-19   $440.00    C                         5.30   12:36:00   0.1598 0.0035        10.3651   -0.1133   0.3878    3.50   15:59:00  0.87   13:33:00    0.64   10:05:00          -1.80     -0.23               1          0        1,059    ---     OTM       OTM
TSLA   2018-10-19   $445.00    C                         5.20   12:39:00   0.1527 0.0034         9.9585   -0.1110   0.3782                     0.77   12:36:00    0.53   10:24:00                    -0.24                          0          222    ---       ---     OTM
TSLA   2018-10-19   $450.00    C      2.70 10:52:00      4.65   12:42:00   0.1384 0.0032         9.0398   -0.1038   0.3538    2.65   15:57:00 0.62    12:46:00    0.51   12:16:00    1.95   -2.00    -0.11     0         1          0        2,029   OTM      OTM       OTM
TSLA   2018-10-19   $455.00    C      2.14 11:35:00      4.10   12:42:00   0.1272 0.0030         8.3203   -0.0983   0.3338    3.82   13:37:00                                        1.96   -0.28              0         1                      86   OTM      OTM        ---
TSLA   2018-10-19   $460.00    C      2.33    9:51:00    3.40   12:36:00   0.1109 0.0027         7.2488   -0.0885   0.3019    2.10   15:54:00 0.45    14:34:00    0.15    9:44:00    1.07   -1.30      -0.30   0         1          0        2,584   OTM      OTM       OTM
TSLA   2018-10-19   $465.00    C      1.67 11:29:00      2.84   12:32:00   0.0989 0.0025         6.4722   -0.0812   0.2775    4.06   13:03:00                                        1.17    1.22              0         0                     129   OTM      OTM        ---
TSLA   2018-10-19   $470.00    C      1.61 12:03:00      3.09   12:39:00   0.0981 0.0025         6.4484   -0.0823   0.2774    1.90   15:48:00 0.34    12:53:00                       1.48   -1.19              0         1                     219   OTM      OTM        ---
TSLA   2018-10-19   $480.00    C      1.55    9:38:00    2.20   12:35:00   0.0763 0.0021         4.9982   -0.0681   0.2283    1.15   15:48:00                                        0.65   -1.05              0         1                     848   OTM      OTM        ---
TSLA   2018-10-19   $485.00    C                         1.85   12:30:00   0.0669 0.0019         4.3933   -0.0609   0.2064                     0.22   13:48:00                                                                                  18    ---       ---      ---
TSLA   2018-10-19   $490.00    C      1.07 11:24:00      1.83   12:47:00   0.0645 0.0018         4.2437   -0.0600   0.2011    3.50   15:47:00                                        0.76    1.67              0         0                     295   OTM      OTM        ---
TSLA   2018-10-19   $500.00    C      0.94 11:23:00      1.65   12:40:00   0.0568 0.0016         3.7574   -0.0552   0.1829    0.45   15:59:00 0.25     9:39:00    0.20   10:01:00    0.71   -1.20      -0.05   0         1          0          759   OTM      OTM       OTM
TSLA   2018-10-19   $530.00    C                         0.82   12:36:00   0.0324 0.0010         2.1464   -0.0358   0.1158    1.14   13:09:00                                                0.32                        0                      84    ---     OTM        ---
TSLA   2018-10-19   $540.00    C      0.45 10:01:00                                                                           0.97   13:04:00                                                                                                   44    ---       ---      ---
TSLA   2018-10-19   $560.00    C      0.38 10:27:00      0.34   12:22:00   0.0219    0.0007      1.4152   -0.0277   0.0817    0.24   13:43:00 0.07     9:34:00    0.11   10:33:00   -0.04   -0.10       0.04   1         1          1           87   OTM      OTM       OTM
TSLA   2018-10-19   $650.00    C                                                                                                               0.05   10:23:00    0.03   12:11:00                      -0.02                        0           92    ---       ---     OTM
TSLA   2018-11-16   $230.00    C    119.45 10:12:00                                                                                                                                                                                              2    ---       ---      ---
TSLA   2018-11-16   $300.00    C                        72.20   12:32:00   0.7597    0.0029     55.2002   -0.1453   0.5702 89.00     16:00:00 56.00   15:55:00   41.25   11:10:00           16.80     -14.75             0          0          131    ---      ITM      ITM
TSLA   2018-11-16   $310.00    C     53.30 11:50:00                                                                        71.80     15:57:00 49.36   15:21:00   37.95    9:49:00                     -11.41                        0          297    ---       ---     ITM
TSLA   2018-11-16   $320.00    C                                                                                                              42.70   14:30:00   31.47    9:50:00                     -11.23                        0          127    ---       ---     ITM
TSLA   2018-11-16   $330.00    C                                                                                                              36.25   15:51:00   31.00    9:31:00                      -5.25                        0          561    ---       ---     ITM
TSLA   2018-11-16   $335.00    C     39.52 10:01:00                                                                                           33.32   13:49:00   25.50    9:55:00                      -7.82                        0          156    ---       ---     ITM
TSLA   2018-11-16   $340.00    C     36.87 10:00:00                                                                          51.00   12:50:00 30.70   15:55:00   24.25    9:40:00                      -6.45                        0          328    ---       ---     OTM
TSLA   2018-11-16   $345.00    C     35.42    9:45:00   42.00   12:45:00   0.5891    0.0040     46.3722   -0.1744   0.7201   50.00   14:04:00 30.20   11:15:00   23.11    9:37:00    6.58    8.00      -7.09   0         0          0           95   OTM       ITM      OTM
TSLA   2018-11-16   $350.00    C     33.00    9:37:00   40.00   12:46:00   0.5708    0.0041     45.2563   -0.1776   0.7287   48.15   15:54:00 25.35   15:41:00   20.40    9:37:00    7.00    8.15      -4.95   0         0          0          625   OTM       ITM      OTM
TSLA   2018-11-16   $355.00    C     29.55 12:03:00     36.50   12:44:00   0.5530    0.0042     44.2364   -0.1781   0.7360   40.99   13:06:00 23.15   15:43:00   16.99    9:31:00    6.95    4.49      -6.16   0         0          0          315   OTM       ITM      OTM
TSLA   2018-11-16   $360.00    C                        35.00   12:35:00   0.5283    0.0042     42.4967   -0.1764   0.7396   36.71   13:31:00 20.50   15:56:00   16.85    9:35:00            1.71      -3.65             0          0        3,864    ---     OTM       OTM
TSLA   2018-11-16   $365.00    C     26.54 10:22:00                                                                          40.00   15:49:00 18.40   15:55:00   14.00    9:39:00                      -4.40                        0          492    ---       ---     OTM
TSLA   2018-11-16   $370.00    C                                                                                                              17.70   10:39:00   13.30    9:31:00                      -4.40                        0          395    ---       ---     OTM
TSLA   2018-11-16   $375.00    C     20.75 11:29:00     28.00   12:29:00   0.4547    0.0043     37.0433   -0.1718   0.7333 35.47     16:00:00 14.85   14:54:00   11.87    9:38:00    7.25    7.47      -2.98   0         0          0          230   OTM      OTM       OTM
TSLA   2018-11-16   $380.00    C                        24.40   12:27:00   0.4301    0.0043     35.3296   -0.1657   0.7266 30.00     15:54:00 12.79   15:51:00   10.00    9:31:00            5.60      -2.79             0          0        1,248    ---     OTM       OTM
TSLA   2018-11-16   $385.00    C                                                                                                              12.14   10:44:00    9.10    9:36:00                      -3.04                        0          131    ---       ---     OTM
TSLA   2018-11-16   $390.00    C     16.36    9:31:00   21.82   12:29:00   0.3905    0.0043     32.3693   -0.1628   0.7110   32.00   15:48:00 10.00   13:29:00    7.00    9:31:00    5.46   10.18      -3.00   0         0          0        1,400   OTM      OTM       OTM
TSLA   2018-11-16   $395.00    C                        20.25   12:29:00   0.3705    0.0042     30.8447   -0.1598   0.7000   24.00   16:00:00 9.19    10:47:00    5.70   11:45:00            3.75      -3.49             0          0           83    ---     OTM       OTM
TSLA   2018-11-16   $400.00    C     15.15 10:50:00     20.50   12:40:00   0.3726    0.0042     31.3304   -0.1649   0.7099   20.70   15:59:00 7.30    15:55:00    5.64    9:31:00    5.35    0.20      -1.66   0         0          0        3,044   OTM      OTM       OTM
TSLA   2018-11-16   $405.00    C                        18.88   12:38:00   0.3570    0.0041     30.2238   -0.1613   0.7020   19.45   16:00:00 6.31    13:33:00    4.19    9:31:00            0.57      -2.12             0          0          307    ---     OTM       OTM
TSLA   2018-11-16   $410.00    C     12.75    9:36:00                                                                        15.00   15:58:00 5.34    13:33:00    3.34    9:31:00                      -2.00                        0          588    ---       ---     OTM
TSLA   2018-11-16   $415.00    C     11.00    9:31:00                                                                        17.21   13:09:00 4.85    12:58:00    3.29    9:40:00                      -1.56                        0          457    ---       ---     OTM




                                                                                                                                                                                                                                                                         p. 9 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                          Pre FT                                       Pre Tweet                                    8/7 Last          8/16 Last          8/17 First          Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                            Period
Root      Date       Strike   Put      Price  Time    Price  Time             Delta Gamma           Rho      Theta     Vega   Price  Time           Price    Time      Price  Time        FT    Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-11-16   $420.00    C       10.10 12:15:00 15.00 12:43:00          0.2972 0.0038        25.2610   -0.1511   0.6480 14.50 16:00:00         3.80   15:26:00    2.61  9:31:00      4.90  -0.50     -1.19      0        1          0          932   OTM      OTM       OTM
TSLA   2018-11-16   $425.00    C                                                                                                                     3.30   12:49:00    2.14 10:05:00                      -1.16                          0          469    ---       ---     OTM
TSLA   2018-11-16   $430.00    C                           10.90   12:27:00   0.2436    0.0036     20.8319   -0.1293   0.5819 10.90      15:49:00    2.77   14:01:00    2.59  9:31:00              0.00    -0.18               1          0          757    ---     OTM       OTM
TSLA   2018-11-16   $435.00    C                                                                                                                     2.15   15:25:00    2.57  9:31:00                       0.42                          1          201    ---       ---     OTM
TSLA   2018-11-16   $440.00    C                            6.97   12:19:00   0.1852    0.0032     15.5548   -0.1094   0.4827     7.50   15:57:00    1.90   14:21:00    1.14  9:31:00              0.53    -0.76               0          0          313    ---     OTM       OTM
TSLA   2018-11-16   $445.00    C                                                                                                                     1.72    9:54:00    1.15  9:54:00                      -0.57                          0           50    ---       ---     OTM
TSLA   2018-11-16   $450.00    C        6.40   10:10:00                                                                           7.70   14:01:00    1.39   15:38:00    1.00  9:39:00                      -0.39                          0        3,891    ---       ---     OTM
TSLA   2018-11-16   $460.00    C                                                                                                                     1.07   15:29:00    0.75 15:12:00                      -0.32                          0           98    ---       ---     OTM
TSLA   2018-11-16   $480.00    C                            4.00   12:33:00   0.1341    0.0025     11.8034   -0.0910   0.4054     2.03   15:56:00                                                 -1.97                        1                     696    ---     OTM        ---
TSLA   2018-11-16   $490.00    C        3.15    9:52:00                                                                                                                                                                                               59    ---       ---      ---
TSLA   2018-11-16   $500.00    C        2.35   10:45:00                                                                           1.76   15:53:00                                                                                                    352    ---       ---      ---
TSLA   2018-11-16   $520.00    C                                                                                                                     1.78    9:32:00                                                                                  32    ---       ---      ---
TSLA   2018-12-21   $140.00    C                          215.00   12:28:00   0.9306    0.0004     40.0298   -0.1068   0.2559                                                                                                                          1    ---       ---      ---
TSLA   2018-12-21   $200.00    C      147.40   11:22:00                                                                       174.35     15:55:00                                                                                                     18    ---       ---      ---
TSLA   2018-12-21   $250.00    C                          118.00   12:38:00   0.8636    0.0015     71.6583   -0.0935   0.4548 127.00     12:50:00                                                  9.00                        0                      28    ---      ITM       ---
TSLA   2018-12-21   $275.00    C       84.26    9:49:00                                                                                                                                                                                               10    ---       ---      ---
TSLA   2018-12-21   $280.00    C       80.53    9:49:00                                                                         100.10   14:04:00                                                                                                     39    ---       ---      ---
TSLA   2018-12-21   $285.00    C       76.58    9:31:00                                                                                                                                                                                               23    ---       ---      ---
TSLA   2018-12-21   $290.00    C       73.03    9:31:00                                                                                                                                                                                               33    ---       ---      ---
TSLA   2018-12-21   $300.00    C       64.39   11:27:00 75.90      12:35:00   0.7438    0.0027     70.5191   -0.1289   0.6831 91.00      16:00:00                                         11.51   15.10              0         0                     208   ITM       ITM       ---
TSLA   2018-12-21   $305.00    C                        71.00      12:29:00   0.7243    0.0028     69.3321   -0.1315   0.7068 77.60      12:54:00                                                  6.60                        0                      27    ---      ITM       ---
TSLA   2018-12-21   $310.00    C                        64.00      12:24:00   0.6970    0.0030     67.2479   -0.1313   0.7318 77.93      15:58:00                                                 13.93                        0                     171    ---      ITM       ---
TSLA   2018-12-21   $315.00    C                                                                                                                    50.46   13:38:00 37.00     10:53:00                     -13.46                        0           63    ---       ---     ITM
TSLA   2018-12-21   $320.00    C                        63.15      12:47:00   0.6832    0.0031     67.4187   -0.1401   0.7618 80.00      15:47:00                                                 16.85                        0                     230    ---      ITM       ---
TSLA   2018-12-21   $325.00    C                        58.95      12:36:00   0.6675    0.0032     66.5668   -0.1421   0.7785 76.50      15:52:00   43.55   15:24:00   33.29   10:22:00           17.55     -10.26             0          0          153    ---      ITM      ITM
TSLA   2018-12-21   $330.00    C       46.61   12:07:00 57.29      12:37:00   0.6529    0.0032     65.8027   -0.1431   0.7939 63.55      15:55:00   40.20   15:57:00   33.50    9:39:00   10.68    6.26      -6.70   0         0          0          185   ITM       ITM      ITM
TSLA   2018-12-21   $335.00    C       45.45   10:51:00                                                                       57.50      13:16:00   38.95   10:08:00   31.00    9:39:00                      -7.95                        0           84    ---       ---     ITM
TSLA   2018-12-21   $340.00    C       41.93   10:00:00                                                                       60.00      16:00:00   34.73   15:24:00   30.00    9:31:00                      -4.73                        0          359    ---       ---     OTM
TSLA   2018-12-21   $345.00    C       39.00   11:55:00 50.00      12:39:00   0.6024    0.0035     62.1624   -0.1487   0.8335 50.77      14:00:00   34.25   11:44:00   26.75    9:36:00   11.00    0.77      -7.50   0         0          0          214   OTM       ITM      OTM
TSLA   2018-12-21   $350.00    C       36.80   12:06:00 45.81      12:43:00   0.5779    0.0035     59.8554   -0.1499   0.8422 51.45      16:00:00   29.34   15:48:00   23.50    9:39:00    9.01    5.64      -5.84   0         0          0        1,592   OTM       ITM      OTM
TSLA   2018-12-21   $355.00    C       35.50   10:11:00 43.79      12:42:00   0.5652    0.0036     59.1052   -0.1507   0.8513 48.00      15:59:00   27.00   13:51:00   21.25    9:31:00    8.29    4.21      -5.75   0         0          0          309   OTM       ITM      OTM
TSLA   2018-12-21   $360.00    C       34.45   10:24:00 40.60      12:36:00   0.5416    0.0037     56.9488   -0.1501   0.8558 42.90      15:56:00   24.35   14:26:00   18.95    9:33:00    6.15    2.30      -5.40   0         0          0        1,920   OTM      OTM       OTM
TSLA   2018-12-21   $365.00    C       30.40   11:24:00 36.70      12:29:00   0.5113    0.0038     53.9369   -0.1477   0.8540 39.75      14:03:00                                          6.30    3.05              0         0                     414   OTM      OTM        ---
TSLA   2018-12-21   $370.00    C                        37.30      12:38:00   0.5133    0.0037     54.8743   -0.1504   0.8665 41.72      16:00:00   20.20   15:28:00   15.50    9:31:00            4.42      -4.70             0          0          620    ---     OTM       OTM
TSLA   2018-12-21   $375.00    C                        35.00      12:39:00   0.4920    0.0037     52.7982   -0.1500   0.8654 38.10      16:00:00   18.15   15:28:00   13.87    9:38:00            3.10      -4.28             0          0          485    ---     OTM       OTM
TSLA   2018-12-21   $380.00    C       24.96   10:55:00 32.40      12:39:00   0.4736    0.0037     51.1069   -0.1492   0.8642 28.85      15:58:00   16.35   15:04:00   12.30    9:31:00    7.44   -3.55      -4.05   0         1          0          574   OTM      OTM       OTM
TSLA   2018-12-21   $385.00    C       24.20   10:33:00 30.76      12:38:00   0.4584    0.0037     49.8166   -0.1483   0.8637 35.90      15:46:00   14.94   12:50:00   11.75    9:35:00    6.56    5.14      -3.19   0         0          0          172   OTM      OTM       OTM
TSLA   2018-12-21   $390.00    C       22.99   10:20:00 28.20      12:34:00   0.4317    0.0038     47.0576   -0.1456   0.8516 27.26      15:55:00   14.00   12:05:00    8.00    9:43:00    5.21   -0.94      -6.00   0         1          0        2,604   OTM      OTM       OTM
TSLA   2018-12-21   $395.00    C       19.67    9:32:00                                                                       24.15      15:46:00   11.35   15:38:00    8.10    9:41:00                      -3.25                        0          180    ---       ---     OTM
TSLA   2018-12-21   $400.00    C       18.53   12:07:00 24.71      12:47:00   0.3956    0.0037     43.3936   -0.1419   0.8338 23.41      15:59:00    9.80   15:56:00    8.50    9:31:00    6.18   -1.30      -1.30   0         1          0        2,283   OTM      OTM       OTM
TSLA   2018-12-21   $410.00    C                                                                                                                     8.55   11:18:00    5.25    9:31:00                      -3.30                        0          646    ---       ---     OTM
TSLA   2018-12-21   $420.00    C                        19.00      12:47:00   0.3285    0.0035     36.6501   -0.1315   0.7835 15.49      16:00:00    5.50   13:50:00    4.15    9:31:00           -3.51      -1.35             1          0        2,298    ---     OTM       OTM
TSLA   2018-12-21   $430.00    C       12.75   10:37:00 14.03      12:25:00   0.2751    0.0034     30.7733   -0.1168   0.7147 11.90      16:00:00    4.09   15:53:00    2.54    9:53:00    1.28   -2.13      -1.55   0         1          0        3,329   OTM      OTM       OTM
TSLA   2018-12-21   $440.00    C       10.20   11:24:00                                                                       11.00      15:58:00    3.10   13:30:00    2.00    9:31:00                      -1.10                        0          319    ---       ---     OTM
TSLA   2018-12-21   $450.00    C        8.71   12:07:00 12.45      12:44:00   0.2405    0.0031     27.3107   -0.1122   0.6742 8.02       15:58:00    2.20   14:38:00    1.98    9:31:00    3.74   -4.43      -0.22   0         1          0          554   OTM      OTM       OTM
TSLA   2018-12-21   $460.00    C                         9.00      12:24:00   0.1991    0.0028     22.5017   -0.0979   0.5964 5.30       15:59:00    1.70   12:20:00    1.50    9:31:00           -3.70      -0.20             1          0          491    ---     OTM       OTM
TSLA   2018-12-21   $480.00    C                         8.00      12:31:00   0.1680    0.0026     19.4332   -0.0886   0.5447 5.97       14:04:00    0.89   12:15:00    0.62   10:15:00           -2.03      -0.27             1          0          161    ---     OTM       OTM
TSLA   2018-12-21   $500.00    C        4.12   12:07:00 6.30       12:41:00   0.1387    0.0022     16.1878   -0.0791   0.4817 2.36       15:58:00    0.56   15:41:00    0.55   10:38:00    2.18   -3.94      -0.01   0         1          0          996   OTM      OTM       OTM
TSLA   2018-12-21   $520.00    C        3.13    9:34:00                                                                        4.50      13:21:00                                                                                                    112    ---       ---      ---
TSLA   2018-12-21   $530.00    C                                                                                                                     0.34   11:00:00                                                                                  32    ---       ---      ---
TSLA   2018-12-21   $540.00    C        2.73    9:44:00     3.00   12:26:00   0.0777    0.0015      9.0776   -0.0513   0.3125 0.80       15:55:00    0.34   11:37:00    0.36   14:25:00    0.27   -2.20      0.02    0         1          1        1,327   OTM      OTM       OTM
TSLA   2019-01-18   $100.00    C                          257.58   12:47:00   0.9368    0.0002     27.5790   -0.1317   0.2530 274.00     15:58:00                                                 16.42                        0                     249    ---      ITM       ---
TSLA   2019-01-18   $105.00    C      237.65   11:24:00                                                                                                                                                                                                3    ---       ---      ---
TSLA   2019-01-18   $200.00    C      151.45   10:38:00 161.87     12:47:00   0.9041    0.0008     71.4419   -0.0742   0.3694 185.00     15:47:00                                         10.42   23.13              0         0                     122   ITM       ITM       ---
TSLA   2019-01-18   $230.00    C      120.75   11:43:00 128.00     12:23:00   0.8696    0.0013     78.7453   -0.0819   0.4651                                                              7.25                      0                                72   ITM        ---      ---
TSLA   2019-01-18   $240.00    C                        122.00     12:25:00   0.8571    0.0014     80.5861   -0.0868   0.5021 131.25     13:53:00 111.75    12:05:00 90.35     11:30:00            9.25     -21.40             0          0           29    ---      ITM      ITM
TSLA   2019-01-18   $250.00    C                        120.20     12:38:00   0.8495    0.0015     83.1194   -0.0892   0.5313 132.50     15:59:00 102.50    10:09:00 84.50     10:09:00           12.30     -18.00             0          0          194    ---      ITM      ITM
TSLA   2019-01-18   $270.00    C                                                                                                                   85.40    10:19:00 68.50     11:29:00                     -16.90                        0          153    ---       ---     ITM




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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                   8/7 Last           8/16 Last          8/17 First            Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                            Period
Root      Date       Strike   Put     Price    Time      Price    Time      Delta Gamma           Rho      Theta     Vega     Price    Time       Price    Time      Price    Time      FT      Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2019-01-18   $280.00    C                         94.50   12:31:00   0.7851 0.0021        83.6487   -0.1073   0.6727   97.85   13:56:00    77.00   15:39:00   63.00   10:17:00             3.35    -14.00               0          0          148    ---      ITM      ITM
TSLA   2019-01-18   $290.00    C      76.00    9:35:00   87.75   12:41:00   0.7631 0.0022        83.3527   -0.1131   0.7166   98.00   15:59:00    70.40   13:37:00   54.35   10:33:00   11.75    10.25    -16.05     0         0          0           86   ITM       ITM      ITM
TSLA   2019-01-18   $300.00    C      68.75   12:00:00   80.60   12:41:00   0.7370 0.0024        82.3739   -0.1183   0.7605   91.35   15:59:00    62.90   14:53:00   55.02    9:34:00   11.85    10.75     -7.88     0         0          0        7,568   ITM       ITM      ITM
TSLA   2019-01-18   $310.00    C                         73.03   12:34:00   0.7090 0.0026        81.0092   -0.1229   0.8017   79.01   15:57:00    55.70   15:08:00   44.22   10:17:00             5.98    -11.48               0          0          285    ---      ITM      ITM
TSLA   2019-01-18   $320.00    C      55.45   11:44:00   68.60   12:39:00   0.6825 0.0028        79.6117   -0.1267   0.8385   71.50   15:57:00    49.48   15:30:00   42.50    9:38:00   13.15     2.90     -6.98     0         0          0        1,304   ITM       ITM      ITM
TSLA   2019-01-18   $330.00    C      50.10   11:51:00   62.00   12:38:00   0.6534 0.0029        77.7143   -0.1294   0.8719   67.85   15:55:00    43.47   15:05:00   36.00    9:31:00   11.90     5.85     -7.47     0         0          0        1,484   ITM       ITM      ITM
TSLA   2019-01-18   $340.00    C      44.38   11:28:00   54.00   12:31:00   0.6119 0.0032        73.7470   -0.1316   0.9002   61.65   16:00:00    37.65   15:28:00   31.89    9:32:00    9.62     7.65     -5.76     0         0          0        1,094   ITM       ITM      OTM
TSLA   2019-01-18   $350.00    C      40.40   12:15:00   48.55   12:46:00   0.5768 0.0032        70.1708   -0.1357   0.9199   55.00   16:00:00    31.95   16:00:00   28.20    9:31:00    8.15     6.45     -3.75     0         0          0        5,252   OTM       ITM      OTM
TSLA   2019-01-18   $360.00    C      35.98   11:52:00   44.40   12:47:00   0.5469 0.0033        67.7182   -0.1354   0.9356   47.67   16:00:00    27.30   15:16:00   21.65    9:33:00    8.42     3.27     -5.65     0         0          0        3,634   OTM      OTM       OTM
TSLA   2019-01-18   $365.00    C      33.90   11:34:00   42.00   12:31:00   0.5270 0.0034        65.7900   -0.1339   0.9392   50.00   15:49:00    25.15   14:36:00   17.40   10:47:00    8.10     8.00     -7.75     0         0          0          397   OTM      OTM       OTM
TSLA   2019-01-18   $370.00    C      31.95   12:08:00   39.86   12:44:00   0.5111 0.0034        63.9656   -0.1357   0.9414   41.10   16:00:00    23.10   14:12:00   18.45    9:37:00    7.91     1.24     -4.65     0         0          0        2,622   OTM      OTM       OTM
TSLA   2019-01-18   $375.00    C      30.30   12:03:00   39.00   12:38:00   0.5040 0.0034        63.9343   -0.1350   0.9503   37.30   15:59:00    20.20   16:00:00   16.25    9:31:00    8.70    -1.70     -3.95     0         1          0        1,163   OTM      OTM       OTM
TSLA   2019-01-18   $380.00    C      28.22   11:52:00   35.75   12:47:00   0.4790 0.0034        60.7848   -0.1340   0.9433   37.30   16:00:00    18.50   16:00:00   14.75    9:31:00    7.53     1.55     -3.75     0         0          0        3,359   OTM      OTM       OTM
TSLA   2019-01-18   $385.00    C                         34.00   12:47:00   0.4624 0.0034        58.9817   -0.1333   0.9409   33.00   15:54:00    17.00   13:58:00   11.96    9:48:00            -1.00     -5.04               1          0          474    ---     OTM       OTM
TSLA   2019-01-18   $390.00    C      25.00   12:07:00   31.45   12:47:00   0.4457 0.0034        57.1575   -0.1322   0.9368   31.90   15:46:00    15.25   15:16:00   11.05    9:31:00    6.45     0.45     -4.20     0         0          0        2,031   OTM      OTM       OTM
TSLA   2019-01-18   $395.00    C                         29.75   12:47:00   0.4293 0.0034        55.3252   -0.1309   0.9311   29.00   15:53:00    14.87   11:51:00   10.85    9:35:00            -0.75     -4.02               1          0        1,319    ---     OTM       OTM
TSLA   2019-01-18   $400.00    C      22.10   12:07:00   28.10   12:47:00   0.4132 0.0034        53.5015   -0.1296   0.9240   26.00   16:00:00    11.95   16:00:00   10.45    9:31:00    6.00    -2.10     -1.50     0         1          0       13,632   OTM      OTM       OTM
TSLA   2019-01-18   $405.00    C      21.80    9:41:00   26.45   12:47:00   0.3974 0.0034        51.6827   -0.1281   0.9154   22.98   15:59:00    10.50   13:50:00    8.00    9:31:00    4.65    -3.47     -2.50     0         1          0          634   OTM      OTM       OTM
TSLA   2019-01-18   $410.00    C                                                                                                                   9.45   14:11:00    6.62    9:39:00                      -2.83                          0        2,869    ---       ---     OTM
TSLA   2019-01-18   $415.00    C                                                                                                                   8.04   15:56:00    6.75    9:31:00                      -1.29                          0        1,238    ---       ---     OTM
TSLA   2019-01-18   $420.00    C      16.84   11:52:00   21.89   12:45:00   0.3454    0.0033     45.3241   -0.1205   0.8716   17.00   16:00:00     6.96   15:56:00    5.01    9:31:00    5.05     -4.89    -1.95     0         1          0       11,687   OTM      OTM       OTM
TSLA   2019-01-18   $430.00    C      14.72   11:52:00   20.25   12:41:00   0.3246    0.0032     43.1439   -0.1183   0.8570   13.60   15:59:00     5.25   15:58:00    3.10    9:46:00    5.53     -6.65    -2.15     0         1          0        2,923   OTM      OTM       OTM
TSLA   2019-01-18   $440.00    C      13.75    9:44:00   17.87   12:43:00   0.2942    0.0031     39.3169   -0.1127   0.8196   11.00   16:00:00     3.95   14:01:00    2.80    9:31:00    4.12     -6.87    -1.15     0         1          0        1,157   OTM      OTM       OTM
TSLA   2019-01-18   $450.00    C      11.00   11:41:00   15.42   12:47:00   0.2690    0.0030     36.1693   -0.1076   0.7854   10.00   16:00:00     3.00   14:25:00    2.29    9:42:00    4.42     -5.42    -0.71     0         1          0        6,628   OTM      OTM       OTM
TSLA   2019-01-18   $460.00    C                                                                                                                   2.30   16:00:00    1.19    9:31:00                      -1.11                          0        2,331    ---       ---     OTM
TSLA   2019-01-18   $470.00    C       8.80    9:31:00                                                                         4.90   16:00:00     1.75   15:30:00    1.15    9:33:00                      -0.60                          0          736    ---       ---     OTM
TSLA   2019-01-18   $480.00    C                          7.94   12:23:00   0.1751    0.0025     23.6823   -0.0799   0.6024    4.00   15:58:00     1.27   14:31:00    1.04   10:08:00             -3.94    -0.23               1          0        2,514    ---     OTM       OTM
TSLA   2019-01-18   $490.00    C                                                                                                                   1.00   14:48:00    0.65    9:43:00                      -0.35                          0          488    ---       ---     OTM
TSLA   2019-01-18   $500.00    C       6.10   10:37:00    8.00   12:45:00   0.1603    0.0023     22.0264   -0.0781   0.5781    3.20   16:00:00     1.00   14:58:00    0.86    9:35:00    1.90     -4.80    -0.14     0         1          0       10,404   OTM      OTM       OTM
TSLA   2019-01-18   $510.00    C       4.77    9:32:00    6.40   12:29:00   0.1377    0.0021     18.9985   -0.0694   0.5207    1.00   15:54:00     0.70   11:04:00    0.63   10:57:00    1.63     -5.40    -0.07     0         1          0          160   OTM      OTM       OTM
TSLA   2019-01-18   $520.00    C       4.75   10:19:00    6.10   12:31:00   0.1287    0.0020     17.9028   -0.0668   0.5002    2.05   15:59:00     0.65   11:30:00    0.67   10:20:00    1.35     -4.05     0.02     0         1          1          417   OTM      OTM       OTM
TSLA   2019-01-18   $530.00    C       4.15   10:48:00                                                                         3.35   13:57:00                                                                                                       263    ---       ---      ---
TSLA   2019-01-18   $540.00    C                          4.00   12:23:00   0.0918    0.0016     12.6640   -0.0513   0.3854    2.50   13:41:00     0.24   11:20:00    0.51   10:44:00             -1.50       0.27             1          1          180    ---     OTM       OTM
TSLA   2019-01-18   $550.00    C       3.00   11:32:00    4.58   12:40:00   0.0993    0.0016     13.9664   -0.0566   0.4180    1.50   15:54:00     0.50   11:17:00    0.35   10:41:00    1.58     -3.08      -0.15   0         1          0        1,228   OTM      OTM       OTM
TSLA   2019-01-18   $580.00    C                          3.29   12:38:00   0.0751    0.0013     10.6664   -0.0464   0.3406    1.50   14:04:00     0.30   15:07:00    0.40   10:44:00             -1.79       0.10             1          1          431    ---     OTM       OTM
TSLA   2019-01-18   $590.00    C                          2.24   12:22:00   0.0523    0.0010      7.2755   -0.0335   0.2494    1.70   13:24:00                                                    -0.54                        1                      24    ---     OTM        ---
TSLA   2019-01-18   $600.00    C       1.79   11:30:00    2.50   12:44:00   0.0609    0.0011      8.5971   -0.0399   0.2873    0.65   15:57:00     0.35   14:23:00    0.27   13:09:00    0.71     -1.85      -0.08   0         1          0        3,655   OTM      OTM       OTM
TSLA   2019-01-18   $620.00    C                          2.20   12:41:00   0.0508    0.0009      7.2245   -0.0348   0.2500    1.22   13:17:00                                                    -0.98                        1                     135    ---     OTM        ---
TSLA   2019-01-18   $640.00    C                                                                                                                   0.20   11:17:00    0.24   10:56:00                         0.04                        1           61    ---       ---     OTM
TSLA   2019-01-18   $650.00    C       1.09   11:31:00                                                                         2.50   15:48:00     0.18   15:56:00    0.16   10:01:00                        -0.02                        0        1,177    ---       ---     OTM
TSLA   2019-01-18   $660.00    C       1.01   11:26:00    1.47   12:43:00   0.0358    0.0007      5.1010   -0.0268   0.1881    1.54   13:01:00                                           0.46      0.07              0         0                     112   OTM      OTM        ---
TSLA   2019-01-18   $670.00    C       1.00   11:06:00    1.17   12:27:00   0.0300    0.0006      4.2511   -0.0228   0.1612    0.27   13:23:00                                           0.17     -0.90              0         1                     353   OTM      OTM        ---
TSLA   2019-01-18   $680.00    C       0.87   11:51:00    1.12   12:44:00   0.0299    0.0006      4.2557   -0.0232   0.1617    0.40   16:00:00     0.14   13:09:00 0.18       9:43:00    0.25     -0.72       0.04   0         1          1        2,131   OTM      OTM       OTM
TSLA   2019-02-15   $250.00    C                                                                                                                 103.50   10:06:00 92.00      9:40:00                       -11.50                        0           11    ---       ---     ITM
TSLA   2019-02-15   $280.00    C                                                                                                                  80.50   12:36:00 64.69      9:45:00                       -15.81                        0           24    ---       ---     ITM
TSLA   2019-02-15   $300.00    C                         83.00   12:46:00   0.7220    0.0023     91.4559   -0.1132   0.8382 91.00     13:12:00                                                    8.00                         0                      20    ---      ITM       ---
TSLA   2019-02-15   $310.00    C                                                                                                                  58.11    9:48:00   48.00    9:49:00                       -10.11                        0           41    ---       ---     ITM
TSLA   2019-02-15   $340.00    C      49.50   11:31:00                                                                        61.50   13:48:00    41.70   10:47:00   34.70    9:37:00                        -7.00                        0           62    ---       ---     OTM
TSLA   2019-02-15   $350.00    C      45.00    9:31:00 54.45     12:47:00   0.5840    0.0029     81.1942   -0.1259   0.9920   55.00   15:54:00    37.18   11:26:00   30.20    9:34:00    9.45      0.55      -6.98   0         0          0          137   OTM       ITM      OTM
TSLA   2019-02-15   $360.00    C      42.45   10:28:00 50.65     12:43:00   0.5534    0.0030     77.9619   -0.1270   1.0070   49.60   13:35:00    30.50   13:43:00   25.00    9:39:00    8.20     -1.05      -5.50   0         1          0          232   OTM      OTM       OTM
TSLA   2019-02-15   $370.00    C                       44.00     12:31:00   0.5197    0.0031     74.3827   -0.1251   1.0152   40.00   15:46:00    26.68   12:28:00   18.55    9:44:00             -4.00      -8.13             1          0           57    ---     OTM       OTM
TSLA   2019-02-15   $380.00    C                       40.00     12:31:00   0.4894    0.0031     70.7908   -0.1250   1.0175   43.05   16:00:00    21.60    9:48:00   16.00   10:06:00              3.05      -5.60             0          0          125    ---     OTM       OTM
TSLA   2019-02-15   $390.00    C                       36.65     12:33:00   0.4612    0.0031     67.6499   -0.1235   1.0169   36.00   15:54:00    18.00    9:46:00   12.02   14:22:00             -0.65      -5.98             1          0           87    ---     OTM       OTM
TSLA   2019-02-15   $400.00    C                       33.00     12:37:00   0.4333    0.0031     64.1934   -0.1220   1.0097   30.75   13:48:00    14.70   15:02:00   11.30    9:33:00             -2.25      -3.40             1          0          232    ---     OTM       OTM
TSLA   2019-02-15   $410.00    C      24.70   10:24:00                                                                                                                                                                                                40    ---       ---      ---
TSLA   2019-02-15   $420.00    C                       27.00     12:41:00   0.3755    0.0031     56.5835   -0.1167   0.9748 21.00     15:59:00     9.80   15:24:00    7.45    9:36:00             -6.00      -2.35             1          0          915    ---     OTM       OTM
TSLA   2019-02-15   $430.00    C                                                                                                                   7.92   13:03:00    5.50   10:15:00                        -2.42                        0          277    ---       ---     OTM
TSLA   2019-02-15   $440.00    C                                                                                                                   6.15   13:13:00                                                                                   110    ---       ---      ---




                                                                                                                                                                                                                                                                              p. 11 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                  8/7 Last           8/16 Last          8/17 First            Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                           Period
Root      Date       Strike   Put    Price    Time       Price  Time        Delta Gamma           Rho      Theta     Vega   Price  Time          Price    Time      Price  Time        FT      Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2019-02-15   $450.00    C                         19.65 12:39:00     0.3007 0.0029        46.4270   -0.1064   0.8987 17.00 15:48:00        4.67   13:48:00    3.20 10:31:00              -2.65     -1.47               1          0          297    ---     OTM       OTM
TSLA   2019-02-15   $460.00    C                                                                                                                  3.60   11:11:00                                                                                    20    ---       ---      ---
TSLA   2019-02-15   $470.00    C                                                                                                                  2.80   11:14:00                                                                                    15    ---       ---      ---
TSLA   2019-02-15   $480.00    C                                                                                                                  2.12   11:14:00    1.48    9:55:00                        -0.64                        0           53    ---       ---     OTM
TSLA   2019-02-15   $490.00    C                                                                                                                  1.60   11:14:00    0.94    9:52:00                        -0.66                        0           83    ---       ---     OTM
TSLA   2019-02-15   $500.00    C                                                                                                                  1.20   11:14:00    0.65    9:53:00                        -0.55                        0           50    ---       ---     OTM
TSLA   2019-02-15   $520.00    C      6.25 11:23:00       6.70   12:22:00   0.1380    0.0019     21.6846   -0.0635   0.5551   6.60   15:46:00     0.67   10:15:00    0.36    9:52:00   0.45      -0.10      -0.31   0         1          0           40   OTM      OTM       OTM
TSLA   2019-03-15   $205.00    C    147.90 11:22:00                                                                                                                                                                                                   1    ---       ---      ---
TSLA   2019-03-15   $230.00    C                                                                                                                120.00   15:34:00 97.15     15:30:00                       -22.85                        0            6    ---       ---     ITM
TSLA   2019-03-15   $250.00    C                                                                                                                106.20   12:11:00 86.00      9:46:00                       -20.20                        0           64    ---       ---     ITM
TSLA   2019-03-15   $280.00    C                         91.00   12:20:00   0.7434    0.0020     99.8212   -0.0985   0.8291                                                                                                                          15    ---       ---      ---
TSLA   2019-03-15   $300.00    C                         77.50   12:19:00   0.6917    0.0024     97.0793   -0.1056   0.9113 95.50    15:52:00 67.50      14:29:00 52.82     10:37:00            18.00      -14.68             0          0          121    ---      ITM      ITM
TSLA   2019-03-15   $305.00    C     75.30 10:19:00      75.00   12:20:00   0.6806    0.0024     96.6386   -0.1068   0.9290 88.00    15:59:00                                          -0.30    13.00               1         0                      42   ITM       ITM       ---
TSLA   2019-03-15   $310.00    C                                                                                                              61.80       9:40:00   50.08    9:54:00                       -11.72                        0          124    ---       ---     ITM
TSLA   2019-03-15   $320.00    C                                                                                                              55.85       9:53:00   43.11    9:44:00                       -12.74                        0        2,101    ---       ---     ITM
TSLA   2019-03-15   $325.00    C     62.70 10:57:00                                                                                           52.40      15:33:00   39.35   13:48:00                       -13.05                        0           50    ---       ---     ITM
TSLA   2019-03-15   $335.00    C     57.15 10:09:00                                                                         65.55    14:06:00 47.95      11:56:00   41.20    9:31:00                        -6.75                        0           24    ---       ---     ITM
TSLA   2019-03-15   $340.00    C                         63.00   12:35:00   0.6112    0.0026     93.7192   -0.1149   1.0347 63.65    16:00:00 43.50       9:41:00   35.00    9:55:00             0.65       -8.50             0          0          118    ---      ITM      OTM
TSLA   2019-03-15   $345.00    C                                                                                                              40.80      13:54:00   30.30   14:38:00                       -10.50                        0           38    ---       ---     OTM
TSLA   2019-03-15   $350.00    C     50.75 10:43:00      58.40   12:44:00   0.5841    0.0027     90.8501   -0.1169   1.0559 57.25    16:00:00 37.70      13:34:00   28.50    9:47:00   7.65      -1.15      -9.20   0         1          0        1,865   OTM       ITM      OTM
TSLA   2019-03-15   $360.00    C                         53.00   12:44:00   0.5559    0.0028     87.6451   -0.1178   1.0716 52.35    15:56:00                                                    -0.65                        1                     744    ---     OTM        ---
TSLA   2019-03-15   $365.00    C     43.38 10:12:00                                                                                                                                                                                                 169    ---       ---      ---
TSLA   2019-03-15   $375.00    C                         47.10   12:37:00   0.5174    0.0028     83.5840   -0.1175   1.0890                                                                                                                          94    ---       ---      ---
TSLA   2019-03-15   $380.00    C                         45.00   12:42:00   0.5054    0.0028     82.0337   -0.1183   1.0920 41.56    14:06:00                                                    -3.44                        1                     750    ---     OTM        ---
TSLA   2019-03-15   $385.00    C                                                                                                               23.26     12:04:00   18.50    9:38:00                        -4.76                        0           42    ---       ---     OTM
TSLA   2019-03-15   $395.00    C                                                                                                               18.50     16:00:00   15.16   11:55:00                        -3.34                        0            3    ---       ---     OTM
TSLA   2019-03-15   $400.00    C     29.44 11:51:00      37.20   12:37:00   0.4465    0.0029     74.2250   -0.1146   1.0839 28.50    15:58:00 17.12      13:55:00   14.30    9:35:00   7.76      -8.70      -2.82   0         1          0          393   OTM      OTM       OTM
TSLA   2019-03-15   $410.00    C                                                                                                               13.87     13:48:00   11.40    9:32:00                        -2.47                        0           23    ---       ---     OTM
TSLA   2019-03-15   $420.00    C                         30.25   12:40:00   0.3940    0.0029     66.7376   -0.1109   1.0580 21.50    15:59:00 11.00      14:32:00    9.15    9:32:00             -8.75      -1.85             1          0        1,290    ---     OTM       OTM
TSLA   2019-03-15   $430.00    C                                                                                                                9.10     13:52:00    7.50    9:33:00                        -1.60                        0          558    ---       ---     OTM
TSLA   2019-03-15   $440.00    C                         23.10   12:29:00   0.3286    0.0028     56.2581   -0.1010   0.9846 15.05    13:54:00                                                    -8.05                        1                     105    ---     OTM        ---
TSLA   2019-03-15   $450.00    C                                                                                                                6.20     12:27:00    4.25    9:55:00                        -1.95                        0        1,180    ---       ---     OTM
TSLA   2019-03-15   $460.00    C     15.30 12:07:00      20.00   12:36:00   0.2917    0.0027     50.8751   -0.0966   0.9434 13.40    15:52:00                                          4.70      -6.60              0         1                     286   OTM      OTM        ---
TSLA   2019-03-15   $470.00    C                         18.35   12:43:00   0.2717    0.0026     47.5955   -0.0936   0.9118 16.90    15:46:00 3.92       10:59:00    2.62    9:55:00             -1.45      -1.30             1          0           99    ---     OTM       OTM
TSLA   2019-03-15   $500.00    C     10.64 10:32:00      13.30   12:42:00   0.2180    0.0023     38.9416   -0.0829   0.8142 8.50     15:47:00 1.85       13:47:00    0.97    9:43:00   2.66      -4.80      -0.88   0         1          0          751   OTM      OTM       OTM
TSLA   2019-03-15   $510.00    C                                                                                                                1.60     15:19:00                                                                                    34    ---       ---      ---
TSLA   2019-03-15   $550.00    C                                                                                                                0.70     11:31:00                                                                                    27    ---       ---      ---
TSLA   2019-03-15   $560.00    C                          6.70   12:31:00   0.1263    0.0017 23.0734       -0.0571   0.5713 3.85     15:46:00                                                    -2.85                        1                       4    ---     OTM        ---
TSLA   2019-03-15   $700.00    C                          2.00   12:33:00   0.0443    0.0007   8.2971      -0.0269   0.2588 0.30     15:59:00 0.30        9:34:00    0.32    9:32:00             -1.70      0.02              1          1          756    ---     OTM       OTM
TSLA   2019-06-21   $200.00    C                        171.00   12:42:00   0.8641    0.0008 119.7182      -0.0576   0.6346 175.92   13:15:00                                                     4.92                        0                      33    ---      ITM       ---
TSLA   2019-06-21   $250.00    C                        132.00   12:38:00   0.8014    0.0012 135.7160      -0.0712   0.8584 135.00   13:11:00                                                     3.00                        0                       6    ---      ITM       ---
TSLA   2019-06-21   $260.00    C                                                                                                              102.16     10:06:00                                                                                     2    ---       ---      ---
TSLA   2019-06-21   $270.00    C                        115.00   12:30:00   0.7617    0.0015 136.0543      -0.0777   0.9595                                                                                                                           2    ---       ---      ---
TSLA   2019-06-21   $280.00    C                                                                                                              87.70      12:43:00 73.50     11:52:00                       -14.20                        0           27    ---       ---     ITM
TSLA   2019-06-21   $290.00    C                                                                                                              80.90      12:59:00 64.80     14:29:00                       -16.10                        0           21    ---       ---     ITM
TSLA   2019-06-21   $295.00    C                                                                                                              76.70      15:50:00                                                                                     1    ---       ---      ---
TSLA   2019-06-21   $300.00    C                         92.00   12:24:00   0.6959    0.0019 133.1256      -0.0861   1.0929 94.35    15:59:00 75.50      11:12:00 61.00      9:44:00              2.35     -14.50             0          0          155    ---      ITM      ITM
TSLA   2019-06-21   $310.00    C     79.02    9:32:00    88.65   12:30:00   0.6816    0.0019 133.7105      -0.0880   1.1307 87.15    15:59:00                                          9.63      -1.50              0         1                      24   ITM       ITM       ---
TSLA   2019-06-21   $335.00    C                                                                                                              53.70       9:58:00                                                                                    30    ---       ---      ---
TSLA   2019-06-21   $340.00    C     65.35    9:58:00                                                                                                                                                                                                76    ---       ---      ---
TSLA   2019-06-21   $345.00    C     62.00 12:17:00      70.76   12:34:00   0.6066    0.0022 126.8295      -0.0944   1.2394                                                            8.76                         0                                95   OTM        ---      ---
TSLA   2019-06-21   $350.00    C     62.00 10:29:00      68.25   12:35:00   0.5919    0.0022 124.4514      -0.0945   1.2486 66.00    14:07:00 46.75      11:58:00 38.55     10:01:00   6.25      -2.25      -8.20   0         1          0        1,386   OTM       ITM      OTM
TSLA   2019-06-21   $355.00    C     59.00 10:48:00                                                                         60.30    15:46:00 44.00      11:18:00 34.10     14:48:00                        -9.90                        0           57    ---       ---     OTM
TSLA   2019-06-21   $365.00    C     52.42    9:32:00                                                                       60.00    15:46:00                                                                                                        63    ---       ---      ---
TSLA   2019-06-21   $370.00    C                                                                                                              35.97       9:38:00   29.54   11:26:00                        -6.43                        0          169    ---       ---     OTM
TSLA   2019-06-21   $380.00    C                                                                                                              31.05      15:41:00   25.95    9:31:00                        -5.10                        0          214    ---       ---     OTM
TSLA   2019-06-21   $390.00    C                                                                                                              28.00      12:21:00   22.85   10:22:00                        -5.15                        0           73    ---       ---     OTM
TSLA   2019-06-21   $400.00    C     41.51 10:37:00      47.28   12:34:00   0.4780    0.0024 107.5167      -0.0951   1.2990 45.00    15:50:00 24.65      11:21:00   19.00    9:41:00   5.77      -2.28      -5.65   0         1          0        1,242   OTM      OTM       OTM




                                                                                                                                                                                                                                                                             p. 12 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                          Pre FT                                      Pre Tweet                                    8/7 Last          8/16 Last          8/17 First            Price Change                 Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                             Period
Root      Date       Strike   Put      Price    Time      Price    Time      Delta    Gamma       Rho       Theta     Vega      Price    Time      Price  Time    Price        Time      FT      Tweet     NYT        FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2019-06-21   $410.00    C                                                                                                                   20.68 10:00:00                                                                                      38    ---       ---      ---
TSLA   2019-06-21   $420.00    C                                                                                                                   17.35 15:41:00 15.00        9:32:00                        -2.35                        0          559    ---       ---     OTM
TSLA   2019-06-21   $430.00    C       30.49   11:28:00 35.00     12:25:00   0.3970    0.0024     91.3414   -0.0892   1.2463 27.00      13:53:00                                          4.51     -8.00              0         1                     314   OTM      OTM        ---
TSLA   2019-06-21   $440.00    C       29.47    9:59:00                                                                      23.50      15:54:00 13.10     11:44:00    9.90    9:53:00                        -3.20                        0          111    ---       ---     OTM
TSLA   2019-06-21   $450.00    C       27.31   10:47:00                                                                      23.00      15:48:00                                                                                                      527    ---       ---      ---
TSLA   2019-06-21   $460.00    C                                                                                                                  9.80     11:20:00    7.30   10:27:00                        -2.50                        0          128    ---       ---     OTM
TSLA   2019-06-21   $480.00    C                          24.90   12:47:00   0.3097    0.0023     74.5464   -0.0817   1.1593 24.25      13:11:00                                                   -0.65                        1                     206    ---     OTM        ---
TSLA   2019-06-21   $500.00    C       17.84   10:13:00                                                                       9.00      15:58:00 4.60      11:03:00    3.90   10:54:00                        -0.70                        0        1,312    ---       ---     OTM
TSLA   2019-06-21   $510.00    C       16.45    9:52:00                                                                      10.19      13:55:00                                                                                                        5    ---       ---      ---
TSLA   2019-06-21   $530.00    C       13.30   10:55:00                                                                                                                                                                                                15    ---       ---      ---
TSLA   2019-06-21   $540.00    C       12.75   10:24:00                                                                                                                                                                                                80    ---       ---      ---
TSLA   2019-06-21   $580.00    C        9.00   10:13:00                                                                                                                                                                                                96    ---       ---      ---
TSLA   2019-06-21   $600.00    C        7.55   11:06:00                                                                          4.70   13:46:00    0.85   15:13:00                                                                                    63    ---       ---      ---
TSLA   2019-06-21   $610.00    C                                                                                                                    0.92   15:12:00    1.00    9:31:00                        0.08                         1          184    ---       ---     OTM
TSLA   2019-06-21   $680.00    C                           4.20   12:20:00   0.0766    0.0010     19.3242   -0.0320   0.4610     1.00   15:57:00                                                   -3.20                        1                      27    ---     OTM        ---
TSLA   2019-06-21   $700.00    C                                                                                                                    0.52   15:13:00    0.35   10:05:00                        -0.17                        0          724    ---       ---     OTM
TSLA   2019-08-16   $280.00    C      102.00   11:40:00                                                                                                                                                                                                 8    ---       ---      ---
TSLA   2019-08-16   $300.00    C                          99.55   12:27:00   0.6962    0.0017 151.2011      -0.0787   1.1815 96.00      15:57:00 79.00     11:22:00 66.55     10:01:00             -3.55     -12.45             1          0           65    ---      ITM      ITM
TSLA   2019-08-16   $305.00    C       89.75   10:13:00                                                                                                                                                                                                 7    ---       ---      ---
TSLA   2019-08-16   $310.00    C                          90.00   12:23:00   0.6691    0.0018 147.5046      -0.0808   1.2188                                                                                                                           55    ---       ---      ---
TSLA   2019-08-16   $340.00    C                          79.00   12:35:00   0.6188    0.0019 145.0970      -0.0858   1.3166                                                                                                                          100    ---       ---      ---
TSLA   2019-08-16   $350.00    C                          68.39   12:22:00   0.5777    0.0021 136.6219      -0.0836   1.3263 75.16      13:11:00                                                   6.77                         0                      56    ---      ITM       ---
TSLA   2019-08-16   $360.00    C                                                                                                                   42.75    9:43:00 37.50      9:55:00                        -5.25                        0           22    ---       ---     OTM
TSLA   2019-08-16   $365.00    C       60.95   10:21:00                                                                      65.00      15:47:00                                                                                                        5    ---       ---      ---
TSLA   2019-08-16   $375.00    C                          62.00   12:30:00   0.5430    0.0021 134.2712      -0.0874   1.3827 67.00      12:49:00                                                   5.00                         0                      43    ---     OTM        ---
TSLA   2019-08-16   $380.00    C                          61.30   12:34:00   0.5358    0.0021 133.6170      -0.0881   1.3921                                                                                                                          714    ---       ---      ---
TSLA   2019-08-16   $400.00    C                          55.00   12:39:00   0.4966    0.0022 126.9851      -0.0881   1.4078 36.00      15:54:00                                                  -19.00                        1                      56    ---     OTM        ---
TSLA   2019-08-16   $420.00    C                                                                                                                  20.20    15:58:00 16.20      9:43:00                        -4.00                        0          169    ---       ---     OTM
TSLA   2019-08-16   $480.00    C                                                                                                                   8.25    11:29:00                                                                                    10    ---       ---      ---
TSLA   2019-08-16   $490.00    C                                                                                                                   7.98    11:29:00                                                                                    41    ---       ---      ---
TSLA   2019-08-16   $500.00    C                                                                                                                   7.10    15:43:00 5.85      10:00:00                        -1.25                        0          273    ---       ---     OTM
TSLA   2019-08-16   $660.00    C                                                                                                                   1.59    10:57:00 0.86      10:11:00                        -0.73                        0           21    ---       ---     OTM
TSLA   2019-08-16   $690.00    C                                                                                                                   1.12    11:17:00 1.00      10:12:00                        -0.12                        0          258    ---       ---     OTM
TSLA   2019-08-16   $700.00    C                           7.05   12:43:00   0.1038    0.0011     30.9745   -0.0385   0.6465     2.90   15:55:00 1.17      13:54:00 0.80      10:22:00             -4.15      -0.37             1          0          622    ---     OTM       OTM
TSLA   2020-01-17   $100.00    C                                                                                                                 236.35    15:22:00 213.05    10:39:00                       -23.30                        0          299    ---       ---     ITM
TSLA   2020-01-17   $220.00    C                                                                                                                 137.10    10:21:00 125.00    10:04:00                       -12.10                        0           50    ---       ---     ITM
TSLA   2020-01-17   $240.00    C      140.30   10:33:00                                                                        159.05   15:46:00 121.88    14:06:00                                                                                     7    ---       ---      ---
TSLA   2020-01-17   $250.00    C      131.72   12:10:00                                                                        146.50   16:00:00                                                                                                      170    ---       ---      ---
TSLA   2020-01-17   $295.00    C                        117.00    12:38:00   0.7063    0.0013 198.5647      -0.0626   1.3630   112.00   15:59:00                                                   -5.00                        1                       9    ---      ITM       ---
TSLA   2020-01-17   $300.00    C      103.25   10:33:00 111.95    12:45:00   0.6918    0.0014 195.0234      -0.0634   1.3824   108.00   16:00:00 83.00     13:29:00 75.00      9:31:00    8.70     -3.95      -8.00   0         1          0        1,323   ITM       ITM      ITM
TSLA   2020-01-17   $305.00    C      101.30   10:33:00                                                                        105.00   14:05:00                                                                                                      111    ---       ---      ---
TSLA   2020-01-17   $315.00    C                        105.00    12:31:00   0.6692    0.0014 195.1829      -0.0659   1.4426   105.45   15:47:00                                                    0.45                        0                     191    ---      ITM       ---
TSLA   2020-01-17   $320.00    C       91.05    9:31:00 102.50    12:43:00   0.6616    0.0015 194.8374      -0.0668   1.4612    89.95   15:58:00 70.00     10:25:00   60.55    9:31:00   11.45    -12.55      -9.45   0         1          0          158   ITM       ITM      ITM
TSLA   2020-01-17   $325.00    C       91.00    9:53:00 99.95     12:41:00   0.6535    0.0015 194.7410      -0.0670   1.4796    89.95   13:39:00 70.45     13:31:00   61.17    9:58:00    8.95    -10.00      -9.28   0         1          0          415   ITM       ITM      ITM
TSLA   2020-01-17   $330.00    C       88.55   10:13:00                                                                         90.00   15:52:00 66.30      9:33:00   58.65    9:31:00                        -7.65                        0          261    ---       ---     ITM
TSLA   2020-01-17   $335.00    C                                                                                                                  63.30    14:16:00   58.00    9:37:00                        -5.30                        0           46    ---       ---     ITM
TSLA   2020-01-17   $340.00    C       83.10   10:52:00                                                                      78.55      15:53:00 58.10     14:52:00   55.55    9:36:00                        -2.55                        0          243    ---       ---     OTM
TSLA   2020-01-17   $350.00    C       78.00   11:22:00 88.47     12:40:00   0.6109    0.0016 190.1705      -0.0696   1.5563 72.00      15:58:00 55.72     14:16:00   50.00    9:31:00   10.47    -16.47      -5.72   0         1          0        1,781   OTM       ITM      OTM
TSLA   2020-01-17   $360.00    C                        82.00     12:36:00   0.5918    0.0017 186.6828      -0.0705   1.5783 67.00      15:57:00 50.50     15:53:00   43.60    9:42:00            -15.00      -6.90             1          0        2,743    ---     OTM       OTM
TSLA   2020-01-17   $370.00    C                                                                                                                  46.25    15:18:00   38.37    9:43:00                        -7.88                        0          400    ---       ---     OTM
TSLA   2020-01-17   $380.00    C                                                                                                                  42.10    13:54:00   38.20    9:36:00                        -3.90                        0        2,134    ---       ---     OTM
TSLA   2020-01-17   $390.00    C                        67.73     12:26:00   0.5308    0.0018 173.0092      -0.0711   1.6128 56.60      15:59:00 37.10     13:55:00   34.00    9:31:00            -11.13      -3.10             1          0          322    ---     OTM       OTM
TSLA   2020-01-17   $400.00    C       59.00   10:54:00 68.00     12:39:00   0.5241    0.0018 175.0411      -0.0720   1.6446 51.65      15:59:00 34.40     15:27:00   30.73    9:33:00    9.00    -16.35      -3.67   0         1          0        5,586   OTM      OTM       OTM
TSLA   2020-01-17   $410.00    C                                                                                                                  31.04    15:33:00   24.40    9:31:00                        -6.64                        0          552    ---       ---     OTM
TSLA   2020-01-17   $420.00    C       51.60   11:43:00 60.10     12:33:00   0.4870    0.0018 166.0253      -0.0715   1.6487 37.00      16:00:00 28.20     15:56:00   25.00    9:31:00    8.50    -23.10      -3.20   0         1          0        4,772   OTM      OTM       OTM
TSLA   2020-01-17   $430.00    C       50.40   11:06:00 55.00     12:29:00   0.4645    0.0018 158.7461      -0.0707   1.6319 32.50      16:00:00 24.91     15:33:00   22.44    9:54:00    4.60    -22.50      -2.47   0         1          0        1,216   OTM      OTM       OTM
TSLA   2020-01-17   $440.00    C                                                                                                                  22.60    15:59:00   21.00    9:31:00                        -1.60                        0          663    ---       ---     OTM
TSLA   2020-01-17   $450.00    C       44.60   10:52:00 50.00     12:45:00   0.4340    0.0018 151.4342      -0.0700   1.6266 27.50      16:00:00 20.40     15:15:00   18.00    9:52:00    5.40    -22.50      -2.40   0         1          0        2,994   OTM      OTM       OTM




                                                                                                                                                                                                                                                                               p. 13 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                          Pre FT                                     Pre Tweet                                  8/7 Last          8/16 Last         8/17 First           Price Change                Typical (=0)          Class             Moneyness
        Expiration             Call/                                                                                                                                                                                                      Period
 Root      Date       Strike   Put     Price    Time    Price  Time        Delta     Gamma       Rho       Theta     Vega   Price     Time      Price    Time    Price    Time      FT      Tweet     NYT       FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA    2020-01-17   $460.00    C      41.85   10:53:00                                                                     24.00    15:54:00   18.80   16:00:00 16.00    9:51:00                      -2.80                         0          360    ---      ---      OTM
TSLA    2020-01-17   $470.00    C      40.35   10:43:00                                                                     25.00    16:00:00   16.90   11:46:00 14.50    9:31:00                      -2.40                         0          551    ---      ---      OTM
TSLA    2020-01-17   $490.00    C      35.81   10:43:00 40.40 12:34:00     0.3757     0.0018 136.0624      -0.0675   1.5861 30.88    13:21:00   13.00   15:22:00 12.05    9:50:00   4.59      -9.52    -0.95    0         1          0           49   OTM      OTM       OTM
TSLA    2020-01-17   $500.00    C      32.56   11:46:00 38.00 12:47:00     0.3617     0.0018 131.7081      -0.0667   1.5673 19.00    16:00:00   12.25   14:47:00 9.55     9:31:00   5.44     -19.00    -2.70    0         1          0        4,644   OTM      OTM       OTM
TSLA    2020-01-17   $520.00    C      30.00   10:16:00                                                                     20.05    15:53:00                                                                                                   160    ---      ---       ---
TSLA    2020-01-17   $550.00    C                       28.59 12:46:00     0.2937     0.0017 109.7935      -0.0607   1.4407 10.77    16:00:00    7.60   16:00:00   7.40   9:33:00            -17.82     -0.20             1          0          838    ---     OTM       OTM
TSLA    2020-01-17   $560.00    C                                                                                                                7.45   11:48:00   6.90   9:34:00                       -0.55                        0          455    ---      ---      OTM
TSLA    2020-01-17   $570.00    C      22.60   10:08:00 25.00   12:28:00   0.2650     0.0016     99.6823   -0.0571   1.3633   8.70   15:55:00                                       2.40     -16.30             0         1                      46   OTM      OTM        ---
TSLA    2020-01-17   $590.00    C                                                                                                                6.00   15:18:00   5.55   9:34:00                       -0.45                        0          118    ---      ---      OTM
TSLA    2020-01-17   $600.00    C      18.50   12:11:00 22.00   12:45:00   0.2389     0.0016     91.4079   -0.0545   1.3015   6.00   15:55:00    5.70   15:54:00   4.95   9:40:00   3.50     -16.00     -0.75   0         1          0        3,532   OTM      OTM       OTM
TSLA    2020-01-17   $610.00    C                                                                                                                5.10   14:29:00   4.70   9:54:00                       -0.40                        0          526    ---      ---      OTM
TSLA    2020-01-17   $620.00    C      16.50    9:31:00                                                                       5.50   15:51:00                                                                                                    37    ---      ---       ---
TSLA    2020-01-17   $650.00    C      14.50    9:41:00 17.20   12:38:00   0.1987     0.0014     78.3208   -0.0494   1.1870   4.87   16:00:00    4.13   14:29:00   4.19   9:33:00   2.70     -12.33      0.06   0         1          1          499   OTM      OTM       OTM
TSLA    2020-01-17   $680.00    C                                                                                                                3.90   11:43:00   3.86   9:32:00                       -0.04                        0          984    ---      ---      OTM
TSLA    2020-01-17   $690.00    C                                                                                                                3.40    9:53:00                                                                                892    ---      ---       ---
TSLA    2020-01-17   $700.00    C      10.79   11:39:00 13.30   12:45:00   0.1577     0.0012     62.4338   -0.0423   1.0161   3.00   16:00:00    3.25   15:51:00   3.27   9:33:00   2.51     -10.30     0.02    0         1          1       10,452   OTM      OTM       OTM
TSLA1   2019-01-18    $40.00    C                        3.97   12:26:00   0.5299     0.0288      7.0518   -0.0161   0.1023                                                                                                                       6    ---      ---       ---
TSLA    2018-08-10   $185.00    P       0.01   11:53:00                                                                                                                                                                                           6    ---      ---       ---
TSLA    2018-08-10   $190.00    P                        0.01   12:34:00   -0.0003    0.0000     -0.0009   -0.0111   0.0003                                                                                                                      17    ---      ---       ---
TSLA    2018-08-10   $200.00    P       0.01   10:46:00                                                                                                                                                                                          20    ---      ---       ---
TSLA    2018-08-10   $220.00    P       0.01   10:00:00                                                                       0.01   16:00:00                                                                                                    42    ---      ---       ---
TSLA    2018-08-10   $225.00    P       0.01    9:33:00                                                                       0.01   16:00:00                                                                                                    86    ---      ---       ---
TSLA    2018-08-10   $235.00    P       0.01   10:26:00                                                                       0.03   15:59:00                                                                                                   187    ---      ---       ---
TSLA    2018-08-10   $240.00    P       0.01   11:22:00 0.01    12:27:00   -0.0004    0.0000     -0.0014   -0.0107   0.0005   0.25   15:47:00                                       0.00      0.24              1         1                     266   OTM      OTM        ---
TSLA    2018-08-10   $245.00    P       0.01   11:28:00                                                                       0.04   14:08:00                                                                                                    68    ---      ---       ---
TSLA    2018-08-10   $250.00    P       0.01   11:32:00 0.01    12:31:00   -0.0009    0.0001     -0.0028   -0.0191   0.0010   0.08   16:00:00                                       0.00      0.07              1         1                     269   OTM      OTM        ---
TSLA    2018-08-10   $255.00    P       0.02   11:10:00                                                                       0.70   15:55:00                                                                                                   117    ---      ---       ---
TSLA    2018-08-10   $260.00    P       0.01   11:28:00 0.02    12:26:00   -0.0018    0.0002     -0.0056   -0.0339   0.0019   0.04   15:52:00                                       0.01      0.02              1         1                     305   OTM      OTM        ---
TSLA    2018-08-10   $265.00    P       0.02   12:01:00 0.02    12:25:00   -0.0015    0.0001     -0.0047   -0.0263   0.0016   0.10   15:52:00                                       0.00      0.08              1         1                     442   OTM      OTM        ---
TSLA    2018-08-10   $267.50    P                        0.02   12:23:00   -0.0016    0.0002     -0.0049   -0.0261   0.0017                                                                                                                     480    ---      ---       ---
TSLA    2018-08-10   $270.00    P       0.02   11:55:00                                                                       0.06   16:00:00                                                                                                   243    ---      ---       ---
TSLA    2018-08-10   $275.00    P       0.03   12:17:00 0.03    12:30:00   -0.0025    0.0002     -0.0078   -0.0401   0.0025   0.10   15:57:00                                       0.00      0.07              1         1                     270   OTM      OTM        ---
TSLA    2018-08-10   $280.00    P       0.03   11:15:00 0.03    12:21:00   -0.0030    0.0003     -0.0092   -0.0389   0.0029   0.08   15:56:00                                       0.00      0.05              1         1                     424   OTM      OTM        ---
TSLA    2018-08-10   $282.50    P       0.03   10:10:00                                                                       0.10   15:57:00                                                                                                   296    ---      ---       ---
TSLA    2018-08-10   $285.00    P       0.04   12:01:00 0.23    12:41:00   -0.0023    0.0002     -0.0073   -0.0330   0.0024   0.05   15:50:00                                       0.19      -0.18             1         0                     427   OTM      OTM        ---
TSLA    2018-08-10   $287.50    P       0.05   10:30:00                                                                       0.10   15:53:00                                                                                                   173    ---      ---       ---
TSLA    2018-08-10   $290.00    P       0.04   12:04:00                                                                       0.31   15:56:00                                                                                                   244    ---      ---       ---
TSLA    2018-08-10   $292.50    P       0.05   10:07:00 0.04    12:34:00   -0.0067    0.0006     -0.0212   -0.0862   0.0062   0.10   15:50:00                                       -0.01     0.06              0         1                     422   OTM      OTM        ---
TSLA    2018-08-10   $295.00    P       0.06   11:51:00 0.03    12:47:00   -0.0042    0.0005     -0.0133   -0.0515   0.0041   0.16   15:57:00                                       -0.03     0.13              0         1                     988   OTM      OTM        ---
TSLA    2018-08-10   $297.50    P       0.07   11:46:00 0.02    12:39:00   -0.0070    0.0007     -0.0224   -0.0863   0.0065   0.19   15:58:00                                       -0.05     0.17              0         1                     632   OTM      OTM        ---
TSLA    2018-08-10   $300.00    P       0.07   12:13:00 0.05    12:47:00   -0.0056    0.0006     -0.0176   -0.0629   0.0053   0.12   16:00:00                                       -0.02     0.07              0         1                   9,437   OTM      OTM        ---
TSLA    2018-08-10   $302.50    P       0.07   11:37:00                                                                       0.18   15:59:00                                                                                                   509    ---      ---       ---
TSLA    2018-08-10   $305.00    P       0.11   11:25:00 0.06    12:23:00   -0.0092    0.0012     -0.0286   -0.0808   0.0081   0.20   15:59:00                                       -0.05      0.14             0         1                     573   OTM      OTM        ---
TSLA    2018-08-10   $307.50    P       0.11   12:08:00 0.01    12:31:00   -0.0236    0.0021     -0.0749   -0.2368   0.0185   0.27   16:00:00                                       -0.10      0.26             0         1                     561   OTM      OTM        ---
TSLA    2018-08-10   $310.00    P       0.13   12:05:00 0.08    12:47:00   -0.0105    0.0013     -0.0330   -0.0973   0.0092   0.20   16:00:00                                       -0.05      0.12             0         1                   3,374   OTM      OTM        ---
TSLA    2018-08-10   $312.50    P       0.15   11:08:00 0.07    12:47:00   -0.0115    0.0014     -0.0362   -0.1011   0.0100   0.19   16:00:00                                       -0.08      0.12             0         1                   1,011   OTM      OTM        ---
TSLA    2018-08-10   $315.00    P       0.22   12:06:00 0.10    12:47:00   -0.0158    0.0019     -0.0496   -0.1321   0.0131   0.26   15:59:00                                       -0.12      0.16             0         1                   2,828   OTM      OTM        ---
TSLA    2018-08-10   $317.50    P       0.30   12:09:00 0.15    12:44:00   -0.0194    0.0024     -0.0610   -0.1502   0.0156   0.47   15:59:00                                       -0.15      0.32             0         1                   1,384   OTM      OTM        ---
TSLA    2018-08-10   $320.00    P       0.39   12:15:00 0.18    12:47:00   -0.0227    0.0027     -0.0716   -0.1695   0.0179   0.32   16:00:00                                       -0.21      0.14             0         1                   5,552   OTM      OTM        ---
TSLA    2018-08-10   $322.50    P       0.56   12:17:00 0.22    12:47:00   -0.0290    0.0034     -0.0915   -0.2041   0.0220   0.35   16:00:00                                       -0.34      0.13             0         1                   2,170   OTM      OTM        ---
TSLA    2018-08-10   $325.00    P       0.75   12:17:00 0.29    12:47:00   -0.0361    0.0042     -0.1138   -0.2382   0.0263   0.50   16:00:00                                       -0.46      0.21             0         1                   8,815   OTM      OTM        ---
TSLA    2018-08-10   $327.50    P       1.02   12:17:00 0.41    12:46:00   -0.0528    0.0059     -0.1658   -0.3112   0.0356   0.85   16:00:00                                       -0.61      0.44             0         1                   2,176   OTM      OTM        ---
TSLA    2018-08-10   $330.00    P       1.44   12:15:00 0.50    12:47:00   -0.0604    0.0066     -0.1907   -0.3500   0.0398   0.59   16:00:00                                       -0.94      0.09             0         1                  13,652   OTM      OTM        ---
TSLA    2018-08-10   $332.50    P       1.95   12:12:00 0.65    12:47:00   -0.0782    0.0081     -0.2468   -0.4225   0.0485   0.70   16:00:00                                       -1.30      0.05             0         1                   3,809   OTM      OTM        ---
TSLA    2018-08-10   $335.00    P       2.54   12:10:00 0.88    12:47:00   -0.1000    0.0098     -0.3161   -0.5033   0.0582   0.61   16:00:00                                       -1.66     -0.27             0         0                  15,214   OTM      OTM        ---
TSLA    2018-08-10   $337.50    P       3.20   12:16:00 1.38    12:46:00   -0.1418    0.0128     -0.4471   -0.6242   0.0742   0.85   16:00:00                                       -1.82     -0.53             0         0                   5,769   OTM      OTM        ---
TSLA    2018-08-10   $340.00    P       4.30   12:17:00 1.48    12:47:00   -0.1573    0.0137     -0.4979   -0.6765   0.0798   0.85   16:00:00                                       -2.82     -0.63             0         0                  25,605   OTM      OTM        ---
TSLA    2018-08-10   $342.50    P       5.30   12:17:00 2.29    12:46:00   -0.2172    0.0168     -0.6867   -0.8095   0.0971   1.00   16:00:00                                       -3.01     -1.29             0         0                   9,066   ITM      OTM        ---




                                                                                                                                                                                                                                                                         p. 14 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                   8/7 Last          8/16 Last          8/17 First           Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                          Period
Root      Date       Strike   Put     Price    Time      Price    Time      Delta Gamma           Rho       Theta     Vega     Price    Time      Price    Time      Price    Time      FT    Tweet       NYT      FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-10   $345.00    P       6.61   12:11:00    2.68   12:47:00   -0.2378 0.0178        -0.7551   -0.8650   0.1026    1.20   16:00:00                                         -3.93  -1.48                0        0                  24,812   ITM      OTM        ---
TSLA   2018-08-10   $347.50    P       8.14   12:11:00    3.21   12:47:00   -0.2852 0.0197        -0.9070   -0.9464   0.1127    1.20   16:00:00                                         -4.93  -2.01                0        0                  13,010   ITM      OTM        ---
TSLA   2018-08-10   $350.00    P      10.15   12:09:00    3.95   12:47:00   -0.3380 0.0211        -1.0775   -1.0252   0.1213    1.32   16:00:00                                         -6.20  -2.63                0        0                  49,091   ITM      OTM        ---
TSLA   2018-08-10   $352.50    P      11.75   12:14:00    5.20   12:47:00   -0.3932 0.0221        -1.2560   -1.0829   0.1275    1.78   16:00:00                                         -6.55  -3.42                0        0                  14,335   ITM      OTM        ---
TSLA   2018-08-10   $355.00    P      13.51   11:55:00    6.02   12:47:00   -0.4497 0.0228        -1.4398   -1.1128   0.1313    2.00   16:00:00                                         -7.49  -4.02                0        0                  23,441   ITM      OTM        ---
TSLA   2018-08-10   $357.50    P      16.90   11:51:00    7.87   12:47:00   -0.5065 0.0224        -1.6274   -1.1531   0.1323    2.00   16:00:00                                         -9.03  -5.87                0        0                   8,040   ITM       ITM       ---
TSLA   2018-08-10   $360.00    P      19.00   11:30:00    9.05   12:47:00   -0.5613 0.0220        -1.8089   -1.1532   0.1307    2.85   16:00:00                                         -9.95  -6.20                0        0                  24,158   ITM       ITM       ---
TSLA   2018-08-10   $362.50    P      18.28   10:34:00   10.03   12:42:00   -0.5830 0.0211        -1.8926   -1.1782   0.1300    3.25   16:00:00                                         -8.25  -6.78                0        0                   4,085   ITM       ITM       ---
TSLA   2018-08-10   $365.00    P      20.37   10:38:00   12.45   12:47:00   -0.6617 0.0199        -2.1475   -1.1025   0.1212    3.55   16:00:00                                         -7.92  -8.90                0        0                   8,860   ITM       ITM       ---
TSLA   2018-08-10   $367.50    P      23.84   10:18:00                                                                          4.46   16:00:00                                                                                                  2,629    ---       ---      ---
TSLA   2018-08-10   $370.00    P      27.50   11:55:00   16.00   12:47:00   -0.7400    0.0167     -2.4229   -1.0379   0.1075    5.00   16:00:00                                         -11.50   -11.00            0         0                  12,408   ITM       ITM       ---
TSLA   2018-08-10   $372.50    P      28.88    9:43:00                                                                          6.00   16:00:00                                                                                                  2,409    ---       ---      ---
TSLA   2018-08-10   $375.00    P      32.40   12:11:00 20.15     12:43:00   -0.8304    0.0139     -2.7353   -0.7498   0.0837    6.98   16:00:00                                         -12.25   -13.17            0         0                   5,272   ITM       ITM       ---
TSLA   2018-08-10   $380.00    P                       25.00     12:30:00   -0.8671    0.0105     -2.8973   -0.6729   0.0712    9.24   16:00:00                                                  -15.76                      0                   3,693    ---      ITM       ---
TSLA   2018-08-10   $395.00    P                       45.50     12:23:00   -0.9868    0.0018     -3.3934   -0.1223   0.0108   28.75   14:06:00                                                  -16.75                      0                      23    ---      ITM       ---
TSLA   2018-08-10   $400.00    P      56.90   11:13:00 44.50     12:47:00   -0.9325    0.0049     -3.2571   -0.5995   0.0430   24.50   15:59:00                                         -12.40   -20.00            0         0                     237   ITM       ITM       ---
TSLA   2018-08-17   $145.00    P                                                                                                                  0.01     9:46:00                                                                                 545    ---       ---      ---
TSLA   2018-08-17   $155.00    P       0.02   10:52:00                                                                                                                                                                                             653    ---       ---      ---
TSLA   2018-08-17   $160.00    P                                                                                                                  0.01    10:22:00   0.01    11:08:00                      0.00                         1          504    ---       ---     OTM
TSLA   2018-08-17   $170.00    P       0.02   11:37:00                                                                          0.03   14:03:00                                                                                                  1,017    ---       ---      ---
TSLA   2018-08-17   $180.00    P       0.01    9:31:00                                                                                                                                                                                             381    ---       ---      ---
TSLA   2018-08-17   $190.00    P                                                                                                                  0.02     9:48:00   0.01    11:38:00                      -0.01                        1          270    ---       ---     OTM
TSLA   2018-08-17   $195.00    P                                                                                                                  0.02     9:46:00   0.01    12:38:00                      -0.01                        1          147    ---       ---     OTM
TSLA   2018-08-17   $200.00    P       0.04   12:06:00                                                                          0.15   15:56:00   0.01    14:10:00   0.01     9:55:00                       0.00                        1        1,766    ---       ---     OTM
TSLA   2018-08-17   $210.00    P       0.05   10:17:00                                                                          0.40   13:05:00   0.02    10:01:00   0.01    10:29:00                      -0.01                        1        1,554    ---       ---     OTM
TSLA   2018-08-17   $215.00    P                          0.04   12:21:00   -0.0024    0.0001     -0.0244   -0.0221   0.0043                                                                                                                       980    ---       ---      ---
TSLA   2018-08-17   $220.00    P       0.06   11:28:00    0.04   12:37:00   -0.0037    0.0002     -0.0387   -0.0362   0.0065    0.03   14:02:00   0.01    11:21:00   0.01    10:04:00    -0.02    -0.01     0.00   0         0          1          544   OTM      OTM       OTM
TSLA   2018-08-17   $225.00    P       0.04   10:26:00    0.07   12:40:00   -0.0034    0.0002     -0.0361   -0.0324   0.0062    0.20   15:46:00   0.01    10:22:00   0.02     9:31:00     0.03     0.13     0.01   1         1          0          901   OTM      OTM       OTM
TSLA   2018-08-17   $230.00    P       0.05   11:33:00    0.06   12:43:00   -0.0020    0.0001     -0.0212   -0.0178   0.0038    0.15   15:56:00   0.04     9:43:00   0.02    10:46:00     0.01     0.09    -0.02   1         1          1          850   OTM      OTM       OTM
TSLA   2018-08-17   $235.00    P       0.05   11:09:00                                                                          0.18   15:57:00   0.01    13:01:00   0.01     9:37:00                       0.00                        1          854    ---       ---     OTM
TSLA   2018-08-17   $240.00    P       0.06   11:58:00    0.04   12:47:00   -0.0035    0.0002     -0.0362   -0.0278   0.0062    0.15   15:57:00   0.01    16:00:00   0.01     9:41:00    -0.02    0.11      0.00   0         1          1        1,264   OTM      OTM       OTM
TSLA   2018-08-17   $245.00    P       0.06   12:09:00    0.05   12:47:00   -0.0036    0.0002     -0.0379   -0.0276   0.0065    0.10   14:06:00   0.01    15:54:00   0.04     9:31:00    -0.01    0.05      0.03   0         1          0        3,746   OTM      OTM       OTM
TSLA   2018-08-17   $250.00    P       0.08   12:08:00    0.06   12:47:00   -0.0043    0.0003     -0.0450   -0.0312   0.0076    0.25   15:59:00   0.02    15:54:00   0.02     9:32:00    -0.02    0.19      0.00   0         1          1        4,064   OTM      OTM       OTM
TSLA   2018-08-17   $255.00    P       0.10   11:43:00                                                                          0.17   13:18:00   0.01    15:01:00   0.02     9:32:00                       0.01                        0          603    ---       ---     OTM
TSLA   2018-08-17   $260.00    P       0.12   11:38:00    0.09   12:35:00   -0.0062    0.0004     -0.0639   -0.0394   0.0104    0.20   15:57:00   0.03    15:16:00   0.11     9:31:00    -0.03    0.11      0.08   0         1          0        3,460   OTM      OTM       OTM
TSLA   2018-08-17   $265.00    P       0.13   11:27:00    0.10   12:23:00   -0.0058    0.0004     -0.0582   -0.0317   0.0096    4.35   15:48:00   0.03    15:30:00   0.12     9:44:00    -0.03    4.25      0.09   0         1          0        1,474   OTM      OTM       OTM
TSLA   2018-08-17   $270.00    P       0.14   11:27:00                                                                          0.25   15:59:00   0.03    16:00:00   0.02     9:31:00                      -0.01                        1        2,884    ---       ---     OTM
TSLA   2018-08-17   $275.00    P       0.17   11:52:00    0.13   12:38:00   -0.0087    0.0006     -0.0906   -0.0483   0.0142    0.25   16:00:00   0.03    15:55:00   0.05     9:32:00    -0.04    0.12      0.02   0         1          0        4,430   OTM      OTM       OTM
TSLA   2018-08-17   $280.00    P       0.21   12:11:00    0.15   12:44:00   -0.0113    0.0008     -0.1167   -0.0564   0.0177    0.29   15:56:00   0.04    15:58:00   0.06     9:31:00    -0.06    0.14      0.02   0         1          0        8,688   OTM      OTM       OTM
TSLA   2018-08-17   $282.50    P       0.22   12:02:00                                                                                            0.04    15:43:00   0.10     9:37:00                       0.06                        0          901    ---       ---     OTM
TSLA   2018-08-17   $285.00    P       0.28   11:29:00    0.22   12:40:00   -0.0159    0.0010     -0.1653   -0.0771   0.0238    0.34   15:56:00   0.06    15:56:00   0.10     9:32:00    -0.06    0.12      0.04   0         1          0        3,367   OTM      OTM       OTM
TSLA   2018-08-17   $287.50    P       0.31   10:49:00                                                                                            0.06    15:45:00   0.15     9:33:00                       0.09                        0        1,545    ---       ---     OTM
TSLA   2018-08-17   $290.00    P       0.36   12:14:00    0.25   12:39:00   -0.0190    0.0012     -0.1975   -0.0863   0.0278    0.40   15:58:00   0.07    15:58:00   0.10     9:31:00    -0.11    0.15      0.03   0         1          0        7,494   OTM      OTM       OTM
TSLA   2018-08-17   $292.50    P       0.41   11:44:00    0.31   12:31:00   -0.0218    0.0015     -0.2245   -0.0913   0.0309    0.38   15:58:00   0.07    15:35:00   0.21     9:32:00    -0.10    0.07      0.14   0         1          0        2,286   OTM      OTM       OTM
TSLA   2018-08-17   $295.00    P       0.51   11:38:00    0.35   12:43:00   -0.0264    0.0017     -0.2723   -0.1080   0.0364    0.64   16:00:00   0.10    16:00:00   0.41     9:31:00    -0.16    0.29      0.31   0         1          0        6,876   OTM      OTM       OTM
TSLA   2018-08-17   $297.50    P       0.55   11:08:00                                                                          0.40   15:59:00   0.10    15:26:00   0.27     9:32:00                       0.17                        0        6,383    ---       ---     OTM
TSLA   2018-08-17   $300.00    P       0.65   12:16:00    0.40   12:47:00   -0.0308    0.0020     -0.3173   -0.1167   0.0414    0.43   16:00:00   0.12    15:59:00   0.30     9:31:00    -0.25     0.03     0.18   0         1          0       40,960   OTM      OTM       OTM
TSLA   2018-08-17   $302.50    P       1.05    9:31:00    0.54   12:47:00   -0.0361    0.0024     -0.3726   -0.1320   0.0472    0.96   15:57:00   0.11    15:42:00   0.39     9:31:00    -0.51     0.42     0.28   0         1          0        9,594   OTM      OTM       OTM
TSLA   2018-08-17   $305.00    P       0.87   12:08:00    0.60   12:47:00   -0.0411    0.0027     -0.4240   -0.1442   0.0524    0.62   15:55:00   0.15    15:58:00   0.37     9:31:00    -0.27     0.02     0.22   0         1          0       25,439   OTM      OTM       OTM
TSLA   2018-08-17   $307.50    P       1.13   11:29:00    0.72   12:44:00   -0.0506    0.0032     -0.5220   -0.1688   0.0619    0.60   16:00:00   0.17    16:00:00   0.50     9:31:00    -0.41    -0.12     0.33   0         0          0        7,537   OTM      OTM       OTM
TSLA   2018-08-17   $310.00    P       1.19   11:58:00    0.75   12:47:00   -0.0529    0.0034     -0.5454   -0.1702   0.0642    0.70   16:00:00   0.20    15:59:00   0.63     9:31:00    -0.44    -0.05     0.43   0         0          0       24,775   OTM      OTM       OTM
TSLA   2018-08-17   $312.50    P       1.52   11:22:00    0.98   12:46:00   -0.0671    0.0041     -0.6906   -0.2010   0.0771    0.96   16:00:00   0.20    15:45:00   1.03     9:31:00    -0.54    -0.02     0.83   0         0          0        6,713   OTM      OTM       OTM
TSLA   2018-08-17   $315.00    P       1.61   12:03:00    1.16   12:46:00   -0.0776    0.0046     -0.7993   -0.2224   0.0862    0.80   15:59:00   0.25    15:52:00   1.22     9:31:00    -0.45    -0.36     0.97   0         0          0       15,723   OTM      OTM       OTM
TSLA   2018-08-17   $317.50    P       2.08   12:09:00    1.21   12:34:00   -0.0820    0.0048     -0.8492   -0.2313   0.0903    1.13   15:59:00   0.31    15:48:00   1.61     9:31:00    -0.87    -0.08     1.30   0         0          0        5,925   OTM      OTM       OTM
TSLA   2018-08-17   $320.00    P       2.42   12:09:00    1.52   12:46:00   -0.1027    0.0058     -1.0589   -0.2681   0.1061    1.19   16:00:00   0.40    16:00:00   1.90     9:31:00    -0.90    -0.33     1.50   0         0          0       20,229   OTM      OTM       OTM
TSLA   2018-08-17   $322.50    P       2.93   11:50:00    1.50   12:40:00   -0.1066    0.0059     -1.1083   -0.2842   0.1098    1.10   15:58:00   0.53    16:00:00   3.50     9:31:00    -1.43    -0.40     2.97   0         0          0        9,708   OTM      OTM       OTM
TSLA   2018-08-17   $325.00    P       3.35   12:17:00    2.00   12:47:00   -0.1231    0.0068     -1.2747   -0.3008   0.1212    1.48   16:00:00   0.65    16:00:00   4.07     9:31:00    -1.35    -0.52     3.42   0         0          0       13,849   OTM      OTM       OTM
TSLA   2018-08-17   $327.50    P       4.20   11:41:00    2.46   12:46:00   -0.1518    0.0079     -1.5689   -0.3402   0.1393    1.50   15:59:00   0.98    16:00:00   7.00     9:31:00    -1.74    -0.96     6.02   0         0          0        5,973   OTM      OTM       OTM




                                                                                                                                                                                                                                                                            p. 15 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                  8/7 Last        8/16 Last          8/17 First           Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                       Period
Root      Date       Strike   Put     Price    Time      Price    Time      Delta Gamma           Rho       Theta     Vega   Price     Time    Price    Time      Price  Time         FT    Tweet      NYT      FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-17   $330.00    P       4.52   12:16:00    2.55   12:47:00   -0.1604 0.0083        -1.6646   -0.3539   0.1451 1.70     16:00:00  1.30   16:00:00    6.74  9:31:00      -1.97  -0.85       5.44    0        0          0       29,171   OTM      OTM       OTM
TSLA   2018-08-17   $332.50    P       5.15   12:05:00    2.92   12:47:00   -0.1827 0.0091        -1.8976   -0.3825   0.1576 1.69     16:00:00  1.90   16:00:00    9.58  9:31:00      -2.23  -1.23       7.68    0        0          0        6,559   OTM      OTM       OTM
TSLA   2018-08-17   $335.00    P       6.00   12:05:00    3.84   12:46:00   -0.2197 0.0102        -2.2779   -0.4177   0.1754 2.00     16:00:00  2.81   16:00:00   11.20  9:31:00      -2.16  -1.84       8.39    0        0          0       18,589   OTM      OTM       OTM
TSLA   2018-08-17   $337.50    P       6.80   12:02:00    4.00   12:47:00   -0.2319 0.0107        -2.4153   -0.4340   0.1815 2.74     15:57:00  4.20   16:00:00   14.02  9:31:00      -2.80  -1.26       9.82    0        0          0       10,292   OTM      OTM       ITM
TSLA   2018-08-17   $340.00    P       8.45   12:12:00    4.75   12:47:00   -0.2589 0.0114        -2.6987   -0.4554   0.1926 2.59     16:00:00  5.85   16:00:00   17.00  9:31:00      -3.70  -2.16      11.15    0        0          0       29,771   OTM      OTM       ITM
TSLA   2018-08-17   $342.50    P       9.30   12:15:00    5.78   12:47:00   -0.2883 0.0122        -3.0100   -0.4768   0.2031 3.45     15:57:00  7.90   16:00:00   20.00  9:31:00      -3.52  -2.33      12.10    0        0          0        5,657   ITM      OTM       ITM
TSLA   2018-08-17   $345.00    P      10.45   12:05:00    6.40   12:47:00   -0.3213 0.0127        -3.3617   -0.5028   0.2131 3.15     16:00:00 10.18   16:00:00   26.00  9:31:00      -4.05  -3.25      15.82    0        0          0       12,736   ITM      OTM       ITM
TSLA   2018-08-17   $347.50    P      11.80   12:05:00    7.23   12:45:00   -0.3740 0.0136        -3.9087   -0.5250   0.2245 3.35     16:00:00 12.50   15:53:00   23.65  9:31:00      -4.57  -3.88      11.15    0        0          0        5,229   ITM      OTM       ITM
TSLA   2018-08-17   $350.00    P      13.35   11:59:00    8.15   12:47:00   -0.3881 0.0138        -4.0755   -0.5325   0.2279 3.60     16:00:00 14.95   15:54:00   26.92  9:31:00      -5.20  -4.55      11.97    0        0          0       35,239   ITM      OTM       ITM
TSLA   2018-08-17   $352.50    P      15.20   12:14:00    9.21   12:45:00   -0.4444 0.0143        -4.6629   -0.5431   0.2340 4.30     16:00:00 17.50   15:56:00   30.00  9:31:00      -5.99  -4.91      12.50    0        0          0        5,168   ITM      OTM       ITM
TSLA   2018-08-17   $355.00    P      17.45   11:31:00   10.11   12:47:00   -0.4592 0.0142        -4.8445   -0.5527   0.2360 4.60     16:00:00 20.00   15:58:00   31.57  9:31:00      -7.34  -5.51      11.57    0        0          0        9,422   ITM      OTM       ITM
TSLA   2018-08-17   $357.50    P      19.00   12:12:00   11.50   12:47:00   -0.4956 0.0146        -5.2343   -0.5440   0.2372 5.00     16:00:00 22.32   15:46:00   34.05  9:31:00      -7.50  -6.50      11.73    0        0          0        3,526   ITM       ITM      ITM
TSLA   2018-08-17   $360.00    P      20.55   12:15:00   13.20   12:46:00   -0.5456 0.0140        -5.7752   -0.5394   0.2350 5.50     16:00:00 25.20   15:57:00   36.57  9:31:00      -7.35  -7.70      11.37    0        0          0       11,941   ITM       ITM      ITM
TSLA   2018-08-17   $362.50    P      22.25    9:48:00   14.90   12:46:00   -0.5828 0.0142        -6.1769   -0.5162   0.2314 6.00     16:00:00 27.18   15:45:00   48.50 10:10:00      -7.35  -8.90      21.32    0        0          0        1,391   ITM       ITM      ITM
TSLA   2018-08-17   $365.00    P      24.35   10:06:00   14.25   12:38:00   -0.5643 0.0141        -6.0447   -0.5488   0.2359 6.90     16:00:00 29.62   15:49:00   43.05  9:31:00     -10.10  -7.35      13.43    0        0          0        3,092   ITM       ITM      ITM
TSLA   2018-08-17   $367.50    P      26.25   12:03:00   18.00   12:46:00   -0.6505 0.0135        -6.9353   -0.4873   0.2195 8.00     16:00:00 31.70   15:27:00   43.08  9:34:00      -8.25 -10.00      11.38    0        0          0          812   ITM       ITM      ITM
TSLA   2018-08-17   $370.00    P      27.48   10:48:00   19.10   12:47:00   -0.6677 0.0132        -7.1600   -0.5038   0.2158 8.50     16:00:00 33.93   15:05:00   47.36  9:40:00      -8.38 -10.60      13.43    0        0          0        4,958   ITM       ITM      ITM
TSLA   2018-08-17   $372.50    P      29.60    9:39:00   20.88   12:44:00   -0.7075 0.0125        -7.6054   -0.4726   0.2038 10.00    16:00:00 37.22   14:27:00   50.00  9:39:00      -8.72 -10.88      12.78    0        0          0          832   ITM       ITM      ITM
TSLA   2018-08-17   $375.00    P      33.07    9:50:00   22.73   12:44:00   -0.7397 0.0120        -7.9728   -0.4412   0.1924 10.00    16:00:00 39.34   14:51:00   51.60  9:31:00     -10.34 -12.73      12.26    0        0          0        2,627   ITM       ITM      ITM
TSLA   2018-08-17   $377.50    P                                                                                                               42.00   15:25:00   63.60 10:14:00                        21.60                        0          779    ---       ---     ITM
TSLA   2018-08-17   $380.00    P      37.00   10:49:00 26.70     12:45:00   -0.7947    0.0102     -8.6324   -0.3966   0.1680 14.00    16:00:00 44.18   14:57:00   54.40  9:36:00     -10.30   -12.70    10.22   0         0          0        3,268   ITM       ITM      ITM
TSLA   2018-08-17   $385.00    P                                                                                                               49.09   15:03:00   71.30  9:51:00                        22.21                        0          248    ---       ---     ITM
TSLA   2018-08-17   $390.00    P      46.04    9:37:00                                                                       19.36    16:00:00 54.65   14:22:00   67.05  9:39:00                        12.40                        0          832    ---       ---     ITM
TSLA   2018-08-17   $395.00    P      52.47   11:01:00                                                                       34.20    13:15:00 56.31   12:04:00   83.40 11:50:00                        27.09                        0          133    ---       ---     ITM
TSLA   2018-08-17   $397.50    P                       41.57     12:33:00   -0.8994    0.0061 -10.1039      -0.2449   0.1047 34.10    14:08:00                                                 -7.47                      0                      19    ---      ITM       ---
TSLA   2018-08-17   $400.00    P      58.75   11:46:00 51.80     12:22:00   -0.9464    0.0037 -10.6432      -0.1500   0.0630 28.15    15:54:00 63.60   12:45:00 80.00      9:41:00    -6.95   -23.65    16.40   0         0          0          445   ITM       ITM      ITM
TSLA   2018-08-17   $420.00    P                       75.68     12:20:00   -0.9841    0.0013 -11.5549      -0.0469   0.0225 41.25    15:50:00                                                -34.43                      0                      38    ---      ITM       ---
TSLA   2018-08-24   $100.00    P                                                                                                                0.02   15:59:00    0.06    9:42:00                       0.04                        0        1,490    ---       ---     OTM
TSLA   2018-08-24   $110.00    P                                                                                                                0.03   15:57:00    0.07   10:32:00                       0.04                        0        1,248    ---       ---     OTM
TSLA   2018-08-24   $130.00    P                                                                                                                0.04   10:12:00    0.10    9:43:00                       0.06                        0          430    ---       ---     OTM
TSLA   2018-08-24   $140.00    P                                                                                                                0.05   10:39:00    0.20    9:46:00                       0.15                        0          148    ---       ---     OTM
TSLA   2018-08-24   $145.00    P                                                                                                                0.05   11:26:00    0.13    9:42:00                       0.08                        0          658    ---       ---     OTM
TSLA   2018-08-24   $150.00    P                                                                                                                0.05   15:38:00    0.03    9:31:00                      -0.02                        1          862    ---       ---     OTM
TSLA   2018-08-24   $155.00    P                                                                                                                0.06   15:50:00    0.30    9:45:00                       0.24                        0          213    ---       ---     OTM
TSLA   2018-08-24   $160.00    P                                                                                                                0.09   13:43:00    0.31   10:05:00                       0.22                        0           70    ---       ---     OTM
TSLA   2018-08-24   $175.00    P                                                                                                                0.11   12:29:00    0.26    9:41:00                       0.15                        0        1,284    ---       ---     OTM
TSLA   2018-08-24   $185.00    P                                                                                                                0.18   11:10:00    0.32    9:40:00                       0.14                        0          128    ---       ---     OTM
TSLA   2018-08-24   $190.00    P                                                                                                                0.11   11:28:00    0.35    9:39:00                       0.24                        0          467    ---       ---     OTM
TSLA   2018-08-24   $195.00    P                                                                                                                0.17   14:59:00    0.33    9:40:00                       0.16                        0          192    ---       ---     OTM
TSLA   2018-08-24   $200.00    P                          0.09   12:44:00   -0.0033    0.0001     -0.0595   -0.0230   0.0077   0.12   13:21:00 0.20    15:04:00    0.35    9:31:00             0.03      0.15             1          0        1,224    ---     OTM       OTM
TSLA   2018-08-24   $205.00    P                                                                                                                0.23   16:00:00    0.41    9:34:00                       0.18                        0          586    ---       ---     OTM
TSLA   2018-08-24   $210.00    P                                                                                                                0.27   15:02:00    0.84    9:47:00                       0.57                        0          366    ---       ---     OTM
TSLA   2018-08-24   $215.00    P                                                                                                                0.41    9:56:00    0.35    9:31:00                      -0.06                        1          317    ---       ---     OTM
TSLA   2018-08-24   $220.00    P       0.14    9:44:00    0.12   12:32:00   -0.0050    0.0002     -0.0884   -0.0289   0.0111   0.10   13:59:00 0.37    11:06:00    0.56    9:34:00    -0.02    -0.02     0.19   0         0          0          768   OTM      OTM       OTM
TSLA   2018-08-24   $225.00    P                                                                                                                0.41   11:21:00    0.53    9:32:00                       0.12                        0          486    ---       ---     OTM
TSLA   2018-08-24   $230.00    P       0.11   11:54:00                                                                         2.21   15:55:00 0.36    13:04:00    0.60    9:32:00                       0.24                        0          620    ---       ---     OTM
TSLA   2018-08-24   $235.00    P       0.18    9:42:00                                                                                          0.54   10:11:00    0.61    9:31:00                       0.07                        0          466    ---       ---     OTM
TSLA   2018-08-24   $240.00    P       0.22   10:34:00    0.15   12:32:00   -0.0063    0.0003     -0.1113   -0.0301   0.0137   0.20   15:57:00 0.48    15:51:00    0.78    9:33:00    -0.07    0.05      0.30   0         1          0          969   OTM      OTM       OTM
TSLA   2018-08-24   $245.00    P       0.32   10:08:00    0.16   12:27:00   -0.0080    0.0004     -0.1399   -0.0356   0.0168                    0.55   14:32:00    0.81    9:33:00    -0.16              0.26   0                    0          347   OTM        ---     OTM
TSLA   2018-08-24   $250.00    P                                                                                                                0.58   15:41:00    0.82    9:31:00                       0.24                        0        3,183    ---       ---     OTM
TSLA   2018-08-24   $255.00    P                                                                                                                0.67   12:32:00    0.97    9:33:00                       0.30                        0          917    ---       ---     OTM
TSLA   2018-08-24   $260.00    P       0.40   10:18:00    0.24   12:35:00   -0.0131    0.0006     -0.2312   -0.0511   0.0260   0.25   13:43:00 0.70    15:22:00    0.97    9:31:00    -0.16    0.01      0.27   0         1          0        1,493   OTM      OTM       OTM
TSLA   2018-08-24   $262.50    P                                                                                                                0.79   12:41:00    1.03    9:32:00                       0.24                        0          133    ---       ---     OTM
TSLA   2018-08-24   $265.00    P       0.45    9:54:00    0.32   12:23:00   -0.0167    0.0009     -0.2880   -0.0568   0.0314   0.28   13:41:00 0.77    13:28:00    1.02    9:31:00    -0.13    -0.04     0.25   0         0          0          573   OTM      OTM       OTM
TSLA   2018-08-24   $267.50    P                          0.38   12:20:00   -0.0217    0.0012     -0.3707   -0.0680   0.0389   0.32   13:40:00 0.79    13:09:00    1.29    9:33:00             -0.06     0.50             0          0          193    ---     OTM       OTM
TSLA   2018-08-24   $270.00    P       0.42   11:28:00    0.41   12:21:00   -0.0227    0.0012     -0.3888   -0.0698   0.0405   0.45   15:56:00 0.88    15:55:00    1.17    9:31:00    -0.01     0.04     0.29   0         1          0        1,933   OTM      OTM       OTM
TSLA   2018-08-24   $272.50    P                                                                                                                0.88   15:37:00    1.50    9:33:00                       0.62                        0          481    ---       ---     OTM
TSLA   2018-08-24   $275.00    P       0.55   11:42:00                                                                         0.45   13:43:00 1.00    15:59:00    1.50    9:36:00                       0.50                        0        1,600    ---       ---     OTM




                                                                                                                                                                                                                                                                         p. 16 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                   8/7 Last          8/16 Last          8/17 First          Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                         Period
Root      Date       Strike   Put     Price  Time        Price  Time        Delta Gamma           Rho       Theta     Vega     Price    Time      Price    Time      Price  Time        FT    Tweet      NYT      FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-24   $277.50    P       0.67  9:38:00      0.42 12:29:00     -0.0264 0.0013        -0.4623   -0.0822   0.0470                       1.02   15:32:00    1.81  9:38:00     -0.25              0.79    0                   0          306   OTM        ---     OTM
TSLA   2018-08-24   $280.00    P       0.68 10:52:00      0.49 12:34:00     -0.0274 0.0013        -0.4844   -0.0859   0.0489    0.70   15:56:00    1.07   15:02:00    1.40  9:31:00     -0.19   0.21       0.33    0        1          0        3,224   OTM      OTM       OTM
TSLA   2018-08-24   $282.50    P                                                                                                                   1.37   10:09:00    2.08  9:38:00                        0.71                        0          586    ---       ---     OTM
TSLA   2018-08-24   $285.00    P       0.98   11:28:00    0.65   12:37:00   -0.0336    0.0016     -0.5962   -0.1007   0.0580    0.85   13:02:00    1.26   14:34:00    2.30  9:31:00     -0.33     0.20     1.04   0         1          0        1,761   OTM      OTM       OTM
TSLA   2018-08-24   $287.50    P       0.89   11:34:00    0.70   12:34:00   -0.0373    0.0018     -0.6602   -0.1067   0.0631    0.55   13:43:00    1.30   15:39:00    2.37  9:36:00     -0.19    -0.15     1.07   0         0          0          533   OTM      OTM       OTM
TSLA   2018-08-24   $290.00    P       1.07   11:59:00    0.75   12:38:00   -0.0397    0.0019     -0.7072   -0.1142   0.0668    0.85   15:58:00    1.42   15:38:00    2.60  9:31:00     -0.32     0.10     1.18   0         1          0        2,099   OTM      OTM       OTM
TSLA   2018-08-24   $292.50    P       1.25   10:52:00    0.86   12:31:00   -0.0462    0.0022     -0.8145   -0.1223   0.0748    0.78   13:03:00    1.56   15:42:00    2.44  9:32:00     -0.39    -0.08     0.88   0         0          0        1,020   OTM      OTM       OTM
TSLA   2018-08-24   $295.00    P       1.35   10:48:00    0.92   12:40:00   -0.0508    0.0024     -0.9024   -0.1345   0.0812    0.47   15:54:00    1.68   15:58:00    4.12  9:31:00     -0.43    -0.45     2.44   0         0          0        2,199   OTM      OTM       OTM
TSLA   2018-08-24   $297.50    P       1.41   10:21:00    1.10   12:37:00   -0.0557    0.0026     -0.9873   -0.1415   0.0871    0.96   15:49:00    1.80   15:29:00    3.05  9:32:00     -0.31    -0.14     1.25   0         0          0        1,182   OTM      OTM       OTM
TSLA   2018-08-24   $300.00    P       1.60   12:15:00    1.22   12:40:00   -0.0625    0.0029     -1.1109   -0.1546   0.0955    1.33   16:00:00    2.00   16:00:00    3.66  9:31:00     -0.38     0.11     1.66   0         1          0        8,264   OTM      OTM       OTM
TSLA   2018-08-24   $302.50    P       2.07    9:35:00                                                                                             2.25   14:25:00    3.83  9:31:00                        1.58                        0        1,188    ---       ---     OTM
TSLA   2018-08-24   $305.00    P       2.37   11:29:00    1.52   12:27:00   -0.0791    0.0038     -1.3873   -0.1681   0.1132    1.94   15:56:00    2.39   15:55:00    2.96  9:31:00     -0.85    0.42      0.57   0         1          0        3,571   OTM      OTM       OTM
TSLA   2018-08-24   $307.50    P       2.51   11:32:00                                                                          1.70   14:01:00    2.64   14:09:00    5.65  9:31:00                        3.01                        0        1,572    ---       ---     OTM
TSLA   2018-08-24   $310.00    P       3.00   11:42:00    1.88   12:40:00   -0.0943    0.0041     -1.6777   -0.2017   0.1305    1.90   16:00:00    2.86   15:53:00    5.05  9:31:00     -1.12    0.02      2.19   0         1          0        4,720   OTM      OTM       OTM
TSLA   2018-08-24   $312.50    P       3.16   11:13:00                                                                          2.22   13:56:00    3.23   15:26:00    6.00  9:33:00                        2.77                        0        2,001    ---       ---     OTM
TSLA   2018-08-24   $315.00    P       3.65   11:32:00    2.49   12:44:00   -0.1223    0.0051     -2.1646   -0.2333   0.1565    2.23   13:52:00    3.55   15:59:00    6.83  9:31:00     -1.16    -0.26     3.28   0         0          0        3,719   OTM      OTM       OTM
TSLA   2018-08-24   $317.50    P                                                                                                                   3.98   15:24:00    7.15  9:32:00                        3.17                        0        1,602    ---       ---     OTM
TSLA   2018-08-24   $320.00    P       4.40   12:05:00 3.11      12:44:00   -0.1495    0.0060     -2.6504   -0.2628   0.1796    5.00   16:00:00    4.50   16:00:00    8.30  9:31:00     -1.29     1.89     3.80   0         1          0        5,428   OTM      OTM       OTM
TSLA   2018-08-24   $322.50    P       5.18   10:52:00 3.80      12:46:00   -0.1678    0.0066     -2.9720   -0.2779   0.1933    2.56   15:53:00    5.10   15:58:00    9.57  9:31:00     -1.38    -1.24     4.47   0         0          0        1,223   OTM      OTM       OTM
TSLA   2018-08-24   $325.00    P       5.27   10:30:00 3.80      12:47:00   -0.1744    0.0068     -3.1009   -0.2839   0.1990    2.00   15:53:00    5.71   15:59:00   10.70  9:31:00     -1.47    -1.80     4.99   0         0          0        1,885   OTM      OTM       OTM
TSLA   2018-08-24   $327.50    P       6.40    9:53:00 4.10      12:41:00   -0.1906    0.0071     -3.4032   -0.3036   0.2107    5.32   13:31:00    6.50   16:00:00   11.95  9:31:00     -2.30     1.22     5.45   0         1          0        1,621   OTM      OTM       OTM
TSLA   2018-08-24   $330.00    P       7.75   11:42:00 4.92      12:44:00   -0.2179    0.0079     -3.8787   -0.3210   0.2273    2.00   15:55:00    7.30   15:59:00   13.32  9:31:00     -2.83    -2.92     6.02   0         0          0        2,811   OTM      OTM       OTM
TSLA   2018-08-24   $332.50    P       8.50   11:25:00                                                                          2.96   15:53:00    8.30   16:00:00   14.54  9:31:00                        6.24                        0        1,292    ---       ---     OTM
TSLA   2018-08-24   $335.00    P       9.16   11:24:00 5.37      12:33:00   -0.2447    0.0088     -4.3698   -0.3292   0.2433    5.25   13:50:00    9.50   16:00:00   15.00  9:31:00     -3.79    -0.12     5.50   0         0          0        2,196   OTM      OTM       OTM
TSLA   2018-08-24   $337.50    P      11.17    9:33:00 6.29      12:39:00   -0.2594    0.0089     -4.6570   -0.3452   0.2518    6.00   13:18:00   10.85   15:57:00   18.50  9:31:00     -4.88    -0.29     7.65   0         0          0        1,271   OTM      OTM       ITM
TSLA   2018-08-24   $340.00    P      11.00   11:56:00 7.70      12:46:00   -0.3117    0.0099     -5.5644   -0.3690   0.2724    4.05   16:00:00   12.17   15:56:00   20.05  9:31:00     -3.30    -3.65     7.88   0         0          0        2,910   OTM      OTM       ITM
TSLA   2018-08-24   $342.50    P      11.82   10:48:00 9.35      12:23:00   -0.3910    0.0119     -6.8755   -0.3590   0.2911    5.85   15:49:00   13.70   15:41:00   21.30  9:31:00     -2.47    -3.50     7.60   0         0          0        1,319   ITM      OTM       ITM
TSLA   2018-08-24   $345.00    P      13.90   11:38:00 9.05      12:47:00   -0.3481    0.0104     -6.2502   -0.3829   0.2858    5.30   16:00:00   15.10   15:55:00   21.99  9:31:00     -4.85    -3.75     6.89   0         0          0        2,140   ITM      OTM       ITM
TSLA   2018-08-24   $347.50    P      14.32   10:48:00 9.69      12:41:00   -0.3685    0.0105     -6.6491   -0.3954   0.2922    7.40   15:57:00   17.00   15:51:00   26.20  9:31:00     -4.63    -2.29     9.20   0         0          0          772   ITM      OTM       ITM
TSLA   2018-08-24   $350.00    P      16.97   11:46:00 11.30     12:45:00   -0.4217    0.0111     -7.5848   -0.4072   0.3010    6.60   16:00:00   18.36   15:38:00   26.43  9:31:00     -5.67    -4.70     8.07   0         0          0        2,896   ITM      OTM       ITM
TSLA   2018-08-24   $352.50    P                       11.79     12:47:00   -0.4304    0.0113     -7.7705   -0.3996   0.3037    6.86   15:56:00   20.45   15:48:00   30.92  9:31:00              -4.93    10.47             0          0          846    ---     OTM       ITM
TSLA   2018-08-24   $355.00    P      18.83    9:40:00 13.70     12:46:00   -0.4753    0.0115     -8.5765   -0.4000   0.3066    6.75   16:00:00   22.80   15:57:00   33.50  9:39:00     -5.13    -6.95    10.70   0         0          0        1,251   ITM      OTM       ITM
TSLA   2018-08-24   $357.50    P                       14.50     12:47:00   -0.4879    0.0115     -8.8481   -0.4039   0.3082   10.50   15:57:00   24.84   15:51:00   35.93  9:31:00              -4.00    11.09             0          0          382    ---      ITM      ITM
TSLA   2018-08-24   $360.00    P      21.37   10:38:00 15.20     12:42:00   -0.4996    0.0114     -9.1139   -0.4070   0.3096    9.64   15:59:00   26.78   15:45:00   38.02  9:31:00     -6.17    -5.56    11.24   0         0          0        1,486   ITM       ITM      ITM
TSLA   2018-08-24   $362.50    P                                                                                                                  28.60   15:29:00   53.83 11:13:00                       25.23                        0          151    ---       ---     ITM
TSLA   2018-08-24   $365.00    P      26.20    9:56:00 18.32     12:32:00   -0.5781    0.0116 -10.5497      -0.3801   0.3022 12.00     15:58:00   30.92   14:43:00   57.25 10:37:00     -7.88    -6.32    26.33   0         0          0          530   ITM       ITM      ITM
TSLA   2018-08-24   $367.50    P                                                                                                                  32.65   13:40:00   43.58  9:34:00                       10.93                        0          270    ---       ---     ITM
TSLA   2018-08-24   $370.00    P                         21.50   12:32:00   -0.6336    0.0111 -11.6295      -0.3638   0.2907 16.00     15:58:00   35.25   13:37:00   47.47  9:31:00              -5.50    12.22             0          0          778    ---      ITM      ITM
TSLA   2018-08-24   $375.00    P                                                                                                                  40.34   14:51:00   50.55  9:35:00                       10.21                        0          378    ---       ---     ITM
TSLA   2018-08-24   $380.00    P                                                                                                                  41.00   11:17:00   58.00  9:31:00                       17.00                        0          310    ---       ---     ITM
TSLA   2018-08-24   $385.00    P                         32.95   12:47:00   -0.7671    0.0088 -14.4014      -0.3119   0.2358 21.00     15:59:00                                                 -11.95                      0                      43    ---      ITM       ---
TSLA   2018-08-24   $395.00    P                         41.05   12:44:00   -0.8425    0.0069 -16.0615      -0.2462   0.1850 32.50     15:57:00                                                  -8.55                      0                     116    ---      ITM       ---
TSLA   2018-08-24   $400.00    P                         45.45   12:44:00   -0.8675    0.0060 -16.6909      -0.2223   0.1645 29.50     15:59:00 64.00     14:10:00 74.65      9:31:00           -15.95    10.65             0          0          164    ---      ITM      ITM
TSLA   2018-08-24   $420.00    P                                                                                                                84.77     15:51:00 111.85    13:49:00                     27.08                        0           28    ---       ---     ITM
TSLA   2018-08-31   $100.00    P                                                                                                                 0.06     15:50:00 0.10       9:31:00                      0.04                        0          475    ---       ---     OTM
TSLA   2018-08-31   $125.00    P                                                                                                                 0.10     10:40:00 2.13       9:36:00                      2.03                        0           47    ---       ---     OTM
TSLA   2018-08-31   $150.00    P       0.04   11:39:00                                                                                           0.15     15:57:00 0.30       9:44:00                      0.15                        0          381    ---       ---     OTM
TSLA   2018-08-31   $165.00    P                                                                                                                 0.22     14:04:00 0.55      11:55:00                      0.33                        0           41    ---       ---     OTM
TSLA   2018-08-31   $170.00    P       0.07   11:29:00                                                                                           0.26     14:14:00 0.49       9:40:00                      0.23                        0          520    ---       ---     OTM
TSLA   2018-08-31   $175.00    P       0.15    9:32:00                                                                          0.78   13:38:00                                                                                                   114    ---       ---      ---
TSLA   2018-08-31   $180.00    P                                                                                                                 0.32     15:24:00    1.00   10:54:00                      0.68                        0          211    ---       ---     OTM
TSLA   2018-08-31   $190.00    P                                                                                                                 0.41     15:51:00    1.07    9:50:00                      0.66                        0          283    ---       ---     OTM
TSLA   2018-08-31   $195.00    P                          0.09   12:39:00   -0.0047    0.0002     -0.1205   -0.0249   0.0126    0.10   15:54:00                                                  0.01                       1                     120    ---     OTM        ---
TSLA   2018-08-31   $200.00    P       0.13   12:09:00                                                                                           0.48     13:48:00    0.65    9:35:00                      0.17                        0        1,325    ---       ---     OTM
TSLA   2018-08-31   $205.00    P       0.15   11:41:00                                                                                                                                                                                             87    ---       ---      ---
TSLA   2018-08-31   $210.00    P                                                                                                                   0.60   11:22:00    1.40   10:11:00                      0.80                        0           38    ---       ---     OTM
TSLA   2018-08-31   $220.00    P                                                                                                                   0.72   15:19:00    0.95    9:34:00                      0.23                        0          323    ---       ---     OTM
TSLA   2018-08-31   $230.00    P       0.37    9:31:00    0.24   12:27:00   -0.0098    0.0004     -0.2451   -0.0370   0.0238    0.59   14:05:00    0.98   10:29:00    1.49    9:44:00   -0.13    0.35      0.51   0         1          0        1,443   OTM      OTM       OTM




                                                                                                                                                                                                                                                                           p. 17 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                    8/7 Last          8/16 Last          8/17 First            Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                            Period
Root      Date       Strike   Put     Price  Time        Price    Time      Delta     Gamma        Rho       Theta     Vega     Price  Time        Price    Time      Price    Time      FT      Tweet     NYT       FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-08-31   $235.00    P       0.39  9:49:00                                                                             0.62 14:05:00      0.86   15:32:00    2.19   10:14:00                       1.33                         0          122    ---       ---     OTM
TSLA   2018-08-31   $240.00    P       0.41 10:59:00                                                                             0.30 12:49:00      1.07   10:40:00    1.19    9:33:00                       0.12                         0          380    ---       ---     OTM
TSLA   2018-08-31   $245.00    P                          2.51   12:27:00   -0.0146    0.0006      -0.3640   -0.0477   0.0336                       1.07   12:31:00    2.61   10:14:00                       1.54                         0          200    ---       ---     OTM
TSLA   2018-08-31   $250.00    P       0.49   10:21:00    2.73   12:27:00   -0.0169    0.0007      -0.4223   -0.0527   0.0382    0.42   13:38:00    1.30   13:49:00    1.69    9:32:00   2.24      -2.31     0.39    1         0          0        1,163   OTM      OTM       OTM
TSLA   2018-08-31   $255.00    P                          0.47   12:46:00   -0.0198    0.0008      -0.4962   -0.0594   0.0439    0.51   13:28:00    1.32   13:58:00    1.59    9:33:00              0.04     0.27              1          0          407    ---     OTM       OTM
TSLA   2018-08-31   $260.00    P       0.62   11:42:00    0.56   12:46:00   -0.0240    0.0010      -0.6013   -0.0685   0.0516    0.46   16:00:00    1.43   12:54:00    3.20    9:55:00   -0.06     -0.10     1.77    0         0          0          814   OTM      OTM       OTM
TSLA   2018-08-31   $262.50    P                                                                                                                    1.44   12:08:00    3.70   10:09:00                       2.26                         0          141    ---       ---     OTM
TSLA   2018-08-31   $265.00    P       0.83   11:29:00    0.72   12:19:00   -0.0336    0.0015      -0.8134   -0.0791   0.0662    0.42   15:46:00    1.55   12:54:00    3.98   10:25:00   -0.11     -0.30     2.43    0         0          0          520   OTM      OTM       OTM
TSLA   2018-08-31   $267.50    P       0.83   10:21:00                                                                           2.32   12:54:00    1.71   12:44:00    2.25    9:32:00                       0.54                         0          198    ---       ---     OTM
TSLA   2018-08-31   $270.00    P       0.92   10:34:00    0.75   12:40:00   -0.0317    0.0013      -0.8002   -0.0839   0.0656    0.70   15:49:00    1.82   13:47:00    2.22    9:31:00   -0.17     -0.05     0.40    0         0          0          576   OTM      OTM       OTM
TSLA   2018-08-31   $272.50    P                          0.96   12:19:00   -0.0453    0.0019      -1.0968   -0.0976   0.0844    0.50   15:46:00    1.93   12:44:00    2.42    9:37:00             -0.46     0.49              0          0          171    ---     OTM       OTM
TSLA   2018-08-31   $275.00    P       1.17   11:27:00    1.05   12:18:00   -0.0512    0.0022      -1.2325   -0.1042   0.0925    0.98   15:54:00    2.00   15:30:00    2.58    9:31:00   -0.12     -0.07     0.58    0         0          0          552   OTM      OTM       OTM
TSLA   2018-08-31   $280.00    P       1.31   12:01:00                                                                           1.14   14:01:00    2.30   15:48:00    3.35    9:33:00                       1.05                         0          578    ---       ---     OTM
TSLA   2018-08-31   $285.00    P       1.74   11:43:00                                                                           1.45   15:48:00    2.59   15:38:00    3.75    9:35:00                       1.16                         0          725    ---       ---     OTM
TSLA   2018-08-31   $287.50    P                                                                                                                    2.75   14:40:00    4.25    9:38:00                       1.50                         0          163    ---       ---     OTM
TSLA   2018-08-31   $290.00    P       2.15   11:25:00    1.58   12:44:00   -0.0655    0.0025      -1.6465   -0.1342   0.1169    0.90   15:55:00    2.99   15:42:00    4.61    9:38:00   -0.57     -0.68     1.62    0         0          0        1,406   OTM      OTM       OTM
TSLA   2018-08-31   $292.50    P       2.15   12:16:00                                                                                              3.30   13:49:00    4.77    9:37:00                       1.47                         0          139    ---       ---     OTM
TSLA   2018-08-31   $295.00    P       2.39   10:33:00    1.72   12:31:00   -0.0742    0.0029      -1.8633   -0.1420   0.1287    1.57   16:00:00    3.55   13:49:00    4.89    9:32:00   -0.67     -0.15     1.34    0         0          0          545   OTM      OTM       OTM
TSLA   2018-08-31   $297.50    P                          2.02   12:36:00   -0.0820    0.0031      -2.0653   -0.1540   0.1390    1.12   15:46:00    3.85   13:49:00    4.97    9:36:00             -0.90     1.12              0          0          231    ---     OTM       OTM
TSLA   2018-08-31   $300.00    P       2.95   12:12:00    2.23   12:45:00   -0.0962    0.0035      -2.4155   -0.1723   0.1558    1.50   16:00:00    4.10   15:52:00    7.20    9:31:00   -0.72     -0.73     3.10    0         0          0        2,440   OTM      OTM       OTM
TSLA   2018-08-31   $302.50    P       3.52   11:26:00                                                                           1.72   12:49:00    4.23   12:27:00    6.90    9:33:00                       2.67                         0          426    ---       ---     OTM
TSLA   2018-08-31   $305.00    P       3.56   12:01:00    2.58   12:40:00   -0.1051    0.0037      -2.6631   -0.1831   0.1676    2.39   15:56:00    4.55   12:27:00    7.10    9:31:00   -0.98     -0.19     2.55    0         0          0          591   OTM      OTM       OTM
TSLA   2018-08-31   $307.50    P                          2.79   12:42:00   -0.1138    0.0040      -2.8861   -0.1918   0.1775                       5.25   15:47:00    8.85    9:41:00                       3.60                         0          374    ---       ---     OTM
TSLA   2018-08-31   $310.00    P       4.70   11:41:00    3.14   12:42:00   -0.1233    0.0043      -3.1270   -0.2004   0.1878    2.20   15:53:00    5.50   15:16:00    8.34    9:32:00   -1.56     -0.94     2.84    0         0          0        1,044   OTM      OTM       OTM
TSLA   2018-08-31   $312.50    P                          3.28   12:32:00   -0.1370    0.0048      -3.4540   -0.2066   0.2010    2.67   12:51:00    5.74   12:18:00   10.02    9:40:00             -0.61     4.28              0          0          266    ---     OTM       OTM
TSLA   2018-08-31   $315.00    P       5.15   10:37:00    3.81   12:42:00   -0.1451    0.0049      -3.6853   -0.2195   0.2101    2.84   15:57:00    6.66   15:42:00    9.56    9:36:00   -1.34     -0.97     2.90    0         0          0          576   OTM      OTM       OTM
TSLA   2018-08-31   $317.50    P       5.59   10:28:00                                                                           4.00   13:48:00    6.82   13:18:00   11.93    9:31:00                       5.11                         0          434    ---       ---     OTM
TSLA   2018-08-31   $320.00    P       6.80   11:24:00    4.80   12:46:00   -0.1840    0.0060      -4.6425   -0.2453   0.2431    3.32   16:00:00    7.90   15:52:00   12.88    9:31:00   -2.00     -1.48     4.98    0         0          0        1,531   OTM      OTM       OTM
TSLA   2018-08-31   $322.50    P       7.80   11:28:00    4.60   12:38:00   -0.1762    0.0058      -4.4936   -0.2415   0.2393    4.39   12:49:00    8.50   13:31:00   13.10    9:31:00   -3.20     -0.21     4.60    0         0          0          264   OTM      OTM       OTM
TSLA   2018-08-31   $325.00    P       7.78   12:05:00    5.08   12:38:00   -0.1906    0.0061      -4.8645   -0.2511   0.2513    3.25   15:48:00    9.66   14:25:00   14.00    9:32:00   -2.70     -1.83     4.34    0         0          0          700   OTM      OTM       OTM
TSLA   2018-08-31   $327.50    P       8.56   11:05:00    5.75   12:35:00   -0.2279    0.0070      -5.7722   -0.2707   0.2765    4.65   13:12:00   10.30   15:55:00   16.00    9:31:00   -2.81     -1.10     5.70    0         0          0          409   OTM      OTM       OTM
TSLA   2018-08-31   $330.00    P       9.50   11:55:00    6.64   12:43:00   -0.2421    0.0071      -6.1575   -0.2821   0.2865    4.00   16:00:00   11.08   15:23:00   16.00    9:31:00   -2.86     -2.64     4.92    0         0          0        1,016   OTM      OTM       OTM
TSLA   2018-08-31   $332.50    P      10.74   11:50:00    7.94   12:27:00   -0.2727    0.0081      -6.8793   -0.2827   0.3027    7.60   14:00:00   12.25   14:02:00   18.20    9:33:00   -2.80     -0.34     5.95    0         0          0          689   OTM      OTM       OTM
TSLA   2018-08-31   $335.00    P      10.90   10:34:00    7.35   12:42:00   -0.2689    0.0076      -6.8780   -0.2960   0.3039    5.49   15:58:00   13.44   15:52:00   22.15    9:31:00   -3.55     -1.86     8.71    0         0          0          719   OTM      OTM       OTM
TSLA   2018-08-31   $337.50    P      13.44   11:29:00    8.60   12:47:00   -0.2979    0.0082      -7.5983   -0.3040   0.3179    5.00   15:50:00   14.70   15:52:00   20.50    9:35:00   -4.84     -3.60     5.80    0         0          0          424   OTM      OTM       ITM
TSLA   2018-08-31   $340.00    P      13.80   12:09:00    9.63   12:45:00   -0.3344    0.0086      -8.5260   -0.3210   0.3324    8.30   15:57:00   15.72   15:45:00   23.49    9:31:00   -4.17     -1.33     7.77    0         0          0        1,017   OTM      OTM       ITM
TSLA   2018-08-31   $342.50    P      15.02   11:34:00                                                                           9.50   15:58:00   14.65   11:39:00   25.00    9:32:00                      10.35                         0          337    ---       ---     ITM
TSLA   2018-08-31   $345.00    P      16.46   11:43:00   11.65   12:46:00   -0.3766    0.0092      -9.6224   -0.3245   0.3468    5.85   15:54:00   18.74   14:28:00   27.07    9:31:00   -4.81     -5.80     8.33    0         0          0          548   ITM      OTM       ITM
TSLA   2018-08-31   $347.50    P      18.27   11:42:00   11.45   12:42:00   -0.3746    0.0091      -9.6502   -0.3285   0.3490    7.52   16:00:00   20.08   15:18:00   36.50    9:44:00   -6.82     -3.93    16.42    0         0          0          274   ITM      OTM       ITM
TSLA   2018-08-31   $350.00    P      19.73   11:42:00   13.00   12:47:00   -0.4106    0.0095     -10.5581   -0.3313   0.3566    8.00   16:00:00   22.00   16:00:00   29.15    9:31:00   -6.73     -5.00     7.15    0         0          0        1,194   ITM      OTM       ITM
TSLA   2018-08-31   $352.50    P      21.05    9:31:00   14.75   12:47:00   -0.4348    0.0097     -11.2025   -0.3339   0.3609   10.45   15:53:00   23.65   14:35:00   42.00    9:51:00   -6.30     -4.30    18.35    0         0          0          459   ITM      OTM       ITM
TSLA   2018-08-31   $355.00    P      23.45    9:32:00   15.60   12:47:00   -0.4593    0.0098     -11.8584   -0.3356   0.3638   11.00   15:46:00   25.45   14:35:00   39.59    9:42:00   -7.85     -4.60    14.14    0         0          0          686   ITM      OTM       ITM
TSLA   2018-08-31   $357.50    P                         16.03   12:40:00   -0.4709    0.0096     -12.2328   -0.3410   0.3661   11.50   15:46:00   26.95   15:29:00   44.87    9:56:00             -4.53    17.92              0          0          275    ---      ITM      ITM
TSLA   2018-08-31   $360.00    P                         18.40   12:44:00   -0.5135    0.0098     -13.3109   -0.3328   0.3649   11.86   15:58:00   29.05   13:33:00   48.15    9:50:00             -6.54    19.10              0          0          496    ---      ITM      ITM
TSLA   2018-08-31   $362.50    P                                                                                                                   30.40   15:02:00                                                                                  181    ---       ---      ---
TSLA   2018-08-31   $365.00    P                                                                                                                   32.86   15:30:00   48.13    9:42:00                       15.27                        0          267    ---       ---     ITM
TSLA   2018-08-31   $370.00    P      33.30   11:26:00                                                                        16.55     16:00:00                                                                                                     613    ---       ---      ---
TSLA   2018-08-31   $375.00    P                         26.30   12:33:00   -0.6483    0.0094 -17.0890       -0.3023   0.3403 15.95     16:00:00                                                  -10.35                       0                     201    ---      ITM       ---
TSLA   2018-08-31   $382.50    P                                                                                                                 46.00     12:01:00 74.60     12:43:00                       28.60                        0          180    ---       ---     ITM
TSLA   2018-08-31   $400.00    P                         45.66   12:39:00   -0.8204    0.0065 -22.4625       -0.2188   0.2402 28.20     15:51:00 61.25     11:23:00                               -17.46                       0                      75    ---      ITM       ---
TSLA   2018-09-07   $120.00    P                                                                                                                  0.17     11:15:00 2.28       9:36:00                        2.11                        0           60    ---       ---     OTM
TSLA   2018-09-07   $175.00    P                                                                                                                  0.54     13:49:00 1.09       9:48:00                        0.55                        0           91    ---       ---     OTM
TSLA   2018-09-07   $195.00    P                                                                                                                  0.77     15:35:00 2.92       9:36:00                        2.15                        0          142    ---       ---     OTM
TSLA   2018-09-07   $200.00    P                                                                                                                  0.85     15:51:00 1.02       9:31:00                        0.17                        0          590    ---       ---     OTM
TSLA   2018-09-07   $205.00    P       0.35    9:31:00                                                                           0.23   13:35:00 1.02      10:57:00 1.75      10:04:00                        0.73                        0          177    ---       ---     OTM
TSLA   2018-09-07   $210.00    P                                                                                                                  1.11     11:02:00 2.15      10:05:00                        1.04                        0          170    ---       ---     OTM
TSLA   2018-09-07   $215.00    P                                                                                                                  1.18     10:57:00 1.20      10:05:00                        0.02                        0          163    ---       ---     OTM
TSLA   2018-09-07   $225.00    P                                                                                                                  1.28     11:15:00 3.40       9:36:00                        2.12                        0          302    ---       ---     OTM




                                                                                                                                                                                                                                                                              p. 18 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                   8/7 Last          8/16 Last          8/17 First            Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                           Period
Root      Date       Strike   Put     Price    Time      Price  Time        Delta Gamma           Rho       Theta     Vega     Price    Time      Price    Time      Price  Time        FT      Tweet     NYT       FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-09-07   $230.00    P                          0.40 12:30:00     -0.0134 0.0005        -0.4392   -0.0406   0.0358                       1.40   15:34:00    2.71 10:07:00                        1.31                          0          132    ---       ---     OTM
TSLA   2018-09-07   $240.00    P                                                                                                                   1.69   15:34:00    5.00 10:46:00                        3.31                          0           83    ---       ---     OTM
TSLA   2018-09-07   $245.00    P                          0.50   12:31:00   -0.0200    0.0007     -0.6539   -0.0529   0.0504    2.78   15:55:00    1.87   13:31:00    5.50 10:46:00                2.28    3.63               1          0          191    ---     OTM       OTM
TSLA   2018-09-07   $250.00    P       0.82    9:48:00    0.67   12:40:00   -0.0237    0.0008     -0.7814   -0.0613   0.0585    0.65   13:57:00    2.00   15:51:00    2.53  9:33:00     -0.15     -0.02    0.53     0         0          0        1,454   OTM      OTM       OTM
TSLA   2018-09-07   $255.00    P       0.91   10:48:00                                                                                                                                                                                              125    ---       ---      ---
TSLA   2018-09-07   $260.00    P       1.06   11:41:00                                                                          0.80   13:35:00    2.41   14:34:00    3.31    9:31:00                        0.90                        0          722    ---       ---     OTM
TSLA   2018-09-07   $265.00    P       1.21   11:53:00                                                                          1.01   13:20:00                                                                                                      96    ---       ---      ---
TSLA   2018-09-07   $267.50    P                          1.03   12:34:00   -0.0393    0.0014     -1.2856   -0.0839   0.0885    1.01   13:56:00                                                   -0.02                       0                      14    ---     OTM        ---
TSLA   2018-09-07   $270.00    P       1.30   12:03:00                                                                          1.10   13:56:00    2.94   13:06:00    3.86    9:31:00                        0.92                        0          110    ---       ---     OTM
TSLA   2018-09-07   $272.50    P       1.55   10:34:00                                                                                             3.35   10:13:00    6.60   10:15:00                        3.25                        0           50    ---       ---     OTM
TSLA   2018-09-07   $275.00    P       1.66   10:28:00    1.45   12:22:00   -0.0716    0.0023     -2.3081   -0.1316   0.1392    1.61   13:26:00    3.05   11:54:00    5.00    9:41:00   -0.21      0.16      1.95   0         1          0          321   OTM      OTM       OTM
TSLA   2018-09-07   $277.50    P                          1.53   12:31:00   -0.0537    0.0019     -1.7562   -0.1022   0.1137    1.45   13:53:00                                                   -0.08                       0                     108    ---     OTM        ---
TSLA   2018-09-07   $280.00    P       2.10   11:42:00    1.53   12:27:00   -0.0607    0.0021     -1.9728   -0.1096   0.1245    1.29   15:59:00    3.70   15:40:00    7.00    9:43:00   -0.57     -0.24      3.30   0         0          0          403   OTM      OTM       OTM
TSLA   2018-09-07   $282.50    P       2.15   10:34:00                                                                                             3.85   13:06:00    7.90    9:47:00                        4.05                        0          105    ---       ---     OTM
TSLA   2018-09-07   $285.00    P       2.57    9:49:00                                                                          1.55   13:27:00    3.85   11:16:00    8.15   10:06:00                        4.30                        0           72    ---       ---     OTM
TSLA   2018-09-07   $287.50    P                                                                                                                   4.58   10:51:00    6.00    9:32:00                        1.42                        0          203    ---       ---     OTM
TSLA   2018-09-07   $290.00    P       3.00    9:39:00    2.02   12:33:00   -0.0777    0.0026     -2.5492   -0.1297   0.1518    2.05   14:02:00    4.80   15:21:00    7.50    9:41:00   -0.98     0.03       2.70   0         1          0          323   OTM      OTM       OTM
TSLA   2018-09-07   $292.50    P       3.05   11:52:00    2.29   12:26:00   -0.0922    0.0031     -2.9824   -0.1394   0.1703                                                            -0.76                       0                                44   OTM        ---      ---
TSLA   2018-09-07   $295.00    P       3.51    9:53:00    2.39   12:33:00   -0.0908    0.0030     -2.9805   -0.1427   0.1707    2.20   15:58:00    5.45   14:31:00   10.41    9:43:00   -1.12     -0.19      4.96   0         0          0          232   OTM      OTM       OTM
TSLA   2018-09-07   $297.50    P       3.75   12:12:00                                                                          3.25   15:58:00    5.25   11:14:00    8.00    9:38:00                        2.75                        0          162    ---       ---     OTM
TSLA   2018-09-07   $300.00    P       4.40   11:26:00    3.25   12:46:00   -0.1136    0.0036     -3.7150   -0.1642   0.1997    3.15   15:59:00    6.10   15:51:00    8.30    9:31:00   -1.15     -0.10      2.20   0         0          0        1,662   OTM      OTM       OTM
TSLA   2018-09-07   $302.50    P       4.64   11:25:00    3.30   12:28:00   -0.1263    0.0041     -4.0974   -0.1688   0.2137                       6.10   11:10:00    8.55    9:35:00   -1.34                2.45   0                    0          122   OTM        ---     OTM
TSLA   2018-09-07   $305.00    P       5.21   11:26:00                                                                          2.40   16:00:00    6.98   14:30:00    9.35    9:36:00                        2.37                        0          203    ---       ---     OTM
TSLA   2018-09-07   $307.50    P                                                                                                                   8.25    9:56:00   10.80    9:31:00                        2.55                        0          132    ---       ---     OTM
TSLA   2018-09-07   $310.00    P                          4.55   12:26:00   -0.1595    0.0050     -5.1750   -0.1904   0.2500    2.97   16:00:00    8.80    9:56:00   11.41    9:31:00             -1.58      2.61             0          0          244    ---     OTM       OTM
TSLA   2018-09-07   $312.50    P                          4.90   12:24:00   -0.1801    0.0054     -5.8371   -0.2046   0.2693                       7.40   11:54:00   11.25    9:36:00                        3.85                        0          252    ---       ---     OTM
TSLA   2018-09-07   $315.00    P       6.80   11:08:00    6.50   12:19:00   -0.2308    0.0067     -7.3409   -0.2213   0.3057    3.45   15:55:00    9.05   15:30:00   12.30    9:37:00   -0.30     -3.05      3.25   0         0          0          218   OTM      OTM       OTM
TSLA   2018-09-07   $317.50    P       7.23   10:19:00                                                                                             9.68   15:30:00   13.78    9:39:00                        4.10                        0           87    ---       ---     OTM
TSLA   2018-09-07   $320.00    P       8.32   11:37:00                                                                          4.47   15:58:00   10.30   13:29:00   14.55    9:31:00                        4.25                        0          532    ---       ---     OTM
TSLA   2018-09-07   $322.50    P       9.05   11:37:00                                                                          4.75   15:57:00                                                                                                      70    ---       ---      ---
TSLA   2018-09-07   $325.00    P       9.95   11:23:00    7.20   12:46:00   -0.2352    0.0063     -7.7506   -0.2402   0.3190    6.57   13:48:00 12.09     14:53:00 17.95      9:31:00   -2.75     -0.63      5.86   0         0          0          335   OTM      OTM       OTM
TSLA   2018-09-07   $327.50    P      10.64   11:34:00                                                                          3.58   15:49:00                                                                                                     387    ---       ---      ---
TSLA   2018-09-07   $330.00    P      11.51   11:34:00    7.95   12:43:00   -0.2599    0.0067     -8.6150   -0.2518   0.3378    6.27   15:58:00 13.91     15:56:00   20.50    9:31:00   -3.56     -1.68      6.59   0         0          0        1,103   OTM      OTM       OTM
TSLA   2018-09-07   $332.50    P      12.55   11:22:00                                                                                          14.58     15:16:00   22.53    9:31:00                        7.95                        0          163    ---       ---     OTM
TSLA   2018-09-07   $335.00    P                                                                                                                15.60     14:06:00   22.81    9:31:00                        7.21                        0          129    ---       ---     OTM
TSLA   2018-09-07   $337.50    P                       10.29     12:35:00   -0.3181    0.0076 -10.5506      -0.2664   0.3706                    16.51     12:33:00   28.02    9:42:00                       11.51                        0          112    ---       ---     ITM
TSLA   2018-09-07   $340.00    P      15.40   12:14:00 11.50     12:46:00   -0.3425    0.0079 -11.3693      -0.2737   0.3811 6.60      15:54:00 18.09     13:33:00   24.50    9:36:00   -3.90     -4.90      6.41   0         0          0          673   OTM      OTM       ITM
TSLA   2018-09-07   $345.00    P      18.00   12:14:00 12.81     12:43:00   -0.3729    0.0081 -12.4640      -0.2821   0.3941 11.45     15:58:00 19.56     13:05:00   37.00    9:44:00   -5.19     -1.36     17.44   0         0          0          335   ITM      OTM       ITM
TSLA   2018-09-07   $347.50    P                                                                                                                20.36     11:16:00   30.71    9:31:00                       10.35                        0           76    ---       ---     ITM
TSLA   2018-09-07   $350.00    P      20.96   11:35:00 14.85     12:47:00   -0.4145    0.0085 -13.8931      -0.2867   0.4058    9.63   15:59:00 24.15     15:51:00   33.50    9:40:00   -6.11     -5.22      9.35   0         0          0          690   ITM      OTM       ITM
TSLA   2018-09-07   $352.50    P                                                                                                                25.00     15:11:00   35.90    9:40:00                       10.90                        0          198    ---       ---     ITM
TSLA   2018-09-07   $355.00    P      23.94    9:34:00 16.00     12:38:00   -0.4359    0.0086 -14.7356      -0.2885   0.4129 13.20     15:59:00 26.20     12:49:00   35.95    9:31:00   -7.94     -2.80      9.75   0         0          0          590   ITM      OTM       ITM
TSLA   2018-09-07   $357.50    P                                                                                                                28.15      9:34:00   43.42    9:42:00                       15.27                        0          187    ---       ---     ITM
TSLA   2018-09-07   $360.00    P      26.00    9:42:00                                                                       12.66     15:59:00 31.30     13:49:00   45.38    9:42:00                       14.08                        0        1,280    ---       ---     ITM
TSLA   2018-09-07   $365.00    P                         24.90   12:24:00   -0.6028    0.0092 -20.1961      -0.2581   0.3948 15.00     16:00:00 34.97     14:25:00   43.06    9:35:00             -9.90      8.09             0          0          328    ---      ITM      ITM
TSLA   2018-09-07   $370.00    P                                                                                                                39.07     13:49:00   55.26   10:04:00                       16.19                        0          365    ---       ---     ITM
TSLA   2018-09-07   $375.00    P      38.00   11:51:00                                                                         17.40   16:00:00                                                                                                     196    ---       ---      ---
TSLA   2018-09-07   $377.50    P                                                                                                                41.00     11:17:00 65.00     10:14:00                       24.00                        0           28    ---       ---     ITM
TSLA   2018-09-07   $385.00    P      45.20    9:56:00                                                                         22.75   15:51:00                                                                                                      30    ---       ---      ---
TSLA   2018-09-07   $395.00    P                         43.70   12:47:00   -0.7736    0.0067 -27.2897      -0.2147   0.3119                                                                                                                         25    ---       ---      ---
TSLA   2018-09-07   $400.00    P      58.10   10:15:00                                                                       37.55     15:46:00                                                                                                     147    ---       ---      ---
TSLA   2018-09-07   $405.00    P                         52.15   12:47:00   -0.8267    0.0057 -29.6263      -0.1841   0.2649 50.70     13:06:00                                                   -1.45                       0                      51    ---      ITM       ---
TSLA   2018-09-14   $180.00    P                                                                                                                   0.91   15:32:00    1.65    9:47:00                        0.74                        0          183    ---       ---     OTM
TSLA   2018-09-14   $185.00    P                                                                                                                   1.03   11:04:00    1.78   14:20:00                        0.75                        0           28    ---       ---     OTM
TSLA   2018-09-14   $190.00    P                                                                                                                   1.08   14:46:00    2.11   10:21:00                        1.03                        0           67    ---       ---     OTM
TSLA   2018-09-14   $195.00    P                                                                                                                   1.12   11:43:00    2.05   12:55:00                        0.93                        0          266    ---       ---     OTM
TSLA   2018-09-14   $200.00    P                                                                                                                   1.35   14:08:00    2.35   10:07:00                        1.00                        0          325    ---       ---     OTM
TSLA   2018-09-14   $230.00    P       0.69   11:41:00    0.61   12:36:00   -0.0193    0.0006     -0.7829   -0.0493   0.0541                       2.13   15:30:00    3.20    9:43:00   -0.08                1.07   0                    0           97   OTM        ---     OTM




                                                                                                                                                                                                                                                                             p. 19 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                   8/7 Last          8/16 Last         8/17 First            Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                          Period
Root      Date       Strike   Put     Price    Time      Price    Time      Delta     Gamma       Rho       Theta     Vega     Price    Time      Price  Time       Price    Time      FT      Tweet     NYT       FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-09-14   $240.00    P                                                                                                                   2.26 11:21:00     3.00    9:32:00                      0.74                          0          131    ---      ---      OTM
TSLA   2018-09-14   $245.00    P                                                                                                                   2.74 15:28:00     4.20    9:43:00                      1.46                          0          101    ---      ---      OTM
TSLA   2018-09-14   $250.00    P       1.15   10:23:00   0.99    12:43:00   -0.0326    0.0010     -1.3228   -0.0697   0.0841    0.99   13:25:00    2.96 15:28:00     3.47    9:34:00   -0.16     0.00     0.51     0         1          0          525   OTM      OTM       OTM
TSLA   2018-09-14   $255.00    P                         1.03    12:35:00   -0.0375    0.0012     -1.5140   -0.0756   0.0940                                                                                                                        34    ---      ---       ---
TSLA   2018-09-14   $260.00    P                                                                                                                  3.45   15:29:00    4.25    9:36:00                        0.80                        0           82    ---      ---      OTM
TSLA   2018-09-14   $265.00    P       2.10    9:32:00                                                                                            3.80   13:06:00    8.00   12:57:00                        4.20                        0           27    ---      ---      OTM
TSLA   2018-09-14   $270.00    P       2.15   11:47:00                                                                          1.80   15:46:00                                                                                                    691    ---      ---       ---
TSLA   2018-09-14   $275.00    P       2.63   10:05:00                                                                          0.96   12:49:00   4.70   15:57:00    5.24    9:34:00                        0.54                        0          173    ---      ---      OTM
TSLA   2018-09-14   $277.50    P                                                                                                                  4.74   12:12:00    9.60   10:25:00                        4.86                        0           90    ---      ---      OTM
TSLA   2018-09-14   $280.00    P       3.00    9:55:00                                                                          2.60   15:53:00   4.75   12:08:00    9.49    9:46:00                        4.74                        0          153    ---      ---      OTM
TSLA   2018-09-14   $282.50    P       3.20   11:00:00                                                                          2.30   13:54:00   5.35   13:06:00                                                                                   10    ---      ---       ---
TSLA   2018-09-14   $285.00    P       3.56   10:05:00   2.52    12:38:00   -0.0796    0.0023     -3.2476   -0.1228   0.1720    2.93   15:53:00                                        -1.04     0.41              0         1                      55   OTM      OTM        ---
TSLA   2018-09-14   $287.50    P                                                                                                                  6.10   14:59:00   14.03   10:38:00                        7.93                        0           39    ---      ---      OTM
TSLA   2018-09-14   $290.00    P                         2.92    12:38:00   -0.0913    0.0026     -3.7260   -0.1332   0.1906    2.35   16:00:00   6.53   13:55:00    8.50    9:38:00             -0.57      1.97             0          0          151    ---     OTM       OTM
TSLA   2018-09-14   $292.50    P                                                                                                                  6.56   11:59:00   12.65   10:14:00                        6.09                        0          166    ---      ---      OTM
TSLA   2018-09-14   $295.00    P                                                                                                                  7.34   11:00:00   14.10   10:26:00                        6.76                        0          131    ---      ---      OTM
TSLA   2018-09-14   $297.50    P                                                                                                                  7.69   15:18:00    9.50    9:36:00                        1.81                        0           45    ---      ---      OTM
TSLA   2018-09-14   $300.00    P       5.72   11:25:00   4.15    12:43:00   -0.1294    0.0036     -5.2585   -0.1633   0.2431    3.25   15:58:00   8.15   15:18:00    9.85    9:31:00   -1.57     -0.90      1.70   0         0          0          611   OTM      OTM       OTM
TSLA   2018-09-14   $302.50    P                                                                                                                  7.72   11:46:00   11.10    9:37:00                        3.38                        0           77    ---      ---      OTM
TSLA   2018-09-14   $305.00    P       6.19   12:04:00                                                                          3.57   15:57:00   7.95   11:36:00   11.85    9:33:00                        3.90                        0          181    ---      ---      OTM
TSLA   2018-09-14   $307.50    P                                                                                                                  8.80   11:23:00   12.90    9:38:00                        4.10                        0           83    ---      ---      OTM
TSLA   2018-09-14   $310.00    P       7.22   12:04:00                                                                          4.78   15:57:00   9.35   11:23:00   13.70    9:38:00                        4.35                        0          304    ---      ---      OTM
TSLA   2018-09-14   $315.00    P                         6.14    12:35:00   -0.1938    0.0049     -7.8865   -0.1992   0.3160    5.09   15:57:00                                                  -1.05                       0                     162    ---     OTM        ---
TSLA   2018-09-14   $317.50    P       9.70    9:47:00                                                                          5.40   15:46:00                                                                                                     63    ---      ---       ---
TSLA   2018-09-14   $320.00    P      10.00   12:14:00   7.15    12:35:00   -0.2197    0.0054     -8.9525   -0.2108   0.3402    5.50   15:59:00 11.75    11:47:00   18.25    9:31:00   -2.85     -1.65      6.50   0         0          0          947   OTM      OTM       OTM
TSLA   2018-09-14   $325.00    P      11.59   11:19:00                                                                          4.00   15:54:00 12.90     9:31:00   18.70    9:35:00                        5.80                        0          142    ---      ---      OTM
TSLA   2018-09-14   $327.50    P                                                                                                                15.59    15:51:00   23.33    9:41:00                        7.74                        0           57    ---      ---      OTM
TSLA   2018-09-14   $330.00    P      12.57   10:30:00 9.60      12:42:00   -0.2663    0.0061 -10.9598      -0.2309   0.3799 9.30      15:46:00 16.20    15:02:00   21.85    9:34:00   -2.97     -0.30      5.65   0         0          0          204   OTM      OTM       OTM
TSLA   2018-09-14   $332.50    P      14.20   12:08:00 13.25     12:20:00   -0.3674    0.0078 -14.6457      -0.2378   0.4199                    17.50    10:48:00   28.00   10:02:00   -0.95               10.50   0                    0          222   OTM       ---      OTM
TSLA   2018-09-14   $335.00    P      14.44   10:30:00 13.00     12:23:00   -0.3525    0.0075 -14.2254      -0.2392   0.4195 10.15     15:50:00 18.27    15:05:00   23.52    9:36:00   -1.44     -2.85      5.25   0         0          0          117   OTM      OTM       OTM
TSLA   2018-09-14   $337.50    P                                                                                                                19.72    15:51:00   27.00    9:31:00                        7.28                        0          134    ---      ---      ITM
TSLA   2018-09-14   $340.00    P      18.45    9:31:00 13.12     12:47:00   -0.3422    0.0071 -14.1131      -0.2501   0.4232    9.75   15:58:00 20.75    13:31:00   28.00    9:39:00   -5.33     -3.37      7.25   0         0          0          207   OTM      OTM       ITM
TSLA   2018-09-14   $342.50    P                                                                                                                19.70    11:20:00                                                                                   15    ---      ---       ---
TSLA   2018-09-14   $345.00    P      21.00   11:28:00 15.00     12:35:00   -0.3849    0.0075 -15.8857      -0.2535   0.4393 13.14     12:52:00 22.96    12:44:00   33.52    9:41:00   -6.00     -1.86     10.56   0         0          0          270   ITM      OTM       ITM
TSLA   2018-09-14   $350.00    P      22.64   10:05:00 17.05     12:47:00   -0.4172    0.0077 -17.3201      -0.2597   0.4496 14.75     13:49:00 26.25    15:50:00   37.08    9:41:00   -5.59     -2.30     10.83   0         0          0          414   ITM      OTM       ITM
TSLA   2018-09-14   $352.50    P                                                                                                                26.65    12:41:00   42.20    9:43:00                       15.55                        0          143    ---      ---      ITM
TSLA   2018-09-14   $355.00    P                                                                                                                28.16    13:13:00   39.23    9:40:00                       11.07                        0          343    ---      ---      ITM
TSLA   2018-09-14   $357.50    P                                                                                                                28.05    11:53:00                                                                                   36    ---      ---       ---
TSLA   2018-09-14   $360.00    P                                                                                                                28.61    11:32:00   47.10    9:42:00                       18.49                        0          283    ---      ---      ITM
TSLA   2018-09-14   $365.00    P      31.90    9:58:00                                                                         16.00   15:59:00 33.57     9:31:00   46.50    9:31:00                       12.93                        0          154    ---      ---      ITM
TSLA   2018-09-14   $372.50    P                                                                                                                40.75    12:49:00                                                                                   32    ---      ---       ---
TSLA   2018-09-14   $390.00    P                                                                                                                56.20    10:31:00   85.49   15:57:00                       29.29                        0           17    ---      ---      ITM
TSLA   2018-09-21    $50.00    P       0.03   11:40:00   0.03    12:39:00   -0.0004    0.0000     -0.0188   -0.0033   0.0016    0.05   15:58:00 0.07     15:30:00    0.09    9:31:00   0.00      0.02       0.02   1         1          0       36,853   OTM      OTM       OTM
TSLA   2018-09-21    $75.00    P       0.04   12:15:00                                                                          0.07   15:58:00 0.09     16:00:00    0.12    9:31:00                        0.03                        0        7,423    ---      ---      OTM
TSLA   2018-09-21   $100.00    P       0.07   11:22:00   0.07    12:46:00   -0.0013    0.0000     -0.0675   -0.0079   0.0055    0.25   15:57:00 0.23     15:51:00    0.27    9:33:00    0.00     0.18       0.04   1         1          0       10,598   OTM      OTM       OTM
TSLA   2018-09-21   $125.00    P       0.12   11:57:00   0.11    12:41:00   -0.0023    0.0001     -0.1162   -0.0115   0.0091    0.17   15:46:00 0.41     14:34:00    0.50    9:31:00   -0.01     0.06       0.09   0         1          0        4,781   OTM      OTM       OTM
TSLA   2018-09-21   $140.00    P       0.19   12:11:00   0.20    12:36:00   -0.0048    0.0001     -0.2390   -0.0213   0.0173    0.23   14:02:00 0.64     12:04:00    1.00    9:44:00    0.01     0.03       0.36   1         1          0          837   OTM      OTM       OTM
TSLA   2018-09-21   $145.00    P       0.20   11:12:00   0.23    12:32:00   -0.0044    0.0001     -0.2169   -0.0186   0.0160    0.73   15:54:00 0.65     15:41:00    0.78    9:34:00    0.03     0.50       0.13   1         1          0          334   OTM      OTM       OTM
TSLA   2018-09-21   $150.00    P       0.23   11:15:00   0.19    12:44:00   -0.0043    0.0001     -0.2103   -0.0174   0.0157    0.44   15:59:00 0.73     15:59:00    0.85    9:31:00   -0.04     0.25       0.12   0         1          0        7,049   OTM      OTM       OTM
TSLA   2018-09-21   $155.00    P       0.24   11:18:00   0.25    12:40:00   -0.0046    0.0001     -0.2304   -0.0185   0.0170    0.25   13:25:00 0.82     14:13:00    1.61    9:31:00    0.01     0.00       0.79   1         1          0          356   OTM      OTM       OTM
TSLA   2018-09-21   $160.00    P                                                                                                                 0.88    15:17:00    1.54   10:09:00                        0.66                        0          693    ---      ---      OTM
TSLA   2018-09-21   $165.00    P                                                                                                                 1.00    10:20:00    1.29    9:41:00                        0.29                        0          380    ---      ---      OTM
TSLA   2018-09-21   $170.00    P                         0.30    12:30:00   -0.0075    0.0002     -0.3676   -0.0264   0.0258    0.65   15:59:00 1.08     13:46:00    1.20    9:33:00             0.35       0.12             1          0          457    ---     OTM       OTM
TSLA   2018-09-21   $175.00    P                                                                                                                 1.18    10:52:00    1.25    9:31:00                        0.07                        0        1,423    ---      ---      OTM
TSLA   2018-09-21   $180.00    P       0.38   11:04:00   0.33    12:34:00   -0.0081    0.0002     -0.3961   -0.0265   0.0277    0.40   13:31:00 1.26     14:30:00    1.46    9:33:00   -0.05     0.07       0.20   0         1          0        3,926   OTM      OTM       OTM
TSLA   2018-09-21   $185.00    P       0.41   10:51:00   0.40    12:19:00   -0.0110    0.0003     -0.5173   -0.0318   0.0349    2.28   15:54:00 1.38     13:31:00    0.98    9:31:00   -0.01     1.88      -0.40   0         1          1          427   OTM      OTM       OTM
TSLA   2018-09-21   $190.00    P       0.44   11:59:00                                                                          0.42   13:25:00 1.55     14:43:00    1.75    9:33:00                        0.20                        0          746    ---      ---      OTM
TSLA   2018-09-21   $195.00    P       0.47   11:29:00   0.43    12:35:00   -0.0109    0.0003     -0.5292   -0.0316   0.0359    0.43   13:15:00 1.69     15:57:00    1.88    9:36:00   -0.04     0.00       0.19   0         1          0          346   OTM      OTM       OTM




                                                                                                                                                                                                                                                                            p. 20 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                    8/7 Last          8/16 Last          8/17 First          Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                          Period
Root      Date       Strike   Put     Price    Time      Price  Time        Delta Gamma            Rho       Theta     Vega     Price    Time      Price    Time      Price  Time       FT    Tweet       NYT      FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-09-21   $200.00    P       0.52   11:54:00    0.45 12:47:00     -0.0117 0.0003         -0.5719   -0.0330   0.0385    0.96   15:58:00    1.78   15:58:00    2.11  9:31:00    -0.07   0.51        0.33    0        1          0       15,212   OTM      OTM       OTM
TSLA   2018-09-21   $205.00    P       0.61   11:27:00                                                                           1.14   16:00:00    1.69   11:34:00    2.98  9:43:00                        1.29                        0        4,418    ---       ---     OTM
TSLA   2018-09-21   $210.00    P       0.64   10:34:00    0.58   12:27:00   -0.0162    0.0004      -0.7834   -0.0413   0.0504    1.19   16:00:00    2.10   15:17:00    2.53  9:31:00     -0.06     0.61     0.43   0         1          0          845   OTM      OTM       OTM
TSLA   2018-09-21   $215.00    P       0.68   11:55:00    0.65   12:21:00   -0.0195    0.0006      -0.9159   -0.0445   0.0576    1.00   16:00:00    2.25   15:14:00    2.71  9:31:00     -0.03     0.35     0.46   0         1          0          389   OTM      OTM       OTM
TSLA   2018-09-21   $220.00    P       0.78   12:17:00    0.70   12:46:00   -0.0193    0.0005      -0.9337   -0.0457   0.0588    1.00   15:59:00    2.46   15:33:00    2.70  9:32:00     -0.08     0.30     0.24   0         1          0        2,091   OTM      OTM       OTM
TSLA   2018-09-21   $225.00    P       0.85   11:58:00    0.85   12:19:00   -0.0256    0.0007      -1.1941   -0.0526   0.0721    1.35   15:56:00    2.69   15:57:00    4.28  9:43:00      0.00     0.50     1.59   1         1          0        1,372   OTM      OTM       OTM
TSLA   2018-09-21   $230.00    P       1.00   11:22:00    0.86   12:40:00   -0.0244    0.0007      -1.1899   -0.0545   0.0722    1.06   16:00:00    2.87   15:28:00    3.50  9:31:00     -0.14     0.20     0.63   0         1          0        1,824   OTM      OTM       OTM
TSLA   2018-09-21   $235.00    P       1.08   12:11:00    0.93   12:30:00   -0.0273    0.0008      -1.3150   -0.0568   0.0786    1.27   15:56:00    3.12   16:00:00    3.62  9:31:00     -0.15     0.34     0.50   0         1          0          872   OTM      OTM       OTM
TSLA   2018-09-21   $240.00    P       1.20   12:15:00    1.09   12:41:00   -0.0307    0.0009      -1.4907   -0.0624   0.0873    1.50   15:57:00    3.36   15:28:00    4.03  9:31:00     -0.11     0.41     0.67   0         1          0        3,372   OTM      OTM       OTM
TSLA   2018-09-21   $245.00    P       1.46   11:34:00    1.23   12:44:00   -0.0356    0.0010      -1.7169   -0.0682   0.0981    1.35   16:00:00    3.65   14:45:00    4.35  9:31:00     -0.23     0.12     0.70   0         1          0        4,259   OTM      OTM       OTM
TSLA   2018-09-21   $250.00    P       1.61   12:07:00    1.34   12:44:00   -0.0404    0.0011      -1.9506   -0.0741   0.1088    1.44   16:00:00    4.03   15:57:00    5.17  9:31:00     -0.27     0.10     1.14   0         1          0       10,798   OTM      OTM       OTM
TSLA   2018-09-21   $255.00    P       1.80   11:59:00    1.62   12:44:00   -0.0463    0.0013      -2.2333   -0.0811   0.1214    1.50   15:56:00    4.30   15:59:00    5.40  9:31:00     -0.18    -0.12     1.10   0         0          0        1,491   OTM      OTM       OTM
TSLA   2018-09-21   $260.00    P       2.12   12:17:00    1.83   12:46:00   -0.0531    0.0015      -2.5566   -0.0881   0.1352    1.79   15:59:00    4.70   15:29:00    5.77  9:31:00     -0.29    -0.04     1.07   0         0          0        3,536   OTM      OTM       OTM
TSLA   2018-09-21   $265.00    P       2.59   11:24:00    2.04   12:45:00   -0.0615    0.0017      -2.9602   -0.0973   0.1516    1.65   15:57:00    5.13   15:46:00    6.38  9:31:00     -0.55    -0.39     1.25   0         0          0        1,647   OTM      OTM       OTM
TSLA   2018-09-21   $270.00    P       2.85   11:37:00    2.25   12:47:00   -0.0665    0.0018      -3.2134   -0.1015   0.1619    2.00   16:00:00    5.68   15:57:00    7.22  9:31:00     -0.60    -0.25     1.54   0         0          0        2,656   OTM      OTM       OTM
TSLA   2018-09-21   $275.00    P       3.25   12:08:00    2.68   12:46:00   -0.0789    0.0021      -3.8012   -0.1130   0.1838    2.27   16:00:00    6.20   15:24:00    7.50  9:31:00     -0.57    -0.41     1.30   0         0          0        4,318   OTM      OTM       OTM
TSLA   2018-09-21   $280.00    P       3.75   12:17:00    3.10   12:46:00   -0.0901    0.0024      -4.3439   -0.1226   0.2030    2.50   16:00:00    6.75   15:47:00    8.30  9:31:00     -0.65    -0.60     1.55   0         0          0        3,449   OTM      OTM       OTM
TSLA   2018-09-21   $285.00    P       4.35   12:07:00    3.50   12:44:00   -0.1007    0.0026      -4.8691   -0.1311   0.2209    2.52   16:00:00    7.40   15:43:00   13.34  9:31:00     -0.85    -0.98     5.94   0         0          0        4,879   OTM      OTM       OTM
TSLA   2018-09-21   $290.00    P       5.08   12:12:00    4.15   12:46:00   -0.1168    0.0030      -5.6383   -0.1430   0.2451    3.67   16:00:00    8.27   15:59:00   10.45  9:31:00     -0.93    -0.48     2.18   0         0          0        6,658   OTM      OTM       OTM
TSLA   2018-09-21   $295.00    P       5.83   11:58:00    4.53   12:47:00   -0.1272    0.0032      -6.1654   -0.1496   0.2613    3.72   16:00:00    9.15   15:59:00   12.48  9:31:00     -1.30    -0.81     3.33   0         0          0        2,952   OTM      OTM       OTM
TSLA   2018-09-21   $300.00    P       6.65   12:13:00    5.28   12:47:00   -0.1444    0.0036      -7.0083   -0.1607   0.2850    3.90   16:00:00   10.10   16:00:00   13.01  9:31:00     -1.37    -1.38     2.91   0         0          0       25,295   OTM      OTM       OTM
TSLA   2018-09-21   $305.00    P       7.85   11:38:00    6.00   12:47:00   -0.1638    0.0039      -7.9653   -0.1724   0.3098    4.71   16:00:00   10.97   15:07:00   14.20  9:32:00     -1.85    -1.29     3.23   0         0          0        2,505   OTM      OTM       OTM
TSLA   2018-09-21   $310.00    P       8.86   12:08:00    6.95   12:47:00   -0.1847    0.0043      -8.9988   -0.1833   0.3344    6.07   15:58:00   12.42   16:00:00   15.93  9:31:00     -1.91    -0.88     3.51   0         0          0        4,801   OTM      OTM       OTM
TSLA   2018-09-21   $315.00    P      10.01   12:03:00    7.80   12:47:00   -0.2067    0.0047     -10.0814   -0.1925   0.3580    5.69   16:00:00   13.74   15:52:00   17.75  9:31:00     -2.21    -2.11     4.01   0         0          0        5,021   OTM      OTM       OTM
TSLA   2018-09-21   $320.00    P      11.56   12:08:00    9.20   12:46:00   -0.2396    0.0052     -11.6757   -0.2058   0.3878    5.75   16:00:00   15.30   15:59:00   22.50  9:31:00     -2.36    -3.45     7.20   0         0          0       13,059   OTM      OTM       OTM
TSLA   2018-09-21   $325.00    P      13.10   12:02:00   10.40   12:44:00   -0.2634    0.0055     -12.8865   -0.2145   0.4085    6.64   16:00:00   17.00   15:51:00   21.53  9:31:00     -2.70    -3.76     4.53   0         0          0        3,567   OTM      OTM       OTM
TSLA   2018-09-21   $330.00    P      15.05   12:15:00   11.85   12:47:00   -0.2883    0.0058     -14.1576   -0.2221   0.4278    7.33   16:00:00   18.77   15:54:00   23.99  9:31:00     -3.20    -4.52     5.22   0         0          0        7,770   OTM      OTM       OTM
TSLA   2018-09-21   $335.00    P      17.30   12:11:00   13.25   12:47:00   -0.3187    0.0062     -15.6912   -0.2290   0.4474    8.86   16:00:00   20.85   16:00:00   26.19  9:31:00     -4.05    -4.39     5.34   0         0          0        2,950   OTM      OTM       OTM
TSLA   2018-09-21   $340.00    P      19.24   12:15:00   15.40   12:46:00   -0.3604    0.0066     -17.7386   -0.2353   0.4670    9.42   16:00:00   23.07   16:00:00   28.87  9:31:00     -3.84    -5.98     5.80   0         0          0       10,302   OTM      OTM       ITM
TSLA   2018-09-21   $345.00    P      21.55   12:05:00   16.51   12:42:00   -0.3746    0.0067     -18.6028   -0.2372   0.4769   10.92   16:00:00   25.70   15:44:00   32.28  9:31:00     -5.04    -5.59     6.58   0         0          0        2,668   ITM      OTM       ITM
TSLA   2018-09-21   $350.00    P      24.50   12:15:00   19.00   12:47:00   -0.4198    0.0070     -20.8586   -0.2422   0.4895   11.60   16:00:00   28.35   16:00:00   38.75  9:31:00     -5.50    -7.40    10.40   0         0          0        9,307   ITM      OTM       ITM
TSLA   2018-09-21   $355.00    P      25.71   10:21:00   21.60   12:46:00   -0.4663    0.0073     -23.1759   -0.2408   0.4956   12.50   16:00:00   31.24   15:51:00   38.92  9:34:00     -4.11    -9.10     7.68   0         0          0        2,912   ITM      OTM       ITM
TSLA   2018-09-21   $360.00    P      29.99    9:36:00   24.00   12:45:00   -0.5029    0.0073     -25.1193   -0.2413   0.4971   14.71   16:00:00   34.70   15:56:00   43.00  9:32:00     -5.99    -9.29     8.30   0         0          0        5,577   ITM       ITM      ITM
TSLA   2018-09-21   $365.00    P                                                                                                                   37.89   15:53:00   47.44  9:31:00                        9.55                        0        1,895    ---       ---     ITM
TSLA   2018-09-21   $370.00    P      35.20   10:20:00 27.65     12:38:00   -0.5455    0.0073     -27.6665   -0.2364   0.4996   17.68   16:00:00   41.68   15:59:00   50.00  9:31:00     -7.55    -9.97     8.32   0         0          0        2,744   ITM       ITM      ITM
TSLA   2018-09-21   $375.00    P      41.60   11:44:00 31.69     12:32:00   -0.6074    0.0074     -30.7325   -0.2213   0.4800   20.00   16:00:00   45.46   15:56:00   55.01  9:31:00     -9.91   -11.69     9.55   0         0          0        1,977   ITM       ITM      ITM
TSLA   2018-09-21   $380.00    P      43.55   10:51:00 36.10     12:45:00   -0.6439    0.0069     -32.8316   -0.2205   0.4635   23.00   16:00:00   48.33   12:46:00   68.07  9:47:00     -7.45   -13.10    19.74   0         0          0        2,450   ITM       ITM      ITM
TSLA   2018-09-21   $385.00    P                       37.85     12:43:00   -0.6713    0.0069     -34.4319   -0.2110   0.4510   24.40   16:00:00   53.50   14:48:00   65.75  9:32:00             -13.45    12.25             0          0          802    ---      ITM      ITM
TSLA   2018-09-21   $390.00    P      51.15    9:39:00                                                                          26.00   15:52:00   55.35   11:11:00   79.87 12:03:00                       24.52                        0          435    ---       ---     ITM
TSLA   2018-09-21   $395.00    P      56.47   11:01:00                                                                          28.15   15:53:00                                                                                                    63    ---       ---      ---
TSLA   2018-09-21   $400.00    P      62.40   11:28:00 50.26     12:43:00   -0.7612    0.0059 -39.7980       -0.1789   0.3855   34.89   16:00:00 64.30     12:56:00 80.40     9:39:00   -12.14   -15.37    16.10   0         0          0          812   ITM       ITM      ITM
TSLA   2018-09-21   $405.00    P      64.97   11:04:00 53.06     12:43:00   -0.7853    0.0055 -41.3752       -0.1691   0.3626   52.00   13:00:00                                        -11.91    -1.06            0         0                      39   ITM       ITM       ---
TSLA   2018-09-21   $410.00    P      69.30    9:35:00 57.51     12:37:00   -0.8015    0.0052 -42.6103       -0.1610   0.3471   56.39   13:06:00                                        -11.79    -1.12            0         0                     136   ITM       ITM       ---
TSLA   2018-09-21   $415.00    P      72.65   10:33:00                                                                          59.00   13:09:00                                                                                                    13    ---       ---      ---
TSLA   2018-09-21   $425.00    P                       82.19     12:20:00   -0.9121    0.0031 -49.0492       -0.0820   0.1895   69.70   13:02:00                                                 -12.49                      0                      74    ---      ITM       ---
TSLA   2018-09-21   $430.00    P                       76.00     12:36:00   -0.8768    0.0037 -48.1311       -0.1178   0.2513   61.60   15:57:00                                                 -14.40                      0                      74    ---      ITM       ---
TSLA   2018-09-21   $440.00    P      98.50    9:47:00                                                                          62.90   16:00:00                                                                                                     4    ---       ---      ---
TSLA   2018-09-28   $250.00    P                                                                                                                  5.01     15:49:00    6.06   9:39:00                       1.05                        0          272    ---       ---     OTM
TSLA   2018-09-28   $260.00    P                                                                                                                  5.81     10:40:00    8.06   9:44:00                       2.25                        0           85    ---       ---     OTM
TSLA   2018-09-28   $265.00    P                                                                                                                  6.41     15:49:00    7.50   9:39:00                       1.09                        0           57    ---       ---     OTM
TSLA   2018-09-28   $270.00    P                                                                                                                  6.11     11:33:00   10.60   9:48:00                       4.49                        0           61    ---       ---     OTM
TSLA   2018-09-28   $275.00    P                                                                                                                  7.74     14:01:00    8.60   9:31:00                       0.86                        0           58    ---       ---     OTM
TSLA   2018-09-28   $280.00    P                                                                                                                  8.40     14:01:00   13.50   9:51:00                       5.10                        0           75    ---       ---     OTM
TSLA   2018-09-28   $285.00    P                                                                                                                  8.97     13:57:00   13.80   9:55:00                       4.83                        0          706    ---       ---     OTM
TSLA   2018-09-28   $290.00    P                                                                                                                  9.84     14:40:00   13.64   9:31:00                       3.80                        0           87    ---       ---     OTM
TSLA   2018-09-28   $295.00    P                                                                                                                 10.86     15:41:00   14.96   9:31:00                       4.10                        0           70    ---       ---     OTM
TSLA   2018-09-28   $300.00    P                                                                                                                 11.88     15:41:00   15.50   9:33:00                       3.62                        0          166    ---       ---     OTM
TSLA   2018-09-28   $305.00    P                                                                                                                 13.02     13:48:00   16.31   9:33:00                       3.29                        0          164    ---       ---     OTM




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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                    8/7 Last          8/16 Last          8/17 First            Price Change               Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                           Period
Root      Date       Strike   Put     Price    Time      Price    Time      Delta     Gamma        Rho       Theta     Vega     Price    Time    Price      Time      Price  Time        FT      Tweet     NYT      FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-09-28   $310.00    P                                                                                                                 14.41      9:40:00   17.80  9:31:00                         3.39                        0           98    ---      ---      OTM
TSLA   2018-09-28   $315.00    P                                                                                                                 15.57     15:21:00   19.83  9:33:00                         4.26                        0          102    ---      ---      OTM
TSLA   2018-09-28   $320.00    P                                                                                                                 15.50     11:51:00   21.30  9:31:00                         5.80                        0          101    ---      ---      OTM
TSLA   2018-09-28   $325.00    P                                                                                                                 18.98     13:45:00   28.90  9:52:00                         9.92                        0          135    ---      ---      OTM
TSLA   2018-09-28   $330.00    P                                                                                                                 20.75     14:37:00   34.80 10:31:00                        14.05                        0           59    ---      ---      OTM
TSLA   2018-09-28   $335.00    P                                                                                                                 22.60     15:33:00   28.00  9:36:00                         5.40                        0           50    ---      ---      OTM
TSLA   2018-09-28   $337.50    P                                                                                                                 23.87     13:33:00   37.15 10:24:00                        13.28                        0           17    ---      ---      ITM
TSLA   2018-09-28   $340.00    P                                                                                                                 25.05     13:55:00   29.70  9:36:00                         4.65                        0          144    ---      ---      ITM
TSLA   2018-09-28   $345.00    P                                                                                                                 26.68     13:22:00   33.85  9:33:00                         7.17                        0           68    ---      ---      ITM
TSLA   2018-09-28   $347.50    P                                                                                                                 27.49     11:10:00   35.60  9:38:00                         8.11                        0           13    ---      ---      ITM
TSLA   2018-09-28   $350.00    P                                                                                                                 30.17     14:25:00   39.90  9:31:00                         9.73                        0           93    ---      ---      ITM
TSLA   2018-09-28   $352.50    P                                                                                                                 28.55     11:21:00   41.41  9:31:00                        12.86                        0           84    ---      ---      ITM
TSLA   2018-09-28   $355.00    P                                                                                                                 29.45     11:29:00   41.50  9:40:00                        12.05                        0          302    ---      ---      ITM
TSLA   2018-09-28   $360.00    P                                                                                                                 36.25      9:38:00   57.47 15:03:00                        21.22                        0          139    ---      ---      ITM
TSLA   2018-09-28   $397.50    P                                                                                                                 65.45      9:56:00                                                                                   7    ---      ---       ---
TSLA   2018-10-19    $25.00    P                                                                                                                  0.07     15:56:00    0.08    9:33:00                       0.01                        0        2,408    ---      ---      OTM
TSLA   2018-10-19    $50.00    P                                                                                                                  0.18     15:22:00    0.25    9:31:00                       0.07                        0       18,425    ---      ---      OTM
TSLA   2018-10-19    $65.00    P                                                                                                                  0.25     14:11:00    0.60   10:13:00                       0.35                        0           32    ---      ---      OTM
TSLA   2018-10-19    $70.00    P                                                                                                                  0.36     14:11:00    0.68   10:29:00                       0.32                        0          200    ---      ---      OTM
TSLA   2018-10-19    $75.00    P       0.12   11:39:00   0.11    12:27:00   -0.0014    0.0000      -0.1181   -0.0063   0.0072   0.20    15:57:00 0.42      15:03:00    0.50    9:31:00   -0.01     0.09      0.08   0         1          0        9,220   OTM      OTM       OTM
TSLA   2018-10-19    $80.00    P                         0.10    12:45:00   -0.0026    0.0000      -0.2273   -0.0118   0.0129                     0.46     15:19:00    0.89   10:23:00                       0.43                        0          539    ---      ---      OTM
TSLA   2018-10-19    $90.00    P       0.15   11:57:00                                                                                                                                                                                              100    ---      ---       ---
TSLA   2018-10-19   $100.00    P       0.22   11:24:00                                                                          0.35    13:03:00    0.96   15:54:00    0.96    9:31:00                       0.00                        1        5,028    ---      ---      OTM
TSLA   2018-10-19   $105.00    P       0.27    9:42:00                                                                                                                                                                                               57    ---      ---       ---
TSLA   2018-10-19   $110.00    P       0.27   11:24:00                                                                                                                                                                                              229    ---      ---       ---
TSLA   2018-10-19   $115.00    P       0.37   10:51:00                                                                                              0.98   13:06:00    1.66    9:49:00                       0.68                        0          129    ---      ---      OTM
TSLA   2018-10-19   $120.00    P       0.42   11:08:00                                                                          0.30    15:52:00    1.18   13:22:00    1.70    9:55:00                       0.52                        0          271    ---      ---      OTM
TSLA   2018-10-19   $125.00    P       0.40   11:54:00                                                                          0.70    15:58:00    1.19   13:06:00    1.56    9:34:00                       0.37                        0        1,202    ---      ---      OTM
TSLA   2018-10-19   $130.00    P                                                                                                                    1.37   13:22:00    2.12   12:14:00                       0.75                        0           63    ---      ---      OTM
TSLA   2018-10-19   $150.00    P                         0.57    12:30:00   -0.0104    0.0002      -0.8636   -0.0276   0.0440   0.48    14:07:00    1.98   15:39:00    2.11    9:33:00             -0.09     0.13             0          0        1,167    ---     OTM       OTM
TSLA   2018-10-19   $155.00    P       0.67   11:42:00                                                                          0.90    13:43:00    2.15   10:02:00    2.35    9:36:00                       0.20                        0          251    ---      ---      OTM
TSLA   2018-10-19   $160.00    P                                                                                                                    2.30   10:55:00    2.42    9:33:00                       0.12                        0          257    ---      ---      OTM
TSLA   2018-10-19   $165.00    P                         0.75    12:43:00   -0.0134    0.0003      -1.1025   -0.0319   0.0548   0.78    13:14:00                                                   0.03                       1                     574    ---     OTM        ---
TSLA   2018-10-19   $175.00    P       1.00   11:55:00                                                                          0.94    13:09:00                                                                                                    373    ---      ---       ---
TSLA   2018-10-19   $180.00    P       1.10   10:30:00   0.97    12:45:00   -0.0194    0.0004      -1.5860   -0.0413   0.0749   1.10    16:00:00    2.85   11:59:00    3.45    9:34:00   -0.13     0.13      0.60   0         1          0          566   OTM      OTM       OTM
TSLA   2018-10-19   $185.00    P       1.17   11:34:00                                                                                              3.00   12:00:00    5.80   10:36:00                       2.80                        0           57    ---      ---      OTM
TSLA   2018-10-19   $190.00    P       1.25   12:05:00                                                                                              3.20   11:14:00    4.10    9:34:00                       0.90                        0          372    ---      ---      OTM
TSLA   2018-10-19   $195.00    P       1.44   10:33:00                                                                          1.33    13:00:00    3.55   12:31:00    5.17    9:45:00                       1.62                        0           96    ---      ---      OTM
TSLA   2018-10-19   $200.00    P       1.55   11:56:00   1.37    12:35:00   -0.0278    0.0005      -2.2704   -0.0513   0.1018   1.85    15:56:00    4.00   15:54:00    4.50    9:31:00   -0.18     0.48      0.50   0         1          0        2,318   OTM      OTM       OTM
TSLA   2018-10-19   $205.00    P                         1.51    12:40:00   -0.0298    0.0006      -2.4439   -0.0537   0.1085                       4.14   12:44:00    6.54   10:23:00                       2.40                        0        2,366    ---      ---      OTM
TSLA   2018-10-19   $210.00    P       1.95   10:20:00                                                                          1.78    13:49:00    4.50   15:05:00    5.50    9:39:00                       1.00                        0        1,188    ---      ---      OTM
TSLA   2018-10-19   $215.00    P                                                                                                                    4.75    9:31:00    5.87    9:31:00                       1.12                        0          329    ---      ---      OTM
TSLA   2018-10-19   $220.00    P                                                                                                                    5.19   14:39:00    7.25    9:44:00                       2.06                        0          371    ---      ---      OTM
TSLA   2018-10-19   $225.00    P       2.56   10:19:00   2.21    12:27:00   -0.0458    0.0009      -3.6985   -0.0686   0.1524   2.20    14:04:00    5.51   14:11:00    6.40    9:31:00   -0.35     -0.01     0.89   0         0          0          275   OTM      OTM       OTM
TSLA   2018-10-19   $230.00    P       2.87   10:39:00   2.65    12:21:00   -0.0565    0.0012      -4.4493   -0.0761   0.1759   2.30    12:49:00    5.99   14:47:00    7.10    9:31:00   -0.22     -0.35     1.11   0         0          0          460   OTM      OTM       OTM
TSLA   2018-10-19   $235.00    P       3.15   10:48:00                                                                                              6.35   13:42:00    9.14    9:54:00                       2.79                        0          305    ---      ---      OTM
TSLA   2018-10-19   $240.00    P       3.45   10:21:00   2.95    12:43:00   -0.0617    0.0012      -5.0204   -0.0841   0.1943   2.57    15:47:00    6.65   13:00:00    7.93    9:31:00   -0.50     -0.38     1.28   0         0          0        3,593   OTM      OTM       OTM
TSLA   2018-10-19   $245.00    P                                                                                                                    7.30   14:57:00    8.36    9:36:00                       1.06                        0          199    ---      ---      OTM
TSLA   2018-10-19   $250.00    P       4.45   11:49:00   3.57    12:41:00   -0.0743    0.0014      -6.0610   -0.0941   0.2249   3.53    16:00:00    7.90   15:48:00    9.30    9:34:00   -0.88     -0.04     1.40   0         0          0       11,802   OTM      OTM       OTM
TSLA   2018-10-19   $255.00    P                                                                                                                    8.51   13:59:00   12.30    9:47:00                       3.79                        0          197    ---      ---      OTM
TSLA   2018-10-19   $260.00    P       5.43   10:17:00   4.55    12:47:00   -0.0918    0.0017      -7.4764   -0.1064   0.2631   2.83    15:53:00    8.80   12:13:00   10.56    9:31:00   -0.88     -1.72     1.76   0         0          0          779   OTM      OTM       OTM
TSLA   2018-10-19   $265.00    P       5.84   12:04:00   4.90    12:31:00   -0.1003    0.0019      -8.1424   -0.1102   0.2803   4.80    13:48:00    9.74   15:33:00   14.13    9:54:00   -0.94     -0.10     4.39   0         0          0          235   OTM      OTM       OTM
TSLA   2018-10-19   $270.00    P       6.67   11:46:00   5.45    12:31:00   -0.1109    0.0021      -9.0118   -0.1167   0.3014   3.99    15:58:00   10.60   15:54:00   13.05    9:31:00   -1.22     -1.46     2.45   0         0          0          612   OTM      OTM       OTM
TSLA   2018-10-19   $275.00    P       7.22   12:04:00   6.60    12:25:00   -0.1291    0.0024     -10.3695   -0.1244   0.3315   5.68    15:56:00   11.26   15:33:00   13.44    9:37:00   -0.62     -0.92     2.18   0         0          0          610   OTM      OTM       OTM
TSLA   2018-10-19   $280.00    P       8.50   11:29:00   6.95    12:47:00   -0.1358    0.0024     -11.0875   -0.1324   0.3478   5.41    16:00:00   12.22   15:42:00   14.48    9:31:00   -1.55     -1.54     2.26   0         0          0        1,046   OTM      OTM       OTM
TSLA   2018-10-19   $285.00    P       9.40   11:29:00   7.40    12:42:00   -0.1448    0.0026     -11.8634   -0.1362   0.3647   6.22    16:00:00                                         -2.00     -1.18            0         0                     705   OTM      OTM        ---
TSLA   2018-10-19   $290.00    P      10.20   11:30:00   8.00    12:39:00   -0.1578    0.0028     -12.9421   -0.1418   0.3864   6.28    15:59:00 13.98     14:39:00 17.37      9:31:00   -2.20     -1.72     3.39   0         0          0        1,156   OTM      OTM       OTM
TSLA   2018-10-19   $295.00    P      11.55   11:29:00   9.22    12:44:00   -0.1804    0.0031     -14.7446   -0.1515   0.4183   7.35    16:00:00 15.20     15:04:00 19.12      9:31:00   -2.33     -1.87     3.92   0         0          0          578   OTM      OTM       OTM




                                                                                                                                                                                                                                                                             p. 22 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                    8/7 Last          8/16 Last          8/17 First          Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                          Period
Root      Date       Strike   Put     Price  Time    Price        Time      Delta Gamma             Rho      Theta     Vega     Price    Time    Price      Time      Price  Time        FT    Tweet      NYT      FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-10-19   $300.00    P      12.40 12:13:00 10.22       12:44:00   -0.1972 0.0033        -16.1398   -0.1578   0.4419    7.00   16:00:00 16.65     15:56:00   19.50  9:31:00     -2.18   -3.22      2.85    0        0          0        6,864   OTM      OTM       OTM
TSLA   2018-10-19   $305.00    P      14.15 11:29:00 10.67       12:38:00   -0.2038 0.0034        -16.8217   -0.1604   0.4548    8.21   16:00:00 17.47     15:11:00   25.95  9:45:00     -3.48   -2.46      8.48    0        0          0          462   OTM      OTM       OTM
TSLA   2018-10-19   $310.00    P      15.25 11:35:00 12.07       12:42:00   -0.2266 0.0037        -18.6807   -0.1676   0.4819    8.25   16:00:00 18.90     15:10:00   23.72  9:31:00     -3.18   -3.82      4.82    0        0          0        1,068   OTM      OTM       OTM
TSLA   2018-10-19   $315.00    P                     14.15       12:45:00   -0.2585 0.0040        -21.2270   -0.1769   0.5132   10.00   15:57:00 20.44     15:10:00   24.05  9:35:00             -4.15      3.61             0          0          261    ---     OTM       OTM
TSLA   2018-10-19   $320.00    P      18.60  9:47:00 17.40       12:21:00   -0.3200 0.0047        -25.8362   -0.1870   0.5528    9.43   16:00:00 22.25     16:00:00   27.00  9:32:00     -1.20   -7.97      4.75   0         0          0          794   OTM      OTM       OTM
TSLA   2018-10-19   $325.00    P      20.10 10:10:00 15.50       12:39:00   -0.2880 0.0043        -23.9091   -0.1830   0.5464    9.85   16:00:00 24.00     14:10:00   29.05  9:31:00     -4.60   -5.65      5.05   0         0          0        3,302   OTM      OTM       OTM
TSLA   2018-10-19   $330.00    P      23.00 11:28:00 18.17       12:43:00   -0.3194 0.0046        -26.4798   -0.1885   0.5692   10.95   16:00:00 25.85     15:19:00   31.10  9:31:00     -4.83   -7.22      5.25   0         0          0        4,051   OTM      OTM       OTM
TSLA   2018-10-19   $335.00    P      24.37 11:51:00 19.00       12:39:00   -0.3351 0.0047        -27.9617   -0.1911   0.5833   13.10   15:59:00 28.25     16:00:00   38.05  9:31:00     -5.37   -5.90      9.80   0         0          0          467   OTM      OTM       OTM
TSLA   2018-10-19   $340.00    P      26.55 12:17:00 22.08       12:47:00   -0.3684 0.0050        -30.7163   -0.1948   0.6005   13.63   16:00:00 30.45     15:59:00   37.28  9:31:00     -4.47   -8.45      6.83   0         0          0        3,043   OTM      OTM       ITM
TSLA   2018-10-19   $345.00    P      30.05 11:29:00 24.20       12:45:00   -0.4032 0.0052        -33.6280   -0.1983   0.6134   16.00   15:51:00 32.53     15:23:00   38.85  9:31:00     -5.85   -8.20      6.32   0         0          0          593   ITM      OTM       ITM
TSLA   2018-10-19   $350.00    P      32.38 11:42:00 26.10       12:47:00   -0.4209 0.0052        -35.3235   -0.1983   0.6225   17.00   15:59:00 35.06     15:24:00   42.42  9:31:00     -6.28   -9.10      7.36   0         0          0        2,758   ITM      OTM       ITM
TSLA   2018-10-19   $355.00    P      34.69 11:51:00 28.00       12:41:00   -0.4441 0.0053        -37.4652   -0.1995   0.6298   20.00   15:57:00 34.90     11:20:00   44.25  9:31:00     -6.69   -8.00      9.35   0         0          0          848   ITM      OTM       ITM
TSLA   2018-10-19   $360.00    P                     30.30       12:39:00   -0.4657 0.0054        -39.4961   -0.1987   0.6354   20.91   15:59:00 40.47     13:44:00   49.51  9:31:00             -9.39      9.04             0          0          987    ---      ITM      ITM
TSLA   2018-10-19   $365.00    P                     32.90       12:34:00   -0.5019 0.0055        -42.5339   -0.1938   0.6349   22.00   16:00:00 43.75     14:25:00   59.99 10:09:00            -10.90     16.24             0          0          834    ---      ITM      ITM
TSLA   2018-10-19   $370.00    P                                                                                                                 46.96     14:25:00   68.71 11:15:00                       21.75                        0        1,227    ---       ---     ITM
TSLA   2018-10-19   $375.00    P                         38.60   12:34:00   -0.5568    0.0055 -47.6109       -0.1890   0.6279 29.01     15:59:00 48.75      9:36:00   60.29  9:39:00              -9.59    11.54             0          0          301    ---      ITM      ITM
TSLA   2018-10-19   $390.00    P      56.65    9:39:00                                                                        30.00     15:51:00                                                                                                    23    ---       ---      ---
TSLA   2018-10-19   $400.00    P                         56.00   12:44:00   -0.6872    0.0050 -60.3507       -0.1661   0.5596 38.34     15:54:00 69.57     15:59:00 88.77     10:10:00           -17.66    19.20             0          0          204    ---      ITM      ITM
TSLA   2018-10-19   $430.00    P                         77.50   12:39:00   -0.7983    0.0040 -73.0695       -0.1287   0.4445 54.15     15:48:00                                                 -23.35                      0                       8    ---      ITM       ---
TSLA   2018-11-16    $50.00    P                                                                                                                  0.41     15:59:00    0.55    9:32:00                      0.14                        0          824    ---       ---     OTM
TSLA   2018-11-16   $100.00    P                                                                                                                  1.53     15:42:00    1.76    9:36:00                      0.23                        0        3,360    ---       ---     OTM
TSLA   2018-11-16   $120.00    P                                                                                                                  2.10     11:13:00    2.45    9:36:00                      0.35                        0           45    ---       ---     OTM
TSLA   2018-11-16   $140.00    P                                                                                                                  2.95     15:40:00                                                                                 11    ---       ---      ---
TSLA   2018-11-16   $150.00    P                                                                                                                  3.28     15:53:00    4.25    9:37:00                      0.97                        0          156    ---       ---     OTM
TSLA   2018-11-16   $160.00    P                                                                                                                  4.00      9:34:00    5.15   10:05:00                      1.15                        0           39    ---       ---     OTM
TSLA   2018-11-16   $180.00    P       2.24   11:42:00                                                                           2.30   15:54:00 4.75      15:37:00    6.51    9:57:00                      1.76                        0          365    ---       ---     OTM
TSLA   2018-11-16   $185.00    P       2.24   11:20:00                                                                                                                                                                                             350    ---       ---      ---
TSLA   2018-11-16   $190.00    P                                                                                                                  5.70     15:41:00    6.60    9:33:00                      0.90                        0          156    ---       ---     OTM
TSLA   2018-11-16   $200.00    P                                                                                                                  6.45     14:32:00    7.50    9:39:00                      1.05                        0        3,197    ---       ---     OTM
TSLA   2018-11-16   $210.00    P                                                                                                                  7.15     14:52:00    9.73    9:54:00                      2.58                        0           74    ---       ---     OTM
TSLA   2018-11-16   $220.00    P                                                                                                                  7.40     11:29:00   11.05    9:43:00                      3.65                        0           91    ---       ---     OTM
TSLA   2018-11-16   $230.00    P       6.00   10:45:00    4.75   12:30:00   -0.0752    0.0012 -8.7370        -0.0863   0.2651    3.50   16:00:00 9.45      15:56:00   10.40    9:31:00   -1.25    -1.25     0.95   0         0          0        1,082   OTM      OTM       OTM
TSLA   2018-11-16   $240.00    P                          6.15   12:28:00   -0.0901    0.0014 -10.3616       -0.0929   0.3015                    10.70     15:41:00   15.75   10:30:00                      5.05                        0          137    ---       ---     OTM
TSLA   2018-11-16   $250.00    P                                                                                                                 12.15     15:48:00   14.00    9:32:00                      1.85                        0        5,594    ---       ---     OTM
TSLA   2018-11-16   $260.00    P      10.02   11:48:00                                                                                                                                                                                           2,182    ---       ---      ---
TSLA   2018-11-16   $265.00    P                                                                                                                   14.10   12:59:00   19.20    9:43:00                      5.10                        0          105    ---       ---     OTM
TSLA   2018-11-16   $270.00    P                                                                                                                   15.12    9:32:00   17.80    9:37:00                      2.68                        0          826    ---       ---     OTM
TSLA   2018-11-16   $275.00    P      12.40   10:52:00                                                                        10.31     13:25:00   15.41   11:49:00   20.85    9:42:00                      5.44                        0          115    ---       ---     OTM
TSLA   2018-11-16   $280.00    P      13.65   12:08:00                                                                        11.00     13:20:00   17.35   13:53:00   20.20    9:36:00                      2.85                        0          422    ---       ---     OTM
TSLA   2018-11-16   $285.00    P      15.00   11:25:00                                                                        12.10     12:56:00   18.72   15:56:00   21.45    9:37:00                      2.73                        0          477    ---       ---     OTM
TSLA   2018-11-16   $290.00    P      15.91   11:40:00                                                                        10.20     15:50:00   19.75   15:20:00   22.80    9:37:00                      3.05                        0        2,171    ---       ---     OTM
TSLA   2018-11-16   $295.00    P      17.25   11:27:00                                                                        13.61     13:18:00                                                                                                    57    ---       ---      ---
TSLA   2018-11-16   $300.00    P      19.01   11:41:00 16.25     12:47:00   -0.2317    0.0029 -27.4976       -0.1594   0.5705 11.07     16:00:00 22.30     14:39:00   26.00    9:32:00   -2.76    -5.18     3.70   0         0          0        1,603   OTM      OTM       OTM
TSLA   2018-11-16   $305.00    P                                                                                                                  22.30    11:42:00   28.75    9:40:00                      6.45                        0          175    ---       ---     OTM
TSLA   2018-11-16   $310.00    P                         18.45   12:37:00   -0.2600    0.0032 -30.9954       -0.1646   0.6087 12.00     16:00:00 25.50     15:56:00   36.93   10:34:00            -6.45    11.43             0          0        1,127    ---     OTM       OTM
TSLA   2018-11-16   $315.00    P      23.75   10:17:00   20.00   12:40:00   -0.2755    0.0033 -32.9071       -0.1669   0.6273                     27.05    15:39:00   36.70   10:19:00   -3.75              9.65   0                    0          358   OTM        ---     OTM
TSLA   2018-11-16   $320.00    P      26.31   11:40:00                                                                                            28.80    15:55:00   36.00    9:42:00                      7.20                        0          302    ---       ---     OTM
TSLA   2018-11-16   $330.00    P      30.30   11:29:00   27.68   12:22:00   -0.3676    0.0040 -43.2421       -0.1749   0.6878 11.20     15:47:00 32.45     15:51:00   37.40    9:32:00   -2.62   -16.48     4.95   0         0          0          185   OTM      OTM       OTM
TSLA   2018-11-16   $335.00    P      31.83    9:35:00                                                                        20.60     15:46:00 34.63     15:56:00   43.95   10:03:00                      9.32                        0          222    ---       ---     OTM
TSLA   2018-11-16   $340.00    P      34.19   11:59:00   29.35   12:41:00   -0.3734    0.0039 -45.1870       -0.1813   0.7093 24.00     14:06:00 36.50     14:12:00   41.40    9:35:00   -4.84    -5.35     4.90   0         0          0          340   OTM      OTM       ITM
TSLA   2018-11-16   $345.00    P      36.00   10:18:00   31.90   12:47:00   -0.3992    0.0041 -48.2531       -0.1827   0.7203 28.80     13:47:00                                         -4.10    -3.10            0         0                     238   ITM      OTM        ---
TSLA   2018-11-16   $350.00    P      39.57   11:25:00                                                                        27.90     15:47:00 40.46     12:33:00 47.45      9:37:00                      6.99                        0        2,192    ---       ---     ITM
TSLA   2018-11-16   $355.00    P                                                                                                                  41.06    11:49:00 62.15     11:11:00                     21.09                        0          239    ---       ---     ITM
TSLA   2018-11-16   $360.00    P      44.60   10:10:00                                                                        27.92     15:57:00 47.42      9:48:00 60.79      9:47:00                     13.37                        0          178    ---       ---     ITM
TSLA   2018-11-16   $365.00    P                         41.19   12:41:00   -0.4788    0.0043 -58.8618       -0.1820   0.7447 38.95     13:34:00                                                  -2.24                      0                     186    ---      ITM       ---
TSLA   2018-11-16   $385.00    P                                                                                                                  62.25    15:59:00 70.90      9:38:00                      8.65                        0           25    ---       ---     ITM
TSLA   2018-11-16   $390.00    P                                                                                                                  62.07    11:47:00 75.10      9:33:00                     13.03                        0           52    ---       ---     ITM
TSLA   2018-11-16   $450.00    P                                                                                                                 116.00    13:29:00                                                                                718    ---       ---      ---




                                                                                                                                                                                                                                                                            p. 23 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                    8/7 Last          8/16 Last         8/17 First            Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                           Period
Root      Date       Strike   Put     Price    Time      Price    Time      Delta     Gamma        Rho       Theta     Vega     Price    Time      Price  Time       Price  Time        FT      Tweet     NYT       FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2018-12-21    $80.00    P                                                                                                                    1.42 12:56:00     1.92  9:47:00                        0.50                          0           93    ---       ---     OTM
TSLA   2018-12-21   $100.00    P                                                                                                                    2.25 10:42:00     2.79 10:00:00                        0.54                          0          907    ---       ---     OTM
TSLA   2018-12-21   $140.00    P       2.16   11:36:00   2.00    12:41:00   -0.0229    0.0003      -3.8187   -0.0387   0.1185   2.50    15:56:00    3.76 11:52:00     5.74 10:38:00     -0.16      0.50    1.98     0         1          0          362   OTM      OTM       OTM
TSLA   2018-12-21   $145.00    P                         2.10    12:38:00   -0.0244    0.0003      -4.0801   -0.0403   0.1257   1.93    15:55:00                                                  -0.17                       0                      71    ---     OTM        ---
TSLA   2018-12-21   $150.00    P       2.51   11:36:00   2.38    12:47:00   -0.0275    0.0003      -4.5516   -0.0433   0.1377   2.00    15:53:00   4.42   13:37:00    5.70   10:05:00   -0.13     -0.38      1.28   0         0          0        1,438   OTM      OTM       OTM
TSLA   2018-12-21   $165.00    P       3.17   10:42:00   3.00    12:36:00   -0.0351    0.0004      -5.7806   -0.0500   0.1685                                                           -0.17                       0                                34   OTM        ---      ---
TSLA   2018-12-21   $170.00    P                                                                                                                   5.60   13:57:00    7.94   13:26:00                        2.34                        0           32    ---       ---     OTM
TSLA   2018-12-21   $175.00    P                         3.40    12:37:00   -0.0406    0.0005      -6.6805   -0.0544   0.1903   3.10    13:51:00   6.18   14:20:00    9.00   10:37:00             -0.30      2.82             0          0           82    ---     OTM       OTM
TSLA   2018-12-21   $180.00    P       4.00   10:50:00                                                                          3.65    13:01:00                                                                                                    155    ---       ---      ---
TSLA   2018-12-21   $185.00    P                         3.85    12:30:00   -0.0485    0.0006 -7.9069        -0.0600   0.2182   3.60    13:44:00                                                  -0.25                       0                     127    ---     OTM        ---
TSLA   2018-12-21   $190.00    P       4.65   10:48:00   4.32    12:25:00   -0.0539    0.0007 -8.6813        -0.0629   0.2349                     7.42     9:31:00   10.00   10:13:00   -0.33                2.58   0                    0          134   OTM        ---     OTM
TSLA   2018-12-21   $195.00    P                         4.70    12:22:00   -0.0568    0.0008 -8.9823        -0.0618   0.2425   3.50    15:57:00 7.35     11:36:00   10.11   10:02:00             -1.20      2.76             0          0           48    ---     OTM       OTM
TSLA   2018-12-21   $200.00    P       5.37   10:20:00   5.00    12:24:00   -0.0645    0.0008 -10.3696       -0.0704   0.2699   4.10    15:56:00 8.25     15:55:00    9.95    9:31:00   -0.37     -0.90      1.70   0         0          0        2,031   OTM      OTM       OTM
TSLA   2018-12-21   $205.00    P                         5.19    12:37:00   -0.0648    0.0008 -10.5959       -0.0711   0.2760   5.20    13:06:00 9.00      9:58:00   10.50    9:31:00              0.01      1.50             1          0           74    ---     OTM       OTM
TSLA   2018-12-21   $210.00    P       6.31   10:49:00                                                                          5.60    13:06:00 9.38     15:52:00   13.05   12:42:00                        3.67                        0        1,939    ---       ---     OTM
TSLA   2018-12-21   $220.00    P       7.30   10:15:00   6.77    12:46:00   -0.0844    0.0011 -13.7082       -0.0826   0.3352   3.00    15:54:00 10.40    14:05:00   12.45    9:41:00   -0.53     -3.77      2.05   0         0          0          229   OTM      OTM       OTM
TSLA   2018-12-21   $225.00    P                         7.00    12:45:00   -0.0909    0.0011 -14.7605       -0.0860   0.3543   5.00    15:49:00                                                  -2.00                       0                     152    ---     OTM        ---
TSLA   2018-12-21   $230.00    P                                                                                                                 11.89    14:48:00   13.64    9:32:00                        1.75                        0          291    ---       ---     OTM
TSLA   2018-12-21   $235.00    P                                                                                                                 11.90    11:17:00                                                                                   62    ---       ---      ---
TSLA   2018-12-21   $240.00    P       9.85    9:44:00 9.06      12:46:00   -0.1129    0.0014 -18.3242       -0.0962   0.4147   7.05    15:55:00 13.29    13:32:00   16.90    9:42:00   -0.79     -2.01      3.61   0         0          0          421   OTM      OTM       OTM
TSLA   2018-12-21   $245.00    P      10.60   12:10:00 9.32      12:39:00   -0.1167    0.0014 -19.0747       -0.0980   0.4283   6.80    15:58:00 14.00    11:06:00   16.20    9:35:00   -1.28     -2.52      2.20   0         0          0        1,347   OTM      OTM       OTM
TSLA   2018-12-21   $250.00    P      11.58   11:43:00 10.10     12:41:00   -0.1266    0.0015 -20.6556       -0.1021   0.4523   8.15    15:46:00 14.80    13:53:00   17.70    9:39:00   -1.48     -1.95      2.90   0         0          0        2,027   OTM      OTM       OTM
TSLA   2018-12-21   $255.00    P      11.90   10:24:00                                                                                                                                                                                              117    ---       ---      ---
TSLA   2018-12-21   $260.00    P      13.20    9:36:00                                                                        11.40     13:04:00 16.65    13:40:00 22.88      9:46:00                        6.23                        0           94    ---       ---     OTM
TSLA   2018-12-21   $265.00    P                       12.50     12:43:00   -0.1576    0.0019 -25.7298       -0.1138   0.5232                    17.87    14:56:00 23.20      9:50:00                        5.33                        0          166    ---       ---     OTM
TSLA   2018-12-21   $270.00    P      15.20    9:54:00 13.50     12:31:00   -0.1677    0.0020 -27.3041       -0.1157   0.5442 13.00     15:52:00                                        -1.70     -0.50             0         0                     406   OTM      OTM        ---
TSLA   2018-12-21   $275.00    P                       14.52     12:43:00   -0.1798    0.0021 -29.4009       -0.1207   0.5693 9.40      15:55:00                                                  -5.12                       0                     576    ---     OTM        ---
TSLA   2018-12-21   $280.00    P      17.36   10:32:00                                                                        10.00     15:56:00 20.35    11:13:00   27.50    9:43:00                        7.15                        0          502    ---       ---     OTM
TSLA   2018-12-21   $290.00    P                       18.45     12:45:00   -0.2211    0.0024     -36.1791   -0.1316   0.6417 11.00     16:00:00 23.66    14:49:00   26.81    9:34:00             -7.45      3.15             0          0          851    ---     OTM       OTM
TSLA   2018-12-21   $295.00    P      21.80    9:57:00 19.10     12:42:00   -0.2271    0.0025     -37.4426   -0.1328   0.6571 12.63     16:00:00 23.20    11:32:00   28.32    9:34:00   -2.70     -6.47      5.12   0         0          0          296   OTM      OTM       OTM
TSLA   2018-12-21   $300.00    P      23.41   10:52:00 20.35     12:43:00   -0.2453    0.0026     -40.3847   -0.1366   0.6824 13.75     15:59:00 25.70    12:13:00   30.00    9:31:00   -3.06     -6.60      4.30   0         0          0        2,156   OTM      OTM       OTM
TSLA   2018-12-21   $305.00    P      25.25    9:48:00 21.60     12:38:00   -0.2526    0.0027     -41.8812   -0.1382   0.6984 18.12     14:07:00 28.05    14:16:00   36.50    9:46:00   -3.65     -3.48      8.45   0         0          0          162   OTM      OTM       OTM
TSLA   2018-12-21   $310.00    P      26.00   10:24:00 23.32     12:43:00   -0.2752    0.0029     -45.4703   -0.1418   0.7239 17.20     15:52:00                                        -2.68     -6.12             0         0                   1,960   OTM      OTM        ---
TSLA   2018-12-21   $315.00    P                       25.60     12:30:00   -0.2929    0.0030     -48.2995   -0.1429   0.7438 16.96     15:59:00 31.27    14:56:00   41.20    9:51:00             -8.64      9.93             0          0          591    ---     OTM       OTM
TSLA   2018-12-21   $320.00    P      30.10   10:35:00 27.80     12:46:00   -0.3113    0.0031     -51.5169   -0.1465   0.7632 18.47     15:57:00 31.85    11:13:00   39.25    9:31:00   -2.30     -9.33      7.40   0         0          0          656   OTM      OTM       OTM
TSLA   2018-12-21   $325.00    P      31.95   10:19:00 28.50     12:41:00   -0.3215    0.0031     -53.5674   -0.1483   0.7782 22.00     15:58:00 33.10    11:17:00   46.50    9:46:00   -3.45     -6.50     13.40   0         0          0          319   OTM      OTM       OTM
TSLA   2018-12-21   $330.00    P      34.79   10:06:00 31.29     12:45:00   -0.3461    0.0033     -57.6199   -0.1510   0.7957 21.75     15:58:00 36.20    13:01:00   41.20    9:31:00   -3.50     -9.54      5.00   0         0          0          423   OTM      OTM       OTM
TSLA   2018-12-21   $335.00    P      37.60    9:48:00 34.00     12:25:00   -0.3736    0.0035     -61.6117   -0.1479   0.8097 22.00     15:55:00 38.90    13:59:00   45.00    9:31:00   -3.60    -12.00      6.10   0         0          0          213   OTM      OTM       OTM
TSLA   2018-12-21   $340.00    P      39.50   11:52:00 37.30     12:22:00   -0.4054    0.0037     -66.5354   -0.1479   0.8197 26.05     15:55:00 41.03    14:08:00   46.43    9:37:00   -2.20    -11.25      5.40   0         0          0        1,646   OTM      OTM       ITM
TSLA   2018-12-21   $345.00    P      42.00   12:14:00 36.60     12:42:00   -0.3890    0.0035     -65.6460   -0.1535   0.8334 23.85     15:54:00 42.00    13:14:00   52.00    9:41:00   -5.40    -12.75     10.00   0         0          0          120   ITM      OTM       ITM
TSLA   2018-12-21   $350.00    P      44.25    9:49:00 39.50     12:35:00   -0.4157    0.0036     -69.9714   -0.1529   0.8417 26.00     15:59:00 45.58    14:57:00   52.73    9:31:00   -4.75    -13.50      7.15   0         0          0        1,485   ITM      OTM       ITM
TSLA   2018-12-21   $355.00    P                                                                                                                 48.14    14:49:00   59.25    9:42:00                       11.11                        0          486    ---       ---     ITM
TSLA   2018-12-21   $360.00    P      51.00   11:29:00 43.80     12:42:00   -0.4438    0.0036 -75.6653       -0.1547   0.8575 31.30     15:59:00                                        -7.20    -12.50             0         0                     263   ITM       ITM       ---
TSLA   2018-12-21   $365.00    P      53.95   11:28:00                                                                        33.20     16:00:00                                                                                                    150    ---       ---      ---
TSLA   2018-12-21   $370.00    P                                                                                                                 56.09    14:52:00 70.02      9:43:00                       13.93                        0          408    ---       ---     ITM
TSLA   2018-12-21   $400.00    P                       67.00     12:38:00   -0.5861    0.0037 -103.4169      -0.1451   0.8444 50.00     15:58:00 72.50    11:17:00 92.05     10:06:00            -17.00     19.55             0          0          159    ---      ITM      ITM
TSLA   2018-12-21   $450.00    P                      110.00     12:24:00   -0.7704    0.0030 -141.9463      -0.1050   0.6291                                                                                                                         6    ---       ---      ---
TSLA   2019-01-18    $10.00    P       0.06   11:26:00 0.05      12:37:00   -0.0003    0.0000 -0.0822        -0.0018   0.0030 0.05      15:55:00   0.10   15:36:00    0.11    9:35:00   -0.01     0.00       0.01   0         1          0       15,050   OTM      OTM       OTM
TSLA   2019-01-18    $15.00    P                                                                                                                   0.14   12:32:00    0.20    9:40:00                        0.06                        0          366    ---       ---     OTM
TSLA   2019-01-18    $20.00    P       0.14   11:16:00   0.13    12:44:00   -0.0009    0.0000      -0.1952   -0.0035   0.0069   0.14    15:58:00   0.23   15:36:00    0.25    9:34:00   -0.01     0.01       0.02   0         1          0        3,781   OTM      OTM       OTM
TSLA   2019-01-18    $25.00    P                                                                                                                   0.31   14:12:00    0.48    9:40:00                        0.17                        0        2,205    ---       ---     OTM
TSLA   2019-01-18    $30.00    P                                                                                                                   0.38   11:29:00    0.44    9:31:00                        0.06                        0          154    ---       ---     OTM
TSLA   2019-01-18    $35.00    P                                                                                                                   0.50   12:03:00    0.60    9:50:00                        0.10                        0          630    ---       ---     OTM
TSLA   2019-01-18    $40.00    P                                                                                                                   0.57   13:20:00    0.66    9:33:00                        0.09                        0          138    ---       ---     OTM
TSLA   2019-01-18    $45.00    P                                                                                                                   0.73   11:32:00    0.90    9:42:00                        0.17                        0          280    ---       ---     OTM
TSLA   2019-01-18    $50.00    P       0.58   12:11:00   0.50    12:35:00   -0.0040    0.0000      -0.8826   -0.0115   0.0284   0.48    16:00:00   0.89   15:54:00    0.99    9:34:00   -0.08     -0.02      0.10   0         0          0        8,392   OTM      OTM       OTM
TSLA   2019-01-18    $55.00    P                                                                                                                   0.96   11:32:00    1.10    9:33:00                        0.14                        0          124    ---       ---     OTM
TSLA   2019-01-18    $60.00    P       0.72   12:05:00                                                                          0.60    14:07:00                                                                                                    405    ---       ---      ---




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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                   8/7 Last           8/16 Last          8/17 First            Price Change                Typical (=0)          Class            Moneyness
       Expiration             Call/                                                                                                                                                                                                            Period
Root      Date       Strike   Put    Price    Time       Price    Time      Delta     Gamma       Rho       Theta     Vega     Price    Time       Price  Time        Price    Time      FT       Tweet    NYT       FT      Tweet       NYT   Volume      FT      Tweet     NYT
TSLA   2019-01-18    $65.00    P                                                                                                                    1.35 10:47:00                                                                                     8    ---       ---      ---
TSLA   2019-01-18    $70.00    P      0.96 10:40:00                                                                            0.66    15:46:00                                                                                                     342    ---       ---      ---
TSLA   2019-01-18    $75.00    P      1.10 11:23:00       0.86   12:25:00   -0.0081    0.0001     -1.7173   -0.0183   0.0525   0.66    15:46:00     1.70   13:57:00    2.53   10:45:00    -0.24    -0.20      0.83   0         0          0       1,467   OTM      OTM       OTM
TSLA   2019-01-18    $80.00    P      1.15 10:41:00       1.09   12:43:00   -0.0090    0.0001     -1.9082   -0.0197   0.0579   0.84    13:45:00                                           -0.06    -0.25             0         0                    329   OTM      OTM        ---
TSLA   2019-01-18    $95.00    P                          1.39   12:38:00   -0.0123    0.0001     -2.6140   -0.0245   0.0769   1.35    12:52:00                                                    -0.04                       0                    609    ---     OTM        ---
TSLA   2019-01-18   $100.00    P      1.70 11:44:00       1.61   12:47:00   -0.0142    0.0001     -2.9902   -0.0270   0.0863   1.40    16:00:00     2.65   15:58:00    2.83    9:33:00    -0.09    -0.21      0.18   0         0          0      10,302   OTM      OTM       OTM
TSLA   2019-01-18   $110.00    P      1.94 10:24:00                                                                            1.85    13:14:00     3.24    9:47:00                                                                                 110    ---       ---      ---
TSLA   2019-01-18   $115.00    P                          1.95   12:31:00   -0.0186    0.0002     -3.8651   -0.0316   0.1086                                                                                                                          9    ---       ---      ---
TSLA   2019-01-18   $120.00    P      2.32 10:22:00       2.10   12:34:00   -0.0202    0.0002     -4.1929   -0.0333   0.1167   2.14    13:27:00     3.50   14:59:00    4.50    9:51:00    -0.22     0.04      1.00   0         1          0         515   OTM      OTM       OTM
TSLA   2019-01-18   $125.00    P      2.50 11:25:00       2.35   12:33:00   -0.0221    0.0002     -4.5718   -0.0352   0.1259   0.70    15:58:00     3.76   15:16:00    4.00    9:31:00    -0.15    -1.65      0.24   0         0          0         463   OTM      OTM       OTM
TSLA   2019-01-18   $130.00    P      2.65 10:24:00                                                                                                 3.95   15:52:00    5.25    9:50:00                        1.30                        0         114    ---       ---     OTM
TSLA   2019-01-18   $135.00    P      2.85 10:24:00                                                                            2.25    15:49:00     4.15   11:34:00                                                                                  48    ---       ---      ---
TSLA   2019-01-18   $140.00    P                                                                                                                    4.66   14:17:00    5.32    9:33:00                        0.66                        0          96    ---       ---     OTM
TSLA   2019-01-18   $145.00    P      3.40 10:03:00       3.15   12:30:00   -0.0313    0.0003     -6.3995   -0.0434   0.1679   3.00    15:52:00                                           -0.25    -0.15             0         0                     94   OTM      OTM        ---
TSLA   2019-01-18   $150.00    P      3.50 11:29:00       3.35   12:44:00   -0.0341    0.0004     -6.9658   -0.0458   0.1802   2.55    16:00:00     5.35   14:40:00    6.07    9:33:00    -0.15    -0.80      0.72   0         0          0       5,825   OTM      OTM       OTM
TSLA   2019-01-18   $155.00    P      3.78 10:28:00                                                                                                                                                                                                 146    ---       ---      ---
TSLA   2019-01-18   $160.00    P      4.15    9:41:00     3.86   12:23:00   -0.0413    0.0005     -8.2438   -0.0501   0.2071                        6.18   10:51:00    7.25    9:41:00    -0.29               1.07   0                    0         266   OTM        ---     OTM
TSLA   2019-01-18   $170.00    P                                                                                                                    6.90   14:48:00   10.25   10:45:00                        3.35                        0         152    ---       ---     OTM
TSLA   2019-01-18   $175.00    P      5.09 11:46:00       4.95   12:22:00   -0.0506    0.0006     -9.9637   -0.0547   0.2430  3.70     15:50:00     7.27   15:17:00    8.50    9:35:00    -0.14    -1.25      1.23   0         0          0         389   OTM      OTM       OTM
TSLA   2019-01-18   $180.00    P      5.45 12:00:00       5.01   12:30:00   -0.0537    0.0006    -10.8400   -0.0592   0.2598  3.50     15:53:00     7.78   15:37:00   11.50   10:40:00    -0.44    -1.51      3.72   0         0          0       1,016   OTM      OTM       OTM
TSLA   2019-01-18   $185.00    P                          5.75   12:19:00   -0.0641    0.0007    -12.5064   -0.0637   0.2887  5.30     13:53:00     8.30   15:45:00    9.55    9:37:00             -0.45      1.25             0          0         198    ---     OTM       OTM
TSLA   2019-01-18   $190.00    P      6.30    9:54:00     5.68   12:31:00   -0.0619    0.0007    -12.4804   -0.0641   0.2909  4.80     15:50:00     8.72   15:40:00   11.00    9:42:00    -0.62    -0.88      2.28   0         0          0         600   OTM      OTM       OTM
TSLA   2019-01-18   $195.00    P                          6.25   12:23:00   -0.0702    0.0008    -13.8731   -0.0675   0.3147  4.50     15:59:00     9.15   12:20:00   10.55    9:31:00             -1.75      1.40             0          0         194    ---     OTM       OTM
TSLA   2019-01-18   $200.00    P      7.20 12:01:00       6.67   12:47:00   -0.0721    0.0008    -14.5799   -0.0706   0.3280  5.30     16:00:00     9.90   15:54:00   11.30    9:31:00    -0.53    -1.37      1.40   0         0          0      10,445   OTM      OTM       OTM
TSLA   2019-01-18   $210.00    P                          7.50   12:36:00   -0.0821    0.0009    -16.5431   -0.0750   0.3619  5.20     13:54:00    11.15   15:57:00   12.85    9:33:00             -2.30      1.70             0          0       1,727    ---     OTM       OTM
TSLA   2019-01-18   $220.00    P      9.60 10:04:00       8.65   12:47:00   -0.0949    0.0011    -19.1223   -0.0814   0.4030  6.54     15:59:00    12.47   13:43:00   14.04    9:33:00    -0.95    -2.11      1.57   0         0          0       1,617   OTM      OTM       OTM
TSLA   2019-01-18   $230.00    P     10.90 11:31:00      10.00   12:43:00   -0.1088    0.0012    -21.9035   -0.0873   0.4449  7.35     15:58:00    14.00   15:55:00   18.42    9:31:00    -0.90    -2.65      4.42   0         0          0       3,700   OTM      OTM       OTM
TSLA   2019-01-18   $240.00    P     12.30 10:40:00      11.25   12:41:00   -0.1225    0.0013    -24.7001   -0.0924   0.4852  9.20     16:00:00    16.10    9:51:00   18.80    9:41:00    -1.05    -2.05      2.70   0         0          0         903   OTM      OTM       OTM
TSLA   2019-01-18   $250.00    P     13.75 10:25:00      13.00   12:45:00   -0.1435    0.0015    -28.8154   -0.1000   0.5372  8.50     15:59:00    17.40   14:55:00   19.96    9:31:00    -0.75    -4.50      2.56   0         0          0       3,919   OTM      OTM       OTM
TSLA   2019-01-18   $260.00    P     16.33 11:24:00      14.75   12:45:00   -0.1622    0.0017    -32.5878   -0.1055   0.5826  9.27     15:58:00    19.50   13:48:00   22.20    9:33:00    -1.58    -5.48      2.70   0         0          0       4,299   OTM      OTM       OTM
TSLA   2019-01-18   $270.00    P     18.40 11:52:00      16.50   12:41:00   -0.1786    0.0019    -36.1023   -0.1099   0.6236 10.65     14:08:00    21.65   15:43:00   27.00    9:31:00    -1.90    -5.85      5.35   0         0          0       6,297   OTM      OTM       OTM
TSLA   2019-01-18   $280.00    P     21.33 11:25:00      18.75   12:41:00   -0.2008    0.0021    -40.6571   -0.1151   0.6701 12.50     15:55:00    24.00   15:39:00   26.80    9:31:00    -2.58    -6.25      2.80   0         0          0       1,950   OTM      OTM       OTM
TSLA   2019-01-18   $290.00    P     23.93 11:20:00      21.54   12:44:00   -0.2288    0.0023    -46.3411   -0.1212   0.7196 13.52     15:59:00    26.95   14:22:00   30.73    9:39:00    -2.39    -8.02      3.78   0         0          0         705   OTM      OTM       OTM
TSLA   2019-01-18   $300.00    P     27.50 11:26:00      24.50   12:46:00   -0.2568    0.0025    -52.0465   -0.1255   0.7641 15.25     16:00:00    29.70   15:57:00   33.50    9:31:00    -3.00    -9.25      3.80   0         0          0       5,404   OTM      OTM       OTM
TSLA   2019-01-18   $310.00    P     30.65 11:01:00      27.50   12:47:00   -0.2816    0.0026    -57.4838   -0.1298   0.8031 17.59     16:00:00    32.75   15:43:00   37.00    9:39:00    -3.15    -9.91      4.25   0         0          0       1,558   OTM      OTM       OTM
TSLA   2019-01-18   $320.00    P     34.70 11:34:00      31.15   12:45:00   -0.3163    0.0028    -64.6622   -0.1341   0.8420 20.00     16:00:00    36.18   14:46:00   40.95    9:31:00    -3.55   -11.15      4.77   0         0          0       2,308   OTM      OTM       OTM
TSLA   2019-01-18   $330.00    P     39.25 11:48:00      35.10   12:46:00   -0.3465    0.0030    -71.1780   -0.1357   0.8735 22.00     16:00:00    40.15   15:26:00   44.85    9:31:00    -4.15   -13.10      4.70   0         0          0       3,388   OTM      OTM       OTM
TSLA   2019-01-18   $340.00    P     43.21 10:08:00      38.45   12:40:00   -0.3705    0.0031    -76.9275   -0.1377   0.9005 25.22     16:00:00    44.09   15:38:00   50.00    9:33:00    -4.76   -13.23      5.91   0         0          0       1,882   OTM      OTM       ITM
TSLA   2019-01-18   $350.00    P     48.94 11:25:00      43.59   12:44:00   -0.4100    0.0032    -85.3184   -0.1385   0.9206 26.00     16:00:00    48.50   15:57:00   55.04    9:31:00    -5.35   -17.59      6.54   0         0          0       2,884   ITM      OTM       ITM
TSLA   2019-01-18   $360.00    P                         47.80   12:42:00   -0.4370    0.0033    -91.9076   -0.1394   0.9375 32.33     16:00:00    53.85   13:59:00   60.29    9:34:00            -15.47      6.44             0          0       1,595    ---      ITM      ITM
TSLA   2019-01-18   $370.00    P                         53.39   12:41:00   -0.4731    0.0034   -100.0455   -0.1382   0.9445 34.00     16:00:00                                                   -19.39                       0                    450    ---      ITM       ---
TSLA   2019-01-18   $375.00    P                         57.50   12:46:00   -0.4968    0.0034   -105.1442   -0.1367   0.9405 37.00     16:00:00 62.40      14:32:00 68.57      9:35:00            -20.50      6.17             0          0         340    ---      ITM      ITM
TSLA   2019-01-18   $380.00    P     66.42 11:50:00      58.50   12:33:00   -0.5092    0.0034   -108.2594   -0.1355   0.9443 40.00     15:59:00                                           -7.92   -18.50             0         0                    816   ITM       ITM       ---
TSLA   2019-01-18   $390.00    P     72.51 11:59:00                                                                          45.00     15:59:00                                                                                                     149    ---       ---      ---
TSLA   2019-01-18   $400.00    P     79.25    9:31:00    72.50   12:44:00   -0.5770    0.0034 -124.9364     -0.1302   0.9215 49.99     16:00:00 78.70      14:26:00 86.25      9:35:00    -6.75   -22.51      7.55   0         0          0       2,606   ITM       ITM      ITM
TSLA   2019-01-18   $420.00    P                                                                                                                92.90      15:13:00 110.00     9:43:00                       17.10                        0       1,097    ---       ---     ITM
TSLA   2019-01-18   $430.00    P    102.57 11:50:00      92.08   12:43:00   -0.6665    0.0032 -148.7415     -0.1165   0.8525                                                             -10.49                      0                              359   ITM        ---      ---
TSLA   2019-01-18   $650.00    P                                                                                                                  316.20    9:49:00 345.70    15:43:00                       29.50                        0          30    ---       ---     ITM
TSLA   2019-01-18   $680.00    P                        324.09   12:45:00   -0.9875    0.0000 -302.8087     0.0000    0.0000 310.90    15:46:00                                                   -13.19                       0                     48    ---      ITM       ---
TSLA   2019-02-15   $175.00    P                                                                                                                    8.70   11:13:00    9.22    9:34:00                        0.52                        0          29    ---       ---     OTM
TSLA   2019-02-15   $180.00    P      7.08 11:56:00                                                                            5.00    14:08:00                                                                                                      41    ---       ---      ---
TSLA   2019-02-15   $185.00    P                                                                                                                10.05      12:49:00                                                                                  54    ---       ---      ---
TSLA   2019-02-15   $200.00    P      9.20 12:12:00                                                                            6.00    15:59:00 11.50      14:46:00 15.40     10:27:00                        3.90                        0          97    ---       ---     OTM
TSLA   2019-02-15   $210.00    P                                                                                                                13.30      10:17:00 18.01     10:34:00                        4.71                        0           5    ---       ---     OTM
TSLA   2019-02-15   $220.00    P                         11.45   12:22:00   -0.1127    0.0012 -26.6370      -0.0817   0.4822                                                                                                                         34    ---       ---      ---
TSLA   2019-02-15   $230.00    P     13.54 10:09:00                                                                                                16.20    9:32:00 17.80      9:37:00                        1.60                        0          39    ---       ---     OTM
TSLA   2019-02-15   $260.00    P                                                                                                                   21.85    9:36:00 28.70     12:11:00                        6.85                        0          19    ---       ---     OTM
TSLA   2019-02-15   $270.00    P     21.60 10:32:00                                                                                                23.06   11:26:00 32.60     11:35:00                        9.54                        0         558    ---       ---     OTM




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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                        Pre Tweet                                    8/7 Last           8/16 Last          8/17 First            Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                              Period
Root      Date       Strike   Put     Price    Time       Price    Time      Delta     Gamma        Rho       Theta     Vega     Price    Time       Price  Time    Price        Time      FT      Tweet     NYT       FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2019-02-15   $280.00    P      25.00    9:31:00                                                                                               26.65 13:34:00 32.11        9:42:00                      5.46                          0           69    ---       ---     OTM
TSLA   2019-02-15   $290.00    P                          25.50   12:45:00   -0.2401    0.0021 -58.4419       -0.1164   0.7963 16.00     15:56:00                                                    -9.50                       0                     340    ---     OTM        ---
TSLA   2019-02-15   $300.00    P                          27.66   12:39:00   -0.2573    0.0022 -63.2300       -0.1190   0.8338 18.00     15:58:00 32.50      14:19:00   36.30    9:37:00             -9.66      3.80             0          0           74    ---     OTM       OTM
TSLA   2019-02-15   $310.00    P                          31.50   12:42:00   -0.2837    0.0024 -69.9420       -0.1223   0.8745 28.82     12:49:00 36.50       9:47:00                                -2.68                       0                      39    ---     OTM        ---
TSLA   2019-02-15   $320.00    P                                                                                                                  38.95       9:36:00   48.35    9:48:00                        9.40                        0           69    ---       ---     OTM
TSLA   2019-02-15   $330.00    P      42.73   10:47:00                                                                           35.14   13:35:00 43.02      14:10:00   48.70    9:31:00                        5.68                        0          115    ---       ---     OTM
TSLA   2019-02-15   $340.00    P      47.50    9:36:00 45.00      12:24:00   -0.3890    0.0029    -95.6794    -0.1272   0.9675                    45.24      11:49:00   63.00   11:40:00   -2.50               17.76   0                    0           39   OTM        ---     ITM
TSLA   2019-02-15   $350.00    P      53.15   10:04:00 49.00      12:26:00   -0.4164    0.0030   -103.2236    -0.1276   0.9872 32.51     15:56:00 52.00      14:39:00   64.10    9:52:00   -4.15    -16.49     12.10   0         0          0          702   ITM      OTM       ITM
TSLA   2019-02-15   $360.00    P                       52.50      12:42:00   -0.4286    0.0030   -108.4867    -0.1302   1.0094 50.75     13:34:00                                                    -1.75                       0                     288    ---      ITM       ---
TSLA   2019-02-15   $370.00    P                       58.20      12:42:00   -0.4591    0.0030   -117.0281    -0.1298   1.0194 37.35     16:00:00                                                   -20.85                       0                      82    ---      ITM       ---
TSLA   2019-02-15   $400.00    P      83.20   12:02:00 76.52      12:35:00   -0.5575    0.0031   -144.8675    -0.1227   1.0031                                                             -6.68                       0                                17   ITM        ---      ---
TSLA   2019-02-15   $410.00    P      92.00    9:32:00                                                                                                                                                                                                   7    ---       ---      ---
TSLA   2019-02-15   $420.00    P                       95.10      12:22:00   -0.6424    0.0031 -167.4184      -0.1080   0.9231 84.12     13:35:00                                                   -10.98                       0                      25    ---      ITM       ---
TSLA   2019-03-15    $50.00    P       1.07   10:03:00 1.01       12:28:00   -0.0071    0.0001 -2.2150        -0.0158   0.0539 1.08      15:59:00     1.50   15:14:00    2.00    9:31:00   -0.06      0.07      0.50   0         1          0        1,094   OTM      OTM       OTM
TSLA   2019-03-15   $100.00    P       3.02   10:32:00                                                                          3.30     13:54:00     4.02   14:32:00    5.05    9:31:00                        1.03                        0          750    ---       ---     OTM
TSLA   2019-03-15   $110.00    P                        3.20      12:38:00   -0.0241    0.0002 -7.1421        -0.0339   0.1576 2.90      14:03:00                                                    -0.30                       0                       7    ---     OTM        ---
TSLA   2019-03-15   $130.00    P                        4.35      12:23:00   -0.0354    0.0003 -10.0850       -0.0415   0.2111                                                                                                                           3    ---       ---      ---
TSLA   2019-03-15   $145.00    P                                                                                                                   6.80      12:45:00                                                                                   11    ---       ---      ---
TSLA   2019-03-15   $150.00    P       6.00   11:28:00     5.90   12:21:00   -0.0539    0.0005 -15.3926       -0.0561   0.2935    3.96   13:55:00  7.21      13:32:00 9.00       9:43:00   -0.10     -1.94      1.79   0         0          0          200   OTM      OTM       OTM
TSLA   2019-03-15   $165.00    P                                                                                                                   9.00      10:29:00 11.72     12:56:00                        2.72                        0          158    ---       ---     OTM
TSLA   2019-03-15   $175.00    P                                                                                                                  10.50       9:40:00                                                                                   80    ---       ---      ---
TSLA   2019-03-15   $180.00    P                        8.00      12:27:00   -0.0698    0.0007 -19.7415       -0.0610   0.3672    7.35   13:06:00 10.24      11:13:00 13.42      9:48:00             -0.65      3.18             0          0           76    ---     OTM       OTM
TSLA   2019-03-15   $190.00    P                        9.30      12:24:00   -0.0796    0.0008 -22.1337       -0.0636   0.4023                                                                                                                          13    ---       ---      ---
TSLA   2019-03-15   $200.00    P      11.03   10:37:00 10.40      12:42:00   -0.0881    0.0008 -25.1372       -0.0698   0.4431    5.00   15:52:00 13.50      10:21:00   16.40    9:31:00   -0.63     -5.40      2.90   0         0          0          701   OTM      OTM       OTM
TSLA   2019-03-15   $210.00    P                                                                                                                  14.70      15:47:00   18.20    9:51:00                        3.50                        0           39    ---       ---     OTM
TSLA   2019-03-15   $220.00    P                                                                                                                  16.10      11:57:00   19.70    9:46:00                        3.60                        0          250    ---       ---     OTM
TSLA   2019-03-15   $230.00    P                                                                                                                  18.10      13:33:00                                                                                   11    ---       ---      ---
TSLA   2019-03-15   $240.00    P      17.95   10:56:00 16.63      12:44:00   -0.1447    0.0013 -40.9933       -0.0888   0.6263 7.50      15:51:00 19.41      11:14:00   24.20    9:59:00   -1.32     -9.13      4.79   0         0          0          170   OTM      OTM       OTM
TSLA   2019-03-15   $250.00    P      19.81   10:37:00 18.65      12:27:00   -0.1636    0.0015 -46.0510       -0.0928   0.6753 11.50     15:48:00 21.44      12:57:00   26.70    9:59:00   -1.16     -7.15      5.26   0         0          0          588   OTM      OTM       OTM
TSLA   2019-03-15   $255.00    P                                                                                                                  21.95      11:29:00   28.00    9:43:00                        6.05                        0           53    ---       ---     OTM
TSLA   2019-03-15   $260.00    P      22.55   11:24:00                                                                         12.00     15:52:00                                                                                                      155    ---       ---      ---
TSLA   2019-03-15   $275.00    P                          24.20   12:27:00   -0.2126    0.0018 -60.0367       -0.1027   0.7932 14.50     15:47:00 27.35       9:31:00 33.30      9:42:00             -9.70      5.95             0          0           66    ---     OTM       OTM
TSLA   2019-03-15   $280.00    P                                                                                                                  28.18      11:13:00 34.50      9:41:00                        6.32                        0           88    ---       ---     OTM
TSLA   2019-03-15   $290.00    P                       28.04      12:39:00   -0.2385    0.0020     -68.4777   -0.1087   0.8565 19.65     15:46:00                                                    -8.39                       0                      44    ---     OTM        ---
TSLA   2019-03-15   $295.00    P      32.79    9:31:00 30.05      12:41:00   -0.2517    0.0020     -72.1992   -0.1102   0.8792 28.76     12:59:00 33.43      15:58:00 43.90     11:33:00   -2.74     -1.29     10.47   0         0          0          346   OTM      OTM       OTM
TSLA   2019-03-15   $300.00    P                       31.70      12:41:00   -0.2636    0.0021     -75.7696   -0.1119   0.9004 19.00     16:00:00 33.12      11:29:00 47.43     10:51:00            -12.70     14.31             0          0          750    ---     OTM       OTM
TSLA   2019-03-15   $305.00    P                       33.40      12:41:00   -0.2758    0.0022     -79.4253   -0.1134   0.9207                                                                                                                          57    ---       ---      ---
TSLA   2019-03-15   $315.00    P                                                                                                                     40.23   15:44:00   50.00    9:45:00                        9.77                        0           53    ---       ---     OTM
TSLA   2019-03-15   $320.00    P                                                                                                                     39.90   11:19:00   51.00    9:43:00                       11.10                        0          189    ---       ---     OTM
TSLA   2019-03-15   $325.00    P                          41.00   12:30:00   -0.3317    0.0025 -95.8003       -0.1176   0.9932 26.55     15:59:00    41.80   11:19:00   55.00    9:45:00            -14.45     13.20             0          0          294    ---     OTM       OTM
TSLA   2019-03-15   $330.00    P                                                                                                                     43.65   11:37:00   50.40    9:36:00                        6.75                        0          695    ---       ---     OTM
TSLA   2019-03-15   $335.00    P                                                                                                                     45.75   11:35:00   57.00    9:42:00                       11.25                        0           32    ---       ---     OTM
TSLA   2019-03-15   $340.00    P                          50.73   12:22:00   -0.3927    0.0028 -112.3489      -0.1171   1.0290 36.20     15:47:00    50.35   15:48:00   60.00    9:42:00            -14.53      9.65             0          0           46    ---     OTM       ITM
TSLA   2019-03-15   $345.00    P      55.22   11:28:00                                                                                               49.85   11:37:00   58.39    9:31:00                        8.54                        0          178    ---       ---     ITM
TSLA   2019-03-15   $350.00    P                          51.00   12:38:00   -0.3914    0.0027 -115.5172      -0.1214   1.0595 36.90     15:57:00    52.10   11:37:00   61.95    9:40:00            -14.10      9.85             0          0          747    ---     OTM       ITM
TSLA   2019-03-15   $355.00    P                                                                                                                     54.55   11:35:00   75.45   13:15:00                       20.90                        0          148    ---       ---     ITM
TSLA   2019-03-15   $360.00    P      62.16    9:46:00                                                                         42.50     15:46:00    58.82   10:42:00   70.62    9:43:00                       11.80                        0          361    ---       ---     ITM
TSLA   2019-03-15   $370.00    P                          66.53   12:22:00   -0.4809    0.0030 -140.3334      -0.1157   1.0629 43.10     15:59:00    62.05   11:35:00   85.06   13:08:00            -23.43     23.01             0          0           99    ---      ITM      ITM
TSLA   2019-03-15   $375.00    P      71.10   11:21:00                                                                         43.00     15:54:00                                                                                                       63    ---       ---      ---
TSLA   2019-03-15   $380.00    P                                                                                                                     70.35   14:52:00 79.10      9:31:00                        8.75                        0           60    ---       ---     ITM
TSLA   2019-03-15   $400.00    P                                                                                                                     82.80   14:55:00 106.00    13:00:00                       23.20                        0           47    ---       ---     ITM
TSLA   2019-03-15   $415.00    P                                                                                                                     93.49   10:31:00                                                                                    2    ---       ---      ---
TSLA   2019-03-15   $420.00    P                                                                                                                     96.12   10:42:00                                                                                   18    ---       ---      ---
TSLA   2019-03-15   $650.00    P                         294.65   12:32:00   -0.9203    0.0010 -374.8111      -0.0206   0.3462                      309.80   11:21:00                                                                                  100    ---       ---      ---
TSLA   2019-03-15   $670.00    P                                                                                                                    334.85   14:32:00                                                                                    1    ---       ---      ---
TSLA   2019-03-15   $680.00    P                                                                                                                    344.85   14:32:00                                                                                    1    ---       ---      ---
TSLA   2019-06-21    $20.00    P                                                                                                                      0.60   15:21:00                                                                                  333    ---       ---      ---
TSLA   2019-06-21    $25.00    P                                                                                                                      0.73   15:50:00 1.25      15:24:00                        0.52                        0           38    ---       ---     OTM




                                                                                                                                                                                                                                                                                p. 26 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                       Pre Tweet                                   8/7 Last          8/16 Last           8/17 First          Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                          Period
Root      Date       Strike   Put     Price  Time        Price  Time        Delta Gamma            Rho       Theta     Vega     Price  Time       Price  Time         Price    Time      FT    Tweet      NYT      FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2019-06-21    $50.00    P       2.05 10:19:00      2.08 12:31:00     -0.0104 0.0001         -5.0996   -0.0172   0.0912    1.00 15:59:00     2.20 15:58:00       2.50    9:47:00    0.03  -1.08      0.30     1        0          0        2,752   OTM      OTM       OTM
TSLA   2019-06-21    $95.00    P       4.80 11:05:00                                                                                                                                                                                               550    ---      ---       ---
TSLA   2019-06-21   $100.00    P       5.30  9:47:00      4.80   12:36:00   -0.0289    0.0002 -13.3190       -0.0320   0.2188   2.33   15:59:00    5.50   14:14:00     5.90    9:31:00   -0.50    -2.47     0.40   0         0          0        1,678   OTM      OTM       OTM
TSLA   2019-06-21   $110.00    P                          5.85   12:22:00   -0.0388    0.0003 -17.7695       -0.0397   0.2722                                                                                                                        1    ---      ---       ---
TSLA   2019-06-21   $130.00    P                                                                                                                   7.90   10:10:00     9.50    9:46:00                      1.60                        0           48    ---      ---      OTM
TSLA   2019-06-21   $140.00    P       8.70   11:26:00    8.00   12:31:00   -0.0518    0.0004 -23.1238       -0.0440   0.3512   7.33   13:23:00                                          -0.70    -0.67            0         0                   1,036   OTM      OTM        ---
TSLA   2019-06-21   $150.00    P       9.80   11:16:00                                                                          6.00   15:50:00    9.45   15:10:00 11.10       9:43:00                      1.65                        0          522    ---      ---      OTM
TSLA   2019-06-21   $170.00    P                       12.00     12:21:00   -0.0846    0.0006     -36.9068   -0.0582   0.4984                     12.28   15:49:00 15.50       9:56:00                      3.22                        0           24    ---      ---      OTM
TSLA   2019-06-21   $175.00    P      12.90   10:00:00 11.90     12:39:00   -0.0798    0.0006     -35.3949   -0.0558   0.4939 8.00     15:54:00                                          -1.00    -3.90            0         0                     285   OTM      OTM        ---
TSLA   2019-06-21   $180.00    P      13.65   10:02:00 12.60     12:37:00   -0.0848    0.0006     -37.4465   -0.0573   0.5159 8.00     15:52:00                                          -1.05    -4.60            0         0                      22   OTM      OTM        ---
TSLA   2019-06-21   $190.00    P                       14.25     12:37:00   -0.0952    0.0007     -41.9429   -0.0607   0.5619 12.00    13:43:00                                                   -2.25                      0                      76    ---     OTM        ---
TSLA   2019-06-21   $195.00    P                       15.20     12:28:00   -0.1041    0.0008     -45.2727   -0.0628   0.5917 14.50    12:49:00 15.60     11:32:00 20.10      10:23:00            -0.70     4.50             0          0           10    ---     OTM       OTM
TSLA   2019-06-21   $200.00    P      17.00   11:25:00 15.85     12:44:00   -0.1080    0.0008     -47.3897   -0.0646   0.6130 9.40     15:59:00 16.82     13:22:00 17.70       9:32:00   -1.15    -6.45     0.88   0         0          0          927   OTM      OTM       OTM
TSLA   2019-06-21   $215.00    P      19.90    9:31:00                                                                        17.00    12:54:00                                                                                                    125    ---      ---       ---
TSLA   2019-06-21   $220.00    P                                                                                                                20.88     10:10:00 25.00      10:03:00                      4.12                        0           14    ---      ---      OTM
TSLA   2019-06-21   $235.00    P                       22.43     12:33:00   -0.1532    0.0011 -67.2107       -0.0755   0.7828                                                                                                                        3    ---      ---       ---
TSLA   2019-06-21   $250.00    P      28.25   11:51:00 25.60     12:38:00   -0.1745    0.0013 -77.1062       -0.0803   0.8562 14.00    16:00:00 27.30     16:00:00 30.00       9:31:00   -2.65   -11.60     2.70   0         0          0        2,063   OTM      OTM       OTM
TSLA   2019-06-21   $255.00    P      29.55    9:51:00                                                                        16.00    15:58:00                                                                                                     93    ---      ---       ---
TSLA   2019-06-21   $270.00    P                       32.00     12:43:00   -0.2126    0.0015    -93.7188    -0.0862   0.9577 24.00    13:48:00 31.75     12:00:00    39.00    9:45:00            -8.00     7.25             0          0          362    ---     OTM       OTM
TSLA   2019-06-21   $275.00    P                       33.58     12:29:00   -0.2260    0.0016    -98.9603    -0.0873   0.9836                    33.85    14:29:00    38.72    9:31:00                      4.87                        0           45    ---      ---      OTM
TSLA   2019-06-21   $280.00    P                       34.45     12:41:00   -0.2301    0.0016   -101.7653    -0.0885   1.0036 25.00    13:52:00 35.13     15:58:00    41.00    9:41:00            -9.45     5.87             0          0          469    ---     OTM       OTM
TSLA   2019-06-21   $295.00    P                       39.60     12:37:00   -0.2593    0.0017   -115.1574    -0.0917   1.0699 31.00    13:47:00 39.14     12:19:00    45.00    9:40:00            -8.60     5.86             0          0           52    ---     OTM       OTM
TSLA   2019-06-21   $300.00    P      44.60   10:07:00 41.50     12:36:00   -0.2712    0.0018   -120.4545    -0.0928   1.0912 28.10    15:47:00 41.49     10:30:00    48.50    9:41:00   -3.10   -13.40     7.01   0         0          0        1,103   OTM      OTM       OTM
TSLA   2019-06-21   $315.00    P                                                                                                                 46.79    10:33:00    57.00    9:55:00                     10.21                        0           10    ---      ---      OTM
TSLA   2019-06-21   $320.00    P                                                                                                                 49.25    13:49:00    59.68    9:45:00                     10.43                        0          123    ---      ---      OTM
TSLA   2019-06-21   $330.00    P                         54.85   12:46:00   -0.3394    0.0020 -152.4811      -0.0974   1.1972 40.57    13:57:00                                                  -14.28                      0                      87    ---     OTM        ---
TSLA   2019-06-21   $345.00    P                         64.90   12:19:00   -0.4000    0.0023 -176.2520      -0.0950   1.2199 44.00    15:48:00 60.00     13:46:00    70.43   10:03:00           -20.90    10.43             0          0            7    ---     OTM       ITM
TSLA   2019-06-21   $350.00    P                                                                                                                 59.53    11:19:00    68.68    9:40:00                      9.15                        0        1,346    ---      ---      ITM
TSLA   2019-06-21   $370.00    P                                                                                                                 71.00    10:50:00                                                                                  22    ---      ---       ---
TSLA   2019-06-21   $390.00    P                                                                                                                 83.63    10:30:00                                                                                   1    ---      ---       ---
TSLA   2019-06-21   $400.00    P                                                                                                                 88.83     9:36:00   111.07   11:27:00                     22.24                        0          293    ---      ---      ITM
TSLA   2019-06-21   $410.00    P                                                                                                                 95.33     9:36:00   118.30   11:27:00                     22.97                        0          147    ---      ---      ITM
TSLA   2019-06-21   $420.00    P                                                                                                                104.44    15:41:00   121.00    9:50:00                     16.56                        0          201    ---      ---      ITM
TSLA   2019-08-16    $50.00    P       2.50   10:38:00                                                                          1.62   15:50:00 2.50       9:43:00     2.80    9:38:00                      0.30                        0          687    ---      ---      OTM
TSLA   2019-08-16    $55.00    P                          2.80   12:46:00   -0.0124    0.0001      -7.1539   -0.0167   0.1149   2.60   13:08:00                                                   -0.20                      0                      12    ---     OTM        ---
TSLA   2019-08-16   $100.00    P                                                                                                                  6.50    14:00:00     8.00    9:51:00                      1.50                        0          111    ---      ---      OTM
TSLA   2019-08-16   $115.00    P                          8.08   12:18:00   -0.0450    0.0003 -24.0911       -0.0373   0.3268                                                                                                                        8    ---      ---       ---
TSLA   2019-08-16   $120.00    P                                                                                                                   8.80   15:56:00 10.50      10:14:00                      1.70                        0           62    ---      ---      OTM
TSLA   2019-08-16   $135.00    P                         10.27   12:18:00   -0.0593    0.0004 -31.3075       -0.0431   0.4067                                                                                                                       10    ---      ---       ---
TSLA   2019-08-16   $140.00    P                         10.89   12:18:00   -0.0634    0.0005 -33.4187       -0.0448   0.4285                                                                                                                        9    ---      ---       ---
TSLA   2019-08-16   $150.00    P      12.00   10:33:00                                                                          7.00   15:55:00                                                                                                    195    ---      ---       ---
TSLA   2019-08-16   $200.00    P                                                                                                                  19.30   12:42:00 22.00       9:41:00                      2.70                        0          353    ---      ---      OTM
TSLA   2019-08-16   $205.00    P      21.40   11:47:00                                                                          7.00   15:47:00                                                                                                      2    ---      ---       ---
TSLA   2019-08-16   $210.00    P                                                                                                                  21.11   13:00:00                                                                                   1    ---      ---       ---
TSLA   2019-08-16   $220.00    P      24.71   10:16:00                                                                                                                                                                                               4    ---      ---       ---
TSLA   2019-08-16   $230.00    P                         25.29   12:31:00   -0.1536    0.0010    -81.9862    -0.0697   0.8467                                                                                                                       12    ---      ---       ---
TSLA   2019-08-16   $250.00    P                         30.30   12:38:00   -0.1806    0.0012    -97.4535    -0.0753   0.9470 24.00    13:38:00 29.00     12:01:00 35.00       9:43:00            -6.30     6.00             0          0          187    ---     OTM       OTM
TSLA   2019-08-16   $265.00    P                         34.95   12:43:00   -0.2081    0.0013   -111.8803    -0.0788   1.0239 33.15    13:03:00                                                   -1.80                      0                      32    ---     OTM        ---
TSLA   2019-08-16   $300.00    P                         46.30   12:38:00   -0.2676    0.0016   -145.7853    -0.0854   1.1809 30.00    15:57:00                                                  -16.30                      0                     166    ---     OTM        ---
TSLA   2019-08-16   $310.00    P                         50.00   12:38:00   -0.2869    0.0017   -156.8991    -0.0869   1.2208                                                                                                                      167    ---      ---       ---
TSLA   2019-08-16   $320.00    P                                                                                                                52.00     15:59:00                                                                                  11    ---      ---       ---
TSLA   2019-08-16   $330.00    P                         61.50   12:22:00   -0.3489    0.0020 -187.5915      -0.0876   1.2805 35.00    15:51:00 54.00     11:31:00                               -26.50                      0                       8    ---     OTM        ---
TSLA   2019-08-16   $335.00    P                                                                                                                60.00      9:46:00                                                                                   2    ---      ---       ---
TSLA   2019-08-16   $340.00    P                                                                                                                61.95     14:19:00 77.99      11:42:00                     16.04                        0           79    ---      ---      ITM
TSLA   2019-08-16   $345.00    P                                                                                                                63.00     12:07:00                                                                                  25    ---      ---       ---
TSLA   2019-08-16   $380.00    P                                                                                                                82.46     14:49:00                                                                                 409    ---      ---       ---
TSLA   2019-08-16   $420.00    P                                                                                                               107.68     15:47:00                                                                                 131    ---      ---       ---
TSLA   2020-01-17    $10.00    P       0.44   11:01:00    0.45   12:46:00   -0.0014    0.0000      -1.3473   -0.0026   0.0198   0.29   16:00:00 0.39      15:48:00 0.50        9:38:00    0.01    -0.16     0.11   1         0          0        2,238   OTM      OTM       OTM




                                                                                                                                                                                                                                                                            p. 27 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                         Pre FT                                      Pre Tweet                                     8/7 Last          8/16 Last          8/17 First            Price Change                Typical (=0)          Class             Moneyness
       Expiration             Call/                                                                                                                                                                                                            Period
Root      Date       Strike   Put    Price    Time      Price    Time      Delta     Gamma        Rho       Theta     Vega      Price    Time      Price  Time        Price  Time        FT      Tweet     NYT       FT      Tweet       NYT   Volume       FT      Tweet     NYT
TSLA   2020-01-17    $15.00    P                                                                                                                    0.62 13:53:00      0.55  9:32:00                        -0.07                         1          665    ---       ---     OTM
TSLA   2020-01-17    $20.00    P                         1.15   12:46:00   -0.0040    0.0000      -3.7164   -0.0059   0.0499     0.60   15:57:00    0.95 13:56:00      1.09  9:38:00               -0.55     0.14              0          0        4,095    ---     OTM       OTM
TSLA   2020-01-17    $25.00    P                         1.45   12:41:00   -0.0052    0.0000      -4.8740   -0.0073   0.0644     0.90   15:55:00    1.21 12:21:00      1.42 10:24:00               -0.55     0.21              0          0          610    ---     OTM       OTM
TSLA   2020-01-17    $30.00    P                         1.77   12:46:00   -0.0065    0.0000      -5.9379   -0.0085   0.0781     1.25   16:00:00                                                   -0.52                       0                     848    ---     OTM        ---
TSLA   2020-01-17    $35.00    P      2.51    9:37:00                                                                            1.51   15:59:00                                                                                                     252    ---       ---      ---
TSLA   2020-01-17    $50.00    P      3.53 11:01:00      3.42   12:46:00   -0.0135    0.0001 -11.8845       -0.0142   0.1469     2.35   15:59:00   3.04   14:40:00     3.55    9:33:00   -0.11     -1.07      0.51   0         0          0       10,053   OTM      OTM       OTM
TSLA   2020-01-17    $55.00    P                                                                                                                   3.40   11:16:00     3.75   10:29:00                        0.35                        0          143    ---       ---     OTM
TSLA   2020-01-17    $70.00    P      5.74    9:44:00                                                                            4.76   13:07:00                                                                                                      36    ---       ---      ---
TSLA   2020-01-17    $80.00    P                                                                                                                   5.60   11:16:00     7.32   12:33:00                        1.72                        0           69    ---       ---     OTM
TSLA   2020-01-17    $85.00    P                                                                                                                   6.50   14:25:00     8.00   13:12:00                        1.50                        0           89    ---       ---     OTM
TSLA   2020-01-17    $90.00    P      7.75 12:00:00                                                                              4.65   15:50:00                                                                                                     449    ---       ---      ---
TSLA   2020-01-17    $95.00    P                         8.30   12:32:00   -0.0353    0.0002 -29.9826       -0.0266   0.3314     5.00   15:54:00   7.40   14:59:00 8.90        9:48:00             -3.30      1.50             0          0           75    ---     OTM       OTM
TSLA   2020-01-17   $100.00    P      9.23 10:42:00      8.80   12:46:00   -0.0384    0.0002 -32.4017       -0.0279   0.3540     5.40   16:00:00   8.00   15:28:00 8.55        9:31:00   -0.43     -3.40      0.55   0         0          0       14,928   OTM      OTM       OTM
TSLA   2020-01-17   $105.00    P                                                                                                                   8.65   15:56:00 10.20       9:49:00                        1.55                        0           41    ---       ---     OTM
TSLA   2020-01-17   $110.00    P     10.55 10:14:00      9.96   12:32:00   -0.0445    0.0003 -37.4583       -0.0305   0.4002     8.70   14:02:00                                         -0.59     -1.26             0         0                      40   OTM      OTM        ---
TSLA   2020-01-17   $120.00    P                        11.45   12:32:00   -0.0514    0.0003 -43.0148       -0.0331   0.4486     7.00   15:52:00 10.25    14:01:00 13.90      10:29:00             -4.45      3.65             0          0           72    ---     OTM       OTM
TSLA   2020-01-17   $125.00    P                                                                                                                  11.50   13:11:00 13.80      10:29:00                        2.30                        0          490    ---       ---     OTM
TSLA   2020-01-17   $130.00    P     13.45 10:43:00                                                                           8.00      15:59:00                                                                                                      74    ---       ---      ---
TSLA   2020-01-17   $145.00    P                        15.60   12:28:00   -0.0721    0.0004     -59.1665   -0.0397   0.5778                      15.00    9:50:00                                                                                    93    ---       ---      ---
TSLA   2020-01-17   $150.00    P     16.90 10:54:00     16.12   12:38:00   -0.0736    0.0004     -61.1856   -0.0405   0.5976 8.70       15:58:00 14.80    15:28:00 16.50       9:34:00   -0.78     -7.42      1.70   0         0          0        1,359   OTM      OTM       OTM
TSLA   2020-01-17   $160.00    P                        18.29   12:28:00   -0.0855    0.0005     -69.8362   -0.0433   0.6571 10.70      15:59:00                                                   -7.59                       0                      82    ---     OTM        ---
TSLA   2020-01-17   $170.00    P                        20.35   12:24:00   -0.0958    0.0006     -77.5715   -0.0455   0.7113 11.50      15:54:00 18.10    12:53:00    18.00    9:31:00             -8.85     -0.10             0          1          266    ---     OTM       OTM
TSLA   2020-01-17   $175.00    P                        20.70   12:32:00   -0.0981    0.0006     -80.4313   -0.0466   0.7343 12.80      16:00:00 19.20    15:30:00    22.40    9:44:00             -7.90      3.20             0          0          527    ---     OTM       OTM
TSLA   2020-01-17   $180.00    P                                                                                                                  20.30   13:21:00    23.50    9:46:00                        3.20                        0          259    ---       ---     OTM
TSLA   2020-01-17   $190.00    P     25.40 11:53:00                                                                             15.50   15:53:00 21.30    13:21:00    22.97    9:31:00                        1.67                        0          100    ---       ---     OTM
TSLA   2020-01-17   $195.00    P                                                                                                                  21.95   11:52:00    28.89   11:36:00                        6.94                        0           53    ---       ---     OTM
TSLA   2020-01-17   $200.00    P     27.75 11:51:00     26.50   12:45:00   -0.1262    0.0007   -103.0957    -0.0526   0.8751    14.00   16:00:00 24.00    15:53:00    24.90    9:31:00   -1.25    -12.50      0.90   0         0          0        4,054   OTM      OTM       OTM
TSLA   2020-01-17   $210.00    P                        28.75   12:47:00   -0.1368    0.0008   -112.1798    -0.0547   0.9292    19.05   16:00:00 25.90    15:57:00    28.05    9:31:00             -9.70      2.15             0          0          532    ---     OTM       OTM
TSLA   2020-01-17   $220.00    P                        31.42   12:46:00   -0.1504    0.0009   -122.7425    -0.0567   0.9854    19.50   15:55:00 27.25     9:31:00    36.00   11:34:00            -11.92      8.75             0          0          167    ---     OTM       OTM
TSLA   2020-01-17   $240.00    P                        37.50   12:46:00   -0.1770    0.0010   -144.7239    -0.0605   1.0940    21.90   15:47:00 33.00     9:47:00    41.80   10:43:00            -15.60      8.80             0          0          419    ---     OTM       OTM
TSLA   2020-01-17   $250.00    P     41.60    9:31:00   39.65   12:37:00   -0.1885    0.0010   -154.8865    -0.0620   1.1449    20.00   15:59:00 35.75    15:58:00    38.05    9:37:00   -1.95    -19.65      2.30   0         0          0        2,470   OTM      OTM       OTM
TSLA   2020-01-17   $255.00    P                        41.92   12:46:00   -0.1984    0.0011   -162.5159    -0.0630   1.1724    31.25   14:08:00                                                  -10.67                       0                     186    ---     OTM        ---
TSLA   2020-01-17   $260.00    P                        43.66   12:46:00   -0.2058    0.0011   -168.7205    -0.0638   1.1979    26.65   15:56:00 37.45    12:03:00    49.20   10:43:00            -17.01     11.75             0          0        1,269    ---     OTM       OTM
TSLA   2020-01-17   $270.00    P     49.45    9:31:00                                                                           28.60   15:47:00 41.55    12:36:00    43.00    9:31:00                        1.45                        0          541    ---       ---     OTM
TSLA   2020-01-17   $275.00    P                                                                                                                  43.10   15:11:00    52.53   10:15:00                        9.43                        0          636    ---       ---     OTM
TSLA   2020-01-17   $280.00    P                                                                                                                  44.24    9:41:00    53.04    9:51:00                        8.80                        0          201    ---       ---     OTM
TSLA   2020-01-17   $285.00    P     54.86    9:50:00   52.73   12:29:00   -0.2462    0.0013 -202.2941      -0.0671   1.3177 31.60      15:58:00                                         -2.13    -21.13             0         0                     102   OTM      OTM        ---
TSLA   2020-01-17   $290.00    P     57.40 10:53:00     54.37   12:45:00   -0.2527    0.0013 -208.6744      -0.0678   1.3401 32.61      15:57:00                                         -3.03    -21.76             0         0                     909   OTM      OTM        ---
TSLA   2020-01-17   $295.00    P     58.50 10:33:00                                                                          37.80      15:56:00                                                                                                     238    ---       ---      ---
TSLA   2020-01-17   $300.00    P     61.80 11:40:00     58.55   12:47:00   -0.2667    0.0014 -221.6402      -0.0688   1.3835 34.00      16:00:00 52.10    15:51:00 53.95       9:31:00   -3.25    -24.55      1.85   0         0          0        2,901   OTM      OTM       OTM
TSLA   2020-01-17   $305.00    P                                                                                                                  53.74   14:16:00 58.32       9:31:00                        4.58                        0           85    ---       ---     OTM
TSLA   2020-01-17   $310.00    P     66.35 11:29:00     63.43   12:26:00   -0.2897    0.0014 -239.4198      -0.0693   1.4206 33.70      15:52:00                                         -2.92    -29.73             0         0                      77   OTM      OTM        ---
TSLA   2020-01-17   $315.00    P     69.15 11:42:00                                                                          40.00      15:50:00 57.18    10:35:00    70.00    9:45:00                       12.82                        0           61    ---       ---     OTM
TSLA   2020-01-17   $320.00    P                        66.50   12:42:00   -0.2981    0.0015 -250.2432      -0.0704   1.4627 38.67      15:59:00 59.76    14:16:00    65.85    9:31:00            -27.83      6.09             0          0          241    ---     OTM       OTM
TSLA   2020-01-17   $325.00    P     72.75 10:13:00                                                                          46.65      15:47:00 60.60    12:01:00    70.00    9:42:00                        9.40                        0          332    ---       ---     OTM
TSLA   2020-01-17   $330.00    P     75.90    9:57:00                                                                        41.99      16:00:00 63.00    12:45:00    68.99    9:31:00                        5.99                        0          599    ---       ---     OTM
TSLA   2020-01-17   $335.00    P     78.05    9:44:00                                                                        64.62      13:33:00                                                                                                     102    ---       ---      ---
TSLA   2020-01-17   $340.00    P                                                                                                                  70.00   15:54:00    72.10    9:31:00                        2.10                        0          331    ---       ---     ITM
TSLA   2020-01-17   $350.00    P     86.50 11:42:00     80.76   12:40:00   -0.3504    0.0016 -297.9435      -0.0718   1.5562 52.30      15:59:00 74.05    14:40:00    78.00    9:31:00   -5.74    -28.46      3.95   0         0          0        1,041   ITM      OTM       ITM
TSLA   2020-01-17   $360.00    P                        86.00   12:31:00   -0.3709    0.0017 -315.8642      -0.0715   1.5768 66.50      13:49:00 80.35    15:34:00    84.50    9:34:00            -19.50      4.15             0          0        1,206    ---      ITM      ITM
TSLA   2020-01-17   $370.00    P                                                                                                                  83.00   15:32:00    97.96    9:51:00                       14.96                        0          834    ---       ---     ITM
TSLA   2020-01-17   $380.00    P                                                                                                                  88.70   13:54:00    99.25    9:41:00                       10.55                        0        2,738    ---       ---     ITM
TSLA   2020-01-17   $400.00    P                                                                                                                  98.50   13:05:00   114.50    9:43:00                       16.00                        0        1,082    ---       ---     ITM
TSLA   2020-01-17   $420.00    P                                                                                                                 114.10   14:43:00   131.00    9:52:00                       16.90                        0          406    ---       ---     ITM
TSLA   2020-01-17   $450.00    P    147.72 10:40:00                                                                            108.00   15:55:00 137.10   15:43:00   159.00   11:01:00                       21.90                        0          161    ---       ---     ITM
TSLA   2020-01-17   $470.00    P                                                                                                                 152.00   15:00:00                                                                                    55    ---       ---      ---
TSLA   2020-01-17   $500.00    P    185.50 10:22:00                                                                            145.00   15:58:00 178.00   15:01:00   197.20    9:43:00                       19.20                        0          134    ---       ---     ITM
TSLA   2020-01-17   $600.00    P                                                                                                                 266.85   15:22:00   293.35   12:16:00                       26.50                        0          190    ---       ---     ITM




                                                                                                                                                                                                                                                                              p. 28 of 29
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Appendix H: Intraday Data for Options Trading around the FT Article, Tweet, or NYT Article

                                                Pre FT                                         Pre Tweet                                      8/7 Last        8/16 Last        8/17 First         Price Change          Typical (=0)          Class            Moneyness
     Expiration                    Call/                                                                                                                                                                                                     Period
Root    Date     Strike            Put      Price     Time      Price     Time       Delta    Gamma         Rho       Theta         Vega   Price    Time    Price  Time      Price    Time   FT      Tweet   NYT   FT      Tweet       NYT   Volume      FT      Tweet     NYT
TSLA 2020-01-17 $660.00             P                                                                                                                      323.00 11:25:00                                                                          11   ---      ---       ---

Notes:
Source: Cboe DataShop Option Interval data.
Price is the "close" price for the one-minute interval
Pre FT price and time correspond to the last trade prior to 12:18 p.m. on August 7, 2018.
Pre Tweet price and time correspond to the last trade prior to 12:48 p.m. but after 12:17 p.m. on August 7, 2018
8/7 Last price and time correspond to the last trade on August 7, 2018.
8/16 Last price and time correspond to the last trade on August 16, 2018.
8/17 First price and time correspond to the first trade on August 17, 2018.
Price Changes: (i) for FT is [Pre Tweet - Pre FT]; for Tweet is [8/7 Last - Pre Tweet] for NYT is [8/17 First - 8/16 Last].
Typical (=0) is set to 0 or 1 as follows:
          FT and Tweet: for calls(puts), 0 if positive(negative) price change, otherwise 1
          NYT: for calls(puts), 0 if negative(positive) price change, otherwise 1
Class Period Volume - see Appendix G.
Moneyness is set as follows:
          FT: for calls(puts), ITM if strike less than (greater than) $342.26; OTM if strike greater than (less than) $342.26.
          Tweet: for calls(puts), ITM if strike less than (greater than) $356.85; OTM if strike greater than (less than) $356.85.
          NYT: for calls(puts), ITM if strike less than (greater than) $335.45; OTM if strike greater than (less than) $335.45.
          (source for Tesla intraday stock price on August 7, 2018: Bloomberg, GIT function).




                                                                                                                                                                                                                                                                           p. 29 of 29
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                                      The LOGISTIC Procedure


                                              OptType=C
                                        Model Information
                          Data Set                    WORK.TAUG0717
                          Response Variable           Typ0807TW
                          Number of Response Levels 2
                          Model                       binary logit
                          Optimization Technique      Fisher's scoring

                                Number of Observations Read 771
                                Number of Observations Used 443

                                         Response Profile
                                  Ordered                 Total
                                    Value Typ0807TW Frequency
                                        1 1                102
                                        2 0                341

                                Probability modeled is Typ0807TW=1.


Note: 328 observations were deleted due to missing values for the response or explanatory variables.


                                    Model Convergence Status
                            Convergence criterion (GCONV=1E-8) satisfied.

                                         Model Fit Statistics
                         Criterion Intercept Only Intercept and Covariates
                         AIC              480.065                 162.293
                         SC               484.158                 186.855
                         -2 Log L         478.065                 150.293

                         R-Square 0.5228 Max-rescaled R-Square 0.7920

                             Testing Global Null Hypothesis: BETA=0
                           Test             Chi-Square DF Pr > ChiSq
                           Likelihood Ratio   327.7712 5        <.0001
                           Score              185.0685 5        <.0001
                           Wald                 51.7587 5       <.0001

                             Analysis of Maximum Likelihood Estimates
                                               Standard        Wald
                   Parameter     DF Estimate       Error Chi-Square Pr > ChiSq
                   Intercept      1     0.1722   0.5882      0.0857     0.7698
                   delta1247      1 -15.7233     6.0665      6.7175     0.0095
                   gamma1247 1          1428.6    809.3      3.1161     0.0775
                   rho1247        1 -0.0470      0.0196      5.7153     0.0168
                   theta1247      1 75.2080 31.6979          5.6295     0.0177
                   vega1247       1 16.9414      2.5964     42.5736     <.0001




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                                 Appendix I



                          The LOGISTIC Procedure


                                 OptType=C
                         Odds Ratio Estimates
                                            95% Wald
               Effect    Point Estimate Confidence Limits
               delta1247         <0.001   <0.001    0.022
               gamma1247       >999.999   <0.001 >999.999
               rho1247            0.954    0.918    0.992
               theta1247       >999.999 >999.999 >999.999
               vega1247        >999.999 >999.999 >999.999

                 Association of Predicted Probabilities and
                           Observed Responses
                Percent Concordant     97.7 Somers' D 0.955
                Percent Discordant      2.3 Gamma       0.955
                Percent Tied            0.0 Tau-a       0.339
                Pairs                34782 c            0.977




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                                      The LOGISTIC Procedure


                                              OptType=P
                                        Model Information
                          Data Set                    WORK.TAUG0717
                          Response Variable           Typ0807TW
                          Number of Response Levels 2
                          Model                       binary logit
                          Optimization Technique      Fisher's scoring

                                Number of Observations Read 854
                                Number of Observations Used 424

                                         Response Profile
                                  Ordered                 Total
                                    Value Typ0807TW Frequency
                                        1 1                 89
                                        2 0                335

                                Probability modeled is Typ0807TW=1.


Note: 430 observations were deleted due to missing values for the response or explanatory variables.


                                    Model Convergence Status
                            Convergence criterion (GCONV=1E-8) satisfied.

                                         Model Fit Statistics
                         Criterion Intercept Only Intercept and Covariates
                         AIC              437.729                 180.860
                         SC               441.779                 205.158
                         -2 Log L         435.729                 168.860

                         R-Square 0.4671 Max-rescaled R-Square 0.7274

                             Testing Global Null Hypothesis: BETA=0
                           Test             Chi-Square DF Pr > ChiSq
                           Likelihood Ratio   266.8693 5        <.0001
                           Score              164.5727 5        <.0001
                           Wald                 46.0074 5       <.0001

                             Analysis of Maximum Likelihood Estimates
                                               Standard        Wald
                   Parameter     DF Estimate       Error Chi-Square Pr > ChiSq
                   Intercept      1     1.1726   0.4858      5.8259     0.0158
                   delta1247      1 12.5163      7.3212      2.9227     0.0873
                   gamma1247 1 -1408.6            700.1      4.0474     0.0442
                   rho1247        1     0.6358   0.2560      6.1679     0.0130
                   theta1247      1 -27.1361 15.2977         3.1466     0.0761
                   vega1247       1     2.1167   8.7021      0.0592     0.8078




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                                 Appendix I



                          The LOGISTIC Procedure


                                 OptType=P
                         Odds Ratio Estimates
                                            95% Wald
               Effect    Point Estimate Confidence Limits
               delta1247       >999.999   0.160 >999.999
               gamma1247         <0.001 <0.001     <0.001
               rho1247            1.889   1.143     3.119
               theta1247         <0.001 <0.001     17.232
               vega1247           8.304 <0.001 >999.999

                 Association of Predicted Probabilities and
                           Observed Responses
                Percent Concordant     96.7 Somers' D 0.934
                Percent Discordant      3.3 Gamma       0.934
                Percent Tied            0.0 Tau-a       0.310
                Pairs                29815 c            0.967




                                     I-4
